      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 1 of 797




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION


JARROD STRINGER, et al.

                    Plaintiffs,
      v.

RUTH HUGHS, in her official capacity as Texas       Civil Action Case No. 5:20-cv-00046-
Secretary of State and STEVEN C. MCCRAW, in         OLG
his official capacity as Director of the Texas
Department of Public Safety

                    Defendants.



 APPENDIX IN SUPPORT OF TEXAS DEMOCRATIC PARTY, DSCC, AND DCCC’S
                  MOTION FOR SUMMARY JUDGMENT


    Exhibit             Document Description                      Page Numbers

                Appendix to Plaintiffs’ Motion for          Appendix 1-204
       A.       Summary Judgment in Stringer v. Pablos,
                No. SA-16-CA-257-OG (ECF No. 77-1),
                filed June 30, 2017
                Order granting Plaintiffs’ Motion for       Appendix 206-266
                Summary Judgment and denying
       B.       Defendants’ Motion for Summary
                Judgment in Stringer v. Pablos, No. SA-
                16-CA-257-OG (ECF No. 105), filed May
                10, 2018
                Certified copy of USCA                      Appendix 268-283
       C.       Judgment/Mandate in Stringer v. Pablos,
                No. SA-16-CA-257-OG (ECF No. 122),
                filed December 5, 2019
                Final Judgment in Stringer v. Pablos, No.   Appendix 285-291
       D.       SA-16-CA-257-OG (ECF No. 109), filed
                May 18, 2018
 Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 2 of 797




Exhibit          Document Description                          Page Numbers

          Complaint filed by Plaintiffs in Stringer v.   Appendix 293-311
   E.     Pablos, No. SA-16-CA-257-OG (ECF No.
          1), filed March 14, 2016
          Motion for Summary Judgment filed by           Appendix 313-344
   F.     Plaintiffs in Stringer v. Pablos, No. SA-
          16-CA-257-OG (ECF No. 77), filed June
          30, 2017
          Declaration of Glen Maxey in support of        Appendix 346-360
   G.     Intervenor-Plaintiffs’ Opposition to
          Defendants’ Motion to Dismiss, filed on
          May 14, 2020 (ECF No. 71-2)
          Declaration of Alexander Edelman in            Appendix 363-364
          support of Intervenor-Plaintiffs’
   H.     Opposition to Defendants’ Motion to
          Dismiss, filed May 14, 2010 (ECF No. 71-
          3)
          Declaration of Sara Schaumburg in              Appendix 366-367
          support of Intervenor-Plaintiffs’
   I      Opposition to Defendants’ Motion to
          Dismiss, filed on May 14, 2020 (ECF No.
          71-4)
          Deposition Transcript of the Corporate    Appendix 369-485
          Representative of the Texas Democratic
   J      Party, Tommy Glen Maxey, taken on April
          27, 2020. The transcript was subscribed
          and sworn by the court reporter on May 3,
          2020.
          Deposition Transcript of the Corporate     Appendix 487-619
          Representative of the DCCC, Jacqueline
   K      Newman, taken on April 28, 2020. The
          transcript was subscribed and sworn by the
          court reporter on May 11, 2020.
          Deposition Transcript of the Corporate         Appendix 621-682
   L
          Representative of the DSCC, Sara
          Schaumburg, taken on April 30, 2020. The




                                       -2-
 Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 3 of 797




Exhibit          Document Description                        Page Numbers

          transcript was subscribed and sworn by the
          court reporter on May 8, 2020.
          Transcript of Preliminary Injunction        Appendix 684-769
   M      Hearing before the Honorable Orlando L.
          Garcia, Chief District Court Judge, held on
          January 30, 2020 (ECF No. 57)
          Proposed Final Judgment (Redlined)           Appendix 771-778
   N

          Proposed Final Judgment (Clean)              Appendix 780-787
   O




                                     -3-
      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 4 of 797




Dated: May 29, 2020                    Respectfully submitted,



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                                     -4-
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 5 of 797




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                               -5-
       Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 6 of 797




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 29, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.
                                               /s/ Emily Brailey




                                              -6-
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 7 of 797




                 ([KLELW$
               5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
          Case 5:20-cv-00046-OLG                     05/29/20 Page 1
                                                                   8 of 207
                                                                        797




                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

JARROD STRINGER, et. al,                                         §
                                                                 §
                              Plaintiffs,                        §
                                                                 §
v.                                                               §
                                                                 §
ROLANDO PABLOS, IN HIS OFFICIAL                                  §              Civil Action No. 5:16-cv-00257-OLG
CAPACITY AS THE TEXAS SECRETARY                                  §
OF STATE and STEVEN C. McCRAW, IN HIS                            §
OFFICIAL CAPACITY AS THE DIRECTOR                                §
OF THE TEXAS DEPARTMENT OF PUBLIC                                §
SAFETY                                                           §
                                                                 §
                                                                 §
                              Defendants.                        §
                                                                 §

            APPENDIX TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                                                TABLE OF CONTENTS

     1.  May 27, 2015 Notice Letter……………………………………………………………….1
     2.  October 23, 2015 Notice Letter………………………………………………………….22
     3.  November 18, 2015 Notice Letter……………………………………………………….25
     4.  Texas Department of Public Safety Implementation Plan…….………………………...28
     5.  Excerpt, Texas Secretary of State Elections Division 34th Annual Election Law
         Seminar, “DPS Voter Inquiry Web Portal”……………………………………………...32
     6. Excerpts of 30(b)(6) Deposition of Keith Ingram……………………………………….34
     7. DL-14A (Rev. 2-17)……………………………………………………………………..49
     8. DL-43 (Rev. 2-17)……………………………………………………………………….52
     9. DL-64 (Rev. 2-17)…………………………………………………………………….....55
     10. Excerpts of 30(b)(6) Deposition of Sheri Gipson………………..………………………58
     11. Excerpts of Deposition of Sheri Gipson…………………..……………………………..74
     12. Excerpts of 30(b)(6) Deposition of John Crawford………………...…………………....83
     13. Secretary of State’s Supplemental Responses to Plaintiffs’ First Requests for
         Admission………..............................................................................................................93
     14. Excerpt from Secretary of State’s 32nd Annual Election Law Seminar, Voter
         Registration 102 Presentation…………………………………………………………..107
     15. Department of Public Safety’s Supplemental Responses to Plaintiffs’ First
         Requests for Admission……………………………………………………………...…111
     16. Texas Department of Public Safety Driver License Renewal and
         Change-of-Address webpage…………………………………………………………...129
     17. Screenshot of Driver License Renewal Receipt and Temporary License………………131
     18. Screenshot of Voter Registration Application………………………………………….134

                                                                 1
      Case 5:16-cv-00257-OLG
           5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                 05/29/20 Page 2
                                                               9 of 207
                                                                    797




   19. Texas Voter Registration Application………………………………………………….136
   20. Driver License Renewal and Change-of-Address screen shots………………………...139
   21. Excerpts of Deposition of Benjamin Hernandez……………………………………….148
   22. Excerpts of Deposition of Jarrod Stringer……………………………………………...166
   23. Excerpts of Deposition of John Woods………………………………………………...187


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      Case5:20-cv-00046-OLG
      Case 5:16-cv-00257-OLG Document
                             Document77-1
                                      77-1 Filed
                                           Filed05/29/20
                                                 06/30/17 Page
                                                          Page10
                                                               3 of
                                                                  of207
                                                                     797




                                                  214-871-2263 (Facsimile)
                                                  ATTORNEYS FOR PLAINTIFFS



                              CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of June, 2017, a true and correct copy of the

foregoing was served upon counsel of record via the Court’s ECF system.

                                                  /s/ Rebecca Harrison Stevens




                                              3
Case5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document
                       Document77-1
                                77-1 Filed
                                     Filed05/29/20
                                           06/30/17 Page
                                                    Page11
                                                         4 of
                                                            of207
                                                               797




              EXHIBIT 1




                                                           APPENDIX 1
 Case5:20-cv-00046-OLG
Case  5:16-cv-00257-OLG Document
                        Document77-1
                                 77-1 Filed
                                      Filed 05/29/20
                                            06/30/17 Page
                                                     Page 12
                                                          5 ofof207
                                                                 797




                                                             APPENDIX 2
 Case5:20-cv-00046-OLG
Case  5:16-cv-00257-OLG Document
                        Document77-1
                                 77-1 Filed
                                      Filed 05/29/20
                                            06/30/17 Page
                                                     Page 13
                                                          6 ofof207
                                                                 797




                                                             APPENDIX 3
 Case5:20-cv-00046-OLG
Case  5:16-cv-00257-OLG Document
                        Document77-1
                                 77-1 Filed
                                      Filed 05/29/20
                                            06/30/17 Page
                                                     Page 14
                                                          7 ofof207
                                                                 797




                                                             APPENDIX 4
 Case5:20-cv-00046-OLG
Case  5:16-cv-00257-OLG Document
                        Document77-1
                                 77-1 Filed
                                      Filed 05/29/20
                                            06/30/17 Page
                                                     Page 15
                                                          8 ofof207
                                                                 797




                                                             APPENDIX 5
 Case5:20-cv-00046-OLG
Case  5:16-cv-00257-OLG Document
                        Document77-1
                                 77-1 Filed
                                      Filed 05/29/20
                                            06/30/17 Page
                                                     Page 16
                                                          9 ofof207
                                                                 797




                                                             APPENDIX 6
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 10
                                                         17 of
                                                            of 207
                                                               797




                                                           APPENDIX 7
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 11
                                                         18 of
                                                            of 207
                                                               797




                                                           APPENDIX 8
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 12
                                                         19 of
                                                            of 207
                                                               797




                                                           APPENDIX 9
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 13
                                                         20 of
                                                            of 207
                                                               797




                                                          APPENDIX 10
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 14
                                                         21 of
                                                            of 207
                                                               797




                                                          APPENDIX 11
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 15
                                                         22 of
                                                            of 207
                                                               797




                                                          APPENDIX 12
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 16
                                                         23 of
                                                            of 207
                                                               797




                                                          APPENDIX 13
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 17
                                                         24 of
                                                            of 207
                                                               797




                                                          APPENDIX 14
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 18
                                                         25 of
                                                            of 207
                                                               797




                                                          APPENDIX 15
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 19
                                                         26 of
                                                            of 207
                                                               797




                                                          APPENDIX 16
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 20
                                                         27 of
                                                            of 207
                                                               797




                                                          APPENDIX 17
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 21
                                                         28 of
                                                            of 207
                                                               797




                                                          APPENDIX 18
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 29 of 797




       Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17 Page 22 of 207




                                                                            APPENDIX 19
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 23
                                                         30 of
                                                            of 207
                                                               797




                                                          APPENDIX 20
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 31 of 797




       Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17 Page 24 of 207




                                                                            APPENDIX 21
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 25
                                                         32 of 207
                                                               797




              EXHIBIT 2




                                                          APPENDIX 22
     5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
Case 5:20-cv-00046-OLG                     05/29/20 Page 26
                                                         33 of 207
                                                               797




                                                          APPENDIX 23
     5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
Case 5:20-cv-00046-OLG                     05/29/20 Page 27
                                                         34 of 207
                                                               797




                                                          APPENDIX 24
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 28
                                                         35 of 207
                                                               797




              EXHIBIT 3




                                                          APPENDIX 25
     5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
Case 5:20-cv-00046-OLG                     05/29/20 Page 29
                                                         36 of 207
                                                               797




                                                          APPENDIX 26
     5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
Case 5:20-cv-00046-OLG                     05/29/20 Page 30
                                                         37 of 207
                                                               797




                                                          APPENDIX 27
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 31
                                                         38 of 207
                                                               797




              EXHIBIT 4




                                                          APPENDIX 28
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 32
                                                         39 of
                                                            of 207
                                                               797




                                                          APPENDIX 29
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 33
                                                         40 of
                                                            of 207
                                                               797




                                                          APPENDIX 30
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 34
                                                         41 of
                                                            of 207
                                                               797




                                                          APPENDIX 31
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 35
                                                         42 of 207
                                                               797




              EXHIBIT 5




                                                          APPENDIX 32
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 36
                                                         43 of
                                                            of 207
                                                               797




                                                          APPENDIX 33
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 37
                                                         44 of 207
                                                               797




              EXHIBIT 6




                                                          APPENDIX 34
       Case 5:16-cv-00257-OLG
            5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                  05/29/20 Page 38
                                                                45 of 207
                                                                      797
   STRINGER: BRIAN KEITH INGRAM

                                                                            Page 1
·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·JARROD STRINGER, et al.,· · · · §
· · · · · · · · · · · · · · · · · · ·§
·4· · · · · · ·Plaintiffs,· · · · · ·§
· · · · · · · · · · · · · · · · · · ·§
·5· ·v.· · · · · · · · · · · · · · · §· Civil Action
· · · · · · · · · · · · · · · · · · ·§· No. 5:16-cv-00257-OLG
·6· ·ROLANDO B. PABLOS, IN HIS· · · ·§
· · ·OFFICIAL CAPACITY AS THE· · · · §
·7· ·SECRETARY OF STATE and STEVEN· ·§
· · ·C. McCRAW, IN HIS OFFICIAL· · · §
·8· ·CAPACITY AS THE DIRECTOR OF· · ·§
· · ·THE TEXAS DEPARTMENT OF PUBLIC §
·9· ·SAFETY,· · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · · · · ·§
10· · · · · · ·Defendants.· · · · · ·§

11· · · ·***********************************************
· · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
12· · · · · · · · · · · BRIAN KEITH INGRAM
· · · · · · · · · · · · · MARCH 22, 2017
13· · · · · · · · · · · · · ·VOLUME 1
· · · · ·***********************************************
14

15· · · · ORAL AND VIDEOTAPED DEPOSITION OF BRIAN KEITH

16· ·INGRAM, produced as a witness at the instance of the

17· ·Plaintiffs, and duly sworn, was taken in the

18· ·above-styled and numbered cause on the 22nd day of

19· ·March, 2017, from 9:33 a.m. to 5:19 p.m., before STEVEN

20· ·STOGEL, CSR in and for the State of Texas, reported by

21· ·machine shorthand, at the office of the Attorney

22· ·General, 300 West 15th Street, Suite 1100, Austin,

23· ·Texas, pursuant to the Federal Rules of Civil Procedure

24· ·and the provisions stated on the record or attached

25· ·hereto.


   hglitigation.com
                                                                                     YVer1f




                                                                 APPENDIX 35
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 39
                                                              46 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                      Page 2                                                          Page 4
·1· · · · · · · · · ·A P P E A R A N C E S                      ·1· · · · · · · · · · · · · ·EXHIBITS
·2                                                              ·2· ·EXHIBIT NAME· ·DESCRIPTION· · · · · · · · · · · · · PAGE
·3· ·FOR THE PLAINTIFFS:                                        ·3· ·Exhibit 12.· · PowerPoint Presentation Entitled· · ·163
·4· · · · MS. BETH STEVENS
                                                                · · · · · · · · · · "34th Annual Election Law Seminar
· · · · · MR. HANI MIRZA
·5· · · · TEXAS CIVIL RIGHTS PROJECT                            ·4· · · · · · · · · Offline County Presentation"
· · · · · 1405 Montopolis Drive                                 ·5· ·Exhibit 13.· · PowerPoint Presentation Entitled· · ·167
·6· · · · Austin, Texas 78741                                   · · · · · · · · · · "TEAM For Online Counties"
· · · · · Phone:· 512.474.5073                                  ·6
·7· · · · · · ·- and -                                          · · ·Exhibit 14.· · DL Applications - Generate Two· · · ·181
· · · · · MS. CAITLYN SILHAN
                                                                ·7· · · · · · · · · Output Flat Files - Version 8.2
·8· · · · WATERS & KRAUS, LLP
· · · · · 3141 Hood Street, Suite 700                           · · · · · · · · · · Prepared for DPS
·9· · · · Dallas, Texas 75219                                   ·8· · · · · · · · · Submission Date:· 8/29/07
· · · · · Phone:· 214.357.6244                                  · · · · · · · · · · Revision Date:· 4/30/14
10                                                              ·9
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13· · · · General Litigation Division                           12
· · · · · P.O. Box 12548, Capitol Station                       13
14· · · · Austin, Texas 78711-2548                              14
· · · · · Phone:· 512.463.2120                                  15
15                                                              16
16· ·ALSO PRESENT:
                                                                17
17· · · · MS. LINDSEY ASTON:· General Counsel, Texas
· · · · · · · · · · · · · · · Secretary of State                18
18· · · · MR. JUSTIN TALBOT:· Videographer                      19
19                                                              20
20                                                              21
21                                                              22
22
                                                                23
23
24                                                              24
25                                                              25


                                                      Page 3                                                          Page 5
·1· · · · · · · · · · · · ·I N D E X                            ·1· · · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · · · · · · · · · · · · · · · · · · · · ·PAGE
·3· ·Appearances.....................................· · · 2
                                                                ·2· · · · · · · · · THE VIDEOGRAPHER:· Today is Wednesday
·4· ·WITNESS: BRIAN KEITH INGRAM                                ·3· ·March 22nd, 2017.· The time is approximately
·5· ·Examination by Ms. Stevens......................· · · 6    ·4· ·8:34 a.m. [sic].· We are located at the Office of the
·6· ·Examination by Ms. Mackin.......................· · 211
·7· ·Reporter's Certificate..........................· · 216    ·5· ·Attorney General, 300 West 15th Street, Austin, Texas,
·8                                                              ·6· ·78701.· My name is Justin Talbot, video specialist of
·9· · · · · · · · · · · · · ·EXHIBITS                           ·7· ·Legal Eyes, Incorporated, out of Aubrey, Texas.
10· ·EXHIBIT NAME· ·DESCRIPTION· · · · · · · · · · · · · PAGE
11· ·Exhibit 1.· · ·Notice of Deposition· · · · · · · · · 14    ·8· · · · · · · · · This case is Cause No. 5:16-cv-00257-OLG
12· ·Exhibit 2.· · ·7/22/16 Letter from Joe Peters· · · · 33    ·9· ·entitled Jarrod Stringer, et al., versus Rolando B.
· · · · · · · · · · to Keith Ingram with Attachment
                                                                10· ·Pablos, et al., and the deponent is Keith Ingram.· The
13
· · ·Exhibit 3.· · ·Form DL-64 (Rev. 9/13)· · · · · · · · 40    11· ·video deposition was requested by plaintiffs' counsel at
14                                                              12· ·Waters Kraus & Paul.
· · ·Exhibit 4.· · ·Form DL-64 (Rev. 3/16)· · · · · · · · 40
                                                                13· · · · · · · · · Counsel and all present, please identify
15
· · ·Exhibit 5.· · ·Form DL-14A (Rev. 6/14)· · · · · · · ·43    14· ·yourselves for the record.
16                                                              15· · · · · · · · · MS. STEVENS:· Beth Stevens on behalf of
· · ·Exhibit 6.· · ·Form DL-43 (Rev. 6/14)· · · · · · · · 43
17
                                                                16· ·Jarrod Stringer.
· · ·Exhibit 7.· · ·Texas Voter Registration· · · · · · · 48    17· · · · · · · · · MS. SILHAN:· Caitlyn Silhan from Waters &
18· · · · · · · · · Application                                 18· ·Kraus on behalf of Benjamin Hernandez.
19· ·Exhibit 8.· · ·2/8/17 Email String with Attachment· ·80
20· ·Exhibit 9.· · ·11/5/12 Email String· · · · · · · · · 83    19· · · · · · · · · MR. MIRZA:· Hani Mirza from the Texas
21· ·Exhibit 10.· · 11/15/12 Email from Betsy Schonhoff· ·86    20· ·Civil Rights Project on behalf of Totysa Watkins.
· · · · · · · · · · to Beva Kellison with Attachment            21· · · · · · · · · MS. ASTON:· Lindsey Aston.· I'm with the
22
· · ·Exhibit 11.· · DLS Use Case Specification:· Create· 115    22· ·Secretary of State's Office.· I'm the General Counsel.
23· · · · · · · · · Voter Registration Extract File             23· · · · · · · · · MS. MACKIN:· Anna Mackin with the
· · · · · · · · · · Texas DPS - 12/19/14 - Version 6.9
                                                                24· ·Attorney General's Office on behalf of all defendants.
24
25                                                              25· · · · · · · · · And we'd like to request a read and sign


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                                                                                                     APPENDIX 36
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 40
                                                              47 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                      Page 6                                                          Page 8
·1· ·of this deposition on the record, please.                  ·1· · · · A.· ·Sure.
·2· · · · · · · · · · ·BRIAN KEITH INGRAM,                      ·2· · · · Q.· ·And --
·3· ·having been first duly sworn, testified as follows:        ·3· · · · · · · · · THE VIDEOGRAPHER:· Counsel, forgive the
·4· · · · · · · · · · · · ·EXAMINATION                          ·4· ·interruption, but can we go off the record for a minute?
·5· ·BY MS. STEVENS:                                            ·5· · · · · · · · · MS. STEVENS:· Sure.
·6· · · · Q.· ·Good morning, Mr. Ingram.                        ·6· · · · · · · · · (Discussion off the record)
·7· · · · A.· ·Howdy.                                           ·7· · · · · · · · · (Recess from 9:36 a.m. to 9:37 a.m.)
·8· · · · Q.· ·Would you please state and spell your full       ·8· · · · · · · · · THE VIDEOGRAPHER:· We are back on the
·9· ·name?                                                      ·9· ·record at 9:37 a.m.· I incorrectly announced the start
10· · · · A.· ·My name is Brian Keith Ingram.· B-R-I-A-N,       10· ·time of the deposition as 8:34, and the camera time was
11· ·K-E-I-T-H, I-N-G-R-A-M.                                    11· ·incorrectly set.· It's now correctly set at 9:37 a.m.
12· · · · Q.· ·Thank you.· And you go by Keith Ingram.· Is      12· ·Thank you.
13· ·that correct?                                              13· · · · Q.· ·(By Ms. Stevens)· The last deposition rule I
14· · · · A.· ·I do.                                            14· ·was going to go over is if I phrase a question that is
15· · · · Q.· ·Okay.· My name is Beth Stevens.· I'm from the    15· ·confusing in any way to you, will you please let me know
16· ·Texas Civil Rights Project.· And we have not met before    16· ·that you don't understand or you'd like me to rephrase?
17· ·this morning.· Is that correct?                            17· ·Can you agree to that?
18· · · · A.· ·That's correct.                                  18· · · · A.· ·I can.
19· · · · Q.· ·Okay.· You've had your deposition taken          19· · · · Q.· ·Okay.· Will you agree to that?· Do you agree
20· ·before, have you not?                                      20· ·to that?
21· · · · A.· ·I have.                                          21· · · · A.· ·Certainly.
22· · · · Q.· ·How many times?                                  22· · · · Q.· ·Okay.· Thank you.· If you -- if you go ahead
23· · · · A.· ·I was trying to think of that on the way over    23· ·and answer the question as I posed it, I'm going to
24· ·here.· At least three that I can think of, but maybe one   24· ·assume that you understood the question.· Is that fair?
25· ·more.                                                      25· · · · A.· ·That's fair.

                                                      Page 7                                                          Page 9
·1· · · · Q.· ·Okay.· And the three that you recall, what       ·1· · · · Q.· ·Thank you.
·2· ·cases were those in?                                       ·2· · · · A.· ·If I don't understand the question, I'll let
·3· · · · A.· ·Twice in voter ID, and once in a redistricting   ·3· ·you know.
·4· ·case involving the Edwards Aquifer.· Oh, there was         ·4· · · · Q.· ·Thank you.· All right.· Mr. Ingram, in the --
·5· ·another deposition.· Yes.· A forth one was in a case       ·5· ·well, you understand that you're here today to testify
·6· ·that Buck Wood filed about our Death Master File           ·6· ·in a 30(b)(6) capacity, do you not?
·7· ·process.· I don't remember the name of that case.          ·7· · · · A.· ·Yes.
·8· · · · Q.· ·You're an attorney.· Is that correct?            ·8· · · · Q.· ·And have you testified on behalf of the
·9· · · · A.· ·I am.                                            ·9· ·Secretary of State in a 30(b)(6) capacity before?
10· · · · Q.· ·So you're pretty familiar with the deposition    10· · · · A.· ·I have.
11· ·rules?                                                     11· · · · Q.· ·Would you please indicate which of those
12· · · · A.· ·I am.                                            12· ·depositions you referenced were in a 30(b)(6) capacity?
13· · · · Q.· ·Okay.· I'm going to go over just a couple just   13· · · · A.· ·All of them.
14· ·so we can have it on the record.· I'll ask you to let me   14· · · · Q.· ·Okay.· And you understand that this
15· ·finish answer -- excuse me -- asking my question before    15· ·deposition -- the 30(b)(6) deposition -- is --
16· ·you start answering, and I'll try to do the same for       16· · · · A.· ·I take it back.· The two -- the Edwards
17· ·you.· Is that okay?                                        17· ·Aquifer and the Death Master File was whatever the state
18· · · · A.· ·Sure.                                            18· ·equivalent of that is.
19· · · · Q.· ·And if you'll answer out loud instead of a nod   19· · · · Q.· ·Those were state court cases?
20· ·or a shake of the head, that will make it easier for our   20· · · · A.· ·They were.
21· ·court reporter.· Okay?                                     21· · · · Q.· ·You understand that a 30(b)(6) deposition is
22· · · · A.· ·Okay.                                            22· ·different from an individual deposition.· Is that
23· · · · Q.· ·And if you need a break, let me know.· I'll      23· ·correct?
24· ·just ask you to answer the last question that we've got    24· · · · A.· ·I do.
25· ·on -- that I've stated before we take the break.· Okay?    25· · · · Q.· ·Okay.· And you're here today as a


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                                                                                                     APPENDIX 37
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 41
                                                              48 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                     Page 10                                                         Page 12
·1· ·representative of the Secretary of State of the State of   ·1· · · · A.· ·I will endeavor to do so.
·2· ·Texas?                                                     ·2· · · · Q.· ·All right.· In preparing for this deposition,
·3· · · · A.· ·I'm -- yes, ma'am.                               ·3· ·did you speak to anyone?
·4· · · · Q.· ·Okay.· You've been offered by the Secretary of   ·4· · · · A.· ·Yes.
·5· ·State to appear on the Secretary of State's behalf and     ·5· · · · Q.· ·To whom did you speak?
·6· ·give testimony for the Secretary of State?                 ·6· · · · A.· ·I spoke to my counsel and my general counsel
·7· · · · A.· ·Right.                                           ·7· ·last Friday.
·8· · · · Q.· ·Do you understand that the Secretary of State    ·8· · · · Q.· ·Did you speak to anyone else in preparation
·9· ·is bound by the testimony that you give at this            ·9· ·for this deposition?
10· ·deposition?                                                10· · · · A.· ·I did.
11· · · · A.· ·I'm aware.                                       11· · · · Q.· ·Who did you speak to?
12· · · · Q.· ·And do you understand that unless I say          12· · · · A.· ·I spoke to Ann McGeehan, who was in my job
13· ·otherwise, I'm not asking for your personal opinion;       13· ·before me, and I spoke to Melanie Best, who is a lawyer
14· ·rather, I'm asking for an answer that reflects the         14· ·in my office.
15· ·position of the Secretary of State's Office?               15· · · · Q.· ·And Ann McGeehan, she was the former Director
16· · · · A.· ·Yes, ma'am.· And if I give my opinion, I'll      16· ·of Elections.· Is that right?
17· ·try to mark it as so.                                      17· · · · A.· ·She was.
18· · · · Q.· ·Thank you.· You've provided verified responses   18· · · · Q.· ·And that's your current title.· Is that
19· ·to interrogatories in this case.· Is that correct?         19· ·correct?
20· · · · A.· ·That is correct.                                 20· · · · A.· ·It is.
21· · · · Q.· ·Have you provided verified responses to          21· · · · Q.· ·Do you know how long Ms. McGeehan was the
22· ·interrogatories in any other cases?                        22· ·Director of Elections?
23· · · · A.· ·I have.                                          23· · · · A.· ·I'm not sure exactly when she started. I
24· · · · Q.· ·Any besides -- well, did you provide them in     24· ·think she started in '92 or '93.· She was the legal
25· ·the cases that you provided deposition testimony on?       25· ·director before she was the elections director, so I'm

                                                     Page 11                                                         Page 13
·1· · · · A.· ·I don't know if we actually did written          ·1· ·not sure when that transition occurred.· And she retired
·2· ·interrogatories in the two state cases.· I know we did     ·2· ·in November of 2011 and went to work for the County
·3· ·in the federal cases.· If we gave written interrogatory    ·3· ·Retirement System.
·4· ·answers in the two state cases, then I'm the one that      ·4· · · · Q.· ·Was there a Director of Elections prior to
·5· ·verified them.· I just don't know for sure if we did       ·5· ·Ms. McGeehan?
·6· ·written 'rogs.                                             ·6· · · · A.· ·There was.
·7· · · · Q.· ·And the two federal cases that you referenced,   ·7· · · · Q.· ·And who was that?
·8· ·you did provide the verification for those                 ·8· · · · A.· ·What's his name?· He's the general counsel of
·9· ·interrogatories?                                           ·9· ·the County Retirement System that Ann McGeehan works for
10· · · · A.· ·Yes, and I might have in another case, but I     10· ·now.· I can't think of his name.
11· ·don't know if we did interrogatories in not that case      11· · · · Q.· ·Okay.· Did you -- did you talk to anyone else
12· ·either.· It was a Project Vote case on our volunteer       12· ·other than the individuals you've identified in
13· ·deputy registrar program back in 2012.· I just don't       13· ·preparation for this deposition?
14· ·know if we did interrogatories in that.· I think we did,   14· · · · A.· ·No.
15· ·but I'm not sure.· It was a preliminary injunction         15· · · · Q.· ·Did you review --
16· ·hearing as far as the case went.                           16· · · · A.· ·Not specifically in preparation for this
17· · · · Q.· ·And if anyone provided verified                  17· ·deposition.· Betsy and I talk all the time.
18· ·interrogatories on behalf of the Secretary of State, it    18· · · · Q.· ·And the --
19· ·would have been you.· Is that correct?                     19· · · · A.· ·So we've talked about this case.· We talked
20· · · · A.· ·That's correct.                                  20· ·about her deposition.· We talked about the fact that my
21· · · · Q.· ·Okay.· And lastly on this sort of preliminary    21· ·deposition was coming, but I don't think that we talked
22· ·30(b)(6) issue, you understand that even though you may    22· ·about anything specifically to prepare for this
23· ·not have personal knowledge of a question that I ask,      23· ·deposition.
24· ·you can still provide the knowledge relevant to the        24· · · · Q.· ·And Betsy is Betsy Schonhoff.· Is that
25· ·Secretary of State's Office?                               25· ·correct?


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                                                                                                     APPENDIX 38
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 42
                                                              49 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                     Page 50                                                         Page 52
·1· · · · Q.· ·So you identified for me or explained to me      ·1· · · · Q.· ·Well, on the --
·2· ·why -- what the electronic signature or the keypad         ·2· · · · A.· ·Except for maybe city and county of former
·3· ·signature at DPS is used for.· It's used for the           ·3· ·residence, but I bet whenever they generate one of these
·4· ·signature that's required in the Texas Election Code.      ·4· ·from DPS, that's blank, and that's an optional blank, so
·5· ·You read me the section.· Is that right?                   ·5· ·it doesn't have to be filled in.
·6· · · · A.· ·That's right.                                    ·6· · · · Q.· ·The optional field you're referencing is the
·7· · · · Q.· ·What's the ink signature on the DPS's physical   ·7· ·city and county of former residence, No. 5 on the voter
·8· ·forms used for as far as voter registration?               ·8· ·registration application?
·9· · · · A.· ·I don't know.· I don't know if it's used for     ·9· · · · A.· ·That's right.
10· ·anything.· Once they've applied in person at the office,   10· · · · Q.· ·Look for me, if you will, at No. 10 where the
11· ·they've signed it electronically.· I guess if there ever   11· ·person signing confirms that they understand -- well, it
12· ·was a question, that we'd have to go through the web       12· ·says, "I understand that giving false information to
13· ·portal or the 701 email address about whether or not the   13· ·procure a voter registration is perjury, and a crime
14· ·voter signed it.· If for some reason the electronic        14· ·under state and federal law.· Conviction of this crime
15· ·version didn't have the signature, they would have to go   15· ·may result in imprisonment up to 180 days, a fine up to
16· ·back and look at the physical application form from DPS    16· ·$2,000, or both.· Please read all three" -- three is
17· ·to get the signature.                                      17· ·underlined -- "statements to affirm before signing."
18· · · · Q.· ·Would the -- in the scenario you just            18· · · · · · · · · And then in bullet points, the first one
19· ·described, would the voter have to provide their           19· ·is, "I am a resident of this county and a U.S. citizen."
20· ·signature again so it would be on the actual voter         20· ·The second bullet is, "I have not been finally convicted
21· ·registration form?                                         21· ·of a felony, or if a felon, I have completed all of my
22· · · · A.· ·No.· No.· They've already signed.· They signed   22· ·punishment including any term of incarceration, parole,
23· ·the physical form and they signed electronically, and      23· ·supervision, period of probation, or I have been
24· ·for some reason if we don't get that signature with the    24· ·pardoned."· And third bullet point, "I have not been
25· ·application, we'll go back to DPS and get the physical     25· ·determined by a final judgment of a court exercising

                                                     Page 51                                                         Page 53
·1· ·application.                                               ·1· ·probate jurisdiction to be totally mentally
·2· · · · Q.· ·And the --                                       ·2· ·incapacitated or partially mentally incapacitated
·3· · · · A.· ·The county will.                                 ·3· ·without the right to vote."
·4· · · · Q.· ·Sorry.· The physical application you're          ·4· · · · · · · · · Did I read all that correctly?
·5· ·referencing is the driver's license application.           ·5· · · · A.· ·You did.
·6· ·Correct?                                                   ·6· · · · Q.· ·And just below that section that I read is
·7· · · · A.· ·Right, or the renewal application.               ·7· ·the -- where the signature is required.· Is that
·8· · · · Q.· ·But a DPS form not a -- not a voter              ·8· ·correct?
·9· ·registration form?                                         ·9· · · · A.· ·That's right.
10· · · · A.· ·That's right.                                    10· · · · Q.· ·That section, Section 10, is not on the
11· · · · Q.· ·And when you say the county will get it, do      11· ·driver's license application.· Correct?
12· ·they actually somehow extract the ink signature or copy    12· · · · A.· ·I agree with that.
13· ·the ink signature onto a voter registration form at that   13· · · · Q.· ·When your office is asked to provide advice as
14· ·point?                                                     14· ·far as voter registration questions go to the Department
15· · · · A.· ·No.· They get the -- they get the DPS            15· ·of Public Safety, who is your contact at the Department
16· ·application.                                               16· ·of Public Safety for those issues?
17· · · · Q.· ·But the DPS application form doesn't have all    17· · · · A.· ·Generally if I have a question about anything
18· ·of the -- all of the fields that are on the voter          18· ·at DPS I would call Joe Peters, and I guess henceforth
19· ·registration application.· Correct?                        19· ·it will be Skylor Hearn.
20· · · · A.· ·That's right.· I mean, we can go through and     20· · · · Q.· ·What about DPS contacting your office for
21· ·see.· I don't know what it wouldn't have.                  21· ·voter registration questions?· Are those the only
22· · · · Q.· ·Well, we'll get there in a little bit.· That's   22· ·individuals who would contact you about those questions?
23· ·okay.                                                      23· · · · A.· ·Well, it depends on the question.· If they had
24· · · · A.· ·Okay.· I mean, it's not in the same form, but    24· ·a question, you know, of a more general global sense
25· ·it's got the same information.                             25· ·they would definitely call me.· If they had a question


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                                                                                                     APPENDIX 39
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 43
                                                              50 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                     Page 62                                                         Page 64
·1· ·of the question on the online DPS application?             ·1· ·between the two.
·2· · · · · · · · · MS. MACKIN:· Objection; form.               ·2· · · · A.· ·Well, the NVRA doesn't require equivalent
·3· · · · A.· ·I don't know what you mean.                      ·3· ·opportunities to register to vote.· It requires
·4· · · · Q.· ·(By Ms. Stevens)· Why is there a voter           ·4· ·simultaneous opportunities to register to vote.· The
·5· ·registration question on the online DPS transaction --     ·5· ·automated process didn't come along until 2010.· The
·6· ·application?· Excuse me.                                   ·6· ·NVRA has been in place since 1993.· So there used to be
·7· · · · A.· ·Well, I imagine it's because of Section 5 of     ·7· ·a very similar process in person visits to the DPS as
·8· ·the National Voter Registration Act of 1993.               ·8· ·well.· They had to fill out a voter registration
·9· · · · Q.· ·Could you elaborate on that a little bit?        ·9· ·application, and the difference was that DPS would
10· · · · A.· ·Sure.· The National Voter Registration Act of    10· ·deliver it to the voter registrar instead of the voter
11· ·1993 required that motor vehicle agencies, in our case     11· ·having to mail it, but it was almost the same except for
12· ·the DPS, whenever a person has a driver's license          12· ·that.· The fact that they've automated the process at
13· ·transaction -- driver license transaction, that they       13· ·the offices doesn't mean that the process has to be
14· ·should be simultaneously offered the right -- the          14· ·automated online.
15· ·ability to update their voter registration or register     15· · · · Q.· ·Why not?
16· ·to vote for the first time.· That's why the NVRA is        16· · · · A.· ·The NVRA does not require that.· Now, whether
17· ·called the Motor Voter law.                                17· ·or not it's a good idea and whether or not -- why, you
18· · · · Q.· ·And DPS's compliance with that law for           18· ·know, should it happen, that's a DPS question.· That's
19· ·in-person transactions is the question that we've looked   19· ·not our question.
20· ·at on the -- on the DPS forms, "Do you want to register    20· · · · Q.· ·Let me unpack that a little bit.· I've got two
21· ·to vote?· I've agreed to provide my electronic             21· ·questions there.· You said that the NVRA requires the
22· ·signature, and it can be sent to the Secretary of          22· ·opportunity to register to vote at the time that you
23· ·State's Office."                                           23· ·transact with the driver's license authority?
24· · · · · · · · · Is that right?                              24· · · · A.· ·It requires a simultaneous opportunity to
25· · · · · · · · · MS. MACKIN:· Objection; form.               25· ·register to vote, yes.

                                                     Page 63                                                         Page 65
·1· · · · A.· ·Yes.                                             ·1· · · · Q.· ·So if I -- if I told you that the NVRA doesn't
·2· · · · Q.· ·(By Ms. Stevens)· Tell me why there's a          ·2· ·use the word "opportunity," what would you say to that?
·3· ·difference between the DPS in-person transaction where     ·3· · · · A.· ·I understand what you're saying, and the judge
·4· ·the information is sent on to the Secretary of State's     ·4· ·can -- can tell us what -- you know, what that means. I
·5· ·Office to send to the voter registration authorities       ·5· ·understand it's a simultaneous opportunity to register
·6· ·versus on the online transaction where it merely sends     ·6· ·to vote or update your voter registration information.
·7· ·you to a link to the Secretary of State's Office --        ·7· · · · · · · · · THE REPORTER:· I'm sorry.· Simultaneous
·8· ·website?· Excuse me.                                       ·8· ·opportunity --
·9· · · · A.· ·So I don't know -- why is a hard question.       ·9· · · · · · · · · THE WITNESS:· To register to vote or
10· ·Why is probably a DPS question.                            10· ·update your voter registration information.
11· · · · Q.· ·Are you saying that the Secretary of State       11· · · · Q.· ·(By Ms. Stevens)· Rather than simultaneous
12· ·hasn't provided any advice or counsel on whether those     12· ·update -- well, let me -- you're adding the word
13· ·two transactions in person versus online should be the     13· ·"opportunity" in there, and I'm trying to understand the
14· ·same?                                                      14· ·online transactions provide the opportunity to register
15· · · · A.· ·No, we certainly haven't.· The NVRA requires a   15· ·to vote through the Secretary of State's website and
16· ·simultaneous opportunity to register to vote.· DPS is      16· ·form --
17· ·providing that in both transactions, so I don't see        17· · · · A.· ·And so does the in-person transaction.
18· ·what -- I don't see what you're getting at.                18· · · · Q.· ·But the in-person transaction, you'll agree
19· · · · Q.· ·Well, the in-person transaction is a seamless    19· ·with me, is an automated process after checking the box
20· ·automated transaction after the person checks that they    20· ·and providing an electronic signature.· Correct?
21· ·want to register to vote and provide their electronic      21· · · · A.· ·The way the application gets to us is
22· ·signature versus the online transaction where there are    22· ·different, but it's the same -- the opportunity to
23· ·multiple other steps.· You have to go to the Secretary     23· ·register to vote or update your voter registration is
24· ·of State's website, print out the form, fill it out.       24· ·offered in both places.
25· ·I'm trying to understand why there's a distinction         25· · · · Q.· ·Except the customer -- correct me if I'm


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                                                                                                     APPENDIX 40
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 44
                                                              51 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                     Page 82                                                         Page 84
·1· ·aware that the -- the answer to the question about voter   ·1· ·address with the Elections Division?
·2· ·registration used to default to the no answer?             ·2· · · · A.· ·It is.
·3· · · · · · · · · MS. MACKIN:· Objection; form.               ·3· · · · Q.· ·Okay.· The -- well, let's -- the initial email
·4· · · · A.· ·No.· I had no idea.· I saw that in Betsy's       ·4· ·says, "I just renewed my driver's license online and was
·5· ·deposition, and that was the first that our office, I      ·5· ·dismayed that the 'do you want to register to vote'
·6· ·think, had heard of that.                                  ·6· ·defaults to 'no.'· In my opinion, it should default to
·7· · · · Q.· ·(By Ms. Stevens)· When the Department of         ·7· ·'yes' if you want to encourage people to register to
·8· ·Public Safety decided to make the change to not default    ·8· ·vote - which should be a goal of the State and the
·9· ·to the no, to require the customer actually make the       ·9· ·Elections Division.· I hope that this changes in the
10· ·choice themselves, did the Secretary of State's Office     10· ·future.· After all, it's not automatic - one does have
11· ·have input in that -- or provide any input on that         11· ·to take additional steps to actually register.· Thanks."
12· ·decision?                                                  12· · · · · · · · · And then up above that is the response
13· · · · A.· ·No.                                              13· ·email from Brenda Hester -- is she in the Elections
14· · · · Q.· ·Were there any discussions with the Secretary    14· ·Division?
15· ·of State's Office and DPS about the change from -- from    15· · · · A.· ·She is.
16· ·a default to no to no default?                             16· · · · Q.· ·Okay -- to the individual customer, and said,
17· · · · A.· ·It's hard to say.· I don't think so.· But we     17· ·"That is something we can discuss with DPS in the
18· ·talked a lot -- you know, we had the meeting here after    18· ·future.· Thank you for your input."
19· ·the notice letter, and then we talked after that about     19· · · · · · · · · Did I read that correctly?
20· ·the way they treated, you know, both yes and no being      20· · · · A.· ·Sure.
21· ·checked for an in-person, and then we talked about what    21· · · · Q.· ·And Betsy Schonhoff in your office is also
22· ·to do if both of them were left unchecked.· And so I       22· ·copied on that email.· Correct?
23· ·don't know if any of those discussions, you know, in       23· · · · A.· ·She is.
24· ·DPS's mind also encompassed this.                          24· · · · Q.· ·Okay.· So in -- back in 2012, the Secretary of
25· · · · · · · · · It could be that they were talking about    25· ·State's Office was aware that the answer to the "do you

                                                     Page 83                                                         Page 85
·1· ·this as well as the in-person transactions, and in my      ·1· ·want to register to vote" question online was defaulting
·2· ·mind I only heard it as the in-person transactions, so I   ·2· ·to no.· Is that correct?
·3· ·don't know for sure.· You know, we could have been part    ·3· · · · A.· ·Right.
·4· ·of this conversation and just didn't really realize it.    ·4· · · · · · · · · MS. MACKIN:· Objection; form.
·5· · · · Q.· ·The discussions you are talking about with       ·5· · · · Q.· ·(By Ms. Stevens)· Was there any -- any
·6· ·the -- checking both boxes on an in-person, checking no    ·6· ·discussion at that point with the Department of Public
·7· ·box in person, those occurred in 2015.· Is that right?     ·7· ·Safety to -- to make that change?
·8· · · · A.· ·Yeah, or early '16.                              ·8· · · · A.· ·Not that I recall.
·9· · · · Q.· ·Prior to the initiation of this lawsuit?         ·9· · · · Q.· ·Well, what about that the Secretary of State's
10· · · · A.· ·After the notice letter, prior to the lawsuit.   10· ·Office recalls, since we're here for a 30(b)(6)?
11· ·I don't remember exactly when this got filed.              11· · · · A.· ·That's what I -- I don't -- I don't think that
12· · · · · · · · · MS. STEVENS:· If you could mark that as     12· ·we had that discussion.· Betsy might have.· You know,
13· ·9, please.                                                 13· ·you saw her testimony on this topic, and we can read
14· · · · · · · · · (Exhibit No. 9 marked)                      14· ·that if you want to.
15· · · · Q.· ·(By Ms. Stevens)· I'm handing you Exhibit 9,     15· · · · Q.· ·Well, I think, since you're here on behalf of
16· ·Mr. Ingram.· If you'll just look over that and let me      16· ·the entity, that you're required to provide the entity's
17· ·know when you're done.                                     17· ·response.· So did the entity -- did the Secretary of
18· · · · A.· ·Yes, I saw this.                                 18· ·State have any discussions with the DPS back in 2012
19· · · · Q.· ·And this one is marked as confidential, so we    19· ·about changing that default from no to what it is now?
20· ·won't reference the customer's name, but this is an        20· · · · A.· ·I don't know.
21· ·email string from November of 2012.· Is that correct?      21· · · · Q.· ·Are you able to find out?
22· · · · A.· ·It is.                                           22· · · · A.· ·Betsy would be the one that would know, and
23· · · · Q.· ·And it -- it looks like initially it's from      23· ·you read her testimony on this topic.· So I can ask
24· ·a -- just a member of the public to the "Elections         24· ·Betsy, but she'll probably give me the same answers. I
25· ·Internet" is what the to line shows.· Is that an email     25· ·do not believe that we had such discussions.· But again,


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                                                                                                     APPENDIX 41
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 45
                                                              52 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                     Page 94                                                         Page 96
·1· · · · Q.· ·But we've gone over, have we not, that the       ·1· ·Texas Election Code?
·2· ·driver's license application does not have all of the      ·2· · · · A.· ·The physical signature that's electronically
·3· ·information or questions that a -- hold on -- a voter      ·3· ·captured, yes.
·4· ·registration application has on it.· Is that correct?      ·4· · · · Q.· ·Okay.· Back to your point about the online
·5· · · · A.· ·That's right.                                    ·5· ·transactions not containing a signature, the DPS does
·6· · · · Q.· ·Okay.· So the signature as needed under the      ·6· ·use the prior provided electronic signature that -- for
·7· ·Texas Election Code that you keep referencing is needed    ·7· ·the driver's license that they -- the customer used --
·8· ·on the voter registration form, not the driver's license   ·8· ·provided the last time they were in person.· Correct?
·9· ·form.· Correct?                                            ·9· · · · A.· ·Presumably, yes.
10· · · · · · · · · MS. MACKIN:· Objection; form.               10· · · · Q.· ·The same goes for the mail-in change of
11· · · · A.· ·No, that is not correct.                         11· ·address transaction -- are you looking at your driver's
12· · · · Q.· ·(By Ms. Stevens)· Explain why it's not           12· ·license there?
13· ·correct.                                                   13· · · · A.· ·Yeah.· Because this one was renewed online,
14· · · · A.· ·The Texas Election Code requires that an         14· ·and so I guess that I wrote that signature at their
15· ·application for voter registration be in writing and       15· ·signature capture device quite a while ago.
16· ·signed by the applicant.· That is what happens at DPS.     16· · · · Q.· ·Okay.· And you're aware that you have to
17· · · · · · · · · And the voter not only signs once.· They    17· ·transact in person with DPS every other transaction?
18· ·sign twice.· They sign the DL application that says "I     18· · · · A.· ·Yes.
19· ·want to register to vote," and then they -- that also      19· · · · Q.· ·For the mail-in change of address form that --
20· ·swears they're a citizen and that they're over 18 and      20· ·I think that's an exhibit in front of you -- that DPS
21· ·all of the stuff that's contained in that application --   21· ·receives that has the voter registration question, there
22· ·and they also sign a signature capture device that has     22· ·is not an electronic signature or a -- use your
23· ·the attestations for the voter registration.               23· ·phrase -- the physical signature provided on a keypad
24· · · · · · · · · Now, when we get a voter registration       24· ·provided for that change of address interaction.
25· ·application from DPS, once in a while the data regarding   25· ·Correct?

                                                     Page 95                                                         Page 97
·1· ·the signature doesn't transmit.· So we can use, in lieu    ·1· · · · · · · · · MS. MACKIN:· Objection; form.
·2· ·of that signature capture device signature, the physical   ·2· · · · A.· ·No.· There's a physical signature on the -- on
·3· ·signature, because that -- it might not be exactly the     ·3· ·the address change application.
·4· ·same, but it's saying, "I want to register to vote," and   ·4· · · · Q.· ·(By Ms. Stevens)· Right.· But the information
·5· ·it's a physical signature.· Right?                         ·5· ·that gets sent on to the voter registrars through the
·6· · · · · · · · · Whenever somebody does an online            ·6· ·Secretary of State's Office is the data that's pulled
·7· ·transaction at DPS, they don't sign anything.· There is    ·7· ·from that form and then the electronic signature that
·8· ·no signature electronically captured or otherwise, and     ·8· ·was previously provided by the customer in person at a
·9· ·that does not comply with the Texas Election Code.         ·9· ·DPS office?
10· ·There is nothing for them to sign.· There is no            10· · · · A.· ·That's my understanding, yes.
11· ·signature captured.· There is no signature.· There is      11· · · · Q.· ·Well, is that the Secretary of State's
12· ·nothing.                                                   12· ·understanding?
13· · · · Q.· ·On the -- let's backtrack just a little bit.     13· · · · A.· ·That is the Secretary of State's
14· ·On the driver's license forms that we've looked at -- I    14· ·understanding.· You bet.
15· ·think they're Exhibits 4 and 5 -- it says, "By providing   15· · · · Q.· ·So in that same way, the online transaction
16· ·my electronic signature, I understand the personal         16· ·could utilize the previously provided electronic
17· ·information on my application form and my electronic       17· ·signature that was provided in person by the customer
18· ·signature will be used for submitting my voter             18· ·for the voter registration application form that gets to
19· ·registration application to the Secretary of State's       19· ·the voter registrar in the same way that the change of
20· ·Office."                                                   20· ·address mail-in occurs?
21· · · · · · · · · Correct?                                    21· · · · A.· ·It could if the law allowed it, but the law
22· · · · A.· ·That's what it says.                             22· ·doesn't allow it, so it can't.
23· · · · Q.· ·Okay.· And so that's indicating to the           23· · · · Q.· ·What portion of the law doesn't allow it?
24· ·prospective voter that the electronic signature is         24· · · · A.· ·13.002(b).
25· ·what's used as the signature that's compliant with the     25· · · · · · · · · THE REPORTER:· As in boy?


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                                                                                                     APPENDIX 42
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 46
                                                              53 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                    Page 170                                                        Page 172
·1· ·for online counties, and it was presented at our county    ·1· · · · A.· ·So whenever we get the batch file from DPS and
·2· ·election seminar on the third day.· I just don't know      ·2· ·send it to the counties, it shows up as a task for them
·3· ·which year.                                                ·3· ·to work.· They've got a new voter registration
·4· · · · · · · · · And it doesn't look like something that     ·4· ·application from DPS that they need to put through the
·5· ·Betsy would have done, so probably it's old, but it --     ·5· ·live check system and get a VUID back.· They've got to
·6· ·you know, this doesn't look like our current VR            ·6· ·finish the process of registering the voter.· The voter
·7· ·section's work product, so I would imagine it's from a     ·7· ·is not registered just because they've got an
·8· ·seminar prior to the 30th Election Law Seminar.            ·8· ·application file out there in the world.· They have to
·9· · · · Q.· ·And what year was that?                          ·9· ·work that file.
10· · · · A.· ·The 30th Election Law Seminar was in 2012.       10· · · · Q.· ·And those are the tasks that are referenced
11· · · · Q.· ·The -- it looks like the -- I just have a        11· ·here, the -- run it through live check and then --
12· ·document with the meta data, but it looks like it was      12· · · · A.· ·No.
13· ·from 2013.                                                 13· · · · Q.· ·-- what else?
14· · · · A.· ·Okay.· That's conceivable, but -- I mean, I      14· · · · A.· ·No.· The task that's here is you get -- you
15· ·can tell it's old.                                         15· ·get -- whenever you turn on your computer for the day
16· · · · Q.· ·Okay.· And can you tell me why entire pages      16· ·and you log onto TEAM, before we had the dashboard, we
17· ·would have been redacted in the production to us?          17· ·had tasks to work.· And so you would have 50 DPS
18· · · · A.· ·For the same reason as the document              18· ·application tasks, because that's 50 DPS applications
19· ·Exhibit 12, because it's got technical data information.   19· ·that you need to run through the registration process
20· · · · Q.· ·In the form of --                                20· ·and get a VUID assigned to them.
21· · · · A.· ·Screenshots and that sort of thing.              21· · · · Q.· ·Through the new redeveloped TEAM, do they
22· · · · Q.· ·Is there something other than screenshots that   22· ·still have to do those tasks even if they're not called
23· ·would show the technical data information that you're      23· ·that same thing?
24· ·referencing?                                               24· · · · A.· ·That's right.· They still show up on their
25· · · · A.· ·I don't know.· Sometimes Betsy puts on there     25· ·dashboard, and on their dashboard, they've got 50 DPS

                                                    Page 171                                                        Page 173
·1· ·buttons and, you know, pictures of the buttons and the     ·1· ·registrations to work.
·2· ·drop-down menus and stuff.· This would have been old       ·2· · · · Q.· ·So it says that "voters who would otherwise be
·3· ·TEAM.                                                      ·3· ·eligible may have to cast a provisional ballot."· Why is
·4· · · · Q.· ·And the buttons you're referencing, though,      ·4· ·that?· What --
·5· ·are within the TEAM system?                                ·5· · · · A.· ·Because they didn't get registered.· If you
·6· · · · A.· ·Yes, in the web interface.                       ·6· ·don't work your DPS tasks, you're not registering the
·7· · · · Q.· ·If you would turn to Page 10, I'll ask you       ·7· ·voter.
·8· ·some questions about that.· Are you there?                 ·8· · · · Q.· ·Okay.
·9· · · · A.· ·Yes.                                             ·9· · · · A.· ·The voter is not registered until the voter
10· · · · Q.· ·All right.· At the top, it says, "What if I      10· ·registrar registers them.
11· ·don't finish all DPS pending tasks?"                       11· · · · Q.· ·What's the --
12· · · · · · · · · Did I read that correctly?                  12· · · · · · · · · THE REPORTER:· I'm sorry.· Until the
13· · · · A.· ·Yes.                                             13· ·voter registrar?
14· · · · Q.· ·And then there are three bullet points.· The     14· · · · · · · · · THE WITNESS:· Registers them.
15· ·first one says, "Your official list of registered voters   15· · · · · · · · · THE REPORTER:· Thank you.
16· ·will not contain all otherwise eligible voters."           16· · · · Q.· ·(By Ms. Stevens)· What's the timeframe that
17· · · · · · · · · The second bullet says, "Voters who would   17· ·the voter registrar has between receipt of the voter
18· ·otherwise be eligible may have to cast a provisional       18· ·registration form and when the voter has to be
19· ·ballot."                                                   19· ·registered?
20· · · · · · · · · And the third says, "Reimbursement will     20· · · · A.· ·There's not a specific timeframe for that.
21· ·be delayed for these records until you complete the        21· ·The voter needs to have a voter registration certificate
22· ·tasks."                                                    22· ·within 30 days.
23· · · · · · · · · What are the DPS pending tasks that this    23· · · · Q.· ·And that's generated by the voter registrar?
24· ·PowerPoint reference -- or excuse me -- this page          24· · · · A.· ·That's right.· Whenever the voter registration
25· ·references?                                                25· ·is successfully completed, the system kicks out a VR


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                                                                                                     APPENDIX 43
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 47
                                                              54 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                    Page 174                                                        Page 176
·1· ·certificate.                                               ·1· ·associate the voters to the precinct.· And it was a
·2· · · · Q.· ·And the 30 days starts running from the time     ·2· ·time-consuming, laborious, manual process.· The new TEAM
·3· ·that the voter submits the voter registration              ·3· ·is automated.· When you create the precinct, the voters
·4· ·application.· Is that correct?                             ·4· ·are in it.
·5· · · · A.· ·That's correct.                                  ·5· · · · Q.· ·So this slide within the PowerPoint is
·6· · · · Q.· ·Does the Secretary of State's Office --          ·6· ·obsolete now?
·7· · · · A.· ·That's for all applications, paper or DPS.       ·7· · · · A.· ·It is.
·8· · · · Q.· ·That 30-day timeframe?                           ·8· · · · Q.· ·Okay.· Turn with me, please, to Page 12.· This
·9· · · · A.· ·Yes.                                             ·9· ·says at the top, "What about the," in quotes, "'SC 91
10· · · · Q.· ·Does the Secretary of State ensure that          10· ·from FPCA' tasks?"
11· ·counties finish their DPS pending tasks before elections   11· · · · · · · · · Is that a -- well, what kind of task is
12· ·so that all eligible -- all eligible voters can cast a     12· ·that?
13· ·regular ballot?                                            13· · · · A.· ·So the Federal Post Card Application is what
14· · · · A.· ·We don't -- I don't know what you mean by        14· ·the FPCA stands for, and it is a form that is used by
15· ·"ensure."· We don't tell counties what to do.· We          15· ·military voters and overseas voters to do two things.
16· ·strongly encourage them to get their work done.            16· ·The FPCA is both a request for a ballot by mail and a
17· · · · Q.· ·Okay.                                            17· ·voter registration document.
18· · · · A.· ·There's no ensuring anything by a county.· We    18· · · · · · · · · And so whenever -- the early voting clerk
19· ·have on our TEAM system information about how many are     19· ·is the one who receives the FPCAs.· The early voting
20· ·unworked, and we will call the counties that have a        20· ·clerk will input that FPCA into their system to request
21· ·substantial number of unworked ones and ask them what      21· ·a -- to generate a ballot to send to the voter, and then
22· ·the deal is and why aren't they finishing.                 22· ·they will send this SC 91 to the voter registrar so that
23· · · · Q.· ·And what if they said, "We're just not going     23· ·the voter registrar will register the voter or update
24· ·to do it"?                                                 24· ·their voter registration if they're already registered.
25· · · · A.· ·That never happens, but if it did, we would      25· · · · · · · · · So there's two pieces of this puzzle that

                                                    Page 175                                                        Page 177
·1· ·have a 31.005 situation on our hands.· We had something    ·1· ·have to come together, and the early voting clerk is the
·2· ·close to that in Harrison County in 2014, and I was        ·2· ·one who receives this one.· Normally voter registrations
·3· ·close to pulling the trigger on a 31.005 at that point.    ·3· ·go directly to the voter registrar, but this voter
·4· ·But that is the only county election official that I've    ·4· ·registration goes to the early voting clerk, which can
·5· ·ever encountered who exhibited an attitude similar to      ·5· ·be different in about 130 counties, 140 counties.
·6· ·that.                                                      ·6· · · · Q.· ·And is this still the -- needs to be processed
·7· · · · · · · · · They almost universally are in this         ·7· ·in the same way in new TEAM as in old TEAM?
·8· ·business because they care about the election process,     ·8· · · · A.· ·It is still the case that the early voting
·9· ·they care about the voters, and they want the process to   ·9· ·clerk gets -- the FPCA does what they do with it and
10· ·run properly and well.· They're remarkable, and they       10· ·sends the SC 91 to the voter registrar, yes.
11· ·work hard.                                                 11· · · · Q.· ·And the voter registrar works it in the same
12· · · · Q.· ·Would you flip to the next page, which is        12· ·way that they would work any other voter registration --
13· ·Page 11 of that PowerPoint?· At the top, it says, "What    13· · · · A.· ·Yes.
14· ·about the unresolved precinct/jurisdiction tasks?"         14· · · · Q.· ·-- application?
15· · · · · · · · · What task is that referring -- or tasks?    15· · · · A.· ·I -- it is my understanding that the
16· · · · A.· ·So in the old TEAM, you would have some voters   16· ·difference now is what the early voting clerk does is a
17· ·who were untethered, and so you would have to make         17· ·temporary voter registration sufficient to keep that --
18· ·them -- you would have to put them into a precinct         18· ·you know, to keep that ballot request active.· And so
19· ·physically.· Our current redeveloped system doesn't work   19· ·it's not as essential that the voter registrar work the
20· ·like this.                                                 20· ·91 as fast.· They need to before the next election that
21· · · · Q.· ·How does it work for the precincts now?          21· ·the FPCA would be good for, but they don't have to
22· · · · A.· ·So now then the redistricting module you         22· ·necessarily for this election.· So I don't know for sure
23· ·can't -- you can't create a precinct without having the    23· ·if it's exactly the same now as it -- as it was then.
24· ·voters associated with it.· In the old TEAM, you would     24· · · · Q.· ·And the temporary voter registration that
25· ·have to create the precinct.· Then you would have to       25· ·you've talked about that the early voting clerk creates,


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                                                                                                     APPENDIX 44
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 48
                                                              55 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                    Page 182                                                        Page 184
·1· ·voter registration field:· 'Voter registration was never   ·1· · · · A.· ·The --
·2· ·included in the file due to conversations during DLR       ·2· · · · Q.· ·-- the signature issue might --
·3· ·requirements.· Since they are not actually registering     ·3· · · · A.· ·Since there's --
·4· ·to vote when they select yes, the DLS application was      ·4· · · · Q.· ·-- take some working out?
·5· ·not to receive this field.· When they select yes to        ·5· · · · A.· ·-- not a signature captured contemporaneously
·6· ·voter reg online, they are merely presented with a link    ·6· ·with the transaction, retrieving the proper signature
·7· ·and has no indication of whether or not they actually      ·7· ·from the proper file is a technical thing that Texas.gov
·8· ·registered to vote.'"                                      ·8· ·or DPS or somebody would have to overcome.
·9· · · · · · · · · Did I read all that correctly?              ·9· · · · Q.· ·But that signature file is housed within DLS.
10· · · · A.· ·You did.                                         10· ·Right?
11· · · · Q.· ·The DLR requirements that it's talking about,    11· · · · A.· ·Presumably.
12· ·that's referencing the conversations you were able to      12· · · · Q.· ·Well, for the -- going back to the mail-in
13· ·confirm with your predecessor and Betsy Schonhoff's        13· ·change of address with DPS, that information goes on to
14· ·predecessor.· Is that right?                               14· ·the Secretary of State.· If someone chooses to register
15· · · · A.· ·I -- I don't think so, no.                       15· ·to vote, that signature is retrieved from DLS and sent
16· · · · Q.· ·What do you think it is?                         16· ·on to the Secretary of State.· Right?
17· · · · A.· ·I think that's what the driver's license         17· · · · A.· ·It's retrieved from wherever they keep it,
18· ·division required from Texas.gov.· Now, I assume the       18· ·yes.
19· ·business requirements for this were discussed with our     19· · · · Q.· ·Okay.· And, presumably, that same signature
20· ·office, and based upon my conversations with Karen and     20· ·could be sent on if the person answered yes to the voter
21· ·Ann, I believe those conversations occurred, but I do      21· ·registration question online?
22· ·not understand what this means when it says it was         22· · · · A.· ·If it was legal to do so.· I've already told
23· ·"never included in the file due to conversations during    23· ·you I think that's technically possible.· You bet.
24· ·DLR requirements."                                         24· · · · Q.· ·Okay.· And --
25· · · · · · · · · What I think it means is that the actual    25· · · · A.· ·And I don't think it would cost a lot of

                                                    Page 183                                                        Page 185
·1· ·process of taking this information and shipping it         ·1· ·money.· It would cost something to make that change.
·2· ·through DLS to Secretary of State was never included.      ·2· · · · Q.· ·Okay.
·3· · · · Q.· ·And --                                           ·3· · · · A.· ·And I've been told that the technical
·4· · · · A.· ·And that would be consistent with my             ·4· ·procedure -- the technical hurdle to overcome is making
·5· ·conversations with Ann and Karen.                          ·5· ·sure you pull the right signature.
·6· · · · Q.· ·And that -- that's true as far as the            ·6· · · · Q.· ·And who told you that?
·7· ·Secretary of State is concerned.· That information has     ·7· · · · A.· ·DPS.
·8· ·never been sent from Texas.gov DPS application to DLS      ·8· · · · Q.· ·Who at DPS?
·9· ·and then on to Secretary of State?                         ·9· · · · A.· ·It was in a conversation about online voter
10· · · · A.· ·That's right.                                    10· ·registration with many stakeholders in the room.
11· · · · Q.· ·Okay.· I think you referenced this earlier --    11· · · · Q.· ·And when you say it would be an issue to
12· ·or stated this earlier, but the technical requirements     12· ·determine which signature to pull, how many signatures
13· ·for transferring the answer to the voter registration      13· ·are attached to an individual record?
14· ·question on a DPS online transaction to DLS on to the      14· · · · A.· ·Well, that's the issue.· Which individual
15· ·Secretary of State's Office, it's technic- --              15· ·record are you pulling from, and then which signature?
16· ·technically feasible?                                      16· ·So if somebody has been a driver in Texas, they could
17· · · · A.· ·Yeah.· It's my understanding that there would    17· ·have a lot of signatures on file with the DPS.· I don't
18· ·be some cost associated with it, and there would be        18· ·know how many they keep, and I don't know what form they
19· ·an -- an issue with making sure you retrieved the proper   19· ·keep them.
20· ·signature to send with the file, that technically that     20· · · · · · · · · But I don't -- I don't know.· This is not
21· ·would be a challenge that would have to be overcome        21· ·our process that I'm talking about.· This is DPS's
22· ·and -- so I don't know.· I mean, it's feasible.· It        22· ·process.· DPS has expressed that the technical hurdle to
23· ·would just cost money.                                     23· ·doing something like this in a similar situation is
24· · · · Q.· ·What's the -- you identified the cost            24· ·retrieving the correct signature.· I don't know why
25· ·implications but also it might be difficult or --          25· ·that's difficult.· I don't know anything about the


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                                                                                                     APPENDIX 45
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 49
                                                              56 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                    Page 186                                                        Page 188
·1· ·details of the difficulty.· That is not my issue.· It is   ·1· ·not be as comprehensive as any voter.· It would be just
·2· ·not the Secretary of State's issue.· I just know what      ·2· ·the voters who -- or the customers who are doing a
·3· ·they've expressed in an open meeting about online voter    ·3· ·transaction with DPS already, but still it's the same
·4· ·registration.                                              ·4· ·process.
·5· · · · Q.· ·But the Secretary of State does know that DPS    ·5· · · · Q.· ·So the $182,000 that you've identified,
·6· ·is able to pull the proper signature to send on for        ·6· ·what -- what does that cost entail?
·7· ·voter registration purposes to the Secretary of State      ·7· · · · A.· ·Hours of developer work that it would require
·8· ·for mail-in change of address forms?                       ·8· ·to make TEAM able to do this interface.
·9· · · · A.· ·I'm not arguing with you that this is not        ·9· · · · Q.· ·TEAM already does this interface for DPS
10· ·possible.· That is not my argument at all.· My argument    10· ·applications.· Correct?
11· ·is exactly to the contrary.· This is a very possible       11· · · · A.· ·No.· It does a similar one, and it might not
12· ·thing to do what you're saying if it was legal, and it's   12· ·be much of a hurdle to do a different one, but it
13· ·not legal.                                                 13· ·doesn't do this one yet.
14· · · · Q.· ·Okay.· And --                                    14· · · · Q.· ·What information would come -- in our
15· · · · A.· ·So I'm not contesting the logistics of it.· We   15· ·scenario -- I'm not talking about online voter
16· ·can agree that it's a possible thing to do.                16· ·registration.
17· · · · Q.· ·Okay.· And I'm -- I'm trying to understand,      17· · · · A.· ·Really, I -- do we have to talk about this?
18· ·from the Secretary of State's perspective, how possible.   18· ·This -- I am not arguing the point about whether it's
19· ·Is it --                                                   19· ·possible.· It is possible and I don't think very
20· · · · A.· ·That I don't know.· That's a DPS question.       20· ·difficult.· So why do we need to keep talking about it?
21· · · · Q.· ·Okay.· The -- so you've told me about the        21· · · · Q.· ·I'm just trying to make sure that it's clear
22· ·signature potential issue with DPS.· Tell me about the     22· ·for the Judge in our case --
23· ·costs that you are referencing.                            23· · · · A.· ·How -- how clear can I make it for the Judge?
24· · · · A.· ·That's a DPS question.                           24· · · · Q.· ·Well, I'm trying -- you've -- you've said that
25· · · · Q.· ·So the costs are only on the DPS side of this?   25· ·it -- when I asked you about cost, you referenced the

                                                    Page 187                                                        Page 189
·1· · · · A.· ·We have put a fiscal note on online voter        ·1· ·$182,000.· I'm just trying to get at what that money
·2· ·registration of about $182,000 --                          ·2· ·covers.
·3· · · · Q.· ·What does that --                                ·3· · · · A.· ·The fiscal note on the online voter
·4· · · · A.· ·-- for Secretary of State.                       ·4· ·registration bills is available on the Texas legislature
·5· · · · Q.· ·What does that mean?                             ·5· ·online website.· You can go read it at your leisure.
·6· · · · A.· ·For changes that we would have to make to TEAM   ·6· · · · Q.· ·Well, unfortunately, I'm not at my leisure,
·7· ·if there was an online voter registration option in        ·7· ·and I'm here for a deposition.· And so could you please
·8· ·Texas.                                                     ·8· ·answer my question?
·9· · · · Q.· ·And -- and let's make the distinction very       ·9· · · · A.· ·I have answered your question.· It is for
10· ·clear.· You're talking about a process that is not the     10· ·hours of development work to make TEAM be configured to
11· ·DPS online application that we're talking about.· That     11· ·accept this new interface.
12· ·is a -- a voter registration application that would run    12· · · · Q.· ·So that's all $182,000 represents?
13· ·through the Secretary of State's Office.                   13· · · · A.· ·That's right.· Developer hours.
14· · · · A.· ·The versions of --                               14· · · · Q.· ·The Secretary of State's Office is not a part
15· · · · Q.· ·Is that --                                       15· ·of the legislature.· Correct?
16· · · · A.· ·-- online voter registration that have been      16· · · · A.· ·That is correct.
17· ·proposed in the legislature would be a very similar        17· · · · Q.· ·And thus you are not a legislator.· Is that
18· ·process to what you're describing from Texas Online,       18· ·correct?
19· ·where you would be able to go online, request to           19· · · · A.· ·I am not.
20· ·register to vote, and DPS would supply the signature       20· · · · Q.· ·And you're also not a legislative aide.· Is
21· ·from their file.· And those are the only people who        21· ·that correct?
22· ·would be eligible to register online, are people who       22· · · · A.· ·I am not.
23· ·have a signature on file with the DPS.· It is a very       23· · · · Q.· ·Okay.· And -- and no one in the Department of
24· ·similar process.                                           24· ·Elections within the Secretary of State's Office is --
25· · · · · · · · · This -- this what you're discussing might   25· ·is a legislator.· Correct?


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                                                                                                     APPENDIX 46
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 50
                                                              57 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                   Page 214                                                           Page 216
·1· · · · · · · · · · CHANGES AND SIGNATURE                     ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· ·PAGE· ·LINE· · · · ·CHANGE· · · · · · · · · · · · REASON   · · · · · · · · · · WESTERN DISTRICT OF TEXAS
                                                                ·2· · · · · · · · · · ·SAN ANTONIO DIVISION
·3· ·________________________________________________________   ·3· ·JARROD STRINGER, et al.,· · · · §
·4· ·________________________________________________________   · · · · · · · · · · · · · · · · · · ·§
                                                                ·4· · · · · · ·Plaintiffs,· · · · · ·§
·5· ·________________________________________________________
                                                                · · · · · · · · · · · · · · · · · · ·§
·6· ·________________________________________________________   ·5· ·v.· · · · · · · · · · · · · · · §· Civil Action
·7· ·________________________________________________________   · · · · · · · · · · · · · · · · · · ·§· No. 5:16-cv-00257-OLG
                                                                ·6· ·ROLANDO B. PABLOS, IN HIS· · · ·§
·8· ·________________________________________________________   · · ·OFFICIAL CAPACITY AS THE· · · · §
·9· ·________________________________________________________   ·7· ·SECRETARY OF STATE and STEVEN· ·§
                                                                · · ·C. McCRAW, IN HIS OFFICIAL· · · §
10· ·________________________________________________________
                                                                ·8· ·CAPACITY AS THE DIRECTOR OF· · ·§
11· ·________________________________________________________   · · ·THE TEXAS DEPARTMENT OF PUBLIC §
12· ·________________________________________________________   ·9· ·SAFETY,· · · · · · · · · · · · ·§
                                                                · · · · · · · · · · · · · · · · · · ·§
13· ·________________________________________________________   10· · · · · · ·Defendants.· · · · · ·§
14· ·________________________________________________________   11
                                                                · · · · · · · · · · ·REPORTER'S CERTIFICATION
15· ·________________________________________________________
                                                                12· · · · · · · ·DEPOSITION OF BRIAN KEITH INGRAM
16· ·________________________________________________________   · · · · · · · · · · · · · March 22, 2017
17· ·________________________________________________________   13
                                                                14· · · · I, Steven Stogel, Certified Shorthand Reporter in
18· ·________________________________________________________   15· ·and for the State of Texas, hereby certify to the
19· ·________________________________________________________   16· ·following:
                                                                17· · · · That the witness, BRIAN KEITH INGRAM, was duly
20· ·________________________________________________________
                                                                18· ·sworn by the officer and that the transcript of the oral
21· ·________________________________________________________   19· ·deposition is a true record of the testimony given by
22· ·________________________________________________________   20· ·the witness;
                                                                21· · · · That the original deposition was delivered to MS.
23· ·________________________________________________________   22· ·BETH STEVENS.
24· ·________________________________________________________   23· · · · That a copy of this certificate was served on all
                                                                24· ·parties and/or the witness shown herein on
25· ·________________________________________________________
                                                                25· ·__________________, 2017.


                                                   Page 215                                                           Page 217
·1· · · · I, BRIAN KEITH INGRAM, have read the foregoing        ·1· · · · I further certify pursuant to FRCP Rule 30(f)(1)
·2· ·deposition and hereby affix my signature that same is      ·2· ·that the signature of the deponent:
·3· ·true and correct, except as noted above.                   ·3· · · · · · ·_X_ was requested by the deponent or a party
·4
                                                                ·4· ·before the completion of the deposition and that the
· · · · · · · · · · · · · · · · · ·__________________________
                                                                ·5· ·signature is to be before any notary public and returned
·5· · · · · · · · · · · · · · · · ·BRIAN KEITH INGRAM
                                                                ·6· ·within 30 days (or ____ days per agreement of counsel)
·6
·7· ·THE STATE OF __________)                                   ·7· ·from date of receipt of the transcript.· If returned,

·8· ·COUNTY OF _____________)                                   ·8· ·the attached Changes and Signature Page contains any
·9                                                              ·9· ·changes and the reasons therefore:
10· · · · Before me, ___________________, on this day           10· · · · · · ·___ was not requested by the deponent or a
11· ·personally appeared BRIAN KEITH INGRAM, known to me (or    11· ·party before the completion of the deposition.
12· ·proved to me under oath or through _________________)      12· · · · That the amount of time used by each party at the
13· ·(description of identity card or other document) to be
                                                                13· ·deposition is as follows:
14· ·the person whose name is subscribed to the foregoing
                                                                14· · · · · · ·MS. BETH STEVENS......................4:48
15· ·instrument and acknowledged to me that they executed the
                                                                15· · · · · · ·MS. ANNE MARIE MACKIN.................0:02
16· ·same for the purposes and consideration therein
17· ·expressed.                                                 16· · · · That pursuant to information given to the
18· · · · Given under my hand and seal of office this the       17· ·deposition officer at the time said testimony was taken,
19· ·_____ day of ______________, 2017.                         18· ·the following includes counsel for all parties of
20                                                              19· ·record:
21                                                              20· · · · FOR THE PLAINTIFFS:· MS. BETH STEVENS
· · · · · · · · · · · · · · · · · ·__________________________
                                                                21· · · · FOR THE DEFENDANTS:· MS. ANNE MARIE MACKIN
22· · · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
                                                                22· · · · That $_________ is the deposition officer's charges
· · · · · · · · · · · · · · · · · ·THE STATE OF _____________
                                                                23· ·to the Plaintiffs for preparing the original deposition
23
24                                                              24· ·transcript and any copies of exhibits;

25                                                              25· · · · I further certify that I am neither counsel for,



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                                                                                                    APPENDIX 47
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 51
                                                              58 of 207
                                                                    797
STRINGER: BRIAN KEITH INGRAM

                                                   Page 218
·1· ·related to, nor employed by any of the parties or
·2· ·attorneys to the action in which this testimony was
·3· ·taken, and further that I am not financially or
·4· ·otherwise interested in the outcome of this action.
                                       5th
·5· · · · Certified to by me this the _________ day of
        April
·6· ·__________________, 2017.
·7
·8
·9· · · · · · · · · · · ·___________________________________
· · · · · · · · · · · · ·Steven Stogel
10· · · · · · · · · · · ·CSR 6174
· · · · · · · · · · · · ·Expiration Date:· December 31, 2018
11· · · · · · · · · · · ·HG Litigation Services
· · · · · · · · · · · · ·Firm No. 69
12· · · · · · · · · · · ·2777 N. Stemmons Freeway, Suite 1025
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20
21
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                                                                APPENDIX 48
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 52
                                                         59 of 207
                                                               797




              EXHIBIT 7




                                                          APPENDIX 49
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 53
                                                         60 of 207
                                                               797




                                                          APPENDIX 50
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 54
                                                         61 of 207
                                                               797




                                                          APPENDIX 51
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 55
                                                         62 of 207
                                                               797




              EXHIBIT 8




                                                          APPENDIX 52
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 56
                                                         63 of 207
                                                               797




                                                          APPENDIX 53
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 57
                                                         64 of 207
                                                               797




                                                          APPENDIX 54
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 58
                                                         65 of 207
                                                               797




              EXHIBIT 9




                                                          APPENDIX 55
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 59
                                                         66 of 207
                                                               797




                                                          APPENDIX 56
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 60
                                                         67 of 207
                                                               797




                                                          APPENDIX 57
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 61
                                                         68 of 207
                                                               797




            EXHIBIT 10




                                                          APPENDIX 58
       Case 5:16-cv-00257-OLG
            5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                  05/29/20 Page 62
                                                                69 of 207
                                                                      797
   STRINGER: SHERI GIPSON

                                                                            Page 1
·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· · ·JARROD STRINGER, ET AL.,· ·*
· · · · · · · · · · · · · · · · · *
·4· · · · Plaintiffs,· · · · · · ·*
· · · · · · · · · · · · · · · · · *
·5· · ·VS.· · · · · · · · · · · · * CIVIL ACTION
· · · · · · · · · · · · · · · · · *
·6· · ·ROLANDO PABLOS, IN HIS· · ·* NO.: 5:16-cv-00257-OLG
· · · ·OFFICIAL CAPACITY AS THE· ·*
·7· · ·TEXAS SECRETARY OF STATE· ·*
· · · ·and STEVEN C. MCCRAW, IN· ·*
·8· · ·HIS OFFICIAL CAPACITY AS· ·*
· · · ·THE DIRECTOR OF THE TEXAS *
·9· · ·DEPARTMENT OF PUBLIC· · · ·*
· · · ·SAFETY,· · · · · · · · · · *
10· · · · · · · · · · · · · · · · *
· · · · · Defendants.· · · · · · ·*
11

12· ·********************************************************

13· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF

14· · · · · · · · · · · · ·SHERI GIPSON

15· · · · · · DEPARTMENT OF PUBLIC SAFETY'S 30(b)(6)

16· · · · · · · · · · · · MARCH 7TH, 2017

17· ·*******************************************************

18· · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF SHERI

19· ·GIPSON, produced as a witness at the instance of the

20· ·PLAINTIFFS, and duly sworn, was taken in the

21· ·above-styled and numbered cause on the 7th of March,

22· ·2017, from 9:36 a.m. to 6:15 p.m., before Tammy Staggs,

23· ·CSR in and for the State of Texas, reported by machine

24· ·shorthand, at the offices of Texas Attorney General's

25· ·Office, 300 West 15th Street, 11th Floor, Austin, Texas,



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                                                                 APPENDIX 59
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 63
                                                              70 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                      Page 2                                                         Page 3
·1· ·pursuant to the Federal Rules of Civil Procedure and the   ·1· · · · · · · · · · ·A P P E A R A N C E S
                                                                ·2· ·FOR THE PLAINTIFF, JARROD STRINGER:
·2· ·provisions stated on the record or attached hereto.        · · · · · Cassandra Champion, Esq.
·3· ·That the deposition shall be read and signed under         ·3· · · · TEXAS CIVIL RIGHTS PROJECT
                                                                · · · · · 1405 Montopolis Drive
·4· ·penalties of perjury.· That the deposition shall be read   ·4· · · · Austin, Texas· 78741
                                                                · · · · · 512.474.5073
·5· ·and signed before any notary public.                       ·5· · · · champion@texascivilrighsproject.org
                                                                ·6
·6                                                              ·7· ·FOR THE PLAINTIFF, JOHN FRITZ:
·7                                                              · · · · · Beth Stevens, Esq.
                                                                ·8· · · · TEXAS CIVIL RIGHTS PROJECT
·8                                                              · · · · · 1405 Montopolis Drive
                                                                ·9· · · · Austin, Texas· 78741
·9                                                              · · · · · 512.474.5073
10                                                              10· · · · stevens@texascivilrighsproject.org
                                                                11
11                                                              12· ·FOR THE PLAINTIFF, BENJAMIN HERNANDEZ:
                                                                · · · · · Caitlyn Elizabeth Silhan, Esq.
12                                                              13· · · · WATERS & KRAUS, L.L.P.
                                                                · · · · · 3141 Hood Street
13                                                              14· · · · Suite 700
14                                                              · · · · · Dallas, Texas· 75219
                                                                15· · · · 214.357.6244
15                                                              · · · · · csilhan@waterskraus.com
                                                                16
16                                                              17
17                                                              · · ·FOR THE DEFENDANTS:
                                                                18· · · · Anna M. Mackin, Esq.
18                                                              · · · · · Esteban Soto, Esq.
                                                                19· · · · ATTORNEY GENERAL'S OFFICE
19                                                              · · · · · 300 West 15th Street
                                                                20· · · · Floor 11
20                                                              · · · · · Austin, Texas· 78711
21                                                              21· · · · 512.463.2120
                                                                · · · · · anna.mackin@oag.texas.gov
22                                                              22· · · · esteban.soto@oag.texas.gov
                                                                23· · · · Kathleen T. Murphy, Esq.
23                                                              · · · · · TEXAS DEPARTMENT OF PUBLIC SAFETY
24                                                              24· · · · 5805 North Lamar
                                                                · · · · · Austin, Texas· 78752
25                                                              25· · · · 512.424.2890
                                                                · · · · · · · ·Kathleen.murphy@dps.texas.gov

                                                      Page 4                                                         Page 5
·1· · · · · · · · · · A P P E A R A N C E S                     ·1· · · · · · · · · · · · · · ·INDEX
·2· ·ALSO PRESENT:                                              · · · · · · · · · · · · · · · · · · · · · · · · · · · · PAGE
·3· · · · Justin Talbot - Videographer                          ·2· ·Appearances.....................................· · ·3
·4                                                              ·3· ·Exhibit List....................................· · ·6
·5                                                              ·4· ·Stipulations....................................· · --

·6                                                              ·5· ·SHERI GIPSON:

·7                                                              ·6· · · · EXAMINATION BY MS. CHAMPION................· · 11

·8                                                              ·7· · · · EXAMINATION BY MS. STEVENS.................· ·199
                                                                ·8· · · · EXAMINATION BY MS. SILHAN..................· ·215
·9
                                                                ·9· · · · EXAMINATION BY MS. MACKIN..................· ·216
10
                                                                10· · · · FURTHER EXAMINATION BY MS. SILHAN..........· ·222
11
                                                                11
12
                                                                12· ·Signature and Changes...........................· ·234
13
                                                                13
14
                                                                14· ·Reporter's Certificate..........................· ·237
15
                                                                15
16
                                                                16
17
                                                                17· · · · · · · · REQUESTED DOCUMENTS/INFORMATION
18
                                                                18· · · · · · · · · · · · · · (None)
19                                                              19
20                                                              20· · · · · · · · · · · CERTIFIED QUESTIONS
21                                                              21· · · · · · · · · · · · · · (None)
22                                                              22
23                                                              23
24                                                              24
25                                                              25




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                                                                                                       APPENDIX 60
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 64
                                                              71 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                        Page 6                                                          Page 7
·1· · · · · · · · · · · · · ·EXHIBITS                            ·1· ·3G· · ·Module 10A: Class C and M Renewal Age 18
·2· ·NO.· · DESCRIPTION· · · · · · · · · · · · · · · · ·PAGE     ·2· · · · · and Above, Customer Operations Handbook..· · 44
·3· ·1· · · Plaintiffs' Fourth Amended Notice of                 ·3· ·3H· · ·Screenshots..............................· · 45
·4· · · · · Deposition of Defendant Stephen C.                   ·4· ·3I· · ·Module 6: Driver License Forms,
·5· · · · · McCraw, in his official capacity as the              ·5· · · · · Introduction to Common Non-CDL Forms,
·6· · · · · Director of Texas Department of Public               ·6· · · · · Customer Operations Handbook.............· · 45
·7· · · · · Safety, pursuant to Federal Rule of Civil            ·7· ·3J· · ·DL-64 Manual Address Change Processing...· · 46
·8· · · · · Procedure 30(b)(6).......................· · 14      ·8· ·3K· · ·Texas Secretary of State Voter Inquiry
·9· ·2· · · Defendants' Deposition Topic Designations            ·9· · · · · Portal...................................· · 48
10· · · · · and Objection to Corporate Representative            10· ·3L· · ·Voter registration paper application
11· · · · · Topics Under Federal Rule of Civil                   11· · · · · postcard.................................· · 49
12· · · · · Procedure 3il(b)(6)......................· · 15      12· ·3M· · ·Texas Driver License and ID Card Renewal
13· ·3A· · ·List of projects scheduled to occur                  13· · · · · Notice...................................· · 53
14· · · · · through 2019.............................· · 16      14· ·3N· · ·Texas Commercial Driver License
15· ·3B· · ·List of the changes that have been made              15· · · · · Application..............................· · 56
16· · · · · to the driver license system since 2012..· · 19      16· ·3O· · ·Application for Renewal/Replacement of a
17· ·3C· · ·Use Case Specification:· Process                     17· · · · · Texas Driver License or Identification
18· · · · · Authentication Request...................· · 34      18· · · · · Card.....................................· · 58
19· ·3D· · ·Use Case Specification: Process DL                   19· ·3P· · ·Application for Texas Driver License or
20· · · · · Duplicates/Renewals Application File.....· · 40      20· · · · · Identification Card as Exhibit...........· · 59
21· ·3E· · ·Use Case Specification: Create Daily                 21· ·3Q· · ·Application for Change of Address on
22· · · · · Update File For SOS......................· · 41      22· · · · · Valid Texas Driver License and
23· ·3F· · ·Use Case Specification: Create Voter                 23· · · · · Identification Card......................· · 59
24· · · · · Registration Extract File................· · 43      24
25                                                               25


                                                        Page 8                                                          Page 9
·1· ·3R· · ·Application for Change of Address on                 ·1· ·10· · ·E-mail string between Sara Sandeen and
·2· · · · · Valid Texas Driver License and                       ·2· · · · · Shea Burch, among others, dated October
·3· · · · · Identification Card......................· · 59      ·3· · · · · 2013.· Subject: Other DL.· Confidential..· ·151
·4· ·3S· · ·Screenshots..............................· · 60      ·4· ·11· · ·E-mail strong between Rebekah Hibbs and
·5· ·3T· · ·Screenshots..............................· · 61      ·5· · · · · Sheri Gipson, among others, dated 8/3/16.
·6· ·3U· · ·Texas Department of Public Safety                    ·6· · · · · Subject: DL/ID Renewal - Voter
·7· · · · · Driver's License/ID Card Renewal IVR                 ·7· · · · · Registration INC 2397....................· ·154
·8· · · · · Script, confidential.....................· · 61      ·8· ·12· · ·E-mail from Beva Kellison to Betsy
·9· ·3V· · ·Driver's License Renewal Receipt and                 ·9· · · · · Schonhoff, dated 11/27/13.· Subject: DPS
10· · · · · Temporary License........................· · 62      10· · · · · - Online Registration Attempt, with
11· ·3W· · ·Document titled: Texas Department of                 11· · · · · attachment, Confidential.................· ·156
12· · · · · Public Safety Temporary Identification               12· ·13· · ·DPS Module 17C Customer, Operations
13· · · · · Card.....................................· · 62      13· · · · · Handbook.................................· ·169
14· ·3X· · ·Letter dated July 22nd, 2016.............· · 62      14· ·D1· · ·Plaintiffs' Third Amended Notice of
15· ·3Y· · ·2016 Original, Renewal, Duplicate and                15· · · · · Deposition of Defendant Steven C. McCraw
16· · · · · Modification Issuances for Driver License            16· · · · · in his Official Capacity as the Director
17· · · · · and IDs..................................· · 63      17· · · · · of the Texas Department of Public Safety
18· ·4· · · Organizational chart.....................· · 65      18· · · · · Pursuant to Fed. R. CIV. P 30(b)(6)......· ·216
19· ·5· · · Application Requirements.................· · 82      19
20· ·6· · · Letter dated September 9th, 2015.........· ·113      20
21· ·7· · · E-mails between Brenda Hester and Kelly              21
22· · · · · Walton, dated 11/5/12.· Subject: Voting..· ·129      22
23· ·8· · · Voter inquiry checklist..................· ·134      23
24· ·9· · · DR-64 forms processed in fiscal year 2014            24
25· · · · · and 2015.................................· ·148      25




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                                                                                                    APPENDIX 61
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 65
                                                              72 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                     Page 10                                                         Page 11
·1· · · · · · · · · · ·P R O C E E D I N G S                    ·1· ·Department of Pubic Safety's Office of General Counsel.
·2· · · · · · · · · THE VIDEOGRAPHER:· Today is Tuesday March   ·2· · · · · · · · · MS. MACKIN:· Anna Mackin, Texas Office of
·3· ·7th, 2017.· It is approximately 9:36 a.m.· I am -- we      ·3· ·Attorney General, on behalf of the Defendants.
·4· ·are at the Texas Attorney's General Office at 300 West     ·4· · · · · · · · · I would also like to ask a question on
·5· ·15th Street, Austin, Texas 78701.                          ·5· ·the record.· Are we in Volume 2 of Sheri Gipson's
·6· · · · · · · · · My name is Justin Talbot, video             ·6· ·deposition or are we in the 30(b)(6) deposition of the
·7· ·specialist of Legal Eyes, Incorporated out of Aubrey,      ·7· ·Department of Public Safety?
·8· ·Texas.· This case, Cause No. 5:16-CV-00257-OLG entitled    ·8· · · · · · · · · MS. CHAMPION:· 30(b)(6) of the Department
·9· ·Jarrod Stringer, et al. vs. Rolando B. Pablos, et al.      ·9· ·of Public Safety.
10· ·And this is Volume 2 of the deposition of Sheri Gipson.    10· · · · · · · · · MS. MACKIN:· Okay.· That's what I
11· ·Video -- this video deposition was requested by the        11· ·thought.
12· ·Plaintiffs' counsel at Waters Kraus & Paul.                12· · · · · · · · · THE VIDEOGRAPHER:· I'm sorry.
13· · · · · · · · · Will counsel and all present please         13· · · · · · · · · MS. MACKIN:· That's okay.
14· ·identify yourselves for the record.                        14· · · · · · · · · THE VIDEOGRAPHER:· I had the wrong
15· · · · · · · · · MS. CHAMPION:· Cassandra Champion with      15· ·information.
16· ·the Texas Civil Rights Project appearing on behalf of      16· · · · · · · · · MS. MACKIN:· That's okay.· I just wanted
17· ·Plaintiff Jarrod Stringer.                                 17· ·to make it clear on the record.
18· · · · · · · · · MS. SILHAN:· Caitlyn Silhan on behalf of    18· · · · · · · · · MS. CHAMPION:· Thank you.
19· ·the Plaintiffs from Waters & Kraus, appearing on behalf    19· · · · · · · · · · · · ·SHERI GIPSON,
20· ·of Benjamin Hernandez.                                     20· ·Having been first duly sworn, testified as follows:
21· · · · · · · · · MS. STEVENS:· Beth Stevens from the Texas   21· · · · · · · · · · · · · EXAMINATION
22· ·Civil Rights Project appearing on behalf of John Fritz.    22· ·BY MS. CHAMPION:
23· · · · · · · · · MR. SOTO:· Esteban Soto with the Attorney   23· · · · Q.· ·Thank you.
24· ·General's Office on behalf of Defendants.                  24· · · · · · · · · Would you please state and spell your
25· · · · · · · · · MS. MURPHY:· Kathleen Murphy, Texas         25· ·full name for the record?

                                                     Page 12                                                         Page 13
·1· · · · A.· ·Sheri Gipson, S-H-E-R-I, G-I-P-S-O-N.            ·1· · · · Q.· ·And are you aware how this deposition is
·2· · · · Q.· ·Thank you.                                       ·2· ·slightly different from the one you gave in your
·3· · · · · · · · · I know you have been deposed before in      ·3· ·individual capacity?
·4· ·this case in your individual capacity, but I would just    ·4· · · · A.· ·Yes.
·5· ·like to review the rules of depositions with you, if       ·5· · · · Q.· ·So you are here today as a representative of
·6· ·that's okay.                                               ·6· ·the Department of Public Safety; is that correct?
·7· · · · A.· ·Okay.                                            ·7· · · · A.· ·Correct.
·8· · · · Q.· ·Remember, one of the most important things is    ·8· · · · Q.· ·And you've been authorized by the depublic of
·9· ·that only one of us talk at a time.· I will try to let     ·9· ·partment -- Department of Public Safety to appear on
10· ·you completely finish answering a question before asking   10· ·their behalf and give testimony for the Department
11· ·a new one.· And if you'll let me completely finish the     11· ·today; is that right?
12· ·question, that really helps the court reporter.· Is that   12· · · · A.· ·Correct.
13· ·okay?                                                      13· · · · Q.· ·Do you understand that the Department of
14· · · · A.· ·Yes.                                             14· ·Public Safety, or DPS, is bound by the testimony that
15· · · · Q.· ·And remember to give verbal answers, "yes" and   15· ·you give as a representative in this matter?
16· ·"no" rather than "uh-huh" and "uh-uh."                     16· · · · A.· ·Yes.
17· · · · · · · · · If you don't understand a question,         17· · · · Q.· ·And do you understand that, unless I say
18· ·please let me know; otherwise, if you don't tell me that   18· ·otherwise, I'm not asking for your personal opinions;
19· ·you haven't understood something, I will assume that you   19· ·but instead, I'm asking for the answer that reflects the
20· ·have understood and that the answer you gave was the       20· ·position of DPS and their subjective beliefs and
21· ·answer you intended to give.· Does that all make sense?    21· ·opinions.
22· · · · A.· ·Yes.                                             22· · · · A.· ·Correct.
23· · · · Q.· ·Okay.· Do you understand that you're under       23· · · · Q.· ·Is that clear?
24· ·oath here today?                                           24· · · · · · · · · Have you ever testified as a DPS
25· · · · A.· ·Yes.                                             25· ·representative before?



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                                                                                                     APPENDIX 62
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 66
                                                              73 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                     Page 74                                                         Page 75
·1· ·within those discussions?                                  ·1· · · · · · · · · THE WITNESS:· Okay.
·2· · · · A.· ·It is -- it's my understanding, based on         ·2· · · · A.· ·They use the same process.· So Texas NIC, when
·3· ·discussions, that those were considered -- would be        ·3· ·they -- the IVR actually inputs the information into our
·4· ·considered online transactions or online voter             ·4· ·online application file that comes from Texas NIC to
·5· ·registration application, and Texas statute does not       ·5· ·DPS.
·6· ·provide for that.                                          ·6· · · · Q.· ·(BY MS. CHAMPION)· Texas NIC takes the
·7· · · · Q.· ·Mail transactions for driver license renewal     ·7· ·information from IVR.· It collects it; is that right?
·8· ·were considered the same as online; is that correct?       ·8· · · · A.· ·That's correct.
·9· · · · · · · · · MS. MACKIN:· Objection, form.               ·9· · · · Q.· ·Do they -- does Texas NIC send the information
10· · · · A.· ·Correct.                                         10· ·to DPS?
11· · · · Q.· ·(BY MS. CHAMPION)· Please restate if -- if       11· · · · A.· ·Yes.
12· ·I've described that inaccurately.                          12· · · · Q.· ·And how often do they send it?
13· · · · A.· ·Repeat.                                          13· · · · A.· ·Nightly.· It comes with all of the
14· · · · Q.· ·Oh, I think I said the wrong thing.· Thank       14· ·transaction -- the transaction information from the IVR
15· ·you.· Telephone.                                           15· ·comes in the same file as the transaction information
16· · · · · · · · · Why -- I'm just -- I'm trying to clarify    16· ·from the Web.
17· ·that mail transactions are considered -- no.· Telephone    17· · · · Q.· ·Okay.· Are they sent -- is the information
18· ·transactions are considered the same as online             18· ·from NIC for both telephone and online transactions sent
19· ·transactions.                                              19· ·all together?
20· · · · · · · · · MS. MACKIN:· Objection, form.               20· · · · A.· ·In a single file?
21· · · · · · · · · You can answer.                             21· · · · Q.· ·Yes.
22· · · · · · · · · THE WITNESS:· I'm sorry.· I didn't hear     22· · · · A.· ·Yes.
23· ·you.                                                       23· · · · Q.· ·When DPS receives that information from Texas
24· · · · · · · · · MS. MACKIN:· I said objection, form.        24· ·NIC, does it get put into the DLS?
25· · · · · · · · · You can answer.                             25· · · · A.· ·Yes.· All transactions that come in from NIC

                                                     Page 76                                                         Page 77
·1· ·for DL or ID renewal or change of address are input into   ·1· ·customer sends in a change of address form via the mail?
·2· ·DLS.                                                       ·2· · · · A.· ·So as of March 16th, the form was revised to
·3· · · · Q.· ·Does that require any manual input by a DPS      ·3· ·allow the customer to indicate that they want to do a
·4· ·employee or is it automatic?                               ·4· ·change -- a voter registration application.· And when
·5· · · · A.· ·It's automatic.                                  ·5· ·that form is processed, that information is input into
·6· · · · Q.· ·Can you tell then -- can DPS tell by looking     ·6· ·the driver license system.· And the voter registration
·7· ·at DLS whether a transaction was completed by phone or     ·7· ·information is updated if they say yes.
·8· ·online?                                                    ·8· · · · Q.· ·I think I skipped an item, via telephone.· We
·9· · · · A.· ·Yes.                                             ·9· ·were speaking about renewals.· Is the process any
10· · · · Q.· ·How can they tell?                               10· ·different when a change of address is requested via
11· · · · A.· ·Because the -- and I can't remember the title    11· ·telephone?
12· ·of the - the field, but it's -- it's designated as         12· · · · A.· ·You cannot do a change of address application.
13· ·TOL.web or TOL.IVR.                                        13· ·And just to clarify, so when you do a renewal, you can
14· · · · Q.· ·Okay.· So what are -- how does DPS carry out     14· ·change your address, but there's a separate transaction
15· ·its duties related to voter registration when a customer   15· ·that you're not renewing.· You're just changing your
16· ·sends in a mail renewal form?· We kind of covered this,    16· ·address, and that's not allowed on the IVR.· It's not
17· ·but can you tell me generally again.                       17· ·provided for.
18· · · · A.· ·So when a mail renewal application is sent       18· · · · Q.· ·Why not?
19· ·out, it is sent with a voter registration application      19· · · · A.· ·It's just the volume of those is extremely
20· ·form prescribed by Secretary of State.· And the            20· ·low, and they have -- we've just never increased that
21· ·individual, if they complete that card, it is mailed       21· ·opportunity.· They can do it online, through the mail,
22· ·directly back to the Secretary of State.· It does not      22· ·or in the office.
23· ·come back to the Department.                               23· · · · Q.· ·How does DPS carry out its voter registration
24· · · · Q.· ·How about mail-in change of address forms, how   24· ·duties when a customer goes online to renew a driver
25· ·does DPS carry out its voter registration duties when a    25· ·license?



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                                                                                                     APPENDIX 63
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 67
                                                              74 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                     Page 78                                                         Page 79
·1· · · · A.· ·So as they go through the process, the           ·1· ·displayed, things like that, no.
·2· ·screens, they're given the opportunity to say -- state     ·2· · · · Q.· ·(BY MS. CHAMPION)· When did DPS start
·3· ·that they would like to register or submit a voter         ·3· ·performing voter registration functions?
·4· ·registration application.· And then on the receipt page,   ·4· · · · A.· ·It would have been mid-'90s.
·5· ·they're provided a link to the Secretary of State where    ·5· · · · Q.· ·Can you be any more specific?
·6· ·the packet is downloaded, completed, and mailed.           ·6· · · · A.· ·I believe it was either 1994 or 1995.
·7· · · · Q.· ·Is this process the same when a customer goes    ·7· · · · Q.· ·Do you know why they started completing voter
·8· ·online to change their driver license address?             ·8· ·registration functions at that time?
·9· · · · A.· ·Yes, it is.                                      ·9· · · · A.· ·As a part of the Help America Vote Act or the
10· · · · Q.· ·What steps has DPS taken to ensure that          10· ·Motor Voter.
11· ·customers are aware of voter registration opportunities    11· · · · Q.· ·When you say "Motor Voter," is that also
12· ·through DPS?                                               12· ·referred to as the NVRA?
13· · · · A.· ·So -- I mean, the information is on the form.    13· · · · A.· ·Yes.
14· ·The question is on each form.· As far as the online, it    14· · · · Q.· ·Have DPS's voter registration functions
15· ·-- it provides the question and then also on the receipt   15· ·changed/evolved since 1995?
16· ·page, calls attention to the fact that they need to        16· · · · · · · · · MS. MACKIN:· Objection, form.
17· ·download that application.                                 17· · · · · · · · · You can answer.
18· · · · Q.· ·Other than having the questions about voter      18· · · · A.· ·So they have evolved.· In 1995 the only thing
19· ·registration on the form or online, has DPS done           19· ·that was available was in-office transaction.· So all
20· ·anything else to increase customer awareness that they     20· ·individuals went through there.· When the mail-in
21· ·can register to vote while completing driver license       21· ·process was established in, I believe, 1998 -- I might
22· ·transactions?                                              22· ·have to confirm that date -- when that was established,
23· · · · · · · · · MS. MACKIN:· Objection, form.               23· ·the Department worked with the Secretary of State to
24· · · · · · · · · You can answer.                             24· ·determine the process and -- that would be followed as
25· · · · A.· ·As far as like designated information that's     25· ·far as providing the application -- the registration

                                                     Page 80                                                         Page 81
·1· ·application form.                                          ·1· ·the National Voter Registration Act?· Can you explain
·2· · · · · · · · · When the online processes were developed    ·2· ·it?
·3· ·in 2000, 2001, again, the Department worked with the       ·3· · · · · · · · · MS. MACKIN:· Objection, form.
·4· ·depart- -- Secretary of State to determine how those       ·4· · · · · · · · · You can answer.
·5· ·services would be offered.· The most recent change was     ·5· · · · A.· ·To -- to my -- to my limited ability to
·6· ·in 2009/'10 when we went from our previous distributed     ·6· ·describe it, it is basically things that are put into
·7· ·driver license system to the current driver license        ·7· ·place to help ensure that individuals are given the
·8· ·system.· The change made there is those applications       ·8· ·opportunity to register and then -- not only to
·9· ·that were processed in person, instead of them filling     ·9· ·register, but then to actually vote in -- in elections.
10· ·out the hardcopy form that was delivered to the local      10· · · · Q.· ·(BY MS. CHAMPION)· What -- so we talked about
11· ·registrar, the Department sent a file daily to the         11· ·some of the ways DPS carries out its voter registration
12· ·Secretary of State with all of those customer infor- --    12· ·duties.· What would you describe as the functions that
13· ·or with all the customer information indicating that       13· ·DPS has under the NVRA?
14· ·they had requested a registration application in the       14· · · · · · · · · MS. MACKIN:· Objection, form.
15· ·office.                                                    15· · · · · · · · · What topic is this responsive to?
16· · · · Q.· ·(BY MS. CHAMPION)· And when was that last        16· · · · · · · · · MS. CHAMPION:· The...
17· ·change?                                                    17· · · · · · · · · MS. MACKIN:· I mean, we can talk about
18· · · · A.· ·That change, the going to the electronic file,   18· ·the policies, practices, and procedures.· But just kind
19· ·it began in 2009, but there was a conversion period from   19· ·of the broad question about, like, functions --
20· ·two thou- -- May of 2009 to May 2010.· So during that      20· · · · · · · · · MS. CHAMPION:· Yeah.
21· ·time period there was still some offices who were          21· · · · · · · · · MS. MACKIN:· -- might be outside.
22· ·providing the hardcopy to the local registrar.             22· · · · · · · · · MS. CHAMPION:· Number 1, I suppose, the
23· · · · Q.· ·Okay.· We -- we talked about -- we -- I'm        23· ·duties and responsibilities of employees, agents, et
24· ·sorry.· We mentioned Motor Voter and the NVRA, which       24· ·cetera, et cetera, and compliance with the NVRA and
25· ·stands for the National Voter Registration Act.· What is   25· ·State laws or regulations.



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                                                                                                     APPENDIX 64
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 68
                                                              75 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                     Page 94                                                         Page 95
·1· · · · · · · · · Both the online renewal and change of       ·1· ·would have been -- back then they were -- would have
·2· ·address processes have the question related to voter       ·2· ·been referred to as the Chief of Driver License
·3· ·registration, and then that process provides a link        ·3· ·Division, but I don't have the names of the people at
·4· ·which takes them to Texas Secretary of State.              ·4· ·the Secretary of State.
·5· · · · Q.· ·Why does DPS include a voter registration        ·5· · · · Q.· ·For the online process, when DPS and the
·6· ·question during the online renewal and change of address   ·6· ·Secretary of State decided that a voter registration
·7· ·portion?                                                   ·7· ·question should be included online, why did they decide
·8· · · · A.· ·So it is part of the plan between the            ·8· ·that?
·9· ·Secretary of State and Department of Public Safety in      ·9· · · · A.· ·Because we are required to include the voter
10· ·compliance with the voter registration question being      10· ·registration opportunity within the driver license and
11· ·combined as part of the application process for a driver   11· ·identification card application.
12· ·license or ID.                                             12· · · · Q.· ·What requires you to do that?
13· · · · Q.· ·You said it's part -- part of a plan.· We        13· · · · A.· ·The -- and I -- I can't remember the names of
14· ·touched on this earlier also, but who developed that       14· ·all the -- but basically the NVRA and Chapter 20 of the
15· ·plan?                                                      15· ·Election Code and Texas Statute.
16· · · · A.· ·That plan was developed between the Department   16· · · · Q.· ·I'm going to refer back to Exhibit 3M, the
17· ·of Public Safety and Secretary of State.                   17· ·mail-in renewal form.· And it's recently been revised,
18· · · · Q.· ·And who at DPS and the Secretary of State was    18· ·but when did DPS start using mail renewal notice forms?
19· ·involved in deciding the way that the online question      19· · · · A.· ·I believe it was in 1998 or '99.
20· ·would -- would function?                                   20· · · · Q.· ·And this version in -- in Exhibit 3M was --
21· · · · A.· ·I would have to go back and see who the --       21· ·was renewed February two -- 2017.· Before that, what was
22· ·because the -- the original plan was developed in '94      22· ·the revision date?· Sorry.· When was it last revised
23· ·for the office transactions and then modified when the     23· ·before 2017?
24· ·mail renewal and online portions were added.· I do not     24· · · · A.· ·I would have to go back and find that
25· ·have the exact names of who was in that process.· It       25· ·information.

                                                     Page 96                                                         Page 97
·1· · · · Q.· ·Is there a voter registration question on the    ·1· · · · Q.· ·Did DPS consult the Secretary of State about
·2· ·DR-32?                                                     ·2· ·this form, about the creation of this form?
·3· · · · A.· ·No.                                              ·3· · · · · · · · · MS. MACKIN:· I'm going to object to the
·4· · · · Q.· ·Has there ever been a voter registration         ·4· ·extent it's before January 1st, 2012.
·5· ·question on any version of the DR-32?                      ·5· · · · · · · · · But other than that, you can answer.
·6· · · · · · · · · MS. MACKIN:· I'm going to just object to    ·6· · · · A.· ·To my knowledge, not on the actual DR-32 form.
·7· ·the extent that this is prior to January 1st, 2012, the    ·7· ·They were consulted regarding the process and the
·8· ·topics that she's designated on here.                      ·8· ·information that would be included on the voter
·9· · · · · · · · · But besides that, you can answer.           ·9· ·registration application card.
10· · · · A.· ·To my knowledge, no, it's always -- we have      10· · · · Q.· ·(BY MS. CHAMPION)· Did DPS discuss with the
11· ·always included a voter registration application form      11· ·Secretary of State the fact that a voter registration
12· ·provided by the Secretary of State within the mail         12· ·application card would accompany this form separately?
13· ·renewal packet.                                            13· · · · · · · · · MS. MACKIN:· And, again, I'm going to
14· · · · Q.· ·(BY MS. CHAMPION)· If you look at the back of    14· ·object to the extent it's before January 1st, 2012 as
15· ·the form, at the top it says Registration Renewal Guide,   15· ·designated in the this 30(b)(6) notice.
16· ·Read Carefully.· And there's a box that says, (as read):   16· · · · · · · · · But beyond that, you can answer.
17· ·No waiting in line.· Three easy ways to renew.             17· · · · · · · · · THE WITNESS:· Okay.
18· · · · · · · · · The first of those is Internet renewal.     18· · · · A.· ·Now, I'm sorry.· Ask the question again.
19· · · · A.· ·Uh-huh.                                          19· · · · Q.· ·(BY MS. CHAMPION)· Did DPS discuss with the
20· · · · Q.· ·Does DPS want people to renew online rather      20· ·Secretary of State the fact that a voter registration
21· ·than by mail?                                              21· ·card would be included separately with this form when it
22· · · · A.· ·If they're eligible, yes.                        22· ·was sent to customers?
23· · · · Q.· ·Why?                                             23· · · · A.· ·Yes, there would have been those discussions
24· · · · A.· ·It reduces the traffic within the office and     24· ·because they -- they had provided us the approved form
25· ·reduces overall wait times.                                25· ·that was going to be inserted.



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                                                                                                     APPENDIX 65
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 69
                                                              76 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                     Page 98                                                         Page 99
·1· · · · Q.· ·Does DPS transmit customer information it        ·1· ·went.· It would require IT to -- to assist us, but it is
·2· ·receives from driver license renewal applications to the   ·2· ·placed in the audit trail.
·3· ·Secretary of State for purposes of updating an             ·3· · · · Q.· ·Does DPS treat all valid and complete change
·4· ·applicant's voter registration status?                     ·4· ·of address forms submitted to DPS as notices of change
·5· · · · A.· ·They do for applications that occur in an        ·5· ·of address for voter registration purposes?
·6· ·office, and then the mail-in address change.               ·6· · · · · · · · · MS. MACKIN:· Objection, form.
·7· · · · Q.· ·Those are the only two circumstances?            ·7· · · · · · · · · You can answer.
·8· · · · A.· ·Yes.                                             ·8· · · · A.· ·Are you talking about the ones that are
·9· · · · Q.· ·So not by mail change of address?                ·9· ·submitted in office? through the mail?
10· · · · A.· ·No, not by mail renewal.· Mail change of         10· · · · Q.· ·(BY MS. CHAMPION)· All of them, uh-huh.
11· ·address, they do.                                          11· · · · A.· ·Okay.· So, again, the -- the ones that are
12· · · · Q.· ·Got it.· Got it.                                 12· ·treated -- or that are submitted to Texas Secretary of
13· · · · · · · · · Can DPS track the information that it       13· ·State as change of address or for voter application
14· ·sends to the Secretary of State regarding customers who    14· ·would be those that occur in the office or those that do
15· ·wanted to register to vote?                                15· ·a mail in.
16· · · · A.· ·Do you mean can -- can we look at the record     16· · · · Q.· ·So not all of them then?
17· ·and determine?                                             17· · · · · · · · · MS. MACKIN:· Objection, form.
18· · · · Q.· ·Yes.· Can DPS look at any record to see if       18· · · · · · · · · You can answer.
19· ·they have indeed sent the Secretary of State specific      19· · · · A.· ·Again, clarifying for the change of address
20· ·information?                                               20· ·application --
21· · · · A.· ·Yes.· Now, I quantify that because that          21· · · · Q.· ·(BY MS. CHAMPION)· Correct.
22· ·information is contained in the audit trail, so just       22· · · · A.· ·-- that would be correct.· The online change
23· ·someone looking at the screen could not confirm that the   23· ·of address applications are referred to Texas Secretary
24· ·information was sent, other than the fact that the voter   24· ·of State.
25· ·registration says yes.· So the assumption is that it       25· · · · Q.· ·Okay.· Does DPS always transmit all valid

                                                    Page 100                                                        Page 101
·1· ·change of address information that it obtains from         ·1· · · · Q.· ·So you, as a representative of DPS, cannot --
·2· ·customers to the Secretary of State?                       ·2· ·cannot answer why DPS now transmits all daily file
·3· · · · A.· ·So in addition to the voter registration         ·3· ·updates to the Secretary of State; is that correct?
·4· ·extract file, there is a daily file that is sent to the    ·4· · · · A.· ·I can't tell you what Secretary of State does
·5· ·Secretary of State that would contain all applications     ·5· ·with the information, no.· The -- I can't -- I -- I
·6· ·that had a change of name, date of birth, or address.      ·6· ·cannot tell you the exact reasons behind the
·7· ·And that is not sent as a voter extract file.· You would   ·7· ·establishment because there was no one available that
·8· ·have to talk to the Secretary of State to determine --     ·8· ·could provide me that information.
·9· ·for them to determine and tell you what they do with       ·9· · · · Q.· ·Does DPS send the Secretary of State these
10· ·that information.                                          10· ·update files because the Secretary of State instructed
11· · · · Q.· ·You mentioned that happens with in-person        11· ·DPS to do so?
12· ·applications.· Does it happen for mail change of address   12· · · · · · · · · MS. MACKIN:· Objection, form.
13· ·information?                                               13· · · · · · · · · And I'll also note that to the extent
14· · · · A.· ·So the daily update file contains all            14· ·that this process was developed before 2012, it's
15· ·transactions, whether they occur either in the office,     15· ·outside the scope of the topics the witness is
16· ·by mail, or online.                                        16· ·designated on under 30(b)(6).
17· · · · Q.· ·And why does DPS send the Secretary of State     17· · · · A.· ·So I mean it's an assumption that there was a
18· ·that information?                                          18· ·discussion and that they wanted the data.· We -- we
19· · · · A.· ·That is a process that was established prior     19· ·wouldn't have just randomly decided to start sending
20· ·to the driver license system.· It was an interface file    20· ·them the data.· There would have been discussions, and
21· ·that was developed prior to DLS, and then was just         21· ·Secretary of State would have had a reason for wanting
22· ·transferred over.· It was at the request or through the    22· ·that data.· I can't tell you what that reason is.· That
23· ·discussion between DPS and Secretary of State.· There      23· ·would be Secretary of State.
24· ·was no one who could provide me information as to why it   24· · · · Q.· ·(BY MS. CHAMPION)· So -- okay.· That was the
25· ·originated.                                                25· ·daily update file.· Does DPS then transmit all valid



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                                                                                                     APPENDIX 66
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 70
                                                              77 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 102                                                        Page 103
·1· ·change of address information it obtains from customers    ·1· ·either late 2000 or early 2001.
·2· ·to the Secretary of State in the voter registration        ·2· · · · Q.· ·But DPS has made the decision to continue
·3· ·extract file?                                              ·3· ·undertaking this process; is that right?
·4· · · · A.· ·The voter registration extract file is only --   ·4· · · · A.· ·Undertaking which process?
·5· ·or the only records obtained in that file are customers    ·5· · · · Q.· ·I mean, you still transfer -- even though it
·6· ·who applied in person for any type of transaction or       ·6· ·was established in 2000, 2001 DPS still transfers the
·7· ·through the mail change of address DL-64 process that      ·7· ·voter extract file; is that right?
·8· ·indicated that they would like that to serve as a voter    ·8· · · · A.· ·Okay.· I think there's confusion.· So we began
·9· ·registration application.                                  ·9· ·the online DL renewal and address change application
10· · · · Q.· ·So you've identified in-person and mail          10· ·process in early 2000.· The voter registration extract
11· ·transactions.· So is it true that DPS does not transmit    11· ·file was not created until 2009 when we implemented
12· ·change of address information it obtains from customers    12· ·driver license system.· So prior -- those -- those plans
13· ·to the Secretary of State in the voter -- I'm sorry --     13· ·were put in place prior to that electronic transfer of
14· ·in the secr- -- to the Secretary of State that it          14· ·data.
15· ·collects from online transactions?                         15· · · · Q.· ·But the -- yes, I understand.· Thank you.
16· · · · A.· ·So in the voter registration extract file --     16· · · · · · · · · But the fact that DPS does not transmit
17· · · · Q.· ·Yeah.                                            17· ·change of address information it obtains from customers
18· · · · A.· ·-- the online transactions are not included in   18· ·to the Secretary of State via the voter registration
19· ·that process.                                              19· ·extract file, the fact that it doesn't do that for
20· · · · Q.· ·And why aren't they included?                    20· ·online transactions currently, I'm asking you to tell me
21· · · · A.· ·Again, that was determined by discussions        21· ·why it currently doesn't do that, not why the decision
22· ·through -- between the Department and Secretary of State   22· ·was made prior to you holding this position within DPS.
23· ·when the -- the processes were being established.          23· · · · A.· ·Because we have not been advised by the
24· · · · Q.· ·You said the process was established when?       24· ·Secretary of State that providing that through the
25· · · · A.· ·Online was established in two -- either --       25· ·online process is permissible at this point.

                                                    Page 104                                                        Page 105
·1· · · · Q.· ·Has DPS consulted the Secretary of State about   ·1· ·registration purposes?
·2· ·whether it should be transmitting --                       ·2· · · · · · · · · MS. MACKIN:· Objection, form.
·3· · · · A.· ·It's my understanding that conversations that    ·3· · · · · · · · · You can answer.
·4· ·occurred when the driver license system was being          ·4· · · · A.· ·So if -- I mean, the question is a yes-or-no
·5· ·developed and the -- the voter registration extract file   ·5· ·answer.· So if they select "no," then yes, that would
·6· ·was being discussed, it was determined we would not        ·6· ·indicate they do not want it used as change of address.
·7· ·update online to include -- or to be included in that      ·7· · · · Q.· ·(BY MS. CHAMPION)· Looking at Exhibit 3Q, it's
·8· ·process.                                                   ·8· ·a DL-64, the newest version.· The voter registration
·9· · · · Q.· ·Has the Secretary of State provided DPS with     ·9· ·question states, (as read):· If you are a U.S. citizen,
10· ·any instructions with respect to whether it should treat   10· ·would you like to register to vote?· If registered,
11· ·valid, completed change of address forms as                11· ·would you like update your voter information?
12· ·notifications of change of address for voter               12· · · · · · · · · Is that correct?
13· ·registration purposes?                                     13· · · · A.· ·Correct.
14· · · · A.· ·To my --                                         14· · · · Q.· ·But that question does not give a customer an
15· · · · · · · · · MS. MACKIN:· Objection, form.               15· ·option to state that this change of address is not to be
16· · · · · · · · · You can answer.                             16· ·used for voter registration purposes; is that correct?
17· · · · A.· ·To my knowledge, they have not provided us any   17· · · · · · · · · MS. MACKIN:· Objection, form.
18· ·instruction on changing the procedures that are            18· · · · · · · · · You can answer.
19· ·currently in place, no.                                    19· · · · A.· ·So the assumption is by checking "no," that
20· · · · Q.· ·(BY MS. CHAMPION)· You said to -- to your        20· ·they are not wishing for it to be served as voter
21· ·knowledge.· Is that also in the knowledge of DPS?          21· ·registration.
22· · · · A.· ·Yes, it is.                                      22· · · · Q.· ·(BY MS. CHAMPION)· If that's the case, does
23· · · · Q.· ·Do DPS's change of address forms allow the       23· ·their information, their new address, still get sent to
24· ·customer to state on there -- on the form that the         24· ·the Secretary of State?
25· ·change of address is not to be used for voter              25· · · · A.· ·Their information would be included in the



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                                                                                                     APPENDIX 67
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 71
                                                              78 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 174                                                        Page 175
·1· ·obtained signature to any entity for any purpose?          ·1· · · · · · · · · MS. MACKIN:· Objection, form.
·2· · · · A.· ·No, not outside the agency.· The only thing      ·2· · · · A.· ·Telephone transactions are handled in the same
·3· ·that previous electronic signature is used for in an       ·3· ·manner as an online transaction.· There is an
·4· ·online transaction is it's placed on the actual            ·4· ·authentication process they go through.· So you're
·5· ·identification card or driver license.· So it's used in    ·5· ·assuming that you're dealing with the customer
·6· ·the card production, but it's not transmitted outside to   ·6· ·themselves.· And the statute requires a signature on an
·7· ·any outside entities.                                      ·7· ·original application, and that's -- the alternative
·8· · · · · · · · · THE VIDEOGRAPHER:· Forgive the              ·8· ·methods of renewal and change of address are only
·9· ·interruption, but is there any way you can move the blue   ·9· ·available to established customers who have already
10· ·binder down?                                               10· ·provided identity, residency, lawful presence
11· · · · Q.· ·(BY MS. CHAMPION)· Does submitting an            11· ·information, as well as a signature on their
12· ·electronic signature to the Secretary of State for --      12· ·application.
13· ·for voter registration purposes satisfy the obligations    13· · · · Q.· ·(BY MS. CHAMPION)· When a customer changes
14· ·of DPS under the NVRA?                                     14· ·their address over the telephone, does the signature
15· · · · · · · · · MS. MACKIN:· Objection, form.               15· ·that DPS already have on file stay on the physical face
16· · · · A.· ·So the electronic signature is transferred       16· ·of the driver license?
17· ·from an in-office application, and those decisions were    17· · · · A.· ·Again, the only transaction type that can be
18· ·made in conversation with general counsel between          18· ·done through IVR is a renewal.
19· ·departmental -- departmental -- Department of Public       19· · · · Q.· ·Sorry.· So when a customer renews a driver's
20· ·Safety and Secretary of State.· So for the purposes of     20· ·license on -- over the telephone, does DPS use the
21· ·those transactions, yes.                                   21· ·signature that was previously on file to -- to put on
22· · · · Q.· ·(BY MS. CHAMPION)· I can't remember if I asked   22· ·the customer's renewed driver's license?
23· ·this specific question.· Why does DPS not require a        23· · · · A.· ·Yes.
24· ·signature in rela- -- in relation to telephone             24· · · · Q.· ·If DPS were directed to do so, does it have
25· ·transactions?                                              25· ·the ability to send the Secretary of State the

                                                    Page 176                                                        Page 177
·1· ·electronic signatures of customers who renew or change     ·1· ·registration applications from the field offices.· And
·2· ·their address online?                                      ·2· ·it was determined at that time that the online process
·3· · · · A.· ·So if the Secretary of State determined that     ·3· ·would remain the same.
·4· ·that was acceptable under the statutes and everything      ·4· · · · Q.· ·(BY MS. CHAMPION)· And who was involved in
·5· ·that they process under and they directed us, yes, it      ·5· ·that conversation?
·6· ·could be accomplished.· But it would take conversation     ·6· · · · A.· ·It would have been Secretary of State and
·7· ·between Secretary of State and Department of Public        ·7· ·Department of Public Safety.
·8· ·Safety and Texas NIC.                                      ·8· · · · Q.· ·Can you identify any individuals from DPS that
·9· · · · Q.· ·Has DPS ever considered taking that action?      ·9· ·were involved in that conversation?
10· · · · A.· ·At this point we have not been -- we have not    10· · · · · · · · · MS. MACKIN:· I believe this took place in
11· ·considered that action because those -- we have never      11· ·2008, outside the scope of the testimony that Ms. Gipson
12· ·been directed by Secretary of State or advised that        12· ·is here to provide today.
13· ·that's acceptable.                                         13· · · · Q.· ·(BY MS. CHAMPION)· Did the driver's license
14· · · · Q.· ·Has DPS ever consulted the Secretary of State    14· ·reengineering project take place -- do you know when it
15· ·about whether it should send the electronic signatures     15· ·took place?
16· ·of customers who complete renewals or change of            16· · · · A.· ·It began in 2005 and culminated with a
17· ·addresses online --                                        17· ·deployment in 2009/2010.
18· · · · · · · · · MS. MACKIN:· Objection, form.               18· · · · Q.· ·Looking at Exhibit 2, Topic 6 on page 5.· It's
19· · · · Q.· ·(BY MS. CHAMPION)· -- to the Secretary of        19· ·the topic designations -- Defendant's Topic Designations
20· ·State?                                                     20· ·for -- for Sheri Gipson.· Topic No. 6 is not bound by a
21· · · · · · · · · MS. MACKIN:· Objection, form.               21· ·time period, so that DPS should be able to answer
22· · · · A.· ·Again, the only time I'm aware that that         22· ·questions about policies, practices, and procedures
23· ·became -- or was a small topic of conversation was         23· ·prior to 2012.
24· ·during the DL reengineering project when the decision      24· · · · · · · · · MS. MACKIN:· Related to which one of
25· ·was made to electronically transfer the voter              25· ·these subparts?



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                                                                                                     APPENDIX 68
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 72
                                                              79 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 202                                                        Page 203
·1· · · · A.· ·Uh-huh.                                          ·1· ·was made not to modify the -- the online voter
·2· · · · Q.· ·Okay.                                            ·2· ·registration part?
·3· · · · A.· ·Yes.· I'm sorry.                                 ·3· · · · A.· ·It is -- it is my understanding that the
·4· · · · Q.· ·Thank you.                                       ·4· ·decision was made based on requirements for voter
·5· · · · · · · · · You -- you indicated that the decision      ·5· ·registration, and the requirements required -- it makes
·6· ·was made to modify the in-office -- the way the            ·6· ·it sound funny -- the requirements of having a signature
·7· ·in-office process would work for the voter registration    ·7· ·at the time of application.
·8· ·question, and that the decision was made not to modify     ·8· · · · Q.· ·So -- so drilling down from that, you said
·9· ·the online version of that.· Is that --                    ·9· ·based on the requirements for voter registration.· And
10· · · · A.· ·Correct.                                         10· ·particularly, you're saying based on the requirement for
11· · · · Q.· ·Okay.· Can you tell me why -- or please tell     11· ·a signature for the voter --
12· ·me why the decision was made not to modify the online      12· · · · A.· ·Right.
13· ·transaction.                                               13· · · · Q.· ·-- registration; is that --
14· · · · A.· ·The decision was made based on discussions       14· · · · A.· ·Right.· The -- the information provided is
15· ·that were -- that occurred.· I was not provided any        15· ·that Texas statute does not allow for online voter --
16· ·documentations that outlined those discussions.· But the   16· ·voter registration.· It requires a signature with the
17· ·creation of the new file was conversations that were       17· ·application.· And for the online process, we are not
18· ·held with Secretary of State and what would be included    18· ·collecting a new signature as part of that process.
19· ·in that file.                                              19· · · · Q.· ·I want to see if I can under- -- understand
20· · · · Q.· ·You say creation of new file.· You're talking    20· ·this fully.· So the -- the signature that is sent for an
21· ·about the voter registration daily file --                 21· ·in-person transaction where someone answers "yes" to the
22· · · · A.· ·Extract, correct.                                22· ·voter registration question and -- and similarly when
23· · · · Q.· ·Sitting here today, as the representative of     23· ·someone changes their address -- excuse me -- address
24· ·DPS for 30(b)(6) on -- on the policy and procedures        24· ·via the mail, the signature that's sent for both of
25· ·surrounding this issue, can you tell me why the decision   25· ·those voter registration applications, that's the

                                                    Page 204                                                        Page 205
·1· ·electronic signature; is that right?                       ·1· · · · A.· ·Yes.
·2· · · · A.· ·That is correct.                                 ·2· · · · Q.· ·Okay.· Under the Business Rule 1.1.10 heading,
·3· · · · Q.· ·And that's sent to the Secretary of State?       ·3· ·there's Selective Service and DRP, is that right, as
·4· · · · A.· ·That is correct.                                 ·4· ·kind of subheadings under there?
·5· · · · Q.· ·Okay.· The ink signature is never sent to the    ·5· · · · A.· ·Yes.
·6· ·Secretary of State, correct?                               ·6· · · · Q.· ·Okay.· I want -- I just want to make sure I
·7· · · · A.· ·That is correct.                                 ·7· ·understand the Use Case correctly.· Under Selective
·8· · · · Q.· ·Okay.· If you'll look over the Use Case there    ·8· ·Service if -- if -- if the field is marked "yes" for
·9· ·you have in front of you, staying on the same exhibit,     ·9· ·selective service, then certain information is sent by
10· ·would you confirm for me that the information regarding    10· ·DLS to some other entity; is that right?
11· ·the -- well, let me rephrase that.· The information        11· · · · A.· ·Correct.
12· ·that's provided by a customer in an online transaction     12· · · · Q.· ·Okay.· And who -- who -- to whom is that
13· ·with DPS -- you'll agree with me that there's              13· ·information sent?
14· ·information provided by the customer in those              14· · · · A.· ·So the -- the system creates a file that is
15· ·transactions?                                              15· ·sent to Selective Service that includes any males that
16· · · · A.· ·Correct.                                         16· ·fall within the age range of registration.· So prior to,
17· · · · Q.· ·Okay.· The -- looking through the use space,     17· ·when Selective Service first began, the person -- the
18· ·is the only information that's provided by the customer    18· ·customer could elect whether or not that was sent.
19· ·that's not transferred from Texas.gov to DLS the answer    19· ·Under current statute, we send any male that meets the
20· ·to the voter registration question?                        20· ·criteria to the Selective Service.
21· · · · A.· ·That's correct.                                  21· · · · Q.· ·Okay.· And that -- that -- this is -- the DL
22· · · · Q.· ·Turn to me -- turn with me -- excuse me -- to    22· ·is programmed to do this once a person is determined to
23· ·page 9 where it talks about business rules.                23· ·meet the requirements for Selective Service, DLS
24· · · · A.· ·Okay.                                            24· ·automatically sends that information in -- in an update
25· · · · Q.· ·Do you see that?                                 25· ·file to Selective Service?



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                                                                                                     APPENDIX 69
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 73
                                                              80 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 214                                                        Page 215
·1· ·voter registration application process.· But I don't --    ·1· · · · · · · · · MS. STEVENS:· We're going to take a
·2· ·I'm not completely aware of all of the specifics.          ·2· ·three-minute break.
·3· · · · Q.· ·(BY MS. STEVENS)· Well, describe for me the      ·3· · · · · · · · · THE VIDEOGRAPHER:· Going off the record
·4· ·conversations DPS has had about that period.               ·4· ·at 5:45 p.m.
·5· · · · A.· ·The only conversations that -- nothing was       ·5· · · · · · · · · (Recess held, 5:45 p.m. to 5:52 p.m.)
·6· ·brought to me when I was asking for information.· And      ·6· · · · · · · · · THE VIDEOGRAPHER:· We are back on the
·7· ·the only conversations I've had regarding that is with     ·7· ·record at 5:52 p.m.
·8· ·general counsel.                                           ·8· · · · · · · · · · · · · EXAMINATION
·9· · · · Q.· ·Okay.· And was a policy developed to determine   ·9· ·BY MS. SILHAN:
10· ·not to do -- not to implement similar -- similar           10· · · · Q.· ·Hi, Ms. Gipson.
11· ·policies?                                                  11· · · · A.· ·Hello.
12· · · · A.· ·So -- I'm not sure I follow.                     12· · · · Q.· ·I'm Caitlyn Silhan on behalf of Benjamin
13· · · · Q.· ·Based on the conversations surrounding this      13· ·Hernandez.· We've met before.· I have just three
14· ·change that Alabama's implementing, did Texas then make    14· ·questions for you now.· So you just testified that DPS
15· ·the decision not to change policy and do something         15· ·decided not to modify the voter registration file with
16· ·similar?                                                   16· ·respect to online transactions at one point, at least in
17· · · · · · · · · MS. MACKIN:· Objection, form.               17· ·part, because Texas law requires a signature at the time
18· · · · A.· ·That's -- it's not a conversation that we've     18· ·of a voter registration application; is that correct?
19· ·had with the Secretary of State since that decision by     19· · · · · · · · · MS. MACKIN:· Objection, form.
20· ·Alabama was made.                                          20· · · · A.· ·Correct.
21· · · · Q.· ·(BY MS. STEVENS)· But did it have -- did you     21· · · · Q.· ·(BY MS. SILHAN)· Does Texas law require that
22· ·have that discussion internally?                           22· ·DPS collect a signature for a change of address
23· · · · A.· ·No.· There was not a discussion related to us    23· ·transaction?
24· ·starting that process just because Alabama did.            24· · · · · · · · · MS. MACKIN:· Objection, form.
25· · · · Q.· ·Okay.                                            25· · · · A.· ·So Texas law does not require it on a change

                                                    Page 216                                                        Page 217
·1· ·of address application processed online because the        ·1· · · · Q.· ·And what date is on this notice?
·2· ·signature had been previously captured.                    ·2· · · · A.· ·As far as the date of the deposition?
·3· · · · Q.· ·(BY MS. SILHAN)· Okay.· So if a customer         ·3· · · · Q.· ·Yes.
·4· ·completes a change of address form online, that is valid   ·4· · · · A.· ·Sorry.· March 6th at 9:30 a.m.
·5· ·for driver license purposes?· It changes their address     ·5· · · · Q.· ·Did you appear here at the Attorney General's
·6· ·for driver license purposes; is that correct?              ·6· ·Office yesterday at 9:30 a.m. to sit for this
·7· · · · A.· ·Correct.                                         ·7· ·deposition?
·8· · · · · · · · · MS. SILHAN:· That is all I have, believe    ·8· · · · A.· ·Yes, ma'am.
·9· ·it or not.· So I'll pass the witness.                      ·9· · · · Q.· ·And what time did you arrive?
10· · · · · · · · · MS. MACKIN:· Thank you.· Before we get      10· · · · A.· ·Shortly after 9 a.m.
11· ·started, just on the record, I would like to request a     11· · · · Q.· ·And how long were you here?
12· ·read and sign of this deposition transcript.               12· · · · A.· ·Until around 11:00 a.m.
13· · · · · · · · · And I just have one exhibit.                13· · · · Q.· ·And did the deposition take place?
14· · · · · · · · · (Exhibit D1 marked.)                        14· · · · A.· ·No, it did not.
15· · · · · · · · · · · · · EXAMINATION                         15· · · · Q.· ·And was that because no court reporter or
16· ·BY MS. MACKIN:                                             16· ·videographer was scheduled?
17· · · · Q.· ·Ms. Gipson, I'm handing you what's been marked   17· · · · A.· ·That's correct.
18· ·Defendant's Exhibit 1.· Do you recognize this document?    18· · · · Q.· ·Okay.· Thank you.
19· · · · A.· ·Yes.                                             19· · · · · · · · · Now, I'm going to just go back to a
20· · · · Q.· ·What is it?                                      20· ·couple of questions that you were asked earlier today.
21· · · · A.· ·This is the Amended Notice No. 3 requesting      21· ·You were asked in several ways about how individuals who
22· ·the 30(b)(6) deposition.                                   22· ·transact with the Department of Public Safety online are
23· · · · Q.· ·And that's the deposition that's taking place    23· ·given the opportunity to register to vote.· Do you
24· ·today, correct?                                            24· ·remember those questions?
25· · · · A.· ·Correct.                                         25· · · · A.· ·Yes.



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                                                                                                     APPENDIX 70
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 74
                                                              81 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 218                                                        Page 219
·1· · · · Q.· ·Can you clarify how that works?                  ·1· · · · A.· ·Yes, it is the -- the one from their website.
·2· · · · A.· ·So when the customer logs into the online        ·2· · · · Q.· ·Okay.· And the information, just to clarify,
·3· ·system, they're authorized based on four pieces of         ·3· ·that is verified before the customer may begin the
·4· ·identity information.· They then go through several        ·4· ·transaction -- those four pieces of information that you
·5· ·screens where they identify if they want to -- if they     ·5· ·just talked about -- do those -- does DPS do anything
·6· ·need to update their address, organ donor, VAF and         ·6· ·with those pieces of information to verify whether an
·7· ·veteran assistance fund donations, and voter               ·7· ·individual is eligible to register to vote or update
·8· ·registration.· That's in the services options.· And if     ·8· ·voter registration information?
·9· ·they -- as they progress on, if they select "yes" to the   ·9· · · · A.· ·No.· Those pieces are not used for that
10· ·voter registration, it appears again on the review page    10· ·purpose.
11· ·along with the options that they selected for organ        11· · · · Q.· ·The pieces of information are simply used to
12· ·donor, Glenda Dawson donation, VAF donation, and           12· ·verify that the individual is eligible to transact with
13· ·veteran's assistance fund donation.                        13· ·DPS online?
14· · · · · · · · · And once they get past that screen, they    14· · · · A.· ·Correct.
15· ·accept all of those -- the changes or the information      15· · · · Q.· ·And to verify their identity?
16· ·that was inputted, they're put to a receipt page.· If      16· · · · A.· ·Correct.
17· ·they selected "yes" to the register to vote, there is a    17· · · · Q.· ·Okay.· Thank you.
18· ·link that's provided that takes them to the Secretary of   18· · · · · · · · · You were asked a couple of questions
19· ·State website where they can download -- they have the     19· ·about how DPS publicizes the availability of certain
20· ·opportunity to download and sign and send in a             20· ·transactions online, and you testified that DPS wants to
21· ·registration application.· And then they're also given     21· ·reduce wait times and in-office traffic.· Do you recall
22· ·the option to print the receipt page.                      22· ·that testimony?
23· · · · Q.· ·And that registration application, is it your    23· · · · A.· ·Yes.
24· ·understanding that that's the -- that is the application   24· · · · Q.· ·Why does DPS want to reduce wait times and
25· ·approved by the Secretary of State's office?               25· ·in-office traffic in its field offices?

                                                    Page 220                                                        Page 221
·1· · · · A.· ·Because that is one of the main complaints       ·1· · · · A.· ·Okay.
·2· ·that we have from customers, both directly and through     ·2· · · · Q.· ·And if you'll turn to page 6, please.
·3· ·legislators and -- because many times they're expected     ·3· · · · A.· ·Okay.
·4· ·to wait several hours in order to conduct their            ·4· · · · Q.· ·Ms. Champion also asked you some questions
·5· ·business.                                                  ·5· ·about the purpose of the signature on the in-office
·6· · · · Q.· ·And so what complaint is that specifically?      ·6· ·driver license application, the DL-14?
·7· · · · A.· ·The complaint is the amount of time that they    ·7· · · · A.· ·Correct.
·8· ·have to spend waiting in line to get their driver          ·8· · · · Q.· ·Now, is this certification on page 6, is that
·9· ·license or identification card.                            ·9· ·where the signature is provided on the DL-14?
10· · · · Q.· ·Okay.· Thank you.                                10· · · · A.· ·Yes.
11· · · · · · · · · Ms. Champion, also asked you whether a      11· · · · Q.· ·And could you please read into the record what
12· ·customer could request in some way that their              12· ·the applicant is certifying when they provide that
13· ·information not be included in the daily update file.      13· ·signature on the DL-14?
14· ·And you testified that a customer could not make that      14· · · · A.· ·(As read):· I do solemnly swear, affirm, or
15· ·request; is that right?                                    15· ·certify that I am the person named herein and that the
16· · · · A.· ·That is correct.                                 16· ·statements on this application are true and correct. I
17· · · · Q.· ·Can a customer request that their information    17· ·further certify my residence address is a -- check one
18· ·not be included in the voter registration file?            18· ·-- single family dwelling, apartment, motel, temporary
19· · · · A.· ·If they are conducting an in-office              19· ·shelter.· I agree to immediately report to the Texas
20· ·transaction, they're making that designation when they     20· ·department of public safety any changes in my medical
21· ·select "no" to the voter registration question.            21· ·condition, which may affect my ability to safely operate
22· · · · Q.· ·Okay.· Thank you.                                22· ·a motor vehicle.· I further understand that I am
23· · · · · · · · · And now I'm just going to turn your         23· ·required by law to report any change of name or address
24· ·attention back to Plaintiff's Exhibit 13, which is         24· ·to the Department of Public Safety within 30 days.
25· ·Module 17C.                                                25· · · · Q.· ·Okay.· Thank you.



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                                                                                                     APPENDIX 71
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 75
                                                              82 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 222                                                        Page 223
·1· · · · · · · · · MS. MACKIN:· We'll pass the witness.        ·1· ·of the Web page.
·2· · · · · · · · · · · FURTHER EXAMINATION                     ·2· · · · Q.· ·Okay.
·3· ·BY MS. SILHAN:                                             ·3· · · · A.· ·So they are in the process of adding that
·4· · · · Q.· ·Okay.· I will have just a few follow-up          ·4· ·language.
·5· ·questions.· Let's start with the document you were just    ·5· · · · Q.· ·Okay.· Ms. Mackin also asked you about the
·6· ·looking at.                                                ·6· ·receipt page for online transactions; is that correct?
·7· · · · A.· ·Okay.                                            ·7· ·Do you recall discussing the receipt page here today?
·8· · · · Q.· ·So this is where a physical signature is         ·8· · · · A.· ·Right.
·9· ·required in person, correct?                               ·9· · · · Q.· ·Okay.· So I understand there is some
10· · · · A.· ·Correct.                                         10· ·information about voter registration with a link to the
11· · · · Q.· ·And this would be for DL-14; is that right?      11· ·Secretary of State's website on the receipt page,
12· · · · A.· ·Correct.                                         12· ·correct?
13· · · · Q.· ·Okay.· Now, it says that -- that by signing,     13· · · · A.· ·Correct.
14· ·the applicant certifies that their application is true     14· · · · Q.· ·Now, does the receipt page say anything about
15· ·and correct, but also that their residence address is a    15· ·changing addresses for voter registration purposes?
16· ·-- and then they check one -- single-family dwelling,      16· · · · A.· ·No, it does not.
17· ·apartment, motel, temporary shelter.· Is that right?       17· · · · Q.· ·Okay.· You mentioned there were four pieces of
18· · · · A.· ·That's correct.                                  18· ·information that DPS verifies online to determine that
19· · · · Q.· ·How do applicants certify that online?           19· ·maybe the person filling out the form is who they say
20· · · · A.· ·They -- that certification is not online at      20· ·they are; is that right?
21· ·this time.                                                 21· · · · A.· ·Correct.
22· · · · Q.· ·Why is that?                                     22· · · · Q.· ·Can you just remind me what those four pieces
23· · · · A.· ·It -- it is actually in the works.· It's being   23· ·of information are?
24· ·discussed now because it was pointed out that it was not   24· · · · A.· ·Okay.· They're in the process authentication
25· ·in that add a station.· That is in -- on that last page    25· ·request.

                                                    Page 224                                                        Page 225
·1· · · · Q.· ·Okay.                                            ·1· ·driver license; is that right?
·2· · · · A.· ·And it is listed on page 1.                      ·2· · · · A.· ·That's correct.
·3· · · · Q.· ·Okay.                                            ·3· · · · Q.· ·You also discussed customer complaints as part
·4· · · · A.· ·It's the DL/ID number, the audit number, the     ·4· ·of the reason that DPS is -- is promoting its online
·5· ·last four digits of the social, and the date of birth.     ·5· ·transaction; is that correct?
·6· · · · Q.· ·Now, in terms of -- of information that's only   ·6· · · · A.· ·Correct.
·7· ·requested online and maybe not by other forms -- I'm       ·7· · · · Q.· ·You mentioned complaints about the amount of
·8· ·going to go through this.· So for a driver license         ·8· ·time that customers spend waiting in line to get their
·9· ·identification number, that would be requested on a        ·9· ·driver license and ID cards; is that right?
10· ·paper form as well; is that correct?                       10· · · · A.· ·That is correct.
11· · · · A.· ·Correct.                                         11· · · · Q.· ·But customers don't obtain driver license and
12· · · · Q.· ·Okay.· What about an audit number, is that       12· ·ID cards online, right?· They just renew or change their
13· ·requested on paper forms?                                  13· ·address; is that correct?
14· · · · A.· ·No, it's not.                                    14· · · · A.· ·So when you say "obtain," I mean, they are
15· · · · Q.· ·Okay.· What about the last four numbers of a     15· ·obtaining a new card because that's part of the renewal
16· ·social security number, is that requested by DPS on        16· ·or the change of the address process.
17· ·paper forms?                                               17· · · · Q.· ·Okay.· So I just wanted to clarify that when
18· · · · A.· ·The social security number is requested.         18· ·you said the amount of time they're waiting to get a
19· · · · Q.· ·What about the date of birth, is that            19· ·driver license or ID card, it's only the -- the renewals
20· ·requested?                                                 20· ·and change of address that are really, kind of, being
21· · · · A.· ·It is.                                           21· ·directed to online where they're eligible, right?
22· · · · Q.· ·So the only bit of information that a customer   22· · · · A.· ·That is correct.· If it's an original
23· ·provides, in addition to information the customer          23· ·issuance, they are required to go into the driver
24· ·provides on paper forms, for purposes of online            24· ·license office.
25· ·transactions, is the audit number on the face of a         25· · · · Q.· ·You also touched on the issue of opting out --



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                                                                                                     APPENDIX 72
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 76
                                                              83 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                      Page 238                                                     Page 239
·1· · · · · · ·That pursuant to information given to the         ·1· · · · · · ·I further certify that I am neither counsel
·2· ·deposition officer at the time said testimony was taken,    ·2· ·for, related to, nor employed by any of the parties or
·3· ·the following includes counsel for all parties of           ·3· ·attorneys in the action in which this proceeding was
                                                                 ·4· ·taken, and further that I am not financially or
·4· ·record:
                                                                 ·5· ·otherwise interested in the outcome of the action.
·5· · · · · · · · · FOR THE PLAINTIFF, JARROD STRINGER:
                                                                 ·6· · · · · · ·Certified to by me this _____ day of
·6· · · · · · · · · Cassandra Champion, Esq.
                                                                 ·7· ·_________________________, 20____.
·7                                                               ·8
·8· · · · · · · · · FOR THE PLAINTIFF, JOHN FRITZ:               ·9
·9· · · · · · · · · Beth Stevens, Esq.                           10· · · · · · · · · · ·___________________________________
10                                                               · · · · · · · · · · · ·Tammy Lea Staggs
11· · · · · · · · · FOR THE PLAINTIFF, BENJAMIN                  11· · · · · · · · · · ·CSR· 7496

12· · · · · · · · · HERNANDEZ:                                   · · · · · · · · · · · ·Expiration Date:· 12/31/2017
                                                                 12· · · · · · · · · · ·Firm No. Dallas: 69
13· · · · · · · · · Caitlyn Elizabeth Silhan, Esq.
                                                                 · · · · · · · · · · · ·1.888.656.DEPO
14
                                                                 13
15· · · · · · · · · FOR THE DEFENDANTS:
                                                                 14
16· · · · · · · · · Anna M. Mackin, Esq.                         15
17· · · · · · · · · Esteban Soto, Esq.                           16
18· · · · · · · · · Kathleen T. Murphy, Esq.                     17
19                                                               18
20                                                               19
                                                                 20
21
                                                                 21
22
                                                                 22
23· · · · · · ·That $__________ is the deposition officer's
                                                                 23
24· ·charges to the Plaintiffs for preparing the original        24
25· ·deposition transcript and any copies of exhibits;           25


                                                      Page 240
·1· ·COUNTY OF ___________)
·2· ·STATE OF TEXAS)
·3· · · · · · ·I hereby certify that the witness was notified
·4· ·on ______________________ that the witness has 30 days
·5· ·or (____ days per agreement of counsel) after being
·6· ·notified by the officer that the transcript is available
·7· ·for review by the witness and if there are changes in
·8· ·the form or substance to be made, then the witness shall
·9· ·sign a statement reciting such changes and the reasons
10· ·given by the witness for making them;
11· · · · · · ·That the witness' signature was/was not
12· ·returned as of ___________________, 20____.
13· · · · · · ·Subscribed and sworn to on this, the _____ day
14· ·of ______________________, 20____.
15
16
17· · · · · · · · · · ·___________________________________
· · · · · · · · · · · ·Tammy Lea Staggs
18· · · · · · · · · · ·CSR· 7496
· · · · · · · · · · · ·Expiration Date:· 12/31/2017
19· · · · · · · · · · ·Firm No. Dallas: 69
· · · · · · · · · · · ·1.888.656.DEPO
20
21
22
23
24
25




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                                                                                                    APPENDIX 73
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 77
                                                         84 of 207
                                                               797




            EXHIBIT 11




                                                          APPENDIX 74
         Case 5:16-cv-00257-OLG
              5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                    05/29/20 Page 78
                                                                  85 of 207
                                                                        797
     STRINGER: SHERI GIPSON

                                                                              Page 1
·1· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3
· · ·JARROD STRINGER, et al.,· · · · )
·4· · · · · · · · · · · · · · · · · ·)
· · · · · · · · · · · Plaintiffs,· · )
·5· ·vs.· · · · · · · · · · · · · · ·) C.A. 5:16-cv-00257-OLG
· · · · · · · · · · · · · · · · · · ·)
·6· ·ROLANDO B. PABLOS, IN HIS· · · ·)
· · ·OFFICIAL CAPACITY AS THE TEXAS· )
·7· ·SECRETARY OF STATE; AND STEVEN· )
· · ·C. MCCRAW, IN HIS OFFICIAL· · · )
·8· ·CAPACITY AS THE DIRECTOR OF THE )
· · ·TEXAS DEPARTMENT OF PUBLIC· · · )
·9· ·SAFETY,· · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · ·)
10· · · · · · · · · · Defendants.· · )
· · · · · · · · · · · · · · · · · · ·)
11

12

13· · · · · ORAL VIDEOTAPED DEPOSITION OF SHERI GIPSON

14· · · · · · · · · ·TUESDAY, JANUARY 31, 2017

15

16· · · · · · ·ORAL VIDEOTAPED DEPOSITION OF SHERI GIPSON,

17· ·produced as a witness at the instance of the Plaintiffs,

18· ·and duly sworn, was taken in the above-styled and

19· ·-numbered cause on the 31st day of January, 2017, from

20· ·9:44 a.m. to 5:59 p.m., before RABIN´ MONROE, Certified

21· ·Shorthand Reporter in and for the State of Texas,

22· ·reported by computerized stenotype machine, at the TEXAS

23· ·ATTORNEY GENERAL'S OFFICE, 300 West 15th Street, 10th

24· ·Floor, Austin, Texas 78701, pursuant to any provisions

25· ·stated on the record or attached hereto.



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                                                                   APPENDIX 75
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 79
                                                              86 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                       Page 2                                                          Page 4
·1· · · · · · · · · · · · · APPEARANCES                         ·1· · · · · · · · · · · · · ·I N D E X
·2                                                              ·2
·3· ·FOR PLAINTIFFS
·4· · · · · · ·MS. CAITLYN ELIZABETH SILHAN                     ·3· ·WITNESS· · · · · · · · · · · · · · · · · · · · · · ·PAGE
· · · · · · · ·SBOT No. 24072879                                ·4· ·Title Page· · · · · · · · · · · · · · · · · · · · · · ·1
·5· · · · · · ·csilhan@waterskraus.com                          ·5· ·Appearances· · · · · · · · · · · · · · · · · · · · · · 2
· · · · · · · ·WATERS & KRAUS, LLP                              ·6· ·Index· · · · · · · · · · · · · · · · · · · · · · · · · 4
·6· · · · · · ·3141 Hood Street                                 ·7· ·Proceedings Begun· · · · · · · · · · · · · · · · · · · 6
· · · · · · · ·Suite 700                                        ·8· ·SHERI GIPSON
·7· · · · · · ·Dallas, Texas· 75219
· · · · · · · ·Phone:· (214) 357-6244                           ·9· · · · EXAMINATION BY MS. SILHAN· · · · · · · · · · · · ·7
·8· · · · · · ·Fax:· · (214) 357-7252                           · · · · · EXAMINATION BY MS. MARZIANI· · · · · · · · · · ·287
·9                                                              10· · · · EXAMINATION BY MS. MACKIN· · · · · · · · · · · ·294
· · · · · · · ·MS. MIMI MURRAY DIGBY MARZIANI                   · · · · · FURTHER EXAMINATION BY MS. SILHAN· · · · · · · ·306
10· · · · · · ·SBOT No. 24091906                                11
· · · · · · · ·mimi@texascivilrightsproject.org
11· · · · · · ·MS. CASSANDRA LANG "CASSIE" CHAMPION
                                                                · · ·Deposition Suspended· · · · · · · · · · · · · · · · ·310
· · · · · · · ·SBOT No. 24082799                                12
12· · · · · · ·champion@texascivilrightsproject.org             · · ·Changes and Signature· · · · · · · · · · · · · · · · 311
· · · · · · · ·TEXAS CIVIL RIGHTS PROJECT                       13
13· · · · · · ·1405 Montopolis Drive                            · · ·Court Reporter's Certificate· · · · · · · · · · · · ·313
· · · · · · · ·Austin, Texas· 78741-3438                        14
14· · · · · · ·Phone:· (512) 474-5073
15                                                              15· · · · · · · · · ·*· · ·*· · ·*· · ·*· · ·*
16                                                              16
· · ·FOR DEFENDANTS                                             17· · · · · · · · · · · · · ·EXHIBITS
17                                                              18· ·NO.· ·DESCRIPTION· · · · · · · · · · · · · · · · · ·PAGE
· · · · · · · ·MS. ANNE MARIE "ANNA" MACKIN                     19· · 1· · Notice of Deposition· · · · · · · · · · · · · · ·9
18· · · · · · ·SBOT No. 24078898
· · · · · · · ·anna.mackin@oag.texas.gov
                                                                20· · 2· · Screenshot -- Driver License Renewal and· · · · 65
19· · · · · · ·OFFICE OF THE ATTORNEY GENERAL                   · · · · · ·Change of Address
· · · · · · · ·300 West 15th Street,                            21
20· · · · · · ·14th Floor                                       · · · 3· · DLS Use Case Specification: Create Daily· · · ·152
· · · · · · · ·Austin, Texas· 78701                             22· · · · ·Update Log for SOS -- December 22, 2014
21· · · · · · ·Phone:· (512) 463-2004                           23· · 4· · Letter from Joe Peters to Keith Ingram Re:· · ·174
22
23                                                              · · · · · ·NVRA Implementation Plan -- July 22, 2016
24· · · · · · · · · · · · · ·continued                          24
25                                                              25· · · · · · · · · · · · · ·continued

                                                       Page 3                                                                   Page 5
·1· · · · · · · · · · ·A P P E A R A N C E S                    ·1· · · · · · · · · · · · · ·EXHIBITS
                                                                · · · · · · · · · · · · · · ·continued
· · · · · · · · · · · · · · ·continued                          ·2
·2                                                              ·3· ·NO.· ·DESCRIPTION· · · · · · · · · · · · · · · · · ·PAGE
                                                                ·4· · 5· · Letter from Joe Peters to Keith Ingram Re:· · ·176
·3                                                              · · · · · ·NVRA Implementation Plan -- August 3, 2016
                                                                ·5
·4· ·FOR DEFENDANT TEXAS DEPARTMENT OF PUBLIC SAFETY            · · · 6· · Texas DPS NVRA Implementation Plan· · · · · · ·179
·5· · · · · · ·MS. KATHLEEN THERESA MURPHY                      ·6
                                                                · · · 7· · Email from Susan Stempelmann Re: Customer· · · 192
· · · · · · · ·SBOT No. 00789507                                ·7· · · · ·Operations Conference Call Notes -- October
·6· · · · · · ·kathleen.murphy@dps.texas.gov                    · · · · · ·19, 2012
                                                                ·8
· · · · · · · ·TEXAS DEPARTMENT OF PUBLIC SAFETY                · · · 8· · Email Chain Re: Elections Follow-up· · · · · · 201
·7· · · · · · ·5805 North Lamar Boulevard,                      ·9
                                                                · · · 9· · Email Chain Re: Voters registration· · · · · · 205
· · · · · · · ·Suite 4087                                       10
·8· · · · · · ·Austin, Texas· 78752                             · · ·10· · Email from Marguerite Buster Re: Voter· · · · ·209
                                                                11· · · · ·registration verification - 2-4-13.doc --
· · · · · · · ·Phone:· (512) 424-2420                           · · · · · ·2/4/2013
·9· · · · · · ·Fax:· · (512) 424-2251                           12
                                                                · · ·11· · Metadata· · · · · · · · · · · · · · · · · · · ·211
10                                                              13
11                                                              · · ·12· · D_00011099· · · · · · · · · · · · · · · · · · ·211
                                                                14
12· ·ALSO PRESENT:                                              · · ·13· · Email Chain Re: Other DL· · · · · · · · · · · ·219
13· · · · · · ·JUSTIN TALBOT, Videographer                      15
                                                                · · ·14· · DPS Government Relations Action Sheet· · · · · 224
14                                                              16
15                                                              · · ·15· · DPS Overview· · · · · · · · · · · · · · · · · ·246
                                                                17
16                                                              · · ·16· · Application for Change of Address on Valid· · ·259
17                                                              18· · · · ·Texas Driver License (DL) & Identification
                                                                · · · · · ·Card (ID)
18                                                              19
                                                                · · ·17· · The National Voter Registration Act and· · · · 269
19                                                              20· · · · ·Voter Registration Applications . . . an
20                                                              · · · · · ·Overview -- 6/12/13
                                                                21
21                                                              · · ·18· · Letter from Peter A. Kraus and Mimi M. D.· · · 285
22                                                              22· · · · ·Marziani to Secretary of State Cascos Re:
                                                                · · · · · ·Failure to Comply with Voter Registration
23                                                              23· · · · ·Obligations at Texas Department of Public
24                                                              · · · · · ·Safety -- May 27, 2015
                                                                24
25                                                              25· · · · · · · · · ·*· · ·*· · ·*· · ·*· · ·*




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                                                                                                          APPENDIX 76
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 80
                                                              87 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                      Page 6                                                          Page 8
·1· · · · · · · · · · · · · (9:44 a.m.)                         ·1· · · ·A.· ·Oh, goodness.· 2014.· '13.
·2· · · · · · · · ·THE VIDEOGRAPHER:· Today is Tuesday,         ·2· · · ·Q.· ·Was that in connection with your employment at
·3· ·January 31st, 2017.· Time is approximately 9:45 a.m.       ·3· ·the Department of --
·4· ·We are at the Texas Attorney General's Office, 300 West    ·4· · · ·A.· ·Y- --
·5· ·15th Street, Austin, Texas 78701.                          ·5· · · ·Q.· ·-- Public Safety?
·6· · · · · · · · ·My name is Justin Talbot, video specialist   ·6· · · ·A.· ·Yes, ma'am, it was.
·7· ·at Legal Eyes, Incorporated, out of Aubrey, Texas.         ·7· · · ·Q.· ·Okay.· Was that -- well, can you tell me the
·8· · · · · · · · ·This case, Cause Number                      ·8· ·name of the case in which --
·9· ·5:16-cv-00257-0- -- OLG.· Excuse me.· Entitled             ·9· · · ·A.· ·I --
10· ·Jarold [sic] Stringer, et al -- Jarrod Stringer, et al,    10· · · ·Q.· ·-- you were deposed?
11· ·vs. Rolando B. Pablos, et al.· The deponent is Sheri       11· · · ·A.· ·-- I -- I can't remember the name of the case,
12· ·Gipson.· This video deposition was requested by the        12· ·but it was over vy- -- voter identification.
13· ·Plaintiffs' counsel, Waters Kraus & Paul.                  13· · · ·Q.· ·Okay.· Did you provide any other testimony in
14· · · · · · · · ·Counsel and all present please identify      14· ·that case?· Any trial testimony?
15· ·yourselves for the record.                                 15· · · ·A.· ·No, ma'am.
16· · · · · · · · ·MS. SILHAN:· Caitlyn Silhan on behalf of     16· · · ·Q.· ·Okay.· Okay.· So you've already gone through
17· ·the Plaintiff, Jarrod Stringer.                            17· ·this before, but I'll maybe give you a little refresher
18· · · · · · · · ·MS. MARZIANI:· Mimi Marziani on behalf of    18· ·on some of the rules.
19· ·Plaintiff Totysa Watkins.                                  19· · · · · · · · ·Only one of us can talk at a time.· And so
20· · · · · · · · ·MS. CHAMPION:· Cassandra Champion, counsel   20· ·I'll do my best to let you finish your answer, and if
21· ·for the Plaintiff on behalf of Totysa Watkins.             21· ·you would m- -- wouldn't mind letting me finish my
22· · · · · · · · ·MS. MURPHY:· Kathleen Murphy, Senior         22· ·question before you begin responding, that will help the
23· ·General Counsel, DPS.                                      23· ·court reporter and our transcript.
24· · · · · · · · ·MS. MACKIN:· Anne Marie Mackin with the      24· · · · · · · · ·And if you would please give verbal
25· ·Attorney General's Office on behalf of all Defendants.     25· ·responses.· Don't shake your head yes or no; no "uh-uh"

                                                      Page 7                                                          Page 9
·1· · · · · · · · ·THE VIDEOGRAPHER:· Thank you.                ·1· ·or "uh-huh"; so that the record is clear.· That would be
·2· · · · · · · · ·Will you please swear the witness.           ·2· ·great.
·3· · · · · · · · ·THE COURT REPORTER:· Will you raise your     ·3· · · · · · · · ·If you don't understand a question, please
·4· ·right hand?                                                ·4· ·just let me know.· If you need me to re-ask it, let me
·5· · · · · · · · ·Do you swear or affirm that the testimony    ·5· ·know.· I'd be happy to.· And if you don't ask me to
·6· ·you're about to give will be the truth, the whole truth,   ·6· ·rephrase a question or you don't indicate that you don't
·7· ·and nothing but the truth?                                 ·7· ·understand it, I'll -- I'll go ahead and assume that you
·8· · · · · · · · ·THE WITNESS:· I do.                          ·8· ·do.
·9· · · · · · · · ·THE COURT REPORTER:· Thank you.              ·9· · · · · · · · ·Does that work?
10· · · · · · · · · · · · ·SHERI GIPSON,                        10· · · ·A.· ·Okay.
11· ·having been called as a witness herein, having been        11· · · ·Q.· ·'Kay.· Okay.· So you are here pursuant to a
12· ·first duly sworn, was examined and testified as follows:   12· ·deposition notice served by the Plaintiffs in this case;
13· · · · · · · · · · · · · EXAMINATION                         13· ·is that correct?
14· ·BY MS. SILHAN:                                             14· · · ·A.· ·That is correct.
15· · · ·Q.· ·Okay.· Good morning.                              15· · · ·Q.· ·Have you reviewed a copy of that deposition
16· · · ·A.· ·Morning.                                          16· ·notice?
17· · · ·Q.· ·Would you please state and spell your full name   17· · · ·A.· ·Yes, ma'am.
18· ·for the record?                                            18· · · ·Q.· ·'Kay.· I will . . . mark this as Exhibit 1.
19· · · ·A.· ·Sheri Lynne Gipson.· S-H-E-R-I.· L-Y-N-N-E.       19· · · · · · · · ·(Exhibit 1 marked for identification.)
20· ·Gipson, G-I-P-S-O-N.                                       20· · · ·Q.· ·Here you are.
21· · · ·Q.· ·Have you ever been deposed before?                21· · · · · · · · ·Is this the notice of deposition that
22· · · ·A.· ·Yes.                                              22· ·you've received in this case?
23· · · ·Q.· ·How many times?                                   23· · · ·A.· ·Yes, ma'am.
24· · · ·A.· ·Once.                                             24· · · ·Q.· ·When did you receive this notice of deposition?
25· · · ·Q.· ·When was that?                                    25· · · ·A.· ·I don't know the exact day.



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                                                                                                     APPENDIX 77
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 81
                                                              88 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 134                                                        Page 136
·1· · · ·A.· ·Mm-hmm.                                           ·1· ·change-of-address and driver-license renewals on
·2· · · ·Q.· ·Does it have information about any other CSR      ·2· ·Texas.gov?
·3· ·involved in the transaction?                               ·3· · · ·A.· ·That would have been prior to DLS.
·4· · · ·A.· ·Right now it -- I believe it goes into the        ·4· · · ·Q.· ·Once DLS became operational, how did
·5· ·audit trails.· But we can't see it . . . on the screens.   ·5· ·information collected on the online change-of-address
·6· · · ·Q.· ·How many Driver License records are in DLS now,   ·6· ·and renewal form . . . get transmitted to DLS?
·7· ·approximately?                                             ·7· · · ·A.· ·So there is a nightly file that they transmit
·8· · · ·A.· ·There is a total -- not a total.· There's over    ·8· ·the data from those application- -- completed
·9· ·26 million records, including driver license,              ·9· ·applications to DLS.
10· ·identification cards, and unlicensed records.              10· · · ·Q.· ·For those completed applications, we've already
11· · · ·Q.· ·Are those all associated with individuals?· So    11· ·discussed that the answer to the voter-registration
12· ·there would be 26 million individuals?                     12· ·question, that is not included in that nightly file;
13· · · ·A.· ·No.· For the most part it is.· But we still       13· ·correct?
14· ·have some records from individuals -- the -- the -- the    14· · · ·A.· ·That's correct.
15· ·best way to describe this is before the Driver License     15· · · ·Q.· ·Are there any other questions that applicants
16· ·System, our system was a card-driven.· So you would        16· ·are required to answer on the online change-of-address
17· ·have -- like, if you had a driver's license and an ID,     17· ·or renewal form that is not transferred in the nightly
18· ·you would have two separate records in the system.         18· ·file to DPS?· I'm sorry.· To -- to the DLS?
19· · · · · · · · ·With Driver License System, we have what's   19· · · ·A.· ·No.
20· ·called a person record.                                    20· · · ·Q.· ·Why does DPS require customers to answer that
21· · · ·Q.· ·Mm-hmm.                                           21· ·question if they don't even retain the answer?
22· · · ·A.· ·So it joins those things together.                22· · · ·A.· ·The -- because we need to offer them the
23· · · · · · · · ·But we have individuals who either updated   23· ·availability of the application.· And so if they f- --
24· ·a name or an address or somethin' on one card and not      24· ·in order for us -- for Texas.gov, the way that's
25· ·the other, so when the d- -- data was migrated, it         25· ·programmed, is if they enter "yes," it presents the

                                                    Page 135                                                        Page 137
·1· ·does -- it did not combine those records.· So we have      ·1· ·link; if they enter "no," it does not.
·2· ·some out there, you know.· A- -- and there's -- there's    ·2· · · ·Q.· ·Why do they need to -- why does DPS need to
·3· ·no way for us to know an exact number.· But it's not --    ·3· ·offer or make available an application?
·4· ·you know, it's not, like, millions --                      ·4· · · ·A.· ·Because it's part of an application process.
·5· · · ·Q.· ·Okay.                                             ·5· ·So we're giving -- we're making that available to the
·6· · · ·A.· ·-- that are duplicate records.                    ·6· ·customer so that they can update or get their
·7· · · ·Q.· ·Okay.· But that would be the case if someone --   ·7· ·voter-registration application submitted.
·8· · · ·A.· ·Right.                                            ·8· · · ·Q.· ·But -- but pursuant to what is that something
·9· · · ·Q.· ·-- had two different types --                     ·9· ·that D -- DPS is required to do?
10· · · ·A.· ·Right.                                            10· · · · · · · · ·MS. MACKIN:· Objection:· Form.
11· · · ·Q.· ·-- of -- of. . . .                                11· · · · · · · · ·THE WITNESS:· Yeah, I'm not sure I
12· · · ·A.· ·If they both -- if they had both an ID and a      12· ·understand.· I mean --
13· ·DL.· Right.                                                13· · · ·Q.· ·(BY MS. SILHAN)· So --
14· · · ·Q.· ·Got it.                                           14· · · ·A.· ·-- it's -- it's part of -- i- -- it's
15· · · ·A.· ·And so when you're lookin' at just those,         15· ·considered an application, so we're -- are -- are making
16· ·you're lookin' at about 22 million.· We have about 4       16· ·that customer -- we're providing that ability for them
17· ·million of unlicensed records.· And that's individuals     17· ·to submit that regis- -- that voter-registration
18· ·where they didn't have a driver license or an ID and       18· ·application as part of that process.
19· ·they got a ticket for DWI or somethin' like that, and we   19· · · ·Q.· ·Well, it's a separate -- so it's separate,
20· ·created an un- -- unlicensed record for them.              20· ·though; right?· So --
21· · · ·Q.· ·When DLS was rolled out starting in 2009, and     21· · · ·A.· ·It is separate.
22· ·going through the field offices through May of 2010, was   22· · · ·Q.· ·Okay.· But for other applications, like
23· ·that the same time that Texas.gov was rolled out?          23· ·in-person applications, it's combined; it's not a
24· · · ·A.· ·No.· Texas.gov was in existence prior to that.    24· ·separate process.
25· · · ·Q.· ·Was that when DLS started offering online         25· · · · · · · · ·MS. MACKIN:· Objection:· Form.



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                                                                                                     APPENDIX 78
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 82
                                                              89 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 234                                                        Page 236
·1· ·certify that the information is true and correct?          ·1· ·was potential fraud, then they would -- they would
·2· · · ·A.· ·They're . . . well, the only thing that they're   ·2· ·request that information.
·3· ·changing is their address.· But they're -- they're         ·3· · · ·Q.· ·For signatures -- ink signatures on mail-in
·4· ·verifying who they are through the authentication          ·4· ·changes of address, for example, are those ever compared
·5· ·process that occurs up front by providing key pieces of    ·5· ·with either the f- -- previous physical signature or the
·6· ·data, which is their f- -- their name, the                 ·6· ·electronic signature on file?
·7· ·driver-license number, date of birth, the audit number     ·7· · · ·A.· ·Not on a routine basis, no.
·8· ·that's on the card they currently hold, and the last       ·8· · · ·Q.· ·Under what circumstance would they be compared?
·9· ·four of their Social.                                      ·9· · · ·A.· ·Again, only if somebody came in and said
10· · · · · · · · ·(Brief pause.)                               10· ·"Fraud."· They wouldn't be as part of the application
11· · · ·Q.· ·Aside from the physical ink signatures and the    11· ·process.
12· ·electronic keypad signatures, are there any other types    12· · · ·Q.· ·Okay.· But there wouldn't be another picture to
13· ·of signatures DPS collects from customers?                 13· ·do another facial recognition; right?
14· · · ·A.· ·No, ma'am.                                        14· · · ·A.· ·No.· Not at that point.
15· · · ·Q.· ·Does anyone compare the signatures collected by   15· · · ·Q.· ·'Kay.· So when else -- what other circumstance
16· ·DPS?                                                       16· ·for a mail-in form would -- would flag that form for
17· · · ·A.· ·Compare. . . .                                    17· ·signature comparison?
18· · · ·Q.· ·So a customer is going to be submitting to DPS,   18· · · ·A.· ·There's not any.
19· ·no matter what, two signatures; correct?                   19· · · ·Q.· ·Okay.· So then the mail-in signatures are never
20· · · ·A.· ·Correct.                                          20· ·compared.
21· · · ·Q.· ·Even in the first application, they're            21· · · ·A.· ·Typically no.
22· ·submitting an ink signature physically on a piece of       22· · · ·Q.· ·Okay.· So I'm just . . . I'm just trying to
23· ·paper, as well as an electronic signature on a keypad.     23· ·understand.· When you say --
24· · · ·A.· ·Correct.                                          24· · · ·A.· ·Yeah.
25· · · ·Q.· ·Does anyone go through and compare those two?     25· · · ·Q.· ·-- "typically no" --

                                                    Page 235                                                        Page 237
·1· · · ·A.· ·Not typically, no.                                ·1· · · ·A.· ·Well --
·2· · · ·Q.· ·Under what circumstance would they compare        ·2· · · ·Q.· ·-- why -- why can't you say "no"?
·3· ·them?                                                      ·3· · · ·A.· ·So no.· During the routine process, it would
·4· · · ·A.· ·If there was somethin' that identified that       ·4· ·never be compared.
·5· ·there was potential fraud, or an issue that arose that     ·5· · · ·Q.· ·But. . . .
·6· ·was, you know, for potential fraud or identity theft,      ·6· · · ·A.· ·When I say "routine process," what I'm talking
·7· ·then we would have somebody pull and -- and analyze        ·7· ·about is the individual that's processing that mail
·8· ·those signatures.                                          ·8· ·renewal application, they would never compare that
·9· · · ·Q.· ·How are those issues flagged?                     ·9· ·signature.· If after the fact we received a contact from
10· · · ·A.· ·What do you mean --                               10· ·Criminal Investigations Division or another low en- --
11· · · ·Q.· ·How --                                            11· ·law-enforcement co- -- office contact CID, they may pull
12· · · ·A.· ·-- "how are they flagged"?                        12· ·those signatures and look at 'em.· But as a routine part
13· · · ·Q.· ·How does the system identify potential identity   13· ·of the function of updating mail and -- 'scuse
14· ·fraud or theft?                                            14· ·me [coughed] -- mail-in address changes, we do not
15· · · ·A.· ·So the system itself does not identif- -- or      15· ·review the signatures.
16· ·done -- identify fraud, per se.· We do have an IVS         16· · · ·Q.· ·How does DPS go about verifying the information
17· ·system which does facial recognition on the original       17· ·submitted online for the online change of address or
18· ·applicants.· And so each morning we have individuals       18· ·renewal form?
19· ·that review those files that come up as potential          19· · · ·A.· ·Again, the only verification that's done there
20· ·matches, and then they determine -- if there's potential   20· ·is their log-in credentials.
21· ·fraud, if there is, then they refer it to our Criminal     21· · · ·Q.· ·But those log-in credentials, is that
22· ·Investigations Division.                                   22· ·information different than what would be entered on a
23· · · · · · · · ·The other way that it would be noted is if   23· ·physical mail-in change-of-address form?
24· ·the Criminal Investigation Division or Highway Patrol,     24· · · ·A.· ·The difference is the Social Security Number.
25· ·or another law enforcement agency, determined that there   25· ·The last four digits of the Social Security.· And



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                                                                                                     APPENDIX 79
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 83
                                                              90 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 254                                                        Page 256
·1· ·actually refer to the -- electronic signature captured     ·1· ·isolated electronic files missing.· Can you review that
·2· ·on the keypad?                                             ·2· ·and -- and help me understand -- understand this?
·3· · · ·A.· ·Yes, it does.                                     ·3· · · ·A.· ·So it -- it -- it appears that there -- they
·4· · · ·Q.· ·So DPS was never actually scanning physical ink   ·4· ·identified an error with the file production; that it
·5· ·signatures from paper and then transmitting them to        ·5· ·was not picking up all of the files.· And so they
·6· ·SOS . . . during this time.                                ·6· ·notified IT, and they were working on the issues.
·7· · · ·A.· ·No, we were not.                                  ·7· · · · · · · · ·So in other words, it would have been a --
·8· · · · · · · · ·(Brief pause.)                               ·8· ·a code fix.· Because somethin' was causing it to only
·9· · · ·Q.· ·Looking at the next page.· Page three of nine.    ·9· ·pick up those that were identified as new.· Because when
10· ·Under the heading "May 15th, 2009," it says, "A report     10· ·they . . . do . . . when they select "yes," then there's
11· ·to categorize the following."                              11· ·a -- a secondary field that they enter whether it's a
12· · · · · · · · ·Do you see that?                             12· ·new or an update to existing.· And it appears here that
13· · · ·A.· ·Yes.                                              13· ·there was a file issue and it was not picking up the
14· · · · · · · · ·MS. MACKIN:· May 15th, 2009?                 14· ·updates.
15· · · · · · · · ·MS. SILHAN:· Yes.                            15· · · ·Q.· ·Okay.
16· · · ·Q.· ·(BY MS. SILHAN)· And this report would            16· · · ·A.· ·In the daily file.
17· ·categorize a number of things, including the number of     17· · · ·Q.· ·And to be clear, two things.· We're talking
18· ·DPS applications received?· Correct?                       18· ·about the daily file sent to SOS with voter-registration
19· · · ·A.· ·Mm-hmm.                                           19· ·information.
20· · · ·Q.· ·The number of DPS applications approved as new    20· · · ·A.· ·Correct.
21· ·voter.· Number of DPS applications approved as change to   21· · · ·Q.· ·And when you say . . . update or new, you're
22· ·existing voter.                                            22· ·referring to voter-registration applications.
23· · · · · · · · ·Are you familiar with whether these          23· · · ·A.· ·Correct.
24· ·reports were created?                                      24· · · ·Q.· ·And so you said that . . . aside from an answer
25· · · ·A.· ·No, I'm not.                                      25· ·to the voter-registration question, there's a second set

                                                    Page 255                                                        Page 257
·1· · · ·Q.· ·Just under that it says, "A second report         ·1· ·of information that -- that says whether it's an update
·2· ·providing applicant/voter detail of the pending records    ·2· ·or a new?
·3· ·should be developed.· We have scoped an implementation     ·3· · · ·A.· ·Mm-hmm.
·4· ·time frame of January 1st, 2010."                          ·4· · · ·Q.· ·Is that in DLS?
·5· · · · · · · · ·Are you familiar with this second report?    ·5· · · ·A.· ·It is within DLS.· So it indicates -- when they
·6· · · ·A.· ·No, I'm not.                                      ·6· ·check -- when you're within DLS, once they check "yes,"
·7· · · ·Q.· ·Does it currently exist?                          ·7· ·then they indicate whether it's a new or an update, and
·8· · · ·A.· ·I do not believe it does.                         ·8· ·then the election-judge information comes up yes or no.
·9· · · ·Q.· ·And just below that it says "May 27th, 2009,"     ·9· ·So there's, I guess the best way to describe it, is
10· ·and in parentheses it says "Email from Karen Richards."    10· ·subfields.· So when you're looking at DLS, it doesn't
11· · · · · · · · ·Who's Karen Richards?                        11· ·say anything other than U.S. -- I mean "Photo
12· · · ·A.· ·She was with the Secretary of State's Office.     12· ·registration:· Yes or no."· But within the application
13· · · ·Q.· ·'Kay.· And it says, "The Secretary of State's     13· ·process, it asks the additional questions.
14· ·Office is currently working with DPS on several issues     14· · · · · · · · ·So if the -- if the vote -- if the
15· ·involving the deployment of the new DPS Digital            15· ·applicant indicated that they'd never registered to vote
16· ·Signature Application."                                    16· ·and it was an original, it would have been selected as
17· · · · · · · · ·What's that?                                 17· ·"new."· And then if they say "I'm already registered,
18· · · ·A.· ·The DPS Digital Signature Application is the      18· ·but I'm changin' my address," then it would be sent as
19· ·new capture ability of the fingerprint, portrait, and      19· ·an update.
20· ·signature.· File.· In the new format.                      20· · · ·Q.· ·And that's something that's on the paper
21· · · ·Q.· ·And that was deployed . . . in 2009?              21· ·applications?
22· · · ·A.· ·Correct.                                          22· · · ·A.· ·At this point I would have to go back and look
23· · · ·Q.· ·And it's still used today?                        23· ·at it.· I -- I don't feel comfortable saying yes or no.
24· · · ·A.· ·Correct.                                          24· · · ·Q.· ·Okay.· Irrespective of whether it's something
25· · · ·Q.· ·The following sentence describes an issue with    25· ·on the applications, that's something that's in DLS?



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                                                                                                     APPENDIX 80
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 84
                                                              91 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                    Page 310                                                          Page 312
·1· ·concludes the deposi- -- deposition of Sheri Gipson,       ·1· ·THE STATE OF ________________)

·2· ·consisting of four video disks.· We are off the record     ·2· ·COUNTY OF ___________________)

·3· ·at 6:00 [sic] p.m.                                         ·3

·4· · · · · · · · ·(Deposition suspended at 5:59 p.m.)          ·4· · · · Before me, ________________________, on this day
                                                                ·5· ·personally appeared SHERI GIPSON, known to me or proved
·5
                                                                ·6· ·to me on the oath of ______________________ or through
·6
                                                                ·7· ·_____________________________ [description of identity
·7
                                                                ·8· ·card or other document] to be the person whose name is
·8
                                                                ·9· ·subscribed to the foregoing instrument and acknowledged
·9
                                                                10· ·to me that he/she executed the same for the purpose and
10
                                                                11· ·consideration therein expressed.
11
                                                                12· · · · Given under my hand and seal of office this
12
                                                                13· ·______ day of________________________, _______.
13                                                              14
14                                                              15
15                                                              16· · · · · · · · · · · ·__________________________
16                                                              · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
17                                                              17· · · · · · · · · · · ·THE STATE OF _____________
18                                                              18· · · · · · · · · · · ·My Commission Expires:_______
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25


                                                    Page 311                                                          Page 313
·1· · · · · · · · · · ·CHANGES AND SIGNATURE                    ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
·2· ·PAGE LINE· CHANGE· · · · · · · · · ·REASON                 · · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
                                                                ·2· · · · · · · · · · ·SAN ANTONIO DIVISION
·3· ·________________________________________________________
                                                                ·3· ·JARROD STRINGER, et al.,· · · · )
·4· ·________________________________________________________   · · · · · · · · · · · · · · · · · · ·)
·5· ·________________________________________________________   ·4· · · · · · · · · · Plaintiffs,· · )
·6· ·________________________________________________________   · · ·vs.· · · · · · · · · · · · · · ·) C.A. 5:16-cv-00257-OLG
·7· ·________________________________________________________   ·5· · · · · · · · · · · · · · · · · ·)
                                                                · · ·ROLANDO B. PABLOS, IN HIS· · · ·)
·8· ·________________________________________________________
                                                                ·6· ·OFFICIAL CAPACITY AS THE TEXAS· )
·9· ·________________________________________________________   · · ·SECRETARY OF STATE; AND STEVEN· )
10· ·________________________________________________________   ·7· ·C. MCCRAW, IN HIS OFFICIAL· · · )
11· ·________________________________________________________   · · ·CAPACITY AS THE DIRECTOR OF THE )
                                                                ·8· ·TEXAS DEPARTMENT OF PUBLIC· · · )
12· ·________________________________________________________
                                                                · · ·SAFETY,· · · · · · · · · · · · ·)
13· ·________________________________________________________   ·9· · · · · · · · · · · · · · · · · ·)
14· ·________________________________________________________   · · · · · · · · · · · Defendants.· · )
15· ·________________________________________________________   10· · · · · · · · · · · · · · · · · ·)
16· ·________________________________________________________   11· · · · · ORAL VIDEOTAPED DEPOSITION OF SHERI GIPSON
                                                                12· · · · · · · · · ·TUESDAY, JANUARY 31, 2017
17· ·________________________________________________________
                                                                13· · · · · · ·I, RABIN´ MONROE, Certified Shorthand Reporter
18· ·________________________________________________________   14· ·in and for the State of Texas, hereby certify to the
19· ·________________________________________________________   15· ·following:
20· ·________________________________________________________   16· · · · · · ·That the witness, SHERI GIPSON, was duly sworn
                                                                17· ·by the officer and that the transcript of the deposition
21· · · · · · ·I, SHERI GIPSON, have read the foregoing
                                                                18· ·is a true record of the testimony given by the witness;
22· ·deposition and hereby affix my signature that same is
                                                                19· · · · · · ·That the deposition transcript was submitted
23· ·true and correct, except as noted above.                   20· ·on ____________________ _____, 2017, to the witness, or
24                                                              21· ·to the attorney for the witness, for examination,
25· · · · · · · · · · · · · · ·______________________________   22· ·signature, and return to ___________________________;
                                                                23· · · · · · ·That $_____________ is the deposition
· · · · · · · · · · · · · · · · · · · · SHERI GIPSON
                                                                24· ·officer's charges to the Plaintiffs for preparing the
· · · · · · · · · · · · · · · · · · · · SHERI GIPSON            25· ·original deposition and any copies of exhibits;




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                                                                                                      APPENDIX 81
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 85
                                                              92 of 207
                                                                    797
STRINGER: SHERI GIPSON

                                                   Page 314
·1· · · · · · ·That pursuant to information given to the
·2· ·deposition officer at the time said testimony was taken,
·3· ·the following includes all parties of record, along with
·4· ·the amount of time used by each party at the time of the
·5· ·deposition:
·6· · · · MS. CAITLYN ELIZABETH SILHAN
· · · · · Counsel for Plaintiffs
·7· · · · TIME USED:· 6 Hours, 15 Minutes
·8· · · · MS. MIMI MURRAY DIGBY MARZIANI
· · · · · Counsel for Plaintiffs
·9· · · · TIME USED:· 6 Minutes
10· · · · MS. ANNE MARIE "ANNA" MACKIN
· · · · · Counsel for Defendants
11· · · · TIME USED:· 17 Minutes
12· · · · MS. KATHLEEN THERESA MURPHY
· · · · · Counsel for Defendants
13· · · · TIME USED:· (No time used.)
14· · · · · · ·I further certify that I am neither counsel
15· ·for, related to, nor employed by any of the parties in
16· ·the action in which this proceeding was taken, and
17· ·further, that I am not financially or otherwise
18· ·interested in the outcome of this action.
19· · · · · · ·Certified to by me on FEBRUARY 12, 2017.
20
21· · · · · · · · · · · ·______________________________
· · · · · · · · · · · · ·RABIN´ MONROE, RDR, CRR, CRC
22· · · · · · · · · · · ·Texas CSR# 9049
· · · · · · · · · · · · ·Expiration:· December 31, 2018
23· · · · · · · · · · · ·HG LITIGATION
· · · · · · · · · · · · ·Firm Registration No. 69
24· · · · · · · · · · · ·2501 Oak Lawn Avenue, Suite 600
· · · · · · · · · · · · ·Dallas, Texas· 75219
25· · · · · · · · · · · ·1-888-656-DEPO
· · · · · · · · · · · · ·1-888-656-3275 TOLL FREE FAX
· · · · · · · · · · · · ·1-888-656-3275 TOLL FREE FAX




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                                                                APPENDIX 82
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 86
                                                         93 of 207
                                                               797




            EXHIBIT 12




                                                          APPENDIX 83
         Case 5:16-cv-00257-OLG
              5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                    05/29/20 Page 87
                                                                  94 of 207
                                                                        797
     STRINGER: JOHN CRAWFORD

                                                                              Page 1
·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· ·JARROD STRINGER, et al.,· · · · §
· · · · · · · · · · · · · · · · · · ·§
·4· · · · · · ·Plaintiffs,· · · · · ·§
· · · · · · · · · · · · · · · · · · ·§
·5· ·v.· · · · · · · · · · · · · · · §· Civil Action
· · · · · · · · · · · · · · · · · · ·§· No. 5:16-cv-00257-OLG
·6· ·ROLANDO B. PABLOS, IN HIS· · · ·§
· · ·OFFICIAL CAPACITY AS THE· · · · §
·7· ·SECRETARY OF STATE and STEVEN· ·§
· · ·C. McCRAW, IN HIS OFFICIAL· · · §
·8· ·CAPACITY AS THE DIRECTOR OF· · ·§
· · ·THE TEXAS DEPARTMENT OF PUBLIC §
·9· ·SAFETY,· · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · · · · ·§
10· · · · · · ·Defendants.· · · · · ·§

11

12· · · ·***********************************************
· · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
13· · · · · · · · · · · · JOHN CRAWFORD
· · · · · · · · · · · · FEBRUARY 17, 2017
14· · · · · · · · · · · · · ·VOLUME 1
· · · · ·***********************************************
15

16· · · · ORAL AND VIDEOTAPED DEPOSITION OF JOHN CRAWFORD,

17· ·produced as a witness at the instance of the Plaintiffs,

18· ·and duly sworn, was taken in the above-styled and

19· ·numbered cause on the 17th day of February, 2017, from

20· ·10:06 a.m. to 4:35 p.m., before STEVEN STOGEL, CSR in

21· ·and for the State of Texas, reported by machine

22· ·shorthand, at the office of the Attorney General, 300

23· ·West 15th Street, Suite 1100, Austin, Texas, pursuant to

24· ·the Federal Rules of Civil Procedure and the provisions

25· ·stated on the record or attached hereto.



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                                                                   APPENDIX 84
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 88
                                                              95 of 207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                      Page 2                                                           Page 4
·1· · · · · · · · · ·A P P E A R A N C E S                       ·1· · · · · · · · · · · · · ·EXHIBITS
·2                                                               ·2· ·EXHIBIT NAME· ·DESCRIPTION· · · · · · · · · · · · · PAGE
·3· ·FOR THE PLAINTIFFS:
·4· · · · MS. CASSANDRA CHAMPION                                 ·3· ·Exhibit 8.· · ·Screenshot - Texas DPS - Driver· · · ·85
· · · · · MS. BETH STEVENS                                       · · · · · · · · · · License Renewal and Change of
·5· · · · TEXAS CIVIL RIGHTS PROJECT                             ·4· · · · · · · · · Address Page
· · · · · 1405 Montopolis Drive
·6· · · · Austin, Texas 78741
                                                                 ·5· ·Exhibit 9.· · ·PowerPoint Entitled "The National· · 100
· · · · · Phone:· 512.474.5073                                   · · · · · · · · · · Voter Registration Act and Voter
·7                                                               ·6· · · · · · · · · Registration Applications ... an
·8· ·FOR THE DEFENDANTS:                                         · · · · · · · · · · Overview"
·9· · · · MS. ANNE MARIE MACKIN
· · · · · OFFICE OF THE ATTORNEY GENERAL                         ·7
10· · · · General Litigation Division                            · · ·Exhibit 10.· · 12/4/15 Email from Lauren Petty· · · 107
· · · · · P.O. Box 12548, Capitol Station                        ·8
11· · · · Austin, Texas 78711-2548                               · · ·Exhibit 11.· · 6/8/16 Email String· · · · · · · · · 13
· · · · · Phone:· 512.463.2120
12                                                               ·9
· · ·FOR THE TEXAS DEPARTMENT OF PUBLIC SAFETY:                  10
13                                                               11
· · · · · MS. KATHLEEN T. MURPHY-DARVEAU                         12
14· · · · TEXAS DEPARTMENT OF PUBLIC SAFETY
· · · · · Senior Assistant General Counsel                       13
15· · · · Office of General Counsel                              14
· · · · · 5805 N. Lamar Boulevard                                15
16· · · · P.O. Box 4087                                          16
· · · · · Austin, Texas 78752
17· · · · Phone:· 512.424.2420                                   17
18                                                               18
· · ·ALSO PRESENT:                                               19
19
· · · · · MR. ALEX STAMM
                                                                 20
20· · · · MR. AARON HAGEL, Videographer                          21
21                                                               22
22                                                               23
23
24                                                               24
25                                                               25

                                                        Page 3                                                         Page 5
·1· · · · · · · · · · · · ·I N D E X                             ·1· · · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · · · · · · · · · · · · · · · · · · · · ·PAGE    ·2· · · · · · · · · THE VIDEOGRAPHER:· All right.· This
·3· ·Appearances.....................................· · · 2
·4· ·WITNESS: JOHN CRAWFORD                                      ·3· ·begins the videotaped deposition of Mr. John Crawford in
·5· ·Examination by Ms. Champion.....................· · · 6     ·4· ·the matter of Jarrod Stringer, et al., versus Rolando B.
·6· ·Examination by Ms. Stevens......................· · 126
·7· ·Reporter's Certificate..........................· · 152     ·5· ·Pablos, in his official capacity as the Texas Secretary
·8                                                               ·6· ·of State, and Steven C. McCraw, in his official capacity
·9· · · · · · · · · · · · · ·EXHIBITS                            ·7· ·as the Director of the Texas Department of Public
10· ·EXHIBIT NAME· ·DESCRIPTION· · · · · · · · · · · · · PAGE
11· ·Exhibit 1.· · ·Notice of Deposition· · · · · · · · · 24     ·8· ·Safety, now pending in the United States District Court
12· ·Exhibit 2.· · ·12/22/14 Texas DPS DLS - Use Case· · ·54     ·9· ·for the Western District of Texas, San Antonio Division,
· · · · · · · · · · Specification:· Create Daily Update
13· · · · · · · · · File for SOS - Version 1.9                   10· ·Civil Action No. 5:16-cv-00257-OLG.
14· ·Exhibit 3.· · ·12/29/14 Texas DPS DLS - Use Case· · ·54     11· · · · · · · · · This deposition is being held at 300 West
· · · · · · · · · · Specification:· Create Voter                 12· ·15th in Austin, Travis County, Texas.· Today is Friday,
15· · · · · · · · · Registration Extract File -
· · · · · · · · · · Version 6.9                                  13· ·February 17th, 2017.· The time is now 10:06 a.m.
16                                                               14· · · · · · · · · My name is Aaron Hagel, your
· · ·Exhibit 4.· · ·DPS Overview· · · · · · · · · · · · · 65
17                                                               15· ·videographer, retained by Legal Eyes, Incorporated.· Our
· · ·Exhibit 5.· · ·Form DL-14A (Rev. 6/14)· · · · · · · ·70     16· ·court reporter is Steve Stogel.
18· · · · · · · · · Application for Texas Driver                 17· · · · · · · · · Would counsel and all parties present
· · · · · · · · · · License or Identification Card
19                                                               18· ·please introduce yourselves for the record, and then
· · ·Exhibit 6.· · ·Form DL-64 (Rev. 3/16)· · · · · · · · 77     19· ·would the court reporter then swear in the witness?
20· · · · · · · · · Application for Change of Address
· · · · · · · · · · on Valid Texas Driver License (DL)           20· · · · · · · · · MS. CHAMPION:· Yes.· My name is Cassandra
21· · · · · · · · · & Identification Card (ID)                   21· ·Champion.· I'm here on behalf of the plaintiff, Jarrod
22· ·Exhibit 7.· · ·Form DL-64 (Rev. 9/13)· · · · · · · · 77     22· ·Stringer.
· · · · · · · · · · Application for Change of Address
23· · · · · · · · · on Valid Texas Driver License (DL)           23· · · · · · · · · MS. STEVENS:· Beth Stevens on behalf of
· · · · · · · · · · & Identification Card (ID)                   24· ·Benjamin Hernandez.
24
25                                                               25· · · · · · · · · MR. STAMM:· Alex Stamm here on behalf of



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                                                                                                      APPENDIX 85
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 89
                                                              96 of 207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                      Page 6                                                          Page 8
·1· ·the plaintiff, Jarrod Stringer.                            ·1· ·employed by the department.· One had a case against the
·2· · · · · · · · · MS. MURPHY:· Kathleen Murphy, General       ·2· ·other, and one reported to me, and so I was deposed in
·3· ·Counsel's Office, Texas Department of Public Safety.       ·3· ·that matter.
·4· · · · · · · · · MS. MACKIN:· Anne Marie Mackin, Texas       ·4· · · · Q.· ·Do you remember when that was?
·5· ·Attorney General's Office, here on behalf of all           ·5· · · · A.· ·I believe it was 2010.
·6· ·defendants.                                                ·6· · · · Q.· ·Do you happen to know the name of the case?
·7· · · · · · · · · THE WITNESS:· John Crawford, Texas          ·7· · · · A.· ·I don't.· I'm sorry.· I don't remember.
·8· ·Department of Public Safety.                               ·8· · · · Q.· ·That's okay.· How about the second time?
·9· · · · · · · · · · · · JOHN CRAWFORD,                        ·9· · · · A.· ·The second time was the voter ID case, when I
10· ·having been first duly sworn, testified as follows:        10· ·testified for the department.
11· · · · · · · · · · · · ·EXAMINATION                          11· · · · Q.· ·And when was that?
12· ·BY MS. CHAMPION:                                           12· · · · A.· ·That was in 2014.· I believe it was in the
13· · · · Q.· ·Thank you.· Mr. Crawford, could you state and    13· ·spring.· I don't remember the exact month.
14· ·spell your full name for the record, please?               14· · · · Q.· ·And when you say "department," do you mean the
15· · · · A.· ·It's John William Crawford.· J-O-H-N; William,   15· ·Department --
16· ·W-I-L-L-I-A-M; and Crawford is C-R-A-W-F-O-R-D.            16· · · · A.· ·Department of Public Safety, yes.
17· · · · Q.· ·Thank you.· Have you ever been deposed before?   17· · · · Q.· ·Did you testify for the Department of Public
18· · · · A.· ·Yes, I have.                                     18· ·Safety in the first case as well?
19· · · · Q.· ·We will come back to that to learn a little      19· · · · A.· ·No.· That was private -- a private matter.
20· ·bit more, but first, even though you've been deposed,      20· · · · Q.· ·Thank you.· Are you currently employed by the
21· ·I'll just give you a refresher of the rules, if you        21· ·Texas Department of Public Safety?
22· ·don't mind.                                                22· · · · A.· ·Yes.
23· · · · · · · · · So only one of us can talk at a time.       23· · · · Q.· ·Can we call that DPS today?
24· ·That is for the benefit of the court reporter, to keep     24· · · · A.· ·Yes.
25· ·our record very clear.· So I'll endeavor to let you        25· · · · Q.· ·What is your job title?

                                                      Page 7                                                          Page 9
·1· ·finish every answer if you will kindly let me finish       ·1· · · · A.· ·I am manager of licensing services
·2· ·every question.                                            ·2· ·applications.
·3· · · · · · · · · Can you please give verbal answers, such    ·3· · · · Q.· ·Is that in a particular division?
·4· ·as "yes" and "no," rather than "uh-huh" or "huh-uh,"       ·4· · · · A.· ·It's in the information technology division.
·5· ·because those are harder to read?                          ·5· · · · Q.· ·And what do you do in that position?
·6· · · · A.· ·Yes.                                             ·6· · · · A.· ·I'm responsible for a team of software
·7· · · · Q.· ·And if you don't understand a question, will     ·7· ·developers who support the applications that are used by
·8· ·you let me know you don't understand, because if you do    ·8· ·the driver license division and the regulatory services
·9· ·not let me know, then I will presume that you understood   ·9· ·division of DPS.
10· ·and that the answer was the answer you meant to give.      10· · · · Q.· ·How big is that team?
11· ·Is that okay?                                              11· · · · A.· ·I have 15 people.
12· · · · A.· ·Yes.                                             12· · · · Q.· ·And who do you report directly to?
13· · · · Q.· ·Are you currently sick or taking any             13· · · · A.· ·I report to Shannon Wallace, who is the
14· ·medication today?                                          14· ·interim assistant deputy director in -- for
15· · · · A.· ·No.                                              15· ·applications.
16· · · · Q.· ·Is there any other reason your testimony today   16· · · · Q.· ·You said "interim."· Was there someone that
17· ·might be impaired?                                         17· ·had that position before Shannon Wallace?
18· · · · A.· ·No.                                              18· · · · A.· ·Yes.· The previous holder of the position was
19· · · · Q.· ·Okay.· Let's go back to the depositions you      19· ·Bryan Lane, and he's now the chief information officer
20· ·may have been involved with in the past.· How many times   20· ·for the information technology division.
21· ·have you been deposed?                                     21· · · · Q.· ·We'll go over the hierarchy a little bit in
22· · · · A.· ·Two.                                             22· ·one moment, but how long have you held that position?
23· · · · Q.· ·And for the first one, why -- what case or       23· · · · A.· ·Since December of 2012.
24· ·matter were you deposed for?                               24· · · · Q.· ·When did you first start working for DPS?
25· · · · A.· ·It -- there were two contractors that were       25· · · · A.· ·In September 2008.



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                                                                                                     APPENDIX 86
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 90
                                                              97 of 207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                     Page 70                                                         Page 72
·1· ·Exhibit 5?                                                 ·1· ·that had to occur when the change was made from the
·2· · · · · · · · · (Exhibit No. 5 marked)                      ·2· ·field not having to have an answer to the field now
·3· · · · Q.· ·(By Ms. Champion)· This form, Exhibit 5, at      ·3· ·having to have an answer?· So how was the hard stop
·4· ·the top says "Application for Texas Driver License or      ·4· ·created, I suppose?
·5· ·Identification Card."· Is that correct?                    ·5· · · · A.· ·It would have followed the regular process of
·6· · · · A.· ·Yes.                                             ·6· ·a formal request being entered and verified.· But in --
·7· · · · Q.· ·And it has many fields on the front page of      ·7· ·within the programming itself, the programmer -- the
·8· ·the form.· Would you agree?                                ·8· ·software developer controls how a cursor flows through
·9· · · · A.· ·Yes.                                             ·9· ·fields on the screen.· If you hit return, you can either
10· · · · Q.· ·Do each of these fields reflect a                10· ·bypass a field or not, and you make a software change
11· ·corresponding field within the DLS?                        11· ·that doesn't allow that cursor to pass a field until you
12· · · · A.· ·Yes.                                             12· ·have entered one of the valid values in that field.
13· · · · Q.· ·For Question 2, which reads, "If you are a       13· · · · · · · · · So if it's -- a valid value's not
14· ·U.S. citizen, would you like to register to vote?· If      14· ·entered, you can't go any farther.· So that's what "hard
15· ·registered, would you like to update your voter            15· ·stop" means.· It forces you to make a valid entry before
16· ·information?"                                              16· ·you can go to the next piece of information.
17· · · · · · · · · Is there a field for that in DLS?           17· · · · Q.· ·And so when the decision was made to implement
18· · · · A.· ·Yes.                                             18· ·this hard stop, who would have given that assignment?
19· · · · Q.· ·And what does it look like on your end?· Does    19· · · · A.· ·Who would have given the assignment to
20· ·it have that exact language?· Can you explain the field?   20· ·actually do the code?
21· · · · A.· ·It would have -- on the screen in the driver     21· · · · Q.· ·Yes.
22· ·license application, it would have a tag that says         22· · · · A.· ·My lead, Jeff Peschka, would have assigned the
23· ·"voter registration," and an entry would be "yes" or       23· ·person to do the actual coding itself.· The request
24· ·"no."                                                      24· ·would have come from the driver license division, then
25· · · · · · · · · So I don't believe that it has the entire   25· ·we would have -- we would have assigned the tasks based

                                                     Page 71                                                         Page 73
·1· ·question on the driver license screen.· There are many     ·1· ·on their prioritizations.· Ultimately it's my
·2· ·screens, so I'd have to go look at it specifically, but    ·2· ·responsibility for work assignment.
·3· ·I don't believe the full question is there.                ·3· · · · Q.· ·Do you know who at the driver's license
·4· · · · Q.· ·Can that field be left blank?                    ·4· ·division would have made the request?
·5· · · · A.· ·No.                                              ·5· · · · A.· ·I don't know who made that request, no.
·6· · · · Q.· ·Can the -- can there be both a "yes" and a       ·6· · · · Q.· ·Do you look how we can find out?
·7· ·"no" entry simultaneously?                                 ·7· · · · A.· ·It would be in the JIRA ticket.
·8· · · · A.· ·No.                                              ·8· · · · Q.· ·We talked about all of the information from
·9· · · · Q.· ·Are you familiar with the term "hard stop"?      ·9· ·Exhibit 5 being input into DLS.· Do you know if every
10· · · · A.· ·Yes.                                             10· ·form that a customer fills out in person at a DPS office
11· · · · Q.· ·Does that mean that that field has to be         11· ·is the same in that it would have multiple fields that
12· ·filled out before another field can be filled out?         12· ·would all go into -- into the DLS?
13· · · · A.· ·Yes.                                             13· · · · A.· ·I'm not familiar with every form that would be
14· · · · Q.· ·Do you know if it was always the case that       14· ·available in a driver license office, and I can't -- I
15· ·that field had to be filled out for the No. 2 voter        15· ·couldn't confirm for certain that every one would be
16· ·registration question?                                     16· ·included.
17· · · · A.· ·It was not.                                      17· · · · Q.· ·Does the DLS only store electronic signatures?
18· · · · Q.· ·And when did that change?                        18· · · · A.· ·Yes.
19· · · · A.· ·I -- I don't recall the exact date.· I'd have    19· · · · Q.· ·But there --
20· ·to look at records to find out.· It's -- it was not part   20· · · · A.· ·Well, I'm not sure what -- could you -- could
21· ·of the original driver license application.· The change    21· ·you clarify that a little bit, please?
22· ·was made at a later date.                                  22· · · · Q.· ·Sure.· Does the DLS only store signatures
23· · · · Q.· ·Were you part of making that change?             23· ·which are input using the keypad?
24· · · · A.· ·My team would have been, yes.                    24· · · · A.· ·The DLS database itself, yes, it only stores
25· · · · Q.· ·What was the process -- the technical process    25· ·signatures that are collected on those electronic pads.



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                                                                                                     APPENDIX 87
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 91
                                                              98 of 207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                     Page 74                                                         Page 76
·1· · · · Q.· ·Would there ever be a situation where there's    ·1· · · · Q· · (By Ms. Champion)· When you look at a file in
·2· ·a file within DLS that is an image of a scanned            ·2· ·DLS, can you tell when a signature file has been
·3· ·signature?                                                 ·3· ·created?
·4· · · · A.· ·Customer service representatives do scan         ·4· · · · A.· ·Yes.
·5· ·documents that have physical signatures.· Those are        ·5· · · · Q.· ·How can you tell?
·6· ·stored by a vendor.· They're not stored in the driver      ·6· · · · A.· ·It'll have a date and time stamp associated
·7· ·license database.                                          ·7· ·with that record.
·8· · · · Q.· ·What vendor is that?                             ·8· · · · Q.· ·Can you see a history for each time a
·9· · · · A.· ·It's a company called CBM Archive.               ·9· ·signature file has been changed?
10· · · · Q.· ·So images of scanned documents, including        10· · · · A.· ·Yes.· A signature file is not changed.· A new
11· ·signatures, are they kept within DLS?· Are they stored     11· ·signature would be captured.· So we would -- we would
12· ·within DLS?                                                12· ·have the old signature -- the previous signature, but
13· · · · A.· ·No.· They're stored by CBM Archive in their      13· ·you don't change a signature.· You capture a new
14· ·environment.                                               14· ·signature.
15· · · · Q.· ·I think you've used the phrase "in their         15· · · · Q.· ·What would happen to the old signature?
16· ·environment" to refer to not only CBM but also DPS.· Can   16· · · · A.· ·It remains on file.
17· ·you explain what that means?                               17· · · · Q.· ·So would a person record then have multiple
18· · · · A.· ·CBM Archive has their own computer equipment,    18· ·signatures associated with that file?
19· ·and that's where this information is stored, on their      19· · · · A.· ·It could, yes.
20· ·computer equipment.                                        20· · · · Q.· ·Are signature files ever removed from DLS?
21· · · · Q.· ·Is that what you mean by "the environment"?      21· · · · A.· ·No.
22· · · · A.· ·Yes.                                             22· · · · Q.· ·What is the DPS digital signature application?
23· · · · Q.· ·Can a DPS employee look up a scanned document    23· · · · A.· ·I'm not familiar with that term.
24· ·in DLS?                                                    24· · · · Q.· ·Okay.· So when a customer service
25· · · · A.· ·They can look up a scanned document through      25· ·representative is using DLS, could that employee compare

                                                     Page 75                                                         Page 77
·1· ·the DLS application.· They're looking at it in the         ·1· ·two signatures?· Could they pull them both up on the
·2· ·CBM Archive database.                                      ·2· ·system at the same time?
·3· · · · Q.· ·So does a CBM system then have to somehow        ·3· · · · A.· ·I don't know if a customer service
·4· ·communicate with DLS?                                      ·4· ·representative has that level of authority.· That would
·5· · · · A.· ·Yes.· The DLS application knows for a            ·5· ·be a business authorization.
·6· ·particular customer that scanned documents are stored,     ·6· · · · Q.· ·If a person record has more than one signature
·7· ·and an authorized driver license person can look at        ·7· ·associated with that record, which signature would be
·8· ·those documents.                                           ·8· ·batched and sent to the Secretary of State with the
·9· · · · Q.· ·Does DPS have any signature recognition          ·9· ·voter extract --
10· ·software?                                                  10· · · · A.· ·The most --
11· · · · A.· ·Not that I'm aware of.                           11· · · · Q.· ·-- file?
12· · · · Q.· ·Each time a customer comes into a DPS office     12· · · · A.· ·The most recently captured one.
13· ·to complete a transaction, is a record in DLS updated      13· · · · Q.· ·And the system knows which one to send based
14· ·every time?                                                14· ·on the time and date stamp associated with each
15· · · · A.· ·Yes.· If the customer actually executes a        15· ·signature?
16· ·transaction, yes.                                          16· · · · A.· ·Yes.
17· · · · Q.· ·Is a new signature file created each time a      17· · · · Q.· ·I'm going to hand over two documents.· One
18· ·customer completes a transaction?                          18· ·will be Exhibit 6 and one will be Exhibit 7.
19· · · · A.· ·That's really a business question.· I don't      19· · · · · · · · · (Exhibit Nos. 6 and 7 marked)
20· ·know what their process -- I don't know what the           20· · · · Q.· ·(By Ms. Champion)· Okay.· Looking at
21· ·business process is for requiring a signature.             21· ·Exhibit 6, the top it says "Application for Change of
22· · · · · · · · · THE REPORTER:· Did you say requiring or     22· ·Address on Valid Texas Driver's License (DL) &
23· ·acquiring?                                                 23· ·Identification Card (ID)."
24· · · · · · · · · THE WITNESS:· Requiring.                    24· · · · · · · · · Do each of these fields get filled out
25· · · · · · · · · THE REPORTER:· Thank you.                   25· ·when a form like this is mailed in to DPS?



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                                                                                                     APPENDIX 88
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 92
                                                              99 of 207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                    Page 138                                                        Page 140
·1· ·sent to the Secretary of State that night with the voter   ·1· ·in to DPS to update or renew, the information that gets
·2· ·registration batch.· Correct?                              ·2· ·captured in DLS -- if the voter registration question
·3· · · · A.· ·Yes.                                             ·3· ·is, in fact, asked and captured in DLS, that information
·4· · · · Q.· ·And with the renewal and the change of           ·4· ·would also go to Secretary of State at the same time
·5· ·address, the electronic signature's also going to the      ·5· ·during that batch?
·6· ·Secretary of State?                                        ·6· · · · A.· ·That's correct.
·7· · · · A.· ·Yes.                                             ·7· · · · Q.· ·And if they answered "yes" to that question
·8· · · · Q.· ·And I think you answered this with               ·8· ·and it goes to the Secretary of State, their previously
·9· ·Ms. Champion, but if someone's provided multiple           ·9· ·provided electronic signature is what would be sent to
10· ·electronic signatures, it's the most recent signature      10· ·the Secretary of State as well?
11· ·that goes with the batch.· Is that right?                  11· · · · A.· ·Yes.
12· · · · A.· ·Yes, that's correct.                             12· · · · Q.· ·So I'll turn your attention to the online
13· · · · Q.· ·And the second batch -- the kind of catchall     13· ·transaction with Texas.gov and the interaction with DLS.
14· ·batch in my mind -- that doesn't have any signatures.      14· ·Okay?
15· ·Is that correct?                                           15· · · · A.· ·Okay.
16· · · · A.· ·I don't recall.· It does not.                    16· · · · Q.· ·When DLS receives the information from
17· · · · Q.· ·Would you turn to Page 4 on the Batch 2 case     17· ·Texas.gov, the DLS system can tell, can it not, whether
18· ·use, the non-voter registration one?                       18· ·it is a renewal or a change of address?
19· · · · A.· ·The daily update?                                19· · · · A.· ·Yes.
20· · · · Q.· ·Yes, sir.· Page 4 at the top that has 1.1.6.2.   20· · · · Q.· ·Thank you.· And do I have it right that you
21· · · · A.· ·Yes.                                             21· ·can't go get a new driver's license online?· Is that
22· · · · Q.· ·And then in parentheses, it has A-2, and it      22· ·correct?
23· ·says, "Purge status."                                      23· · · · A.· ·An initial driver license, that is correct.
24· · · · A.· ·Yes.                                             24· · · · Q.· ·Right.· So if I just turned -- how old do you
25· · · · Q.· ·Can you explain that a little bit more to me?    25· ·have to be to drive -- 16, 17 -- I can't have my first

                                                    Page 139                                                        Page 141
·1· ·What -- what is purge status?                              ·1· ·interaction with DPS be online.· I have to go in person?
·2· · · · A.· ·I'm sorry.· I don't know.· I would have to --    ·2· · · · A.· ·That is correct.· You must go into an office.
·3· ·I'd have to research that.· I don't know what that         ·3· · · · Q.· ·Okay.· And, likewise, I can't do it via the
·4· ·designator is.                                             ·4· ·mail for the first time either?
·5· · · · Q.· ·Is it fair to say that somebody on your team,    ·5· · · · A.· ·That's also correct, right.· Mail is only
·6· ·the people that you manage, would be able to answer that   ·6· ·renewals or change of address.
·7· ·question?                                                  ·7· · · · Q.· ·Okay.· I think you addressed this with
·8· · · · A.· ·Either someone from my team or someone from      ·8· ·Ms. Champion, but I just want to make sure I understand.
·9· ·the business would be able to answer that question, yes.   ·9· ·The information that is transferred from Texas.gov to
10· · · · Q.· ·I'm going to turn your attention back to the     10· ·DLS, the sort of fields that come out of Texas.gov, the
11· ·mail-in change of address, the current one -- so I think   11· ·website, and get projected out to DLS or whatever the
12· ·that's Exhibit 6.                                          12· ·mechanism is, that would be a case use -- a use case
13· · · · · · · · · With regard to the batch that's sent to     13· ·from Texas.gov.· Is that correct?
14· ·the Secretary of State at night for the voter              14· · · · A.· ·Yes.
15· ·registration, if the person answers "yes" on their         15· · · · Q.· ·That would dictate what gets sent to DLS?
16· ·change of address that's mailed in and that's input into   16· · · · A.· ·What -- yes, that's correct.
17· ·DLS, it's the electronic signature that was previously     17· · · · Q.· ·Okay.· And currently we know at the very least
18· ·provided the last time that person went in person.         18· ·the updated address information does get sent to DLS.
19· ·That's the signature that goes to the Secretary of         19· ·Is that correct?
20· ·State.· Is that right?                                     20· · · · A.· ·Yes.
21· · · · A.· ·Yes, that's correct.                             21· · · · Q.· ·And we know that the two -- well, first of
22· · · · Q.· ·There's not -- I've not a scan of the            22· ·all, the question about "Do you want to donate a dollar
23· ·signature that is required on Exhibit 6?                   23· ·to this charity?" that question and answer gets sent to
24· · · · A.· ·It is not.· That's correct.                      24· ·you.· Correct?
25· · · · Q.· ·Okay.· The information -- when someone calls     25· · · · A.· ·Yes, it does.



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                                                                                                     APPENDIX 89
    Case5:20-cv-00046-OLG
    Case 5:16-cv-00257-OLG Document
                           Document77-1
                                    77-1 Filed
                                         Filed05/29/20
                                               06/30/17 Page
                                                        Page100
                                                             93 of
                                                                 of207
                                                                    797
STRINGER: JOHN CRAWFORD

                                                    Page 142                                                        Page 144
·1· · · · Q.· ·To DLS?                                          ·1· ·said -- you needed to do the analysis and see how
·2· · · · A.· ·Yes.                                             ·2· ·exactly it would need to communicate with Texas.gov to
·3· · · · Q.· ·And the answer to the question "Do you want to   ·3· ·start tracking the answer "yes" or "no," "Do you want to
·4· ·be an organ donor?" that question gets sent to DLS?        ·4· ·register to vote?" -- hypothetically, they've done that
·5· · · · A.· ·Yes, that's correct.                             ·5· ·and the answer is "yes."· Okay?
·6· · · · Q.· ·Okay.· And DLS is fully capable of receiving     ·6· · · · A.· ·Okay.
·7· ·the answer to the question do you want to register to      ·7· · · · Q.· ·Okay?· Are you with me so far?
·8· ·vote -- capable of receiving it from Texas.gov.· Is that   ·8· · · · A.· ·Okay.
·9· ·correct?                                                   ·9· · · · Q.· ·Okay.· DLS is also capable of sending that
10· · · · A.· ·Not currently.                                   10· ·information on to the Secretary of State's Office.
11· · · · Q.· ·It's programmable such that DLS could receive    11· ·Correct?
12· ·the answer to the question do you want to register to      12· · · · · · · · · MS. MACKIN:· Objection; form.· You can
13· ·vote from Texas.gov?                                       13· ·answer.
14· · · · A.· ·Yes.                                             14· · · · A.· ·Technically, yes.
15· · · · Q.· ·And like you pointed out with Ms. Champion,      15· · · · Q.· ·(By Ms. Stevens)· It's capable of doing it?
16· ·that data field already exists, do you want to register    16· · · · A.· ·From an IT perspective, yes.
17· ·to vote.· Is that correct?                                 17· · · · Q.· ·Okay.· And if it were to do that, it could
18· · · · A.· ·There is a data field that exists, yes.          18· ·also send the previously provided electronic signature
19· · · · Q.· ·So the program would need to be rewritten such   19· ·from that customer, just like it does with a mail-in
20· ·that the information from Texas.gov changes the answer     20· ·change of address.
21· ·to that question within DLS.· Is that right?               21· · · · A.· ·Yes.
22· · · · A.· ·I can't tell you exactly how the process would   22· · · · Q.· ·Okay.· And I just want to go back to -- you
23· ·work without analysis.                                     23· ·said technically it can do what I just asked you two
24· · · · Q.· ·Okay.                                            24· ·questions ago.· Are you hesitating because someone needs
25· · · · A.· ·That would require analysis in a use case to     25· ·to actually have you put that in place in the system?

                                                    Page 143                                                        Page 145
·1· ·determine if that was the right process.                   ·1· · · · A.· ·Someone has to -- yeah, the driver license
·2· · · · Q.· ·Have you ever done that analysis?                ·2· ·division would have to request it, and there's a process
·3· · · · A.· ·No.                                              ·3· ·to go through.· It has to be legal, for example.
·4· · · · Q.· ·Would you have to get that request from          ·4· ·Their -- their request must come from the driver license
·5· ·someone with DLD to do that analysis?                      ·5· ·division, and we're -- we don't work on things unless
·6· · · · A.· ·Yes.                                             ·6· ·that request comes from the driver license division.
·7· · · · Q.· ·And DLD is the driver's license department.      ·7· · · · Q.· ·Sure.· That makes -- someone needs to put a
·8· ·Correct?                                                   ·8· ·ticket into JIRA and then do the whole analysis, like
·9· · · · A.· ·Driver license division.                         ·9· ·you explained earlier?
10· · · · Q.· ·Division.                                        10· · · · A.· ·That's right.
11· · · · A.· ·Yes.                                             11· · · · Q.· ·Okay.
12· · · · Q.· ·Excuse me.· Thank you.· Just to clarify, the     12· · · · A.· ·That's right.
13· ·system, DLS itself, is capable of having the               13· · · · Q.· ·If Texas.gov implemented a system by which it
14· ·information -- of obtaining the information should         14· ·captured an electronic signature -- aside from the
15· ·Texas.gov send it to you.· Is that fair?                   15· ·electronic pad signature that someone gives in person.
16· · · · A.· ·Yes.                                             16· ·Okay?· Does this make sense --
17· · · · Q.· ·Do I have it right that if someone goes online   17· · · · A.· ·Okay.
18· ·to either change their address or, within a renewal,       18· · · · Q.· ·-- so far?
19· ·they do something to change -- change their address,       19· · · · A.· ·Okay.
20· ·change their name, something like that -- that             20· · · · Q.· ·Okay.· So Texas.gov in this hypothetical
21· ·information all is going from DLS, once they receive       21· ·captures an electronic signature that someone provides
22· ·it -- once it receives it -- to the Secretary of State     22· ·to it online.· Is DLS capable of holding that
23· ·in that second batch we've been talking about?             23· ·information should Texas.gov send it?
24· · · · A.· ·Yes.                                             24· · · · A.· ·It would depend on how it's captured and what
25· · · · Q.· ·Okay.· So, hypothetically, if DLS did what you   25· ·the format is, so not necessarily.



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                                                                                                     APPENDIX 90
     Case5:20-cv-00046-OLG
     Case 5:16-cv-00257-OLG Document
                            Document77-1
                                     77-1 Filed
                                          Filed05/29/20
                                                06/30/17 Page
                                                         Page101
                                                              94 of
                                                                  of207
                                                                     797
STRINGER: JOHN CRAWFORD

                                                      Page 150                                                         Page 152
·1· · · · · · · · · · CHANGES AND SIGNATURE                      ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· ·PAGE· ·LINE· · · · ·CHANGE· · · · · · · · · · · · REASON    · · · · · · · · · · WESTERN DISTRICT OF TEXAS
                                                                 ·2· · · · · · · · · · ·SAN ANTONIO DIVISION
·3· ·________________________________________________________    ·3· ·JARROD STRINGER, et al.,· · · · §
·4· ·________________________________________________________    · · · · · · · · · · · · · · · · · · ·§
                                                                 ·4· · · · · · ·Plaintiffs,· · · · · ·§
·5· ·________________________________________________________
                                                                 · · · · · · · · · · · · · · · · · · ·§
·6· ·________________________________________________________    ·5· ·v.· · · · · · · · · · · · · · · §· Civil Action
·7· ·________________________________________________________    · · · · · · · · · · · · · · · · · · ·§· No. 5:16-cv-00257-OLG
                                                                 ·6· ·ROLANDO B. PABLOS, IN HIS· · · ·§
·8· ·________________________________________________________    · · ·OFFICIAL CAPACITY AS THE· · · · §
·9· ·________________________________________________________    ·7· ·SECRETARY OF STATE and STEVEN· ·§
                                                                 · · ·C. McCRAW, IN HIS OFFICIAL· · · §
10· ·________________________________________________________
                                                                 ·8· ·CAPACITY AS THE DIRECTOR OF· · ·§
11· ·________________________________________________________    · · ·THE TEXAS DEPARTMENT OF PUBLIC §
12· ·________________________________________________________    ·9· ·SAFETY,· · · · · · · · · · · · ·§
                                                                 · · · · · · · · · · · · · · · · · · ·§
13· ·________________________________________________________    10· · · · · · ·Defendants.· · · · · ·§
14· ·________________________________________________________    11
                                                                 · · · · · · · · · · ·REPORTER'S CERTIFICATION
15· ·________________________________________________________
                                                                 12· · · · · · · · ·DEPOSITION OF JOHN CRAWFORD
16· ·________________________________________________________    · · · · · · · · · · · · February 17, 2017
17· ·________________________________________________________    13
                                                                 14· · · · I, Steven Stogel, Certified Shorthand Reporter in
18· ·________________________________________________________    15· ·and for the State of Texas, hereby certify to the
19· ·________________________________________________________    16· ·following:
                                                                 17· · · · That the witness, JOHN CRAWFORD, was duly sworn by
20· ·________________________________________________________
                                                                 18· ·the officer and that the transcript of the oral
21· ·________________________________________________________    19· ·deposition is a true record of the testimony given by
22· ·________________________________________________________    20· ·the witness;
                                                                 21· · · · That the original deposition was delivered to
23· ·________________________________________________________    22· ·MR. PETER A. KRAUS.
24· ·________________________________________________________    23· · · · That a copy of this certificate was served on all
                                                                 24· ·parties and/or the witness shown herein on
25· ·________________________________________________________
                                                                 25· ·__________________, 2017.


                                                      Page 151                                                         Page 153
·1· · · · I, JOHN CRAWFORD, have read the foregoing              ·1· · · · I further certify pursuant to FRCP Rule 30(f)(1)
·2· ·deposition and hereby affix my signature that same is       ·2· ·that the signature of the deponent:
·3· ·true and correct, except as noted above.                    ·3· · · · · · ·_X_ was requested by the deponent or a party
·4
                                                                 ·4· ·before the completion of the deposition and that the
· · · · · · · · · · · · · · · · · ·__________________________
                                                                 ·5· ·signature is to be before any notary public and returned
·5· · · · · · · · · · · · · · · · ·JOHN CRAWFORD
                                                                 ·6· ·within 30 days (or ____ days per agreement of counsel)
·6
·7· ·THE STATE OF __________)                                    ·7· ·from date of receipt of the transcript.· If returned,
·8· ·COUNTY OF _____________)                                    ·8· ·the attached Changes and Signature Page contains any
·9                                                               ·9· ·changes and the reasons therefore:
10· · · · Before me, ___________________, on this day            10· · · · · · ·___ was not requested by the deponent or a
11· ·personally appeared JOHN CRAWFORD, known to me (or          11· ·party before the completion of the deposition.
12· ·proved to me under oath or through _________________)       12· · · · That the amount of time used by each party at the
13· ·(description of identity card or other document) to be
                                                                 13· ·deposition is as follows:
14· ·the person whose name is subscribed to the foregoing
                                                                 14· · · · · · ·MS. CASSANDRA CHAMPION................4:09
15· ·instrument and acknowledged to me that they executed the
                                                                 15· · · · · · ·MS. BETH STEVENS......................0:31
16· ·same for the purposes and consideration therein
17· ·expressed.                                                  16· · · · That pursuant to information given to the
18· · · · Given under my hand and seal of office this the        17· ·deposition officer at the time said testimony was taken,
19· ·_____ day of ______________, 2017.                          18· ·the following includes counsel for all parties of
20                                                               19· ·record:
21                                                               20· · · · FOR THE PLAINTIFFS:· MS. CASSANDRA CHAMPION
· · · · · · · · · · · · · · · · · ·__________________________
                                                                 21· · · · FOR THE DEFENDANTS:· MS. ANNE MARIE MACKIN
22· · · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
                                                                 22· · · · FOR TEXAS DPS:· MS. KATHLEEN T. MURPHY-DARVEAU
· · · · · · · · · · · · · · · · · ·THE STATE OF _____________
                                                                 23· · · · That $_________ is the deposition officer's charges
23
24                                                               24· ·to the Plaintiffs for preparing the original deposition
25                                                               25· ·transcript and any copies of exhibits;




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     Case5:20-cv-00046-OLG
     Case 5:16-cv-00257-OLG Document
                            Document77-1
                                     77-1 Filed
                                          Filed05/29/20
                                                06/30/17 Page
                                                         Page102
                                                              95 of
                                                                  of207
                                                                     797
STRINGER: JOHN CRAWFORD

                                                   Page 154
·1· · · · I further certify that I am neither counsel for,
·2· ·related to, nor employed by any of the parties or
·3· ·attorneys to the action in which this testimony was
·4· ·taken, and further that I am not financially or
·5· ·otherwise interested in the outcome of this action.
                                       23rd
·6· · · · Certified to by me this the _________ day of
        February
·7· ·__________________, 2017.
·8
·9
10· · · · · · · · · · · ·___________________________________
· · · · · · · · · · · · ·Steven Stogel
11· · · · · · · · · · · ·CSR 6174
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                                                                APPENDIX 92
Case5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document
                       Document77-1
                                77-1 Filed
                                     Filed05/29/20
                                           06/30/17 Page
                                                    Page103
                                                         96 of
                                                             of207
                                                                797




             EXHIBIT 13




                                                           APPENDIX 93
     Case5:20-cv-00046-OLG
     Case 5:16-cv-00257-OLG Document
                            Document77-1
                                     77-1 Filed
                                          Filed05/29/20
                                                06/30/17 Page
                                                         Page104
                                                              97 of
                                                                  of207
                                                                     797




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JARROD STRINGER, ET AL,                             §
      Plaintiffs,                                   §
                                                    §
V.                                                  §       NO. 5:16-CV-00257
                                                    §
CARLOS H. CASCOS, IN HIS OFFICIAL CAPACITY          §
AS THE TEXAS SECRETARY OF STATE AND                 §
STEVEN C. MCCRAW, IN HIS OFFICIAL CAPACITY          §
AS THE DIRECTOR OF THE TEXAS DEPARTMENT OF          §
PUBLIC SAFETY,                                      §
       Defendants.                                  §


             DEFENDANT CARLOS H. CASCOS’ FIRST SUPPLEMENTAL RESPONSES
                 TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSIONS



       TO:    Plaintiffs Jarrod Stringer, Benjamin Hernandez, Totysa Watkins, and John Woods

through their attorney of record, by and through their attorney of record, Caitlyn Silhan, WATERS

& KRAUS, LLP, 3141 Hood Street, Suite 700, Dallas, Texas 75219.

       Dated: January 20, 2017.

                                            Respectfully submitted,

                                            KEN PAXTON
                                            Attorney General of Texas

                                            JEFFREY C. MATEER
                                            First Assistant Attorney General

                                            BRANTLEY STARR
                                            Deputy First Assistant Attorney General

                                            JAMES E. DAVIS
                                            Deputy Attorney General for Civil Litigation

                                            ANGELA V. COLMENERO
                                            Chief, General Litigation Division


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                                                                                 APPENDIX 94
     Case5:20-cv-00046-OLG
     Case 5:16-cv-00257-OLG Document
                            Document77-1
                                     77-1 Filed
                                          Filed05/29/20
                                                06/30/17 Page
                                                         Page105
                                                              98 of
                                                                  of207
                                                                     797




                                              /s/Anne Marie Mackin
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                                              Texas Bar No. 24078898
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                                              anna.mackin@oag.texas.gov

                                              ATTORNEYS FOR DEFENDANTS


       RESPONSES TO JARROD STRINGER’S REQUESTS FOR ADMISSIONS

Request No. 1: Admit that as Secretary of State, Defendant Carlos H. Cascos serves as Texas’
Chief Election Officer.

Response: Admits that, under Texas Election Code §31.001(a), the Secretary of State serves as the
State’s Chief Election Officer, but note that Rolando B. Pablos has succeeded Carlos H. Cascos as
Texas’s Secretary of State.

Request No. 2: Admit that Mr. Cascos is responsible for ensuring Texas’ compliance with the
National Voter Registration Act (“NVRA”).

Response: Denies.

Request No. 3: Admit that during a transaction on the DPS website in August or September 2014,
Mr. Stringer updated his driver’s license address online.

Response: Denies that this transaction took place on the DPS website. In all other respects, admits.

Request No. 4:Admit that when Mr. Stringer updated his driver’s license address online in August
or September 2014, he checked “yes” in response to the statement, “I want to register to vote.”

Response: After making a reasonable inquiry into this request, defendant lacks sufficient
information to truthfully admit or deny it, because defendant does not maintain records of this
information.

Request No. 5: Admit that when Mr. Stringer attempted to vote early in the 2014 general election,
his name was not on the rolls in Bexar County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny, because Defendant does not have access to Bexar County’s
2014 rolls. Defendant maintains a statewide voter registration list.

                                                 2

                                                                                    APPENDIX 95
      Case5:20-cv-00046-OLG
      Case 5:16-cv-00257-OLG Document
                             Document77-1
                                      77-1 Filed
                                           Filed05/29/20
                                                 06/30/17 Page
                                                          Page106
                                                               99 of
                                                                   of207
                                                                      797




Request No. 6: Admit that Mr. Stringer called Bexar County elections officials in 2014 to inquire
about his voter registration status.

Response: After making a reasonable inquiry into this request, defendant lacks sufficient
information to truthfully admit or deny, because Defendant does maintain records of calls to Bexar
County election officials inquiring about voter registration status.

Request No. 7: Admit that in the 2014 general election, Mr. Stringer could only vote a limited
ballot with state-wide candidates because he was still registered at his address in Tarrant County.

Response: After making a reasonable inquiry into this request, Defendant states that Mr. Stringer
has two addresses in the statewide voter registration system in Tarrant County (1) one with a start
date of May 28, 2014, and an end date of May 12, 2015; and (2) one with a start date of October
22, 2009 and an end date of May 28, 2014. Mr. Stringer’s voting history in the statewide voter
registration database as to 2014 only indicates that he cast a regular ballot in Tarrant County on
May 22, 2014; there is no voting history for him for the November 2014 election. Mr. Stringer
has an address in Bexar County for his registration in Bexar County with an effective date of May
23, 2015 in the statewide voter registration database. Accordingly Defendant cannot admit or deny
what type of ballot Mr. Stringer cast, if any, in November 2014; and, to the extent the request asks
hypothetically what type of ballot he could cast, Defendant objects to the request as hypothetical
and calling for a legal conclusion.

Request No. 8: Admit that, in order for an eligible voter who completes a valid driver’s license
transaction on the DPS website to register to vote or update voter registration information, , he or
she must separately visit the Secretary of State’s website and either: (a) print out the physical voter
registration form, fill out the form, and mail or personally deliver the form to the appropriate
county registrar before the voter registration deadline, or (b) request that a form be mailed, receive
the form, fill out the form, and mail or personally deliver it to the appropriate county registrar
before the voter registration deadline.

Response: Admits that an eligible voter who changes the address on her non-commercial Texas
driver license online must submit a signed voter registration application in person or by mail in
order for his voter registration information to be updated. The DPS and Texas.gov online interface
links such voters to an application they may print out, sign, and mail, and also gives such voters
the option to request that a voter registration application be mailed to them, postage paid, and
contains language indicating that the separate form must be filled out in order to complete the
voter’s registration.. Denies to the extent the request indicates that the voter registration application
must be mailed or personally delivered to the “appropriate county registrar” by the voter, and
denies in all other respects.

Request No. 9: Admit that if a registered voter moves to a new address within the same county
where he or she is already registered to vote, he or she can update the address on his or her driver’s
license online through the DPS website without a hard application or wet signature.

Response: Defendant objects that this request is hypothetical and calls for speculation.

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                                                                                        APPENDIX 96
         Case 5:16-cv-00257-OLG
              5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                    05/29/20 Page 100
                                                                  107 of 207
                                                                         797




Request No. 10: Admit that an eligible voter who moves within a Texas county can update his
or her voter registration record on the Secretary of State’s website.

Response: Admits that there is a link on VoteTexas.gov, under http://www.votetexas.gov/faq/, to
a page where a voter can update his or her voter registration address within a county,
https://txapps.texas.gov/tolapp/sos/SOSACManager. 1 Denies that any such update itself occurs
on the SOS’s web domains (i.e., www.sos.state.tx.us or www.votetexas.gov). Admits that on the
Texas.gov website, https://txapps.texas.gov/tolapp/sos/SOSACManager, subject to the
requirements listed on that page, an eligible voter who moves within a Texas county is able to
update their address. 2

Request No. 11: Admit that if a registered voter is moving to a new address within the same
county where he or she is already registered to vote and changes his or her address online through
the DPS website, the eligible voter cannot subsequently use the Secretary of State’s website to
update his or her address for voter registration purposes.

Response: Admits to the extent that it is not the Secretary of State’s website on which an eligible
voter updates his or her address for voter registration purposes within a county. In all other
respects, denies.

1
    The specific FAQ accessed via this link provides, among other things:

I am registered to vote, but I moved this past year. Is there anything I need to do to make sure that I won’t have a
problem voting in November?

If you moved within the same county where you are currently registered, you must file the new address information
in writing with your voter registrar OR you may submit the "in county" change online. The last day to make a change
of address that will be effective for the November 8, 2016 Election is October 11, 2016. If you missed this deadline,
you may return to your old precinct to vote, if you still live in the political subdivision holding the election. If you
moved within the county, you will have to go back to the precinct in which you are currently registered (your “old”
precinct), and, at that location, you will be required to complete a "statement of residence" confirming your new
address. This will act to update your registration information for the future. You will then be allowed to vote a regular
ballot as long as you are otherwise eligible. If you moved to a “new county,” you must re-register in your new county
of residence by October 11, 2016, to be eligible to vote in the November 8, 2016 Election (unless you are eligible to
vote a “limited ballot,” see below).

Addresses and phone numbers of Voter Registrars

LIMITED BALLOT OPTION: If you have moved to a new county and have not re-registered in the new county by
the October 11, 2016 deadline, you may be eligible to vote a limited ballot in your new county. A limited ballot means
that you would be allowed to vote on any candidates and measures in common between your former and new
county. This procedure is only available during the early voting period at the main early voting polling place; you
may NOT vote a limited ballot on election day. You must be a current registered voter in your former county in order
to qualify OR you must have been registered in your old county at the time you submitted a voter registration
application in your new county, if you have done so. For full information on this procedure (including the by-mail
option, if qualified to vote by mail), go to Special Forms of Early Voting (PDF). If you feel you qualify to vote a
limited ballot, we recommend that you contact the office of the Early Voting Clerk in your new county.
2
  The page provides, among other things, “To use this service, you need your: Current Driver License or ID Card
Social Security Number Voter Registration Card VUID (Voter Unique Identifier) Number may be obtained from your
County Voter Registrar.”

                                                           4

                                                                                                     APPENDIX 97
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 101
                                                              108 of 207
                                                                     797




Request No. 12: Admit that when a registered voter updates his or her address through the DPS
website as described above, DPS transmits the voter registration to the Secretary of State’s office
electronically, without a hard application or wet signature.

Response: Denies. Information voters submit to the DPS change of address online portal relating
to voter registration is not transmitted to SOS.

Request No. 13: Admit that when the Secretary of State’s office receives voter registration
information transmitted from DPS, it transmits the information to the county where each
prospective voter resides.

Response: Admits that information received from persons conducting in-person or by mail
transactions with DPS is transmitted from SOS to the county voter registrar in the county in which
the voter indicates their “residence address” is located.

Request No. 14: Admit that in 2013, the State created a web portal where county voter registrars
can place information from voters who tell the county that they attempted to register to vote at
DPS.

Response: Admits that, in 2013, SOS and DPS established a portal to allow counties to submit
inquiries and verify if an individual has registered to vote through DPS, when a voter registrar is
not able to locate a copy of the record. Denies that the portal is limited to “information from voters
who tell the county that they attempted to register to vote at DPS,” to the extent that the “county”
is not a person.

Request No. 15: Admit that the information voter registrars place information into the web portal
may include any information the voter provided about attempting to register to vote at DPS along
with the other information the voter included on the provisional ballot envelope.

Response: Defendant objects that this request is hypothetical and calls for speculation, and is
unintelligible.

Request No. 16: Admit that DPS will then research the information provided by the voter to
determine whether the voter indicated their desire to register to vote and/or update their voter
registration when registering with DPS in-person or by mail.

Response: Defendant objects that this request is hypothetical and calls for speculation.

Request No. 17: Admit that if the voter did indicate their desire to register to vote and/or update
their voter registration when registering with DPS in-person or by mail, then the voter’s
registration is considered to be “submitted to the registrar” for purposes of Texas Election Code

Response: Defendant objects that this request is hypothetical and calls for speculation, and is
unintelligible.



                                                  5

                                                                                     APPENDIX 98
      Case 5:16-cv-00257-OLG
           5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                 05/29/20 Page 102
                                                               109 of 207
                                                                      797




Request No. 18: Admit that if an eligible voter requested voter registration during an in-person
transaction with DPS, but the record of his or her transaction was not transmitted by the DPS
employee to SOS, the registration is nonetheless considered effective on the date that the eligible
voter indicated to DPS he or she wanted to register to vote, whether in-person or by mail.

Response: Defendant objects that this request is hypothetical and calls for speculation.

Request No. 19: Admit that the date of submission of a change of address to a DPS employee
in-person is considered to be the date of submission to the voter registrar for the purpose of
determining the effective date of registration.

Response: Defendant objects that this request is hypothetical and calls for speculation.

Request No. 20: Admit that the date of submission of a driver’s license renewal application to a
DPS employee in-person is considered to be the date of submission to the voter registrar for the
purpose of determining the effective date of registration.

Response: Defendant objects that this request is hypothetical and calls for speculation.

Request No. 21: Admit that the DPS web portal was created to allow the counties to submit
inquiries and verify if an individual has registered to vote through DPS, when a voter registrar is
not able to locate a copy of the record.

Response: Admits. See SOS Election Advisory No. 2015-08.

Request No. 22: Admit that at least since the web portal was implemented in 2013, SOS has kept
records of each voter who has been submitted into the system, as well as the outcome of the
investigation DPS conducts for each individual whose name has been run through the portal
system.

Response: Admits that since the web portal was implemented in 2013, SOS has kept records of
information entered into the web portal, which includes information entered by county personnel
and DPS. Denies to the extent “records of each voter” includes information other than what was
entered into the portal for “each voter”.

Request No. 23: Admit that from May 27, 2015, when Plaintiffs sent their first notice letter to
the State, to November 30, 2015 when Plaintiffs sent their last notice letter to the State, the parties
engaged in negotiations and communications, resulting in the State agreeing to a number of
reforms.

Response: Admits that counsel for Defendants met with counsel for Plaintiffs on July 20, 2015.
Admits that counsel for Plaintiffs and counsel for Defendants exchanged several letters between
May 27, 2015 and November 30, 2015. Admits that, in a good faith effort to work with Plaintiffs,
Defendants made voluntary revisions to certain voter registration policies and procedures.




                                                  6

                                                                                      APPENDIX 99
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 103
                                                              110 of 207
                                                                     797




Request No. 24: Admit that the letter Plaintiffs sent to the State on November 30, 2015
summarized the reforms to the voter registration process the State agreed to implement.

Response: Denies.

Request No. 25: Admit that according to the Election Advisory issued by the Secretary of State’s
office on September 10, 2015, when a voter appears to vote but is not on the rolls, county election
officials must: (a) offer that voter a provisional ballot; and (b) ask the voter whether he or she
attempted to register at DPS and, if so, when.

Response: Defendant objects that this request is hypothetical and calls for speculation.

Request No. 26: Admit that after county election officials ask the two questions in the RFA
above, officials must then use the DPS web portal to notify DPS representatives, who will review
the voter’s original file.

Response: While Defendant cannot say with absolute certainty what occurs in each particular
factual scenario, Defendant admits that this request is true as a matter of general practice, as
outlined in Election Advisory No. 2015-08, issued September 10, 2015.

Request No. 27: Admit that the outcome of the investigation can include the following results:
(a) the voter marked both the “yes” and the “no” boxes and thus they were not registered to vote;
(b) the voter did not mark either the “yes” or “no” box and thus they were not registered to vote;
(c) the voter marked no that they did not want to register and thus they were not registered to vote;
(d) the voter requested voter registration and the clerk at DPS did not transmit the information; (e)
the voter updated their information online with DPS and did not complete the process to be
registered to vote; (f) the DPS was unable to locate a record for that voter in their files.

Response: Defendant objects that this request is hypothetical and calls for speculation.

      RESPONSE TO BENJAMIN HERNANDEZ’S REQUEST FOR ADMISSIONS

Request No. 1: Admit that during a transaction on the DPS website in February 2013, Mr.
Hernandez updated his driver’s license address online.

Response: Denies.

Request No. 2: Admit that when Mr. Hernandez updated his driver’s license address online in
February 2013, he checked “yes” in response to the statement, “I want to register to vote.”

Response: Denies

Request No. 3: Admit that when Mr. Hernandez attempted to vote on Election Day 2014, his name
was not on the rolls in Dallas County.




                                                 7

                                                                                   APPENDIX 100
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 104
                                                              111 of 207
                                                                     797




Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny, because Defendant does not have access to Dallas
County’s 2014 rolls.

Request No. 4: Admit that on Election Day 2014, Mr. Hernandez was still registered in Ector
County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny, because Defendant does not have access to Ector County’s
2014 rolls.

Request No. 5: Admit that on Election Day 2014, Mr. Hernandez cast a provisional ballot.

Response: After making a reasonable inquiry into this request, Defendant admits that Mr.
Hernandez was registered to vote in Dallas County with an effective date of registration of
December 4, 2014, date the application was submitted to the registrar of November 4, 2014, and
the source code for the registration application was provisional ballot. Defendant notes however,
that, there is no other voting history for Mr, Hernandez in the statewide voter registration system
in 2014.

Request No. 6: Admit that the Secretary of State issued a notice to Mr. Hernandez that his vote
on Election Day 2014 was not counted.

Response: Denies.

Request No. 7: Admit that if an applicant for a driver’s license indicates he or she wants to register
to vote and correctly completes a voter registration form, it is not the responsibility of DPS
employees to confirm that the applicant meets all of the eligibility requirements to register to vote.

Response: Defendant objects that this request is hypothetical, calls for speculation, and calls for a
legal conclusion, not an admission of fact or an application of law to fact.

Request No. 8: Admit that when a completed voter registration form is submitted to the Secretary
of State, it is the responsibility of election officials to confirm that an applicant meets all of the
eligibility requirements to vote.

Response: Defendant objects that this request is hypothetical, calls for speculation, and calls for a
legal conclusion, not an admission of fact or an application of law to fact.

          RESPONSE TO TOTYSA WATKINS’ REQUEST FOR ADMISSIONS

Request No. 1: Admit that during a transaction on the DPS website in 2011, Ms. Watkins updated
her driver’s license address online.

Response: Denies.



                                                  8

                                                                                    APPENDIX 101
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 105
                                                              112 of 207
                                                                     797




Request No. 2: Admit that when Ms. Watkins updated her driver’s license address online in 2011,
she checked “yes” in response to the statement, “I want to register to vote.”

Response: Denies.

Request No. 3: Admit that during a transaction on the DPS website in 2013, Ms. Watkins updated
her driver’s license address online.

Response: Denies that this transaction took place on the DPS website. In all other respects, admits.

Request No. 4: Admit that when Ms. Watkins updated her driver’s license address online in 2013,
she checked “yes” in response to the statement, “I want to register to vote.”

Response: After making a reasonable inquiry into this request, defendant lacks sufficient
information to truthfully admit or deny it, because Defendant does not maintain records of this
information.

Request No. 5: Admit that when Ms. Watkins attempted to vote on Election Day 2014, her name
was not on the rolls in Dallas County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny, because Defendant does not have access to Dallas
County’s 2014 rolls.

Request No. 6: Admit that on Election Day 2014, Ms. Watkins was still registered in Denton
County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny, because Defendant does not have access to Denton
County’s 2014 rolls.

Request No. 7: Admit that on Election Day 2014, Ms. Watkins cast a provisional ballot.

Response: After making a reasonable inquiry into this request, Defendant lacks knowledge
sufficient to truthfully admit or deny it. Defendant notes that there is no voting history for Ms.
Watkins in the statewide voter registration system in 2014. The effective date of Ms. Watkins’
voter registration in Dallas County is December 4, 2014; however, the source code associated with
Ms. Watkins’ registration is not the provisional ballot source code and thus Defendant cannot infer
that it was necessarily done via provisional ballot.

Request No. 8: Admit that the Secretary of State issued a notice to Ms. Watkins that her vote on
Election Day 2014 was not counted.

Response: Denies.

             RESPONSE TO JOHN WOODS’ REQUEST FOR ADMISSIONS

                                                 9

                                                                                  APPENDIX 102
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 106
                                                              113 of 207
                                                                     797




Request No. 1: Admit that during a transaction on the DPS website in September 2015, Dr. Woods
updated his driver’s license address online.

Response: Denies that this transaction took place on the DPS website. In all other respects, admits.

Request No. 2: Admit that when Dr. Woods updated his driver’s license address online in 2015,
he checked “yes” in response to the statement, “I want to register to vote.”

Response: After making a reasonable inquiry into this request, defendant lacks sufficient
information to truthfully admit or deny it, because defendant does not maintain records of this
information.

Request No. 3: Admit that when Dr. Woods attempted to vote on Election Day 2015, his name
was not on the rolls in Harris County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it, because Defendant does not have access to Harris
County’s 2015 rolls.

Request No. 4: Admit that on Election Day 2015, Dr. Woods was still registered in Travis County.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it, because Defendant does not have access to Travis
County’s 2015 rolls.

Request No. 5: Admit that on Election Day 2015, Dr. Woods cast a provisional ballot in Harris
County.

Response: After making a reasonable inquiry into this request, Defendant admits that there was a
voter application date for a John Oates Oates for Harris County, with Dr. Woods’ driver license
number, dated November 3, 2015, with a provisional ballot source code, in the state’s voter
registration database. Defendant admits that there is a transfer of a John Oates Woods on
November 9, 2015, as a new voter registration application for Harris County, with the same driver
license number. The effective date of Dr. Woods’ registration in Harris is December 3, 2015.
Defendant notes, however, that there is no voting history for Dr. Woods in the statewide voter
registration system in 2015.

Request No. 6: Admit that on March 2, 2015, the Secretary of State’s office responded to a public
information act request from Mimi Marziani attaching a list of 4,608 voters who reported a
problem with their voter registration records that implicated voter registration practices at DPS
between January 1, 2012 and March 2, 2015.

Response: Denies that the individuals on this list reported a “problem with their voter registration
records that implicated voter registration practices at DPS,” and denies that any list provided by



                                                10

                                                                                  APPENDIX 103
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 107
                                                              114 of 207
                                                                     797




the Secretary of State’s office on March 2, 2015 was current through March 2, 2015; it was current
through February 27, 2015. In all other respects, admits.

Request No. 7: Admit that on May 26, 2015, the Secretary of State’s office responded to a public
information act request from Mimi Marziani attaching a list of 332 voters who reported a problem
with their voter registration records that implicated voter registration practices at DPS between
February 27, 2015 and May 13, 2015.

Response: Denies that the individuals on this list reported a “problem with their voter registration
records that implicated voter registration practices at DPS.” In all other respects, admits.

Request No. 8: Admit that between September 2013 and May 26, 2015, the State recorded, and
local election workers investigated, complaints from approximately 1,947 voters who completed
an online transaction with DPS and, through that transaction, checked “yes…. I want to register to
vote”, but were subsequently denied a regular ballot when they attempted to vote.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it, because Defendant does not maintain records of voters
who check “yes…I want to register to vote” and are “subsequently denied a regular ballot when
they attempt to vote”, nor do Defendants track who is “subsequently denied a regular ballot when
they attempt to vote” to the extent they would have knowledge of every such voter.

Request No. 9: Admit that on May 27, 2015, Peter Kraus and Mimi Marziani sent the Secretary
of State a letter giving him notice that eligible voters Benjamin Hernandez and Totysa Watkins
had claims against the State for violations of the NVRA.

Response: Objects that this request calls for a legal conclusion regarding whether notice was
legally sufficient under the NVRA to waive the Defendant’s Eleventh Amendment immunity.

Request No. 10: Admit that on October 23, 2015, Peter Kraus and Mimi Marziani sent the
Secretary of State a second letter, supplementing the May 27th Notice Letter giving him notice that
Jarrod Stringer had claims against the State for violations of the NVRA.

Response: Objects that this request calls for a legal conclusion regarding whether notice was
legally sufficient under the NVRA to waive the Defendant’s Eleventh Amendment immunity.

Request No. 11: Admit that on November 18, 2015, Peter Kraus and Mimi Marziani sent the
Secretary of State a third letter, supplementing the May 27th Notice Letter giving him notice that
John Woods had claims against the State for violations of the NVRA.

Response: Objects that this request calls for a legal conclusion regarding whether notice was
legally sufficient under the NVRA to waive the Defendant’s Eleventh Amendment immunity.

Request No. 12: Admit that over 1,800 of the reports from voters related to problems with voter
registration records that implicated voter registration practices at DPS were from voters who
thought they had successfully registered online through the DPS website.

                                                11

                                                                                  APPENDIX 104
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 108
                                                              115 of 207
                                                                     797




Response: Defendant objects that this request as vague and ambiguous as to “problems with voter
registration records that implicated voter registration practices at DPS.”

Request No. 13: Admit that over 1,700 of the reports from voters related to problems with voter
registration records that implicated voter registration practices at DPS were from voters who
visited a DPS office in-person and checked yes in response to the question of whether they wanted
to vote.

Response: Defendant objects to this request as vague and ambiguous as to “problems with voter
registration records that implicated voter registration practices at DPS.”

Request No. 14: Admit that after Carlos Cascos took office as Texas Secretary of State, he had
actual knowledge that there were a significant number of reports from voters regarding problems
with online DPS transactions since at least 2012.

Response: Denies.

Request No. 15: Admit that after Keith Ingram began working in the Texas Secretary of State’s
office, he had actual knowledge that there were a significant number of reports from voters
regarding problems with online DPS transactions since at least 2012.

Response: Denies.

Request No. 16: Admit that after Carlos Cascos took office as Texas Secretary of State, he had
actual knowledge that there were a significant number of reports from voters regarding problems
with in-person DPS transactions since at least 2012.

Response: Denies.

Request No. 17: Admit that after Keith Ingram began working in the Texas Secretary of State’s
office, he had actual knowledge that there were a significant number of reports from voters
regarding problems with in-person DPS transactions since at least 2012.

Response: Denies.

Request No. 18: Admit that after Betsy Schonhoff began working in the Texas Secretary of
State’s office, she had actual knowledge of the number of reports from voters regarding problems
with online DPS transactions since at least 2012.

Response: Denies.

Request No. 19: Admit that after Beva Kellison began working in the Texas Secretary of State’s
office, she had actual knowledge of the number of reports from voters regarding problems with
online DPS transactions since at least 2012.



                                               12

                                                                                APPENDIX 105
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 109
                                                              116 of 207
                                                                     797




Response: Denies.

Request No. 20: Admit that after Betsy Schonhoff began working in the Texas Secretary of
State’s office, she had actual knowledge of the number of reports from voters regarding problems
with in-person DPS transactions since at least 2012.

Response: Denies.

Request No. 21: Admit that after Beva Kellison began working in the Texas Secretary of State’s
office, she had actual knowledge of the number of reports from voters regarding problems with in-
person DPS transactions since at least 2012.

Response: Denies.




                                               13

                                                                                APPENDIX 106
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 110
                                                         117 of 207
                                                                797




             EXHIBIT 14




                                                          APPENDIX 107
Case 5:20-cv-00046-OLG       Document
        Case 5:16-cv-00257-OLG Document 77-1   Filed
                                        77-1 Filed    05/29/20
                                                   06/30/17       Page
                                                            Page 111     118 of 797
                                                                     of 207




                                                                               APPENDIX 108
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 119 of 797




       Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17 Page 112 of 207




                                                                             APPENDIX 109
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 120 of 797




       Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17 Page 113 of 207




                                                                             APPENDIX 110
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 114
                                                         121 of 207
                                                                797




             EXHIBIT 15




                                                          APPENDIX 111
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 115
                                                              122 of 207
                                                                     797




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JARROD STRINGER, ET AL,                             §
      Plaintiffs,                                   §
                                                    §
V.                                                  §       NO. 5:16-CV-00257
                                                    §
CARLOS H. CASCOS, IN HIS OFFICIAL CAPACITY          §
AS THE TEXAS SECRETARY OF STATE AND                 §
STEVEN C. MCCRAW, IN HIS OFFICIAL CAPACITY          §
AS THE DIRECTOR OF THE TEXAS DEPARTMENT OF          §
PUBLIC SAFETY,                                      §
       Defendants.                                  §


             DEFENDANT STEVEN C. MCCRAW’S FIRST SUPPLEMENTAL RESPONSES
                  TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSIONS



       TO:     Plaintiffs Jarrod Stringer, Benjamin Hernandez, Totysa Watkins, and John Woods

through their attorney of record, by and through their attorney of record, Caitlyn Silhan, WATERS

& KRAUS, LLP, 3141 Hood Street, Suite 700, Dallas, Texas 75219.

       Dated: January 20, 2017.

                                            Respectfully submitted,

                                            KEN PAXTON
                                            Attorney General of Texas

                                            JEFFREY C. MATEER
                                            First Assistant Attorney General

                                            BRANTLEY STARR
                                            Deputy First Assistant Attorney General

                                            JAMES E. DAVIS
                                            Deputy Attorney General for Civil Litigation

                                            ANGELA V. COLMENERO
                                            Chief, General Litigation Division


                                               1

                                                                                 APPENDIX 112
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 116
                                                              123 of 207
                                                                     797




                                              /s/Anne Marie Mackin
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                                              ATTORNEYS FOR DEFENDANTS

        RESPONSES TO JARROD STRINGER’S REQUEST FOR ADMISSIONS

Request No. 1: Admit that Defendant Steven C. McCraw is the Director of the Texas Department
of Public Safety (“DPS”).

Response: Admits.

Request No. 2: Admit that DPS operates offices around the state and issues Texas driver’s
licenses.

Response: Admits.

Request No. 3: Admit that each Texas motor vehicle driver’s license application submitted to DPS
shall serve as an application for voter registration with respect to elections for Federal office.

Response: Admits, insofar as such driver license application is submitted to the appropriate State
motor vehicle authority under State law, is signed by the applicant, and is otherwise consistent
with all applicable State and federal law. 52 U.S.C. §20504(a)(1). In all other respects, deny.

Request No. 4: Admit that DPS shall include a voter registration application for elections for
Federal office as part of an application for a Texas driver’s license. Admit that DPS is responsible
for transmitting completed voter registration portions of an application for a Texas driver license
to the Secretary of State.

Response: Admits that DPS shall include an opportunity to register to vote in elections for Federal
office in all driver license applications and renewal applications, and admits that DPS is
responsible for transmitting information about voter registration applicants to SOS. In all other
respects, denies.

Request No. 5: Admit that when an applicant visits a DPS office in-person to apply for a new
driver’s license, he or she must fill out a form called “DL-14A.”




                                                 2

                                                                                  APPENDIX 113
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 117
                                                              124 of 207
                                                                     797




Response: Admits that, when an applicant visits a DPS office in-person to apply for an original,
non-commercial driver license, he or she must fill out a form called DL-14A or DL-14As.

Request No. 6: Admit that question 2 on form DL-14A asks a DPS applicant to check “Yes” or
“No” in response to the question, “If you are a US citizen, would you like to register to vote? If
registered, would you like to update your voter information?”

Response: Admits.

Request No. 7: Admit that when an applicant visits a DPS office in-person and fills out form DL-
14A, a DPS employee manually inputs all of the responses into the DLS via computer, including
the response to question 2.

Response: Admits that that when an applicant visits a DPS office in-person and fills out form DL-
14A, a DPS employee manually inputs required field information provided on the form into the
DLS via computer. Not all information provided on the form is entered into DLS. The information
entered can include the response to question 2. In all other respects, denies.

Request No. 8: Admit that if an eligible voter checks “Yes” in response to question 2 on form DL-
14A, the DPS employee will click on the voter registration box in the Voter Field in the “driver
license system,” referred to as “DLS.”

Response: Admits that if an applicant checks “Yes” in response to question 2 on form DL-14A or
DL-14As, the DPS employee will click on the voter registration box in the Voter Registration
Information Field in the “driver license system,” referred to as “DLS.”

Request No. 9: Admit that in the Voter Field, the DPS employee is prompted in the DLS to select
from a choice of options in a drop-down menu including: (a) Select “Change” for name or address
change; (b) Select “New” for first time Texas voter; or (c) Select “Replacement” if replacing a
voter registration card.

Response: Admits that in the Voter Registration Information Field, the DPS employee is prompted
in the DLS to select from a choice of options in a drop-down menu including: (a) Select “Change”
for name or address change; (b) Select “New” for first time Texas voter or (c) Select
“Replacement” if replacing a voter registration card.

Request No. 10: Admit that at least prior to May 27, 2015, if a DPS applicant did not check
“Yes” in response to question 2 on form DL-14A, the DPS employee would not click on the voter
registration box in the Voter Field, and would leave it blank.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it because Defendant cannot say with certainty what each
DPS employee has done in each particular factual scenario.

Request No. 11: Admit that when an applicant visits a DPS office in-person to renew or replace
his or her driver’s license, he or she must fill out a form called “DL-43.”

                                                3

                                                                                 APPENDIX 114
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 118
                                                              125 of 207
                                                                     797




Response: Admits that when an applicant visits a DPS office in-person to renew, replace or change
his or her non-commercial driver license, he or she must fill out a form called “DL-43.”

Request No. 12: Admit that question 2 on form DL-43 asks an applicant to check “Yes” or “No”
in response to the question, “If you are a US citizen, would you like to register to vote? If
registered, would you like to update your voter information?”

Response: Admits, although there is additional language in question 2 that is omitted from this
request for admission.

Request No. 13: Admit that when an applicant visits a DPS office in-person and fills out form
DL-43, a DPS employee manually inputs all of the responses into the DLS via computer, including
the response to question 2.

Response: Admits that that when an applicant visits a DPS office in-person and fills out form DL-
43, a DPS employee manually inputs required field information provided on the form into the DLS
via computer. Denies that all information provided on the form is manually entered into DLS.

Request No. 14: Admit that if an eligible voter checks “Yes” in response to question 2 on form
DL-43, the DPS employee will click on the voter registration box in the Voter Field in the DLS.

Response: Admits that if an applicant checks “Yes” in response to question 2 on form DL-43, the
DPS employee will click on the voter registration box in the Voter Registration Information Field
in the “driver license system,” referred to as “DLS.”

Request No. 15: Admit that in the Voter Field in the DLS, the DPS employee is prompted to
select from a choice of options in a drop-down menu including: (a) Select “Change” for name or
address change; (b) Select “New” for first time Texas voter; or (c) Select “Replacement” if
replacing a voter registration card.

Response: Admits that in the Voter Registration Information Field, the DPS employee is prompted
in the DLS to select from a choice of options in a drop-down menu including: (a) Select “Change”
for name or address change; (b) Select “New” for first time Texas voter; or (c) Select
“Replacement” if replacing a voter registration card.

Request No. 16: Admit that at least prior to May 27, 2015, if an applicant did not check “Yes”
in response to question 2 on form DL-43, the DPS employee would not click on the voter
registration box in the Voter Field in DLS, and would leave it blank.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it because Defendant cannot say with certainty what each
DPS employee has done in each particular factual scenario.

Request No. 17: Admit that when an applicant visits a DPS office in-person to update his or her
address on a driver’s license, he or she must fill out a form called “DL-64.”

                                               4

                                                                                APPENDIX 115
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 119
                                                              126 of 207
                                                                     797




Response: Denies.

Request No. 18: Admit that one question on form DL-64 asks an applicant to check “Yes” or
“No” in response to the question, “If you are a US citizen, would you like to register to vote? If
registered, would you like to update your voter information?”

Response: Admits.

Request No. 19: Admit that when an applicant visits a DPS office in-person and fills out form
DL-64, a DPS employee manually inputs all of the responses into the DLS via computer, including
the response to the question of whether he or she would like to register to vote.

Response: Denies, form DL-64 is not used for in-person address changes.

Request No. 20: Admit that if an eligible voter checks “Yes” in response to question 2 on form
DL-64, the DPS employee will click on the voter registration box in the Voter Field in the DLS.

Response: Denies, form DL-64 is not used for in-person address changes.

Request No. 21: Admit that at least prior to May 2015, form DL-64 did not include any question
about whether the applicant wanted to register to vote.

Response: Admits.

Request No. 22: Admit that if the eligible voter indicates they are already a registered voter and
require no address change, the DPS employee will leave the Voter Field in DLS blank.

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it because Defendant cannot say with certainty what each
DPS employee has done in each particular factual scenario.

Request No. 23: Admit that DPS employees provide a receipt to every applicant who completes
an in-person transaction at DPS.

Response: Admits.

Request No. 24: Admit that voter registration information is printed on the receipt that a voter
receives after the in-person transaction is completed.

Response: Admits that the receipt issued at the completion of an in-person transaction notes
whether the individual answered the voter registration question “Y” or “N.”

Request No. 25: Admit that all of the information inputted by DPS employees for in-person
transactions is saved electronically in the DLS, including the voter registration information.



                                                5

                                                                                 APPENDIX 116
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 120
                                                              127 of 207
                                                                     797




Response: Admits.

Request No. 26: Admit that the electronic file for each prospective voter that is transferred to the
Secretary of State’s office includes a digital image of that voter’s signature.

Response: Admits that the information DPS transmits to SOS about each applicant for voter
registration includes a digital image of the applicant’s signature.

     RESPONSES TO BENJAMIN HERNANDEZ’S REQUEST FOR ADMISSIONS

Request No. 1: Admit that the State of Texas permits certain Texas driver’s license holders to
renew their driver’s license and/or update the address on their licenses online on DPS’ website at
www.txdps.state.tx.us.

Response: Admits that certain Texas driver license holders may initiate renewal of their driver
licenses or updates to the address on those licenses on the DPS website. Denies that these
transactions are completed on the DPS website.

Request No. 2: Admit that all Texas driver’s license holders are able to update the address
information associated with their driver’s license online through a portion of the DPS website
entitled “Driver License Renewal and Change of Address,” available at
https://txapps.texas.gov/tolapp/txdl/ at any time.

Response: Denies.

Request No. 3: Admit that some Texas driver’s license holders are able to renew their license
online through a portion of the DPS website entitled “Driver License Renewal and Change of
Address,” available at https://txapps.texas.gov/tolapp/txdl/.

Response: Denies that these transactions are completed on the DPS website. In all other respects,
admits.

Request No. 4: Admit that website users will be informed after logging into the website whether
they are eligible to renew their license online.

Response: Admits.

Request No. 5: Admit that the DPS Driver License Renewal and Change of Address website page
provides a single online process for qualified applicants to renew their driver’s license, update the
address listed on their driver’s license, or complete both processes in a single online transaction.

Response: Denies that these transactions are completed on the DPS website. In all other respects,
admits.




                                                 6

                                                                                   APPENDIX 117
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 121
                                                              128 of 207
                                                                     797




Request No. 6: Admit that the online process involves eight “Steps to Complete,” including the
following steps: Welcome, Login, Select Services, Enter Address, Select Options, Review Order,
Submit Payment, and Receipt.

Response: Admits.

Request No. 7: Admit that, until recently, when applicants reached Step 5 of this online process,
they were asked to check “yes” or “no” in response to the statement, “I want to register to vote.”

Response: Denies that this is a complete statement. Admits that, until February 27, 2016, Step 5
of this online process required the licensee to select “yes” or “no” beneath the statement “I want
to register to vote. Selecting ‘yes’ does not register you to vote. A link to the [SOS] voter website
(where a voter application may be downloaded or requested) will be available on your receipt
page.” (emphasis original).

Request No. 8: Admit that the now when applicants reach Step 5 of the online process, they are
asked “Do you want to request a voter application?”

Response: Denies that this is a complete statement. Admits that when applicants reach Step 5 of
the online process, they are asked “Do you want to request a voter application? You’ll receive a
link to a voter application on your receipt page.”

Request No. 9: Admit that DPS changed the language in Step 5 after the Complaint was filed in
this lawsuit.

Response: Denies.

Request No. 10: Admit that, previously, if an eligible voter checked “yes” under the statement
“I want to register to vote,” DPS did not register that individual to vote.

Response: Denies that this is a complete statement. Admits, insofar as DPS does not register any
individuals to vote. Admits that individuals are not registered to vote in connection with their
interactions with DPS unless they submit an image of their signature, either by submitting a signed
application by mail, or providing an electronic image of their physical signature in person at a DPS
location.

Request No. 11: Admit that, currently, if an eligible voter checks “yes” under the question, “Do
you want to request a voter application?” they are not registered to vote.

Response: Admits that DPS does not register any individuals to vote. Admits that individuals are
not registered to vote in connection with their interactions with DPS unless they submit an image
of their signature, either by submitting a signed application by mail, or providing an electronic
image of their physical signature in person at a DPS location.

Request No. 12: Admit that if an eligible voter checks “yes” under the statement “I want to
register to vote,” DPS does not update that applicant’s voter registration records.

                                                 7

                                                                                   APPENDIX 118
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 122
                                                              129 of 207
                                                                     797




Response: Admits that DPS does not update any individuals’ voter registration records.

Request No. 13: Admit that if an eligible voter checks “yes” under the statement “Request a
voter registration application,” DPS does not update that applicant’s voter registration records.

Response: Admits that DPS does not update any individuals’ voter registration records.

Request No. 14: Admit that if a correct driver’s license number or if correct residence address
or mailing address information is missing from a registration application received by DPS in-
person, DPS employees have a legal obligation to correct the customer’s application by entering
that information on the application.

Response: Admits that, under Texas Election Code §20.063(d), “[i]f a completed voter registration
application submitted to a department employee does not include the applicant’s correct driver’s
license number or personal identification card number, a department employee shall enter the
appropriate information on the application. If a completed application does not include the
applicant’s correct residence address or mailing address, a department employee shall obtain the
appropriate information from the applicant and enter the information on the application.”
Otherwise, denies.

Request No. 15: Admit that individuals who receive an invitation to renew their driver’s license
by mail can renew by mail by filling out form DL-43 and mailing it back to DPS.

Response: Denies.

Request No. 16: Admit that when DPS processes a request to renew a driver’s license by mail,
DPS mails a voter registration application form to any requestor who checks “yes” in response to
Question 2 on form DL-43.

Response: Denies.

Request No. 17: Admit that individuals can change their driver’s license address by mail by
completing form DL-64 and mailing it to DPS along with the required fee.

Response: Admits.

Request No. 18: Admit that when DPS receives a form DL-64 in the mail which indicates the
requestor wants to register to vote, DPS mails a voter registration form to the requestor.

Response: Denies.

Request No. 19: Admit that a change of address that relates to a driver’s license that is submitted
to DPS by mail serves as a change of address for voter registration unless the licensee indicates
that the change is not for voter registration purposes.



                                                8

                                                                                 APPENDIX 119
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 123
                                                              130 of 207
                                                                     797




Response: Denies that this is a complete statement. Admits that information regarding a change of
address submitted by an applicant to DPS by mail is provided to the SOS in the daily update file.

Request No. 20: Admit that if a correct driver’s license number, residence address, or mailing
address information is missing from a renewal or change of address application received by DPS
by mail, DPS employees have a legal obligation to correct the individual’s application by entering
the information on the application.

Response: Admits that, if a person sends DPS an incomplete form by mail, DPS returns the form
to the applicant for the applicant to correct and return to DPS. In all other respects, denies.

Request No. 21: Admit that the date of submission of a change of address to a DPS employee by
mail is considered to be the date of submission to the voter registrar for the purpose of determining
the effective date of registration.

Response: Admits that the date of submission DPS provides to SOS is the date of the processing
of the form received at DPS by mail. See TEX. ELEC. CODE §20.063(c).

Request No. 22: Admit that the date of submission of a driver’s license renewal application to a
DPS employee by mail is considered to be the date of submission to the voter registrar for the
purpose of determining the effective date of registration.

Response: Admits that the date of submission DPS provides to SOS is the date of the processing
of the form received at DPS by mail. See TEX. ELEC. CODE §20.063(c).

Request No. 23: Admit that when a DPS employee receives a request to renew a driver’s license
by mail, a DPS employee manually inputs all of the responses into the DLS via computer, including
the response to the question of whether he or she would like to register to vote.

Response: Denies.

Request No. 24: Admit that when a DPS employee receives a request to change the address on
a driver’s license by mail, a DPS employee manually inputs all of the responses into the DLS via
computer, including the response to the question of whether the individual would like to register
to vote.

Response: Admits.

Request No. 25: Admit that no payment receipt is sent to an applicant who changes his or her
driver’s license address by mail.

Response: Admits.

         RESPONSES TO TOTYSA WATKIN’S REQUEST FOR ADMISSIONS




                                                 9

                                                                                   APPENDIX 120
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 124
                                                              131 of 207
                                                                     797




Request No. 1: Admit that all of the information inputted by DPS employees for transactions by
mail is saved electronically in the DLS, including voter registration information.

Response: Admits that the voter registration information from form DL-64 address changes by
mail is input and saved electronically in the DLS. In all other respects, denies.

Request No. 2: Admit that voter registration information is electronically transmitted from DPS
to the SOS each night from Monday through Friday.

Response: Admits that voter registration information is electronically transmitted from DPS to the
SOS seven days per week.

Request No. 3: Admit that voter registration information is electronically transmitted from DPS
to the SOS in a single computer file.

Response: Denies.

Request No. 4: Admit that voter registration information is electronically transmitted from DPS
to the SOS in a “batch file,” and includes commands that can be processed by the SOS data system.

Response: Admits that voter registration information is electronically transmitted from DPS to the
SOS in a “batch file.” Otherwise, denies.

Request No. 5: Admit that each day, the files of applicants where “Yes” has been entered as a
response in the Voter Field are combined in a single file.

Response: Admits.

Request No. 6: Admit that each day, the files of applicants where “Yes” has been entered as a
response in the Voter Field following an in-person transaction are combined in a single file.

Response: Admits.

Request No. 7: Admit that each day, the files of applicants where “Yes” has been entered as a
response in the Voter Field following a transaction by mail are combined in a single file.

Response: Admits.

Request No. 8: Admit that each day, the files of applicants where “Yes” has been entered as a
response in the Voter Field are combined in a single file, regardless of whether any individual
applicant completed an in-person or mail transaction.

Response: Admits.

Request No. 9: Admit that “Yes” is never entered as a response in the Voter Field following an
online transaction.

                                               10

                                                                                 APPENDIX 121
      Case 5:16-cv-00257-OLG
           5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                 05/29/20 Page 125
                                                               132 of 207
                                                                      797




Response: Admits that, when an individual updates his or her driver license online, the voter field
is not accessed, as a signature is not provided.

Request No. 10: Admit that for files of applicants where “Yes” has been entered as a response
in the Voter Field, the Voter Registration Status is set to “Ready for SOS Batch File.”

Response: Admits.

Request No. 11: Admit that for any DLS file on which an eligible voter has indicated he or she
wants to register to vote, the Voter Registration Status is set to “Ready for SOS Batch File.”

Response: Denies.

Request No. 12: Admit that, prior to transmission to SOS, the DPS computer system locates
records that meet the following criteria: (i) Voter Registration Status is set to “Ready for SOS
Batch File” AND (ii) Administrative Status is not “Reported Deceased” AND (iii) Voter
Registration = “Yes” OR (i) Card type = EC AND (ii) Voter Registration Status is set to “Ready
for SOS Batch File” AND (iii) Voter Registration = “Yes.”

Response: Subject to the protective order entered in this cause, admits.

Request No. 13: Admit that the DPS computer system writes the following information to the
batch file for each record: Last Name, First Name, Middle Name, Suffix, Date of Birth, Physical
Address, Mailing Address, Physical County, Card Information including Card Type of Driver’s
License or Identification Card, the Driver’s License or Identification card number, the application
date, the Social Security Number, the AKA Name, Voter Status, Election Judge Information,
Signature Image, and Sex.

Response: Subject to the protective order entered in this cause, admits that the DPS computer
system writes the following information to the daily voter registration batch file for each record:
Last Name, First Name, Middle Name, Suffix, Date of Birth, Physical Address, Mailing Address,
Physical County, Card Information including Card Type of Driver’s License or Identification
Card, the Driver’s License or Identification card number, the application date, the Social Security
Number, the AKA Name, Voter Status, Election Judge Information, Signature Image, and Sex.

Request No. 14: Admit that the system updates the Voter Registration Status to “Record Sent to
SOS” for each record included in the file transmitted to SOS.

Response: Admits that the system updates the Voter Registration Status to “Record Sent to SOS”
for each record included in the daily voter registration file transmitted to SOS. In all other respects,
denies.

Request No. 15: Admit that the system records an audit transaction with the following
information: Date, Batch Type = Extract, Batch Name = Voter Registration, Error Code, Process
Area = License Issuance, Records Count, Start Time, and End Time.

                                                  11

                                                                                      APPENDIX 122
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 126
                                                              133 of 207
                                                                     797




Response: Admits.

Request No. 16: Admit that Ms. Watkins updated her driver’s license address online through the
DPS website in 2011.

Response: Denies.

Request No. 17: Admit that during the transaction on the DPS website, Ms. Watkins checked
“yes” in response to the statement, “I want to register to vote.”

Response: Denies.

Request No. 18: Admit that Ms. Watkins updated her driver’s license address online through the
DPS website in 2013.

Response: Denies that this transaction took place on the DPS website. In all other respects, admits.

Request No. 19: Admit that during that second transaction on the DPS website in 2013, Ms.
Watkins checked “yes” in response to the statement, “I want to register to vote.”

Response: After making a reasonable inquiry into this request, Defendant lacks sufficient
information to truthfully admit or deny it because Defendant has no record of this information.

Request No. 20: Admit that when an eligible voter who updated his or her driver’s license
information on the DPS website before this lawsuit was filed responded “yes” to the statement, “I
want to register to vote,” or under the statement “Request a voter registration application,” DPS
did not transfer his or her data to the Texas Secretary of State.

Response: Admits, only those voters who submitted a voter registration application in accordance
with State law would have had their voter registration information updated. Defendant further
notes that online driver license address changes are initiated on the DPS website, but processed on
Texas.gov.

Request No. 21: Admit that when an eligible voter who updates his or her driver’s license
information on the current DPS website responds “yes” under the statement “Request a voter
registration application,” DPS does not transfer his or her data to the Texas Secretary of State

Response: Admits, only those voters who submit a voter registration application in accordance
with state law will have their voter registration information updated.

Request No. 22: Admit that when an eligible voter who updated his or her driver’s license
information on the DPS website before this lawsuit was filed responded “yes” to the statement, “I
want to register to vote,” DPS did not transfer his or her data to local election officials.




                                                12

                                                                                  APPENDIX 123
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 127
                                                              134 of 207
                                                                     797




Response: Admits, only those voters who submitted a voter registration application in accordance
with State law would have had their voter registration information updated. Defendant also notes
that online driver license address changes are initiated on the DPS website, but processed on
Texas.gov.

Request No. 23: Admit that when an eligible voter who updates his or her driver’s license
information on the current DPS website responds “yes” under the statement “Request a voter
registration application,” DPS does not transfer his or her data to local election officials.

Response: Admits, only those voters who submit a voter registration application in accordance
with state law will have their voter registration information updated. Defendant also notes that
online driver license address changes are initiated on the DPS website, but processed on Texas.gov.

Request No. 24: Admit that when an eligible voter who renewed his or her driver’s license on
the DPS website before this lawsuit was filed responded “yes” to the statement, “I want to register
to vote” DPS did not transfer his or her data to the Texas Secretary of State.

Response: Admits, only those voters who submitted a voter registration application in accordance
with State law would have had their voter registration information updated. Defendant also notes
that online driver license address changes are initiated on the DPS website, but processed on
Texas.gov.

Request No. 25: Admit that when an eligible voter who renews his or her driver’s license on the
current DPS website responds “yes” under the statement “Request a voter registration application,”
DPS does not transfer his or her data to local election officials.

Response: Admits, only those voters who submit a voter registration application in accordance
with state law will have their voter registration information updated. Defendant also notes that
online driver license address changes are initiated on the DPS website, but processed on Texas.gov.

Request No. 26: Admit that previously on the DPS website before the language on Step 5 was
changed, above the previous prompt, “I want to register to vote,” the website displayed the
statement, “Selecting ‘Yes’ does not register you to vote, but instead a link to the Secretary of
State Voter website (where a voter application may be downloaded or requested) will be available
on your receipt page.”

Response: Admits that, until February 27, 2016, Step 5 of this online process required the licensee
to select “yes” or “no” beneath the statement “I want to register to vote. Selecting ‘yes’ does not
register you to vote. A link to the [SOS] voter website (where a voter application may be
downloaded or requested) will be available on your receipt page.” (emphasis original).

Request No. 27: Admit that currently on the DPS website since the language on Step 5 has
changed, next to the prompt, “Do you want to request a voter application,” the website displays
the statement, “You will receive a link to a voter application on your receipt page.”

Response: Admits, but notes that Step 5 takes place on Texas.gov, not the DPS website.

                                                13

                                                                                  APPENDIX 124
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 128
                                                              135 of 207
                                                                     797




Request No. 28: Admit that currently on the DPS website since the language on Step 5 has
changed, below to the prompt, “Do you want to request a voter application,” the website displays
language next to the check box for “Yes” which states “(This does not register you to vote.)”

Response: Admits, but note that Step 5 takes place on Texas.gov, not the DPS website.

Request No. 29: Admit that before this lawsuit was filed, an eligible voter who selected “yes” in
response to the prompt, “I want to register to vote,” when updating information through DPS online
renewal, was told to visit the Secretary of State’s website to view instructions for how to register
to vote.

Response: Denies.

            RESPONSES TO JOHN WOOD’S REQUEST FOR ADMISSIONS

Request No. 1: Admit that on Step 3 in the Answer to FAQ No. 17 on the DPS website, the only
reference to registering to vote simply lists “2. Register to vote” without any further explanation.

Response: Defendant objects that this request is unintelligible.

Request No. 2: Admit that the information an eligible voter submits electronically through the
DPS website may be used to cancel a voter’s prior registration record in his or her prior county of
residence pursuant to state law.

Response: Defendant objects that this request is hypothetical, calls for speculation, and calls for a
legal conclusion, rather than an application of law to fact. Defendant can neither admit nor deny
what any other entities do regarding voter registration status.

Request No. 3: Admit that the DPS website does not explain that completing DPS’ online change-
of-address form may jeopardize a voter’s registration status at his or her former residence.

Response: Defendant objects that this request is unintelligible.

Request No. 4: Admit that DPS transmits information about customer change-of-address
transactions to counties for the purpose of removing individuals from the rolls.

Response: Denies.

Request No. 5: Admit that when DPS receives a communication through the web portal, DPS
employees research the voter’s information and return information to election officials.

Response: Denies.

Request No. 6: Admit that DPS has designated two individuals who coordinate the agency’s voter
registration program, and SOS is aware of these designations.

                                                 14

                                                                                   APPENDIX 125
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 129
                                                              136 of 207
                                                                     797




Response: Admits that DPS previously had two individuals who were identified to SOS as having
roles in coordinating the agency’s voter registration. Admits that DPS currently has one such
individual.

Request No. 7: Admit that currently, one individual who coordinates the DPS voter registration
program is Tony Rodriguez, Senior Manager, Customer Operations.

Response: Denies.

Request No. 8: Admit that currently, one individual who coordinates the DPS voter registration
program is Bob Myers, Training Specialist, Customer Support.

Response: Denies.

Request No. 9: Admit that Mr. Myers is responsible for the training of Driver License Division
employees in voter registration procedures and policy.

Response: Denies.

Request No. 10:     Admit that Mr. Rodriguez oversees the program in our driver license offices
statewide.

Response: Defendant objects to this request as unintelligible.

Request No. 11:     Admit that DPS has a “DPS Voter Registration Plan” dated September 9, 2015.

Response: Admits.

Request No. 12: Admit that as set forth in the DPS Voter Registration Plan, all DPS forms have
been reviewed to ensure that voter registration questions are included where required.

Response: Admits.

Request No. 13: Admit that pursuant to an agreement with the named Plaintiffs, the State
implemented a new “hard stop” feature to its DLS system earlier this year.

Response: Admits.

Request No. 14: Admit that as of March 31, 2016, the DLS now requires DPS employees to
provide an answer in the voter registration field before they are permitted to proceed to the next
screen when helping an eligible voter who visits a DPS office in-person.

Response: Admits.




                                                15

                                                                                 APPENDIX 126
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 130
                                                              137 of 207
                                                                     797




Request No. 15: Admit that DPS employees must provide a receipt to each applicant and verify
that all information is correct, including the applicant’s answer to the voter registration question,
before any driver’s license transaction is finalized when an eligible voter who visits a DPS office
in-person.

Response: Admits.

Request No. 16: Admit that when an eligible voter visits a DPS office in-person, DPS has
implemented a policy whereby whenever “any applicant who is a U.S. citizen… checks the ‘yes’
and ‘no’ boxes this will be considered an affirmative response, and the DPS employee will enter a
‘yes’ into the system thereby triggering the submission of the applicant’s information to the SOS.”

Response: Admits.

Request No. 17: Admit that when an eligible voter indicates on form DL-14A that he or she
wants to register to vote, no hard copy of any document containing the voter’s wet signature is
ever sent to the Secretary of State’s Office.

Response: Admits, DPS uses point-of-sale-style signature pads to collect images of physical
signatures from individuals who indicate that they wish to register to vote. Defendant understands
this request to refer to “wet signature” as a pen on paper, as opposed to an electronic image of a
signature collected using a point-of-sale style electronic signature pad and a stylus.

Request No. 18: Admit that when an eligible voter indicates on form DL-43 that he or she wants
to register to vote, no hard copy of any document containing the voter’s wet signature is ever sent
to the Secretary of State’s Office.

Response: Admits, DPS uses point-of-sale-style signature pads to collect images of physical
signatures from individuals who indicate that they wish to register to vote. Defendant understands
this request to refer to “wet signature” as a pen on paper, as opposed to an electronic image of a
signature collected using a point-of-sale style electronic signature pad and a stylus.

Request No. 19: Admit that when an eligible voter indicates on form DL-64 that he or she wants
to register to vote, no hard copy of any document containing the voter’s wet signature is ever sent
to the Secretary of State’s Office.

Response: Denies.

Request No. 20: Admit that when DPS sends information to SOS regarding eligible voters, the
method by which they transmit information is through the web portal, rather than by sending hard
copies of signed documents.

Response: Denies that DPS uses the “web portal” to transmit information to SOS. Admits that DPS
sends voter registration information, including electronic images of applicants’ signatures, to SOS
electronically, rather than by sending hard copies of signed documents.



                                                 16

                                                                                   APPENDIX 127
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 131
                                                              138 of 207
                                                                     797




Request No. 21: Admit that DPS customer service representatives are subjected to at least two
“performance observations” annually to ensure that these employees are performing their basic
tasks.

Response: Admits.

Request No. 22: Admit that after DPS sends voter information to the SOS each night, DPS is not
responsible for further reviewing voter registration data for eligibility purposes.

Response: Admits.

Request No. 23: Admit that DPS currently provides voter registration training during new
employee orientation, as well as additional training as needed.

Response: Admits.




                                             17

                                                                             APPENDIX 128
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 132
                                                         139 of 207
                                                                797




             EXHIBIT 16




                                                          APPENDIX 129
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 133
                                                         140 of
                                                             of 207
                                                                797




                                                          APPENDIX 130
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 134
                                                         141 of 207
                                                                797




             EXHIBIT 17




                                                          APPENDIX 131
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 135
                                                         142 of
                                                             of 207
                                                                797




                                                          APPENDIX 132
Case 5:20-cv-00046-OLG
Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page
                                                    Page 136
                                                         143 of
                                                             of 207
                                                                797




                                                          APPENDIX 133
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 137
                                                         144 of 207
                                                                797




             EXHIBIT 18




                                                          APPENDIX 134
  Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 145 of 797




Case 5:16-cv-00257-OLG Document 77-1 Filed 06/30/17 Page 138 of 207




                                                          APPENDIX 135
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 139
                                                         146 of 207
                                                                797




             EXHIBIT 19




                                                          APPENDIX 136
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 140
                                                         147 of 207
                                                                797




                                                          APPENDIX 137
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 141
                                                         148 of 207
                                                                797




                                                          APPENDIX 138
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 142
                                                         149 of 207
                                                                797




             EXHIBIT 20




                                                          APPENDIX 139
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 143
                                                         150 of 207
                                                                797




                                                          APPENDIX 140
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 144
                                                         151 of 207
                                                                797




                                                          APPENDIX 141
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 145
                                                         152 of 207
                                                                797




                                                          APPENDIX 142
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 146
                                                         153 of 207
                                                                797




                                                          APPENDIX 143
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 147
                                                         154 of 207
                                                                797




                                                          APPENDIX 144
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 148
                                                         155 of 207
                                                                797




                                                          APPENDIX 145
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 149
                                                         156 of 207
                                                                797




                                                          APPENDIX 146
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 150
                                                         157 of 207
                                                                797




                                                          APPENDIX 147
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 151
                                                         158 of 207
                                                                797




             EXHIBIT 21




                                                          APPENDIX 148
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 152
                                                         159 of 207
                                                                797


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                                                          APPENDIX 149
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 153
                                                              160 of 207
                                                                     797
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                         ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
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                                            %HQMDPLQ+HUQDQGH]
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   ([DPLQDWLRQE\0V0DFNLQ
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  6LJQDWXUHDQG&KDQJHV

  5HSRUWHU V&HUWLILFDWH

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 3ODLQWLII V2ULJLQDO&RPSODLQW

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                         ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
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 KDYLQJEHHQILUVWGXO\VZRUQWHVWLILHGDVIROORZV

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 LV$QQD0DFNLQZHPHWMXVWDPRPHQWDJRFRUUHFW"

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 060$&.,1&DQ,KDYHWKHSODLQWLII VFRXQVHO

 LQWURGXFHWKHPVHOYHVRQWKHUHFRUGSOHDVH"

 066,/+$16XUH&DLWO\Q6LOKDQIURP:DWHUV

 .UDXVRQEHKDOIRIWKH3ODLQWLII%HQMDPLQ+HUQDQGH]

 050,5=$+DQL0LU]DZLWKWKH7H[DV&LYLO

 5LJKWV3URMHFWRQEHKDOIRIWKHSODLQWLII%HQMDPLQ+HUQDQGH]

 4 %<060$&.,1 0U+HUQDQGH]FRXOG\RXSOHDVH

 VSHDNDQGVSHOO\RXUQDPHIRUWKHUHFRUG"

 $0\QDPHLV%HQMDPLQ+HUQDQGH]%(1-$0,1

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 46R, PDQDWWRUQH\ZLWKWKH7H[DV$WWRUQH\*HQHUDO V

 2IILFHDQG,UHSUHVHQWWKHGHIHQGDQWVLQWKLVFDVHWKH

 6HFUHWDU\RI6WDWHDQGWKH'LUHFWRURIWKH'HSDUWPHQWRI3XEOLF

 6DIHW\, GOLNHWRUHYLHZVRPHORJLVWLFDOPDWWHUVEHIRUHZH

 JHWLQWRWKHVXEVWDQWLYHTXHVWLRQVLVWKDWDOOULJKW"


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 152
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 156
                                                           163 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
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 7KDWPRQWKKHXSGDWHGKLVGULYHU VOLFHQVHDGGUHVVRQOLQHDQG

 EHOLHYHGWKDWKLVYRWHUUHJLVWUDWLRQUHFRUGVZHUHXSGDWHGDV

 ZHOO

 'LG,UHDGWKDWFRUUHFWO\"

 $<HV

 42ND\:K\GLG\RXEHOLHYHWKDW\RXUYRWHU

 UHJLVWUDWLRQUHFRUGVZHUHXSGDWHG"

 $:HOOEHFDXVHZKHQ,XSGDWHGP\P\DGGUHVVRQ

 RQWKHZHEVLWH,EHOLHYHWKHUHZDVDOLWWOHVHFWLRQWKDWDVNHG

 LI,ZDQWHGWRUHJLVWHUWRYRWHDOVRDWWKHDGGUHVV,ZDV

 FKDQJLQJWR$QG,GLGPDNHDQRWLFHRQLWDQG,WKRXJKW

 WKDW VDOO\RXKDGWRGR

 42ND\1RZSDUDJUDSKPHQWLRQHGVRPHRQHQDPHG

 -DUHG6WULQJHU'R\RXNQRZ0U6WULQJHU"

 $1R,GRQ W

 42ND\3DUDJUDSKPHQWLRQVDZRPDQQDPHG

 727<6$:DWNLQV'R\RXNQRZ0V:DWNLQV"

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 4$QGLQSDUDJUDSKPHQWLRQVDQLQGLYLGXDOQDPHG-RKQ

 :RRGGR\RXNQRZ0U:RRG"

 $1R

 42ND\$OOULJKW7KDQN\RX<RXFDQVHW([KLELW

 DVLGH:HPLJKWFRPHEDFNWRLWDOLWWOHELWODWHUEXWMXVW

 NHHSLWKDQG\6RQRZ, PJRLQJWRDVN\RXVRPHTXHVWLRQV

 DERXWYRWLQJDQGYRWHUUHJLVWUDWLRQDQG\RXUH[SHULHQFHZLWK


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 153
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 157
                                                           164 of 207
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                                         %HQMDPLQ+HUQDQGH]
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 WKRVHWKLQJV

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 DWWHPSWLQJWRXSGDWH\RXUYRWHUUHJLVWUDWLRQLQIRUPDWLRQ"

 $, YHQHYHUKDGWRXSGDWHLW,UHJLVWHUHGWRYRWH

 ZKHQ,ZDV\HDUVROGLQ(FWRU&RXQW\$QGWKDW VWKHRQO\

 WLPH,DFWXDOO\UHJLVWHUHGWRYRWH$QG, YHEHHQDUHVLGHQFH

 RI(FWRU&RXQW\VLQFHWKHQVR,QHYHUKDGWRFKDQJH$QG,

 GRQ WUHPHPEHUKRZ,UHJLVWHUHG6R

 42ND\7KDW VILQH7KDWZDVVXFKDJRRGDQVZHU

 <RXDOUHDG\DQVZHUHG,KDGWKLVORQJOLVWRITXHVWLRQVDQG

 \RXDOUHDG\WRRNFDUHRIWKHP:KDWLIDQGRIFRXUVH, P

 QRWDVNLQJKRZ\RXYRWHGRUDQ\WKLQJOLNHWKDWEXWZKDW VWKH

 ODVWHOHFWLRQWKDW\RXUHFDOOYRWLQJLQ"

 $7KHODVWHOHFWLRQ"

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 $7KHJHQHUDOHOHFWLRQ

 47KHIHGHUDOJHQHUDOHOHFWLRQ"

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 4:KDW VWKHODVWWLPH\RXUHPHPEHUYRWLQJEHIRUHWKDW"

 $,WZDVSUREDEO\WKHIHGHUDOJHQHUDOHOHFWLRQRI

 4'R\RXZRXOG\RXVD\WKDW\RXYRWHUHJXODUO\"

 $(YHU\JHQHUDOHOHFWLRQDWOHDVW

 4'R\RXFRQVLGHU\RXUVHOISROLWLFDOO\DFWLYH"

 $:HOO,YRWH

 46XUH


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
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                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 158
                                                           165 of 207
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 UHFRUG"

 $,WVD\V,I\RXDUHD86FLWL]HQDQGHOLJLEOHWR

 YRWHZRXOG\RXOLNHWRDSSO\WRUHJLVWHUWRYRWH"

 4$QGKRZGLG\RXDQVZHUTXHVWLRQWZR"

 $,WLVPDUNHG1R

 4$QG,SUHVXPH\RXZRXOGKDYHPDUNHGQRIRUWKHVDPH

 UHDVRQVWKDW\RXPDUNHGQRRQ\RXUSUHYLRXV"

 $<HV

 42ND\$OOULJKW, PKDQGLQJ\RXDFWXDOO\QRW

 TXLWH\HW

 $OOULJKW, PQRWKDQGLQJ\RXDQ\WKLQJ\HW

 0RUHWRFRPH, GOLNHWRDVN\RXVRPHTXHVWLRQVDERXWWKH

 FKDQJHRIDGGUHVVWKDW\RX YHVXHGP\FOLHQWVDERXWZKHQ\RX

 PRYHGIURP(FWRU&RXQW\WR'DOODV&RXQW\2ND\"

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 $,UHWLUHGIURPWKHFLW\RI2GHVVDLQ)HEUXDU\

 DQG,PRYHGXSKHUHWRWR,UYLQJ

 4:KDWPDGH\RXFKRRVH,UYLQJ"

 $0\IDPLO\ZDVDOUHDG\KHUH

 4$QGWHOOPHDERXWZKHQ\RXXSGDWHGWKHDGGUHVVRQ

 \RXUGULYHU VOLFHQVH

 066,/+$12EMHFWLRQ


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                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
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 RQOLQHEHFDXVH,NQHZ,KDGWR

 4:K\GLG\RXFKRRVHWRGRLWRQOLQHUDWKHUWKDQJRLQJ

 LQWRD'36RIILFH"

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 4<HDK$QGVRZHWRXFKHGRQWKLVEULHIO\DOLWWOH

 ZKLOHDJREXW\RXPHQWLRQHGVHHLQJVRPHPHQWLRQRIYRWHU

 UHJLVWUDWLRQZKHQ\RXZHUHRQOLQHLVWKDWULJKW"

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 $7KHUHZDVDSRUWLRQZKHUH,UHPHPEHUVHHLQJLI,

 RUDVNLQJWKHTXHVWLRQLI,ZDQWHGWRUHJLVWHUWRYRWH$QG,

 NQHZ,QHHGWRUHJLVWHUWRYRWHLQ'DOODV&RXQW\EHFDXVHRIP\

 PRYH

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 IURP(FWRU&RXQW\WR'DOODV&RXQW\GLG\RXVLJQDQ\WKLQJ"

 $,W\SHGP\QDPHLQWRWKHFRPSXWHUEDVLFDOO\,I

 WKDWFRXQWVDVDVLJQDWXUH

 46R\RXGLGQ WZULWHDQ\WKLQJGRZQLWZDVDOOVR

 LWZDVDOORQWKHFRPSXWHULVWKDWULJKW"

 $<HV

 42ND\<RX YHVWDWHGLQ\RXUUHVSRQVHVWRVRPH

 ZULWWHQGLVFRYHU\LQWKLVODZVXLWWKDW\RXEHOLHYHGWKDWWKLV

 RQOLQHFKDQJHRIDGGUHVVXSGDWHG\RXUYRWHUUHJLVWUDWLRQLQIR


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                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 160
                                                           167 of 207
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 ULJKW"

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 4$QG, PVRUU\LIWKLVLVUHSHWLWLYH,MXVWZDQWWR

 PDNHVXUH,KDYHHYHU\WKLQJ:KDWPDGH\RXWKLQNWKDW"

 066,/+$12EMHFWLRQ

 $,WZDVDTXHVWLRQRQWKHRQWKHZHEVLWH$QG

 WKDW VZKDW,ZDQWHGWRGR7KDW VZKDW,QHHGHGWRGR

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 DQXSGDWHGYRWHUUHJLVWUDWLRQFDUGLQWKHPDLOZLWK\RXU,UYLQJ

 DGGUHVVDIWHU\RXFKDQJHG\RXUDGGUHVVRQOLQH"

 $1R,GLGQRW

 4<RX YHDOVRVWDWHGLQUHVSRQVHWRZULWWHQGLVFRYHU\

 LQWKLVFDVHWKDWEDVHGRQ\RXUUHFHLSWRIDQXSGDWHGGULYHU V

 OLFHQVHZLWK\RXUVLJQDWXUHRQLW\RXEHOLHYHGWKDW\RXU

 RQOLQHFKDQJHRIDGGUHVVDQG, PTXRWLQJIURPWKHZULWWHQ

 UHVSRQVHVKHUHTXRWH&DXVHG\RXUHOHFWURQLFVLJQDWXUHWREH

 UHXVHGE\'36

 :KDWGR\RXPHDQE\WKDW"

 $&RXOG\RXDVNWKDWTXHVWLRQDJDLQ"

 46XUH6RLQUHVSRQVHWRVRPHRIRXUZULWWHQ

 TXHVWLRQV\RX YHLQGLFDWHGWKDW\RXEHOLHYHG\RXURQOLQH

 FKDQJHRIDGGUHVVTXRWH&DXVHG\RXUHOHFWURQLFVLJQDWXUHWR

 EHUHXVHGE\'36&ORVHTXRWH

 , PWU\LQJWRJHWDVHQVHRIZKDW\RXPHDQE\

 WKDW


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 157
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 161
                                                           168 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
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 4'R\RXNQRZKRZ'36JRWWKHVLJQDWXUHWKDWZDVRQWKH

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 RQOLQHFKDQJHRIDGGUHVV"

 $, PQRWVXUHEXW, PVXUHWKH\UHSURGXFHGLWIURPP\

 SUHYLRXVVLJQDWXUH

 4:RXOG\RXKDYHSURYLGHGWKDWVLJQDWXUHLQWKH

 GULYHU VOLFHQVHILHOGRIILFH"

 $<HV

 42ND\$OOULJKW1RZ,KDYHDFRXSOHRITXHVWLRQV

 DERXWZHGRQ WKDYHWRRPXFKPRUH$ERXWZKHQ\RXILUVW

 EHFDPHDZDUHWKDW\RXZHUHQRWUHJLVWHUHGWRYRWHLQ'DOODV

 &RXQW\RND\"

 $2ND\

 46ROHW VWXUQEDFNWR([KLELWSOHDVH$QG

 SDUDJUDSKRQSDJHDOOULJKW6RWKHWKLUGVHQWHQFH

 VD\V2Q(OHFWLRQ'D\0U+HUQDQGH]DWWHPSWHGWRYRWHLQ

 'DOODV&RXQW\EXWZDVWROGKLVQDPHZDVQRWRQWKHUROHLQ

 'DOODV&RXQW\%HQMDPLQ+HUQDQGH]FDVWDSURYLVLRQDOEDOORW

 EXWODWHUUHFHLYHGQRWLFHKLVYRWHZDVQRWFRXQWHG

 'LG,UHDGWKDWSURSHUO\"

 $<HV

 42ND\6RWHOOPHDERXW(OHFWLRQ'D\'LG\RX

 JRWRDSROOLQJVWDWLRQ"

 $<HV,GLG


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 158
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 162
                                                           169 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
                                                                        
 4'R\RXUHPHPEHUZKLFKRQH"

 $,WZDVWKHOLEUDU\SXEOLFOLEUDU\RQ0F$UWKXULQ

 9DOOH\5DQFK1RUWK,UYLQJ

 4$QGKRZGLG\RXGHWHUPLQHWKDWWKDW VZKHUH\RXZRXOG

 JRWRFDVW\RXUEDOORW"

 $,WKLQNWKHUHZDVLQIRUPDWLRQLQWKHQHZVSDSHU

 4$QGVRZKDWKDSSHQHG"

 $2QHOHFWLRQGD\,ZHQWWRWKHOLEUDU\DQGVWRRGLQ

 OLQH

 4'LG\RXKDYHWRZDLWORQJ"

 $,GRQ WUHPHPEHUZDLWLQJYHU\ORQJWLPH$QG,

 KDQGHGWKHWKHSROOYRWHYROXQWHHUP\GULYHU VOLFHQVHDQG

 WKH\WULHGWRORRNXSP\P\QDPHRQWKHUROHVDQGWKH\

 FRXOGQ WILQGLW$QGZKLFK,WKRXJKWZDVNLQGRIRGG

 $QGVRWKH\FDOOHGWKHVXSHUYLVRUWKHUHWKH

 SROOVXSHUYLVRU,WDONHGWRKHUDQGWROGKHUWKDW,WKRXJKW,

 KDGUHJLVWHU\RXNQRZRQOLQHWKURXJK'36$QGVKHWULHGWR

 YHULI\RUILQGP\QDPH6KHFRXOGQ WILQGLWHLWKHU$QGVR

 VKHOHWPHFDVWDSURYLVLRQDOEDOORW$QGVKHWROGPHWKDW

 4/HWPHVWRS\RXIRUDVHFRQG, PVRUU\'R\RXNQRZ

 ZKDWWKLVZRPDQ\RXZHUHWDONLQJDERXWZKRWULHGWRILQG\RXRQ

 WKHUROHVGR\RXNQRZZKDWVKHGLG"'R\RXNQRZLIVKHFDOOHG

 DQ\ERG\RUFKHFNHGZLWKDQ\ERG\"

 $6KHPDGHDSKRQHFDOO,GRQ WNQRZZKRVKHWDONHG

 WR


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 159
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 163
                                                           170 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
                                                                        
 42ND\2ND\, PVRUU\

 $$QGWKHQVKHDOORZHGPHWRPDNHDSURYLVLRQDOEDOORW

 KDQGZULWWHQEDOORWDQGVKHWROGPHWKDWWKH\ZRXOGKDYHWR

 UHVHDUFKLWDOLWWOHELWRUFKHFNGRDOLWWOHPRUH

 FKHFNLQJDQGWKH\ZRXOGOHWPHNQRZE\PDLOWRVHHLIP\

 YRWHZDVZDVJRLQJWREHFRXQWHGLI,ZDVDFWXDOO\RQWKH

 UROHV

 ,VDLGRND\6R,ZHQWKRPH,FRPSOHWHGWKH

 SURYLVLRQDOEDOORW,ZHQWKRPH$QGWKHQ,JRWDOHWWHULQ

 WKHPDLOIURP'DOODV&RXQW\VD\LQJWKDWWKH\FRXOGQ WILQGP\

 QDPHVRQWKHUROHDQGWKDWP\YRWHFRXOGQ WEHFRXQWHG6R

 4'R\RXUHPHPEHULI\RXKDGWRVLJQWKHSURYLVLRQDO

 EDOORW"

 $, PVXUH,GLG

 4'LGWKH\WHOO\RXDQ\WKLQJHOVHDWWKHSROOLQJ

 VWDWLRQRQ(OHFWLRQ'D\"

 $1RWWKDW,UHPHPEHUULJKWRII1RWKLQJ

 4$OOULJKW

 $2WKHUWKDQZKDW,H[SODLQHG

 46XUH$QGOHW VJREDFNWRZKHUHZKHUH\RXVDLG

 \RXUHFHLYHGQRWLFHWKDW\RXUYRWHZDVQRWFRXQWHG7HOOPH

 DERXWWKDW

 $,WZDVMXVWWKHOHWWHU,UHFHLYHGIURP'DOODV&RXQW\

 $QGLWMXVWLQIRUPHGPHWKDWP\YRWHZRXOGQRWEHFRXQWHG

 EHFDXVH,ZDVQ WDUHJLVWHUYRWHULQ'DOODV&RXQW\


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 160
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 164
                                                           171 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
                                                                        
 42ND\&DQ\RXSOHDVHUHDGWKDWSDUDJUDSKLQWRWKH

 UHFRUGDQGYHULI\ZKHWKHUHYHU\WKLQJLVWUXHDQGFRUUHFW"

 $0U+HUQDQGH]PRYHGWR'DOODV&RXQW\IURP(FWRU

 &RXQW\LQ)HEUXDU\7KDWPRQWKKHFKDQJHGKLVDGGUHVVDQG

 DWWHPSWHGWRXSGDWHKLVYRWHUUHJLVWUDWLRQRQOLQHWKURXJK'36 V

 ZHEVLWH0U+HUQDQGH]UHFHLYHGDQHZGULYHU VOLFHQVHLQWKH

 PDLOEXWGLGQRWUHFHLYHDYRWHUUHJLVWUDWLRQFDUG

 2Q(OHFWLRQ'D\0U+HUQDQGH]DWWHPSWHGWR

 YRWHLQ'DOODV&RXQW\EXWZDVWROGKLVQDPHZDVQRWRQWKH

 UROHV+HFDVWDSURYLVLRQDOEDOORWEXWODWHUUHFHLYHGQRWLFH

 WKDWKLVYRWHZDVQRWFRXQWHG

 4$QGLVWKDWDOOWUXHDQGFRUUHFW"

 $<HV

 42ND\7KDQN\RX$OOULJKW,MXVWKDYHDIHZPRUH

 TXHVWLRQVDERXW\RXUFODLPVKHUH2KDQG, PVRUU\,

 XQLQWHQWLRQDOO\PLVOHG\RXHDUOLHUZHDUHQRWGRQHZLWK

 ([KLELW6ROHW VSXOOWKDWEDFNRXWSOHDVH$QG, GOLNH

 WRGLUHFW\RXUDWWHQWLRQWRSDUDJUDSKZKLFKLVRQSDJH

 , PVRUU\,GRQ WZDQWWRGLUHFW\RXUDWWHQWLRQWR

 SDUDJUDSK7KHUH VDGLIIHUHQWSDUDJUDSK

 066,/+$1:RXOGQRZEHDJRRGWLPHIRUD

 TXLFNEUHDN"

 060$&.,16XUHWKDW VILQH, PVRUU\,

 FDQ WILQG

 066,/+$1+RZDERXWPLQXWHV"


                  ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                    APPENDIX 161
                       ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 165
                                                           172 of 207
                                                                  797
                                         %HQMDPLQ+HUQDQGH]
                                                               
 GRQ WWKHUH VQRZD\,FDQSRLQWWRQXPEHUV%XWLILWFDQ

 KDSSHQWRPHLWFRXOGKDSSHQWRVRPHERG\HOVH2IFRXUVH

 WKDW VUHDVRQDEOHWKLQNLQJ

 4 %<060$&.,1 0U+HUQDQGH]DUH\RXFXUUHQWO\

 UHJLVWHUHGWRYRWHDWWKHDGGUHVVZKHUH\RXUHVLGH"

 $<HV

 4+RZGR\RXNQRZ"

 $,KDYHP\YRWHUUHJLVWUDWLRQFDUGQRZ$QG,ZDV

 DEOHWRYRWHODVW1RYHPEHU

 4,I\RXPRYHLQWKHIXWXUHKRZGR\RXWKLQN\RXZRXOG

 XSGDWH\RXUYRWHUUHJLVWUDWLRQLQIRUPDWLRQ"

 $0DQXDOO\

 4:KDWGR\RXPHDQE\PDQXDOO\"

 $,FDQJRWRWKHSRVWRIILFHWKHFRXUWKRXVHRU

 ZKHUHYHU\RXJRZULWHLWGRZQ

 4$OOULJKW-XVWDFRXSOHPRUHTXHVWLRQVWRZUDSXS

 +RZGLG\RXPHHW\RXUODZ\HUVLQWKLVFDVH", PQRWDVNLQJIRU

 DQ\OHJDODGYLFHRUDQ\WKLQJOLNHWKDW$Q\OHJDOVWUDWHJ\

 -XVWKRZ\RXPHWWKHP"

 $:KDW,UHFDOO,UHFHLYHGDOHWWHULQWKHPDLO, P

 QRWVXUHKRZWKH\JRWP\QDPHDQGWKH\WKHOHWWHUVWDWHG

 VRPHWKLQJWKH\ZHUHDZDUHRIWKHVLWXDWLRQ$QG,MXVWFDOOHG

 VRPHERG\

 4'R\RXUHPHPEHUZKR\RXFDOOHG"

 $,FDQ WUHPHPEHUH[DFWO\ZKRLWZDVWKDW,WDONHGWR


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 162
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 166
                                                           173 of 207
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                                         %HQMDPLQ+HUQDQGH]
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 4 %<066,/+$1 2ND\0U+HUQDQGH],MXVWKDYHD

 IHZIROORZXSTXHVWLRQVDQGWKHQZHZLOOEHGRQH%HIRUH,JHW

 WRWKRVH,ZDQWWRUHTXHVWDQRSSRUWXQLW\IRU0U+HUQDQGH]WR

 EHDEOHWRUHDGDQGVLJQWKHWUDQVFULSW0DNHVXUHWKDW VRQ

 WKHUHFRUG

 2ND\0V0DFNLQDVNHG\RXDERXW\RXUYRWLQJ

 KLVWRU\LQWKHSDVWDQG,EHOLHYH\RXSUHYLRXVO\WHVWLILHGWKDW

 \RXYRWHGLQLVWKDWFRUUHFW"

 $<HV

 4'LG\RXYRWHLQDQ\RWKHUHOHFWLRQVDIWHU"

 $<HVDQG

 42ND\'LG\RXDWWHPSWWRYRWHLQ"

 $<HVLQWKH,WKLQNLWZDVIRUWKHJRYHUQRULQ

 1RYHPEHU

 4$QG,EHOLHYH0V0DFNLQDVNHG\RXTXHVWLRQVDERXW

 WKHSURFHVVRIDWWHPSWLQJWRYRWHZKHQ\RXGLGDWWHPSWWRYRWH

 LQ'R\RXUHPHPEHUWKDW"

 $<HV

 4$QGLQWKDWSURFHVVLQYROYHGVKRZLQJ\RXUGULYHU V

 OLFHQVHDQGWKHSROOYROXQWHHUFKHFNLQJWKHUROHVLVWKDW

 FRUUHFW"

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 4:DVWKDWSURFHVVGLGWKDWZRUNWKHVDPHZD\LQ


                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 163
                      ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 167
                                                              174 of 207
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                                            %HQMDPLQ+HUQDQGH]
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  (FWRU&RXQW\ZKHQ\RXYRWHGLQSUHYLRXVHOHFWLRQV"

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  46R\RXVKRZWKHP\RXU\RXUGULYHU VOLFHQVHDQG

  WKH\FKHFNHGWKDW\RXZHUHRQWKHUROHVDQG\RXZHUHDEOHWR

  YRWHLVWKDWFRUUHFW"

  $<HVWKHSURFHVVZDVEDVLFDOO\VLPLODU

  42ND\:KHQ\RXPRYHGIURP(FWRU&RXQW\WR'DOODV

  &RXQW\WKDWZDVLQ)HEUXDU\LVWKDWFRUUHFW"

  $<HV

 4$QG\RX\RXFKDQJHG\RXUDGGUHVVZLWK'36LQ-XQH

 RILVWKDWFRUUHFW"

 $<HV

 42ND\

 066,/+$11RIXUWKHUTXHVWLRQVIURPXVDW

 WKLVWLPH:H OOUHVHUYHIRUWULDO

 060$&.,1$QG,MXVWKDYHRQHODVWWKLQJ

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 4 %<060$&.,1 0U+HUQDQGH]KDYH,WUHDWHG\RX

 SURIHVVLRQDOO\DQGZLWKFRXUWHV\WRGD\"

 $<HV

 060$&.,11RWKLQJIXUWKHU

 7+(9,'(2*5$3+(52IIUHFRUG

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                                                      APPENDIX 164
                         ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 168
                                                              175 of 207
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                                            %HQMDPLQ+HUQDQGH]
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  ZLWKLQDQGIRUWKH6WDWHRI7H[DVGRKHUHE\FHUWLI\

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  H[DPLQDWLRQLVKHUHLQEHIRUHVHWIRUWKZDVILUVWGXO\VZRUQE\

  PHDQGWKDWWKLVWUDQVFULSWRIVDLGWHVWLPRQ\LVDWUXHUHFRUG

 RIWKHWHVWLPRQ\JLYHQE\VDLGZLWQHVV

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 ,IXUWKHUFHUWLI\WKDW,DPQRWUHODWHGWR

 DQ\RIWKHSDUWLHVWRWKLVDFWLRQE\EORRGRUPDUULDJHDQG

 WKDW,DPLQQRZD\LQWHUHVWHGLQWKHRXWFRPHRIWKLVPDWWHU

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 ,1:,71(66:+(5(2),KDYHKHUHXQWRVHWP\

 KDQGWRWKLVBBBBBBBBBBGD\RIBBBBBBBBBBBB

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Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 169
                                                         176 of 207
                                                                797




             EXHIBIT 22




                                                          APPENDIX 166
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 170
                                                         177 of 207
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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 171
                                                              178 of 207
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          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 172
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          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 173
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       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 174
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                       ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 175
                                                           182 of 207
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 UHSUHVHQWWKHGHIHQGDQWVLQWKLVODZVXLWWKH6HFUHWDU\

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 DQDFFXUDWHUHFRUGRIHYHU\WKLQJWKDWLVVDLGKHUH

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                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 176
                                                           183 of 207
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 DOVRFKDQJHP\YRWHUUHJLVWUDWLRQDWWKHVDPHWLPHDQG

 WKHQILQGLQJRXWODWHUWKDW,UHDOO\ZDVQ WUHJLVWHUHG

 DV,WKRXJKW,ZDV

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 GLG\RXOHDUQWKDWLQIRUPDWLRQ"

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 PHZRXOG\RXOLNHWRUHJLVWHUWRYRWHZLWKWKLVFKDQJH

 RIDGGUHVVRUVRPHYHUVLRQRIWKDW

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  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 177
                                                           184 of 207
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 WKRVHWZRDJHQFLHV

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 DSSHDUHGDVLI,KDGGRQHWKHQHFHVVDU\VWHSVWREHFRPH

 DUHJLVWHUHGYRWHULQ%H[DU&RXQW\

 :KHQ,ZHQWWRYRWH,IRXQGRXWWKDW,

 ZDVQ W$QGVRZKHQ,FDOOHGWKHFRXQW\FRXUWKRXVHWR

 ILQGRXWZKDWWKHVLWXDWLRQZDVDQGWKH\ORRNHGLWXS

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 174
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 178
                                                           185 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  WKH\VDLGZHOO\RXDUHQRWUHJLVWHUHGEXW\RXFDQ

  \RXFDQYRWHIRUVWDWHHOHFWLRQV

  $QGWKH\VDLGWKH\KDGKHDUGWKDWRWKHU

  SHRSOHZKRKDGWULHGWRUHJLVWHUWKHVDPHZD\,KDGKDG

  KDGSUREOHPVWKURXJK'36

  4 %<060$&.,1 $QGZH OO,ZLOODVN\RXD

  OLWWOHELWPRUHDERXWVRPHRIWKRVHGHWDLOVODWHURQVR

  ZHZLOOFRPHEDFNWRWKDW

  $2ND\

 4+RZGLG\RXPHHW\RXUODZ\HUVLQWKLVFDVH"

 $%\SKRQH

 4:KRDQG,DPQRWDVNLQJIRUDQ\OHJDODGYLFH

 WKDWWKH\KDYHJLYHQ\RX

 $8KKXK

 4:KRGLG\RXZKDWDWWRUQH\GLG\RXVSHDNWR

 ILUVWDERXWWKLVODZVXLW"

 $,GRQ WUHPHPEHUWKHRUGHU

 42ND\

 $<HDK

 4'RGR\RXUHPHPEHUZKHWKHU\RXFRQWDFWHG

 \RXUDWWRUQH\VRUZKHWKHUWKH\FRQWDFWHG\RX"

 $7KH\FRQWDFWHGPH

 4$QGDERXWZKHQZDVWKDW"

 $,GRQ WUHPHPEHU

 42ND\+DG\RXHYHUPHWDQ\RI\RXUODZ\HUV

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 175
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 179
                                                           186 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  42ND\1RZ,ZDQWWRWDONDERXWWKHYRWHU

  UHJLVWUDWLRQLVVXHWKDW\RXVXHGP\FOLHQWVDERXWZKHQ

  \RXPRYHGIURP$UOLQJWRQWR6DQ$QWRQLR

  :K\GLG\RXPRYH"

  $0\ZLIHJRWLQWRODZVFKRRODW6W0DU\ V

  4$QGGR\RXUHPHPEHUWKHDSSUR[LPDWHGDWHWKDW

  \RXPRYHG"

  $:HPRYHGRQ$XJXVWWKHVW

  4$QGDWWKDWSRLQW\RXGHFLGHGWRXSGDWHWKH

 DGGUHVVRQ\RXUGULYHUOLFHQVH"

 $<HV

 42ND\7HOOPHDERXWWKDW

 $:HOOZHPRYHGKHUHLQ$XVWLQDQGVKRUWO\

 WKHUHDIWHU,DV\RXFDQVHHIURPP\KLVWRU\, YH

 PRYHGVHYHUDOWLPHV,DPJHWWLQJPRUHDFFXVWRPHGWR

 WU\LQJWRGRWKDWPRUHTXLFNO\6R,ZHKDGWRJHW

 ZLILILUVW%XW,IRUJRWZLILQRZVR,ZHQWRQOLQH

 LQP\RIILFHDQGILOOHGRXWWKHIRUP

 4,VWKHUHDUHDVRQ\RXFKRVHWRGRLWRQOLQH"

 $&RQYHQLHQFH

 4'R\RXUHFDOODQ\WKLQJDERXWYRWHU

 UHJLVWUDWLRQ"

 $,UHPHPEHUWKHUHEHLQJDER[,FRXOGFKHFNLI,

 ZDQWHGWRJHWUHJLVWHUHG

 4'R\RXUHFDOODQ\WKLQJHOVH"

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 176
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 180
                                                           187 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  42ND\1RZ,ZDQWWRWDONDERXWWKHYRWHU

  UHJLVWUDWLRQLVVXHWKDW\RXVXHGP\FOLHQWVDERXWZKHQ

  \RXPRYHGIURP$UOLQJWRQWR6DQ$QWRQLR

  :K\GLG\RXPRYH"

  $0\ZLIHJRWLQWRODZVFKRRODW6W0DU\ V

  4$QGGR\RXUHPHPEHUWKHDSSUR[LPDWHGDWHWKDW

  \RXPRYHG"

  $:HPRYHGRQ$XJXVWWKHVW

  4$QGDWWKDWSRLQW\RXGHFLGHGWRXSGDWHWKH

 DGGUHVVRQ\RXUGULYHUOLFHQVH"

 $<HV

 42ND\7HOOPHDERXWWKDW

 $:HOOZHPRYHGKHUHLQ$XVWLQDQGVKRUWO\

 WKHUHDIWHU,DV\RXFDQVHHIURPP\KLVWRU\, YH

 PRYHGVHYHUDOWLPHV,DPJHWWLQJPRUHDFFXVWRPHGWR

 WU\LQJWRGRWKDWPRUHTXLFNO\6R,ZHKDGWRJHW

 ZLILILUVW%XW,IRUJRWZLILQRZVR,ZHQWRQOLQH

 LQP\RIILFHDQGILOOHGRXWWKHIRUP

 4,VWKHUHDUHDVRQ\RXFKRVHWRGRLWRQOLQH"

 $&RQYHQLHQFH

 4'R\RXUHFDOODQ\WKLQJDERXWYRWHU

 UHJLVWUDWLRQ"

 $,UHPHPEHUWKHUHEHLQJDER[,FRXOGFKHFNLI,

 ZDQWHGWRJHWUHJLVWHUHG

 4'R\RXUHFDOODQ\WKLQJHOVH"

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 177
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 181
                                                           188 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  $1R

  47KDWGD\WKDW\RXZHQWRQOLQHWRFKDQJH\RXU

  DGGUHVVGLG\RXVLJQDQ\WKLQJ"

  $1R

  4'LG\RXZULWHDQ\WKLQJGRZQ"

  $&DQ\RX

  46XUH

  ,QFRQQHFWLRQZLWKWKHFKDQJHWKDW\RX

  PDGHWR\RXUDGGUHVV

 $8KKXK

 4GLG\RXZULWHDQ\WKLQJGRZQ"

 $:ULWHDQ\WKLQJGRZQZKHUH"

 4$Q\ZKHUH

 $,DPQRWVXUH,XQGHUVWDQG

 4:KHQ\RXDVNHGZHOO\RXGLGQ WDVN

 :KHQ\RXWROG'36WKDW\RXKDGPRYHGXVLQJ

 WKHRQOLQHLQWHUIDFHGLG\RXZULWHDQ\WKLQJGRZQRU

 ZDVLWDOOGRQHE\FRPSXWHU"

 $,WZDVDOORQOLQH

 4$QGWKHQ\RXVDLGWKDW\RXEHOLHYHGWKLV

 XSGDWHG\RXUYRWHUUHJLVWUDWLRQLQIRUPDWLRQDVZHOO"

 $&RUUHFW

 4$QG\RXEHOLHYHGWKDWEHFDXVHZHOO,GRQ W

 ZDQWWRWHVWLI\IRU\RX:K\GLG\RXEHOLHYHWKDW"

 $,WDVNHGPHLI,ZRXOGOLNHWRUHJLVWHUWR

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 178
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 182
                                                           189 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  YRWHDQG,VDLG\HV

  42ND\

  060$&.,1:H UHRQ"

  0667(9(16 1RGGLQJKHDG 

   ([KLELWPDUNHG 

  4 %<060$&.,1 ,DPKDQGLQJ\RXZKDW,DP

  PDUNLQJDV([KLELW3OHDVHWDNHDOOWKHWLPH\RXQHHG

  WRUHYLHZLWDQGOHWPHNQRZZKHQ\RXDUHUHDG\WR

  GLVFXVVLW

 0667(9(16)RUWKHUHFRUGWKHUHLVD

 IURQWDQGDEDFNSDJH

 $ :LWQHVVUHYLHZVGRFXPHQW

 2ND\

 4 %<060$&.,1 $OOULJKW, GOLNHWRGLUHFW

 \RXUDWWHQWLRQWRSDJH

 :HOOILUVWRIDOOGR\RXUHFRJQL]HWKLV

 GRFXPHQW"

 $1R

 42ND\,DPJRLQJWRUHSUHVHQWWR\RXWKDWWKLV

 ZDVILOHGDVDQH[KLELWWRWKHFRPSODLQWWKDW\RXU

 DWWRUQH\VILOHGRQ\RXUEHKDOILQWKLVODZVXLW'RHV

 WKDWVRXQGULJKWJLYHQWKDW\RXUHYLHZHGWKHFRPSODLQW

 EHIRUHLWZDVILOHG"

 0667(9(162EMHFWLRQ)RUP

 $,GLGQ WNQRZDQ\WKLQJDERXWLW

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 179
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 183
                                                           190 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  42ND\,DPJRLQJWRUHSUHVHQWWR\RXWKDWLW

  LVDOHWWHUWKDW\RXUDWWRUQH\VVHQWWRPHLQFRQQHFWLRQ

  ZLWKWKLVODZVXLW$QGWKHVHFRQGSDUDJUDSKDSSHDUVWR

  GHVFULEH\RXUH[SHULHQFHZLWKWKHYRWHUUHJLVWUDWLRQ

  SURFHVVLQ,VWKDWDIDLUFKDUDFWHUL]DWLRQ"

  $<HV

  42ND\6RLQWKHVHFRQGVHQWHQFHRIWKDW

  SDUDJUDSKLWVD\VWKDW\RXDWWHPSWHGWRYRWHHDUO\LQ

  1RYHPEHUEXWZHUHWROGE\SROOZRUNHUVDW876$WKDW

 \RXUQDPHZHUHQRWZDVQRWRQWKHUROOV

 &DQ\RXWHOOPHDOLWWOHELWPRUHDERXW

 WKDW"

 $6XUH

 $UULYHGWRHDUO\YRWLQJ7KHUHZDVD

 VKRUWOLQH$V,ZDVZDLWLQJLQOLQH,QRWLFHGWKDW

 WKHUHZHUHSHRSOHLQIURQWRIPHZKRWKHWKH

 YROXQWHHUVRUWKHYRWHUWKHYRWLQJERRWKVNHSWPDNLQJ

 SKRQHFDOOVDQG,ZDVOLNH2K,ZRQGHUZKDWWKDWLV

 $QGVR,JRWXSIURQWDQGWKH\DVNHGPH

 IRUP\OLFHQVHW\SHGPHLQWRWKHFRPSXWHUWKDWWKH\

 KDYH:KHQWKH\GLGQ WJHW,JXHVVZKDWHYHUUHVXOWV

 WKH\ZHUHH[SHFWLQJWKH\WKH\GLGIRUPHZKDWWKH\

 KDGGRQHIRURWKHUSHRSOHWKH\KDGFDOOHGWRFRQILUP,

 JXHVVZLWKVRPHRIILFHWKDW,ZDVRUZDVQ WHQUROOHG

 4'R\RXNQRZZKRWKH\FDOOHG"

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 180
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 184
                                                           191 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  $,GRQ WNQRZ

  47KDW VRND\

  $<HDK,GRQ WNQRZ

  $QGWKHQWKH\VDLG:HOOZHDUHVRUU\

  \RXDUHQRWUHJLVWHUHGDWWKLVWLPH

  4,Q%H[DU&RXQW\"

  $,GRQ WNQRZLIWKH\VDLGWKDW,DPDVVXPLQJ

  ,PHDQ,FRXOGQ WHYHQYRWHIRUIHGHUDOHDUO\VR,

  GRQ WNQRZZKDWWKHLUH[DFWODQJXDJHZDV

 42ND\6RRWKHUWKDQWHOOLQJ\RXWKDW\RXFRXOG

 RQO\YRWHLQWKHVWDWHZLGHHOHFWLRQWKDWGD\

 $7KH\GLGQ WWHOOPHWKDWWKDWGD\

 42K,VHH:KHQGLG\RXOHDUQWKDW"

 $:KHQ,FDOOHGWKH%H[DU&RXQW\&RXUWKRXVH

 4$QGZKHQ\RXFDOOHGWKH%H[DU&RXQW\

 &RXUWKRXVHGLGWKH\WHOO\RXDQ\WKLQJHOVH"

 $7KH\WROGPHWKDWWKH\,FRXOGRQO\YRWHRQ

 WKHGD\RQWKDW7XHVGD\RUZKDWHYHULWZDVWKHGD\

 RIWKHHOHFWLRQULJKWWKDW,FRXOGQ WYRWHDQ\RWKHU

 WLPHWKDW,FRXOGRQO\YRWHGRZQWRZQDWWKHGRZQWRZQ

 ORFDWLRQDQGWKDWWKH\KDGRWKHUSHRSOHZKRKDGKDG

 SUREOHPVUHJLVWHULQJWRYRWHWKURXJK'36

 4$QGVRMXVW,MXVWZDQWWREHFOHDUSROO

 ZRUNHUVDW876$DQGWKHSHUVRQ\RXVSRNHZLWKDW%H[DU

 &RXQW\PHQWLRQHGSUREOHPVDW'36RUZDVLW

                 ,QWHJULW\/HJDO6XSSRUW6ROXWLRQV
                                                   APPENDIX 181
                      ZZZLQWHJULW\WH[DVFRP
  Case 5:16-cv-00257-OLG
       5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                             05/29/20 Page 185
                                                           192 of 207
                                                                  797
                                              -DUURG6WULQJHU
                                                                        
  $1RQR7KHWKHDW876$WKH\RQO\WROG

  PH,ZDVQ WDEOHWRYRWHWKDWGD\7KDW VDOOWKH\

  WKHLQIRUPDWLRQWKH\JDYHPH

  46RWKHFDOOWKH\PDGHZDVMXVWWRFKHFN\RXU

  VWDWXV"

  $<HV\HV

  42ND\

  $$QGVRWKHZKHQ,FDOOHG%H[DU&RXQW\WKH\

  ZHUHWKHRQHVWKDWWROGPHWKHUHKDGEHHQRWKHU

 SUREOHPSHRSOHZKRKDGSUREOHPVWKURXJK'36

 UHJLVWHULQJ

 42ND\2ND\'LGWKH\WHOO\RXZKHQ\RXFDOOHG

 %H[DU&RXQW\DQ\WKLQJHOVHDERXWDQ\DQ\WKLQJHOVH

 WKDW\RXUHFDOO"

 $7KHRQO\WKLQJ,UHPHPEHULVZHUHWKH'36

 DQGWKDW,FRXOGYRWHRQWKHGD\RIWKHHOHFWLRQDQG

 RQO\IRUVWDWHZLGHHOHFWLRQV

 42ND\'LGWKH\WHOO\RXDQ\WKLQJDERXWDQ\

 RWKHUFRXQW\"

 $1RQRWWKDW,UHFDOO

 4/HW VMXPSEDFNWR876$IRUDVHFRQG

 $6XUH

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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 186
                                                              193 of 207
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                                                      APPENDIX 183
                         ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 187
                                                              194 of 207
                                                                     797
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                                                      APPENDIX 184
                         ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 188
                                                              195 of 207
                                                                     797
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                                                      APPENDIX 185
                         ZZZLQWHJULW\WH[DVFRP
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                                05/29/20 Page 189
                                                              196 of 207
                                                                     797
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                                                      APPENDIX 186
                         ZZZLQWHJULW\WH[DVFRP
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 190
                                                         197 of 207
                                                                797




             EXHIBIT 23




                                                          APPENDIX 187
Case 5:16-cv-00257-OLG
     5:20-cv-00046-OLG Document 77-1 Filed 06/30/17
                                           05/29/20 Page 191
                                                         198 of 207
                                                                797


             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION

JARROD STRINGER, ET AL.,  )
     Plaintiffs,          )
                          )
vs.                       ) CIVIL NO. 5:16-cv-00257
                          )
ROLANDO PABLOS, IN HIS    )
OFFICIAL CAPACITY AS THE )
TEXAS SECRETARY OF STATE )
AND STEVEN C. MCCRAW, IN )
HIS OFFICIAL CAPACITY AS )
THE DIRECTOR OF THE TEXAS )
DEPARTMENT OF PUBLIC      )
SAFETY,                   )
     Defendants.          )



                  ORAL VIDEOTAPED DEPOSITION
                          JOHN WOODS
                          MAY 5, 2017


     ORAL VIDEOTAPED DEPOSITION OF JOHN WOODS, produced

as a witness at the instance of the Defendants and duly

sworn, was taken in the above-styled and numbered cause

on the 5th day of May, 2017, from 10:26 a.m. to

12:54 p.m., before Dana Richardson, Certified Shorthand

Reporter in and for the State of Texas, reported by

computerized stenotype machine at the Office of Attorney

General Consumer Protection Division Houston Regional

Office, 808 Travis, Suite 1520, Houston, Texas

77002-1702, pursuant to the Federal Rules of Civil

Procedure and the provisions stated on the record or

attached hereto.


                                                          APPENDIX 188
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  192
                                                              199 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                            2
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16

17
      ALSO PRESENT:
18
            Ms. Myra Thetford, Videographer
19

20

21

22

23

24

25

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                         www.integrity-texas.com      APPENDIX 189
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  193
                                                              200 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                            3
 1                                 EXHIBITS

 2

 3 EXHIBIT                     DESCRIPTION                       PAGE

 4

 5 Exhibit 1            Defendants' Notice of                      5
                        Deposition of John Woods
 6
      Exhibit 2         Plaintiff's Original Complaint            24
 7
      Exhibit 3         Application for                           36
 8                      Renewal/Replacement/Change of a
                        Texas Driver License or
 9                      Identification Card, John
                        Woods, 1/30/2017
10
      Exhibit 4         Application for                           39
11                      Renewal/Replacement/Change of a
                        Texas Driver License or
12                      Identification Card, John
                        Woods, 12/13/13
13
      Exhibit 5         Information Form, DL-43,                  42
14                      7/28/09

15 Exhibit 6            Application for Texas Driver              44
                        License or Identification Card,
16                      John Woods, August 22, 2007

17 Exhibit 7            Texas Department of Public                47
                        Safety, Receipt of Surrendered
18                      License, August 22, 2007

19 Exhibit 8            Driver License Renewal and                50
                        Change of Address, printed from
20                      Texas.gov

21 Exhibit 9            November 18, 2015, letter from            60
                        Peter A. Kraus to Anne Marie
22                      Mackin

23 Exhibit 10           E-mail string with top e-mail             68
                        dated April 6, 2017, from John
24                      Woods to Beth Stevens

25

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                         www.integrity-texas.com      APPENDIX 190
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  194
                                                              201 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                            4
 1                            EXHIBITS (cont.)

 2 EXHIBIT                     DESCRIPTION                       PAGE

 3
      Exhibit 11        May 26, 2015, letter from Beth            70
 4                      Fischer to Dr. John Woods

 5 Exhibit 12           Printout from Facebook                    76

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                         www.integrity-texas.com      APPENDIX 191
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  195
                                                              202 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                            5
 1                    (Exhibit 1 marked)

 2                    THE VIDEOGRAPHER:      This is the videotaped

 3 deposition of John Woods taken on behalf of the

 4 plaintiff -- I'm sorry, taken on behalf of the defendant

 5 in the matter of Jarrod Stringer, et al., versus Rolando

 6 Pablos, et al., Civil Action No. 5:16-cv-00257, for the

 7 United States District Court, Western District of Texas,

 8 San Antonio Division, held in the offices of the

 9 Attorney General's Houston Regional Office at

10 808 Travis, Suite 1520, in Houston, Texas 77002.

11                    The videographer's name is Myra Thetford.

12 The court reporter's name is Dana Richardson.

13                    This is beginning of Tape No. 1.          Today's

14 date is May 5th, 2017.          We are on the record at

15 10:26 a.m.

16                    Would counsel please introduce themselves

17 for the record.

18                    MS. MACKIN:     Anna Mackin with the Attorney

19 General's Office on behalf of all defendants.

20                    MS. STEVENS:     Beth Stevens from the Texas

21 Civil Rights Project on behalf of Plaintiff John Woods.

22                    MS. SILHAN:     Caitlyn Silhan from Waters &

23 Kraus on behalf of Plaintiff John Woods.

24                                    ***

25                                    ***

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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  196
                                                              203 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                            6
 1                               JOHN WOODS,

 2 having been first duly sworn, testified as follows:

 3                               EXAMINATION

 4 BY MS. MACKIN:

 5        Q.    Good morning, Mr. Woods.

 6        A.    Good morning.

 7        Q.    If you wouldn't mind please speaking and

 8 spelling your name for the record.

 9        A.    Yes.    It's John Woods.     J-o-h-n.     W-o-o-d-s.

10        Q.    Thank you.

11                      My name is Anna Mackin, and I am an

12 attorney with the Texas Attorney General's Office.               I

13 represent the defendants in this case, the Secretary of

14 State of Texas, Rolando Pablos, and the director of the

15 Department of Public Safety, Steven McCraw.

16                      I'm going to review some logistical

17 matters before we get started on the questions.               Have

18 you ever been deposed before?

19        A.    No.

20        Q.    Okay.    Have you ever testified in court before?

21        A.    No.

22        Q.    So just a couple of things to help the court

23 reporter get an accurate record of everything that's

24 being said here today.          If you could try to give a

25 verbal answer to my questions as opposed to nodding or

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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  197
                                                              204 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           22
 1 places, just -- it's about how it's --

 2        A.    That's my understanding.

 3        Q.    Okay.     And so, again, I'm not asking for, like,

 4 a legal conclusion or anything like that and you're not

 5 going to hurt my feelings, but what do you think that my

 6 client, the Department of Public Safety, did wrong in

 7 this case?

 8        A.    I think that DPS gave me the impression that in

 9 updating my driver's license address online and checking

10 that box I was changing my voter registration address,

11 when, in fact, I needed to do some separate set of steps

12 in order to actually change my voter registration

13 address as well.

14        Q.    Okay.     And then as far as the Texas Secretary

15 of State, my other client, what did they do wrong in

16 this case?

17                      MS. STEVENS:    Objection, form.

18        Q.    (BY MS. MACKIN)        Just your understanding, not a

19 legal conclusion.

20        A.    Can you explain a little bit more, also going

21 back to the previous question, what you mean by "wrong"?

22        Q.    Yeah.     So you sued --

23        A.    Uh-huh.

24        Q.    -- the lead officers of the Department of

25 Public Safety --

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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  198
                                                              205 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           25
 1 gentleman named Jarrod Stringer.            Do you know

 2 Mr. Stringer?

 3        A.    No.

 4        Q.    Okay.     48 mentions a woman, Ms. Watkins.        Her

 5 first name is spelled T-o-t-y-s-a.            I'm not sure how to

 6 pronounce it.

 7        A.    I think I'd remember somebody with that name.

 8        Q.    So you don't know her?

 9        A.    Correct.

10        Q.    Okay.     And then Paragraph 49 mentions John

11 Woods.      That's you?

12        A.    Yes.

13        Q.    Okay.     In the second sentence of

14 Paragraph 49 --

15        A.    Uh-huh.

16        Q.    -- it says:     "In September 2015, Dr. Woods

17 changed his driver's license address online, and

18 believed that his voter registration records were

19 updated as well."

20                      Did I read that right?

21        A.    Yes.

22        Q.    And why did you believe that your voter

23 registration records were updated in September of 2015?

24        A.    Because I knew from experience -- or thought I

25 knew from experience that when you change your driver's

                    Integrity Legal Support Solutions
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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  199
                                                              206 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           26
 1 license address online you can also check a box that

 2 will change your voter registration address.              That

 3 experience comes both from Virginia, where that is the

 4 case, and Texas, where it seems not to be the case,

 5 but --

 6        Q.    Tell me what you remember about Virginia.

 7        A.    Can you be more specific?

 8        Q.    Sure.     You said that your experience in

 9 Virginia was part of the reason that you believed that

10 your voter registration records were updated after

11 changing your driver's license address online --

12        A.    Yes.

13        Q.    -- in Texas.

14        A.    Uh-huh.

15        Q.    So I'm asking what you remember about Virginia

16 that informed your beliefs about Texas.

17        A.    Yeah.    So my experience in Virginia was that

18 they made it pretty difficult for you to vote in the

19 town where you attended college.

20        Q.    Who is "they"?

21        A.    The state, commonwealth.        And -- and so at some

22 point, I changed my driver's license address to my

23 university address so that -- and also with my voter

24 registration address so that I could vote locally.               And

25 upon changing my driver's license address, I was, in

                    Integrity Legal Support Solutions
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     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  200
                                                              207 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           34
 1 questions.

 2        A.    Yes.

 3        Q.    I'm not -- I'm not trying to trick you.           I'm

 4 just trying to get a list.

 5        A.    Yeah, sure, sure, uh-huh.

 6        Q.    When you moved to Austin, where did you first

 7 attempt to register or believe that you had registered

 8 to vote in Texas?

 9        A.    Yeah, that would be the -- the DPS office, I

10 think, on Burnett.

11        Q.    Okay.

12        A.    Is it on Burnett?      It's either Burnett or the

13 road next to it.

14        Q.    Uh-huh.    The one up by, like, 45, kind of?

15        A.    I think it's, like, 51st or something.

16        Q.    Yeah, yeah.

17        A.    It's like 5050 or something like that.

18        Q.    Yeah.    But that was in person at that office

19 that you first registered and --

20        A.    Yes.

21        Q.    -- or first believed you registered in Texas?

22        A.    Yes.

23        Q.    Okay.    And subsequent to that, were you ever

24 able to vote in Texas?

25        A.    Yes.

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 197
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  201
                                                              208 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           62
 1 when changing his address online at

 2 www.txdps.state.tx.us.

 3                      That attempt to update voter registration

 4 information, what is that referring to?

 5        A.    To update my voter address from Travis County

 6 to Harris County.

 7        Q.    Okay.    And the next paragraph, I just want to

 8 go through this bit by bit to get a little bit more

 9 information about the -- the facts in here.

10        A.    Okay.

11        Q.    So the first sentence:       "Mr. Woods moved from

12 Travis County to Harris County in June 2015."

13                      That's actually, though, referring to --

14 you physically moved from Morgantown, but you -- your

15 address registered on your driver license was from

16 Travis to Harris, even though your person was from West

17 Virginia to Harris; is that right?

18        A.    Yes.

19        Q.    Okay.

20        A.    I mean, I spent a lot of time in Austin --

21        Q.    Yeah.    And I'm not --

22        A.    -- even when I was in Morgantown.

23        Q.    I'm not saying that you were, like, lying or

24 trying to trick anybody.          I just want it to be clear in

25 the record because I was a little bit confused when I

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 198
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  202
                                                              209 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           63
 1 saw the letter to you in West Virginia and about just

 2 where everything was.         So not a problem.

 3                      The second sentence:     "In September 2015,

 4 Mr. Woods changed his driver's license address online,

 5 and believed that his voter registration records were

 6 updated as well."

 7                      Is that referring to the transaction that

 8 we've spent a lot of today talking about?

 9        A.    Yes.

10        Q.    Okay.    And then it says:      "Shortly thereafter,

11 Mr. Woods went to a local library, where he was offered

12 an opportunity to register to vote.            He declined that

13 opportunity, however, because he believed that his voter

14 registration records had already been updated."

15                      Can you tell me a little bit more about

16 your visit to the library that's referenced in this

17 sentence?

18        A.    Sure.    I went with my friend Deb.        She was, I

19 think, dropping some -- she's also my roommate.               She was

20 dropping some stuff off, picking some stuff up.               I think

21 I checked out a book.         In the process of checking out a

22 book, the librarian said, "Would you like to register to

23 vote?"

24                      And I said, "No, I did it when I changed

25 my driver's license address."

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 199
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  203
                                                              210 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           64
 1        Q.    And then the next sentence:         "Mr. Woods called

 2 Harris County on Election Day 2015, trying to identify

 3 his polling location."

 4                     Do you remember what date Election Day

 5 2015 was?

 6        A.    November -- first Tuesday of November.

 7        Q.    How did you know who to call to identify your

 8 polling location?

 9        A.    I think that information is available on the

10 internet.

11        Q.    So that's probably --

12        A.    I probably Googled it.

13        Q.    And then the next sentence says that you were

14 informed that you were not registered in Harris County

15 but were still registered in Travis County and that any

16 provisional ballot cast in Harris County would likely

17 not be counted.

18                     Did they tell you anything else or --

19 I'm -- I'm sorry.         I made an assumption.      It says that

20 you were informed.

21        A.    Yeah, I don't know that it was during that

22 phone call that I was informed.           I think I -- I think

23 they told me I was not registered in Harris County

24 during that phone call.          And I said, "Can I fill out a

25 provisional ballot?"

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 200
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  204
                                                              211 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           65
 1                      And they said, "Yes, but it probably won't

 2 be counted."

 3                      And then I went to the polling place,

 4 and -- and -- and they verified there that I was not

 5 registered in Harris County.           They may or may not have

 6 looked up my registration and told me it was Travis

 7 County, but I think at that point I inferred that my

 8 address and my registration had not be changed and so it

 9 was in Travis County.

10        Q.    Do you remember what the local polling location

11 that you visited that day was?

12        A.    Not the exact address --

13        Q.    Sure.

14        A.    -- but it is in Third Ward or near Third Ward.

15        Q.    And if you were describing where that's located

16 to someone who's not familiar with Houston, how would

17 you describe it?

18        A.    Near Texas Southern University.         So not far

19 from downtown, to the south, southwest of downtown.

20        Q.    And you identified that as your polling

21 location based on the address where you resided at the

22 time?

23        A.    Yes.

24        Q.    Okay.

25        A.    And it would have been the same polling place

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 201
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  205
                                                              212 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           66
 1 between my Ruth Street address and -- oh, yeah, yeah.

 2 So that -- that was also my -- that should also be my

 3 polling place now --

 4        Q.    Okay.

 5        A.    -- my current address.

 6        Q.    And then it says here:       "On November 17th,

 7 Mr. Woods was informed by the county clerk that his

 8 provision ballot was not counted."

 9                      How did the clerk inform you of this

10 information?

11        A.    I received a letter in the mail.

12        Q.    And specific -- oh, sorry, it says "by the

13 county clerk."

14                      And that address was sent to -- sorry,

15 that letter was sent to the address where you were

16 residing at the time?

17        A.    I don't recall.      I -- I -- I think so.       I don't

18 even remember the date of that.           I just remember getting

19 a letter in the mail.

20        Q.    Okay.    And then what did you do?

21        A.    By then I had already, I think, done most of

22 the things that are consequential.

23        Q.    What do you mean when you say "the things that

24 are consequential"?

25        A.    Yeah, I mean, so when I went to the polling

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 202
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  206
                                                              213 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           67
 1 place and I cast a provisional ballot, probably the very

 2 next thing I did was go on Facebook and vent about not

 3 being able to vote for a second time, at which point a

 4 friend put me in touch with -- with my attorneys.

 5        Q.    Okay.    So correct me if I'm mischaracterizing

 6 this because I'm not trying to.           I'm just trying to get

 7 everything clear.

 8        A.    Okay.

 9        Q.    When you went to your local polling location

10 and cast a provisional ballot, did you believe that it

11 likely would or likely would not be counted?

12        A.    I was told by the person at the polling place

13 that it was unlikely that it would be counted.

14        Q.    Did the person at the polling place tell you

15 anything else about that?

16        A.    That the act of filling out a provisional

17 ballot would update my voter registration address

18 finally.

19        Q.    After you filled out the provisional ballot, do

20 you recall if you received a new voter registration card

21 within 60 days after that?

22        A.    I don't recall.

23        Q.    Do you remember if you received an updated

24 voter registration card after that?

25        A.    I have gotten one since then at some point

                    Integrity Legal Support Solutions
                         www.integrity-texas.com      APPENDIX 203
     Case 5:16-cv-00257-OLG
          5:20-cv-00046-OLG Document 77-1 Filed 06/30/17 Page Woods
                                                05/29/20John  207
                                                              214 of 207
                                                                     797
                                                                      - 5/5/2017
                                                                           98
 1 STATE OF TEXAS
   COUNTY OF HARRIS
 2                  REPORTER'S CERTIFICATE

 3        I, Dana Richardson, a Certified Shorthand Reporter

 4 in and for the State of Texas, do certify that this

 5 deposition transcript is a true record of the testimony

 6 given by the witness named herein, after said witness

 7 was duly sworn by me.         The witness was requested to

 8 review the deposition.

 9        I further certify that I am neither attorney or

10 counsel for, related to, nor employed by any parties to

11 the action in which this testimony is taken and,

12 further, that I am not a relative or employee of any

13 counsel employed by the parties hereto or financially

14 interested in the action.

15        I further certify that the amount of time used by
      each party at the deposition is as follows:
16
                Ms. Anne Marie Mackin - 02:05
17              Ms. Beth Stevens - 00:00

18        SUBSCRIBED AND SWORN TO under my hand and seal of
      office on this the 19th day of May, 2017
19

20        _________________________________________________

21                  Dana Richardson, RPR, TX CSR
                    Integrity Legal Support Solutions
22                  3100 W. Slaughter Lane, Suite A-101
                    Austin, Texas 78748
23                  (512) 320-8690
                    (512) 320-8692 (fax)
24

25

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Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 215 of 797




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                                                          APPENDIX 205
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG    Document 105 Filed
                                      77-1   Filed05/29/20
                                                   05/10/18 Page
                                                             Page216
                                                                  1 ofof61
                                                                         797


                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                                                           FILED
                                 SAN ANTONIO DIVISION                         MAY   1 0 2018

                                                                      CLERK. U.S; DISTRICT COURT
                                                                     WESTERN DIS               EXAS
JARROD STRINGER, et. al.


V.                                                   CIVIL NO. SA-16-CA-257-OG

ROLANDO PABLOS, in his official
capacity as Texas Secretary of State
and STEVEN C. McCRAW, in his official
capacity as Director of the Texas Department
of Public Safety


                                          ORDER
         Pending before the Court is Plaintiffs' Motion for Summary Judgment (docket no. 77)

and also Defendants' Motion for Summary Judgment (docket no. 82). The parties have filed

responses (docket nos. 85, 88) and replies (docket nos. 87, 89). The Court has reviewed the

record and the applicable law, and finds that Plaintiffs' motion should be granted and

Defendants' motion should be denied.

                                                I.

                                       Statement of the case

         This case concerns Texas's compliance with the National Voter Registration Act

(NVRA) (also known as the "motor voter law"), 52 U.S.C. § 20501, et. seq., which was enacted

in 1993 under the Elections Clause to make the voter registration process easier and more

convenient, thus increasing voter registration and participation.' The only six states exempt from




        'See 52 U.S.C. § 2050 1(b)(l) ("to establish procedures that will increase the number of
eligible citizens who register to vote").




                                                                              APPENDIX 206
    Case
  Case   5:16-cv-00257-OLGDocument
       5:20-cv-00046-OLG    Document 105 Filed
                                   77-1   Filed05/29/20
                                                05/10/18 Page
                                                          Page217
                                                               2 ofof61
                                                                      797


its requirements are those that have no voter registration or allow election day voter registration

at the polls.2 Texas is not one of them.3

                                                 II.

                                        Applicable standard

        Summary judgment is proper when the evidence shows "there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law." FED. R. CIV. P.

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-52 (1986). Rule 56 "mandates the

entry of summary judgment, after adequate time for discovery and upon motion, against a party

who fails.. . to establish the existence of an element essential to that party's case, and on which

that party will bear the burden of proof at trial." Curtis v. Anthony, 710 F.3d 587, 594 (5th Cir.

2013) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

        The Court must draw reasonable inferences and construe evidence in favor of the

nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

Although the evidence is viewed in the light most favorable to the nonmoving party, a

nonmovant may not rely on "conclusory allegations, unsubstantiated assertions, or only a scintilla

of evidence" to create a genuine issue of material fact sufficient to survive summary judgment.

Freeman v. Tex. Dep 't ofCriminal Justice, 369 F.3d 854, 860 (5th Cir. 2004).

                                                 III.

                             The claims, defenses, and underlying facts

        Plaintiffs are eligible Texas voters who engaged in NVRA-covered online driver's license

transactions but were denied simultaneous voter registration applications and thereafter


        252 U.S.C. § 20503(b)

        3See https://www.justice.gov/crt/national-voter-registration-act- 1 993-nvra

                                                  2


                                                                                APPENDIX 207
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG    Document 105 Filed
                                      77-1   Filed05/29/20
                                                   05/10/18 Page
                                                             Page218
                                                                  3 ofof61
                                                                         797


disenfranchised. They assert that the State of Texas, by and through the Department of Public

Safety and the Secretary of State, engages in a practice that deprives Texans of their federal right

to register to vote or update their voter registration simultaneously with their online driver's

license renewal and change of address transactions. Plaintiffs allege that this practice, dating

back several years, violates the NVRA and Equal Protection clause. Although advised of the

violation, and admittedly able to change its practice and procedure, the State of Texas has refused

to integrate voter registration into its online driver's license renewal and change of address

process to ensure compliance with federal law.

         Plaintiffs seek summary judgment on their claims that Defendants' online process

violates the NVRA and Equal Protection clause. They also seek summary judgment on

Defendants' affirmative defenses, including immunity, standing, and mootness.

         Defendants admit that the key facts of this case are undisputed4 and essentially argue that

state law prevents them from complying with federal law. Defendants seek summary judgment

on the following grounds: Article III standing, statutory standing, mootness, and on the merits

based on their interpretation of the NYRA, state election law, and the Equal Protection clause.

         The parties have stipulated to the following facts:

1.       Defendant Rolando Pablos is the Texas Secretary of State ("SOS") and, under Texas

         Election Code §31.001(a), serves as the State's Chief Election Officer.



         4The Court has taken judicial notice of the evidence attached to Plaintiffs' Request for
Judicial Notice (docket no. 93). Defendants did not oppose the Court taking judicial notice of the
official government web pages cited in the order. Defendants did question the relevancy of
exhibit A-6, which is simply a hard copy of screen shots that may be found on the official
government website in question. The Court considered the screen shots in exhibit A-6 that are
relevant to the issues herein and consistent with the undisputed evidence in the record. Many of
the documents attached to Plaintiffs' Request for Judicial Notice are in other parts of the record
with no objection thereto.

                                                   3


                                                                                 APPENDIX 208
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG    Document 105 Filed
                                      77-1   Filed05/29/20
                                                   05/10/18 Page
                                                             Page219
                                                                  4 ofof61
                                                                         797



2.       Defendant Steven C. McCraw is the Director of the Texas Department of Public Safety

         ("DPS"). DPS operates offices around the State and issues Texas driver's licenses. All

         references to "driver's licenses" herein refer to Texas driver's licenses issued by DPS.

3.       DPS is responsible for transmitting information to SOS about eligible driver's license

         applicants who      during covered driver's license transactions with DPS      indicate they

         wish to (1) register to vote, or (2) update their voter registration information. This

         information is transmitted by DPS to SOS in the voter registration extract file.

4.       Plaintiffs Jarrod Stringer, Benjamin Hemandez, and John 0. Woods, III (collectively,

         "Plaintiffs") changed their addresses on their DPS-issued driver's licenses through online

         transactions on Texas.gov.

5.       Plaintiffs' counsel sent the Secretary of State letters dated May 27, 2015, October 23,

         2015, and November 18, 2015, describing the change of address transactions in paragraph

         4, and stating their allegation that DPS's and SOS's handling of these transactions

         violated the National Voter Registration Act.

6.       Among other requirements, an applicant must be a U.S. citizen to be eligible to renew his

         driver's license or change the address on his driver's license online.

7.       An applicant completing an online transaction to renew his driver's license must enter his

         driver's license number, date of birth, the last four digits of his social security number,

         and the audit number on his driver's license.

8.       An applicant completing an online transaction to change the address on his driver's

         license     or an applicant who changes the address on his driver's license when renewing

         it online    must enter his driver's license number, date of birth, the last four digits of his

         social security number, the audit number on his driver's license, his home address (street,




                                                                                    APPENDIX 209
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG    Document 105 Filed
                                      77-1   Filed05/29/20
                                                   05/10/18 Page
                                                             Page220
                                                                  5 ofof61
                                                                         797


         city,   state, zip code, and county) and, if different than his home address, his mailing

                 address (street, city, state, zip code, county, and country).

9.       The voter registration application on the SOS voter website is found here:

         https://webservices.sos.state.tx.us/vrapp/index.asp

10.      Between April 2013 and February 26, 2016, Step 5 of the online renewal and change of

         address interface prompted the applicant to select "yes" or "no" beneath the statement "I

         want to register to vote. Selecting 'yes' does not register you to vote. A link to the [SOS]

         voter website (where a voter application may be downloaded or requested) will be

         available on your receipt page." (emphasis original)

11.      The signature that appears on the license generated as a result of a customer's online

         driver's license renewal or change of address transaction is an image of the applicant's

         physical signature, electronically captured during the applicant's most recent in-person

         transaction in a DPS field office. (On the DL-14A and DL-43 forms this is referred to as

         the applicant's "electronic signature")

12.      Plaintiffs did not submit a change of address that relates to a Texas driver's license in

         person during the change of address transactions that form the basis of Plaintiffs' claims

         in this lawsuit.

13.      Plaintiffs did not submit a change of address that relates to a Texas driver's license by

         mail during the change of address transactions that form the basis of Plaintiffs' claims in

         this lawsuit.

14.      Plaintiffs did not complete a voter registration application on the Secretary of State's

         website through the link provided on the receipt page at the end of the change of address

         transactions that form the basis of Plaintiffs' claims in this lawsuit.




                                                                                   APPENDIX 210
    Case
  Case   5:16-cv-00257-OLGDocument
       5:20-cv-00046-OLG    Document 105 Filed
                                   77-1   Filed05/29/20
                                                05/10/18 Page
                                                          Page221
                                                               6 ofof61
                                                                      797



15.     After receiving the letters described in Stipulation 5, Defendants offered, through

        Plaintiffs' attorneys, to confirm Plaintiffs' voter registration status and provide assistance

        in updating their voter registration if they desired.

16.     Plaintiffs did not attempt to renew their Texas driver's license online during the change of

        address transactions that form the basis of Plaintiffs' claims in this lawsuit.

17.     Plaintiffs are currently registered to vote in the counties where in the letters referenced in

        Stipulation 5 each Plaintiff indicated they wished to be registered.

18.     Plaintiff Jarrod Stringer did not attempt to cast a ballot in the federal general election in

        2012.

19.     Plaintiff Jarrod Stringer was able to cast a ballot in the 2016 federal general election.

20.     Plaintiff John Woods was able to cast a ballot in the 2012 and 2016 federal general

        elections.

21.     Plaintiff Benjamin Hernandez was able to cast a ballot in the 2012 and 2016 federal

        general elections.

22.     There were no special federal elections in Texas in 2013 and 2015.

(Docket no. 94, Exh. A).

        The record reflects the following additional facts. Although these facts are not stipulated,

they are generally undisputed:

        Each named Plaintiff moved within Texas, changed his driver's license address using the

online driver's license renewal and change-of-address website,5 indicated "yes" in response to the


      5The official website for the State of Texas, referred to as Texas.gov, was established for
DPS and other state agencies to "put their services online" and provides "easy access to
government information and. . . secure online services. . . through a public-private partnership
between the State of Texas and Texas NICUSA,. . . the nation's leading provider of official
government portals, online services, and secure payment processing solutions." Docket no. 93-6,
p.11.

                                                                                  APPENDIX 211
    Case
  Case   5:16-cv-00257-OLGDocument
       5:20-cv-00046-OLG    Document 105 Filed
                                   77-1   Filed05/29/20
                                                05/10/18 Page
                                                          Page222
                                                               7 ofof61
                                                                      797


prompt "I want to register to vote," but was not registered to vote. Each Plaintiff was prevented

from fully exercising his fundamental right to vote in a subsequent election due to his outdated

voter registration record.

        Benjamin Hernandez had been a registered voter in Ector County, Texas since the age of

18. He retired from his job with the City of Odessa in February 2013 and moved to Dallas

County. He went online to change his driver's license address. After inputting his information,

Mr. Hernandez checked "yes" to the voter registration question and believed his voter

registration would be updated and he would thereafter be registered to vote in Dallas County. On

election day in 2014, Mr. Hernandez attempted to vote but was told his name was not on the rolls

in Dallas County. He was allowed to cast a provisional ballot but later received notice that his

vote was not counted because he was not registered to vote in Dallas County. See docket no. 94-

4, deposition of B. Hemandez, at 16:11-17, 21-24; 18:6-12; 19:2-8, 21-22; 27:18-20; 28:2-6, 16-

25; 29:1-2, 8-11; 32:2-6, 17-22; 34:8-11, 23-25; 37:1-13. See also docket no. 77, appx.149-165.

        Dr. John Woods III changed his residence from Travis County to Harris County in June

2015. He went online to change his driver's license address. After inputting his identifying

information, he checked the box to register to vote. By checking "yes," Dr. Woods believed his

voter registration had been updated with the new address. But that did not happen. On election

day in 2015, Dr. Woods called Harris County to identify his polling location. He was told that he

was still registered in Travis County, rather than Harris County, and any provisional ballot cast in

Harris County would likely not be counted. Dr. Woods went to the polling location anyway, cast

his vote, and was later informed in writing that his provisional ballot was not counted. See docket

no. 94-6, deposition of John Woods, at 22:8-13; 25:16-25; 26:1-5; 52:7-25; 53:1-6; 62:3-6; 63:3-

25; 64:1-15; 65:1-9; 66:6-11. See also docket no. 77, appx. 188-204.



                                                 7
                                                                               APPENDIX 212
    Case
  Case   5:16-cv-00257-OLGDocument
       5:20-cv-00046-OLG    Document 105 Filed
                                   77-1   Filed05/29/20
                                                05/10/18 Page
                                                          Page223
                                                               8 ofof61
                                                                      797


       Jarrod Stringer moved from Tarrant to Bexar County and sought to change his address for

driver's license and voter registration purposes. He thought that the DPS website would enable

him to change his voter registration at the same time he changed his driver's license. Mr. Stringer

went online and input all the requested information. There was a box he could check if he wanted

to register to vote and he did so. Mr. Stringer believed he had "done the necessary steps to

become a registered voter in Bexar County." He then attempted to vote in November 2014 and

was told by poll workers that his name was not on the rolls. Mr. Stringer called Bexar County

and was told he could vote only for statewide elections because he wasn't registered to vote in

Bexar County. See docket no. 94-5, deposition of J. Stringer, at 15:8-24; 16:16-25; 17:1-5; 31:1-

5, 19-24; 32:16-33:1; 45:7-46:22; 47:8-17. See also docket no. 77, appx. 167-186.

       Plaintiffs' testimony regarding their personal experiences with DPS's online process is

consistent with the testimony of State officials and employees with knowledge of how the

process worked in the past and how it currently works. DPS operates offices around the State and

issues driver's licenses and other state identification cards. DPS is also a designated voter

registration agency, pursuant to 52 U.S.C. § 20506. DPS's in-person driver's license applications

(DL-14A),6 in-person renewal/replacement/change of address forms (DL-43),7 and mail-in


change of address forms (DL-64)8 currently serve as simultaneous voter registration applications

as required under the NVRA.9 However, DPS has not integrated voter registration into its online

process for driver's license renewal and change of address; thus, the driver's license application



       6Docket no. 93, exh. A-7.

       7Docket no. 93, exh. A-8.

        8Docket no. 93, exh. A-9.

        9Until May 2015, DL-64 did not include any question about whether the applicant wanted
to register to vote. Docket no. 77, appx. 116 (admission no. 21).

                                                  8
                                                                                APPENDIX 213
    Case
  Case   5:16-cv-00257-OLGDocument
       5:20-cv-00046-OLG    Document 105 Filed
                                   77-1   Filed05/29/20
                                                05/10/18 Page
                                                          Page224
                                                               9 ofof61
                                                                      797


and voter registration application remain separate processes rather than one simultaneous

transaction. 10

        Texas has an NYRA implementation plan which explains: "The Department will [provide

to each person who applies in person] a form and procedure that combines the department's

application form for a license, identification card or EIC with an officially prescribed voter

registration application form. . . The form will also inform the applicant that the applicant's

electronic signature provided to the department will be used for submitting the applicant's voter

registration application." Docket no. 77, appx. 30 (emphasis added).1' The implementation plan

further states that the "department will use a change of address form and procedure that combines

department and voter registration functions. The change of address form submitted in person will

allow a licensee or cardholder to indicate whether the change of address is also to be used for

registration purposes." Id. (emphasis added). On "[e]ach weekday the Department is regularly

open for business, the Department will electronically transfer to the Secretary of State (SOS) the

name and relevant data regarding each applicant who is of voting age and a United States citizen

who affirmatively answered the voter registration question." Docket no. 77, appx. 31 (emphasis

added). This plan was implemented after the enactment of the NVRA and confirms Texas's




        '°The process for driver's license change of address and renewal is "combined online
it's one system interface." Docket no. 94-12, deposition of S. Gipson, at 37:10-16; docket no.
77, appx. 117, admission no. 5 ("the [Texas.gov] website provides a single online process for
qualified applicants to renew their driver's license, update the address listed on their driver's
license, or complete both processes in a single online transaction"). But voter registration is a
completely separate transaction that must be done through SOS. Docket no. 94-12, deposition of
S. Gipson, at 78:1-9; 94:1-4; see also docket no. 77, appx. 118 (admission nos. 10, 11).

         "The form states: "By providing my electronic signature, I understand the personal
information on my application form and my electronic signature will be used for submitting my
voter's registration application to the Texas Secretary of State's office. Wanting to register to
vote, I authorize the Department of Public Safety to transfer this information to the Texas
Secretary of State." Docket no. 77, appx. 40, deposition of K. Ingram (SOS) at 62:18-63:1.


                                                                                APPENDIX 214
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page225
                                                               10 of
                                                                  of 61
                                                                     797


understanding that the driver's license/voter registration process must be "combined" in one

simultaneous transaction and that electronic signatures would be used for voter registration

purposes.

       When a "motor voter" applies for a Texas driver's license the first time, he must appear

in person. During the transaction he signs a key pad which captures his electronic signature.'2

After a driver's license is issued, subsequent transactions (for renewal, replacement, or change of

address) may be handled by mail, online, or even by phone. For voter registration purposes, the

change of address forms submitted by mail have been handled in the same manner as

renewal/change of address forms submitted in person. In both form DL-43 (the in-person

application for renewal/replacement/change of address) and form DL-64 (the mail-in application

for change of address) the driver's license and voter registration applications have been

integrated or combined into one simultaneous transaction so that a customer need only check a

single box indicating that he/she would like to register or update his/her voter information. After

checking the box during the transaction, no further steps are necessary.'3 DPS receives the

information and the motor voter's previously stored electronic signature, along with all other

identifying data, is electronically submitted to SOS to be used for voter registration purposes.'4

Upon receipt, the SOS then transmits the data to local registrars for completion of the voter




       '2See docket no. 94-8,   deposition of S. Gipson (DPS), at 234:11-24.

        '31n other words, there is no need to go to SOS to obtain, print, complete, sign, and mail a
separate voter registration application.

        '4Docket no. 94-7, deposition of Betsy Schonhoff, SOS voter registration manager, at
28:3-4 ("We get application files from them on a daily basis for voter registration"); docket no.
77, appx. 117, RFA 26 ("Admits that the information DPS transmits to SOS about each applicant
for voter registration includes a digital image of the applicant's signature").

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                                                                                APPENDIX 215
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page226
                                                               11 of
                                                                  of 61
                                                                     797


registration process.15 Although the in-person and mail-in renewal/change of address forms

contain a blank for a signature, neither DPS nor SOS use the signature on paper.16 Instead, DPS

and SOS use the previously stored electronic signature. 17 In fact, SOS admits that it never uses

paper signatures obtained through DPS transactions     it uses only previously imaged electronic




       '5As B. Schonhoff further explained:
       Q: So DLS is the diver's license system, correct?
       A: That's what I understand, right.
       Q: And how does that system function within that process, the transfer process?
      A: It's my understanding that when the operator enters an application into the DLS
      system and indicates that a person wants to be a registered voter, that information is then
      warehoused, if you will, at the State, and every night the State groups up those
      applications and send them well, we get them as a single file. So depending on for the
      DPS applications, I think we actually go pull they produce the file, and then we go pull
      it and process it through our system on a daily basis.
      Q: What do you mean by "our system"?
      A: I'm sorry, the voter registration system, the team database system where we actually
      part the addresses and give that information out to the voter registrars of the county.
(Docket no. 94-7, deposition of B. Schonhoff, at 68:1-20).

        16See docket no. 94-8, deposition of S. Gipson (DPS), at 254:4-7 (Q: So DPS was never
actually scanning physical ink signatures from paper and then transmitting them to SOS...
A: No, we were not). See also docket no. 94-10, deposition of J. Crawford (DPS), at 73:17-25
(Q: Does the DLS only store electronic signatures? A: Yes... . Q: Sure. Does the DLS only store
signatures which are input using the keypad? A: The DLS database itself, yes, it only stores
signatures that are collected on those electronic pads); 76:20-2 1 (Q: Are signature files ever
removed from DLS? A: No.); 77:6-16 (Q: If a person's record has more than one signature
associated with that record, which signature would be batched and sent to the Secretary of State
with the voter extract. . . file? A: The most recently captured one).

       '7See  docket no. 94-10, deposition of J. Crawford, at 139:10-21 (Q: [T]he mail-in change
of address, the current one. . . [w]ith regard to the batch that's sent to the Secretary of State at
night for the voter registration, if the person answers "yes" on their change of address that's
mailed in and that's input into DLS, it's the electronic signature that was previously provided the
last time that person went in person. That's the signature that goes to the Secretary of State. Is
that right? A: Yes, that's correct).

                                                 11


                                                                                APPENDIX 216
    Case5:20-cv-00046-OLG
   Case   5:16-cv-00257-OLG Document
                             Document77-1
                                      105 Filed
                                           Filed05/29/20
                                                 05/10/18 Page
                                                           Page227
                                                                12 of
                                                                   of 61
                                                                      797


signatures for voter registration purposes.'8 As Keith Ingram, the SOS 30(b)(6) representative,

testified:

         Q: So you identified for me or explained to me why      what the electronic signature or the

         keypad signature at DPS is used for. It's used for the signature that's required in the

         Texas Election Code. You read me the section. Is that right?

         A: That's right.

         Q: What's the ink signature on the DPS's physical forms used for as far as voter


         registration?

         A: I don't know. I don't know if it's used for anything. Once they've applied in person at

         the office, they've signed it electronically.

                                                 *   *    *



         Q: On the. . . driver's license fonns. . . it says, "By providing my electronic signature, I


         understand the personal information on my application form and my electronic signature

         will be used for submitting my voter registration application to the Secretary of State's

         Office." Correct?

         A: That's what it says.

         Q. Okay. And so that's indicating to the prospective voter that the electronic signature is

         what's used as the signature that's compliant with the Texas Election Code?

         A: The physical signature that's electronically captured, yes.



         '8See docket no. 77, appx. 117, admission no. 26 (Defendants admit "that the information
DPS transmits to SOS about each applicant for voter registration includes a digital image ofthe
applicant's signature"); appx. 118, admission nos. 10, 11 (Defendants admit "that individuals are
not registered to vote in connection with their interactions with DPS unless they submit an image
of their signature, either by submitting a signed application by mail, or providing an electronic
image of their physical signature in person at a DPS location") (emphasis added).

                                                     12


                                                                                  APPENDIX 217
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page228
                                                               13 of
                                                                  of 61
                                                                     797


       Q: Okay. Back to your point about the online transactions not containing a signature, the

       DPS does use the prior provided electronic signature that     for the driver's license that

       they the customer used      provided the last time they were in person. Correct?

       A: Presumably, yes.

       Q: The same goes for the mail-in change of address transaction      are you looking at your

       driver's license there?

       A: Yeah. Because this one was renewed online, and so I guess that I wrote that signature

       at their signature capture device quite a while ago.

       Q: For the mail-in change of address form that. . . DPS receives that has the voter


       registration question, there is not an electronic signature or a use your phrase      the

       physical signature provided on a keypad provided for that change of address interaction.

       Correct?

       A: No. There's a physical signature on the    on the address change application.

       Q: Right. But the information that gets sent on to the voter registrars through the


       Secretary of State's Office is the data that's pulled from that form and then the electronic

       signature that was previously provided by the customer in person at a DPS office?

       A: That's my understanding, yes.

       Q: Well, is that the Secretary of State's understanding?


       A: That is the Secretary of State's understanding. You bet.

Docketno. 94-11, appx. 39, 42, depositionofK. Ingram, at 50:1-11; 95:14-97:14.

       Sheri Gipson with DPS also testified:

       Q: So the signature that is sent for an in-person transaction where someone answers "yes"


       to the voter registration question and   and similarly when someone changes their address


                                                13


                                                                                APPENDIX 218
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page229
                                                               14 of
                                                                  of 61
                                                                     797



         excuse me    address via the mail, the signature that's sent for both of those voter

       registration applications, that's the electronic signature; is that right?

       A: That is correct.

       Q: And that's sent to the Secretary of State?


       A: That is correct.

       Q: Okay. The ink signature is never sent to the Secretary of State, correct?


       A: That is correct.

                                               *   *    *



       Q: Does anyone go through and compare these two?


       A: Not typically, no.

                                               *   *    *



       Q: Okay. So then the mail-in signatures are never compared [with the stored electronic


       signatures].

       A: During the routine process, it would never be compared. .. . When I say "routine

       process," what I'm talking about is the individual that's processing that mail renewal

       application, they would never compare that signature.

Docket no. 77, appx. 69, deposition of S. Gipson, at 203:19-204:7; appx. 79 at 234:25-235:1;

236:19-237:9.

       Because preexisting electronic signatures, rather than signatures on paper, are used for

paper (in-person and mail-in) renewal and change of address transactions, it would seem logical

that preexisting electronic signatures would be used for paperless (online) transactions. Yet

Defendants claim that, under Texas law, renewal and change of address transactions performed

online require a signature on paper for voter registration purposes. As Mr. Ingram testified:


                                                   14


                                                                                    APPENDIX 219
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page230
                                                               15 of
                                                                  of 61
                                                                     797


       Q: So in that same way, the online transaction could utilize the previously provided

       electronic signature that was provided in person by the customer for the voter registration

       application form that gets to the voter registrar in the same way that the change of address

       mail-in occurs?

       A: It could if the law allowed it, but the law doesn't allow it, so it can't.

       Q: What portion of the [Texas] law doesn't allow it?

       A: 13.002(b).

Docket no. 94-11, deposition of K. Ingram, at 97:15-24; docket no. 77, appx. 42.

Because Defendants assert that Texas law requires a signature on paper, and a signature on paper

during a paperless transaction is not possible, Defendants essentially claim they should be

excused from compliance with the NVRA when it comes to online renewal and change of

address transactions.19

       Prior to 2013, a motor voter who engaged in an online/paperless transaction for a driver's

license renewal or change of address would provide the same in-depth identifying information

required for an in-person or mail-in transaction, but when reaching the question of whether he

would like to register to vote or update his voter information, checking the "yes" box would

automatically default to "no." Thus, while the user may have been led to believe that his "yes"

answer would result in updating his voter information, and there was the appearance of

compliance with the NVRA, there was never an intent on the part of DPS or SOS to actually

update the voter registration information. Thus, the answer to the question regarding voter



        '9As Ms. Gipson explained, for online transactions, Texas has decided that a previously
captured electronic signature is sufficient for driver's license purposes, but they've refused to
accept the same electronic signature for voter registration purposes. Docket no. 77, appx. 70,
deposition of S. Gipson, at 215:21-216:7.

                                                  15


                                                                                  APPENDIX 220
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page231
                                                               16 of
                                                                  of 61
                                                                     797


registration was completely meaningless. SOS was aware of the NVRA requirements. SOS was

also aware that the online voter registration question, programmed to automatically default to

"no," was completely meaningless.2° As Mr. Ingram testified:

       Q: Why is there a voter registration question on the online DPS transaction     application?

       Excuse me.

       A: Well, I imagine it's because of Section 5 of the National Voter Registration Act of

       IvIJ
       Q: Could you elaborate on that a little bit?


       A: Sure. The National Voter Registration Act of 1993 required that motor vehicle

       agencies, in our case the DPS, whenever a person has a driver's license transaction

       driver's license transaction, that they should simultaneously offer the right   the ability to

       update their voter registration or register to vote for the first time. That's why the NVRA

       is called the Motor Voter law.

                                              *   *    *



       Q: Okay. So in     back in 2012, the Secretary of State's office was aware that the answer

       to the "do you want to register to vote" question online was defaulting to no. Is that

       correct?

       A: Right.

       Q: Was there any     any discussion at that point with the Department of Public Safety to

       to make that change?


       200r worse, it could have led to voter registration data being purged. Legislative history
suggests that a key concern when enacting the NVRA was abuse of the purging efforts, so
Congress specifically prevented states from removing voters from the rolls for failure to vote or
failure to respond to a change-of-address notification. See H.R. Rep. No. 103-9, at 16 (1993),
reprinted in 1993 U.S.C.C.A.N. 105, 120.

                                                  16


                                                                               APPENDIX 221
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page232
                                                               17 of
                                                                  of 61
                                                                     797



       A: Not that I recall.

Docket no. 77, appx. 40-41, deposition of K. Ingram at 62:4-17; 84:24-85:8.

       As explained in Mr. Ingram's deposition, the automatic default to "no" for voter

registration was the subject of a 2012 complaint by an unidentified motor voter. Docket no. 77,

appx. 41, deposition of K. Ingram at 83:15-85:3. sos responded: "That is something we can

discuss with DPS in the future." Docket no. 77, appx. 41, deposition of K. Ingram at 84:16-18.

Mr. Ingram did not recall any subsequent discussions. After some passage of time, DPS did

remove the automatic default to "no." Docket no. 77, appx. 41, deposition of K. Ingram at 82:7-

13.

       Thereafter, until February 27, 2016, Step 5 of the online renewal and change of address

interface was changed to prompt the applicant to select "yes" or "no" beneath the statement "I

want to register to vote." It no longer defaulted to "no," but selecting "yes" did not provide a

simultaneous voter application. Instead, it gave the user a link to the SOS voter registration

website for a completely separate application process. Docket no. 77, appx. 118, admission no. 7.

       After February 27, 2016, Step 5 of the online renewal and change of address interface was

changed to prompt the applicant to select "yes" or "no" to answer the question "Do you want to

request a voter application?" Docket no. 77, appx. 118, admission 8, 9. While the online process

currently accepts a "yes" answer to the voter application question, the transaction still ends there.

The user is still not provided a simultaneous application for voter registration purposes. Instead,

when a user responds with a "yes" answer to the voter application question, the user is simply

given a website link to the SOS office.2' See Stipulation no. 10, p. 5, supra. If the user goes to the


       21See Docket no. 77, appx. 45, deposition   of K. Ingram at 182:5-10 ("When they select
yes to voter reg online, they are merely presented with a link and has no indication of whether or
not they actually registered to vote").

                                                  17


                                                                                 APPENDIX 222
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page233
                                                               18 of
                                                                  of 61
                                                                     797


SOS website, he must request and fill out a completely separate voter registration application as

if there had been no DPS transaction at all.22 For an in-county change of address, SOS will

handle the transaction but it's still a completely separate process from the DPS transaction. For

an out-of-county change of address, the application must be retrieved, printed, filled out, and

mailed or delivered in person to the county registrar in order to update the voter registration. The

application seeks the same information required by DPS for an online driver's license change of

address but the motor voter must go through a completely different governmental entity (SOS)

with a completely separate application process.23 Thus, it is indisputable that the online DPS

renewal/change of address transaction and SOS voter registration transaction are not

simultaneous, but rather entirely separate application procedures conducted through separate

agencies.24   If the motor voter does not take these extra steps go to the SOS website, request an



        22See docket no. 77, appx. 78, deposition of S. Gipson at 136:20-137:21 (the voter
registration process "is separate").

       23See Docket no. 94-7, deposition    of B. Schonhoff (SOS), at 157:19-158:18 (they would
have to fill the same information out twice).

       24See Docket no. 94-7, deposition    of B. Schonhoff (SOS), at 159:23-160:11:

       Q: Does SOS track information about whether a DPS customer clicks "yes" to the voter
       registration question on the online application?
       A: For the DPS application?
       Q: Yes.
       A: No, not to my knowledge.
       Q: Okay. Does SOS track information about whether a DPS customer using an online
       diver's license or filling out an online diver's license application, whether that person
       clicks through to the SOS website?
       A: No to my knowledge.
       Q: And why not?
       A: It's not our application. It's not our software. It's not our website.




                                                  18


                                                                                APPENDIX 223
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page234
                                                               19 of
                                                                  of 61
                                                                     797


application, print out the application, fill out and sign the application, and then mail or hand

deliver it to the country registrar   he will not be registered to vote.

        Both DPS and SOS claim they cannot comply with the NVRA and integrate DPS online

renewal/change of address with SOS voter registration to provide a simultaneous application

because the Texas Election Code requires a signature. Docket no. 94-7, deposition of B.

Schonhoff, at 195:11-17; see also docket no. 94-11 and docket no. 77, appx. 42, deposition of K.

Ingram, at 97:15-24. Yet SOS admits that it uses previously stored electronic signatures for all

voter registration applications that originate with DPS regardless of whether those applications

are paper transactions. As Betsy Schonhoff testified:

        Q: The signature that Secretary of State is currently using for voter registration


        applications is an electronic signature that is provided when a person goes in person to a

        DPS office; is that right?

        A: When they are      when they are in the application file, you mean?

        Q: Yes, the voter registration application.


        A: Yes, It's what they have signed on that signature pad. That's my understanding.

        Q: Turning your attention to the mail-in change of address.        You acknowledge that the

        Secretary of State does receive voter registration applications from change of address

        mail-ins that DPS processes; is that correct?

        A: That's correct.

        Q: Yes.


        A: It is my understanding they treat in-person just like     mail just the same as in person.

        Q: But the mail-in     correct me if! am wrong the mail-in address to the application for

        update with DPS, the signature that's on that form is not extracted and somehow the


                                                   19


                                                                                    APPENDIX 224
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page235
                                                               20 of
                                                                  of 61
                                                                     797


        Secretary of State gets access to it; is that correct?

       A: That's my understanding.

       Q: . . . It is your understanding that the current law requires a signature for the voter

       registration application. Do I have that right?



       Q: The mail-in forms that you all are getting information from, from DPS, uses the prior

       provided electronic signature from that customer; is that right?

       A: That's my understanding.

Docket no. 94-7, deposition of B. Schonhoff, at 195:18-196:25.

       Defendants also stipulate that DPS uses electronic signatures for all online driver's

license renewal or change of address transactions. Docket no. 94, Stipulation 11 ("The signature

that appears on the license generated as a result of a customer's online driver's license renewal or

change of address transaction is an image of the applicant's physical signature, electronically

captured during the applicant's most recent in-person transaction in a DPS field office (On the

DL- 1 4A and DL-43 forms this is referred to as the applicant's 'electronic signature')")

Defendants admit that they even use electronic signatures for driver's license transactions

conducted over the telephone. See docket no. 94-12, deposition of S. Gipson, at 175:2-23

("Telephone transactions are handled in the same manner as an online transaction. . . Q: So

when a customer renews a driver's license on       over the telephone, does DPS use the signature

that was previously on file to   to put on the customer's renewed driver's license? A: Yes.").

       Defendants admit that the personal information required for authenticating online

transactions is equal to or even more rigorous than the identifying information used for in-person




                                                                                 APPENDIX 225
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page236
                                                               21 of
                                                                  of 61
                                                                     797


and mail-in transactions.25 They also admit there are no technological barriers to simultaneous

online transactions. Again, Ms. Schonhoff testified:

       Q: . . . If they send   DPS collects and sends to you, the Secretary of State's office, all of

       the information they currently send to you for in-person transactions where the individual

       checks "yes," I want to register to vote, they send you all of that same information, the

       same data points, the same electronic signature, the TEAM system on your end could

       process it in the same way that it currently processes the information that comes for in-

       person transactions at DPS?

       A: From a technical standpoint?

       Q: Yes.


       A: That's correct.

Docket no. 94-7, deposition of B. Schonhoff, at 222:9-22.

       And Mr. Ingram also testified:

       Q. Well. . . going back to the mail-in change of address with DPS, that information goes


       on to the Secretary of State. If someone chooses to register to vote, that signature is

       retrieved from DLS and sent on to the Secretary of State. Right?



       25See docket nos. 94-8 and 94-12, deposition of S. Gipson (DPS), at 237:16-20 (Q: How
does DPS go about verifying the information submitted online for the online change of address or
renewal form? A: Again, the only verification that's done there is their log-in credentials); 234:2-
9 ("They're ... well, the only thing that they're changing is their address. But they're they're
verifying who they are through the authentication process that occurs up front by providing key
pieces of data, which is their. . . name, the driver-license number, date of birth, the audit number
that's on the card they currently hold, and the last four of their Social.") (emphasis added);
224:12-14 (Q: What about an audit number, is that requested on paper forms? A: No, it's not.).
See also docket no. 94-9, deposition of E. Hutchins, at 28:4-25; 30:4-3 1:16; 33:8-34:1
(authentication of users on DPS ' s online process for driver's license renewal and change of
address is done in real-time). Compare docket no. 93-8 (in-person); 93-9 (mail-in); and 93-10
(online).

                                                  21


                                                                                 APPENDIX 226
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page237
                                                               22 of
                                                                  of 61
                                                                     797


       A: It's retrieved from wherever they keep it, yes.

       Q: Okay. And, presumably, that same signature could be sent on if the person answered


       yes to the voter registration question online?

       A: If it was legal to do so. I've already told you! think that's technically possible. You

       bet.

       Q: Okay.   And-
       A: And I don't think it would cost a lot of money.

                                               *   *    *



       Q: But the Secretary of State does know that DPS is able to pull the proper signature to


       send on for voter registration purposes to the Secretary of State for mail-in change of

       address forms?

       A: I'm not arguing with you that this is not possible. That is not my argument at all. My

       argument is exactly to the contrary. This is a very possible thing to do what you're saying

       if it was legal, and it's not legal. . . So I'm not contesting the logistics of it. We can agree

       that it's a possible thing to do.

Docket no. 77, appx. 45, deposition of K. Ingram at 184:12-185:1; 186:5-16. See also docket no.

94-9, deposition of E. Hutchins, at 99:22-100:2; docket no. 94-10, deposition of J. Crawford, at

142:6-18; 143:12-144:2 1 (DLS could send all the information it currently obtains to the Secretary

of State's office, and "it could also send the previously provided electronic signature from that

customer, just like it does with a mail-in change of address").26 While feasible, Defendants refuse


       26When motor voters submit a mail-in a change of address form, a DPS employee
manually inputs all of the responses into the DLS via computer, including the response to the
question of whether he or she would like to register to vote (docket no. 77, appx. 120, RFA 23)
and the stored electronic signature is used. Thus, there is no real distinction in processing of
online transactions and mail-in transactions other than the physical signature on the mail-in form,

                                                   22

                                                                                  APPENDIX 227
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page238
                                                               23 of
                                                                  of 61
                                                                     797


to use the voter information and technology currently available because they claim the Texas

Election Code does not allow the use of previously captured electronic signatures for online

transactions   even though they already use them for mail-in and in-person transactions.

Plaintiffs disagree with Defendants' legal argument and assert that because SOS uses previously

captured electronic signatures for voter registration purposes in all other instances, there is no

reason why Defendants cannot use those same electronic signatures for online transactions.

                                                  Iv.

                                      Overview of the NVRA

       The NVRA was enacted in 1993 pursuant to Congress's constitutional authority under the

Elections clause to "make or alter regulations" which have an effect upon federal elections. U.S.

CONST. art. 1, § 4, cl. 1. Specifically, Congress found that

        (1) the right of citizens of the United States to vote is a fundamental right;

        (2) it is the duty of the Federal, State, and local governments to promote the exercise of

       that right; and

        (3) discriminatory and unfair registration laws and procedures can have a direct and

        damaging effect on voter participation in elections for Federal office and

        disproportionately harm voter participation by various groups, including racial minorities.

52 U.S.C. § 2050 1(a)(1)-(3).

        The stated purposes of the Act are

        (1) to establish procedures that will increase the number of eligible citizens who register

       to vote in elections for Federal office;



which is not compared with the electronic signature, not used for DPS purposes, and not
forwarded to SOS for voter registration purposes.

                                                  23


                                                                                 APPENDIX 228
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page239
                                                               24 of
                                                                  of 61
                                                                     797


       (2) to make it possible for Federal, State, and local governments to implement this

       chapter in a manner that enhances the participation of eligible citizens as voters in

       elections for Federal office;

       (3) to protect the integrity of the electoral process; and

       (4) to ensure that accurate and current voter registration rolls are maintained.

52 U.S.C. § 20501(b)(1)-(4).

       Based on these findings and for these stated purposes, Congress imposed national

procedures for voter registration for elections for federal office as follows:

       (a) In general

       Except as provided in subsection (b), notwithstanding any other Federal or State law, in

       addition to any other method of voter registration provided for under State law, each State

       shall establish procedures to register to vote in elections for Federal office

       (1) by application made simultaneously with an application for a motor vehicle driver's

       license pursuant to section 20504 of this title;

       (2) by mail application pursuant to section 20505 of this title; and

       (3) by application in person

       (A) at the appropriate registration site designated with respect to the residence of the

       applicant in accordance with State law; and

       (B) at a Federal, State, or nongovernmental office designated under section 20506 of this

       title.

52 U.S.C. § 20503 (emphasis added).

       Section 20504 specifically describes the requirements for a simultaneous application for

voter registration and motor vehicle driver's license:


                                                  24

                                                                                 APPENDIX 229
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   105 Filed
                                        Filed05/29/20
                                              05/10/18 Page
                                                        Page240
                                                             25 of
                                                                of 61
                                                                   797


    (a) In general

    (1) Each State motor vehicle driver's license application (including any renewal

    application) submitted to the appropriate State motor vehicle authority under State law

    shall serve as an application for voter registration with respect to elections for Federal

    office unless the applicant fails to sign the voter registration application.

    (2) An application for voter registration submitted under paragraph (1) shall be

    considered as updating any previous voter registration by the applicant.

                                            *   *    *



    (c) Forms and procedures

    (1) Each State shall include a voter registration application form for elections for Federal

    office as part ofan application for a State motor vehicle driver's license

    (2) The voter registration application portion of an application for a State motor vehicle

    driver's license

    (A) may not require any information that duplicates information required in the driver 's

    license portion ofthe form (other than a second signature or other information necessary

    under subparagraph (C));

    (B) may require only the minimum amount of information necessary to

    (i) prevent duplicate voter registrations; and

    (ii) enable State election officials to assess the eligibility of the applicant and to

    administer voter registration and other parts of the election process;

    (C) shall include a statement that

    (i) states each eligibility requirement (including citizenship);

    (ii) contains an attestation that the applicant meets each such requirement; and


                                                25


                                                                               APPENDIX 230
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page241
                                                               26 of
                                                                  of 61
                                                                     797


        (iii) requires the signature of the applicant, under penalty of perjury;

                                                *   *   *



        (d) Change of address

        Any change of address form submitted in accordance with State law for purposes of a

        State motor vehicle driver's license shall serve as notification of change ofaddress for

        voter registration with respect to elections for Federal office for the registrant involved

        unless the registrant states on the form that the change of address is not for voter

        registration purposes.

52 U.S.C. § 20504 (emphasis added).

        Section 20506(a)(5)(C) further states that "A person who provides service. . . shall not

    "take any action the purpose or effect of which is to discourage the applicant from

registering to vote."

        And finally, Section 20510 provides civil enforcement by the Attorney General and a

private right of action for any person "who is aggrieved by a violation of this chapter," 52 U.S.C.

§ 2051 0(a)-(b), and the "rights and remedies. . . are in addition to all other rights and remedies


provided by law," 52 U.S.C. § 205 10(d).

        The notice provision in § 20510(b) further states:

        (1) A person who is aggrieved by a violation of this chapter may provide written notice of

       the violation to the chief election officials of the State involved.

        (2) If the violation is not corrected within 90 days after receipt of a notice under

       paragraph (1), or within 20 days after receipt of the notice if the violation occurred within

        120 before the date of an election for Federal office, the aggrieved person may bring a

        civil action in an appropriate district court for declaratory or injunctive relief with respect




                                                                                   APPENDIX 231
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page242
                                                               27 of
                                                                  of 61
                                                                     797



        to the violation.

        (3) If the violation occurred within 30 days before the date of an election for Federal

        office, the aggrieved person need not provide notice to the chief election official of the

        State under paragraph (1) before bringing a civil action under paragraph (2).

52 U.S.C. § 205 10(b)(2)-(3).




                                              Analysis

        The Court will first address the issues that Defendants have raised in their defense, and

will then address the merits of Plaintiffs' case.

        A.      Statutory standing/notice

        Defendants claim that Plaintiffs lack statutory standing for failure to comply with the

notice provision in the NYRA, 52 U.S.C. § 20510. On May 27, 2015, Plaintiffs' counsel sent a

notice letter on behalf of Benjamin Hernandez and others explaining in detail the applicable law,

the NVRA violation made the basis of this lawsuit, and why the complainants believed their

rights were being violated. Docket no. 77, appx. 2. On October 23, 2015, Plaintiffs' counsel sent

a supplemental notice letter on behalf of Jarrod Stringer, explaining how the continuing violation

affected him and urging correction and compliance. Docket no. 77, appx. 23. On November 18,

2015, a second supplemental notice letter was sent on behalf of Dr. Woods, explaining his

experience and urging compliance with NVRA mandates and correction of the continuing

violations with online transactions. Docket no. 77, appx. 26. Defendants refer to the letters as

"purported notice" and claim that Plaintiffs "have not complied with the NVRA's mandatory

notice provision." Docket no. 82, pp. 2, 11. But Defendants do not explain why the letters should

be considered ineffective for notice purposes. The statute merely requires that "a person who is


                                                    27

                                                                                APPENDIX 232
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page243
                                                               28 of
                                                                  of 61
                                                                     797


aggrieved by a violation of this chapter may provide written notice of the violation." 52 U.S.C. §

2051 0(b)( 1). This requirement has been satisfied.

        In response to the notice letters, the parties exchanged several written communications

over a six month period, met in person, and attempted to work out the non-compliance issues

raised in the notice letters.27 Plaintiffs did ultimately get registered to vote, but Defendants

disagreed with Plaintiffs about what the NVRA requires and refused to take the steps that

Plaintiffs contend are required by the NVRA to cure the underlying violations. Plaintiffs filed

this lawsuit on March 14, 2016, more than 90 days after receipt of notice and an opportunity to

correct the violations. Docket no.

        Defendants rely on Scott v. Schedler, 771 F.3d 831 (5th Cir. 2014), for the proposition

that they cannot be sued if the aggrieved person is registered to vote within 90 days after notice

of a violation.29 Neither the NVRA nor the holding in Scott supports this broad proposition, and

Defendants' argument ignores the underlying violations that occurred when Plaintiffs were not

provided simultaneous voter registration applications as required by the NYRA. In the Scott case,

the individual plaintiff, Luther Scott, Jr., never sent a notice letter. The NAACP sent a notice

letter to the Louisiana SOS, but never mentioned Scott. On appeal, Scott admitted that he himself

did not provide notice but claimed notice was not required from him personally because the

NAACP provided notice. Without reaching the merits of Scott's claim, the Fifth Circuit held that


        27Docket no. 77, appx. 99; admission no. 23.

      28More than two years has now passed. The online process has still not changed and
Defendants have indicated a refusal to make any changes.

       29Docket no. 82, p. 2 ("Plaintiffs lack statutory standing because it is undisputed that
following their purported 'notice' letters to the State Defendants offered their assistance in
confirming each Plaintiffs' voter registration and assisting any Plaintiff that wanted to update his
information.").

                                                  28


                                                                                  APPENDIX 233
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page244
                                                               29 of
                                                                  of 61
                                                                     797


"Scott's failure to provide notice is fatal to his suit." Scott, 771 F.3d at 836.

        Plaintiffs in this case did not fail to provide notice and Defendants have not corrected the

violations made the basis of Plaintiffs' complaint. Defendants' broad assertion       that offering

registration assistance after receiving notice excuses the prior/ongoing violation, strips the

plaintiff of standing, and precludes suit regardless of the nature of the violation ignores the

mandates of the NVRA, the facts and holding in the Scott case, and the facts and underlying

violations in this case.3° Plaintiffs have complied with the statutory notice requirements and have

standing to pursue their claims under the NVRA.31


        301n the Scott case, the individual plaintiff (who was intermittently homeless) complained
that he was not given a voter registration form when he visited the Louisiana Department of
Children and Family Services (LCFS) in person. 771 F.3d at 833. Scott did not give written
notice and his claim was dismissed on that basis alone. Id. ("We dismiss Scott's claim on
standing and notice grounds."). The LCFS did try to provide Mr. Scott with voter registration
forms in an attempt to cure the alleged violation which the Fifth Circuit noted, in dicta, was the
sort of response that pre-litigation notice was meant to encourage. Id. at 836. At the same time,
the Fifth Circuit considered the NAACP's claims which alleged violations far broader than the
narrow focus of Scott's individual claim and which the defendants had failed to cure after
receiving notice. In this case, Plaintiffs have complained that they were deprived of their
statutory right to a simultaneous voter registration application during their online transactions
with Texas DPS. In other words, Defendants failed to treat their online driver's license
applications as simultaneous voter registration applications and required them to subsequently
submit duplicate information for voter registration that was separate and apart from information
submitted during their driver's license transactions. See docket no. 1. Defendants were given pre-
litigation notice, but the violations in issue which are rooted in the failure to provide
simultaneous voter registration applications during online transactions have not been cured and
Defendants have not demonstrated a willingness to cure the violations. See Scoff, 771 F.3d at 836
(discussing futility argument when there is no demonstrated desire to comply with the NVRA).

        31Defendants also cite Georgia State Conference v. Kemp, 841 F. Supp. 2d 1320 (N.D.
Ga. 2012) for the proposition that "attempt[ing] to comply" with the relevant NVRA provisions
after receiving notice, if "more than an empty gesture," precludes litigation. Docket no. 88, pp. 6-
7. The violation in Kemp was the systemic failure to provide voter registration to persons seeking
public assistance. Simultaneous voter registration was honored for persons obtaining a hunting,
fishing, or trapping license, but not for persons seeking public assistance benefits. The court
found that the plaintiffs had stated a viable claim. Moreover, the court found all plaintiffs with
the exception of Mr. Murphy had complied with the notice provision. "Murphy's particular
situation was not made known to the defendants until they were served with the amended

                                                   29

                                                                                    APPENDIX 234
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page245
                                                               30 of
                                                                  of 61
                                                                     797


          B.     Article III standing/mootness

          To establish Article III standing, a plaintiff must show an "injury in fact" that is concrete,

particularized, and actual or imminent, not conjectural or hypothetical; that the injury is "fairly

traceable" to the challenged conduct of the defendant; and that it is likely, not merely speculative,

that the injury can be redressed by a favorable decision. Lujan v. Defenders of Wildlife, 504 U.s.

555, 560-61 (1992); Friends ofthe Earth, Inc. v. Laidlaw Environmental Services, 528 U.S. 167,

180-81(2000). Here, Plaintiffs were deprived of their individual right to simultaneous voter

registration applications at the time they engaged in the online DPS transactions to change their

driver's licenses. Plaintiffs would have been properly registered to vote in time for the following

election if Defendants had complied with the NVRA. The violation itself and the resulting

disenfranchisement is fairly traceable to Defendants' noncompliance with the NVRA. Plaintiffs

have articulated and shown an individualized dispute, rather than a generalized complaint. Court-

ordered compliance with the NYRA would prevent repetition of the same injury to Plaintiffs and

others.

          Defendants claim that their offer of assistance in updating Plaintiffs' voter information



complaint." 841 F. Supp. 2d at 1335. Thus, Murphy did not have standing. The court did note
that Georgia attempted to comply "with regard to Mr. Murphy" but that was not the basis for
dismissal. Instead, Mr. Murphy's claim was dismissed for failing to comply with the notice
requirement. Id. at 1335-36. The court refused to dismiss the remaining claims because the other
plaintiffs did provide notice, their claims were much broader, and Georgia's "efforts" to change
its practices were insufficient to render the controversy moot. Id. at 1338-39. In this case,
Plaintiffs have satisfied the notice requirement and Defendants have refused to modify their
practices. The NVRA plainly states that a violation must be "corrected," not just attempted. 52
U.S.C. § 2051 0(b)(2). In this case, Plaintiffs were subsequently provided voter registration
applications, but they were not provided simultaneous applications as required by the NYRA.
The failure to provide Texans with simultaneous applications during online DPS transactions still
persists. The State has refused to correct the violations made the basis of Plaintiffs' complaint
and, based on the deposition testimony of SOS and DPS officials, they have no plans to correct
the violations being asserted herein.

                                                    IJ

                                                                                   APPENDIX 235
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page246
                                                               31 of
                                                                  of 61
                                                                     797


and/or confirming their registration status after the violation renders this controversy moot. But

Defendants were simply providing the assistance that they are required by law to provide to

voters. See 52 U.S.C. § 20506 (a)(4)(A),(6)(c) (A voter registration agency shall provide

assistance to each applicant in completing voter registration forms unless the applicant refuses

such assistance). And compliance with one provision of the law does not render moot violations

of other provisions of the law. The underlying violations that form the basis of Plaintiffs'

complaint have not been corrected and continue unabated. The DPS online renewal and change

of address transactions do not serve as "simultaneous" applications for voter registration, in

violation of 52 U.S.C. § 20503(a)(l), 20504(a)(l); the separate SOS voter registration process is

not "part of' the DPS online driver's license transaction, as required by 52 U.S.C. § 20504(c)(1);

information required by SOS for a separate voter registration transaction "duplicates" the

information required by DPS for an online renewal or change of address transaction, in violation

of 52 U.S.C. § 20504(c)(2)(A); and the online change of address transaction does not "serve as

notification of change of address for voter registration," as required by 52 U.S.C. § 20504(d).

These are the violations that form the basis of Plaintiffs' complaint and these violations have not

been corrected despite notice and the ability to do so.

       Defendants' mootness argument also overlooks the two-fold nature of Plaintiffs' cause of

action. Plaintiffs contend that the State's online process itself is unlawful under the NYRA; thus,

they allege not only disenfranchisement, but also a violation of the statutory right to a

simultaneous application for both voter registration and driver's license renewal and change of

address. Defendants' assertion    that post-notice voter registration assistance effectively cures

any NVRA violation      ignores the clear mandates of the NVRA. The lack of voter registration

and resulting disenfranchisement were merely the symptoms of the underlying violation, and


                                                 31


                                                                                APPENDIX 236
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page247
                                                               32 of
                                                                  of 61
                                                                     797


treating the symptoms does not cure the underlying violation. Thus, the controversy is not moot

just because Plaintiffs were ultimately registered to vote.

        Defendants also argue that Plaintiffs' injuries are not redressable and their claims are

moot because they were disenfranchised only in past elections and the "capable of repetition"

exception to mootness does not apply because there is not a reasonable expectation that Plaintiffs

will be disenfranchised in this manner in the future. Voting-related lawsuits do not become moot

just because an election has passed. Ctr. for mdiv. Freedom v. Carmouche, 449 F.3d 655, 662

(5th Cir. 2006) ("Controversy surrounding elections laws. . . is one of the paradigmatic

circumstances in which the Supreme Court has found that full litigation can never be completed

before the precise controversy (a particular election) has run its course."). Because this

controversy is not moot, the case does not necessarily turn on the "capable of repetition"

exception to mootness. But this is exactly the type of violation that is capable of repetition yet

evading review. See Spencer v. Kemna, 523 U.S. 1, 17-18 (1998) (the doctrine applies when the

challenged action is in its duration too short to be fully litigated prior to cessation or expiration

and there is a reasonable expectation that the same complaining party will be subject to the same

action again). Defendants have refused to change their online process to allow simultaneous

voter registration applications. Thus, if these Plaintiffs (or others) were to relocate tomorrow, and

engage in an online DPS transaction to change their address, they would be deprived of their

right to simultaneously change their voter registration information. And unless these Plaintiffs (or

others) took further steps on their own, which the NVRA protects against, they would be

disenfranchised.32 Thus, whether the focus is on these particular Plaintiffs or others, the same




       32The mandates of the NYRA dictate exactly the opposite of what Defendants want
Texans to do to personally ensure they are registered to vote: engage in a second transaction that
requires a separate application with duplicate information and the burden of downloading,
printing, and mailing or personal delivery. Congress lifted these burdens to make voter


                                                                                  APPENDIX 237
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page248
                                                               33 of
                                                                  of 61
                                                                     797


injury is likely to occur again. See Carmouche, 449 F.3d at 662 (citing Storer v. Brown, 417 U.s.

926 (1974) and Dunn v. Blumstein, 403 U.S. 330 (1972) for the proposition that a case is not

moot if other individuals will be affected by the action being challenged). When a controversy is

truly moot, there is nothing left to remedy. In this case, Defendants' noncompliance with the

NVRA has continued unabated, and although resulting disenfranchisement may cease prior to a

remedy, the challenged action continues.

       Defendants further argue that Plaintiffs have failed to establish Article III standing

because their injuries stem from their own failure to take the extra steps to print, complete, and

mail paper voter registration forms through SOS as instructed in their online driver's license

transactions with DPS. The irony of this argument does not go unnoticed. In sum, Defendants

claim that Plaintiffs and others should never have Article III standing to sue for the State's

noncompliance with the NVRA if they do not follow the State registration process that allegedly

violates the NVRA. As Plaintiffs explained in their deposition testimony, they believed their

change of address transaction for driver's license purposes also served to update their voter

registration. They showed up at the polls to vote in the following election only to discover that

their registration had not been updated. Even if they did not complete the SOS registration

process (which they believed they had done), the failure to complete the extra steps put in place

by the State does not strip them of Article III standing to pursue a claim under federal law.

Nothing in the NVRA requires Plaintiffs or others to exhaust a state process before pursuing a

federal claim especially when the state process itself is alleged to violate the federal law being

enforced.




registration easier, yet Defendants ignore the NVRA mandate and impose requirements which
result in disenfranchisement if voters do not jump through all the hoops.

                                                 33
                                                                                APPENDIX 238
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page249
                                                               34 of
                                                                  of 61
                                                                     797


        Defendants rely upon the holding of the Fifth Circuit in Westfall v. Miller, 77 F.3d 868

(5th Cir. 1996). In that case, the court found a lack of standing because the plaintiff was

challenging a federal requirement that he obtain law enforcement certification before being

permitted to purchase a machine gun and he unsuccessfully sought certification from some, but

not all, of the officials who could provide it. Id. at 871. Westfall is distinguishable because the

plaintiff therein was challenging a federal regulation that required a specific process. In this case,

Plaintiffs are not challenging the NVRA; they are seeking to enforce it. And the state process that

Plaintiffs are challenging is not a federal process that the NVRA requires. Instead, the NVRA

mandates against the state process. Again, Defendants' argument that Plaintiffs are responsible

for their own injury because they failed to complete the State's registration process overlooks

Plaintiffs' claim that the State's registration process is itself unlawful, and thus they allege not

only disenfranchisement, but also a violation of their federal right to "[s]imultaneous application

for voter registration and . . . driver's license[.]" 52 U.S.C. § 20504. This statutory injury

remains cognizable regardless of whether Plaintiffs completed the state registration process that

they challenge under federal law. See Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1549 (2016), as

revised (May 24, 2016) ("Congress has the power to define injuries and articulate chains of

causation that will give rise to a case or controversy where none existed before."); Wendt v. 24

Hour Fitness USA, Inc., 821 F.3d 547, 552 (5th Cir. 2016) ("[t]he actual or threatened injury

required by Art. III may exist solely by virtue of statutes creating legal rights, the invasion of

which creates standing."); ACORNv. Fowler, 178 F.3d 350, 363 (5th Cir. 1999) (the NVRA's

private right of action "extend[s] standing under the Act to the maximum allowable under the

Constitution"); Arcia v. Florida Sec 'y ofState, 772 F.3d 1335, 1341 (11th Cir. 2014) ("Even

though they were ultimately not prevented from voting, an injury like theirs [being erroneously

identified as a non-citizen and removed from the voter rolls] is sufficient to confer standing.");

                                                  34
                                                                                  APPENDIX 239
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page250
                                                               35 of
                                                                  of 61
                                                                     797


Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009) ("A plaintiff need not

have the franchise wholly denied to suffer injury.").

        C.      Dr. Woods' standing

        Defendants also claim that Dr. Woods does not have standing individually to pursue a

claim under the NVRA because he was disenfranchised only in the 2015 election and the ballot

did not include any federal contests.33 This standing argument against Dr. Woods individually

may present a closer question than the standing challenges against Plaintiffs collectively. In

Broyles v. Texas, 618 F. Supp. 2d 661, 690-92 (S.D. Tex. 2009) the district court found the

NVRA inapplicable because the plaintiffs therein complained about irregularities in a municipal

special purpose election. The plaintiffs in Broyles did not allege or present "any evidence of

registration problems that affected their right to vote in a federal election or on any issue beyond

the [municipal] incorporation issue." Id. Although the Broyles court found that the NVRA did

not apply, it did explain that even if the NVRA did apply to municipal registration issues, the

plaintiffs therein did not satisfy the prerequisite notice requirement. Id. at 691. They waited until

after the municipal incorporation vote and then simply filed suit. 618 F. Supp. 2d 691 ("the

'notice' came in the form of a Summons and Original Complaint").

       The Court believes that deciding this issue based on whether a subsequent election is state

or federal and whether the plaintiff was disenfranchised in whole or in part is inconsistent with

traditional notions of standing. First, the NVRA' s private right of action "extend[s] standing

under the Act to the maximum allowable under the Constitution." ACORN v. Fowler, 178 F.3d at

363. Second, the presence of one party with standing is sufficient to satisfy Article III. Rumsfeld

v. Forum   for Academic & Institutional Rights, Inc., 547 U.S. 47, 52 n. 2 (2006); Texas v. US.,

        331t is undisputed that both Stringer and Hernandez were disenfranchised in 2014, a
federal election year. Thus, although Defendants repeatedly refer to "Plaintiffs" in making this
argument, it applies only to Dr. Woods.

                                                 35
                                                                                APPENDIX 240
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page251
                                                               36 of
                                                                  of 61
                                                                     797


787 F.3d 733, 747 (5th Cir. 2015). Third, a threat of impending injury is sufficient to satisfy

Article III standing. See Wendt, 821 F.3d at 552 ("[t]he actual or threatened injury required by

Art. III may exist solely by virtue of statutes creating legal rights, the invasion of which creates

standing"). Here, Plaintiffs have presented undisputed evidence of violations and immediate

injury (a failure to provide simultaneous applications for voter registration) that occurred at the

time of their online DPS transactions. They complied with the NVRA pre-litigation notice

requirements but Defendants failed to take the necessary steps to cure the statutory violation and

come into compliance. The threat of injury to Plaintiffs and others continues because Defendants

have refused to alter their practices.

        The statutory violation and requisite injury occurred at the moment Dr. Woods was

denied a simultaneous voter registration application. This should be sufficient to confer standing.

Later disenfranchisement (regardless of the nature of the election) furthered the injury, but the

violation and immediate injury had already occurred during the online transaction with DPS.

NVRA expressly reminds us that "it is the duty of the Federal, State, and local governments to

promote the exercise of [the fundamental right to votej." 52 U.S.C. § 2050 1(a)(2). And it is the

duty of "Federal, State, and local governments to implement this chapter. . .". 52 U.S.C. §

20501 (b)(2). The State of Texas has combined state and federal voter registration; thus, the

ability to vote in state and local elections will be affected by any federal violation in the

registration process. See ACORNv. Miller, 129 F.3d 833, 837 (6th Cir. 1997) (explaining that

NVRA registration requirements will affect state and local elections). More importantly, there is

nothing in the NVRA stating that a voter must be disenfranchised in a federal election before

they can bring an enforcement action. In fact, nothing in the NVRA states that a voter must be

disenfranchised at all. See 52 U.S.C. § 20510 (b)(1) ("A person who is aggrieved by a violation

of this chapter. . ."). The courts have recognized organizational plaintiffs' standing under the

                                                  36
                                                                                  APPENDIX 241
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page252
                                                               37 of
                                                                  of 61
                                                                     797


NVRA to sue states with unlawful registration procedures and they do not require the

organizational members to be disenfranchised. See, e.g., Scott, 771 F.3d at 837 (standing

conferred because organization expended resources on voter register drives outside public

assistance agencies); Fowler, 178 F.3d at 360-61 (same). To require more from an individual

voter like Dr. Woods who personally went through the process is inconsistent with the plain

language of the statute and basic principles of standing.

        D.      Waiver of immunity

        Defendants also assert that Plaintiffs have failed to validly invoke the NVRA's limited

waiver of immunity and are not entitled to bring an action under the Ex parte Young exception to

immunity.

        The NVRA imposed voter registration requirements on the states to ensure that all

practical barriers that make voter registration more restrictive or inconvenient are removed.

More than thirty years later, there are states that still refuse to comply with its mandates.

Congress's abrogation of immunity under the NYRA is clear and unequivocal. When a state fails

to comply with the Act, the Act authorizes judicial intervention. The Attorney General can seek

declaratory or injunctive relief, and the Act establishes a private right of action for individuals

aggrieved by a violation who meet the Act's notice requirement. 52 U.S.C. § 205 10(a),(b).

Defendants admit that they "each play a part in implementing the NVRA in Texas." Docket no.

82, p. 4. sos is chief election officer, and DP5 is a voter registration agency. Id. As such, they

may be sued in any enforcement action arising from violations. The evidence in this record

clearly shows that Plaintiffs met the Act's notice requirement and gave Defendants an

opportunity to cure. This private enforcement action is now appropriately before the Court.

Moreover, the Supreme Court has long recognized Equal Protection claims of this nature against

state officials tasked with carrying out laws that affect the rights of voters. Crawford v. Marion

                                                  37
                                                                                 APPENDIX 242
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page253
                                                               38 of
                                                                  of 61
                                                                     797


County, 553 U.S. 181 (2008) (Equal Protection claim against the Indiana Secretary of State and

others challenging state voter ID law); Burdick v. Takishi, 504 U.S. 428 (1992) (voter's Equal

Protection claim against Hawaii Director of Elections and others challenging state write-in voting

prohibition).

       E.       Renewal v. change of address

       Defendants also allege that Plaintiffs' challenge should be restricted to online change of

address transactions, not online renewal transactions, because Plaintiffs' transactions were for a

change of address rather than renewal. However, this argument seems to go to the underlying

reason for the transaction, rather than the lawfulness of the process being challenged. Regardless

of whether a Texan seeks to change his address or renew his driver's license online, the process

is the same and the outcome is the same. DPS uses the same website (Texas.gov) and the same

"Driver's License Renewal and Change of Address" system, which authenticates users, detects

eligibility, and processes data in the same manner for both renewals and changes of address.

Docket no. 94-9, deposition of E. Hutchins, at 30:4-31:16; 33:8-34:1; docket no. 94-12,

deposition of S. Gipson, at 37:10-16 (the process is combined online, "it's one system

interface"); docket no. 93, website links and exh. A-i, A-2, A- 10 (DPS/Driver' s License

Division online process for driver's license renewal and/or change of address). Neither type of

transaction, using the same online process, allows simultaneous applications for voter

registration as required by the NYRA. Docket no. 94-12, deposition of S. Gipson, at 37:10-40:5.

Given that Defendants have chosen to combine the online process and use the same system for

both change of address and renewal transactions, a change in programming to allow online

simultaneous voter registration would mean a change for both types of transactions. Likewise, an

NVRA violation in online change of address transactions imputes a violation in online renewal

transactions because Defendants admit that the online process (which encompasses both) does

                                                38
                                                                               APPENDIX 243
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page254
                                                               39 of
                                                                  of 61
                                                                     797


not allow simultaneous voter registration. Having combined the online process for both types of

transactions, both types of transactions fall within the same mandates under 52 U.S.C. §

20503(a)(1) and 20504 and will be affected by any relief granted herein. Accord Miller, 129 F.3d

at 837 (the State chose, as a matter of convenience, to implement one voter registration process

for federal, state, and local elections; thus, the registration obligations imposed by the Act affect

registration procedures associated with state and local elections). For these reasons, the issue to

be examined is whether DPS' s online process for driver's license renewal and change of address

violates the NVRA by failing to allow simultaneous applications for voter registration.

         In sum, the jurisdictional challenges and defenses raised in Defendants' motion for

summary judgment are virtually identical to those raised in their motion to dismiss, which the

Court previously denied. Docket no. 52. Nothing in the law or the record compels a different

conclusion at this stage of the proceedings.

         F.     Merits of the NVRA claims

         First, Plaintiffs contend Defendants have violated and continue to violate the NVRA by

failing to provide simultaneous applications for voter registration during online driver's license

transactions. Second, Plaintiffs contend Defendants have violated and continue to violate the

NVRA by requiring motor voters who use the online process to take additional steps to update

their voter registration and separately submit information through a different transaction with a

different agency that duplicates information required in the driver's license transaction. And

third, Plaintiffs allege that Defendants have violated the NVRA by failing to ensure eligible

applicants are registered to vote and to transmit voter registration information submitted online to

the appropriate State election official within the statutorily required timeframe. Docket no. 1, pp.

15-17.




                                                 39
                                                                                 APPENDIX 244
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page255
                                                               40 of
                                                                  of 61
                                                                     797


        1.      Statutory interpretation

       Because the parties disagree on the meaning of some of the applicable provisions in the

NVRA, the Court is guided by the governing principles of statutory construction. The first step is

to determine whether the statutory text, when considered in context, is plain and unambiguous. If

the statutory language is plain, the Court must enforce it according to its terms. King v. Burwell,

135 S.Ct. 2480, 2489 (2015) (citing Hardt v. Reliance Standard Li:fe Ins. Co., 560 U.S. 242, 251

(2010)). "[O]ftentimes the "meaning        or ambiguity of certain words may only become evident

when placed in context." Id. (citing FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120,

132 (2000)). "So when deciding whether the language is plain, we must read the words 'in their

context and with a view to their place in the overall statutory scheme." Id. (quoting, in part,

Brown & Williamson, 529 U.S. at 133). "Our duty, after all, is 'to construe statutes, not isolated

provisions." Id. (quoting, in part, Graham County Soil and Water Conservation Dist. v. United

States ex rel. Wilson, 559 U.S. 280, 290 (2010)). "A provision that may seem ambiguous in

isolation is often clarified by the remainder of the statutory scheme. . . because only one of the

permissible meanings produces a substantive effect that is compatible with the rest of the law."

King v. Burwell, 135 S.Ct. at 2492 (quoting United Say. Assn. of Tex v. Timbers ofInwood

Forest Associates, Ltd., 484 U.S. 365, 371 (1988)). The Court cannot interpret a federal statute in

a manner that negates its own stated purpose. See id. at 2495; see also New York State Dept. of

Social Servs. v. Dublino, 413 U.S. 405, 4 19-20 (1973).

       2.      The NVRA applies to motor voter transactions conducted online

       The requirements in the NVRA clearly apply to online transactions (also known as

electronic, remote, or internet transactions). There is nothing in the statute that expressly or

impliedly excludes online transactions; instead, the plain language of the NVRA indicates that it

applies to all transactions. See 52 U.S.C. § 20504 (a)(1) ("Each State motor vehicle driver's

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                                                                                 APPENDIX 245
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page256
                                                               41 of
                                                                  of 61
                                                                     797


license application. . .") and (d) ("any change of address form. . .") (emphasis added).

Numerous courts have determined that the NVRA applies to online or remote transactions with

the same force as it applies to in person and mail transactions. See, e.g., Action NC v. Strach, 216

F.Supp. 3d 597, 622-23 (M.D.N.C. 2016) ("[the] words 'each' and 'any' as used in NVRA

provision requiring that each state motor vehicle driver's license application serve as application

for voter registration and that any change of address form submitted shall serve as notification of

change of address for voter registration were unambiguous and reflected Congress' intent to

make the NVRA applicable to 'each' and 'every' covered transaction, irrespective of whether the

transaction occurred remotely or in person"); Kemp, 841 F. Supp. 2d at 1331-32 (explaining that

the NVRA cannot be read to cover only in-person transactions and Georgia's limited

interpretation and implementation that excluded internet transactions conflicted with its

acknowledgment that noncompliance likely led to decline in voter registration as more applicants

prefer to apply remotely).

       Defendants have not argued that the NVRA does not apply to online or remote

transactions. In fact, they have admitted that compliance with the NVRA is required for online

transactions. See docket no. 77, appx. 65, deposition of S. Gipson (DPS), at 94:5-12 (Q: Why

does DPS include a voter registration question during the online renewal and change of address

portion? A: So it is part of the plan between the Secretary of State and Department of Public

Safety in compliance with the voter registration question being combined as part of the

application process for a diver license or ID"); 95:5-15 (Q: What requires you to do that? A:

basically the NVRA and Chapter 20 of the Election Code and Texas Statute.); docket no. 94-8,

deposition of S. Gipson at 136:20-23 (Q: Why does DPS require customers to answer that

question if they don't even retain the answer? A: The    because we need to offer them the

availability of the application); docket no. 94-11, deposition of K. Ingram (SOS), at 62:4-8 (Q:


                                                                               APPENDIX 246
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page257
                                                               42 of
                                                                  of 61
                                                                     797


Why is there a voter registration question on the online DPS transaction        application?. . . A:

Well, I imagine it's because of Section 5 of the National Voter Registration Act of 1993. Q:

Could you elaborate on that a little bit? A: Sure. The National Voter Registration Act of 1993

required that motor vehicle agencies, in our case the DPS, whenever a person has a driver's

license transaction      driver's license transaction, that they should be simultaneously offered the

right   the ability to update their voter registration or register to vote for the first time. That's

why the NYRA is called the Motor Voter law."). Yet Defendants' compliance with the NVRA

falls short when it comes to online transactions. Texans have repeatedly complained about DPS's

failure to process voter registration information through its online system, but Defendants still

refuse to correct the deficiencies. Thus, rather than furthering the purpose of the NVRA by

"establish[ing] procedures that will increase the number of eligible citizens who register to

vote,"34 the State is   thwarting the efforts of Texans who wish to register to vote.

        3.      The "simultaneous application" requirement

        Congress was not subtle about requiring DPS, a voter registration agency, to provide a

simultaneous application for voter registration. The terms are used more than once in the statute,

and its plain meaning is clear and unambiguous. Section 20503, titled "National procedures for

voter registration for elections for Federal office," directs that "each State shall establish

procedures to register to vote. . . by application made simultaneously with an application for a

motor vehicle driver's license." 52 U.S.C. § 20503(a)(1). Defendants do not dispute the meaning




         52 U.S.C. § 2050 1(b)(1)




                                                                                    APPENDIX 247
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page258
                                                               43 of
                                                                  of 61
                                                                     797


of "simultaneous," which is defined as "existing or occurring at the same time; exactly

coincident,"35 or "happening or existing at exactly the same time,"36 or        "occurring, operating,

or done at the same time."37

        Section 20504, titled "Simultaneous application for voter registration and application for

motor vehicle driver's license" explains this requirement as one simultaneous application form

that serves dual purposes      driver's license and voter registration. This section, when read in

context, not only requires that the applications be simultaneous, but discusses them in terms of a

single transaction. Under subsection (a), each State motor vehicle driver's license application

"(including any renewal application).     .   .   shall serve as an applicationfor voter registration"

and "[am application for voter registration. . . shall be considered as updating any previous

voter registration by the applicant." Under subsection (c), "[ejach State shall include a voter

registration application form. . . as part of an application for a State motor vehicle driver's

license," and the "voter registration application portion of an application for a State motor

vehicle driver's license. . . may not require any information that duplicates information required

in the driver's license portion of the form." 52 U.S.C. § 20504(a),(c). Under subsection (d),

"[amy change of address form". . . for purposes of a State motor vehicle driver's license shall

serve as notification of change ofaddress for voter registration. . . unless the registrant states on

the form that the change of address is not for voter registration purposes." 52 U.S.C. § 20504(d).

       Defendants seem to have a clear understanding of what the statute requires, yet they

distort the statutory language in the interpretations they propose. For example, Mr. Ingram with

SOS testified that "the NVRA requires a simultaneous opportunity to register to vote." See

       35https://www.merriam-webster.com/dictionary/simultaneous

       36https://dictionary.cambridge.org/us/dictionary/english!simultaneous

       37https://en.oxforddictionaries.comldefinitionlsimultaneous

                                                        43
                                                                                     APPENDIX 248
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page259
                                                               44 of
                                                                  of 61
                                                                     797


docket no. 77, appx. 40, deposition of K. Ingram, at 63:15-16; 64:24-25; see also appx. 113,

RFA no. 4 (inserted the word "opportunity" when asked to admit their legal obligations under the

NVRA). Defense counsel uses the same "simultaneous opportunity" argument in their briefs. But

the NVRA plainly and unequivocally requires DPS, a voter registration agency, to provide a

simultaneous application     not merely a "simultaneous opportunity" to go through a second

duplicate application process with SOS. "Opportunity" could mean many things, but we do not

need to speculate about what it means because the NVRA does not use that term. Likewise, Ms.

Gipson testified that DPS "need[s] to offer them the availability of the application." Docket no.

94-8, deposition of S. Gipson, at 136:20-23. But the NVRA requires more than simply making

voter registration applications "available." Again, making applications "available" could mean

many things but the NVRA does not use that term. The operative terms in the NYRA are much

more commanding and specific: it clearly and unequivocally requires a "simultaneous

application" with DPS (the voter registration agency), not a mere "opportunity" to go through a

wholly separate, non-simultaneous application process with SOS. If the Court were to accept the

argument that DPS can simply direct Texans to SOS to obtain, fill out, sign, and mail in or

deliver in person a wholly separate voter registration form, the language in the NVRA would be

rendered meaningless. Plaintiffs are correct in their assertion that the central fact of this case has

never been disputed: when eligible Texans update their driver's licenses online with DPS, they

are not provided a simultaneous application to register to vote or update their voter registration

information. The NVRA's requirement that DPS, a voter registration agency, provide a

simultaneous application for both driver's license and voter registration purposes is plain and

unambiguous and the facts in the record confirm that Texans are being deprived of this statutory

right. Docket no. 77, appx. 118, admission no. 8 (Defendants admit that now when applicants

reach Step 5 of the online process, they are asked "Do you want to request a voter application?");

                                                  44
                                                                                  APPENDIX 249
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page260
                                                               45 of
                                                                  of 61
                                                                     797


admission no. 11 (Defendants admit that if an eligible voter checks "yes" under the question "Do

you want to request a voter application?," they are not registered to vote. . . unless they submit

an image of their signature, either by submitting a signed application by mail, or providing an

electronic image of their physical signature in person at a DPS location) (emphasis added); appx.

121, admission no. 9 (Defendants admit that a "Yes" answer during an online transaction is never

entered as a response in the Voter Field for purposes of forwarding the information to SOS);

appx. 123, admission nos. 21, 23 (Defendants admit that when an eligible voter who updates his

or her driver's license information on the current DPS website responds "yes" under the

statement "Request a voter registration application," DPS does not transfer his or her data to

SOS); appx. 96, admission no. 8 (Defendants admit that an eligible voter who changes the

address on her non-commercial Texas driver's license online must submit a signed voter

registration application in person or by mail in order for his voter registration information to be

updated. The DPS and Texas.gov online interface links such voters to an application they may

print out, sign, and mail, and also gives such voters the option to request that a voter registration

application be mailed to them, postage paid, and contains language indicating that the separate

form must be filled out in order to complete the voter's registration) (emphasis added); appx. 98,

admission no. 12 (information voters submit to the DPS change of address online portal relating

to voter registration is not transmitted to SOS); see also docket no. 77, appx. 33, DPS Voter

Inquiry Web Portal (informing the public that online registration is not possible, and persons

seeking voter registration must print, sign, and deliver the application to the voter registrar in

their county); appx. 133, driver's license renewal and change of address receipt (showing that a

separate voter registration application may be requested). Thus, it is clear that Defendants are

violating 52 U.S.C. § 20503 and 20504 by failing to comply with the simultaneous application

requirement.

                                                  45
                                                                                 APPENDIX 250
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page261
                                                               46 of
                                                                  of 61
                                                                     797


       4.      The duplicate information prohibition

       To further the simultaneous application requirement, Congress saw fit to prohibit the

states from requiring duplicate information. The prohibition against duplicate information is

plain and unambiguous, leaving no room for argument as to its meaning. Section 20504(c)(2)(A)

clearly states that "[t]he voter registration application portion of an application for a State motor

vehicle driver's license may not require any information that duplicates information required in

the driver's license portion of the form." This prohibition reinforces the simultaneous application

requirement because an application that is truly simultaneous does not require duplication. On

the other hand, any process that requires duplication of information is an indication that the voter

registration "portion" of an application for a State motor vehicle driver's license is not truly

simultaneous. The NVRA does permit states to seek a "minimum amount" of additional

information that may be necessary for "State election officials to assess the eligibility of the

applicant" for voter registration purposes. 52 § 20504 (c)(2)(B),(C). But the minimum

information necessary to verify voter registration eligibility cannot duplicate the information

already provided for driver's license purposes. For example, some states do not require

citizenship to obtain a driver's license, so those states could include a citizenship question in the

voter registration portion of the application without violating the duplicate information

prohibition. But Texas DPS requires an applicant to answer a citizenship question for driver's

license purposes; thus, another duplicate question about citizenship for voter registration

purposes would violate this prohibition.

       Defendants' violation of the duplicate information prohibition is indisputable, and has

continued unabated. Defendants admit that none of the information in the online application for

driver's license renewal or change of address is used for voter registration purposes. At the end

of the DPS transaction, a "yes" answer does not mean that the information already provided will


                                                                                 APPENDIX 251
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page262
                                                               47 of
                                                                  of 61
                                                                     797


be used for voter registration purposes pursuant to the NVRA. Instead, the DPS transaction ends,

none of the information already provided is forwarded to SOS, and the user is directed to SOS

for an entirely separate voter registration application that requires the same information already

provided to DPS in the driver's license transaction. It is a separate and distinct transaction with a

separate office (SOS) which requires a separate and distinct application with duplicate

information. Docket no. 77, appx. 96, admission no. 8 (Defendants admit that upon completion

of the DPS transaction, a voter must follow the link to SOS and then "request that a voter

registration be mailed to them. . . and [the portal] contains language indicating that the separate

form must be filled out in order to complete the voter's registration"); appx. 132 (change of

address transaction informs users that their DPS transaction does not register them to vote and

they must follow link to SOS website where a separate voter application form can be downloaded

or requested); appx. 134 (separate voter registration application provided by SOS that must be

printed, signed, and mailed); docket no. 93, exh. A-3 (same); exh. A-4 (SOS information page

explaining: a) voter registration application forms can be accessed online through SOS (not DPS,

the voter registration agency); b) the application can be filled out on the computer, printed, and

mailed to the voter registrar in the voter's county of residence; and c) informing voters that they

will not be registered until all steps are completed); docket no. 94-12, deposition of S. Gipson, at

218:2-219:16 (explaining that at end of DPS transaction, the customer is directed to SOS if he

wants to register to vote or update his voter registration information).

        In Texas, DPS requires applicants seeking a renewal and/or change of address to provide

several pieces of information, including their name, address, driver's license number, date of

birth, and the last four digits of their Social Security number. Docket no. 94-8, deposition of S.

Gipson, at 234:2-9; docket no. 94-9, deposition of E. Hutchins, at 25:11-22; docket no. 77, appx.

130. When customers finish their transaction with DPS and then go to SOS to fill out a

                                                  47
                                                                                APPENDIX 252
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page263
                                                               48 of
                                                                  of 61
                                                                     797


completely separate application for voter registration purposes, they must provide the same

information : name, address, driver's license number, date of birth, and the last four digits of

their Social Security number. Docket no. 77, appx. 134 (voter registration application); docket

no. 94-7, deposition of B. Schonhoff, at 157:19-158:18 (both the DPS change of address form

and SOS voter registration form ask the person's name, date of birth, and address; applicants

would have to fill this information out twice). Requiring motor voters to go to a different agency

(SOS) to obtain and fill out a separate application that requires the same information violates the

prohibition against duplicate information set forth in 52 U.S.C. § 20504(c).

        5.     The timely submission requirement

       The NVRA also requires that "a completed voter registration portion of an application for

a State motor vehicle driver's license accepted at a State motor vehicle authority shall be

transmitted to the appropriate State elections official not later than 10 days after the date of

acceptance." 52 U.S.C. § 20504(e)(1). The deadline for transmittal is shorter (five days) if the

voter registration application is accepted within five days before the last day for registration to

vote in an election. 52 U.S.C. § 20504(e)(2). Because the evidence in the record shows that DPS

does not provide simultaneous voter registration as part of the online driver's license renewal and

change of address process, DPS does not transmit to SOS any voter registration information in

connection with such transactions. In fact, it is undisputed that DPS does not even record, and

therefore cannot transmit, motor voters' responses to the voter registration question in the online

driver's license renewal and change of address application. Docket no. 94-8, deposition of S.

Gipson at 136:10-19; docket no. 77, appx. 67, deposition of S. Gipson at 102:10-19:103:16-25;

docket no. 94-7, deposition of B. Schonhoff at 159:23-160:3; 220:18-23.




                                                                                 APPENDIX 253
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page264
                                                               49 of
                                                                  of 61
                                                                     797


       As a voter registration agency, DPS has a statutory duty to provide motor voters with

simultaneous voter registration applications and transmit the applications to SOS within 10 days

after acceptance. DPS admits it does not submit voter registration information to SOS for online

transactions conducted by motor voters "[b]ecause [they] have not been advised by the Secretary

of State that providing that through the online process is permissible at this point." Docket no.

77, appx. 67, deposition of S. Gipson at 103:16-25. The NVRA's timely submission requirement

continues to be violated in every online renewal and change of address transaction.

       6.      State law must yield to federal law

       The facts in the record lead to only one conclusion: DPS, a voter registration agency, does

not provide a simultaneous voter registration application to motor voters who engage in online

driver's license transactions. Instead, motor voters are simply directed to SOS, which requires

them to fill out a completely separate voter registration application with duplicate information,

and then print, mail, and/or hand deliver it to the voter registrar. But Defendants have refused to

change their practice, claiming that Texas election law does not allow the procedure dictated by

the NYRA. This argument is fatally flawed.

       Defendants claim that the NYRA incorporates Texas election law, making it subject to

state law, and rely on the following provisions:

       (a)     In general

               (1)     Each State motor vehicle driver 's license application (including any

                       renewal application) submitted to the appropriate State motor vehicle

                       authority under State law shall serve as an application for voter

                       registration. .

                                              *    *    *




                                                   49
                                                                               APPENDIX 254
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page265
                                                               50 of
                                                                  of 61
                                                                     797


                (d)    Change of address

               Any change ofaddress form submitted in accordance with State law for purposes

                ofa State motor vehicle driver 's license shall serve as notification of change of

               address for voter registration.

52 U.S.C. § 20504(a)(l), (d).

        These provisions neither incorporate Texas election law nor make it subject thereto.

Instead, the plain language of these provisions, when considered in context and with a view to

their place in the overall statutory scheme, simply mean that driver's license applications

submitted in accordance with state driver's license laws (i.e., the Texas Transportation Code),

shall also serve as applications for voter registration purposes. The reference to state law in these

provisions cannot be interpreted to mean the NVRA is dictated by the election laws of 50

different states, as it would be contrary to the plain language of the statute, require the Court to

take it out of context, and render the NVRA entirely meaningless. The NVRA was enacted under

the Elections clause, U.S. Const. Art. I § 4, ci. 1, which gives Congress the broad power to

preempt, alter, and supplant state law when it comes to federal voter registration practices.

Arizona v. InterTribal County ofArizona, Inc., 570 U.S. 1, 133 S. Ct. 2247, 2253-57 (2013).

("The Clause's substantive scope is broad" and "Elections Clause legislation, so far as it extends

and conflicts with the regulations of the State, necessarily supersedes them"). To the extent state

voter registration procedures are inconsistent with the NVRA, they are superseded. Id. at 2253-54

("the state law, so far as the conflict extends, ceases to be operative"). On the other hand, the

NVRA does not supplant state driver's license laws. Thus, interpreting the provisions in 52

U.S.C. § 20504(a)(1) and (d) to mean that driver's license applications submitted in accordance




                                                                                 APPENDIX 255
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page266
                                                               51 of
                                                                  of 61
                                                                     797


with the Texas Transportation Code shall also serve as applications for voter registration

purposes is consistent with the purpose of the Act and the entire statutory scheme.

       Defendants have consistently argued that DPS, the voter registration agency tasked with

carrying out the mandates of the NVRA, cannot provide motor voters with simultaneous driver's

license - voter registration applications because Texas election law requires a physical signature.

In other words, Defendants claim that a physical signature written by hand is necessary to comply

with Texas election law; therefore, although online driver's license transactions are legally valid,

a simultaneous voter registration application would be legally invalid. Again, this argument is

flawed for several reasons.

       First, Texas law cannot be used as an excuse for failing to comply with the NVRA. To the

extent it is inconsistent with the NVRA, the Texas Election Code must yield to the NVRA.

Moreover, Defendants have simply cheny-picked the provisions they believe justify their

continued noncompliance. Defendants believe sections 13.002(b) and 15.02 1(a) of the Texas

Election Code (requiring an application to be "signed") support their position,38 but they ignore

section 20.062 (requiring DPS to use a form and procedure that combines driver's license!

renewal/change of address with voter registration), which does not support their position.39

Defendants' reliance on Texas election law as an excuse for federal noncompliance is misplaced

because it is preempted, altered, and supplanted by the mandates in the NVRA. But even if Texas



       38Docket no. 94-11, deposition of K. Ingram, at 97:15-24; docket no. 77, appx. 42 (Q:
What portion of the law doesn't allow it? A: 13.002(b)).

       39Section 20.062(a) states: The Department of Public Safety shall prescribe and use a
form and procedure that combines the department's application form for a license or card with an
officially prescribed voter registration application form. Section 20.062(b) states: The department
shall prescribe and use a change of address form and procedure that combines department and
voter registration functions. The form must allow a licensee or cardholder to indicate whether the
change of address is also to be used for voter registration purposes.

                                                 51

                                                                               APPENDIX 256
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page267
                                                               52 of
                                                                  of 61
                                                                     797


election law was not preempted, there is nothing in the law that precludes the use of electronic

signatures.

        Second, the NVRA does state that a simultaneous driver's license-voter registration

application and any renewal application "requires the signature of the applicant." See 52 U.S.C. §

20504(a)(1), (c)(2)(C)(iii). The NYRA's change of address provision is separate, and does not

state that a signature is necessary for a simultaneous driver's license-voter registration change of

address. 52 U.S.C. § 20504(d). But even in renewal transactions that require a signature, neither

the NVRA nor Texas election law defines or limits the type of signature that is required for voter

registration renewal or change of address applications, and Defendants cite no authority for the

proposition that it must be a physical ink signature written on paper by hand. With twenty-first

century technology and legislation such as the Global and National Commerce Act (E-Sign Act)

and Uniform Electronic Transactions Act (UETA), electronic signatures are legally recognized

and widely used. 15 U.S.C. § 7001 et. seq.; Unif. Electronic Transactions Act, U.L.A. (1999).

Under the Uniform Electronic Transactions Act, which has been adopted by Texas and 46 other

states, the medium in which a signature is created, presented or retained does not affect its legal

significance. See UETA § 7; Tex. Bus. & Com. Code Ann. § 322.007(a),(c),(d) (Vernon 2015)

(TUETA). As these provisions explain:

       (a)     A record or signature may not be denied legal effect or enforceability solely

               because it is in electronic form.

       (c)     If a law requires a record to be in writing, an electronic record satisfies the law.

       (d)     If a law requires a signature, an electronic signature satisfies the law.

Interpreting the signature requirement in the NVRA to include electronic signatures is consistent

with the purpose of the Act and the overall statutory scheme. Accord Kemp, 208 F. Supp. 3d at



                                                   52
                                                                                 APPENDIX 257
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page268
                                                               53 of
                                                                  of 61
                                                                     797


133 5-36 (Georgia SOS argued that the "records" requirement in the NVRA was limited to

physical records; the court determined that the requirement includes electronic records). Mr.

Ingram, the 30(b)(6) representative for SOS, admits that an electronic signature complies with

the signatures requirements under the NVRA. Docket no. 77, appx. 40, deposition of K. Ingram

at 62:18-63:1 ("DPS' s compliance with [the NVRA] for in-person transactions is [satisfied by]

the question. . . on the DPS forms, 'Do you want to register to vote? I've agreed to provide my

electronic signature, and it can be sent to the Secretary of State's Office."). If an electronic

signature is legally sufficient under the NYRA for paper transactions, it is legally sufficient for

online transactions. The NVRA established procedures to remove barriers to voter registration, to

make the process easier and more convenient, and to increase voter participation. Interpreting the

"signature" requirement to allow only physical, manual, or wet ink signatures written by hand on

paper would be inconsistent with the plain language of the NVRA and the entire statutory

scheme. And while Defendants continue to rely on Texas election law as a excuse for

noncompliance with the NVRA, there is nothing in Texas law that precludes the use of electronic

records and electronic signatures. On the contrary, Texas law permits SOS and DPS to accept

electronic records and electronic signatures. See Tex. Bus. & Corn. Code § 322.017 (each state

agency has the option to accept electronic records and electronic signatures);4° Tex. Bus. & Corn.

Code § 322.007 ("If a law requires a signature, an electronic signature satisfies the law.").4' And

        40As Eiten Hersh noted, the refusal to accept electronic signatures appears to have been a
state policy decision. See docket no. 94-13, deposition of E. Hersh, at 121:23-122:25. But state
policy like state law must yield to the mandatory requirements under the NVRA.

       41See also Tex. Bus. & Corn. Code § 322.008(a)      ("If parties have agreed to conduct a
transaction by electronic means and a law requires a person to provide, send, or deliver
information in writing to another person, the requirement is satisfied if the information is
provided, sent, or delivered, as the case may be, in an electronic record. . ."); Tex. Bus. & Corn.
Code § 322.012 ("if a law requires that a record be retained, the requirement is satisfied by
retaining an electronic record"); Tex. Govt Code § 2054.060 ("digital signature may be used to
authenticate a written electronic communication sent to a state agency"); 1 Tex. Admin. Code §

                                                  53
                                                                                 APPENDIX 258
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page269
                                                               54 of
                                                                  of 61
                                                                     797



it is undisputed that Texas is already using voter registration signatures in electronic form. See

Tex. Election Code § 20.066 (for in person and mail transactions, the information provided is

input "into the department's electronic data system"; the applicant is informed "that the

applicant's electronic signature" will be used; and the department "electronically transfer[s] the

applicant's voter registration data, including the applicant's [electronic] signature, to the

secretary of state"); 1 Tex. Admin. Code § 81.58 (allowing a voter's signature to be captured by

an electronic device for the signature roster). Defendants provide no legal justification for failing

to comply with the NVRA when it comes to online renewal and change of address transactions.

       Finally, Plaintiffs are not asserting that all signature requirements be tossed out or

ignored. Instead, they are asserting that Defendants already retain electronic signatures for every

licensed motor voter in Texas and currently use those electronic signatures for both driver's

license and voter registration purposes; thus, there is no reason for refusing to use those same

signatures for online renewal and change of address transactions. See docket no. 77, appx. 39, 42,

deposition of K. Ingram at 50:1-11; 95:14-97:14; docket no. 77, appx. 69, 70, 79, deposition of

S. Gipson at 203:19-204:7; 215:21-216:7; 234:21-235:1; 236:19-237:9. Even when a signature is

required, that requirement may be satisfied with the electronic signature that is on file for every

Texas motor voter.42 There is no legal impediment to using electronic signatures, and there is no

technological barrier to online transactions that allow simultaneous renewal and change of

address for driver's license and voter registration. See docket no. 94-7, deposition of B.

Schonhoff, at 222:9-22; docket no. 77, appx. 45, deposition of K. Ingram at 184:12-185:1; 186:5-

203.24 (describing technology that may be acceptable for use by state agencies).

        42Because every Texan must provide an electronic signature when they obtain their
original driver's license, and the online process only involves the renewal of an existing driver's
license or a change of address on an existing driver's license, it is undisputed that the State of
Texas already has preexisting electronic signatures for every motor voter that uses the online
system.

                                                  54
                                                                                 APPENDIX 259
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page270
                                                               55 of
                                                                  of 61
                                                                     797


16; docket no. 94-9, deposition of E. Hutchins at 99:22-100:2; docket no. 94-10, deposition of J.

Crawford at 142:6-18; 143:12-144:2 1 (DLS could send all the information it currently obtains to

the Secretary of State's office, and "it could also send the previously provided electronic

signature from that customer, just like it does with a mail-in change of address"); docket no. 94-

13, deposition of Eitan Hersh at 34:20-23 ("my opinion is that there are no obvious substantial

technical reasons why Texas does not do that or financial situations why Texas does not do

that"); 110:6-111:13 (. . . "it [could] transmit, just as it does now for mail and in-person

transactions, the previously-recorded digital signature of the voter because everyone who is

renewing or changing their address online has a digital signature stored at the DPS"); 115:15-25

(38 other states have an online process for voter registration).

        G.     Merits of the Fourteenth Amendment claim

        Plaintiffs also assert that Defendants' refusal to provide voter registration applications

simultaneously with online driver's license renewal and change of address transactions

constitutes a violation of their Equal Protection rights under the Fourteenth Amendment.43 The

right to vote is a fundamental right protected under the Equal Protection Clause of the Fourteenth

Amendment. Harper v. Va. State Bd. ofElections, 383 U.S. 663, 670 (1966). "The right to vote

is protected in more than the initial allocation of the franchise. Equal protection applies as well to

the manner of its exercise." Bush v. Gore, 531 U.S. 98, 104 (2000) (per curiam). The Equal

Protection Clause applies when state procedures restrict voters' rights. Bush v. Gore, 531 U.S. at

103 (Supreme Court found that Florida's failure to institute reliable recount procedures violated

the Equal Protection Clause); Obama for Am. v. Husted, 697 F.3d 423, 436-3 7 (6th Cir. 2012)



       43"The rights and remedies established by [the NYRA] are in addition to all other rights
and remedies provided by law." 52 U.S.C. § 205 10(d)(1).


                                                  55
                                                                                APPENDIX 260
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page271
                                                               56 of
                                                                  of 61
                                                                     797


(Circuit court found that Ohio law that prevented casting of early ballots by non-military voters

violated the Equal Protection Clause).

          1.      Applicable standard

          The parties disagree on the applicable standard of review. Plaintiffs assert that the

Anderson-Burdick44 standard applies (docket no. 77, pp. 19-23; docket no. 85, pp. 16-17), while


Defendants assert that an Arlington Heights45 strict scrutiny analysis or City of Cleburne46

heightened scrutiny analysis applies (docket no. 82, p. 24; docket no. 88, pp. 19-20). Because this

case involves a challenge to a state voter registration procedure that is alleged to unfairly restrict

the right to vote and harm voter participation, the more flexible A nderson-Burdick standard

applies. Burdick v. Tukushi, 504 U.S. 428, 433 (1992) ("to subject every voting regulation to

strict scrutiny and to require that the regulation be narrowly tailored to advance a compelling

state interest, as petitioner suggests, would tie the hands of States seeking to assure that elections

are operated equitably and efficiently").47 Under this standard, "[a] court considering a challenge

to a state election law must weigh the character and magnitude of the asserted injury to the rights

protected by the [Constitution] that the plaintiff seeks to vindicate against the precise interests


          44Anderson v. Celebrezze, 460 U.S. 780 (1983) and Burdickv. Takushi, 504 U.S. 428
(1992).
          45Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252 (1977).

          46City ofCleburne, Texas v. Cleburne Living Center, 473 U.S. 432 (1985).

          47See also Votingfor Am., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013) (Fifth Circuit
applied Anderson-Burdick analysis in challenge to state law regulating volunteer deputy
registrars); Tex. Democratic Party v. Williams, 285 Fed. Appx. 194, 195 (5th Cir. 2008) (per
curiam) (noting that district court properly applied A nderson-Burdick balancing test to the
constitutional claims challenging use of eSlate voting machines), cert. denied, 555 U.S. 1100
(2009); Faas v. Cascos, 225 F. Supp. 3d 604, 610 (S.D. Tex. 2016) (State election laws "could
hardly serve their legitimate purposes if they were routinely subject to strict scrutiny... [thus],
[t]he United States Supreme Court recognized the need for a more flexible analytical framework
in two landmark cases: Anderson and Burdick").


                                                   56
                                                                                  APPENDIX 261
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page272
                                                               57 of
                                                                  of 61
                                                                     797


put forward by the State as justification for the burden imposed by its rule, taking into

consideration the extent to which those interests make it necessary to burden the plaintiff's

rights." Burdick, 504 U.S. at 434 (internal quotes omitted). "However slight the burden [to the

voters] may appear, . . . it must be justified by relevant and legitimate state interests sufficiently

weighty to justify the limitation." Crawford v. Marion Cty. Elec. Bd., 553 U.S. 181, 191 (2008).

        2.      Analysis

        "[V]oting is of the most fundamental significance under our constitutional structure,"

Burdick, 504 U.S. at 433, and unfair registration procedures can have a direct and damaging

effect on voter participation. See 52 U.S.C. § 2050 l(a)(3) (Congressional findings). While the

State can impose reasonable restrictions, those restrictions must be justified by specific interests

that outweigh the burden on voters. The undisputed facts show that Defendants permit

simultaneous voter applications for motor voters that renew or change their driver's license in

person or by mail, but refuse simultaneous voter applications for motor voters that renew or

change their driver's license online. Motor voters that renew or change their driver's license in

person or by mail need only check a single box indicating that he would like to register or update

his voter information. After checking the box on the driver's license form, no further steps are

necessary. DPS sends the updated information to SOS in nightly batches, so the voter registration

is updated timely and efficiently. However, motor voters that renew or change their driver's

license online are denied the same process. Online motor voters must end their DPS driver's

license transaction, and then go to SOS to obtain, print, and complete a separate voter registration

application which requires duplicate information.48 Once the additional application is complete, it




       48See generally pp. 17-19, supra.



                                                  57
                                                                                  APPENDIX 262
  Case5:20-cv-00046-OLG
 Case   5:16-cv-00257-OLG Document
                           Document77-1
                                    105 Filed
                                         Filed05/29/20
                                               05/10/18 Page
                                                         Page273
                                                              58 of
                                                                 of 61
                                                                    797


must be mailed or hand delivered.49 DPS, a voter registration agency, maintains a procedure that

accepts simultaneous voter registration applications for some, while rejecting them for others.

This type of restriction on voter registration imposes a burden on the fundamental right to vote

that warrants the demonstration of a corresponding interest sufficiently weighty to justify the

limitation.

        Defendants' only justification for the voter registration burden imposed on motors voters

is the "signature" requirement under Texas election law. However, neither federal nor state law

limits the signature requirement to physical hand written signatures on paper.5° Electronic

signatures and electronic records are legally recognized and widely used, and Defendants offer no

reason for refusing to accept them for online motor voter transactions.51 DPS already uses

electronic records and previously imaged electronic signatures for every Texan that uses the

online system for driver's license renewal or change of address.52 SOS admits that electronic

signatures comply with signature requirements under the NVRA and Texas Election Code.53 SOS

admits it never uses physical, manual, or wet ink handwritten signatures on paper for voter




        49See id.


        50See pp. 52-55, supra.


        51See id.


        52Docket no. 77, appx. 70, deposition of S. Gipson at 215:21-216:7 (for online
transactions, Texas has decided that a previously captured electronic signature is sufficient for
driver's license purposes, but they refuse to accept the same signature for voter registration
purposes); Stipulation no. 11, p. 5, supra ("The signature that appears on the license generated as
a result of a customer's online driver's license renewal or change of address transaction is an
image of the applicant's physical signature, electronically captured during the applicant's most
recent in-person transaction").

        53Docket no. 77, appx. 39-40, 42, K. Ingram deposition at 50:1-6; 62:4-63:1; 97:4-14.


                                                 58

                                                                              APPENDIX 263
  Case5:20-cv-00046-OLG
 Case   5:16-cv-00257-OLG Document
                           Document77-1
                                    105 Filed
                                         Filed05/29/20
                                               05/10/18 Page
                                                         Page274
                                                              59 of
                                                                 of 61
                                                                    797


registration purposes.54 DPS already has, in its possession and control, an electronic signature of

every motor voter that has been issued a license. With motor voters' electronic signatures already

in the voter registration agency's possession, there is no reason why Defendants could not

register them to vote in a simultaneous online transaction.

       Neither the law nor the facts support Defendants' alleged justification for limiting

simultaneous voter applications to in-person and mail motor voter transactions and refusing

simultaneous voter applications for motor voters that renew or change their driver's license

online. Because the alleged justification is not legitimate, there is no state interest that outweighs

the burden imposed on voters. Defendants fail to demonstrate a corresponding interest

sufficiently weighty to justify the limitation on voters' rights.

       Not only have Defendants failed to justify their actions, but they also acknowledge that

permitting simultaneous voter applications for motor voters that renew or change their driver's

license online would be technologically very feasible and the cost would be minimal.55 In fact,

the undisputed testimony reflects that changing the online process to include simultaneous voter

        54Docket no. 77, appx. 39, K. Ingram deposition at 50:7-11 (Q: What's the ink signature
on the DPS's physical form used for as far as voter registration? A: I don't know. I don't know if
it's used for anything. Once they've applied in person at the office, they've signed it
electronically"); docket no. 77, appx. 117, RFA 26 ("Admits that the information DPS transmits
to SOS about each applicant for voter registration includes a digital image of the applicant's
signature"); docket no. 77, appx. 122, RFA 13 (Defendants admit that prior to transmission to
SOS, the DPS computer system locates records that [include] a "Signature Image"); docket no.
77, appx. 118, RFA 10, 11 (Defendants admit that individuals are not registered to vote in
connection with their interactions with DPS unless they submit an electronic image of their
signature).

        55See docket no. 77, appx. 45-46, deposition   of K. Ingram at 184:19-185:2 (it's
"technically possible" and "I don't think it would cost a lot of money"), 186:15-16 ("I'm not
contesting the logistics of it"); docket no. 77, appx. 90, deposition of J. Crawford (from an IT
perspective, DLS is currently capable of sending the voter data and electronic signature to SOS);
see also docket no. 94-13, deposition of E. Hersh at 110:6-10 (it would be a "massive cost
savings"); 111:10-13 (the savings would be statewide); report of E. Hersh at pp. 6, 12-15 (the
technology clearly exists for state motor vehicle authorities that allow online transactions).


                                                  59
                                                                                APPENDIX 264
   Case5:20-cv-00046-OLG
  Case   5:16-cv-00257-OLG Document
                            Document77-1
                                     105 Filed
                                          Filed05/29/20
                                                05/10/18 Page
                                                          Page275
                                                               60 of
                                                                  of 61
                                                                     797


registration applications would very likely lead to greater efficiency for the State and increased

voter registration for Texans.56 See Anderson, 460 U.S. at 806 (even if the State has legitimate

interests, if the State also has open to it a less drastic way of satisfying those interests it may not

choose a scheme that restricts the right to vote).

                                                  VI.

                                              Conclusion

        DPS encourages Texans to use its online services to renew their driver's license and

change their address because it is easier and more convenient.57 It cannot, at the same time, deny

simultaneous voter registration applications when those online services are used. DPS is legally

obligated, as a designated voter registration agency under the NVRA, to permit a simultaneous

voter registration application with every transaction. Asking motor voters whether they are

interested in voter registration and sending them to SOS for an entirely separate application

process is not enough. The NVRA demands much more from voter registration agencies.

Defendants are violating § 20503(a)(l); 20504(a),(c),(d), and (e); 20506(4)(A)(iii), and (d); and

20507(a)(1)(A) of the NVRA and their excuse for noncompliance is not supported by the facts or

the law. Plaintiffs are also being denied equal protection under the law. Plaintiffs are entitled to

the relief they are seeking herein.

        It is therefore ORDERED Plaintiffs' Motion for Summary Judgment (docket no. 77) is

GRANTED and Defendants' Motion for Summary Judgment (docket no. 82) is DENIED. Final


        56See docket no. 94-13, deposition   of E. Hersh at 114:8-10; 114:24-115:14 (having people
filling out information by hand and then having state employees key that information in
electronically leads to more errors); report of E. Hersh at p. 4 (in 11 of the 38 states with online
registration, the policy was adopted without any legislation, but simply as a technological
upgrade to an existing governmental function); docket no. 85, appx. 25 @otential number of
motor voters affected in average week and month).

       57Docket no. 94-9, deposition of E. Hutchins, at 38:18-23; 39:12-19.



                                                                                  APPENDIX 265
  Case5:20-cv-00046-OLG
 Case   5:16-cv-00257-OLG Document
                           Document77-1
                                    105 Filed
                                         Filed05/29/20
                                               05/10/18 Page
                                                         Page276
                                                              61 of
                                                                 of 61
                                                                    797


judgment will be entered separately, with costs, fees, and expenses to be taxed against

Defendants. 52 U.S.C. § 205 10(c). The parties shall submit a proposed form of judgment setting

forth the necessary declaratory and injunctive relief, consistent with the Court's findings, within

seven days from the date below.

       SIGNED this         day of            ,2018.




                                                      ORLANDO L. GARCIA
                                                      CHIEF U.S. DISTRICT JUDGE




                                               61

                                                                               APPENDIX 266
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 277 of 797




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                                                          APPENDIX 267
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page278
                                                             1 ofof16
                                                                    797




                                                             APPENDIX 268
 Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG   Document  122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page279
                                                             2 ofof16
                                                                    797




                                                             APPENDIX 269
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page280
                                                             3 ofof16
                                                                    797




                                                             APPENDIX 270
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page281
                                                             4 ofof16
                                                                    797




                                                             APPENDIX 271
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page282
                                                             5 ofof16
                                                                    797




                                                             APPENDIX 272
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page283
                                                             6 ofof16
                                                                    797




                                                             APPENDIX 273
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page284
                                                             7 ofof16
                                                                    797




                                                             APPENDIX 274
 Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG   Document  122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page285
                                                             8 ofof16
                                                                    797




                                                             APPENDIX 275
  Case
Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG    Document 122 Filed
                                 77-1   Filed05/29/20
                                              12/05/19 Page
                                                        Page286
                                                             9 ofof16
                                                                    797




                                                             APPENDIX 276
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page287
                                                             10 of
                                                                of 16
                                                                   797




                                                             APPENDIX 277
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page288
                                                             11 of
                                                                of 16
                                                                   797




                                                             APPENDIX 278
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page289
                                                             12 of
                                                                of 16
                                                                   797




                                                             APPENDIX 279
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page290
                                                             13 of
                                                                of 16
                                                                   797




                                                             APPENDIX 280
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page291
                                                             14 of
                                                                of 16
                                                                   797




                                                             APPENDIX 281
 Case5:20-cv-00046-OLG
Case   5:16-cv-00257-OLG Document
                          Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page292
                                                             15 of
                                                                of 16
                                                                   797




                                                             APPENDIX 282
 Case
Case   5:16-cv-00257-OLG Document
     5:20-cv-00046-OLG    Document77-1
                                   122 Filed
                                        Filed05/29/20
                                              12/05/19 Page
                                                        Page293
                                                             16 of
                                                                of 16
                                                                   797




                                                             APPENDIX 283
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 294 of 797




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                                                          APPENDIX 284
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  1 of
                                                            295 of 7797




                                                             APPENDIX 285
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  2 of
                                                            296 of 7797




                                                             APPENDIX 286
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  3 of
                                                            297 of 7797




                                                             APPENDIX 287
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  4 of
                                                            298 of 7797




                                                             APPENDIX 288
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  5 of
                                                            299 of 7797




                                                             APPENDIX 289
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  6 of
                                                            300 of 7797




                                                             APPENDIX 290
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 109Filed
                                  77-1   Filed 05/18/18Page
                                             05/29/20   Page  7 of
                                                            301 of 7797




                                                             APPENDIX 291
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 302 of 797




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                                                          APPENDIX 292
        Case
     Case    5:16-cv-00257-OLG
          5:20-cv-00046-OLG     Document
                             Document 77-11 Filed
                                            Filed 05/29/20
                                                  03/14/16 Page
                                                           Page 303
                                                                1 of of
                                                                     19797




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JARROD STRINGER, et. al,             §
                                     §
                Plaintiffs,          §
                                     §
v.                                   §                      Civil Action No. _________
                                     §
CARLOS H. CASCOS, IN HIS OFFICIAL    §
CAPACITY AS THE TEXAS SECRETARY OF §
STATE and STEVEN C. McCRAW, IN HIS   §
OFFICIAL CAPACITY AS THE DIRECTOR OF §
THE TEXAS DEPARTMENT OF PUBLIC       §
SAFETY                               §
                                     §
                Defendants.          §

                          PLAINTIFFS’ ORIGINAL COMPLAINT
                                 NATURE OF THE ACTION
       1.      This action seeks declaratory and injunctive relief to redress Defendants’ systemic

and ongoing violations of the “Motor Voter” provisions of the National Voter Registration Act of

1993 (“NVRA”), enacted as Public Law 103-31 and codified at 52 U.S.C. §§ 20501-20511.

Defendants’ conduct also violates the U.S. Constitution’s guarantee of equal protection,

preserved by Section 1 of the Fourteenth Amendment. As a result, Plaintiffs, who are eligible

Texas voters, have been disenfranchised — just like the thousands of similarly situated voters

who complained to election officials about these same problems when their ballots were not

counted. Texas voters will continue to be shut out of the democratic process unless and until

Defendants reform their registration practices.

       2.      After finding that “discriminatory and unfair registration laws and procedures can

have a direct and damaging effect on voter participation,” and that state governments have a

“duty” to promote voting and voter registration, Congress enacted the NVRA to “establish


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                                                                                 APPENDIX 293
        Case
     Case    5:16-cv-00257-OLG
          5:20-cv-00046-OLG     Document
                             Document 77-11 Filed
                                            Filed 05/29/20
                                                  03/14/16 Page
                                                           Page 304
                                                                2 of of
                                                                     19797




procedures that will increase the number of eligible citizens who register to vote in elections for

Federal office.” 52 U.S.C. § 20501. Through its Motor Voter provisions, the NVRA imposes

voter registration obligations upon state motor vehicle bureaus. Specifically, every time an

eligible voter obtains, renews, or updates his or her driver’s license with the Texas Department

of Public Safety (“DPS”), the State must simultaneously offer to register that person to vote or to

update the voter’s registration record.

       3.      The Motor Voter provisions require DPS to simultaneously treat: (a) “each . . .

driver’s license application (including any renewal application)” as an “application for voter

registration,” 52 U.S.C. § 20504(a)(1); and (d) “any change of address form” as a “notification of

change of address for voter registration,” 52 U.S.C. § 20504. Defendants have a legal duty to

ensure that every eligible voter who submits a driver’s license application or renewal, or updates

his or her address with DPS, is duly registered to vote. 52 U.S.C. § 20507(a)(1)(A).

       4.      The Motor Voter provisions apply to “each” renewal application and “any”

change-of-address form submitted to DPS, unless the voter “fails to sign the voter registration

application” or “states on the form that the change of address is not for voter registration

purposes.” 52 U.S.C. § 20504. Accordingly, outside of those two narrow exceptions, all driver’s

license transactions are covered by the Motor Voter law, regardless of the method by which a

voter applies, renews or updates his or her driver’s license — the NVRA does not discriminate

against voters who choose one transaction method over another. Online renewals and change-of-

address transactions are thus expressly covered by the NVRA’s plain text.

       5.      The State of Texas permits certain Texas driver’s license holders to renew their

license and/or update the address on their license online on DPS’ website at

www.txdps.state.tx.us. See Ex. A, at 1. During the online process, these individuals are asked to



                                                2

                                                                                  APPENDIX 294
         Case
      Case    5:16-cv-00257-OLG
           5:20-cv-00046-OLG     Document
                              Document 77-11 Filed
                                             Filed 05/29/20
                                                   03/14/16 Page
                                                            Page 305
                                                                 3 of of
                                                                      19797




check “yes” or “no” in response to the statement, “I want to register to vote.” See Ex. A, at 2; Ex.

C, at 19. It is undisputed that, even after an eligible voter checks “yes,” Defendants fail to offer

any means for simultaneous voter registration and fail to update the registration records of voters

who change their address.

        6.      Even though the State does not use information from online change-of-address

transactions to properly register a voter at his or her new address, these transmissions may be

used to cancel a voter’s prior registration record. See Tex. Elec. Code § 16.031.

        7.      In addition to violating the NVRA, Defendants’ current practices treat similarly

situated voters differently based solely on how those voters choose to transact with DPS. The

NVRA, which makes no distinction between transaction methods, cannot be used to justify this

arbitrary discrimination.

        8.      As a result of Defendants’ failure to comply with the NVRA, each Plaintiff in this

action was not able to cast a regular ballot in a recent election. Each Plaintiff was thus denied the

right to voter registration that is guaranteed by the NVRA and denied an equal opportunity to

participate in a federal election — for no reason other than the method through which they

transacted with DPS.

        9.      Between September 2013 and May 26, 2015, the State recorded complaints from

more than 1,800 voters who completed an online transaction with DPS and mistakenly believed

that their registration records were updated too. See Ex. B. These voters certainly represent a

mere fraction of the total number of Texas voters injured by Defendants’ conduct.

        10.     Defendants must not be permitted to ignore constitutional and federal law. We

respectfully request that this Court enjoin Defendants from further violations of applicable law

and grant Plaintiffs the relief set forth below.



                                                   3

                                                                                    APPENDIX 295
         Case
      Case    5:16-cv-00257-OLG
           5:20-cv-00046-OLG     Document
                              Document 77-11 Filed
                                             Filed 05/29/20
                                                   03/14/16 Page
                                                            Page 306
                                                                 4 of of
                                                                      19797




                                     JURISDICTION AND VENUE

        11.     This case arises under the U.S. Constitution and the NVRA, a law of the United

States. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. § 1331 and

28 U.S.C. § 1343(a)(4).

        12.     Defendants have received detailed notice of these violations of federal law and

have failed to correct the violations alleged herein within 90 days. Plaintiffs therefore have a

private right of action under 52 U.S.C. § 20510(b) to enforce the NVRA. Exhibit C contains the

original notice provided to Defendants on May 27, 2015 and all correspondence between the

parties thereafter.

        13.     This Court has jurisdiction to grant both declaratory and injunctive relief pursuant

to 28 U.S.C. §§ 2201 and 2202.

        14.     This Court has personal jurisdiction over Defendants because each is a citizen of

the State of Texas.

        15.     Venue is proper because a substantial part of the events or omissions giving rise

to the claim occurred in this district, and each Defendant conducts business in this district. 28

U.S.C. § 1391(b).

                                            PARTIES

                                             Plaintiffs

        16.     Plaintiffs —Benjamin Hernandez, Jarrod Stringer, Totysa Watkins, and John

Woods — are eligible Texas voters who were directly and individually harmed by Defendants’

conduct.




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                                                                                  APPENDIX 296
        Case
     Case    5:16-cv-00257-OLG
          5:20-cv-00046-OLG     Document
                             Document 77-11 Filed
                                            Filed 05/29/20
                                                  03/14/16 Page
                                                           Page 307
                                                                5 of of
                                                                     19797




                                            Defendants

       17.     Defendants are the state officials charged with ensuring Texas’ compliance with

Sections 4 and 5 of the NVRA.

       18.     Defendant Carlos H. Cascos (“Mr. Cascos”) is the Texas Secretary of State, and is

sued in his official capacity. As Secretary of State, Mr. Cascos serves as Texas’ Chief Election

Officer. Tex. Elec. Code § 31.001(a). Each state’s chief election official is responsible for

coordinating that state’s compliance with the NVRA. 52 U.S.C. § 20509.

       19.     Defendant Steven C. McCraw is the Director of DPS, and is sued in his official

capacity. DPS is Texas’ motor vehicle bureau. DPS operates offices around the state, issues

driver’s licenses and other state identification cards, and is responsible under state and federal

law for providing voter registration services and transmitting voter registration information to the

Texas Secretary of State. See 52 U.S.C. §§ 20503-20504; Tex. Elec. Code §§ 20.063, 20.066.

                                       APPLICABLE LAW

                                   The Fourteenth Amendment

       20.     The Fourteenth Amendment’s Equal Protection Clause is implicated any time a

state subjects voters to disparate treatment or places arbitrary restrictions upon the right to vote.

U.S. Const. amend. XIV, § 1.

       21.     There is no “litmus test for measuring the severity of a burden that a state law

imposes on . . . an individual voter, or a discrete class of voters. However slight that burden may

appear, . . . it must be justified by relevant and legitimate state interests ‘sufficiently weighty to

justify the limitation.’” Crawford v. Marion County Election Board, 553 U.S. 181, 191 (2008)

(Stevens, J., announcing judgment of Court); accord Obama for America v. Husted, 697 F.3d

423, 429 (6th Cir. 2012) (“When a plaintiff alleges that a state has burdened voting rights



                                                  5

                                                                                    APPENDIX 297
        Case
     Case    5:16-cv-00257-OLG
          5:20-cv-00046-OLG     Document
                             Document 77-11 Filed
                                            Filed 05/29/20
                                                  03/14/16 Page
                                                           Page 308
                                                                6 of of
                                                                     19797




through the disparate treatment of voters, we review the claim using the flexible standard

outlined in Anderson v. Celebrezze . . . courts must weigh the burden on voters against the state’s

asserted justifications and make the hard judgment that our adversary system demands.” (internal

quotation marks and citations omitted)).

                              National Voter Registration Act of 1993

       22.     A “principal purpose” of the NVRA is to “increase the number of eligible citizens

who register to vote.” 52 U.S.C. § 20501(b)(1); Ferrand v. Schedler, No. 11-926, 2012 WL

1570094 at *10 (E.D. La. May 3, 2012) (citing H.R. Rep. No. 103–66, at 19 (1993) (Conf. Rep.),

reprinted in 1993 U.S.C.C.A.N. 140, 144); Ass’n of Cmty. Organizations for Reform Now v.

Fowler, 178 F.3d 350, 354 (5th Cir. 1999). A Senate Report on the law “makes clear that, in

implementing the NVRA, the ‘[g]overnment should do all it can to make registration widely and

easily available.’” Ferrand v. Schedler, No. 11-926, 2012 WL 1570094 at *11 (E.D. La. May 3,

2012) (citing S. Rep. No. 103–6, at 14 (1993)).

       23.     The NVRA’s “Motor Voter” provisions were meant to streamline the federal

voter registration process and increase voter registration accessibility:

       [I]ncorporating voter registration into the drivers licensing process provides a
       secure and convenient method for registering voters; an effective means of
       reaching groups of individuals generally considered hard-to-reach for voting
       purposes . . .; and a procedure for keeping rolls current through contact with
       licensees who change addresses.

S. Rep. 103-6, at 5 (1993).

       24.     Indeed, under the Motor Voter provisions, every time an eligible Texas voter

obtains, renews, or updates his or her driver’s license with DPS, the State must simultaneously

register that person to vote or update that voter’s registration records, unless the person fails to




                                                  6

                                                                                  APPENDIX 298
        Case
     Case    5:16-cv-00257-OLG
          5:20-cv-00046-OLG     Document
                             Document 77-11 Filed
                                            Filed 05/29/20
                                                  03/14/16 Page
                                                           Page 309
                                                                7 of of
                                                                     19797




sign the registration form or attests that the change-of-address information is not for voter

registration purposes. 52 U.S.C. §§ 20503, 20504; 20507.

       25.     In relevant part, 52 U.S.C § 20504 provides that:

       Each State motor vehicle driver’s license application (including any renewal
       application) submitted to the appropriate State motor vehicle authority under State
       law shall serve as an application for voter registration with respect to elections for
       Federal office unless the applicant fails to sign the voter registration application . .
       . any change of address form submitted in accordance with State law for purposes
       of a State motor vehicle driver’s license shall serve as notification of change of
       address for voter registration with respect to elections for Federal office for the
       registrant involved unless the registrant states on the form that the change of
       address is not for voter registration purposes.

       26.     The State may not “require any information that duplicates information required

in the driver’s license portion of the form,” other than extra information expressly enumerated by

statute. Id. at § 20504(c)(2)(A). Instead, the NVRA demands that eligible voters shall be

registered to vote “simultaneously” with the submission of any driver’s license application,

renewal or change-of-address form. See id. at § 20503(a)(1)(1).

       27.     DPS must promptly transmit completed voter registration applications and

change-of-address information to election officials; generally, transmission must occur no later

than 10 days after receipt. See id. at § 20504(e).

                                       Texas Election Code

       28.     Shortly after the NVRA was enacted in 1993, the State of Texas updated the

Texas Election Code to reinforce the NVRA’s Motor Voter mandates. See generally Tex. Elec.

Code §§ 20.061-66.

       29.     For instance, state law specifies that DPS must use “a form and procedure that

combines the department’s application form for a license or card with an officially prescribed

voter registration application form.” Id. at § 20.062(a).



                                                     7

                                                                                     APPENDIX 299
         Case
      Case    5:16-cv-00257-OLG
           5:20-cv-00046-OLG     Document
                              Document 77-11 Filed
                                             Filed 05/29/20
                                                   03/14/16 Page
                                                            Page 310
                                                                 8 of of
                                                                      19797




          30.   DPS must also provide a “change of address form and procedure that combines

department and voter registration functions,” so that when a voter submits a change of address,

that “serves as a change of address for voter registration” as well, unless the individual indicates

otherwise. Id. at § 20.063(c); id. at § 20.062(a).

          31.   In addition, if a “correct driver’s license number or personal identification card

number” or if “correct residence address or mailing address” information is missing from a

registration application, DPS employees have a duty to correct the voter’s application by

“enter[ing] the information on the application.” Id. at § 20.063(d).

          32.   Finally, voter registration applications and change-of-address forms must be

promptly delivered to election officials. Specifically, “[n]ot later than the fifth day after the date

a person completes a voter registration application and provides an electronic signature to the

department, [DPS] shall electronically transfer the applicant’s voter registration data, including

the applicant’s signature, to the [Texas Secretary of State].” Id. at § 20.066; see also id. at §

20.065.

                                   FACTUAL ALLEGATIONS

       33.      Exhibit C contains the original notice provided to Defendants on May 27, 2015

and all correspondence between the parties thereafter. The factual allegations set forth in those

letters are incorporated by reference in this Complaint.

      DPS Does Not Provide Simultaneous Voter Registration with Online Transactions

       34.      DPS encourages Texans to use a number of online services through its website,

www.txdps.state.tx.us, an official governmental website for the State of Texas.

       35.      DPS invites many Texas driver’s license holders to renew their license and/or

update the address information associated with their license online through a portion of its



                                                     8

                                                                                    APPENDIX 300
         Case
      Case    5:16-cv-00257-OLG
           5:20-cv-00046-OLG     Document
                              Document 77-11 Filed
                                             Filed 05/29/20
                                                   03/14/16 Page
                                                            Page 311
                                                                 9 of of
                                                                      19797




website entitled “Driver License Renewal and Change of Address,” available at

https://txapps.texas.gov/tolapp/txdl/.

        36.      Defendants’ Driver License Renewal and Change of Address website page

provides a single online portal for qualified holders of a Texas driver’s license to renew their

driver’s licenses, update the address listed on their driver’s licenses, or both.

        37.      The online process involves eight “Steps to Complete,” including the following

steps: Welcome, Login, Select Services, Enter Address, Select Options, Review Order, Submit

Payment, and Receipt. See Ex. A, at 1; Ex. C, at 19.

        38.      When users reach Step 5 of this online process, Defendants prompt the users to

answer whether they want to register to vote. See Ex. A, at 2; Ex. C, at 19. If, however, an

eligible voter checks “yes” under the statement “I want to register to vote,” Defendants do not

register that voter to vote and do not update that voter’s registration records.

        39.      Unlike Defendants’ simultaneous voter registration services for license renewal or

address update applications submitted in-person at a DPS office, Defendants do not provide for

simultaneous voter registration as required by the NVRA at any point during the online license

renewal or address update process. Rather than providing any simultaneous opportunity for voter

registration, the DPS website directs voters to an entirely different website, where voters must

“download[] or request[]” a physical voter registration form. 1

        40.      Specifically, Step 5 includes the following statement:

        Selecting “Yes” does not register you to vote. A link to the Secretary of State
        Voter website (where a voter application may be downloaded or requested) will
        be available on your receipt page.



1
 “Simultaneous” means “existing or occurring at the same time: exactly coincident.” Definition of Simultaneous by
Merriam-Webster, Merriam-Webster, http://www.merriam-webster.com/dictionary/simultaneous (last visited March
8, 2016).

                                                        9

                                                                                              APPENDIX 301
           Case
         Case    5:16-cv-00257-OLGDocument
              5:20-cv-00046-OLG     Document 1 Filed
                                           77-1 Filed 03/14/16
                                                      05/29/20 Page
                                                               Page 10
                                                                    312ofof19797




           41.       Then, in order to register to vote, or to update address information, following an

online transaction, an eligible voter must complete a number of additional steps. He or she must

complete a separate voter registration form, print it out (if using a PDF version), and mail the

form to the appropriate county registrar (after looking up that address) before the voter

registration deadline.

           42.       Defendant Secretary of State’s publication, 32nd Annual Election Law Seminar

Handbook 2 confirms that “[i]f the [DPS] transaction was made online, then the person is not

registered to vote.” According to this handbook, “[b]y selecting ‘yes’ when updating information

through DPS online renewal [the voter] is merely requesting a link to a voter registration

application on the individual’s receipt page.”

           43.       This process stands in stark contrast to DPS’ procedures for registering eligible

Texas residents who renew a driver’s license and/or update address information in person at a

DPS office. As DPS recently confirmed, for in-person customers who wish to register to vote,

DPS “electronically transfer[s] to the Secretary of State (SOS) the name and relevant data

regarding each applicant who is of voting age and a United States citizen who affirmatively

answered the voter registration question” at the end of each business day. Ex. C, at 134.

However, when the exact same information is submitted online by an eligible voter who is

identically situated but chose to use DPS’ online system rather than visit the office in person, that

voter’s “name and relevant data” is never transferred to election officials.

           44.       Even though Defendants refuse to use information from online change-of-address

transactions to properly register voters at their new addresses, they are certainly capable of using

this information to do so. In fact, Defendants may use the same online information to cancel a



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    On file with Counsel for Plaintiffs.

                                                     10

                                                                                      APPENDIX 302
       Case
     Case    5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG     Document 1 Filed
                                       77-1 Filed 03/14/16
                                                  05/29/20 Page
                                                           Page 11
                                                                313ofof19797




voter’s prior registration record even though they fail to give voters any notice of this possibility.

See Tex. Elec. Code § 16.031.

       45.       Defendants further confuse voters like Plaintiffs with the portion of DPS’

webpage that provides answers to frequent inquiries about the online renewal and change-of-

address processes. Defendants fail to indicate here that voter registration files are not

simultaneously updated. See Ex. E. DPS also fails to explain on its website that completing DPS’

online change-of-address form may jeopardize a voter’s registration status at his or her former

residence. Id.

                           Defendants’ Conduct Injures Each Plaintiff

       46.       Benjamin Hernandez: Mr. Hernandez moved to Dallas County from Ector

County in February 2013. That month, he updated his driver’s license address online, and

believed that his voter registration records were updated as well. On Election Day 2014, Mr.

Hernandez attempted to vote in Dallas County, but was told that his name was not on the rolls in

Dallas County. Mr. Hernandez cast a provisional ballot, but later received notice that his vote

was not counted.

       47.       Jarrod Stringer: Mr. Stringer moved from Tarrant County to Bexar County on

August 1, 2014. Within the same week, Mr. Stringer updated his driver’s license address online,

and believed that his voter registration records were updated as well. Mr. Stringer attempted to

vote early in the 2014 general election, but was told that his name was not on the rolls in Bexar

County. Mr. Stringer then called Bexar County election officials, and was told that he was not

registered in Bexar and could only vote a limited ballot with state-wide candidates, because he

was still registered at his former address. When Mr. Stringer explained that he had changed his




                                                 11

                                                                                    APPENDIX 303
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 1 Filed
                                        77-1 Filed 03/14/16
                                                   05/29/20 Page
                                                            Page 12
                                                                 314ofof19797




address through DPS’ website, the election officials with whom he spoke told Mr. Stringer that

the county was aware of “problems at DPS.”

          48.   Totysa Watkins: Ms. Watkins moved from Denton County to Dallas County in

2011. After moving, she changed her driver’s license address online, and believed that her voter

registration records were updated as well. In September 2013, Ms. Watkins moved within Irving,

which is in Dallas County, and once again changed her driver’s license address and attempted to

update her voter registration online through DPS’ website. Ms. Watkins attempted to vote on

Election Day 2014, but was told by an election worker that she was not registered in Dallas

County. She cast a provisional ballot. A few weeks later, Ms. Watkins received a notice

indicating that her vote was not counted and then received two new voter registration cards.

          49.   John Woods: Dr. Woods moved from Travis County to Harris County in June

2015. In September 2015, Dr. Woods changed his driver’s license address online, and believed

that his voter registration records were updated as well. Shortly thereafter, Dr. Woods went to a

local library, where he was offered an opportunity to register to vote. He declined that

opportunity, however, because he believed that his voter registration records had already been

updated. Dr. Woods called Harris County on Election Day 2015, trying to identify his polling

location. Dr. Woods was informed that he was not registered in Harris County, but was still

registered in Travis County, and that any provisional ballot cast in Harris County would likely

not be counted. Nonetheless, Dr. Woods went to his local polling location and cast a provisional

ballot.

          50.   Each Plaintiff believed that he or she was properly registered because he or she

completed an online transaction with DPS, attempted to update his or her registration records,

and later received an updated driver’s license in the mail.



                                                12

                                                                                 APPENDIX 304
         Case
       Case    5:16-cv-00257-OLGDocument
            5:20-cv-00046-OLG     Document 1 Filed
                                         77-1 Filed 03/14/16
                                                    05/29/20 Page
                                                             Page 13
                                                                  315ofof19797




        51.     Plaintiffs only learned of DPS’ registration failures when they arrived at the polls

and were denied a regular ballot.

        52.     No Plaintiff was informed that completing DPS’ online change-of-address form

could jeopardize his or her registration status at his or her former residence pursuant to current

law.

        53.     The conduct that harmed Plaintiffs is ongoing. Moreover, Defendants have

repeatedly maintained that they are unwilling to change the policies and practices that caused the

injuries described herein. See Ex. C.

              Defendants’ Voter Registration Failures Harm Countless Texas Voters

        54.     As a result of Defendants’ failure to comply with the NVRA, countless eligible

Texas residents have been denied the right to voter registration, which is guaranteed by the

NVRA.

        55.     Indeed, according to its own data, between September 2013 and May 26, 2015,

the State recorded complaints from more than 1,800 voters who completed an online transaction

with DPS and mistakenly believed that their registration records were updated as well.

        56.     For all of the reasons laid out in Plaintiffs’ May 27, 2015 notice letter, Exhibit C,

at 2-21, the voters who complained almost certainly represent just a fraction of the total affected

during that time frame. Indeed, the State’s records capture only those voters who contacted

election workers, specifically complained about registration problems at DPS, and had their files

investigated — surely, not all affected voters complained; others may have reported problems

but had their complaints disregarded by election workers. Further, the data provided by the State

comes from just 123 of Texas’ 254 counties, strongly suggesting that the data set itself is

incomplete. See Ex. B; Ex. C, at 9.



                                                 13

                                                                                   APPENDIX 305
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 1 Filed
                                        77-1 Filed 03/14/16
                                                   05/29/20 Page
                                                            Page 14
                                                                 316ofof19797




        57.     Notably, numerous emails, obtained through public records requests, establish

that DPS officials and high-ranking employees in the Secretary of State’s office have had actual

knowledge of the significant and widespread confusion caused by the State’s treatment of online

DPS transactions since at least 2012. See Ex. C, at 15; Ex. D. But, to date, Defendants have taken

no significant steps to remedy these problems.

                                      CLAIMS FOR RELIEF

                                             Count I
                    Subjecting Plaintiffs to Arbitrary Treatment in Violation
                                of the Right to Equal Protection

        58.    Plaintiffs incorporate by reference the allegations contained in Paragraphs 33

through 57 as if fully set forth herein.

        59.     By arbitrarily subjecting Plaintiffs to disparate voter registration standards,

Defendants have denied Plaintiffs an equal opportunity to participate in federal and state

elections in violation of Section 1 of the Fourteenth Amendment. As a result of this disparate

treatment, Plaintiffs were denied their right to vote.

                                             Count II
                     Failure to Treat Driver’s License Renewal Transactions
                                as Voter Registration Applications

        60.    Plaintiffs incorporate by reference the allegations contained in Paragraphs 33

through 57 as if fully set forth herein.

        61.     Plaintiffs have a private right of action pursuant to 52 U.S.C. § 20510(b).

Plaintiffs must “provide written notice of… violation[s] to the chief election official of the State

involved.” 52 U.S.C. § 20510(b)(1). Defendants received notice of these violations and failed to

correct them within 90 days of receiving that notice. 52 U.S.C. § 20510; see Ex. C. Therefore,

Plaintiffs may bring this suit.



                                                 14

                                                                                  APPENDIX 306
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 1 Filed
                                        77-1 Filed 03/14/16
                                                   05/29/20 Page
                                                            Page 15
                                                                 317ofof19797




       62.     Defendants have violated and continue to violate 52 U.S.C.§ 20503(a)(1) by

failing to establish procedures “to register to vote in elections for Federal office . . . by

application made simultaneously with an application for a motor vehicle driver’s license

pursuant to section 20504.”

       63.     Defendants have violated and continue to violate 52 U.S.C.§ 20504(a)(1) by

failing to operate a system in which online applications to renew a Texas driver’s license also

serve as simultaneous applications for voter registration.

       64.     Defendants have violated and continue to violate 52 U.S.C. § 20504(a)(2) by

failing to treat online driver’s license renewal applications “as updating any previous voter

registration by the applicant.”

       65.     Defendants have violated and continue to violate 52 U.S.C.§ 20504(c) by

requiring eligible voters who use the DPS website to renew a driver’s license and who wish to

register to vote to separately submit “information that duplicates information required in the

driver’s license portion of the form.”

       66.     Defendants have violated and continue to violate 52 U.S.C. § 20504(e) by failing

to transmit voter registration information submitted online to “the appropriate State election

official” within the statutory period.

       67.     Defendants have violated and continue to violate 52 U.S.C. § 20507(a)(1)(A) by

failing to “ensure that any eligible applicant is registered to vote” if the “valid voter registration

form of the applicant is submitted to the appropriate State motor vehicle authority not later than

the lesser of 30 days, or the period provided by State law, before the date of the election.”




                                                 15

                                                                                    APPENDIX 307
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 1 Filed
                                        77-1 Filed 03/14/16
                                                   05/29/20 Page
                                                            Page 16
                                                                 318ofof19797




                                            Count III
               Failure to Treat Driver’s License Change-of-Address Transactions
                           as Updates for Voter Registration Purposes

        68.    Plaintiffs incorporate by reference the allegations contained in Paragraphs 33

through 57 as if fully set forth herein.

        69.     Plaintiffs have a private right of action pursuant to 52 U.S.C. § 20510(b).

Plaintiffs must “provide written notice of… violation[s] to the chief election official of the State

involved.” 52 U.S.C. § 20510(b)(1). Defendants received notice of these violations and failed to

correct them within 90 days of receiving that notice. 52 U.S.C. § 20510; see Ex. C. Therefore,

Plaintiffs may bring this suit.

        70.     Defendants have violated and continue to violate 52 U.S.C.§ 20503(a)(1) by

failing to establish procedures “to register to vote in elections for Federal office . . . by

application made simultaneously with an application for a motor vehicle driver’s license

pursuant to section 20504.”

        71.     Defendants have violated and continue to violate 52 U.S.C.§ 20504(c) by

requiring eligible voters who use the DPS website to update a driver’s license and who wish to

register to vote to separately submit “information that duplicates information required in the

driver’s license portion of the form.”

        72.     Defendants have violated and continue to violate 52 U.S.C.§ 20504(d) by failing

to operate a system in which “[a]ny change of address form submitted in accordance with State

law for purposes of a State motor vehicle driver’s license” serves “as notification of change of

address for voter registration.”




                                                16

                                                                                  APPENDIX 308
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 1 Filed
                                        77-1 Filed 03/14/16
                                                   05/29/20 Page
                                                            Page 17
                                                                 319ofof19797




            73.   Defendants have violated and continue to violate 52 U.S.C. § 20504(e) by failing

to transmit voter registration information submitted online to “the appropriate State election

official” within the statutory period.

            74.   Defendants have violated and continue to violate 52 U.S.C. § 20507(a)(1)(A) by

failing to “ensure that any eligible applicant is registered to vote” if the “valid voter registration

form of the applicant is submitted to the appropriate State motor vehicle authority not later than

the lesser of 30 days, or the period provided by State law, before the date of the election.”

                                     REQUEST FOR RELIEF

Plaintiffs respectfully request for the Court to enter an order:

       i.         Declaring, pursuant to 28 U.S.C. § 2201 and 52 U.S.C. § 20510(b)(2), that

Defendants have violated the NVRA by failing to provide for simultaneous voter registration

with online driver’s license renewal;

     ii.          Declaring, pursuant to 28 U.S.C. § 2201 and 52 U.S.C. § 20510(b)(2), that

Defendants have violated the NVRA by failing to provide for simultaneous voter registration

with online change-of-address forms;

     iii.         Permanently enjoining Defendants, their agents and successors in office, and all

persons working in concert with them, from implementing practices and procedures that likewise

violate the NVRA;

     iv.          Directing Defendants, under a court-approved plan with appropriate reporting and

monitoring requirements, to take all appropriate measures necessary to remedy the harm caused

by their noncompliance, including, but not limited to providing for the electronic transfer of

voter registration information collected through online transactions to the Secretary of State,




                                                  17

                                                                                    APPENDIX 309
       Case
     Case    5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG     Document 1 Filed
                                       77-1 Filed 03/14/16
                                                  05/29/20 Page
                                                           Page 18
                                                                320ofof19797




similar to the existing system to transfer voter registration information collected through in-

person transactions;

     v.        Awarding Plaintiffs reasonable attorney fees, including litigation expenses, and

costs, pursuant to 52 U.S.C. § 20510(c);

    vi.        Retaining jurisdiction over this action to ensure that Defendants continue to

comply with their obligations under the NVRA; and

    vii.       Awarding such other equitable and further relief as the Court deems just and

proper.


Dated: March 14, 2016                               Respectfully submitted,

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                                              18

                                                                               APPENDIX 310
  Case
Case    5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG     Document 1 Filed
                                  77-1 Filed 03/14/16
                                             05/29/20 Page
                                                      Page 19
                                                           321ofof19797




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                                       ** Mimi Marziani’s and Hani Mirza’s
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                                       Western District of Texas is currently
                                       pending.

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                                       ATTORNEYS FOR PLAINTIFFS




                                  19

                                                                   APPENDIX 311
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 322 of 797




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                                                          APPENDIX 312
       Case
     Case    5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG     Document 77 Filed
                                       77-1  Filed05/29/20
                                                   06/30/17 Page
                                                             Page323
                                                                  1 ofof32797




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JARROD STRINGER, et al.,                        §
                                                §
                    Plaintiffs                  §
                                                §
v.                                              §          C.A. 5:16-cv-00257-OLG
                                                §
ROLANDO PABLOS, in his official                 §
capacity as the Texas Secretary of State, and   §
STEVEN C. McCRAW, in his official               §
capacity as the Director of the Texas           §
Department of Public Safety,                    §
                                                §
                    Defendants                  §

                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT



  THE TEXAS CIVIL RIGHTS PROJECT                    WATERS & KRAUS, LLP
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                                                                             APPENDIX 313
          Case
        Case    5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG     Document 77 Filed
                                          77-1  Filed05/29/20
                                                      06/30/17 Page
                                                                Page324
                                                                     2 ofof32797




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... iii
PRELIMINARY STATEMENT .....................................................................................................1
BACKGROUND .............................................................................................................................4
UNDISPUTED FACTS ...................................................................................................................4
      A. DPS seamlessly integrates voter registration into its mail-in change-of-address
         and in-person driver’s license applications. ......................................................................5
      B. Defendants do not provide simultaneous voter registration applications with
         online transactions, but instead require additional steps and duplicative
         information before a customer can register or update their voter registration
         information. .......................................................................................................................7
      C. Plaintiffs moved from one Texas county to another, transacted with DPS online
         to update their driver’s license information, and checked “yes” to the voter
         registration question, yet Defendants failed to update their voter registration
         information and Plaintiffs were denied the chance to cast a regular ballot in an
         election. ...........................................................................................................................10
             1.      Benjamin Hernandez ............................................................................................. 10
             2.      Jarrod Stringer...................................................................................................... 11
             3.      John Woods ........................................................................................................... 11
      D. DPS is technologically capable of providing voter-registration information from
         online transactions to SOS and doing so would not be cost prohibitive. ........................12
LEGAL STANDARD ................................................................................................................... 13
ARGUMENT ................................................................................................................................ 13
      A. Texas’ failure to treat online DPS transactions as voter registration applications
         violates the NVRA ..........................................................................................................14
             1.      The plain language of the NVRA controls .............................................................14
             2.      Defendants fail to treat online driver’s license renewal applications as
                     “simultaneous” voter registration applications in violation of 52 U.S.C.
                     §§ 20503(a)(1), 20504(a)(1), and 20504(a)(2)......................................................15
             3.      Defendants fail to treat online driver’s license change-of-address
                     applications as notifications for voter registration in violation of 52
                     U.S.C. § 20504(d). .................................................................................................17
             4.      Defendants’ requirement that applicants submit a separate voter
                     registration application upon completion of online transactions violates
                     the NVRA’s prohibition against requiring duplicative information, 52
                     U.S.C. § 20504(c)(2). .............................................................................................17
             5.      Defendants’ failure to transmit voter registration information submitted
                     during online driver’s license transactions violates 52 U.S.C. § 20504(e). ..........18


                                                                      i

                                                                                                                       APPENDIX 314
          Case
        Case    5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG     Document 77 Filed
                                          77-1  Filed05/29/20
                                                      06/30/17 Page
                                                                Page325
                                                                     3 ofof32797




             6.      SOS’s failure to ensure that eligible applicants are registered to vote upon
                     completion of the voter registration portion of online driver’s license
                     change-of-address and renewal applications violates 52 U.S.C. §
                     20507(a)(1)(A). ......................................................................................................18
      B. Texas’ failure to treat online DPS transactions as voter registration applications
         violates the Equal Protection Clause...............................................................................19
              1.     The Equal Protection Clause protects against restrictions that place
                     unreasonable burdens on the right to vote. ...........................................................19
              2.     Defendants’ refusal to treat online driver’s license transactions as voter
                     registration applications unduly burdens Plaintiffs’ right to vote.........................20
              3.     Defendants’ asserted interest in requiring handwritten signatures is
                     insufficient to justify the burdens created by their treatment of online DPS
                     transactions. ...........................................................................................................21
             4.      DPS’s signature requirement as to online transactions is unreasonable. .............22
      C. Defendants’ Affirmative Defenses are Not Supported by Evidence...............................23
      D. Defendants should be required to correct their violations of the NVRA within
         three months of the Court’s ruling. .................................................................................24
CONCLUSION ............................................................................................................................. 25




                                                                      ii
                                                                                                                       APPENDIX 315
          Case
        Case    5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG     Document 77 Filed
                                          77-1  Filed05/29/20
                                                      06/30/17 Page
                                                                Page326
                                                                     4 ofof32797




                                               TABLE OF AUTHORITIES


Cases

Action NC v. Strach,
  216 F. Supp. 3d 597 (M.D. N.C. 2016) .............................................................................. 14, 15
Anderson v. Celebrezze,
  460 U.S. 780 (1983) ............................................................................................................ 19, 22
Anderson v. Liberty Lobby, Inc.,
  447 U.S. 242 (1986). ................................................................................................................. 13
Arcia v. Florida Sec’y of State,
  772 F.3d 1335 (11th Cir. 2014) ................................................................................................ 13
Ass'n of Cmty. Organizations for Reform Now (ACORN) v. Edgar,
  56 F.3d 791 (7th Cir. 1995) ........................................................................................................ 3
Burdick v. Takushi,
  504 U.S. 428, 434 (1992). ............................................................................................. 19, 20, 22
Bush v. Gore,
  531 U.S. 98, 104 (2000). ........................................................................................................... 19
Charles H. Wesley Educ. Found., Inc. v. Cox,
  408 F.3d 1349 (11th Cir. 2005) ................................................................................................ 13
Crawford v. Marion County Election Bd.,
  553 U.S. 181 (2008) ............................................................................................................ 19, 20
Crowe v. Henry,
  115 F.3d 294 (5th Cir. 1997) .................................................................................................... 13
Ferrand v. Schedler,
  2012 WL 1570094 (E.D. La. May 3, 2012) .............................................................................. 14
Fish v. Kobach,
  840 F.3d 710 (10th Cir. 2016) .................................................................................................. 14
Georgia State Conference of NAACP. v. Kemp,
  841 F. Supp. 2d 1320 (N.D. Ga. 2012) ............................................................................... 14, 15
Harper v. Va. State Bd. of Elections,
  383 U.S. 663 (1966) .................................................................................................................. 19
In re Dale,
   582 F.3d 568 (5th Cir. 2009) .................................................................................................... 14
Kusper v. Pontikes,
  414 U.S. 51 (1973) .................................................................................................................... 22
Norman v. Reed,
  502 U.S. 279 (1992) .................................................................................................................. 20


                                                                    iii

                                                                                                                    APPENDIX 316
          Case
        Case    5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG     Document 77 Filed
                                          77-1  Filed05/29/20
                                                      06/30/17 Page
                                                                Page327
                                                                     5 ofof32797




Northeast Ohio Coalition for the Homeless v. Husted,
  837 F.3d 612 (6th Cir. 2016), (cert. denied, 2017 WL 881266 (U.S. June 19, 2017) .............. 23
Obama for America v. Husted,
  697 F.3d 423 (6th Cir. 2012). ................................................................................................... 19
Project Vote/Voting for Am., Inc. v. Long,
  682 F.3d 331 (4th Cir. 2012) .................................................................................................... 15
Reynolds v. Sims,
  377 U.S. 533 (1964). ................................................................................................................... 3
Voting Rights Coal. v. Wilson,
  60 F.3d 1411 (9th Cir. 1995) ...................................................................................................... 3

Statutes and Rules
28 U.S.C. § 2201 ........................................................................................................................... 25
37 Tex. Admin. Code § 15.59(c) .................................................................................................... 5
52 U.S.C. § 20503(a)(1) ............................................................................................................... 15
52 U.S.C. § 20504 ....................................................................................................................... 2, 5
52 U.S.C. § 20504(a)(1) ........................................................................................................... 2, 15
52 U.S.C. § 20504(a)(2). ............................................................................................................... 15
52 U.S.C. § 20504(c)(1) ........................................................................................................... 2, 15
52 U.S.C. § 20504(c)(2). ............................................................................................................... 17
52 U.S.C. § 20504(d). ............................................................................................................... 2, 16
52 U.S.C. § 20504(e). ................................................................................................................... 18
52 U.S.C. § 20504(e)(1)-(2). ......................................................................................................... 18
52 U.S.C. § 20507(a)(1)(A). ......................................................................................................... 18
52 U.S.C. § 20509 ........................................................................................................................... 5
52 U.S.C. § 20510(b)(1) ............................................................................................................... 23
52 U.S.C. § 20510(b)(2) ......................................................................................................... 23, 25
Fed. R. Civ. P. 56(a) ..................................................................................................................... 13
Tex. Elec. Code § 31.001 ................................................................................................................ 5
Tex. Elec. Code § 20.001(b) ........................................................................................................... 5
Tex. Elec. Code § 20.061-66 .......................................................................................................... 5
Tex. Gov’t Code § 2054.252........................................................................................................... 8
Tex. Gov’t Code § 2054.271........................................................................................................... 8




                                                                      iv
                                                                                                                      APPENDIX 317
       Case
     Case    5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG     Document 77 Filed
                                       77-1  Filed05/29/20
                                                   06/30/17 Page
                                                             Page328
                                                                  6 ofof32797




       Since before 2010, Texas has failed to comply with the National Voter Registration Act

(NVRA) and violated the Equal Protection Clause of the Fourteenth Amendment, stripping from

millions of Texans their right to register to vote during online driver’s license renewal and

change-of-address transactions. Plaintiffs are eligible Texas voters who were denied voter

registration during NVRA-covered online driver’s license transactions and, thereafter,

disenfranchised. They respectfully ask the Court to render final summary judgment against

Defendants and order the State of Texas to take immediate steps to adhere to the Constitution

and federal law.

                                PRELIMINARY STATEMENT

       The central fact of this case has never been disputed: When eligible Texans update their

driver’s licenses online with the Department of Public Safety (DPS), they are not offered a

simultaneous application to register to vote or update their voter registration information.1 As

this Court has already held, the NVRA requires that each driver’s license application, including

any renewal application, simultaneously serve as an application for voter registration, and that

each change-of-address form be used to update the voter’s registration records.

       Texas’s refusal to integrate voter registration into its online driver’s license renewal and

change-of-address process affects nearly 1.5 million Texans annually, including the Plaintiffs

here. Each Plaintiff moved within Texas, changed his driver’s license address using DPS’s

online driver license renewal and change-of-address website, indicated “Yes” in response to the

prompt “I want to register to vote,” but was not registered to vote. Each Plaintiff, although

eligible to do so, was prevented from fully exercising his fundamental right to vote in a

subsequent election due to his outdated registration record.

1
 As Defendants put it, “[t]he key facts of this case are not disputed.” Defs.’ Reply in Supp. of
Mot. to Dismiss, Dkt. 12 at 6; see also Joint Report on Alternative Dispute Resolution, Dkt. 22 at
2 (stating that the parties agree “that their primary dispute is legal, rather than factual”).
                                                   1

                                                                                  APPENDIX 318
          Case
        Case    5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG     Document 77 Filed
                                          77-1  Filed05/29/20
                                                      06/30/17 Page
                                                                Page329
                                                                     7 ofof32797




         Texas has known for years that its online driver’s license transaction practices

disenfranchise large numbers of voters. Between September 2013 and February 2015, for

instance, more than 1,800 Texans complained about Texas’ failure to register individuals to vote

through the DPS online driver's license application, according to the State’s own records. Yet

Texas took no meaningful steps to fix its process. Instead, adding insult to injury, DPS

encourages the use of the online system over in-person transactions, resulting—predictably—in

a dramatic uptick in online transactions and, by extension, injured prospective voters.

         The State does not claim that NVRA compliance would be too expensive or burdensome.

Instead, Texas seeks to contort the plain language of the law to justify its current processes.

According to the Defendants, even though the NVRA provides “simultaneous application for

voter registration” by requiring that “each . . . driver’s license application . . . serve as an

application for voter registration,” 52 U.S.C. § 20504, what it means is something else entirely.

The State asserts that it must offer nothing more than a simultaneous opportunity to register to

vote during an online driver’s license transaction, which can be satisfied by forcing online DPS

customers to retrieve, print, complete, and mail an entirely separate and duplicative voter

registration application after finishing their online transaction. This Court rightfully rejected that

reading of the NVRA, holding that the law clearly prohibits Texas’s procedure because the

NVRA requires not only “that the applications be simultaneous, but discusses them in terms of a

single transaction.”2 Accordingly, and as this Court found, Texas’s refusal to treat online driver’s

license renewal and change-of-address forms as voter registration applications violates the

NVRA.

         No doubt recognizing the weakness of its “simultaneous opportunity” argument, the State

makes another, even bolder argument—that the NVRA gives states the prerogative to legislate


2
    Order, Dkt. 52 at 11 (citing 52 U.S.C. §§ 20504(a)(1), 20504(c)(1), 20504(d)).
                                                  2
                                                                                     APPENDIX 319
       Case
     Case    5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG     Document 77 Filed
                                       77-1  Filed05/29/20
                                                   06/30/17 Page
                                                             Page330
                                                                  8 ofof32797




away the law’s mandates if a state determines that the NVRA conflicts with state law. Since

Texas law requires a voter’s signature on a voter registration form, Defendants claim that the

NVRA permits Texas to flout the statute’s simultaneous-application requirement and require

DPS customers to fill out and sign an entirely separate voter registration form after providing

identical information to DPS during an NVRA-covered transaction. The NVRA, of course,

permits no such thing. As a federal law, long upheld against constitutional challenge, it preempts

any conflicting state requirements. Voting Rights Coal. v. Wilson, 60 F.3d 1411, 1415–16 (9th

Cir. 1995); Ass'n of Cmty. Organizations for Reform Now (ACORN) v. Edgar, 56 F.3d 791, 794-

795 (7th Cir. 1995).3 Moreover, as this Court noted, this argument is a red herring: In fact,

anyone using DPS’s online driver license renewal and change-of-address system has already

provided the state with his signature, which Texas already uses to update their voter registration

files in some circumstances.4

       “The right to vote freely for the candidate of one’s choice is of the essence of a

democratic society, and any restrictions on that right strike at the heart of representative

government.” Reynolds v. Sims, 377 U.S. 533, 555 (1964). Too many Texas voters have been

unlawfully denied voter registration, just like the Plaintiffs, because of the State’s longstanding

failure to comply with the NVRA. Another federal election cycle is fast approaching; the

deadline to register to vote for the March primary election is a little more than seven months

away.5 Given that the fundamental right to vote is at stake for millions of Texas voters, the Court

should order immediate compliance with the NVRA and the Constitution. The State should be




3
  See also Dkt. 52 at 14-16.
4
  Id. at 16-18.
5
  The deadline for the March 2018 primaries is February 5, 2018. See Important 2018 Election
Dates, http://www.sos.state.tx.us/elections/voter/2018-important-election-dates.shtml (last
visited June 28, 2017).
                                                 3
                                                                                  APPENDIX 320
        Case
      Case    5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG     Document 77 Filed
                                        77-1  Filed05/29/20
                                                    06/30/17 Page
                                                              Page331
                                                                   9 ofof32797




required to fully implement Plaintiffs’ requested remedy within three months of the Court’s

order and no later than January 1, 2018.

                                          BACKGROUND

       Between May and November 2015, Plaintiffs’ counsel wrote to Defendants’ counsel

several times to notify Defendants about Plaintiffs’ claims regarding violations of the NVRA.6

Defendants did not make the changes Plaintiffs stated were necessary to correct the violations

prior to Plaintiffs filing suit on March 14, 2016, nearly four months after the last notice letter.

Plaintiffs thus brought this lawsuit to enforce the state’s duties.

       Defendants moved to dismiss, but the Court denied the motion, holding that “standing

has been established and that Plaintiffs have stated claims upon which relief can be granted

under both the NVRA and the Equal Protection Clause.”7

       Since August 3, 2016, when this Court entered its first Scheduling Order in this matter,

Plaintiffs have conducted discovery in good faith and as expeditiously as possible. Defendants,

on the other hand, purposely delayed responding to Plaintiffs’ discovery requests for months

after the documents were due, requiring Plaintiffs to obtain a Court Order compelling

Defendants’ responses—an Order Defendants were ultimately sanctioned for intentionally

violating. Since their initial pre-litigation communications in May 2015, Plaintiffs have

continued to emphasize the need to resolve this matter as soon as possible, well before the 2018

election, but Defendants have repeatedly, purposefully delayed.

                                      UNDISPUTED FACTS
       DPS operates offices around the state and issues driver’s licenses and other state

identification cards. DPS’s in-person application forms and mail-in change-of-address forms



6
  Dkt. 52 at 7-9; Appx. 2-21 (Ex. 1, May 27, 2015 Notice Letter, D_009849-64); Appx. 23-24
(Ex. 2, Oct. 23, 2015 Notice Letter); Appx. 26-27 (Ex. 3, Nov. 18, 2015 Notice Letter).
7
  Dkt. 52 at 21.
                                                4
                                                                                  APPENDIX 321
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 332
                                                                10 ofof32
                                                                        797




currently serve as simultaneous voter registration applications as required under the NVRA.8

DPS’s online renewal and change-of-address form does not, however, serve as a simultaneous

voter registration application.9

       Defendant Rolando Pablos is Secretary of State and serves as Texas’s Chief Election

Officer, responsible for coordinating Texas’s compliance with the NVRA.10 That office agrees

that the NVRA applies to all driver’s license application transactions, including online

transactions.11 DPS is responsible under state and federal law for providing voter registration

services to customers and transmitting voter registration information to the SOS.12

    A. DPS seamlessly integrates voter registration into its mail-in change-of-address and
       in-person driver’s license applications.
       DPS’s protocol for providing voter registration to customers who interact with DPS in

person (for a new driver’s license application, a renewal, or a change-of-address), and for

customers who utilize DPS’s mail-in change-of-address form, is in line with NVRA

requirements. A DPS customer who decides to or is required to transact with DPS in person must

fill out the relevant driver’s license form with personal information in order to obtain, update, or

renew his driver’s license.13 DPS uses different forms depending on the type of transaction: form

DL-14A for an original (in-person) Application for Texas Driver License or Identification



8
  Appx. 31 (Ex. 4, Texas Department of Public Safety Implementation Plan, D_00021063 at
D_00021065);
9
  Appx. 33 (Ex. 5, Excerpt, Texas Secretary of State Elections Division 34th Annual Election
Law Seminar, “DPS Voter Inquiry Web Portal” 669, D_00014211 at slide 3).
10
   52 U.S.C. § 20509, Tex. Elec. Code § 31.001
11
   Appx. 40 (Ex. 6, Excerpts of Mar. 22, 2017 30(b)(6) Deposition of Keith Ingram, SOS’s
designee (“Ingram 30(b)(6) Dep.”) 62:04-17 (“whenever a person has a driver’s license
transaction . . . they should be simultaneously offered the right—the ability to update their voter
registration or register to vote for the first time. That’s why the NVRA is called the Motor Voter
law.”)).
12
   52 U.S.C. § 20504, Tex. Elec. Code §§ 20.001(b), 20.061-66; Appx. 113 (Ex. 15, DPS’s
Suppl. Resps. to Jarrod Stringer’s First Requests for Admission (“RFAs”), No. 4).
13
   DPS customers are required to renew their driver’s license in-person every 12 years. 37 Tex.
Admin. Code § 15.59(c).
                                                     5
                                                                                  APPENDIX 322
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 333
                                                               11 ofof32
                                                                       797




Card,14 form DL-43 for an in-person Application for Renewal/Replacement/Change of a Texas

Driver License or Identification Card,15 and form DL-64 for a mail-in Application for Change-

of-address on Valid Texas Driver (DL) & Identification Card (ID).16 For each, the driver’s

license and voter registration process has been combined into one seamless transaction so that—

in order to register or update voter registration information—the customer need only take one

additional step related to voter registration—check a single box on these same forms:

                         DL-14A and DL-43, in-person driver’s license forms




                           DL-64, mail-in change-of-address form




       Except for this simple, integrated step of checking a box, the in-person and mail-in

change-of-address customer does not have to take any further action to ensure he is registered to

vote. The customer is not required to retrieve, complete, print, and mail a separate voter




14
   Appx. 50-51 (Ex. 7, DL-14A (Rev. 2-17)), see also Texas Department of Public Safety,
Application for Texas Driver License or Identification Card,
https://www.dps.texas.gov/internetforms/Forms/DL-14A.pdf (last visited June 18, 2017).
15
   Appx. 53-54 (Ex.8, DL-43 (Rev. 2-17)), Texas Department of Public Safety, Application for
Renewal/Replacement/Change of Texas Driver License or Identification Card,
http://www.dps.texas.gov/Internetforms/Forms/DL-43.pdf (last visited June 18, 2017).
16
   Appx. 56-57 (Ex.9, DL-64 (Rev. 2-17)) see also Texas Department of Public Safety,
Application for Change-of-address on Valid Texas Driver License (DL) & Identification Card
(ID), http://www.dps.texas.gov/Internetforms/Forms/DL-64.pdf (last visited June 18, 2017).
                                                6
                                                                                APPENDIX 323
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 334
                                                                12 ofof32
                                                                        797




registration application; instead, DPS transmits the voter’s file to SOS upon receipt of a

completed mail-in change-of-address form or in-person driver’s license applications.17

        Upon receipt of DPS customers’ voter registration information, SOS then transmits the

data to local voter registrars who are responsible for completing the voter registration process.18

Ultimately, within thirty days after checking “yes” on the relevant in-person or mail-in change-

of-address form, the DPS customer should receive his new or updated voter registration card in

the mail.19 Notably, for all mail-in change-of-address transactions, it is the customer’s

previously-provided electronic signature—the one provided during the customer’s last in-person

transaction—that is used for voter registration purposes.20 In fact, a customer’s electronic

signature is used for voter registration purposes for all voter registration applications originating

at DPS.21

     B. Defendants do not provide simultaneous voter registration applications with online
        transactions, but instead require additional steps and duplicative information
        before a customer can register or update their voter registration information.

        In stark contrast to the ease with which a customer may register to vote or update his

voter registration information via in-person or mail-in change-of-address driver’s license forms,

17
   Appx. 66-67 (Ex. 10, Excerpts of Mar. 7, 2017 30(b)(6) Deposition of Sheri Gipson, DPS’s
designee (“Gipson 30(b)(6) Dep.”) 101:24-102:09).
18
   Appx. 98 (Ex. 13, SOS’s Suppl. Resps. to Jarrod Stringer’s First RFAs, No. 13); See Appx. 43
(Ex. 6, Ingram 30(b)(6) Dep. 173:9-10); Appx. 110 (Ex. 14, Excerpt from Secretary of State’s
32nd Annual Election Law Seminar, Voter Registration 102 presentation, P003060, Voter
Registration Presentation, slide 14, P003982 at P003995) (produced to Plaintiffs as bates
D_00008318-8354 marked as “confidential” and so not attached here).
19
   See Appx. 43-44 (Ex. 6, Ingram 30(b)(6) Dep. 173:16-174:09).
20
   Appx. 89 (Ex. 12, Excerpts of Feb. 17, 2017 30(b)(6) Deposition of John Crawford
(“Crawford 30(b)(6) Dep.”) 139:10-21); see also Appx. 50-51 (Ex. 7, DL-14A); Appx. 53-54
(Ex.8, DL-43).
21
   Appx. 69 (Ex. 10, Gipson 30(b)(6) Dep. 203:19-204:-7.); Appx. 42 (Ex. 6, Ingram 30(b)(6)
Dep. 97:04-14); Notably, although DPS obtains a handwritten signature on the in-person and
mail change-of-address forms, those signatures are not transmitted to SOS for voter registration
purposes, nor are they compared for identity-verification purposes except in the rare case of
suspected fraud or theft. Appx. 79-80 (Ex. 11, Excerpts of Jan. 31, 2017 Deposition of Sheri
Gipson (“Gipson Dep.”) 234:11-237:15, 254:04-07); see also Appx. 87-88 (Ex. 12, Crawford
30(b)(6) Dep. 73:22-74:14), Appx. 39 (Ex. 6, Ingram 30(b)(6) Dep. 50:01-11).
                                                7
                                                                                   APPENDIX 324
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 335
                                                               13 ofof32
                                                                       797




a customer transacting with DPS online must retrieve, complete, print, and mail an entirely

separate voter registration application—which requires that he again provide information already

collected by DPS—in order to register or update his voter registration information.

       DPS’s Driver License Renewal and Change-of-address website page provides a single

online portal for qualified holders of a Texas driver’s license to renew their driver’s license,

update the address listed on their driver’s license, or both.22 For DPS purposes, updating or

renewing a driver’s license online comports with state law, and does not require a new

signature.23

       A customer wishing to renew or update his driver’s license online must first provide his

driver’s license number, date of birth, driver’s license audit number, and the last four digits of his

social security number, which DPS’s vendor uses to check against DPS’s system in real time to

verify the customer’s eligibility to transact online with DPS.24 If eligible, the customer must then

enter additional personal information.25

       From 2010 to February 2016, when users reached Step 5 of the online process, DPS

prompted the customer to choose “yes” or “no” in response to the statement, “I want to register

to vote.”26 Checking “yes” to the voter registration question at Step 5 does one thing only—it


22
   Appx. 117 (Ex. 15, DPS’s Suppl. Resps. to Benjamin Hernandez’s First RFAs, No. 5).
23
   Appx. 70 (Ex. 10, Gipson 30(b)(6) Dep. 215:21-216:7).
24
   Appx. 70-72 (Id. at 217:21-219:16, 223:17-224:05). These four data points required for online
transactions with DPS are also required by the Texas Online Authentication System (TOAS),
which is used by various state agencies to authenticate customers’ identity, and “may be used by
the state agency or local government as an alternative to requiring a notarized document, a
document signed by a third party, or an original signature on a document.” Tex. Gov’t Code §
2054.271; see also Tex. Gov’t Code § 2054.252.
25
   Appx. 130 (Ex. 16, Texas Department of Public Safety Driver License Renewal and Change-
of-address webpage, D_00021840). Only United States citizens are allowed to renew or update
their driver’s licenses online. See Texas Department of Public Safety, Online Services Eligibility,
https://txapps.texas.gov/tolapp/txdl/eligibility.dl?locale=en_US (last visited June 26, 2017).
26
   Appx. 118 (Ex. 15, DPS’s Suppl. Resps. to Benjamin Hernandez’s First RFAs, Nos. 7-8); see
also Appx. 124-125 (Ex. 15, DPS’s Suppl. Resps. to Totysa Watkins’ First RFAs, Nos. 26-28).
Shockingly, until September 2016, the “yes”/”no” radio buttons from which a customer had to
                                                   8
                                                                                    APPENDIX 325
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 336
                                                                14 ofof32
                                                                        797




prompts the system to provide a link on the customer’s receipt to an entirely different website,

where voters must “download[] or request[]” a physical voter registration form.27 To complete

the voter registration process following an online DPS transaction, the customer must download

a voter registration form, print the form, fill out the form, and mail it in.28

        Much of the information on the voter registration form is duplicative of information the

customer already provided during the online transaction with DPS. In fact, just as voter

registration forms do, DPS’s online change-of-address or combined change-of-address and

renewal forms require the following: date of birth, Texas driver’s license number, residence

address, residence city, residence zip code, residence county and, if it differs from residence,

mailing address, mailing city, and mailing zip code.29 Although the customer provides this exact

same information to DPS during his online driver’s license transaction, DPS fails to transfer this

voter registration data to the Secretary of State.30 What is more, DPS does not even record the

answer to the online voter registration question.31 This means, in order for a Texan who renews

or changes his address online with DPS to become registered to vote, he must, in addition to



choose automatically defaulted to “no.” SOS knew of this problem as early as 2012 but allowed
four years to pass before it was corrected. Appx. 41 (Ex. 6, Ingram 30(b)(6) Dep. 84:24-85:3).
The screenshot of Step 5 of the DPS driver license renewal and change-of-address system
attached to Plaintiffs’ Complaint depicts this default selection. Dkt. 1-2 at 2; Dkt. 52 at 10.
27
   Appx. 63-65 (Ex. 10, Gipson 30(b)(6) Dep. 77:23-78:9 and 94:1-4); Appx. 132-133 (Ex. 17,
Screenshot of “Driver License Renewal Receipt and Temporary License,” D_00015308-09).
28
   Appx. 135 (Ex. 18, Screenshot of Voter Registration Application from
https://webservices.sos.state.tx.us/vrapp/index.asp (last visited June 28, 2017)); Appx. 137-138
(Ex. 19, Texas Voter Registration Application, Produced as Ex. 3-L to Gipson 30(b)(6) Dep.).
The customer may also request to receive a blank application in the mail; see also Appx. 140-
147 (Ex. 20, Feb. 2016 Driver License Renewal and Change of Address screen shots, Produced
as Ex. 3-T to Gipson 30(b)(6) Dep.). For an online renewal application only, the customer must
provide his date of birth and Texas driver’s license number, two of the same data points required
for the voter registration form.
29
   Compare Id. to Appx. 72 (Ex. 10, Gipson 30(b)(6) Dep. 223:17-224:05) and Appx. 130 (Ex.
16, Texas Department of Public Safety Driver License Renewal and Change-of-address
webpage, D_00021840-41).
30
   Appx. 69 (Ex. 10, Gipson 30(b)(6) Dep. 204:17-21)
31
   Appx. 78 (Ex. 11, Gipson Dep. 136:10-19).
                                                  9
                                                                                  APPENDIX 326
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 337
                                                                15 ofof32
                                                                        797




providing at least six data points to DPS during the online transaction, also fill out a voter

registration form and provide six of those same data points.

        It is undisputed, then, that under Texas’s current online driver’s license renewal and

change-of-address system, Defendants do not treat online driver’s license renewals and change-

of-address submissions as simultaneous voter registration applications.32 Instead, eligible

applicants who indicate they wish to register to vote or update their voter registration during an

online transaction must take additional steps after submitting their information online; otherwise,

Texas does not register them to vote.

     C. Plaintiffs moved from one Texas county to another, transacted with DPS online to
        update their driver’s license information, and checked “yes” to the voter
        registration question, yet Defendants failed to update their voter registration
        information and Plaintiffs were denied the chance to cast a regular ballot in an
        election.

        1. Benjamin Hernandez

        Plaintiff Benjamin Hernandez is a lifelong Texas resident who moved to Dallas County

from Ector County in February 2013.33 Prior to his move, Mr. Hernandez was registered to vote

in Ector County, where he voted regularly since turning 18.34 After his move, he updated his

driver’s license address online.35 Wanting to update his voter registration information, Mr.

Hernandez checked “yes” to the voter registration question during that online transaction and

thereafter believed he was registered to vote in Dallas County. 36 On Election Day 2014, Mr.




32
   Appx. 118, 123-124 (Ex. 15, DPS’s Suppl. Resps. to Hernandez’s First RFAs. Nos. 10-11);
Appx. 123-124 (Ex. 15, DPS’s Suppl. Resps. to Watkins’ First RFAs. Nos. 20-25).
33
   Answer, Dkt. 57 at ¶¶ 16, 46.; Appx. 155 and 164 (Ex. 21, Excerpts of May 18, 2017
Deposition of Benjamin Hernandez (“Hernandez Dep.”) 27:14-22, 43:07-09).
34
   Appx. 154 and 163 (Ex. 16, Hernandez Dep. at 19:2-8, 19:21-22; 42:17-43:06).
35
   Appx. 155-156 and 163 (Id. at 27:23-28:06; 43:07-13).
36
   Appx. 153 and 155-157 (Id. at 18:6-12; 27:23-29:07).
                                               10
                                                                                 APPENDIX 327
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 338
                                                               16 ofof32
                                                                       797




Hernandez attempted to vote in Dallas County, but was told that his name was not on the rolls.37

Mr. Hernandez cast a provisional ballot, but later received notice that his vote was not counted.38

       2. Jarrod Stringer

       Plaintiff Jarrod Stringer moved from Tarrant County to Bexar County in August of

2014.39 Prior to his move, Mr. Stringer was registered to vote in Tarrant County. 40 After moving,

Mr. Stringer updated his driver’s license address online, checking “yes” to the voter registration

question and intending to update his voter registration.41 Thereafter, he believed his voter

registration records were updated.42 Mr. Stringer attempted to vote early in the 2014 general

election, but was told that he was not registered.43 Mr. Stringer then called Bexar County election

officials and was told that he was not registered in Bexar County and could only vote a limited

ballot with statewide candidates.44 When Mr. Stringer explained that he had changed his address

through DPS’s website, the election officials with whom he spoke told Mr. Stringer that the

county was aware of “problems through DPS.”45

       3. John Woods

       Plaintiff Dr. John O. Woods III changed his residence from Travis County to Harris

County in June 2015.46 Prior to this move, Dr. Woods was registered to vote in Travis County.47


37
   Appx. 161 and 158-159 (Id. at 37:8-13, 32:23-33:19).
38
   Appx. 159-160 (Id. at 33:20-34:11); Defs.’ Dkt. 57 at ¶ 46. Mr. Hernandez was added to the
voter registration rolls in Dallas County one month after he attempted to vote on Election Day
2014. Id.; Appx. 162 (Ex. 21, Hernandez Dep. at 39:04-09).
39
   Appx. 177 (Ex. 22, Excerpts of May 3, 2017 Deposition of Jarrod Stringer (“Stringer Dep.”) at
31:01-08).
40
   Dkt. 57 at ¶ 47.
41
   Appx. 95 (Ex. 13, SOS’s Suppl. Resps. to Jarrod Stringer’s First RFAs, No. 3); Appx. 173 and
177-179 (Ex. 22, Stringer Dep. 15:08-24; 31:9-33-1).
42
   Appx. 173 and 178-179 (Ex. 22, Stringer Dep.15:08-24; 32:16-33:01).
43
   Appx. 180-181 (Id. 45:7-46:5).
44
   Appx. 174-175 and 181-182 (Id. 16:16-17:5, 46:15-47:17).
45
   Appx. 182 (Id. 47:8-11).
46
   Appx. 198 (Ex. 23, Excerpts from May 5, 2017 Deposition of John Woods (“Woods Dep.”)
62:11-18).
                                                11
                                                                                  APPENDIX 328
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 339
                                                                17 ofof32
                                                                        797




In September 2015, Dr. Woods changed his driver’s license address online and checked “yes” to

the voter registration question.48 He believed that his voter registration records were updated as a

result.49 Shortly thereafter, Dr. Woods went to a local library, where he was offered an

opportunity to register to vote.50 He declined that opportunity, however, because he believed that

his voter registration records had already been updated.51 Dr. Woods called Harris County on

Election Day 2015 to confirm his polling location, and was informed that he was not registered

in Harris County and that any provisional ballot he cast there would likely not be counted.52

Nonetheless, Dr. Woods went to his local polling location and cast a provisional ballot.53 He later

received notice that his vote was not counted.54 Defendants did not treat Dr. Woods’s online

driver’s license application as a voter registration application.

     D. DPS is technologically capable of collecting and transmitting voter-registration
        information from online transactions to SOS and doing so would not be cost
        prohibitive.

        The change Plaintiffs request—requiring DPS to record and transfer the registration

information it already collects and confirms during online driver’s license renewal or change-of-

address to the SOS, along with the customer’s previously-obtained electronic signature, and

requiring SOS to transfer the voter registration information to local voter registrars—is possible

and would not be overly burdensome.55 Director of Elections Keith Ingram, SOS’s 30(b)(6)

designee, essentially drilling down to Defendants’ core defense, testified, “This is a very possible


47
   Appx. 197 (Ex. 23, Woods Dep. 34:06-25).
48
   Appx. 195-196 (Id. 25:16-26:2).
49
   Appx. 194-196 (Id. 22:03-13; 25:22-26:5); Appx. 103 (Ex. 13, SOS’s Suppl. Resps. to John
Woods’ First RFAs, No. 1).
50
   Appx. 199 (Ex. 23, Woods Dep. 63:10-25).
51
   Appx. 199 (Id. 63:10-25).
52
   Appx. 200-201 (Id. 64:1-65:9).
53
   Appx. 202-203 (Id. 66:25-67:18).
54
   Appx. 202 (Id. 66:6-11).
55
   Appx. 68 (Ex. 10, Gipson 30(b)(6) Dep. 175:24-176:8); Appx. 90 (Ex. 12, Crawford Dep.
143:25-144:21).
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                                                                                  APPENDIX 329
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 340
                                                               18 ofof32
                                                                       797




thing to do what you’re saying if it was legal, and it’s not legal.”56 In fact, DPS and SOS already

do for in-person and mail-in change-of-address transactions exactly that which Plaintiffs request

this Court order for online transactions. Moreover, implementing Plaintiffs’ request would be

even easier than the current process for in-person and mail-in change-of-address transactions

because DPS customers would be entering their data into the system instead of DPS customer

service representatives

       Nor do Defendants claim that the cost of Plaintiffs’ requested remedy would be

prohibitive. Mr. Ingram opined that it would not cost a lot of money for DPS to send the

previously obtained electronic signature to SOS, and further estimated that the cost of a fully

online voter registration program, which goes beyond what Plaintiffs seek, would be $182,000.57

                                      LEGAL STANDARD

       Summary judgment is warranted if “the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.”58 A dispute as to

a material fact is genuine if the evidence is sufficient to permit a reasonable factfinder to return a

verdict for the nonmoving party. Crowe v. Henry, 115 F.3d 294, 296 (5th Cir. 1997). A fact is

material if its resolution could affect the outcome of the action under governing law, and

“[f]actual disputes that are irrelevant or unnecessary will not be counted.” Anderson v. Liberty

Lobby, Inc., 447 U.S. 242, 248 (1986). Summary judgment is proper, then, if under governing

law there is only one reasonable conclusion as to the verdict. Id. at 249.

                                           ARGUMENT

       The right to vote is fundamental, and Texas’s violations injured and will continue to

injure Plaintiffs and many more eligible Texas voters. Arcia v. Florida Sec’y of State, 772 F.3d


56
   Appx. 46 (Ex. 6, Ingram 30(b)(6) Dep. 186:5-13).
57
   Appx. 45-46 (Id.184:12-185:5, 186:21-187:24).
58
   Fed. R. Civ. P. 56(a).
                                              13
                                                                                    APPENDIX 330
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG    Document 77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 341
                                                               19 ofof32
                                                                       797




1335, 1341 (11th Cir. 2014) (finding that individual voters removed from rolls in violation of

Section 8 of NVRA had standing to sue for prospective relief even after they were reinstated,

because of “realistic probability” that ongoing violations could again affect their registration

status); Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005) (“A

plaintiff need not have the franchise wholly denied to suffer injury… [State resident’s] alleged

injuries flow directly from the denial of her registration form.”); Ferrand v. Schedler, 2012 WL

1570094 *6 (E.D. La. May 3, 2012); Georgia State Conference of NAACP. v. Kemp, 841 F.

Supp. 2d 1320, 1331 (N.D. Ga. 2012).

       It is undisputed that (1) Plaintiffs are eligible Texas voters who changed their driver’s

license addresses online and checked “yes” in response to the question “I would like to register

to vote,” and (2) Defendants did not treat this transaction as a simultaneous voter registration

application. The material facts are settled. Summary judgment is warranted here because these

undisputed facts establish as a matter of law that Defendants violate the NVRA and the Equal

Protection Clause by failing to treat online driver’s license renewals or change-of-address

applications as simultaneous applications to register to vote or update voter registration, in

glaring contrast to the way that in-person and mail transactions are treated. For these reasons,

Plaintiffs are entitled to summary judgment in their favor on all claims.

   A. Texas’ failure to treat online DPS transactions as voter registration applications
      violates the NVRA

       1. The plain language of the NVRA controls

       “Statutory construction, of course, begins with the plain language of statute.” In re Dale,

582 F.3d 568, 573 (5th Cir. 2009). Where the plain language of the statute is clear, federal courts

are compelled to apply the statute’s mandate. Multiple courts have struck down state policies in

violation of the plain language mandates of the NVRA. Action NC v. Strach, 216 F. Supp. 3d

597, 633-634 (M.D. N.C. 2016) (finding that a plain language interpretation of Section 5 of the
                                                14
                                                                                  APPENDIX 331
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 342
                                                                20 ofof32
                                                                        797




NVRA includes remote driver’s license transactions); Fish v. Kobach, 840 F.3d 710, 732-740

(10th Cir. 2016) (upholding plain language interpretation of Section 5 of the NVRA to preempt

state law requiring more than “minimum amount of information necessary” for voter

registration); Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 335 (4th Cir. 2012)

(upholding plain language interpretation of Section 8 of the NVRA to allow for disclosure of

voter registration applications); Action NC v. Strach, 216 F. Supp. 3d 597, 633-634 (M.D. N.C.

2016) (finding that a plain language interpretation of Section 5 of the NVRA includes remote

driver’s license transactions); Ga. State Conference of N.A.A.C.P., 841 F. Supp. 2d at 1329,

1330, 1335 (finding, in part, that plain language interpretation of Section 7 of the NVRA requires

an assistance office supplying an application for assistance to distribute voter registration and

voter preference forms regardless of whether the application was made in person). In its Order

denying Defendants’ Motion to Dismiss, this Court found the state violates the plain language of

the NVRA in failing to allow online DPS transactions to serve as voter registration

applications.59

       2. Defendants fail to treat online driver’s license renewal applications as
          “simultaneous” voter registration applications in violation of 52 U.S.C. §§
          20503(a)(1), 20504(a)(1), and 20504(a)(2).

       The NVRA requires that “each” driver’s license application, including “any” renewal

application, simultaneously serve as an application for voter registration.60 Moreover, the NVRA

mandates that each voter registration application submitted to the state motor vehicle authority as

part of a driver’s license application, including any renewal application, update any previous

registration by the applicant.61




59
   Dkt. 52 at 14.
60
   52 U.S.C. §§ 20503(a)(1), 20504(a)(1), 20504(c)(1); Dkt. 52 at 11, 18.
61
   52 U.S.C. § 20504(a)(2).
                                              15
                                                                                  APPENDIX 332
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 343
                                                                  21 ofof32
                                                                          797




          As set out above, Defendants do not, and cannot, dispute that the NVRA applies to all

driver’s license application transactions, including online transactions. Action NC v. Strach, 216

F.Supp.3d at 622-23 (holding that “the words “each” and “any” in Section 5 require voter

registration services to be provided with all covered transactions[,]” including remote

application, renewal, and change-of-address transactions). Nor do they dispute that in Texas,

driver’s license renewal applications submitted to DPS online do not serve as simultaneous

applications for voter registration, or that Defendants do not treat driver’s license change-of-

address applications submitted to DPS online as updating an applicant’s previous voter

registration. Instead, Defendants claim that the NVRA merely requires a “simultaneous

opportunity to apply to register vote,” contorting the plain language of the NVRA. Under

Defendants’ reading of the law, states are allowed to force voters to take additional steps to

register to vote after completing their DPS transaction.

          This Court considered and rejected Texas’s argument, concluding that while a voter’s

registration need not be “effected simultaneously with their NVRA-covered driver’s license

transaction,” the NVRA requires that the actual application for voter registration be simultaneous

with the NVRA-covered driver’s license application in “a single transaction.”62 Accordingly,

“[w]here, as here, Defendants have chosen to offer an online forum for NVRA-covered driver’s

license transactions, the NVRA thus requires them to accept voter registration applications

through that forum simultaneously with the NVRA-covered driver’s license submissions that

forum supports.”63




62
     Dkt. 52 at 11.
63
     Id. at 20.
                                                16
                                                                                 APPENDIX 333
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 344
                                                               22 ofof32
                                                                       797




       3. Defendants fail to treat online driver’s license change-of-address applications as
          notifications for voter registration in violation of 52 U.S.C. § 20504(d).

       Under the NVRA, all change-of-address forms submitted “in accordance with State law

for purposes of a State motor vehicle driver’s license” must also serve as a notification of

change-of-address for voter registration purposes “unless the registrant states on the form that the

change-of-address is not for voter registration purposes.”64 Driver’s license “change-of-address

forms must have equal effect as voter registration change-of-address forms[.]”65 DPS concedes

that a customer who has changed his driver’s license address online—like each of the Plaintiffs

here—has done so in accordance with state law, which does not impose a signature requirement

on changes of address. It is undisputed that Defendants do not treat these online submissions to

DPS as notifications of change-of-address for voter registration purposes. As this Court found,

this “is inconsistent with the plain language of the NVRA.”66

       4. Defendants’ requirement that applicants submit a separate voter registration
          application upon completion of online transactions violates the NVRA’s prohibition
          against requiring duplicative information, 52 U.S.C. § 20504(c)(2).

       The NVRA states that the voter-registration section of driver’s license application forms

“may not require any information that duplicates information required in the driver’s license

portion of the form[.]”67 This Court held that Defendants’ procedures violate the NVRA’s limits

on duplicative information requirements, as the separate voter registration form that DPS directs

its customers to complete after an online transaction duplicates almost entirely the information

required by DPS’ online change-of-address form and combined change-of-address and renewal

form.68 “Indeed, it is the same form that prospective voters would use if they had not submitted

an online change-of-address form at all, and merely applied to the Secretary of State for voter

64
   52 U.S.C. § 20504(d); Dkt. 52 at 11.
65
   Id. at 14.
66
   Id.
67
   52 U.S.C.§ 20504(c)(2); Dkt. 52 at 12.
68
   Dkt. 52 at 12.
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                                                                                  APPENDIX 334
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 345
                                                               23 ofof32
                                                                       797




registration in person or by mail in the first instance.”69 To comply with the NVRA, then,

Defendants must allow customers who complete online change-of-address and license renewal

forms to apply to register to vote as part of the same application.70

       5. Defendants’ failure to transmit voter registration information submitted during
          online driver’s license transactions violates 52 U.S.C. § 20504(e).
       The NVRA mandates that states transmit completed voter-registration portions of driver’s

license applications “to the appropriate State election official not later than 10 days after the date

of acceptance[,]” or, if the application is completed within 5 days before the last day of a

registration period, “not later than 5 days after the date of acceptance.”71 It is undisputed that

DPS does not even record—and therefore cannot transmit—applicants’ responses to the voter

registration question on the online driver’s license renewal and change-of-address application.

Further, despite collecting from each online customer the personal information necessary for

voter registration, DPS does not transmit this information to SOS for those customers who wish

to register or update their voter registration. Defendants’ failure to do so violates the clear

mandate of the NVRA.

       6. SOS’s failure to ensure that eligible applicants are registered to vote upon
          completion of the voter registration portion of online driver’s license change-of-
          address and renewal applications violates 52 U.S.C. § 20507(a)(1)(A).

       Being responsible for Texas’s compliance with the NVRA, SOS must ensure that eligible

applicants are registered to vote in an election “if the valid voter registration form of the

applicant is submitted to the appropriate State motor vehicle authority not later than the lesser of

30 days, or the period provided by State law, before the date of the election.”72 As set out above

and in this Court’s previous ruling, under the NVRA, online driver license renewal and change-

of-address forms are valid voter registration applications. Thus, individuals who indicate that
69
   Id.
70
   Id.
71
   52 U.S.C. §§ 20504(e)(1)-(2).
72
   52 U.S.C. § 20507(a)(1)(A).
                                                 18
                                                                                    APPENDIX 335
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 346
                                                                  24 ofof32
                                                                          797




they want to register to vote during an online driver’s license transaction should be registered to

vote.

         It is undisputed that Texas does not, in fact, register eligible customers who indicate they

wish to register to vote or update their voter registration during an online driver’s license renewal

or change-of-address transaction. SOS’s failure to ensure that Texas does so constitutes a plain

violation of the NVRA.

   B. Texas’ failure to treat online DPS transactions as voter registration applications
      violates the Equal Protection Clause

         1. The Equal Protection Clause protects against restrictions that place unreasonable
            burdens on the right to vote.
         The right to vote is a fundamental right protected under the Equal Protection Clause of

the Fourteenth Amendment. Harper v. Va. State Bd. of Elections, 383 U.S. 663, 670 (1966).

“The right to vote is protected in more than the initial allocation of the franchise. Equal

protection applies as well to the manner of its exercise.” Bush v. Gore, 531 U.S. 98, 104 (2000).

Specifically, the “Equal Protection Clause applies when a state either classifies voters in

disparate ways… or places restrictions on the right to vote.” Obama for Am. v. Husted, 697 F.3d

423, 428 (6th Cir. 2012). When assessing an Equal Protection Clause challenge to a state

restriction on the right to vote, courts use the standard laid out in Anderson v. Celebrezze, 460

U.S. 780 (1983) and Burdick v. Takushi, 504 U.S. 428, 434 (1992). Under the Anderson-Burdick

standard, a court

         must weigh “the character and magnitude of the asserted injury to the rights
         protected by the First and Fourteenth Amendments that the plaintiff seeks to
         vindicate” against “the precise interests put forward by the [s]tate as justifications
         for the burden imposed by its rule,” taking into consideration “the extent to which
         those interests make it necessary to burden the plaintiff's rights.”

Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 789).

         In Crawford v. Marion County Election Bd., the Supreme Court, applying the Anderson-

Burdick standard, noted that “rather than applying any ‘litmus test’ that would neatly separate
                                              19
                                                                                     APPENDIX 336
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 347
                                                                25 ofof32
                                                                        797




valid from invalid restrictions, …a court must identify and evaluate the interests put forward by

the State as justifications for the burden imposed by its rule, and then make the ‘hard judgment’

that our adversary system demands.” 553 U.S. 181, 190 (2008). The Court further explained that,

however slight a burden a state restriction on an individual voter may appear, “it must be

justified by relevant and legitimate state interests ‘sufficiently weighty to justify the limitation.’”

Crawford, 553 U.S. at 191 (citing Norman v. Reed, 502 U.S. 279, 288–89 (1992)). A sufficiently

weighty justification is the difference between a reasonable and an unreasonable restriction.

Crawford at 190 (citing Burdick, 504 U.S. at 434).

       Defendants fail to provide any rational reason—much less a “sufficiently weighty”

justification—for the burden they impose on the right to vote in Texas. Therefore, Defendants’

treatment of online DPS transactions violates the Equal Protection Clause.

       2. Defendants’ refusal to treat online driver’s license transactions as voter
          registration applications unduly burdens Plaintiffs’ right to vote.

       Plaintiffs are eligible Texas voters who changed their driver’s license address online, and

those online transactions were not used to register Plaintiffs to vote. There is no dispute that

Texas treats some driver’s license applications as applications to register to vote, and also does

not treat other driver’s license applications (online) as applications to register to vote. And there

is no dispute that Texas refuses to provide a simultaneous voter registration application for

people who are similarly situated to in-person or mail-in applicants in every way but one—they

completed their transactions online.

       Instead of using the information customers already provide to DPS to register them to

vote or update their voter registration information, Texas burdens customers who transact with

DPS online with a requirement that they retrieve, complete, print, and mail an entirely separate

voter registration form in order to register or update their voter registration information. This

burden is borne by online customers; DPS customers who apply for or change their license
                                                  20
                                                                                     APPENDIX 337
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 348
                                                                  26 ofof32
                                                                          797




information in person, or change their address by mail, are not required to complete a separate,

additional voter registration application in order to register or update their voter registration

information. This burden is a restriction on the fundamental right to vote that warrants “the

demonstration of a corresponding interest sufficiently weighty to justify the limitation.”

Defendants have no such justification.

          3. Defendants’ asserted interest in requiring handwritten signatures is insufficient to
             justify the burdens created by their treatment of online DPS transactions.

          Defendants’ only justification for this burden is that DPS’s online customers cannot sign

the online driver’s license form, and they claim that such a handwritten signature is necessary to

“later check that signature against the poll book.” 73 The record, however, demonstrates that the

state does not even use handwritten signatures for voter registration or voter verification

purposes. Instead, DPS collects and SOS and counties use electronic signatures of voters.

Indeed, even though a DPS customer who indicates he wishes to register to vote on a mail-in

change-of-address form provides DPS with a handwritten signature on that mail-in form, the

signature DPS sends to SOS for voter registration purposes—and the signature SOS transmits to

county election officials for voter registration—is the previously-provided electronic signature

collected during the customer’s most recent in-person transaction.

          Although the state has an interest in verifying voter identity at the polls, this interest has

nothing to do with the handwritten signatures collected by DPS during driver’s license

transactions, since the state only collects uses electronic signatures on DPS customers’ voter

registration applications. This interest is therefore irrelevant to and insufficient to justify

Defendants restriction on Plaintiffs registering to vote during an online driver’s license

transaction.



73
     Defs. Reply in Supp. of Mot. to Dismiss, Dkt. 12 pp 2-3.
                                                 21
                                                                                      APPENDIX 338
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 349
                                                                  27 ofof32
                                                                          797




          Defendants also claim that they treat everyone equally because the signature requirement

applies to everyone, and that everyone who fails to sign a change-of-address or renewal

application is not registered to vote. Defendants fundamentally misunderstand the Equal

Protection Clause’s application to state-imposed burdens on the right to vote. Crawford, 553

U.S. at 190, 191. The Equal Protection Clause requires states to justify the burden they impose

on the right to vote. Burdick, 504 U.S. at 434 (quoting Anderson, 460 U.S. at 789). Defendants’

handwritten signature argument is insufficient to justify the burden that the state applies to online

DPS customers.

          4. DPS’s signature requirement as to online transactions is unreasonable.

          As pointed out by the Court, Defendants have not explained, and cannot explain, how the

handwritten signature requirement is necessary.74 As the Court observed, because DPS collects

electronic signatures during every in-person driver’s license transaction—including customers’

first applications for a Texas driver’s license—DPS already has a signature on file for every

person who subsequently renews or changes their driver’s license address.75 Indeed, Defendants

admitted that the handwritten signature on DPS forms is scanned and stored in a third-party

vendor’s system for identity-verification use only when fraud is suspected. For DPS purposes

and voter registration purposes, Defendants simply use and store the signature that was

electronically captured in the most recent previous in-person transaction. Defendants cannot

show why handwritten signatures are necessary to confirm voter identity at the polls when

collected, stored, and easily-accessible electronically-captured signatures do the same thing just

as well, if not more efficiently, and when Texas already uses these electronic signature for this

purpose for in-person and mail-in DPS applications. Anderson, 460 U.S. at 806 (quoting Kusper

v. Pontikes, 414 U.S. 51, 59 (1973) (“If the [s]tate has open to it a less drastic way of satisfying

74
     Dkt. 52 at 21.
75
     Id. at 17, 21.
                                                 22
                                                                                   APPENDIX 339
        Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document  77 Filed
                                       77-1 Filed 05/29/20
                                                  06/30/17 Page
                                                           Page 350
                                                                28 ofof32
                                                                        797




its legitimate interests, it may not choose a legislative scheme that broadly stifles the exercise of

fundamental personal liberties.”); Northeast Ohio Coalition for the Homeless v. Husted, 837 F.3d

612, 633 (6th Cir. 2016), (cert. denied, 2017 WL 881266 (U.S. June 19, 2017) (restriction

purportedly imposed to combat voter fraud was unjustified, in part, because the state already had

a policy in place that sufficiently protected against voter fraud).

        Moreover, as set out above, DPS’s online system utilizes a four-point data verification

process, which, as the Court points out, allows an online customer to verify his identity at login,

instead of using a handwritten signature.76 This verification process ensures that the individual

transacting online is the person who previously provided an electronic signature during his last

in-person transaction with DPS, and would likewise ensure that the electronic signature used for

voter registration and voter verification belongs to the proper individual. With no sufficient

justification for the state’s restrictions on online transactions, the burden on Plaintiffs’ right to

vote is unreasonable.

     C. Defendants’ Affirmative Defenses are Not Supported by Evidence

        Defendants assert the following affirmative defenses: (1) failure to state a claim upon

which relief can be granted, (2) Eleventh Amendment immunity and sovereign immunity, (3)

statute of limitations, (4) all actions by Defendants relevant to the claims and causes of action by

Plaintiffs were done in good faith and without malice, willfulness, or intent, (5) lack of standing

and failure to demonstrate injury-in-fact, causation, or redressability necessary to establish

standing, (6) Plaintiffs have not exhausted administrative requirements for filing suit, (7) failure

to satisfy the conditions precedent required to invoke the Court’s jurisdiction over their claims,

including the pre-suit notice requirements of the NVRA, 52 U.S.C. § 20510(b)(1)-(2), (8)

76
  Id. at 18. Confusingly, the SOS allows voters to change their voter registration address online
without a signature if they have moved within a county. The state only requires a signature when
a voter moves from one county to another. Appx. 97 (Ex. 13, SOS’s Suppl. Resps. to Stringer’s
First RFAs, No. 10).
                                               23
                                                                                   APPENDIX 340
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 351
                                                                  29 ofof32
                                                                          797




misrepresentation, (9) Plaintiffs’ claims are moot, (10) the Court lacks jurisdiction, and (11)

Defendants’ actions were reasonable and proper under the laws of the United States and the State

of Texas. Defendants have put forth no evidence to support their affirmative defenses. In fact,

some of the listed defenses bear no logical explanation for pleading (e.g., statute of limitations).

Further, some of the claimed defenses were summarily rejected by this Court in its ruling on the

Motion to Dismiss: the state’s standing arguments,77 the state’s arguments regarding the

NVRA’s notice requirement,78 and the state’s “failure to state a claim” arguments.79

     D. Defendants should be required to correct their violations of the NVRA within three
        months of the Court’s ruling.

         The next federal voter registration deadline is February 5, 2018, in advance of the March

primary elections—just over seven months from the date of this filing. For far too long,

Defendants have defied the NVRA and denied millions of Texas the right to register or update

their voter registration through an online transaction with DPS. Plaintiffs, and eligible Texas

voters who are similarly situated, are entitled to immediate relief, before the start of another

federal election cycle. Accordingly, the Court should require Defendants to update their systems

to allow for compliance with the NVRA as to online driver’s license transactions immediately,

with full implementation within three months after the Court’s ruling and no later than January 1,

2018.

         Moreover, the public interest is served by requiring Defendants to immediately

implement this plan. Namely, the almost 1.5 million customers who transact online with DPS

each year will be irreparably injured if Defendants continue to defy federal law and the United

States Constitution. The requested relief is the only way to correct Defendants’ continued



77
   Dkt. 52 at 3-7.
78
   Id. at 7-9.
79
   Id. at 9-21.
                                                24
                                                                                  APPENDIX 341
          Case
        Case   5:16-cv-00257-OLGDocument
             5:20-cv-00046-OLG   Document  77 Filed
                                         77-1 Filed 05/29/20
                                                    06/30/17 Page
                                                             Page 352
                                                                  30 ofof32
                                                                          797




violations of the NVRA and Equal Protection Clause with regard to these transactions.

Monitoring to ensure compliance will be necessary.

                                           CONCLUSION

Plaintiffs respectfully request for the Court to enter an order:

   1. Declaring, pursuant to 28 U.S.C. § 2201 and 52 U.S.C. § 20510(b)(2), that Defendants

         have violated the NVRA and the Equal Protection Clause by failing to provide for

         simultaneous voter registration application with online driver’s license renewal;

   2. Declaring, pursuant to 28 U.S.C. § 2201 and 52 U.S.C. § 20510(b)(2), that Defendants

         have violated the NVRA and the Equal Protection Clause by failing to provide for

         simultaneous voter registration application with online change-of-address forms;

   3. Permanently enjoining Defendants, their agents and successors in office, and all

         customers working in concert with them, from implementing practices and procedures

         that likewise violate the NVRA;

   4.    Directing Defendants, under a plan with appropriate reporting and monitoring

         requirements, to take all appropriate measures necessary to remedy the harm caused by

         their noncompliance, including, but not limited to providing for the electronic transfer of

         voter registration information collected and confirmed through online transactions to the

         Secretary of State within three months of the Court’s order and no later than January 1,

         2018.




                                                  25
                                                                                   APPENDIX 342
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 353
                                                               31 ofof32
                                                                       797




Dated: June 30, 2017.                      Respectfully submitted,

                                           By: /s/ Rebecca Harrison Stevens

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                                      26
                                                                      APPENDIX 343
       Case
     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document  77 Filed
                                      77-1 Filed 05/29/20
                                                 06/30/17 Page
                                                          Page 354
                                                               32 ofof32
                                                                       797




                              CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of June, 2017, a true and correct copy of the

foregoing Plaintiffs’ Motion for Summary Judgment was served upon counsel of record via the

Court’s ECF system.

                                                 /s/ Rebecca Harrison Stevens




                                            27
                                                                            APPENDIX 344
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 355 of 797




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                                                          APPENDIX 345
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-2Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 2 of 7
                                                                   356    797




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


JARROD STRINGER, et al.,

                       Plaintiffs,
                                                            Civ. Action Case No. 5:16-cv-0046-
       v.                                                   OLG
RUTH HUGHS, in her official capacity as the
Texas Secretary of State; STEVEN C. MCCRAW,
in his official capacity as the Director of the Texas
Department of Public Safety;

                       Defendants.


       DECLARATION OF GLEN MAXEY IN SUPPORT OF IN SUPPORT OF
    INTERVENOR-PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO
                              DISMISS

       Pursuant to 280 U.S.C. § 1746, I, Glen Maxey, hereby declare as follows:

       1.      I am over 18 years of age, am competent to testify, and declare the following facts

based on my own personal knowledge. I am currently employed by the Texas Democratic Party

(“TDP”) as the Primary Director.

       2.      The TDP is the statewide organization representing Democratic candidates and

voters throughout the State of Texas within the meaning of Section 117 of Texas’s Election Code

and all other applicable provisions of the election laws.

       3.      The TDP’s purpose is to elect Democratic Party candidates to public office

throughout Texas. To accomplish its purpose, the TDP engages in vitally important activities,

including supporting Democratic Party candidates in national, state, and local elections through

fundraising and, organizing, and voter registration efforts; protecting the legal rights of voters; and

ensuring that all voters have a meaningful ability to cast ballots in Texas. The TDP works closely

with Democratic candidates, providing get-out-the-vote (“GOTV”) assistance, and actively

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       Case
     Case   5:20-cv-00046-OLGDocument
          5:20-cv-00046-OLG    Document 71-2Filed
                                      77-1     Filed 05/14/20Page
                                                   05/29/20    Page 3 of 7
                                                                  357    797




supporting the development of programs benefiting Democratic Party candidates in Texas,

including by running what is often referred to as the “coordinated campaign” to boost turnout for

voters to support candidates from the top of the ticket, all the way down the Democratic ticket.

         4.    The TDP has a State Executive Committee of five party officers (Chair, Vice Chair,

Vice Chair for Finance, Secretary, and Treasurer), 62 district representatives, 26 representatives

of 13 constituency organizations (Texas House Caucus, Texas Senate Caucus, Texas Democratic

Veterans, Texas Democratic Women, Texas Asian American Democrats, Hispanic Caucus,

Coalition of Black Democrats, Texas Democratic Women, Texas Environmental Democrats,

Texas Young Democrats, Texas Democratic County Chairs Association, Democrats with

Disabilities, and the Non-Urban and Rural Caucus), and 18 ex officio members who represent

Texas on the Democratic National Committee. The Party leadership is elected at a biennial state

convention by over 10,000 democratically selected delegates who meet in a state convention every

even-numbered year.

         5.    The TDP is composed of county party organizations representing each of the 254

counties of Texas. The county party organizations are governed by an elected county chair and

county executive committees composed of precinct-level chairs from each voting precinct in

Texas.

         6.    These county party organizations hold Democratic primary elections in March of

even-numbered years to elect Democratic nominees for offices including nominees for U.S. Senate

and U.S. House of Representatives, statewide officials (Governor, Lieutenant Governor,

Comptroller of Public Account, Attorney General, Land Commissioner, three Railroad

Commissioners, and 15 members of the State Board of Education), 31 State Senators and 150 State

Representatives, county officials (County Judge, four County Commissioners per county, County




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                                                                                 APPENDIX 347
       Case
     Case   5:20-cv-00046-OLGDocument
          5:20-cv-00046-OLG    Document 71-2Filed
                                      77-1     Filed 05/14/20Page
                                                   05/29/20    Page 4 of 7
                                                                  358    797




Clerks, District Attorneys, and Tax Assessor/Collectors), and judicial nominees (nine statewide

Supreme Court Justices, nine Court of Criminal Appeals judges, 14 Court of Appeals benches of

various members, and hundreds of District Judges County Court at Law Judges, Justices of the

Peace, and Constables).

       7.         I have worked for the TDP as a senior advisor to Chairman Gilberto Hinojosa since

2013. Prior to 2013, I served as an employee of the TDP during coordinated campaigns going back

to 1982. I was an elected member of the Texas House of Representatives from 1991 to 2002,

serving for six terms. I was an unsuccessful candidate for Travis County Tax Assessor Collector

in the 2008 Democratic Primary. Since 1970, I have worked as a volunteer, campaign staffer or

manager, and party coordinated campaign chair or staff in over 150 campaigns at all levels, from

local races to presidential campaigns, all in Texas. I have served as the Legislative Director of the

TDP for the past four legislative sessions, specifically drafting and lobbying for passage of several

hundred election code bills. My duties in these positions have required me to become

knowledgeable about political strategy related to local, state, and federal elections in Texas.

       8.         Millions of voters participate in our Democratic primary elections and support our

Democratic nominees in general elections. Tens of thousands of individual donors support the

TDP and our county-level Democratic Party organizations. Under Texas law, a voter who

participates in the TDP’s March primary affiliates with the Party and is defined as a member of

the Party for the voting year. Therefore, the TDP’s membership includes millions of Texans each

election cycle.

       9.         I personally interacted with at least one Democratic voter during the 2018 election

cycle who had difficulty registering to vote due to Defendants’ refusal to allow simultaneous voter

registration for individuals who update driver’s license information online. The TDP also receives




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                                                                                    APPENDIX 348
       Case
     Case   5:20-cv-00046-OLGDocument
          5:20-cv-00046-OLG    Document 71-2Filed
                                      77-1     Filed 05/14/20Page
                                                   05/29/20    Page 5 of 7
                                                                  359    797




reports through our voter hotline and from county clerks and election officials of Democratic

voters who believe they have registered to vote or updated their voter registration when changing

their address online with DPS, who turns out were not in fact get registered due to Defendants’

actions.

       10.     The TDP’s millions of members and constituents from across Texas include

millions of Texans who affiliate with the Texas Democratic Party by voting in the biennial

Democratic Primary, millions of Texans who are drivers who interact with DPS, and many other

Texans who regularly support and vote for candidates affiliated with the Democratic Party.

       11.     The TDP has historically raised and spent hundreds of thousands of dollars, if not

millions of dollars, to further its mission in Texas. In 2014, the TDP raised and spent

$1,999,198.27. In 2015, the TDP raised and spent $226,399.28. In 2016, the TDP raised and spent

$642,522.29. In 2017, the TDP raised and spent 72,494.90. These funds were spent to further

efforts to elect democratic candidates to offices throughout Texas.

       12.     Defendants’ conduct directly harms the TDP by imposing burdens and costs that

limit the effectiveness of its voter registration program and make it more difficult for the TDP to

reach its registration goals and accomplish its mission of electing Democrats in Texas. As a result,

the TDP must divert resources to ensuring that eligible voters who may think they are registered

due to their interactions with DPS, or who are discouraged from registering, will, in fact, register

to vote for the upcoming elections. For example, eligible voters, including Mr. Stringer, often

update their addresses, or renew or replace their driver’s licenses, through DPS’s online portal and

believe that DPS is simultaneously transmitting that personal information to the Texas Secretary

of State for purposes of voter registration. But the TDP understands that personal information has

not been simultaneously transmitted to the Texas Secretary of State, and now the TDP must divert




                                                 4
                                                                                  APPENDIX 349
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-2Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 6 of 7
                                                                   360    797




its resources to ensuring that eligible voters are aware of the additional steps they must take to

register and must ensure that eligible voters are actually registered to vote.

        13.     When the TDP diverts resources, it is diverting funds, personnel, and time away

from other critical activities in Texas and to the issue of online registration. Specifically, the TDP

must reallocate more money, restructure personnel and volunteers, and divert the time of

employees and volunteers to voter education and voter registration efforts specifically tied to the

issue in this case. But the TDP has finite resources, so the resources diverted to the issue in this

case are taken from other activities, such as general GOTV activities and general activities related

to educating voters about registration, candidates, and Texas-specific issues.

        14.     The TDP’s registration-focused efforts for 2020 are more robust than any previous

efforts—in fact, this is the largest voter registration program in the history of Texas, see Exhibit

1—because the TDP has come to understand that Texas’s voter registration laws have caused

confusion and potential disenfranchisement, especially among Democratic voters. Because of

Defendants’ actions, the TDP must engage in far greater efforts and spend far more time to ensure

that eligible voters understand how to properly register to vote and to ensure that eligible voters

become registered to vote. As a result, the TDP has had to divert resources from other mission-

critical efforts in order to fund a robust voter registration program. For example, as part of its

vigorous registration program, the TDP will put 1,000 field staff and canvassers across the State,

mail unregistered eligible voters a voter registration card, chase voter registration forms sent to

eligible voters, and work alongside other Democratic organizations to ensure largescale voter

registration.

        15.     The TDP also recently launched a website, www.registertexas.com, which is an

online system that allows voters to fill out their voter registration information, including their name



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                                                                                     APPENDIX 350
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     Case   5:20-cv-00046-OLGDocument
          5:20-cv-00046-OLG    Document 71-2Filed
                                      77-1     Filed 05/14/20Page
                                                   05/29/20    Page 7 of 7
                                                                  361    797




and address. Once voters submit this information, RegisterTexas.com will then mail them a pre-

populated voter registration application with the information they have provided and also will

include a postage-paid envelope addressed to their county elections office. RegisterTexas.com

represents a significant investment of resources for the TDP, and one that would likely be

unnecessary if Defendants were complying with federal law.
      16.      In preparation for the 2020 elections, the TDP has invested significant resources in

voter engagement efforts with the goal of registering approximately 2,600,000 unregistered,

eligible, Democratic voters. In support of this mission, the TDP initiated a comprehensive

organizing campaign that includes sending voter registration forms to new and unregistered Texas

residents, following up with residents to encourage the completion and submission of voter

registration forms, and partnering with organizations involved in high school and college campus

organizing.

       17.     In addition, the TDP participates in a “coordinated campaign,” in which it works

collaboratively with the national Democratic committees, specifically the DSCC and the DCCC,

to elect Democrats up and down the ticket within the state. The national parties transfer thousands

if not hundreds of thousands of dollars to the TDP in association with this campaign, and those

funds are used for a variety of programs, including voter registration.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 13, 2020.



                                                            Glen Maxey
                                                            Primary Director
                                                            Texas Democratic Party




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                                                                                 APPENDIX 351
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Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG   Document 153-1
                                 77-1     Filed
                                      Filed     01/28/20
                                             05/29/20    Page
                                                       Page 3621of
                                                                of797
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          Exhibit A




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       Case
      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document 153-1
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                                            Filed     01/28/20
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                                                             Page 3632of
                                                                      of797
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


JARROD STRINGER, et al.,                                    Civil Action

                       Plaintiffs,
                                                            Case No. 5:16-cv-00257-OLG
       v.

RUTH HUGHS, in her official capacity as the
Texas Secretary of State; STEVEN C. MCCRAW,
in his official capacity as the Director of the Texas
Department of Public Safety;

                       Defendants.


     DECLARATION OF GLEN MAXEY IN SUPPORT OF TEXAS DEMOCRATIC
       PARTY, DSCC, AND DCCC’s MOTION FOR SUMMARY JUDGMENT

       Pursuant to 280 U.S.C. § 1746, I, Glen Maxey, hereby declare as follows:

       1.      I am over 18 years of age, am competent to testify, and declare the following facts

based on my own personal knowledge. I am currently employed by the Texas Democratic Party

(“TDP”) as the Primary Director.

       2.      The TDP is the statewide organization representing Democratic candidates and

voters throughout the State of Texas within the meaning of Section 117 of Texas’s Election Code

and all other applicable provisions of the election laws.

       3.      The TDP’s purpose is to elect Democratic Party candidates to public office

throughout Texas. To accomplish its purpose, the TDP engages in vitally important activities,

including supporting Democratic Party candidates in national, state, and local elections through

fundraising and, organizing, and voter registration efforts; protecting the legal rights of voters; and

ensuring that all voters have a meaningful ability to cast ballots in Texas. The TDP works closely

with Democratic candidates, providing get-out-the-vote assistance, and actively supporting the


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     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document 153-1
                                      77-1     Filed
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                                                            Page 3643of
                                                                     of797
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development of programs benefiting Democratic Party candidates in Texas, including by running

what is often referred to as the “coordinated campaign” to boost turnout for voters to support

candidates from the top of the ticket, all the way down the Democratic ticket.

         4.    The TDP has a State Executive Committee of five party officers (Chair, Vice Chair,

Vice Chair for Finance, Secretary, and Treasurer), 62 district representatives, 26 representatives

of 13 constituency organizations (Texas House Caucus, Texas Senate Caucus, Texas Democratic

Veterans, Texas Democratic Women, Texas Asian American Democrats, Hispanic Caucus,

Coalition of Black Democrats, Texas Democratic Women, Texas Environmental Democrats,

Texas Young Democrats, Texas Democratic County Chairs Association, Democrats with

Disabilities, and the Non-Urban and Rural Caucus), and 18 ex officio members who represent

Texas on the Democratic National Committee. The Party leadership is elected at a biennial state

convention by over 10,000 democratically selected delegates who meet in a state convention every

even-numbered year.

         5.    The TDP is composed of county party organizations representing each of the 254

counties of Texas. The county party organizations are governed by an elected county chair and

county executive committees composed of precinct-level chairs from each voting precinct in

Texas.

         6.    These county party organizations hold Democratic primary elections in March of

even-numbered years to elect Democratic nominees for offices including nominees for U.S. Senate

and U.S. House of Representatives, statewide officials (Governor, Lieutenant Governor,

Comptroller of Public Account, Attorney General, Land Commissioner, three Railroad

Commissioners, and 15 members of the State Board of Education), 31 State Senators and 150 State

Representatives, county officials (County Judge, four County Commissioners per county, County




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     Case   5:16-cv-00257-OLGDocument
          5:20-cv-00046-OLG   Document 153-1
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                                                  05/29/20    Page
                                                            Page 3654of
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Clerks, District Attorneys, and Tax Assessor/Collectors), and judicial nominees (nine statewide

Supreme Court Justices, nine Court of Criminal Appeals judges, 14 Court of Appeals benches of

various members, and hundreds of District Judges County Court at Law Judges, Justices of the

Peace, and Constables).

       7.         I have worked for the TDP as a senior advisor to Chairman Gilberto Hinojosa since

2013. Prior to 2013, I served as an employee of the TDP during coordinated campaigns going back

to 1982. I was an elected member of the Texas House of Representatives from 1991 to 2002,

serving for six terms. I was an unsuccessful candidate for Travis County Tax Assessor Collector

in the 2008 Democratic Primary. Since 1970, I have worked as a volunteer, campaign staffer or

manager, and party coordinated campaign chair or staff in over 150 campaigns at all levels, from

local races to presidential campaigns, all in Texas. I have served as the Legislative Director of the

TDP for the past four legislative sessions, specifically drafting and lobbying for passage of several

hundred election code bills. My duties in these positions have required me to become

knowledgeable about political strategy related to local, state, and federal elections in Texas.

       8.         Millions of voters participate in our Democratic primary elections and support our

Democratic nominees in general elections. Tens of thousands of individual donors support the

TDP and our county-level Democratic Party organizations. Under Texas law, a voter who

participates in the TDP’s March primary affiliates with the Party and is defined as a member of

the Party for the voting year. Therefore, the TDP’s membership includes millions of Texans each

election cycle.

       9.         The TDP’s millions of members and constituents from across Texas include

millions of Texans who affiliate with the Texas Democratic Party by voting in the biennial




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      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document 153-1
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Democratic Primary, millions of Texans who are drivers who interact with DPS, and many other

Texans who regularly support and vote for candidates affiliated with the Democratic Party.

        10.     In preparation for the 2020 elections, the TDP has invested significant resources in

voter engagement efforts with the goal of registering approximately 2,600,000 unregistered,

eligible, Democratic voters. In support of this mission, the TDP initiated a comprehensive

organizing campaign that includes sending voter registration forms to new and unregistered Texas

residents, following up with residents to encourage the completion and submission of voter

registration forms, and partnering with organizations involved in high school and college campus

organizing.

        11.     The TDP’s registration-focused efforts for 2020 are more robust than any previous

efforts—in fact, this is the largest voter registration program in the history of Texas, see Exhibit

1—because the TDP has come to understand that Texas’s voter registration laws have caused

confusion and potential disenfranchisement, especially among Democratic voters. Because of

Defendants’ actions, the TDP must engage in far greater efforts and spend far more time to ensure

that eligible voters understand how to properly register to vote and to ensure that eligible voters

become registered to vote. As a result, the TDP has had to divert resources from other mission-

critical efforts in order to fund a robust voter registration program. For example, as part of its

vigorous registration program, the TDP will put 1000 field staff and canvassers across the State,

mail unregistered eligible voters a voter registration card, chase voter registration forms sent to

eligible voters, and work alongside other Democratic organizations to ensure largescale voter

registration.

        12.     Defendants’ conduct directly harms the TDP by imposing burdens and costs that

limit the effectiveness of its voter registration program and make it more difficult for the TDP to




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      Case   5:16-cv-00257-OLGDocument
           5:20-cv-00046-OLG   Document 153-1
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reach its registration goals and accomplish its mission of electing Democrats in Texas. As a result,

the TDP must divert resources to ensuring that eligible voters who may think they are registered

due to their interactions with DPS, or who are discouraged from registering, will register to vote

for the upcoming elections. For example, eligible voters, including Mr. Stringer, often update their

addresses, or renew or replace their driver’s licenses, through DPS’s online portal and believe that

DPS is simultaneously transmitting that personal information to the Texas Secretary of State for

purposes of voter registration. But the TDP understands that personal information has not been

simultaneously transmitted to the Texas Secretary of State, and now the TDP must divert its

resources to ensuring that eligible voters are aware of the additional steps they must take to register

and must ensure that eligible voters are actually registered to vote.

       13.     Defendants’ continued violations injure the TDP not only through increased cost in

registration efforts, but also because they hamper the TDP’s efforts to elect Democrats throughout

Texas. Indeed, fewer registered voters means fewer voters who can vote to support Democratic

candidates for offices across Texas. By refusing to comply with federal law, Defendants harm the

Democratic Party’s election prospects, which frustrates the TDP’s central mission.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 26, 2020.

                                                      /s/
                                                             Glen Maxey
                                                             Primary Director
                                                             Texas Democratic Party




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Case   5:16-cv-00257-OLGDocument
     5:20-cv-00046-OLG   Document 153-1
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                                             05/29/20    Page
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  Exhibit 1 to Massey
     Declaration




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      VJÿJF9ÿEIBC<9HH?IB;@ÿ@9Q9@YÿP9ÿ9HJ?D;J9ÿJF9<9ÿ;<9ÿstuYpppÿOIJ9BJ?;@ÿB9PÿS9DIE<;JHÿ?BÿJF9ÿ9?CFJÿSvvvG
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Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 371 of 797




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                                                          APPENDIX 361
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-3Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 2 of 4
                                                                   372    797




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


JARROD STRINGER, et al.

                       Plaintiffs,
       v.

RUTH HUGHS, in her official capacity as Texas              Civil Action Case No. 5:20-cv-00046-
Secretary of State and STEVEN C. MCCRAW, in                OLG
his official capacity as Director of the Texas
Department of Public Safety


                       Defendants.

    DECLARATION OF ALEXANDER EDELMAN IN SUPPORT OF PLAINTIFFS’
              MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to 20 U.S.C. § 1746 I, Alexander Edelman, testify that:

       1.      I am over the age of 18, have personal knowledge of the facts below, and can

competently testify to their truth.

       2.      I currently serve as the National Field Director for DCCC, also known as the

Democratic Congressional Campaign Committee. I have held this position since February 2019.

       3.      The mission of DCCC is to elect Democratic candidates to the U.S. House of
Representatives. DCCC works to accomplish this mission by, among other things, funding voter

registration drives to register new voters who may support and vote for Democratic candidates

across the country.

       4.      For the 2020 election cycle, DCCC has identified at least eight congressional

districts in Texas (Congressional Districts 2, 7, 10, 21, 22, 23, 24, 31, and 32) as targeted races, in

which it will expend resources to support the Democratic candidate

       5.      As the National Field Director, I am responsible for the planning and execution of

DCCC’s National Field Program, which includes the supervision of field staff in congressional




                                                                                     APPENDIX 362
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-3Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 3 of 4
                                                                   373    797




districts where DCCC is actively working to elect Democratic candidates to the U.S. House of

Representatives. DCCC plans to spend even more on voter activities in Texas for the 2020 election,

including on GOTV, voter education, and voter registration.

        6.      DCCC has already invested hundreds of thousands of dollars dedicated to

specifically registering voters in Texas. DCCC recently spent nearly $400,000 to compensate a

consultant, Sisneros Strategies, for providing voter registration services in Texas Congressional

District 23. This is a specific example of one of many voter registration expenditures DCCC

expects to incur to register voters in Texas for the 2020 election.
        7.      DCCC plans to ultimately invest millions of dollars into registering and mobilizing

voters in Texas in advance of the 2020 election. DCCC uses voter registration not only to expand

the pool of individuals who are eligible to vote for Democratic candidates, but also to have

important conversations with people about the importance of voting and about important causes to

the Democratic Party.

        8.      DCCC supports and participates in what is commonly referred to as the

“coordinated campaign,” in which it works collaboratively with the state party committee and

other national Democratic committees to elect Democrats up and down the ticket within the state.
In advance of the 2020 general election, DCCC intends to give significant sums to the Texas

Democratic Party to spend on its field program, which will necessarily involve, among many

things, voter registration efforts, to help elect Democratic candidates from Texas to national office.

DCCC has already transferred over $145,000 to the Texas Democratic Party this election cycle to

support its registration efforts.

        9.      In fact, the Texas Democratic Party recently announced plans to launch the largest

voter registration effort in the state’s history. See Exhibit A. DCCC plans to actively support this

effort financially and with staffing resources.

        10.     Defendants’ continued refusal to follow federal and constitutional law by not

allowing for automatic voter registration with online transactions makes DCCC’s work in Texas

significantly more costly. DCCC is aware of Defendants’ continued violations and believes it must



                                                                                    APPENDIX 363
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-3Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 4 of 4
                                                                   374    797




register and turn out additional voters to account for voters who mistakenly believe they have

updated their registration and as a result are unable to vote, as happened to the original plaintiffs

in this action.

          11.     In particular, Defendants’ conduct forces DCCC to spend additional resources in

Texas on get out the vote (“GOTV”) and voter persuasion efforts, diverting those funds from other

mission-critical efforts nationwide. DCCC has concentrated its limited resources on efforts in

various battleground states, with remaining resources going toward non-battleground states. But

now, DCCC must divert resources—including funds, personnel, and time—from GOTV, voter
education, and voter registration efforts in other states, including important battleground states, to

compensate for the issues caused by Defendants’ conduct.

          12.     Not only is DCCC diverting resources—including funds, personnel, and time—

from its activities in other states, but it is forced to divert resources within Texas. For example,

DCCC may have to divert resources from directly making contributions to campaigns in Texas to

funding voter education and registration efforts in order to combat the effects of Texas’ refusal to

offer simultaneous voter registration to individuals who update their driver’s license information

online.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on May 14, 2020.
                                                      ________________________
                                                      Alexander Edelman
                                                      National Field Director
                                                      DCCC




                                                                                    APPENDIX 364
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 375 of 797




                  ([KLELW,




                                                          APPENDIX 365
       Case
     Case    5:20-cv-00046-OLGDocument
          5:20-cv-00046-OLG     Document 71-4Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 2 of 3
                                                                   376    797




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


JARROD STRINGER, et al.

                         Plaintiffs,
          v.

RUTH HUGHS, in her official capacity as Texas             Civil Action Case No. 5:20-cv-00046-
Secretary of State and STEVEN C. MCCRAW, in               OLG
his official capacity as Director of the Texas
Department of Public Safety


                         Defendants.

     DECLARATION OF SARA SCHAUMBURG IN SUPPORT OF INTERVENOR-
       PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

          Pursuant to 28 U.S.C. § 1746, I, Sara Schaumburg, testify that:

          1.     I am over the age of 18, am competent to testify, and declare the following facts

based on my own personal knowledge.

          2.     I am currently employed as the Director of Voter Protection & Deputy Policy

Director by the DSCC.

          3.     As the national senatorial committee of the Democratic Party, DSCC has a vested

interest in the registration of voters who can cast ballots to support Democratic candidates for U.S.

Senate.

          4.     In 2018, DSCC made contributions and expenditures in the tens of millions of

dollars to persuade and mobilize voters to support Democratic Senate candidates. DSCC expects

to invest millions in support of MJ Hegar in her campaign against Republican Senator John Cornyn

through contributions to her campaign and to the Texas Democratic Party (“TDP”). To date, the

DSCC has already spent at least $180,445.17 this year on efforts to elect Democratic candidates

in Texas.




                                                                                   APPENDIX 366
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG    Document 71-4Filed
                                       77-1     Filed 05/14/20Page
                                                    05/29/20    Page 3 of 3
                                                                   377    797




       5.      Defendants’ conduct forces DSCC to provide additional resources in Texas to be

spent on get out the vote (“GOTV”) and voter persuasion efforts, diverting those funds from other

mission-critical efforts nationwide. DSCC has concentrated its limited resources on efforts in

various battleground states. But now, DSCC must divert resources—including funds, personnel,

and time—from efforts in other key battleground states to address the issues arising in this case,

specifically to address the numerous burdens which Defendant Hughs places on voters wishing to

register online in the state, and to attempt to get additional voters to turn out to compensate for the

effects of these burdens. Among other burdens, these include both the issues detailed in this case

as well as those which form the basis of the complaint in Texas Democratic Party v. Hughs, No.

20-cv-00008 (W.D. Tex. 2020).

       6.      DSCC also anticipates transferring more money to the Texas Democratic Party

(“TDP”) to support the coordinated campaign, which is a program by which the DSCC works

collaboratively with the state party committee and other national Democratic party committees to

elect Democrats up and down the ticket within the state. In advance of the 2020 election, DSCC

intends to transfer more funds than it previously planned to transfer to the TDP to spend on its

field program in light of Defendants’ illegal conduct. The field program will necessarily involve,

among many things, voter registration efforts to help elect Democratic candidates from Texas to

national office. Thus far this election cycle, DSCC has transferred $25,000 to the TDP.

       7.      Defendants’ conduct directly harms DSCC by frustrating its mission of, and efforts

in, electing the Democratic Party candidate to the U.S. Senate by forcing DSCC to divert additional

funds and resources to Texas to ensure that eligible citizens are not misled into believing that they

have effectively registered to vote, and are in fact registered to vote and cast a ballot.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on May 14, 2020.
                                                       ________________________
                                                       Sara Schaumburg
                                                       Director of Voter Protection & Deputy Policy
                                                       Director, DSCC




                                                                                     APPENDIX 367
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 378 of 797




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                                                          APPENDIX 368
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 379 of 797



              IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                      SAN ANTONIO DIVISION

 JARROD STRINGER, et al.,           *
       Plaintiffs,                  *
                                    *
 v.                                 *        No. SA-20-CV-46-OG
                                    *
 RUTH R. HUGHS, et al.,             *
       Defendants.                  *

                  VIDEOCONFERENCED DEPOSITION OF

                 THE CORPORATE REPRESENTATIVE OF

                   THE TEXAS DEMOCRATIC PARTY,

                         TOMMY GLEN MAXEY

                      Monday, April 27, 2020



              VIDEOCONFERENCED DEPOSITION OF TOMMY GLEN

  MAXEY, produced as a witness at the instance of the

  Defendants, and duly sworn, was taken in the

  above-styled and numbered cause on Monday, April 27,

  2020, from 10:03 a.m. to 2:04 p.m., before Debbie D.

  Cunningham, CSR, in and for the State of Texas, remotely

  reported via Machine Shorthand, pursuant to the Federal

  Rules of Civil Procedure.

                              --ooOoo--




                                                          APPENDIX 369
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             380 of -
                                                                    7974/27/2020

                                                                             2
 1                              APPEARANCES

 2

 3    FOR PLAINTIFFS:

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            (T) 512.474.5073
 6
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 9
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13                         AND
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                           AND
15                Emily Brailey, Esq.
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22                         AND
                  Christopher D. Hilton, Esq.
23                christopher.hilton@oag.texas.gov

24
      VIDEOGRAPHER:     Brian Christopher
25

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 370
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             381 of -
                                                                    7974/27/2020

                                                                             3
 1                               INDEX

 2     APPEARANCES                                             2

 3

 4    EXAMINATION OF TOMMY GLEN MAXEY:

 5     BY MS. MACKIN                                           6

 6     BY MR. GEISE                                            112

 7     BY MS. MACKIN                                           115

 8

 9

10     REPORTER’S CERTIFICATION                                117

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 371
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             382 of -
                                                                    7974/27/2020

                                                                             4
 1                             EXHIBIT INDEX

 2

 3    Exhibit Number        Description                         Page

 4
      Exhibit 1       Defendants’ Notice of Oral                  9
 5                    Deposition Pursuant to
                      Federal Rule of Procedure 30
 6
      Exhibit 2       Plaintiffs’ Production in                  17
 7                    Response to Subpoena

 8

 9

10

11

12

13

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                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 372
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             383 of -
                                                                    7974/27/2020

                                                                             5
 1                (Monday, April 27, 2020, 10:03 a.m.)

 2                        P R O C E E D I N G S

 3                    THE REPORTER:     Today is April 27th, 2020.

 4    This is the deposition of the Texas Democratic Party

 5    Representative, Glen Maxey, in the matter of Jarrod

 6    Stringer, et al. versus Ruth R. Hughes, et al.           We are

 7    remotely situated due to COVID-19 and are appearing via

 8    Zoom conference.     We are now on the record at

 9    10:03 a.m., Central time.

10                    My name is Debbie Cunningham; and my

11    business address is P.O. Box 245, Manchaca, Texas.

12                    Would all persons present please

13    introduce themselves for the record?

14                    MS. MACKIN:     This is Anna Mackin with the

15    Texas Office of the Attorney General on behalf of the

16    Defendant.

17                    MR. GEISE:     This is John Geise from the

18    law firm of Perkins Coie, LLP, on behalf of Plaintiff

19    Intervenor Texas Democratic Party.

20                    MS. BRANCH:     This is Aria Branch from

21    Perkins Coie on behalf of the Plaintiff Intervenor,

22    Texas Democratic Party.

23                    MS. BRAILEY:     This is Emily Brailey also

24    from Perkins Coie on behalf of the Plaintiff Intervenor,

25    Texas Democratic Party.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 373
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             384 of -
                                                                    7974/27/2020

                                                                             6
 1                    THE WITNESS:     I’m Glen Maxey from the

 2    Texas Democratic Party.

 3                    MR. GONZALES:     This is Joaquin Gonzales

 4    on behalf of Plaintiffs, Jarrod Stringer, et al.

 5                    (Witness sworn by the reporter.)

 6                    MS. MACKIN:     And I’d just like to note on

 7    the record that the parties have stipulated that that

 8    oath can be taken remotely.

 9                              GLEN MAXEY,

10    having taken an oath to tell the truth, the whole truth,

11    and nothing but the truth, was examined and testified as

12                               follows:

13                              EXAMINATION

14    BY MS. MACKIN:

15          Q.    All right.    Good morning, Mr. Maxey.

16          A.    Good morning.

17          Q.    Please speak and spell your name for the

18    record.

19          A.    Tommy Glen Maxey, T-O-M-M-Y G-L-E-N M-A-X-E-Y.

20          Q.    Thank you.

21                    My name is Anna Mackin.       I represent the

22    Defendants in this case, and I’m going to be asking you

23    some questions today.      You have been deposed before; is

24    that right?

25          A.    That’s correct.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 374
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             385 of -
                                                                    7974/27/2020

                                                                             7
 1          Q.    Okay.   So you’re probably familiar with what

 2    we’re about to cover; but I want to briefly go over some

 3    ground rules, which are especially important given that

 4    we’re remotely situated and using this videoconference

 5    technology to take your deposition today.

 6                    Please try to give a verbal answer to my

 7    questions.    "Yes" or "no" works a lot better than

 8    "uh-huh" or "huh-uh" because it makes sure that the

 9    record is clear and Ms. Cunningham is writing down

10    everything that we say.      Okay?

11          A.    All right.

12          Q.    Okay.   And please try to let me finish a

13    question before you begin your answer.         I will also

14    endeavor to allow you to finish your answer before I

15    ask my next question.      This is, again, so that

16    Ms. Cunningham can get an accurate record of everything

17    that is said.     Okay?

18          A.    Okay.

19          Q.    And if you don’t understand one of my

20    questions today, will you please tell me so that I can

21    rephrase it?

22          A.    Yes, ma’am.

23          Q.    Thank you.

24                    And if you do answer, I will assume that

25    you have understood the question.        Is that fair?

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                       www.integrity-texas.com               APPENDIX 375
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             386 of -
                                                                    7974/27/2020

                                                                             8
 1          A.     That’s fair.

 2          Q.     Okay.   A reminder:   You are under oath, sworn

 3    to tell the truth as if testifying at a courthouse in

 4    front of judge and a jury under penalty of perjury if

 5    you do not tell the truth.       Do you understand that?

 6          A.     I do.

 7          Q.     Okay.   And this is not an endurance contest.

 8    You are the talent here.       So if you ever need a break,

 9    need to stretch your legs, use the restroom, please just

10    let me know; and we’ll take a break.         I’ll just ask that

11    you answer any question that is pending before we go on

12    break.     Okay?

13          A.     All right.

14          Q.     All right.   Is there any reason that you might

15    not be able to answer my questions honestly, completely,

16    and accurately today?

17          A.     Nothing at all.

18          Q.     Okay.   So during today’s deposition I’m going

19    to show you some documents by publishing them on the

20    screen.     If you have trouble seeing a document, just let

21    me know.     I can zoom in or out, scroll up or down

22    however you need me to.      Just let me know that I need to

23    do that.     Okay?

24          A.     All right.   Let me just say that I learned

25    last time that with my progressive glasses, sometimes

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             387 of -
                                                                    7974/27/2020

                                                                             9
 1    I’m going to have to move the screen to see.          So I

 2    might -- my picture might go out of the frame while I’m

 3    tilting the computer.

 4          Q.     Okay.   Understood.   And we also have a way to

 5    send around a little link.       If it’s not really working

 6    for me to publish the document on the screen, I can

 7    share a link in the chat box; and that will allow

 8    everybody to download whatever document we’re talking

 9    about.     So we can explore what we need to do to make

10    sure that you’re seeing the documents clearly.

11          A.     Thank you.

12          Q.     Of course.   So let’s go ahead and practice

13    with what’s going to be Exhibit 1 to this deposition.

14                     MR. GEISE:    Can we actually just send

15    around the chat links as a matter of course so that

16    counsel can download them as well?

17                     MS. MACKIN:    Sure, sure.    That’s fine.

18    Let me stop this share, and I will circulate...

19                     MR. GEISE:    Yeah, we’ve had these hiccups

20    before; and it just ended up being easier.

21                     MS. MACKIN:    Not a problem.     We are all

22    learning on the job a little bit when it comes to these

23    depositions.

24                     MR. GEISE:    I was in a deposition where

25    Debbie got cut out because she -- her house got struck

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 377
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             388 of -
                                                                    7974/27/2020

                                                                            10
 1    by lightening, so that was a particular --

 2                    MS. MACKIN:     Oh my gosh.    Are you all

 3    right?

 4                    THE REPORTER:     Yes.

 5                    MR. GEISE:     That was particularly

 6    different.

 7                    MS. MACKIN:     Yeah.

 8                    All right.     So I’ve sent around the

 9    document in the chat box.

10                    MR. GEISE:     Yeah, I got it.     It worked

11    for me.    Thank you.    Appreciate it.

12                    MS. MACKIN:     Sure.

13                    (Exhibit 1 marked.)

14          Q     (BY MS. MACKIN)     Mr. Maxey, are you able to

15    view that document?

16          A.    Yes.

17          Q.    Okay.   And have you seen this document before?

18          A.    Yes.

19          Q.    What is it?

20          A.    It’s the Defendants’ Notice of Oral Deposition

21    pursuant to Federal Rule of Civil Procedure 30, in

22    Jarrod Stringer versus Ruth Hughs.

23          Q.    And do you understand that you are here today

24    giving this deposition pursuant to this Notice of

25    Deposition?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 378
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             389 of -
                                                                    7974/27/2020

                                                                            11
 1          A.    Yes.

 2          Q.    And that your testimony today is on behalf of

 3    the Texas Democratic Party, and your answers will bind

 4    the Texas Democratic Party?

 5          A.    That’s correct.

 6          Q.    Okay.   And throughout this conversation today

 7    when I say "TDP," I’m going to be referring to the Texas

 8    Democratic Party, just to be clear about that; and if

 9    you say "TDP," I’ll also understand you to be referring

10    to the Texas Democratic Party unless you tell me

11    otherwise.    Okay?

12          A.    All right.

13          Q.    All right.    So I’d like to -- before we jump

14    into the substance, I’d like to go over the seven topics

15    for this corporate representative deposition.          So if I

16    could have you please scroll down to page 5 of this

17    notice.

18          A.    All right.

19          Q.    So Topic 1 is your mission, "your" meaning

20    that of TDP.    Are you designated to testify on this

21    topic?

22          A.    Yes.

23          Q.    Okay.   And Topic 2, "Your organization,

24    including your organizational structure, employees,

25    physical assets, parent and sibling entities, tax

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                       www.integrity-texas.com               APPENDIX 379
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             390 of -
                                                                    7974/27/2020

                                                                            12
 1    status, and history; the services that you provide and

 2    the activities that you perform."        Are you designated to

 3    testify on this topic?

 4          A.    Yes.

 5          Q.    And Topic 3, "Your funding sources, funding

 6    amounts, operational expenses, operational budget, and

 7    funding activities between January 1st, 2014 and the

 8    present."    Are you designated to testify on this topic?

 9          A.    Yes.

10          Q.    Topic 4, "All activities on which you have

11    spent funds or to which you have dedicated resources in

12    Texas between January 1st, 2014 and the present."           And

13    then it lists, "including," several subtopics.           Are you

14    designated to testify on Topic 4?

15          A.    To the level that they are not protected under

16    our organizational First Amendment rights.

17          Q.    And what do you mean by that?

18          A.    Well, it’s my understanding that, as an

19    entity, that we have the ability to not disclose our

20    day-to-day operational things; but I can, to the level

21    my attorney tells me, answer this question -- these

22    questions in Number 4.

23          Q.    And there isn’t another person who would be

24    designated to testify on Topic Number 4, is there?

25          A.    No.    I am it.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 380
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             391 of -
                                                                    7974/27/2020

                                                                            13
 1          Q.    You are it.    All right.

 2                    Topic 5, "All activities on which you

 3    plan to spend funds or to which you plan to dedicate

 4    resources in Texas between the present and January 1st,"

 5    2014 [sic.]    Mr. Maxey, are you designated to testify on

 6    this topic?

 7          A.    Well, it’s 2024, not 2014, but --

 8          Q.    Correct.    Apologies.

 9          A.    Yes, I am.

10          Q.    Thank you for keeping me honest.        I appreciate

11    it.

12                    Topic 6, "The allegations in your

13    Complaint and the factual bases therefor."          Are you

14    designated to testify on this topic?

15          A.    I am.

16          Q.    And the word "Complaint" as used in Topic 6,

17    do you understand that to mean the Complaint that your

18    attorneys filed on behalf of the Texas Democratic Party,

19    the DSCC and the DCCC in this lawsuit?

20          A.    Yes.

21          Q.    Okay.   Thank you.

22                    And then Topic 7, "Your members who are

23    eligible to use the DPS website for a driver license

24    renewal or change-of-address transaction and intend to

25    do so."    Are you designated to testify on this topic?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 381
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             392 of -
                                                                    7974/27/2020

                                                                            14
 1          A.    Yes.

 2          Q.    All right.    And, finally, Number 8, "The

 3    documents produced in response to the subpoena duces

 4    tecum," described and attached to the Deposition Notice.

 5    Are you designated to testify on this topic?

 6          A.    I have no idea what those words mean, but I

 7    suppose I am.

 8          Q.    Okay.   Is it your understanding that some

 9    documents have been produced to the Defendants by your

10    attorneys --

11          A.    Yes.

12          Q.    -- and that we can talk about them today?

13          A.    Absolutely.

14          Q.    All right.    Sounds good.

15                    All right.     So how did you prepare for

16    today’s deposition, Mr. Maxey?

17          A.    I reviewed all of the documents that were

18    shared to me by my attorney.       I had conversations with

19    my attorney about the general scope of what we would

20    discuss today.

21          Q.    And which documents did you review?

22                    MR. GEISE:     Objection, attorney-client

23    privilege.    I think he said he reviewed documents

24    provided to him by counsel.       So I would instruct the

25    witness only to answer any documents that were not

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 382
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             393 of -
                                                                    7974/27/2020

                                                                            15
 1    provided by counsel.

 2                    MS. MACKIN:     Is it your position that

 3    we’re going --

 4                    (Simultaneous speakers.)

 5                    MS. MACKIN:     -- document is that that’s

 6    privileged because I’m not asking him about advice of

 7    counsel.    I’m simply asking which documents he relied

 8    upon to prepare to testify on the topics.

 9                    MR. GEISE:     I think that if he was

10    provided documents by counsel, then which documents he

11    was provided to review in preparation for the deposition

12    is attorney work product and goes to the mental

13    impressions of counsel.

14                    So if you reviewed any documents outside

15    of those provided by counsel, I would -- you can answer

16    that.   If the only documents you reviewed were documents

17    which counsel provided you to review, I would instruct

18    you not to answer.

19                    I think he’s allowed to answer how many

20    documents he reviewed, but -- or the general topics of

21    documents he reviewed.

22                    But I think that specific documents you

23    reviewed, I would instruct you not to answer.          So with

24    that instruction, you can answer the number of documents

25    you reviewed and the general scope of the documents you

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 383
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             394 of -
                                                                    7974/27/2020

                                                                            16
 1    reviewed.

 2                    MS. MACKIN:     I’d just like to note on the

 3    record that I don’t think that’s correct.          Of course,

 4    the witness is able to answer to the extent that he

 5    feels is appropriate; but the mere fact of reviewing a

 6    document and the nature of what the document is is not

 7    protected.

 8                    MR. GEISE:     And, again, I would instruct

 9    the witness that I believe that reviewing specific

10    documents selected by counsel goes to the mental

11    impressions and work product of counsel.          And I would

12    instruct the witness to answer a summary, a general

13    summary of the documents -- well, a general summary of

14    the documents you reviewed at a high level and the

15    number.    And that’s what I would instruct the witness to

16    answer.

17          A.    So I reviewed approximately, I would say,

18    maybe about 50 documents that were sent to me by counsel

19    that all appeared to be the filings in this case alone.

20    I have not looked at any document, done any research

21    outside of my general knowledge about the Texas

22    Democratic Party in response to doing this deposition.

23    I have not looked at anything outside of what came that

24    appeared all to be things that have already been

25    produced into the record or will be produced into the

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 384
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             395 of -
                                                                    7974/27/2020

                                                                            17
 1    record in this lawsuit.

 2          Q.    So you did not search any files for documents

 3    in preparation for today’s deposition?

 4          A.    No.    My brain is it.

 5          Q.    Did you bring any documents with you today?

 6          A.    Nope.

 7          Q.    Your attorneys have produced 55 PDF files to

 8    us as a response to the subpoena attached to this

 9    Notice.    I’m going to make all of those files Exhibit 2

10    to this deposition.

11                      (Exhibit 2 marked.)

12          Q.    (BY MS. MACKIN)     We will pull up a few of them

13    later on to look at them, but the documents that were

14    produced to us all appear to be e-mails sent by the

15    Texas Democratic Party to, be it -- well, it was not

16    clear who they were sent to; but they appeared to be

17    externally- sent e-mails, not within the Party, but sent

18    outside of TDP.      Did you review any of those documents

19    in preparation for your deposition?

20          A.    I did.    I went through each one of them

21    opened.    There were some of them that were garbled that

22    I couldn’t read, but they seemed to be in the same vein

23    as the previous ones; and historically every one of

24    those e-mails I also received in my inbox when they were

25    originally sent.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 385
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             396 of -
                                                                    7974/27/2020

                                                                            18
 1                    MS. MACKIN:     Okay.   And I’m just going to

 2    memorialize, again, on the record our objection to

 3    withholding documents that the witness reviewed in

 4    preparation for today’s deposition, and we do request a

 5    supplementation of that production to ensure --

 6                    THE WITNESS:     I --

 7                    (Simultaneous speakers.)

 8                    MR. GEISE:     Well, Glen, you don’t --

 9    Glen, you don’t have to answer.

10                    We can discuss that after the deposition

11    or off the record of the deposition.         We are happy to

12    discuss our -- we maintain that the Texas Democratic

13    Party has publicly available financial records and that

14    anything that is an internal Party document is subject

15    to the First Amendment privilege, is not critical to the

16    needs of this case or critical to establishing the Texas

17    Democratic Party’s standing and that --

18                    MS. MACKIN:     I think, Counsel, we can

19    discuss --

20                    MR. GEISE:     We can discuss that off the

21    record.    We don’t need to have that discussion now.

22                    MS. MACKIN:     I’m just preserving our

23    objection on the record.

24                    MR. GEISE:     Yes, understood.     And I’m

25    preserving our response; but, yes, we can talk after.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 386
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             397 of -
                                                                    7974/27/2020

                                                                            19
 1          Q     (BY MS. MACKIN)     All right.    Mr. Maxey, did

 2    you meet with anyone at TDP to prepare for today’s

 3    deposition?

 4          A.    No, ma’am.

 5          Q.    And how many times did you meet with counsel

 6    to prepare for today’s deposition?

 7          A.    Once.

 8          Q.    And how long did you meet with counsel?

 9          A.    I think approximately an hour.

10          Q.    Okay.   And are you adequately familiarized

11    with the facts to testify as TDP’s representative today?

12          A.    I believe so.

13          Q.    Okay.   Just a brief discussion of your

14    background, Mr. Maxey.      You are currently employed by

15    TDP; is that correct?

16          A.    That’s correct.

17          Q.    What is your job title?

18          A.    Currently my job title is Primary Director.

19          Q.    How long have you held that position?

20          A.    Well, I work for the Texas Democratic Party

21    year round; and I use different titles depending on the

22    time of the election cycle.       For instance, during the

23    legislative session, I am the Legislative Director.            I

24    lobby for the Party and election issues before the Texas

25    Legislature.    So during the primary season, which begins

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                       www.integrity-texas.com               APPENDIX 387
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             398 of -
                                                                    7974/27/2020

                                                                            20
 1    approximately September 1st of the odd year, through the

 2    month after the runoff election, which is now going to

 3    be August, I have the title of Primary Director because

 4    we’re in the period of having our Democratic primary and

 5    primary runoff.

 6          Q.    Do you report to anyone in your role with the

 7    Texas Democratic Party?

 8          A.    I report to the chairman of the Party,

 9    Gilberto Hinjosa and Manny Garcia.

10          Q.    And does anyone report to you?

11          A.    I’m -- I do not have general employees

12    reporting to me.     I am a senior advisor.       So many of the

13    employees come to me for advice about election law, job

14    descriptions, things that I am knowledgeable of, since

15    I’ve been doing this over 50 years and most of them are,

16    you know, in their twenties.       And Luke Warford, who is

17    the Director of Voter Registration -- or Voter

18    Expansion, which is voter registration and vote by mail

19    and those kind of programs, reports directly to me.

20          Q.    Okay.   So Luke Warford is your direct report;

21    and then for others, you are a wealth of institutional

22    knowledge, so to speak?

23          A.    Yes.

24          Q.    Okay.   Who made the decision that the Texas

25    Democratic Party would join this lawsuit?

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                       www.integrity-texas.com               APPENDIX 388
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             399 of -
                                                                    7974/27/2020

                                                                            21
 1                    MR. GEISE:     Objection.    I think that that

 2    goes to attorney-client privilege as well as the First

 3    Amendment privilege.      I would instruct the witness not

 4    to answer.

 5                    MS. MACKIN:     To be clear, I’m not asking

 6    why the Texas Democratic Party decided to join this

 7    lawsuit.    I’m simply, under the topic of the

 8    organizational structure, seeking to understand those

 9    lines of authority.

10                    MR. GEISE:     I don’t think that how the

11    Texas Democratic Party makes strategic litigation

12    decisions -- I think that’s First Amendment privileged

13    and not relevant to this lawsuit.        I would instruct the

14    witness not to answer.

15                    MS. MACKIN:     And I’ll note again I didn’t

16    ask how that decision was made.        I asked for the

17    identity of the individual with the decision rights to

18    make it.

19                    MR. GEISE:     Understood.    I would still

20    instruct the witness not to answer.

21          A.    Therefore, I will not answer under the advice

22    of counsel.

23          Q.    (BY MS. MACKIN)     You’re following the advice

24    of your counsel.     Okay.

25                    All right.     I want to jump into Topic 1.

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                       www.integrity-texas.com               APPENDIX 389
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             400 of -
                                                                    7974/27/2020

                                                                            22
 1    What is the mission of the Texas Democratic Party?

 2          A.    The mission of the Texas Democratic Party is

 3    to elect people who call themselves Democrats to public

 4    office at all levels, from president to public offices,

 5    such as city councils and school boards, that are

 6    non-partisan.     But anybody who believes in the

 7    Democratic philosophy, agrees with our platform.           We

 8    educate voters.      We register voters so that they are

 9    capable of casting a ballot.       We inform voters about

10    issues and candidates.      We run coordinated campaigns to

11    elect those Democrats.      There are literally thousands of

12    different pieces of all of that, but generically it’s

13    electing Democrats to public office.

14          Q.    Okay.    Has the mission of the Texas Democratic

15    Party changed over time?

16          A.    No.   I mean, the fundamental mission, you

17    know, began when the Party was formed in the early 1800s

18    to be the mission of electing people of our Party, with

19    our general philosophy and support our platform, to

20    public office.      That’s always been our mission.       I don’t

21    think we’ve deviated very far with that.          How we do

22    that, methodologies, have changed radically over time;

23    and certainly radically just in the last decade,

24    radically in the last months because of the pandemic.

25    So methodologies have changed, but mission has not.

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                       www.integrity-texas.com               APPENDIX 390
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             401 of -
                                                                    7974/27/2020

                                                                            23
 1          Q.    And when you say methodologies have changed,

 2    how have those methodologies changed?

 3          A.    Well, there was not a -- when I started in

 4    this business doing Democratic Party work, there were

 5    no computers.     I started out on a manual typewriter

 6    without -- not even with white-out or a corrective

 7    ribbon.    So the access to cellphones versus land lines

 8    versus party lines over the 50 years I’ve been doing

 9    this, access to whether you could do -- you know, I have

10    been from hand address the envelope, to stick on the

11    adhesive label, to laser printing at a mail shop over

12    the 50 years that I’ve been doing this.

13                    So, I mean, all kinds of technology, all

14    kinds of communications, the fact that you can now talk

15    to tens of thousands of people simultaneously through

16    an e-mail is radically different than when we had to

17    phone each individual voter one by one when I started a

18    mere -- in the 1980s, you know.        So the methodologies of

19    communicating and the fact that we have a voter

20    registration system where a person has to fill out the

21    paper form and put a wet signature on it that has

22    changed over the years to the ability of people who can

23    be registered to vote when they get their driver’s

24    license renewed or registered or get a driver’s license

25    for the first time, which brings us all the way to this

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 391
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             402 of -
                                                                    7974/27/2020

                                                                            24
 1    lawsuit.    The State of Texas is refusing to follow

 2    federal law in registering a person to vote when they

 3    change their driver’s license address.

 4                    MS. MACKIN:     I’m going to object to the

 5    last sentence as nonresponsive to the question.

 6          Q.    (BY MS. MACKIN)     I would like to ask you,

 7    Mr. Maxey, you mentioned that in the past few months,

 8    even, methodologies have changed in light of the

 9    pandemic.    Can you tell me a little bit about how that

10    has changed?

11          A.    Well, I would have had right now literally

12    dozens upon dozens of TDP employees knocking on doors

13    and being in the living rooms of voters or on their

14    porch having conversations about registering to vote.

15    Because of the COVID-19 those person-to-person

16    interactions are not happening.        So now we’re having to

17    do things in a different way of e-mail and phone calling

18    and other kinds of things, sort of a throwback to what

19    we did 50 years ago.      So person-to-person communications

20    are not possible in social-distancing situations or at

21    least not advisable.      We’re not putting people at risk

22    to even put people in the situation that they have to be

23    6 foot apart.     We don’t want anybody to -- until the

24    governor and the president say it’s all clear, we won’t

25    be doing that kind of door-to-door campaigning.

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                       www.integrity-texas.com               APPENDIX 392
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             403 of -
                                                                    7974/27/2020

                                                                            25
 1          Q.    Okay.    I want to talk about TDP’s

 2    organizational structure.       Can you explain to me how TDP

 3    is structured?

 4          A.    How it’s structured governance-wise?

 5          Q.    Yes, sir.

 6          A.    The Texas Democratic Party has an Executive

 7    Committee that’s elected at our quadrennial state

 8    conventions by delegates that are elected that consist

 9    of a chairman and a vice chair and then 62 people, 31 --

10    two from each of the 31 state Senate districts, a man

11    and a woman.    So it’s a 64-member Executive Committee

12    that’s outlined in the Texas Election Code statutorily,

13    membership of that committee.        They make the policy.

14    The Executive Director hires -- I mean, the State Chair

15    hires an Executive Director.       The Executive Director

16    hires a staff.      The staff reports to the Executive

17    Director.    The Executive Director reports to the State

18    Chair.

19          Q.    And within that structure, would you fall

20    under the staff category?

21          A.    Yes.

22          Q.    Okay.    And how many other staff members does

23    TDP have right now?

24          A.    As reported in our staff meeting last week, we

25    had 61 staffers.

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                       www.integrity-texas.com               APPENDIX 393
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             404 of -
                                                                    7974/27/2020

                                                                            26
 1          Q.    And how are TDP staff members paid?        I’m not

 2    asking how much, just where the funds come from.

 3          A.    They come from donations that are made legally

 4    and through federal and state law from donors,

 5    individuals, organizations, political action committees.

 6          Q.    Okay.   I’m going to jump ahead to Topic 4.

 7    And as you were alluding to earlier, Mr. Maxey, I

 8    understand that there are various permutations of how

 9    TDP furthers its mission and sort of engages in its

10    activities; but I would like to understand kind of the

11    main buckets of activity, the main categories of

12    activity, that TDP is engaged in.

13                    From what you said earlier, I wrote down:

14    Elect Democrats, educate voters, and register voters.

15    But I don’t want to sort of pin you to that if there’s

16    kind of a better way to describe the main categories of

17    activity that TDP engages in.

18          A.    Sure.   Let me just run down sort of job titles

19    of the 61 people, and that will give you an idea.

20          Q.    Cool.   Perfect.

21          A.    We have a comptroller who receives and expends

22    the funds, who makes all the reports to the Federal

23    Election Committee and Texas Election Committee.           She

24    has two assistants that also deal with HR and hiring and

25    doing Human Relations kind of hiring and removing

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 394
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             405 of -
                                                                    7974/27/2020

                                                                            27
 1    employees.

 2                    We have a data team that works on the

 3    voter files, targeting, preparing lists for phone

 4    banking, voter contact all through technology systems.

 5    It’s basically data work.

 6                    We have a fundraising team that consists

 7    of four people that raise money from individual donors

 8    and major donors and organizations.

 9                    As I said, we have an Executive Director.

10    We have an Assistant Executive Director who also does

11    sort of the political work of the organization.

12                    We have a political team that has two

13    people that work directly with candidate services, two

14    people who work directly with volunteers for the

15    candidates, two people who work directly with the county

16    parties, with their plans, funding plans, coordinated

17    plans, training county chairs and county executive

18    committees and volunteers at the county level.

19                    I’m sort of going around my office.

20                    We have a five-member voter protection

21    team that deal with voter laws and educating people to

22    comply with all election laws and assist where we find

23    voters who have had problems casting their ballot or

24    getting registered, to make sure that everybody is

25    legally able to participate.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 395
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             406 of -
                                                                    7974/27/2020

                                                                             28
 1                    There’s the voter expansion team, Luke

 2    Warford, who does voter registration, vote by mail.            I

 3    work a lot in that program.

 4                    We have a communications staff, typical

 5    communication directors, research director, digital

 6    team, people who do all of our online, whether it’s

 7    e-mails, Instagram, Facebook, Twitter, all of those kind

 8    of programatic things.

 9                    And we have an organizing team that works

10    in the field.     We have constituency organizers for

11    allied groups within the Party, African-Americans,

12    Hispanic, disability community, LGBT community, the

13    women’s community, Asian Pacific Islanders community.              I

14    might be missing one of those groups, but there’s a

15    staffer there.

16                    And then there are literally -- there

17    will be by November approximately a thousand people in

18    the field talking to voters all over the state of Texas.

19                    And that’s how we do it.

20          Q.    That’s how the sausage is made.

21                    Okay.    So I appreciate that rundown.       And

22    it sounds, from what you’ve said, like some of those

23    apparatuses are necessary to engage in a variety of

24    activities, like, it’s not like you just have a -- like,

25    for example, your comptroller, that’s sort of

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 396
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             407 of -
                                                                    7974/27/2020

                                                                            29
 1    infrastructure that’s, like, necessary for the whole

 2    organization to run, right?

 3          A.    Well --

 4                    MR. GEISE:     I’m just going -- I think

 5    it’s -- I’m just going to object to preserve the First

 6    Amendment objection and just instruct the witness.           I

 7    think this is all fine.      You can continue to answer at a

 8    high level.    I just -- you know, if we start getting

 9    into more and more detail, I just wanted to preserve

10    that objection for the record.

11                    THE WITNESS:     I understand.

12          A.    So let me just say that nothing’s siloed.

13    Everybody on our staff is trained to register a voter.

14    Everybody on our staff is trained to answer a voter’s

15    questions so that no matter where -- what department

16    you’re in, we’re all supportive; and we’re cross-

17    trained.    Nothing is -- I mean, there are some people

18    who do just the same thing every day; but I work in

19    pretty much all of those areas.

20                    I’m the author of many of the

21    communication e-mails we send out, perhaps, on voter

22    registration.     And I think that’s the whole nut of where

23    we’re going with this is that we are having to move

24    money from all of those departments to deal with voter

25    registration because the State, in this case, is not

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 397
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             408 of -
                                                                    7974/27/2020

                                                                            30
 1    doing its work in registering people appropriately.

 2          Q.    (BY MS. MACKIN)     Okay.   And so I’m trying to

 3    get a list of the main activities of the Texas

 4    Democratic Party.     And so based on what you’ve said, it

 5    sounds like there is fundraising.        There is candidate

 6    services.    There is county services, voter protection,

 7    voter expansion, and maybe organizing.         I mean, if you

 8    had to break it down into categories of activity, how

 9    would you do that, because I appreciate the explanation

10    of kind of the departments and the structure?

11          A.    Every day we communicate with voters.         We

12    educate voters.     We help Texans who are not registered

13    get them registered in myriads of ways to make sure that

14    we expand the voting pool.       We educate them how to cast

15    a vote, when to cast a vote, where to cast a vote, and

16    who to cast a vote for, pure and simple.

17                    Our main goal right now is to register

18    approximately 2.6 million people to vote, which we’re

19    spending lots of money on doing because the State of

20    Texas is not following the federal law in registering

21    people when they change their driver’s license.

22          Q.    And just to be clear on the record, Mr. Maxey,

23    are you an attorney?

24          A.    No, and I never claimed to be one.

25          Q.    Okay.   And --

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                       www.integrity-texas.com               APPENDIX 398
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             409 of -
                                                                    7974/27/2020

                                                                             31
 1          A.    But let me just say this, though:        I’m not an

 2    attorney, but I was a legislator for 12 years.           I have

 3    drafted in the last four election cycles more than 150

 4    pieces of election law.      I have gotten legislators to

 5    file them.    I have testified on behalf of those bills,

 6    and I have rewritten major sections of the Election Code

 7    through things that I have drafted.         So I am not an

 8    attorney, but I understand the law.

 9          Q.    Okay.   And I appreciate that.

10                    I want to come back to what I’m trying

11    to understand with this question about TDP’s activities.

12    So TDP engages in communications, right?          You

13    mentioned -- when I just tried to get a list the last

14    time, you said communication, education, and voter

15    registration; but that doesn’t seem to capture

16    everything that you talked about.

17          A.    Please ask something specifically about what

18    you want to know, and I’ll answer it.

19          Q.    Sure.   So what are the main categories of

20    activities that TDP is engaged in?        And I think I did

21    ask that already, but I’ll ask it again.

22                    MR. GEISE:     Objection to the form.

23                    You can answer.

24          A.    I’ll answer it yet again.       Our mission is to

25    educate voters to vote for Democratic candidates.           In

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 399
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             410 of -
                                                                    7974/27/2020

                                                                            32
 1    order to do that, we must register them to vote.           We

 2    must educate them when, where, and how to vote.           That’s,

 3    pure and simple, everything that we do.         Candidates,

 4    training, it’s all about getting them elected.           We train

 5    them how to campaign, but our overarching goal is to

 6    have more votes for Democrats than for Republicans,

 7    Green Parties or Libertarian candidates or Write-in

 8    candidates.    That’s our goal, pure and simple:         Elect

 9    Democrats.    Number 1 on that is to have more Democrats

10    registered to vote, and that’s the problem we’re having

11    here is that we have impediments to doing that.           We’re

12    having to move funds into --

13          Q.    (BY MS. MACKIN)     Okay.   But I’m not hearing an

14    answer to my question.

15          A.    Sorry.   Don’t interrupt me.      You told me I

16    could answer a question before you would interrupt.

17                    So our goal is to register voters to

18    vote, and there is an impediment by the State of Texas

19    not registering voters when they update their driver’s

20    license.

21                    MS. MACKIN:     Okay.   Objection,

22    nonresponsive.

23          Q     (BY MS. MACKIN)     Mr. Maxey, what are the main

24    categories of activities that TDP is engaged in?

25                    MR. GEISE:     Objection, asked and

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                       www.integrity-texas.com               APPENDIX 400
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             411 of -
                                                                    7974/27/2020

                                                                            33
 1    answered.

 2                    MS. MACKIN:     I didn’t hear an answer to

 3    my question.

 4          A.    The main activities are voter registration,

 5    voter education, candidate recruitment, candidate

 6    education, and telling people when, where, and how to

 7    cast a ballot.     That’s it in a nutshell.       Whether we

 8    raise money, whether we do data work, whether we do

 9    communication, it’s all about registering people to

10    vote, getting them to go vote for Democratic candidates.

11    Answered.

12          Q.    (BY MS. MACKIN)     And so is there a difference

13    between -- I just want to make sure I have the list

14    correct.    I have as the main activities:        Communication,

15    voter education, voter registration, candidate

16    recruitment, and candidate education.         Do I have that

17    right?

18          A.    Well, I don’t know if it’s limited to that.

19    I’ve been talking for 15 minutes here about the mission

20    of the Party and what we do and named every staffer with

21    a job description title.       I think any logic is that all

22    of those things go back to having an educated electorate

23    of Democrats who know when an election is, where to go

24    vote, how to cast a ballot, how to do it legally, how to

25    do it, whether in person or by mail.         All of that stuff

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                       www.integrity-texas.com               APPENDIX 401
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             412 of -
                                                                    7974/27/2020

                                                                            34
 1    is our mission to get to the goal of electing Democrats

 2    to office, pure and simple.

 3                    Please be specific because I’ve answered

 4    that five times now.

 5          Q.    The thing that I’m struggling with, though --

 6          A.    You want me to give you a tick-tock of hours

 7    from 8:00 to 5:00 every day of what I do?          Is that what

 8    you --

 9          Q.    No, sir.

10          A.    Okay.   Then think of a question other than the

11    one you’ve asked five times now, that I’ve answered.

12          Q.    But respectfully, sir, it’s a fair question;

13    and I’m just trying to make sure that I have the answer

14    clear because I’m a little bit confused by the way that

15    it’s being answered.

16                    So the list I have of the main activities

17    that TDP is engaged in, the list that I have of the main

18    activities -- I understand your mission is to elect

19    Democratic candidates, pure and simple.         I’ve heard

20    that.    I appreciate that.     In terms of the specific

21    activities in which TDP is engaged, the main

22    activities -- I’m not asking for each granular thing;

23    but if you kind of divide it up, the work that TDP does,

24    I have five categories based on what you’ve said.           And I

25    want to make sure that I understand that right and that

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 402
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             413 of -
                                                                    7974/27/2020

                                                                            35
 1    I have everything down as a list.        So the list that I

 2    have --

 3          A.    (Inaudible.)

 4          Q.    Go ahead.

 5          A.    I’m not -- you’ve not asked a question.         Ask a

 6    question.

 7          Q.    Okay.   You started speaking, so I wanted to

 8    give you an opportunity to do so.

 9                    The list that I have for the main

10    activities that TDP is engaged in includes:

11    Communication, voter education, voter registration,

12    candidate recruitment, and candidate education.           Is that

13    an accurate and complete list of the main categories of

14    activities that TDP is engaged in?

15                    MR. GEISE:     Objection, mischaracterizes

16    the testimony.

17                    But you can answer.

18          A.    I don’t think -- when you say is it a complete

19    list -- because I don’t want to -- you know, it sounds

20    like a trick question here.       If you want me to add on to

21    it, we raise money to do those activities.          We do data

22    work to do those activities.       We do work with county

23    parties and candidates and volunteers and activists and

24    voters to do those activities.        It seems like I’m in a

25    circular question here.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 403
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             414 of -
                                                                    7974/27/2020

                                                                            36
 1          Q.    I’m not trying to --

 2          A.    We want voters to cast ballots.        The main --

 3    the only mission we have is for voters to vote for

 4    Democratic candidates and for those Democratic

 5    candidates to win.      Anything more than that is getting

 6    into granular things of how we do that.         And I can talk

 7    for hours if we want to do that; but you keep saying, "I

 8    want to just go at the top level of stuff."          So let’s

 9    stay at the top level.      We educate voters.      We register

10    them to vote.     We educate them again about when the

11    election is, how to vote, where to vote to cast a vote

12    for a Democrat.     That is the mission of TDP, pure and

13    simple; and that is it.

14                    You might have five things on your list.

15    There’s one thing on the list:        Educate voters, register

16    voters, turn them out to vote.        And I don’t know what

17    else you’re trying to get to.        Be more specific.

18          Q.    So does TDP participate in any activities that

19    don’t fall into either communication, voter education,

20    voter registration, candidate recruitment, candidate

21    education, or fundraising?

22                    MR. GEISE:     I’m going to object, asked

23    and answered.

24                    But you can answer.

25          A.    Sure.   We just had a staff party.       None of

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 404
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             415 of -
                                                                    7974/27/2020

                                                                            37
 1    that was about voter education or voter registration or

 2    turning out a vote.

 3                    I mean, we’re a big institution.         We do a

 4    lot of things.      I don’t think any activities that are

 5    officially done in a job description of an employee of

 6    the Texas Democratic Party is outside of the goals of

 7    educating voters, registering voters, and getting them

 8    to cast a ballot for Democratic candidates.          So, no, I

 9    don’t think we do anything outside of that mission.

10          Q.    (BY MS. MACKIN)     Educating, registering,

11    getting them to cast a ballot for Democratic candidates?

12          A.    If you know something you only answer "yes" or

13    "no" when you do it, please ask me; but I can’t think of

14    anything that’s outside of that mission that the

15    employees of the Texas Democratic Party or its Executive

16    Committee or Chair does.

17          Q.    Okay.    Thank you.

18                    All right.     How would you describe TDP’s

19    efforts to educate voters?

20          A.    We communicate by e-mail, by text message, by

21    Twitter, by direct mail, by speeches by various

22    candidates, party officers, staffers.         We go door to

23    door.   We make phone calls.      Any kind of communications

24    that humans possibly have, we do to talk about

25    Democratic values, registering to vote, how to get

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 405
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             416 of -
                                                                    7974/27/2020

                                                                            38
 1    registered to vote, when to go vote, and how to vote for

 2    Democrats.    So we communicate in all of those ways.

 3          Q.    And have you produced documents that reflect

 4    those communications?

 5          A.    There are documents of e-mails that we have

 6    sent to voters that were produced.

 7          Q.    Is there documentation of those other types of

 8    communications that you mentioned?

 9                    MR. GEISE:     Objection on the basis of the

10    First Amendment privilege.

11                    I think you can answer "yes" or "no"

12    whether other types of communication with voters exist;

13    but other than that, I’m going to object on the basis of

14    the First Amendment privilege and instruct you not to

15    answer other than whether or not other types of

16    communications exist.

17                    MS. MACKIN:     And just to be clear, have

18    you-all produced a privilege log of documents responsive

19    to the subpoena that are being withheld?

20                    MR. GEISE:     Not -- well, no.     I don’t

21    think that a privilege log would need to hold every

22    communication that the Texas Democratic Party has with

23    voters because that would be millions, and that wasn’t

24    what the subpoena requested.       But, again, I don’t think

25    that that needs to be a discussion for this deposition.

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                       www.integrity-texas.com               APPENDIX 406
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             417 of -
                                                                    7974/27/2020

                                                                            39
 1                    I would instruct the witness:        You can

 2    answer "yes" or "no" whether there are communications

 3    outside of e-mails that the Texas Democratic Party has

 4    with voters.

 5                    MS. MACKIN:     And we can talk offline

 6    about the scope of the objection; but based upon what

 7    we’ve heard so far today, it appears that the response

 8    to the subpoena’s incomplete and that we have some

 9    issues to resolve with respect to that.

10                    MR. GEISE:     Well, I don’t know that

11    that’s a topic for the witness; but you can answer "yes"

12    or "no" --

13                    MS. MACKIN:     I --

14                    MR. GEISE:     All right.    So you can answer

15    "yes" or "no" whether or not there are communications

16    other than e-mails that the Texas Democratic Party has

17    with voters.

18          A.    Can you be more specific what you mean by

19    that?

20          Q     (BY MS. MACKIN)     The question I asked --

21                    MS. MACKIN:     Ms. Cunningham, would you

22    mind reading back my last question?

23                    THE REPORTER:     Okay.

24                    MS. MACKIN:     Thank you.

25                    (The requested material was read as

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                       www.integrity-texas.com               APPENDIX 407
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             418 of -
                                                                    7974/27/2020

                                                                            40
 1    follows:

 2                    "QUESTION:     Is there documentation of

 3    those other types of communications that you

 4    mentioned?")

 5          A.    Generically in my answer I was talking -- you

 6    said what kind of communications do we have with voters,

 7    I think was the original question; and I said we have

 8    direct mail.    That would be the glossy kind of mail that

 9    you send a candidate -- to voters about issues or

10    candidates and giving voter information.          I suppose we

11    have those laying around from the past election cycle.

12    We’ve not done those this election cycle yet.

13                    But there’s -- if we’re asking if there’s

14    communication about this case, no, I don’t know of

15    anything that we have.      I have no knowledge of anything

16    like that being in existence.

17                    I was talking about generically what a

18    volunteer -- an organizer would -- how they would

19    communicate -- you asked how do we communicate, and so

20    that’s what I was saying.       The LGBT organizers talking

21    to LGBT voters could be passing out literature or hand

22    them a palm card or something that says about getting

23    ready to vote or passing out voter registration cards.

24    That’s the kind of communication I was talking about.

25                    You seem to be talking about

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                       www.integrity-texas.com               APPENDIX 408
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             419 of -
                                                                    7974/27/2020

                                                                             41
 1    communications about this lawsuit; and, no, I don’t have

 2    any of those, never have seen any of those.

 3          Q.    (BY MS. MACKIN)     Okay.    How much did TDP spend

 4    on voter education in 2014?

 5          A.    You know, I don’t know that I can break out

 6    voter education.     I mean, the staff salaries for all of

 7    the people we had in 2014, whether they’re the data

 8    person or the fundraising person or the comptroller’s

 9    salary or the executive director’s salary or my salary,

10    I know that generically in 2014, we spent around

11    $2 million, raised and spent.

12          Q.    Total?

13          A.    Total.

14          Q.    So not limited to voter education, but

15    overall?

16          A.    Well, there’s -- I don’t have any knowledge

17    about how to pull that out of my brain about what was

18    voter education and what was just institutional

19    organizational payroll and things.         We could ferret out

20    that the comptroller is doing voter education if she’s

21    processing the money that we pay for voter education.

22    So I don’t know how you find -- I don’t know the details

23    of how much was voter education versus any other

24    mission -- part of the mission.         Approximately

25    $2 million -- all of this is public record at the FEC

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                       www.integrity-texas.com                APPENDIX 409
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             420 of -
                                                                    7974/27/2020

                                                                            42
 1    and TEC.

 2          Q.    So you couldn’t tell me --

 3          A.    What we spent I cannot tell you, no, not

 4    today, not from my memory how much of the $2 million was

 5    specific on voter communication, however nebulous that

 6    is.

 7          Q.    How about voter registration efforts in 2014,

 8    could you tell me how much TDP spent on voter

 9    registration efforts in 2014?

10          A.    No, ma’am.

11          Q.    Okay.    What about in 2015?

12          A.    No.    I mean, because --

13          Q.    What about in 2016?

14          A.    You’re asking me --

15                      MR. GEISE:   Objection, asked and

16    answered.    I think the witness has answered that it

17    would be impossible to calculate those numbers.

18                      But you can answer to the extent of your

19    ability.

20          A.    Well, I will just say that, you know, we

21    passed out a lot of voter registration applications,

22    most of those provided to us by the Secretary of State

23    at no cost.    We did online voter registration.         There’s

24    a cost to maintaining that and staffing that.          We mailed

25    out voter registration applications when people

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                       www.integrity-texas.com               APPENDIX 410
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             421 of -
                                                                    7974/27/2020

                                                                            43
 1    requested them.      We did rallies with voter registrars,

 2    volunteer voter registrars.       So to ferret out exactly

 3    how much generally educating a volunteer how to do voter

 4    registration and how much that time of training cost

 5    down to the cent, I can’t do.        I cannot ferret it out.

 6    It’s impossible for us to even do that.

 7                    So part of -- part of our budget went to

 8    voter registration; but figuring it out to the penny or

 9    even a gross amount -- because, like I said, everybody

10    on our staff in almost every department, whether the

11    digital people are sending out links to go fill out a

12    voter registration application, whether an organizer’s

13    standing at a door, whether an organizer is door

14    hanging, whether a college student is tabling on the

15    university campus, all of which are things that we

16    organize and train volunteers to do, the cost of that is

17    impossible to ferret out because everybody in our

18    department is somehow touching that.         So I can’t tell

19    you a number.      It’s impossible.

20          Q.    (BY MS. MACKIN)     And is that true for every

21    year between 2014 and 2020?

22          A.    Yes.

23          Q.    Okay.

24          A.    Now, if you asked -- you know, at some point

25    in time, a person -- if we had done a mailing and I had

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             422 of -
                                                                    7974/27/2020

                                                                            44
 1    time to go research it, I could probably find out some

 2    things; but I don’t know that -- anything from memory

 3    that I could pull out and give you a cost on.

 4          Q.    But you were designated to testify on Topic

 5    4(d) in the Deposition Notice, were you not?

 6          A.    Yes, ma’am.

 7          Q.    Okay.

 8          A.    And I did not go and do ten years of stuff and

 9    have it in my brain for this deposition this morning.

10    So, no, I don’t know the details.

11                    MS. MACKIN:     So to that extent, then,

12    we’re going to have to object to the preparedness of the

13    witness.

14                    MR. GEISE:     I think the witness -- I

15    think the witness said that it would be -- and I can

16    clean this up with some questions after; that’s fine.

17    I’ll wait to do that.      But I think the witness testified

18    that it would be impossible to determine those numbers,

19    and he gave a top-line number for the question you

20    asked.     So he can testify top line how much was spent.

21    He’s indicated that all of the Texas Democratic Party’s

22    spending is publicly available on both the FEC and the

23    Texas Ethics Communication website and is happy to

24    testify about any specifics of those that you want to

25    provide him for and ask him about.

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                       www.integrity-texas.com               APPENDIX 412
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             423 of -
                                                                    7974/27/2020

                                                                            45
 1                    And I don’t think that the witness needs

 2    to be prepared to do something which is impossible.

 3    He’s testified that he can give top-level amounts.           He’s

 4    prepared to talk about programatic aspects of every one

 5    of those years, the programs they did; and I think that

 6    top-line amounts and programs is, from the witness’

 7    testimony, the only level of detail that would be

 8    possible for anyone to testify to.        So I don’t know how

 9    we would prepare anyone to do more than that.          Having

10    said that --

11                    MS. MACKIN:     I think that this --

12                    MR. GEISE:     Again, this is a discussion I

13    suppose should be offline.

14          Q.    (BY MS. MACKIN)     Just to make sure everything

15    is perfectly clear, all activities on which TDP has

16    spent funds or to which TDP has dedicated resources in

17    Texas between January 1st, 2014 and the present

18    including, total funds spent on voter registration

19    efforts, that number is not -- is it your testimony,

20    Mr. Maxey, that that number is not knowable?

21          A.    It is not knowable.

22          Q.    Okay.   How does the Texas Democratic Party

23    track the success of its voter education efforts -- or

24    let me ask that better.

25                    Does the Texas Democratic Party track the

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 413
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             424 of -
                                                                    7974/27/2020

                                                                            46
 1    success of its voter education efforts?

 2          A.    I think that’s a broad question.        We do

 3    metrics, you know.      We know when we send an e-mail how

 4    many people open the e-mail.       We don’t know if they read

 5    it or not.    We know that they opened it.

 6                    We know that -- studies are done over

 7    time that there are areas of Texas where we do door-

 8    to-door activities or have done series of mailings to

 9    voters to persuade them or educate them; and after an

10    election, we do analysis of are the turnout patterns

11    bigger where we did those efforts or didn’t.

12                    We make a phone call to a voter.         We tell

13    them to go vote.     We then look at daily, during early

14    vote, whether that voter has cast a ballot or not.           If

15    we had done a million of those calls and nobody that we

16    called voted, we would probably stop making the phone

17    calls.

18                    So, yes, we track all of this stuff to

19    the best of our abilities using technology, pen and

20    paper, you know, marks on a walk sheet about who we

21    talked to, whether that person then went to vote.           And

22    whether in those precincts where we have done activities

23    we won the precinct or didn’t win the precinct tells us

24    a lot about activities.      So yes, yes, we do.

25          Q.    And so does TDP adjust -- I mean, I think you

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 414
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             425 of -
                                                                    7974/27/2020

                                                                            47
 1    said this; but I want to make sure it’s clear.           Does TDP

 2    adjust its activities based on the success rate?

 3          A.    Sure.   I mean, let me just say that, you know,

 4    in my world of asking the Legislature to do things, I’ve

 5    asked the Legislature to pass bills allowing people to

 6    go online and register to vote.        If that were the case

 7    in Texas, we would not be spending the time and effort

 8    to go door to door, to table, to mail out voter

 9    registration applications to newly -- new arrivals in

10    Texas or people who moved in.        We wouldn’t be doing all

11    that activity, expending that money, expending that

12    staff time if we had more accessible voter registration

13    in Texas.    So, yes, we are changing our programatic

14    stuff in response to the voter suppression in Texas day

15    by day.

16                    So that is our mission is to educate

17    voters.    We have big impediments in Texas for voter

18    registration, the most restrictive state in the nation

19    for registering people to vote.        And so we spend a

20    myriad amount of money and adjust our budget accordingly

21    to all of the impediments that are put in front of us.

22                    MS. MACKIN:     Objection, nonresponsive.

23          Q.    (BY MS. MACKIN)     I don’t think my question was

24    very clear.    I apologize.

25                    We’ve talked about registering voters.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 415
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             426 of -
                                                                    7974/27/2020

                                                                            48
 1    Are TDP’s voter registration efforts focused on

 2    targeting Democratic voters?

 3                    MR. GEISE:     I’m just going to object on

 4    the basis of the First Amendment privilege.          I think the

 5    question is fine.

 6                    But I would instruct the witness again

 7    that based on the First Amendment privilege, all these

 8    things going into specific strategy of the Texas

 9    Democratic Party, I would instruct the witness you can

10    answer at a high level.

11                    So I think that specific question is

12    fine, but I just want to continue to note that objection

13    for the record.

14                    MS. MACKIN:     If we could please limit the

15    speaking objections, to keep objections to the rules and

16    an instruction not to answer, I would appreciate it.

17          A.    Yes.

18          Q     (BY MS. MACKIN)     Okay.   The Texas Democratic

19    Party began a new voter registration campaign in January

20    of 2020; is that correct?

21          A.    That’s correct.

22          Q.    Okay.   I am going to show you some

23    documents -- actually, rather than show you, I will send

24    around a link so that you can view them.          And these

25    documents were produced by your counsel in response to

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 416
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             427 of -
                                                                    7974/27/2020

                                                                            49
 1    the subpoena duces tecum related to this deposition.

 2                    If you received that file, if you would,

 3    please pull it up for me, Mr. Maxey; and let me know

 4    when you’re ready to discuss it.

 5          A.    I got it.

 6          Q.    Okay.   And do you recognize this document?

 7          A.    Yes, it’s an e-mail that was sent out by our

 8    digital department from me to people on our e-mail list,

 9    asking for donations to do voter registration and vote

10    by mail.    I guess this one is a vote-by-mail thing.

11          Q.    And how does the Texas Democratic Party --

12    well, strike that.

13                    You mentioned your e-mail list.        Who

14    would be on that e-mail list?

15          A.    Anybody who has requested to be on the list.

16    People who give us an e-mail at events, at our

17    convention, asking to be on our list.

18          Q.    And a little ways down on this e-mail it talks

19    about a contribution to our vote-by-mail fund.           Do you

20    see that?

21          A.    Yes.

22          Q.    What is the vote-by-mail fund?

23                    MR. GEISE:     I’m going to object on the

24    basis of the First Amendment.

25                    You can talk generally -- actually, no.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 417
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             428 of -
                                                                    7974/27/2020

                                                                            50
 1    You can answer that question.        To the extent it doesn’t

 2    implicate internal strategic matters of the Democratic

 3    Party, you can answer that question at a high level.

 4          A.    It’s a euphemism for money we would like

 5    people to give to us that we might use for sending out

 6    applications for seniors, disabled, and people out of

 7    the county to vote by mail.

 8          Q.    (BY MS. MACKIN)     And do you know if the funds

 9    that were raised in response to this e-mail went

10    directly to the vote-by-mail fund?

11                    MR. GEISE:     I’m going to object on the

12    basis of the First Amendment privilege.         I think that

13    the internal financial matters of a political

14    organization are core First Amendment protected.           And I

15    would instruct the witness not to answer.          I think he’s

16    answered at the level that is adequate under a First

17    Amendment privilege.

18                    MS. MACKIN:     The Protective Order entered

19    in this case allows you to designate any portion of this

20    transcript as confidential if you wish, so --

21                    MR. GEISE:     There’s case law on a

22    privilege -- on a Protective Order still not infringing

23    or not requiring the infringement of the First Amendment

24    privilege.    So I would still instruct the witness not to

25    answer on the basis of the First Amendment privilege

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 418
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             429 of -
                                                                    7974/27/2020

                                                                            51
 1    that the internal financial matters of a political

 2    organization are core First Amendment protected.           I

 3    would instruct the witness not to answer.

 4                     MS. MACKIN:    I’m not asking about

 5    internal financial matters.       I’m asking a question that

 6    appears on the face of this document which was produced

 7    to us.

 8                     MR. GEISE:    He answered what the

 9    vote-by-mail fund was.      I think that asking the next

10    question, which is what I objected to -- I think that

11    asking the next question beyond that about internal

12    financial decisions of the Texas Democratic Party is

13    core First Amendment protected.        I would instruct the

14    witness not to answer.

15                     MS. MACKIN:    I’m not inquiring into

16    internal financial decisions of the Texas Democratic

17    Party.     The issue of spending -- okay.

18          Q      (BY MS. MACKIN)    Are you going to decline to

19    answer my question on the advice of your counsel,

20    Mr. Maxey?

21          A.     I do.

22          Q.     Okay.   So down here it also says, "Can you

23    make a $7 contribution to our vote-by-mail fund so we

24    can send 21 Texans their application?"         Did I read that

25    correctly?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 419
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             430 of -
                                                                    7974/27/2020

                                                                            52
 1          A.     That’s what it says.

 2          Q.     And so how much does it cost to send one Texan

 3    a vote-by-mail application?

 4          A.     Do you want to know the postage?

 5          Q.     I want to know how much it costs the Texas

 6    Democratic Party.

 7          A.     Well, approximately -- I mean, if you’re doing

 8    the math here, you can divide $7 by 21; and you’ll sort

 9    of get what the cost is.       There is the actual postage.

10    There’s the printing.      There’s the lasering.      There’s

11    paying of the mail house.       There is the cost of the

12    paper.     There is all of that.     I would have to have a

13    calculator to do the math here, but I’m thinking it’s

14    around about 30 to 33 cents.

15                     It’s different in each county, depending

16    on whether I am sending a hundred thousand into a postal

17    zone or whether I’m sending fifty, because it’s a

18    different postage rate.      So I cannot tell you

19    definitively the cost of a single piece.          On average

20    they’re probably about 32 cents.

21          Q.     Are you aware that Texans can request a

22    vote-by-mail application be mailed to them for free on

23    the Texas Secretary of State’s website?

24          A.     Do what?

25          Q.     Are you aware that on the Texas Secretary of

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                       www.integrity-texas.com               APPENDIX 420
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             431 of -
                                                                    7974/27/2020

                                                                            53
 1    State’s website Texans have an ability to request that a

 2    vote-by-mail application form be mailed to them for

 3    free?

 4          A.    Yes.

 5          Q.    I’m going to show you another document which

 6    is part of Exhibit 2 and begins at TDP 33.

 7                    THE REPORTER:     Excuse me, Ms. Mackin.

 8    I’m sorry.

 9                    MS. MACKIN:     Yes.

10                    THE REPORTER:     That last document that

11    you displayed, did you want that marked as an exhibit?

12                    MS. MACKIN:     So all of these documents

13    that begin with the TDP preface, they’re all going to be

14    Exhibit 2.

15                    THE REPORTER:     Okay.   Thank you.

16                    MR. GEISE:     Is now a good -- I know we’ve

17    been going for a little over an hour.         Is now a good

18    time for a break?

19                    Glen, I don’t know if you want one.         I

20    could use a five-minute break.

21                    THE WITNESS:     I need to use the restroom.

22                    MS. MACKIN:     Sure.

23                    MR. GEISE:     I figured.    All right.

24                    MS. MACKIN:     Come back at 11:25.

25                    MR. GEISE:     Great.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 421
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             432 of -
                                                                    7974/27/2020

                                                                            54
 1                    THE REPORTER:     We’re going off the record

 2    at 11:18 a.m.

 3                    (Off the record from 11:18 to 11:27 a.m.)

 4                    THE REPORTER:     We are back on the record

 5    at 11:27 a.m.

 6                    MR. GEISE:     We can’t see you, Glen.      I

 7    don’t know if you can bring us back up.

 8                    There you go.

 9                    THE WITNESS:     The technician must have

10    turned my camera off.

11                    MR. GEISE:     Yeah.    Just fire that guy.

12                    MS. MACKIN:     All right.

13                    THE WITNESS:     Are we talking about a

14    document?

15                    MS. MACKIN:     TDP 33.

16                    THE WITNESS:     Okay.    Got it.

17                    MR. GEISE:     Sorry.    Did you -- is it in

18    the -- it’s not in the -- oh, there it is.          It just came

19    up for me.

20          Q     (BY MS. MACKIN)     Do you recognize this

21    document, Mr. Maxey?

22          A.    It’s an e-mail sent by the Texas Democratic

23    Party, yes.

24          Q.    And it looks to me that there’s a box that

25    says, "What we did this year," colon, and that there is

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 422
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             433 of -
                                                                    7974/27/2020

                                                                            55
 1    no text underneath that.       Do you know if that’s how the

 2    e-mail went out to your Listserv?

 3          A.    I expect that this is a technical thing of it

 4    not showing on this thing.       I’m sure it had things that

 5    we had did -- we had done that year.

 6          Q.    Okay.

 7                    MS. MACKIN:     And I guess we’ll just

 8    request a supplementation with a legible copy.

 9                    MR. GEISE:     Yes, I will make a note of

10    that.

11                    MS. MACKIN:     And I don’t think I need to

12    show it to the witness.      I’ll just let you know,

13    Counsel, the same issue was present in TDP 37 as well.

14                    MR. GEISE:     Okay.    Okay.

15          Q     (BY MS. MACKIN)     Okay.    I’m going to circulate

16    the document marked TDP 43.       Mr. Maxey, please take a

17    look at that and let me know when you’re ready to

18    discuss it.

19          A.    All right.

20          Q.    Do you recognize TDP 43?

21          A.    It’s an e-mail from Cliff Walker that went out

22    to our e-mail list.

23          Q.    Okay.   And it looks like it’s a forward of an

24    e-mail from Representative Gina Calanni; is that right?

25          A.    Yes.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 423
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             434 of -
                                                                    7974/27/2020

                                                                            56
 1          Q.    And down on the page marked TDP 44, about

 2    25 percent of the way down the page --

 3          A.    Uh-huh.

 4          Q.    -- it says, "Texas Democrats’ vote-by-mail

 5    program made the difference between my victory and my

 6    defeat.    Without their vote-by-mail initiative, I

 7    wouldn’t be where I am today."        Did I read that

 8    correctly?

 9          A.    Yes.

10          Q.    And how did TDP know that

11    Representative Calanni’s 113-vote margin of victory was

12    attributable to Texas Democrats’ ballot-by-mail program?

13          A.    I mean, this is like everything in an

14    election.    If you win by a small margin, most any

15    program you did is that margin.        We do know in this

16    district -- I don’t know the numbers offhand -- but we

17    do know that several thousand seniors voted by mail as a

18    result of the application we mailed them because we

19    track the senior getting the application through the

20    mail and mailing it back to their clerk.          So because we

21    did a vote-by-mail program, several thousand seniors

22    voted in her district; and that number of voters is more

23    than her margin of victory by a long shot.

24          Q.    How do you know that all those voters voted

25    Democrat -- well, specifically, how do you know that all

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                       www.integrity-texas.com               APPENDIX 424
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             435 of -
                                                                    7974/27/2020

                                                                            57
 1    those voted for Representative Calanni?

 2          A.    We don’t.    But I’ll elaborate:      The chances

 3    are that if you send an application to a person who’s

 4    voted in multiple Democratic primaries and then they

 5    vote in a general election, they -- more than likely,

 6    there is probably a high percentage -- in the 85

 7    percentile or above -- that they voted for a Democrat.

 8                    Parties don’t send stuff to opposing

 9    voters.    We target and, therefore, the people we sent

10    the application to almost entirely are people who voted

11    in the Democratic primaries.

12          Q.    And then down at the bottom, the last sentence

13    says, "Can you make a $7 contribution to the Texas

14    Democratic Party so we can send 21 Texans their

15    application?"     Were all of the funds generated by this

16    e-mail used to send Texans applications to vote a ballot

17    by mail?

18                    MR. GEISE:     I’m going to, again, object

19    on the internal use of fundraising of a political party

20    as core First Amendment protected and instruct the

21    witness not to answer on the internal use of funds on

22    the basis of the First Amendment.

23          A.    I decline to answer on advice of counsel.

24                    MS. MACKIN:     Okay.   And so to the extent

25    that I have anymore questions about the e-mails that

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             436 of -
                                                                    7974/27/2020

                                                                            58
 1    were produced that were asking for contributions and

 2    then what those contributions were ultimately used

 3    for --

 4                    MR. GEISE:     Yeah, we’re -- the witness is

 5    going to -- I mean, I’m going to instruct the witness

 6    not to answer on the internal financial decisions of the

 7    Texas Democratic Party on the basis of the First

 8    Amendment privilege as going to the core of the First

 9    Amendment.

10                    He can talk generally -- the witness --

11    just so we’re clear, I think that if you ask general

12    questions about how the Texas Democratic Party makes

13    funding decisions, how they decide where to allocate

14    funds, the witness can answer at a high level, that that

15    does not go into specific internal strategy or a

16    specific use of specific funds.

17                    I think the First Amendment protects the

18    core; but if you want to ask the witness high level, how

19    does the Texas Democratic Party decide to allocate

20    funds, how do they decide to allocate funds, even in a

21    specific year, at a high level, I think that you’re

22    entitled to inquire into that.        It’s just I think the

23    specific use of specific funds is core First Amendment

24    protected by numerous decisions, and I would instruct

25    the witness not to answer.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 426
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             437 of -
                                                                    7974/27/2020

                                                                            59
 1                    MS. MACKIN:     And is it your position that

 2    the e-mails that were produced which make a specific ask

 3    for a contribution fall within that category?

 4                    MR. GEISE:     Well, I don’t think -- I

 5    think that asking once someone sent the Texas Democratic

 6    Party specific funds in response to a specific e-mail,

 7    where did those funds go is core First Amendment

 8    protected by numerous decisions that would go to -- and

 9    even with a Protective Order, a Protective Order in

10    multiple cases does not entitle you -- it’s the same way

11    it doesn’t inquire [sic] you to entitle [sic] into the

12    attorney-client privilege.       It doesn’t entitle inquiry

13    into things that are protected by the core of the First

14    Amendment.    So I would instruct the witness not to

15    answer.

16          A.    Let me answer a general answer so that we’re

17    clear.     All fundraising that the Texas Democratic Party

18    asks donors to make is done in the context of --

19    typically of:     Help us pay for a program, which is what

20    this is.    Help us send out vote-by-mail applications.

21    By law we cannot dedicate -- if a donor gives us a

22    hundred dollars and says spend this only on vote by

23    mail, a donor may not do that.        We cannot target their

24    donation.    The Party must and does make decisions on all

25    of its funds coming in on how to spend.         It cannot be

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                       www.integrity-texas.com               APPENDIX 427
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             438 of -
                                                                    7974/27/2020

                                                                            60
 1    directed by the donor to go for a specific candidate or

 2    a specific program.      They can donate toward it, and we

 3    can then choose to use it for that program or not.

 4                    In this particular issue on the specific

 5    question you asked about the $7 for 21 applications, in

 6    all of these vote-by-mail programs, the cost of the

 7    program is considerably larger than what the individual

 8    donors donate.     And it comes from county parties.        They

 9    come from candidates.      It’s come from major donors to

10    perhaps raise, you know, a quarter million dollars to do

11    a program like this.      The individual $7 somebody spent

12    may or may not be used exclusively in that program.

13    Typically, because it’s less than the program, you could

14    say you give it towards the program; we used it there.

15    But the donor is not ultimately -- the money is not

16    directly for mail-outs.

17                    MS. MACKIN:     Okay.   Thank you for that

18    explanation.

19                    Just to make sure that we are clear, to

20    the extent that I would inquire about other e-mails

21    produced and about what the funds generated in response

22    to that e-mail were used for, you would object and

23    instruct the witness not to answer, Counsel; is that

24    right?

25                    MR. GEISE:     Yes.   And I would instruct

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                       www.integrity-texas.com               APPENDIX 428
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             439 of -
                                                                    7974/27/2020

                                                                            61
 1    him to answer in the manner that he just did, which is,

 2    I think, that the funds can’t be -- even if the donor

 3    wanted to, funds are not, by law, allowed to be put to

 4    X, Y, or Z, which I think he’s answered.          So I think

 5    he’s provided an answer to the question at the level

 6    that we believe Counsel is entitled to inquire into.

 7          Q.    (BY MS. MACKIN)     And, Mr. Maxey, again, just

 8    to be clear, if I were to inquire into the use of funds

 9    in response to a specific e-mail produced today, you

10    would follow your attorney’s instruction not to answer

11    such questions; is that right?

12          A.    That is correct.

13          Q.    Okay.   Thank you.

14          A.    My answer about targeting funds would apply.

15                    MS. MACKIN:     Okay.   I’m going to share

16    a document with everyone on the chat function marked

17    TDP 63.

18          Q.    (BY MS. MACKIN)     Mr. Maxey, please let me know

19    when you’ve had a chance to open up that document and

20    are ready to discuss it.

21          A.    All right.

22          Q.    Do you recognize this document?

23          A.    It’s an e-mail from Manny Garcia to our e-mail

24    list.

25          Q.    And this e-mail discusses -- the second

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             440 of -
                                                                    7974/27/2020

                                                                            62
 1    sentence of the e-mail reads, "There are about

 2    2.6 million unregistered voters in Texas who are likely

 3    to vote Democratic if registered."        Did I read that

 4    correctly?

 5          A.    That’s correct.

 6          Q.    And what is the source of that statistic?

 7          A.    There are many groups that do analytics on the

 8    population of the state of Texas.        The Texas Legislative

 9    Council does such work, how many people are in Texas,

10    how many are registered to vote, how many are voting age

11    population or not.      So you take the number, which is

12    around, I think -- well, I don’t know it off the top of

13    my head -- but there is a bigger number than 2.6 million

14    people who are unregistered in Texas who are legal

15    citizens who could register.       You can apply a simple

16    algorithm to it of how many people in the general

17    population did have similar characteristics of income,

18    geography, ethnicity, age, those kinds of analytics to

19    come up with that there’s 2.6 million unregistered

20    Texans who are likely to vote Democratic.

21          Q.    And so did TDP come up with this 2.6-million

22    figure?

23                    MR. GEISE:     I’m going to object and

24    instruct the witness to not answer to the extent it’s

25    internal strategic information.        I think the witness has

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 430
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             441 of -
                                                                    7974/27/2020

                                                                            63
 1    provided a broad overview of how that number could be

 2    arrived at -- well, I guess the witness -- you can

 3    answer "yes" or "no."      But I think any inquiry other

 4    than that would be prohibited by the First Amendment.

 5          Q.    (BY MS. MACKIN)     To be clear, I’m just trying

 6    to determine the source of this statistic that is

 7    provided in this e-mail.       I’m not asking how it was

 8    calculated.

 9          A.    To my knowledge, this is a number that’s come

10    from a source outside of TDP’s staff.         We did not crunch

11    the numbers to get here.       This was something that’s been

12    published along the way, and I don’t have memory of

13    where it was published.

14          Q.    Fair enough.

15          A.    If the Legislative Council comes up with a

16    number of unregistered Texans and then we -- our data

17    team could come up with a demographic about what

18    percentage of those people were likely to be Democrats,

19    I would expect; but I’m not fully aware.

20          Q.    Okay.   So this e-mail describes -- well, the

21    third sentence says, "That’s why we’re launching a voter

22    registration program unlike any other in Texas history

23    by" and then it lists -- there’s five bullets underneath

24    that.   The first one says, "Investing in cutting-edge

25    data programs to turn out new voters."         Can you tell me

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 431
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             442 of -
                                                                    7974/27/2020

                                                                            64
 1    at a high level about those programs, not going into

 2    anything --

 3          A.    Sure.

 4          Q.    -- internally sensitive or First Amendment

 5    protected?

 6          A.    For instance, there’s approx- -- there are

 7    tens of thousands of new people moving into Texas every

 8    day from around the country.       We know by data source of

 9    where they were registered to vote before they got here,

10    what their demographics of being a Democrat were, their

11    sort of data score being Democratic.         And so we know

12    they’re in Texas.     We know their name and their address

13    from the post office.      And so using cutting-edge data,

14    we can figure out approximately 30,000 Democrats move to

15    Texas each month that we need to get registered to vote.

16    That’s one example of using cutting-edge data to target

17    people who are likely to be Democrats who are

18    unregistered who need to be registered.

19                    We have the same kind of technology to

20    figure out that when somebody moves from Dallas to

21    Houston, they are no longer able to vote in general

22    elections unless they get registered in Harris County

23    unless they vote a limited ballot, which is highly

24    difficult to do; and then they won’t be able to vote in

25    down-ballot races.      So we use cutting-edge data programs

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 432
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             443 of -
                                                                    7974/27/2020

                                                                            65
 1    to identify those improperly registered Texans, to get

 2    them registered in their appropriate county.

 3                    That’s it.

 4          Q.    Okay.   Thank you for that.

 5                    And then the second bullet point says,

 6    "Deploying 1,000 field organizers and canvassers on the

 7    ground to register voters in person."         I think we’ve

 8    talked about this.      I think that seems pretty clear on

 9    its face what that is.

10                    The third bullet, "Adopting a digital

11    approach to voter registration through our online hub

12    MyTexasVotes.com."      What is MyTexasVotes.com?

13          A.    It’s a website maintained by the Texas

14    Democratic Party that gives basic voting information.

15    You can look up your precinct on the early vote

16    locations nearest you, find your voting center or

17    precinct for election day, get a map to that location,

18    find out the hours of early voting or hours of voting on

19    election day.     You can check your voter registration.

20    You can request a mail ballot application.          You can

21    request a voter registration application, or you can

22    fill out an application online and print it out through

23    the system that is provided.       It’s a voter education --

24    it’s an activation website.

25          Q.    And where does the data on MyTexasVotes.com

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 433
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             444 of -
                                                                    7974/27/2020

                                                                            66
 1    come from?

 2          A.    The Texas Secretary of State, local county

 3    elected officials of polling places.

 4          Q.    And are you aware that an individual can

 5    request a postage-paid voter registration application be

 6    mailed to them on the Texas Secretary of State’s

 7    website?

 8          A.    When the website works.

 9          Q.    So are you aware that an individual can --

10          A.    Yes, but we are making it -- this is making it

11    convenient to our voters.       A person in Texas can

12    register to vote by handwriting it out on a napkin and

13    putting it in an envelope and mailing it in.          You don’t

14    have to use the Texas Secretary of State’s website.

15                    So, yes, you can do it on the Secretary

16    of State’s website.      You can do it at MyTexasVotes.com.

17    You can do it at Vote.org, Register2Vote.com [sic.]

18    There’s lots of places you can register to vote.

19          Q.    And you mentioned that MyTexasVotes.com makes

20    it more convenient or -- I don’t remember specifically

21    what your words were -- but that it can make it more

22    convenient for some folks.       Can you explain that to me a

23    little more?    How does it make it more convenient?

24          A.    Well, every -- during an election season,

25    every piece of e-mail, every mail-a-candidate-across-

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 434
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             445 of -
                                                                    7974/27/2020

                                                                            67
 1    Texas, a thousand Democratic candidates, everything on

 2    it says, "For voter information, go to MyTexasVotes."

 3                    So they go there.      They find everything

 4    they might need to know in one location.          They’re not

 5    searching a very unfriendly website at the Secretary of

 6    State or in -- let’s just say -- I passed legislation

 7    this last session -- I got legislation passed, drafted

 8    and then lobbied it, to require election clerks to

 9    actually have a website with their voting locations

10    because approximately a third of the counties in Texas

11    didn’t post that information.

12                    So MyTexasVotes is a way for us to tell

13    anybody that we come in contact with during an election

14    season, "If you need any of this information, where to

15    vote, when to vote, click on MyTexasVotes; and you can

16    find it there."

17          Q.    Okay.   And then the fourth bullet says,

18    "Mailing hundreds of thousands of voter registration

19    cards."    What do you mean -- what does the phrase "voter

20    registration cards" mean in this context?

21          A.    Voter applications.      A hard-copy piece of

22    paper that a person signs, puts in a postage-paid

23    envelope, and sends to their voter registrar.

24          Q.    And how does the Texas Democratic Party

25    determine whom to mail a voter registration application

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 435
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             446 of -
                                                                    7974/27/2020

                                                                            68
 1    to?

 2          A.    People who we believe are not registered at

 3    their current address.

 4          Q.    Based on your data analytics?

 5          A.    Yes.

 6          Q.    And why not just go on the Secretary of

 7    State’s website and request that the State send a voter

 8    registration application to their -- to those folks?

 9          A.    Obviously, because, A, the voter would have to

10    find that SOS link, print out the paper -- and many

11    voters don’t own a printer or print --

12          Q.    No, no, no, no.     I’m talking about the link on

13    the Secretary of State’s website where one can request

14    that a postage-paid application be mailed --

15          A.    A, have the computer to do that.        But when you

16    get there, you can ask them, yes, to send you a form.

17    It is a laborious process.       It takes a week or more for

18    people to get that piece of paper.        Then they have to

19    fill it out and mail it in.

20                    Often, we -- most people register -- I

21    mean, a considerable amount of people register in the

22    last weeks before the registration deadline.          And asking

23    the Secretary of State to send a blank piece of paper to

24    you for you to fill out and then send back in, to get it

25    in before that deadline often causes, let’s say, tens of

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 436
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             447 of -
                                                                    7974/27/2020

                                                                            69
 1    thousands of people not to make the deadline.

 2                     So we make a decision of sending a

 3    registration card in August to people that we know are

 4    not registered to vote already, for them to have

 5    convenience to fill it out.       That’s what you call "how

 6    you win an election."       We don’t wait for people to

 7    figure it out.       We make it available to them so that

 8    they can take advantage of it by just filling in their

 9    personal data, signing it, putting it in a postage-paid

10    envelope coming with the application.

11                     In other words, we’re not waiting for

12    people to ask.       We are sending people who are unaware

13    that they need to register to vote because they have not

14    been educated.       Remember that voter education project?

15    "Hey, you have to get on a registration list.          We’re not

16    a state with automatic voter registration.          I’m sure you

17    vote -- you moved here from Washington, but you’re not

18    going to automatically be on the voter registration

19    roles.     So you need to fill out a piece of paper."

20                     That’s why we mail it to them and not

21    just wait for people.       If we waited for people, then the

22    voter registration would be sorely lacking in Texas.

23          Q.     So --

24          A.     And, frankly, the majority of people in Texas,

25    just so I can say this again, register when they get

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 437
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             448 of -
                                                                    7974/27/2020

                                                                            70
 1    their driver’s license.      That is the Number 1 place that

 2    people register to vote for the first time; and they

 3    could update their registration if the State of Texas

 4    was following the federal law.

 5          Q.    How do you know that the majority of people

 6    register for the first time in connection with getting a

 7    driver’s license?

 8          A.    The Texas Secretary of State announced that.

 9          Q.    You mentioned a moment ago something about how

10    tens or hundreds of thousands of people would miss the

11    voter registration deadline by attempting to request a

12    form be mailed to them from the Secretary of State’s

13    office.    Did I understand your testimony correctly?

14          A.    The deadline is 30 days before an election,

15    and we are depending on people to ask the Secretary of

16    State to send them by bulk e-mail a voter registration

17    paper form.    And a person asks for that a week before

18    the deadline.     The Secretary of State takes

19    approximately a week to mail that application to them.

20    They get it.    If they fill it out and drop it in the

21    mail, it will be after the deadline.         And across the

22    state of Texas in every general election, there are

23    thousands upon thousands of people whose application

24    comes in on the 29th, the 28th, the 27th, the 26th day

25    before an election.      They all get a letter saying,

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 438
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             449 of -
                                                                    7974/27/2020

                                                                            71
 1    "Sorry.    You’re not registered to vote because you

 2    didn’t hit the magic 30-day deadline."

 3          Q.    And how do you know that?

 4          A.    How do I know that?

 5          Q.    Yes.

 6          A.    Because the election -- every -- I hear

 7    anecdotally, as somebody who deals with voter protection

 8    on our hotline, we have hundreds of people calling us

 9    and say, "Well, I mailed my application."

10                    And we investigate with the registrar,

11    "Did you receive an application from Joe Smith?"

12                    And they say, "Yes, we received it 28

13    days before the election.       It was after the deadline."

14                    So I’ve been doing this for 50 years.

15    Every election cycle there are people who are rejected

16    because their application comes in too late.

17                    It is a known fact.      Any election

18    administrator talks about this problem.         If we had

19    automatic voter registration and online voter

20    registration, we wouldn’t have this problem; but, you

21    know, that’s an argument that we’ve made to the

22    Legislature and others about depending on people mailing

23    a signed piece of paper.

24          Q.    Is it your testimony that if Texas had online

25    voter registration, people would not submit their voter

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 439
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             450 of -
                                                                    7974/27/2020

                                                                            72
 1    registration applications after the deadline?

 2          A.    No.    I’m going to say that the problem of the

 3    U.S. Post Office delaying delivering an application

 4    would go away.

 5          Q.    How does the U.S. Post Office delay delivery

 6    of a voter registration application?

 7          A.    Because it takes -- it’s not instantaneous.

 8    If you could register online, when you hit submit, you’d

 9    be registered to vote.      If I have to take a piece of

10    paper on three days before the deadline and drop it in

11    the mail -- and in rural Texas, it typically takes

12    something that’s mailed in Taylor, Texas to go to

13    Georgetown, 5 miles away or 8 miles away, it has to go

14    first to Dallas and back to Georgetown; and it takes

15    three days.    So that person mailing it two days before

16    the deadline won’t get registered because the post

17    office process of delivering mail takes more than

18    instantaneous.     Online voter registration is

19    instantaneous.     People --

20          Q.    Where?

21          A.    Huh?

22          Q.    Where?

23          A.    Thirty-eight states where people register

24    online.

25          Q.    It’s instantaneous?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 440
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             451 of -
                                                                    7974/27/2020

                                                                            73
 1          A.    As soon as you fill it in and hit "submit,"

 2    you are registered to vote -- well, I mean, let me be

 3    technical.    As soon as you do it, your application has

 4    met the deadline.     The clerk then makes sure that you

 5    are who you say you are and does all of the required

 6    stuff, but you have met the 30-day deadline when you

 7    submit it.

 8          Q.    Do all of those states have a 30-day deadline?

 9          A.    No, some of them have automatic registration.

10    You’re on the list when you submit it to vote.           Texas is

11    the most archaic voter registration state in the United

12    States.    It has more impediments than any other state

13    imposed by Republicans for voter suppression.

14          Q.    What is the basis for that statement?

15          A.    Fifty years of personal knowledge.        Going back

16    to almost 50 years ago when I was turned away from being

17    a deputy voter registrar because I was a college

18    student, a federal lawsuit was filed by university

19    students at Prairie View.       I was at Sam Houston State.

20    I go back 50 years knowing about the problems of voter

21    registration in Texas that people in the other -- at

22    least another 40 states don’t have, including --

23          Q.    This is based on your anecdotal experience in

24    the state of Texas, right?

25          A.    My personal.    Not anecdotal, my personal

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 441
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             452 of -
                                                                    7974/27/2020

                                                                            74
 1    experience.

 2          Q.    Sure.

 3          A.    You don’t have to be deputized to register

 4    someone to vote in almost any state in the country other

 5    than Texas.    I’ve trained thousands of people to be

 6    deputy voter --

 7          Q.    Okay.   Mr. Maxey, I appreciate it.       I haven’t

 8    asked a question.      So if you could please just let me

 9    ask a question and then answer, I would appreciate that.

10          A.    Glad to.

11          Q.    Thank you.

12                    MS. MACKIN:     All right.    I am going to

13    share with everyone TDP 73.

14          Q.    (BY MS. MACKIN)     And please take the time you

15    need to review it and let me know when you’re ready to

16    discuss it.

17          A.    Okay.

18          Q.    Do you recognize this document?

19          A.    An e-mail from me to our e-mail list.

20          Q.    Okay.   Dated February 7th, 2020?

21          A.    Yes.

22          Q.    Okay.   And this e-mail says, "We kicked off

23    our Voter Protection Fund so we can expand Texas voters

24    access to the ballot box."       Can you please tell me at a

25    high level what the Texas Democratic Party’s Voter

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                       www.integrity-texas.com               APPENDIX 442
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             453 of -
                                                                    7974/27/2020

                                                                            75
 1    Protection Fund is?

 2          A.    It is a generic way to -- euphemistic way to

 3    talk about money that we expend to do what is commonly

 4    called "voter protection" being done by campaigns and

 5    candidates and parties everywhere.        Voter protection

 6    includes having things like a hotline where a voter can

 7    call in and say, "I’m not on the voter registration

 8    list.   Can you help me figure out why I’m not registered

 9    to vote?"    And we then do the investigation and assist

10    that voter.

11                    And so voters call in.       They call in and

12    ask about where their polling place is, hours of voting.

13    All of the information that we have on MyTexasVotes we

14    answer orally by phone call.

15                    We have lawyers stationed around Texas

16    during voting periods that can go in person to a polling

17    place or to a clerk’s office and assist a voter in

18    making sure their right to vote is not infringed upon.

19                    We train volunteers in every county to

20    talk to voters, perhaps standing outside of polling

21    places, even, to give people information; or if they’re

22    having problems, make sure that we rectify those

23    problems while the polls are still open.

24                    All those things are generically called

25    voter protection; and that’s why we raise money, to have

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             454 of -
                                                                    7974/27/2020

                                                                            76
 1    a staff of people.

 2          Q.    Okay.   Thank you.    That’s all I have on that

 3    document.    I’m going to close out of that.

 4                    MS. MACKIN:     And then I’m going to share

 5    with everyone the document marked TDP 139, still a part

 6    of Exhibit 2, just as all of these documents are.

 7    Actually you know what?      Rather than -- there we go.

 8          Q.    (BY MS. MACKIN)     Mr. Maxey, please feel free

 9    to take your time to review the document and let me know

10    when you’re ready to discuss it.

11          A.    It’s taking forever to load.

12          Q.    It’s a bigger one than some of the previous

13    ones.

14          A.    It’s about halfway.

15                    Okay.

16          Q.    All right.    And if I can direct your attention

17    to the page marked TDP 140, there’s a bit of white text

18    that’s offset by a shadow of a ballot box behind it that

19    says, "Looking forward to 2020.        There remains 2.6 [sic]

20    unregistered voters in Texas who are likely to vote

21    Democrat if registered."       Just to clarify, that’s based

22    on the same information as the e-mail we talked about

23    earlier that provided that 2.6-million figure?

24          A.    Yes.

25          Q.    Okay.   And then a little ways down the page,

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             455 of -
                                                                    7974/27/2020

                                                                            77
 1    right under that graphic, actually, it says, "During the

 2    2018 midterm elections, thanks to our voter registration

 3    initiatives, we helped 133,000 Democratic Texans

 4    register shortly before the registration deadline and

 5    120,000 of those who registered voted."         Did I read that

 6    correctly?

 7          A.    You did.

 8          Q.    How did the Texas Democratic Party help

 9    133,000 Democratic Texans register shortly before the

10    registration deadline in the 2018 midterms?

11          A.    We mailed out approximately a half million

12    voter registration applications to unregistered Texans

13    and tracked that 133,000 of those people returned those

14    applications to their voter registration clerk.           And

15    after the election, we checked the voter rolls to see

16    how many of the 133 people voted; and 120,000 of them

17    actually cast a ballot.

18          Q.    And in order to track who returned an app- --

19    well, how does the Texas Democratic Party track which

20    voters returned an application that the TDP sent the

21    voter to the county registrar?

22          A.    We use a program called Intelligent, I think,

23    of the U.S. Postal Service, by putting a bar code on the

24    application.    And the Post Office tells us when the

25    voter has mailed that application to their clerk.           It’s

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                       www.integrity-texas.com               APPENDIX 445
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             456 of -
                                                                    7974/27/2020

                                                                            78
 1    a business application that almost any direct mail

 2    company -- I mean, direct mail that a business does uses

 3    to track whether somebody has returned a payment or, in

 4    our case, returned a voter registration application.

 5          Q.    And so I know that after the election, it’s

 6    publicly available to find out whether somebody voted in

 7    that election.      Is there a way to determine -- TDP can

 8    determine that the application they sent was then sent

 9    on to the county registrar.       Can they determine whether

10    or not the registrar accepted the application and

11    registered the voter?

12          A.    Yes.    We can -- we get a list of newly

13    registered voters.

14          Q.    Okay.

15          A.    And those that have been processed, we buy

16    those weekly -- or pay the fee to get them from the

17    Secretary of State weekly, put them in our file so we

18    can know that they’re on the list.        If they’re not on

19    the list, we inquire -- if there’s time left.          Typically

20    this is happening right at the election.          But if we’re

21    doing this long term, if the registration application,

22    we have tracked that it was returned but they don’t show

23    up on the roll, then we can inquire with the voter

24    and/or the registrar the reason the application was

25    rejected and get that person re-registered correctly.

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                       www.integrity-texas.com               APPENDIX 446
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             457 of -
                                                                    7974/27/2020

                                                                            79
 1          Q.    And I apologize if we’ve already covered this.

 2    I just want to make sure I understand.         And it’s getting

 3    a little close to lunch, so my blood sugar is a little

 4    lower; but before you send out the voter registration

 5    applications, how do you determine whether an individual

 6    is already registered?      Where does that information come

 7    from?

 8          A.    It’s simple data analytics.       You take the list

 9    you’re going to mail to and you plop it against the

10    people who are on the list; and if they’re on the list,

11    you remove them.     And the people left are the people

12    that are not registered.

13          Q.    Okay.   Thank you.

14                    All right.     Let’s scroll down to the next

15    page, TDP 141.

16          A.    Okay.

17          Q.    So this mentions, at the very top, that an

18    estimated 2.6 million Texans are likely to vote

19    Democratic if they are registered.        How does the Texas

20    Democratic Party intend to try to register those folks?

21                    MR. GEISE:     And, again, I’m just going to

22    instruct the witness to answer at a high level without

23    infringing on anything that’s First Amendment protected.

24          A.    We will (inaudible.)

25                    (Reporter requests repeat.)

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 447
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             458 of -
                                                                    7974/27/2020

                                                                            80
 1                    THE WITNESS:     Sorry.   I had a pillow on

 2    my lap, and it probably covered up the...

 3          A.    We will train tens of thousands of deputy --

 4    or get trained through their clerk tens of thousands of

 5    deputy registrars who will register people in their

 6    communities.    We will have tabling on college campuses.

 7    We do a program right on the deadline tabling in

 8    probably 5- or 6,000 locations around Texas all day

 9    long.   We will mail probably during this cycle close to

10    a million voter registration cards or applications out

11    to people we perceive that are unregistered in the

12    program we just talked about.        We will direct people

13    through social media, online digital ads to

14    RegisterTexas.com, a voter registration app that we

15    have.

16                    We will have people phoning -- or

17    organizers going where -- you know, our LGBT organizer

18    will go to LGBT events; our Muslim organizer will go to

19    Muslim events and ask people to register to vote.

20                    So there are literally dozens upon dozens

21    of voter contact ways.      Any and everything that we do,

22    there will be a voter registration component to it

23    between now and the 30-day deadline before the November

24    election.

25          Q.    What is RegisterTexas.com?       You mentioned it’s

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 448
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             459 of -
                                                                    7974/27/2020

                                                                            81
 1    a voter registration application, but can you tell me a

 2    little bit more about it?

 3          A.    It’s an online system where a person goes and

 4    fills out their voter registration information, their

 5    name, their address; and it will then -- when they

 6    submit it, we will mail them a pre-populated voter

 7    registration application with the information they have

 8    given us.    When they get it, they sign it, put it in a

 9    postage-paid envelope and drop it in the mail.           It’s

10    already addressed to their voter registrar.

11                    It’s a shortcut for those people who

12    don’t either own a printer, an envelope, or a stamp

13    because the biggest impediment for people to registering

14    on their own without a postage-paid envelope is the

15    inability to have a postage stamp.        People just don’t

16    regularly have those in this day and age or have an

17    envelope, even, in this day and age, especially younger

18    voters.    So this is a way to:      Give us your information.

19    We will send you the application filled out.          You just

20    have to add in the personal information, like your

21    driver’s license number that we don’t have, those kinds

22    of things, IDing things, sign it, date it, put in the

23    postage-paid envelope.

24          Q.    About how long does that process take?         Like,

25    if I went on RegisterTexas.com and filled it out, how

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 449
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             460 of -
                                                                    7974/27/2020

                                                                            82
 1    long, approximately, would it be until I got my

 2    application in the mail to sign and then forward along

 3    in the postage-paid envelope?

 4          A.    We’re mailing them out weekly.        We will do

 5    that all the way up until a week before the election.

 6          Q.    Okay.

 7          A.    And most of this we wouldn’t have to do if

 8    people could update their registration when people got

 9    their driver’s license updated.

10                    MS. MACKIN:     I’m going to object to the

11    last sentence as nonresponsive to a question that I’ve

12    asked.

13          Q     (BY MS. MACKIN)     Lower down on page TDP 141 --

14                    MR. GEISE:     Does it make sense to take a

15    break after we’re done with this document?

16                    MS. MACKIN:     Sure, yes.

17                    MR. GEISE:     Okay.

18                    MS. MACKIN:     Good idea.    And I’ve only

19    got ten minutes, maximum, left on it, maybe less.

20                    MR. GEISE:     Okay.

21          Q     (BY MS. MACKIN)     So it mentions that -- sorry.

22                    MS. MACKIN:     I’m used to doing this on

23    paper, and the computer is an adjustment.          I know I’m

24    making this, like, inquisitive face into the camera.

25                    MR. GEISE:     It’s a whole different

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                       www.integrity-texas.com               APPENDIX 450
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             461 of -
                                                                    7974/27/2020

                                                                            83
 1    process.     I got you.

 2          Q.     (BY MS. MACKIN)    It’s this first full

 3    paragraph.     It says, "Through the shifting demographics

 4    in Texas, amplified by Texas Democrats’ aggressive voter

 5    registration initiative, we anticipate the voter rolls

 6    will swell to upwards of 18 million registered voters in

 7    2020."     And without inquiring into any internal

 8    proprietary information, can you tell me the source of

 9    that projection?

10          A.     I think it’s -- if you read down this page,

11    there’s references to TargetSmart, which is an analytics

12    firm --

13          Q.     I see.

14          A.     -- that does data around registration.        You

15    know, they later say that 2.6 [sic] people registered

16    since 2016.     And you can do analysis on how many people

17    were registered at the beginning of this election cycle,

18    how many people are registering per month with the

19    Secretary of State, how many potential people are moving

20    in the state, the growth of population, the number of

21    18-year-old -- people coming onto the rolls who are 18,

22    the number of people who are dying off the roles.           You

23    do all that analysis, and you come up with an estimate

24    that we will move from the approximately 16 million that

25    were registered in 2018 to 18 million by 2020.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 451
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             462 of -
                                                                    7974/27/2020

                                                                            84
 1          Q.    All right.

 2          A.    The hard part of that will be the efforts of

 3    the Democratic Party and the Republican Party to add new

 4    people to the program, the kind of programs that we run

 5    and they run.      Plus, as I said before, the number of

 6    people moving into the state or changing address being

 7    registered through the DPS.

 8          Q.    All right.    I’d like to move down to TDP 142,

 9    just the next page.

10          A.    Uh-huh.

11          Q.    What does this show, Mr. Maxey?

12          A.    It’s an analysis of legislative districts and

13    those we -- let me make sure I’m doing this -- it’s sort

14    of the Democratic voting strength by legislative

15    district and showing that there are 18 districts that

16    have -- potentially can flip to be Democratic districts

17    in the 2020 election if the registration trends and

18    voter turnout (inaudible.)

19                    (Reporter requests repeat.)

20                    THE WITNESS:     Voter turnout trends are

21    what we hope they are.

22          Q.    (BY MS. MACKIN)     And just to be clear, this

23    refers to State House Districts?

24          A.    Yes.

25          Q.    Okay.    And then scrolling down to the next

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 452
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             463 of -
                                                                    7974/27/2020

                                                                            85
 1    page, TDP 143, what does this page show?

 2          A.    The same kind of analysis, potential new

 3    Democrats by Congressional Districts.

 4          Q.    All right.    And then down to page 1 -- well,

 5    actually -- page TDP 147, the second-to-last paragraph.

 6          A.    The one, "That’s why we’re coming together"?

 7          Q.    It begins, In January 2020."

 8          A.    Okay.   I was on 148.     All right.

 9          Q.    So it talks about a lawsuit challenging an

10    unconstitutional electronic signature ban spearheaded by

11    the Texas Secretary of State.        Do you know what that is

12    a reference to?

13          A.    Yes.

14          Q.    And what is that a reference to?

15          A.    The Secretary of State has made a ruling that

16    a person who signs a voter registration application and

17    then scans it and mails it -- e-mails it in has to be

18    rejected (inaudible.)

19                    (Reporter requests repeat.)

20                    THE WITNESS:     Because it’s not wet ink.

21          Q.    (BY MS. MACKIN)     And what ruling is that?       You

22    referenced a ruling by the Secretary of State.

23                    MR. GEISE:     And I’m just going to object

24    because it calls for a legal conclusion, but you can

25    answer.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 453
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             464 of -
                                                                    7974/27/2020

                                                                            86
 1          A.    In 2018 an organization called Vote.org

 2    suggested to Texas voters that they could fill out an

 3    application, take a picture of their signature, place

 4    that picture on the application, attach it to the

 5    application, and e-mail it in, which complied with all

 6    state law, as I understood it at this time, that it was

 7    an application with a signature on it.         And the

 8    Secretary of State issued a ruling at that point in time

 9    or told Vote.org or election administrators not to

10    accept those apps -- voter registrars not to accept

11    applications because there was not wet ink on the paper.

12          Q.    Okay.

13                    MS. MACKIN:     All right.    That’s all I

14    have on this document.      So if we want to break for

15    lunch, how long do folks need?         I can be flexible.    I

16    think maybe somewhere between one and two hours left for

17    me today on this depo.

18                    MR. GEISE:     Okay.    Glen, how long do you

19    want for lunch?     I mean, I can be pretty -- an hour,

20    half an hour, 45?     It’s up to you.

21                    THE WITNESS:     I can eat a sandwich in 20.

22                    MR. GEISE:     So let’s do -- half an hour’s

23    fine by me if it’s fine by everyone else.

24                    MS. BRANCH:     Yep, half an hour sounds

25    good.   Is that okay with you, Anna?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 454
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             465 of -
                                                                    7974/27/2020

                                                                            87
 1                    MS. MACKIN:     Can I add, like, five

 2    minutes and we come back at 1:00, just so we make it a

 3    round number?

 4                    MR. GEISE:     Yeah, that’s perfect.

 5                    MS. MACKIN:     I’m ordering my Uber Eats

 6    right now.

 7                    MR. GEISE:     Well, if you need more

 8    time -- I mean, if you need more time, that’s totally --

 9    we can do 45 or whatever you want to do.          1:15?

10                    MS. MACKIN:     How about we plan on 1:15

11    just to be safe?

12                    MR. GEISE:     Yeah, that works.

13                    MS. MACKIN:     Appreciate it.

14                    MR. GEISE:     Yeah.

15                    THE REPORTER:     We’re going off the record

16    at 12:25 p.m.

17                    (Off the record from 12:25 to 1:18 p.m.)

18                    THE REPORTER:     Going back on the record

19    at 1:18 p.m.

20                    MS. MACKIN:     All right.    I’m going to

21    share a document with everyone in the chat box, marked

22    TDP 92.

23          Q     (BY MS. MACKIN) Mr. Maxey, please let me know

24    when you’ve had a chance to pull up that document and

25    take a look at it.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 455
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             466 of -
                                                                    7974/27/2020

                                                                            88
 1          A.    All right.

 2          Q.    Do you recognize this document?

 3          A.    It’s an e-mail sent by Manny Garcia to the TDP

 4    e-mail list.

 5          Q.    On December 31st, 2019, correct?

 6          A.    Correct.

 7          Q.    All right.    And down about halfway through the

 8    e-mail, underneath Protecting & Expanding the Vote, the

 9    last sentence says, "We aren’t done yet, but we have big

10    voting rights news to announce soon."         Did I read that

11    correctly?

12          A.    You did.

13          Q.    Okay.   Has that big voting rights news been

14    announced yet?

15          A.    Yes.

16          Q.    And what was that voting rights news?

17          A.    That news was that FairFight.org would be

18    giving the Texas Democratic Party a major grant to hire

19    voter protection staffers.

20          Q.    And what are those voter protection staffers

21    that are funded by the FairFight.org grant working on?

22          A.    All of the voter protection things that we’ve

23    already put in the record that we do.

24          Q.    And so those would be the hotline?

25          A.    Hotline, poll watchers, working with the

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 456
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             467 of -
                                                                    7974/27/2020

                                                                            89
 1    county clerks and election administrator on election

 2    procedures.    That department is working with election

 3    administrators and folks all over the state right now in

 4    how to handle the Democratic primary election that I

 5    run, but they are working on the logistics to make

 6    polling places vote-by-mail accessible during the

 7    COVID-19 crisis, those kinds of activities.

 8           Q.   All right.    Thank you.    That’s all I have on

 9    that document.

10                    MS. MACKIN:     I’m now going to share a

11    link in the chat box to a document marked TDP 129.

12           Q.   (BY MS. MACKIN)     Please let me know when

13    you’ve had a chance to pull that up and are ready to

14    discuss it.

15           A.   Okay.

16           Q.   And this is an e-mail dated September --

17                    MR. GEISE:     It took me a second to do it,

18    too.

19                    MS. MACKIN:     Counting on my fingers.

20           Q.   -- September 24th, 2019 from Kassandra Aleman

21    sent out to the TDP Listserv; is that right?

22           A.   Correct.

23           Q.   Okay.   Down under that signature block, it

24    says in bold text, "Don’t forget to register to vote or

25    share this e-mail with friends and family to help them

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 457
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             468 of -
                                                                    7974/27/2020

                                                                            90
 1    register.    Click here to update your registration today.

 2    It only takes two minutes."       Do you know what that

 3    "click here" language linked to?

 4          A.    I’m going to surmise because I can’t click the

 5    link to figure that out, but I imagine it goes to our

 6    website that links to Register2Vote.org, which is the

 7    same kind of system as our RegisterTexas.org -- or dot

 8    com that we just talked about where people can fill out

 9    an application, print it out, and mail it in.

10                    MR. GEISE:     And, Counsel, we can check.

11    I don’t know if it’s still live or if I could look and

12    see if there’s a way to get back to you on what that

13    was, after.

14                    MS. MACKIN:     Okay.   We’d appreciate that.

15    Thank you.

16          A.    The only thing that we would have had live in

17    September of 2019 is the Register2Vote.org site that’s

18    branded to the TDP through an agreement.          And that’s

19    where they fill in their information, Register2Vote.org

20    mails them an application, which they sign and put in

21    their personal ID information, put it in a postage-paid

22    envelope and send to the clerk to register.

23          Q.    (BY MS. MACKIN)     And how is Register2Vote.org

24    different from the other site that we were discussing

25    before lunch?     I’m blanking on the URL.      I think it was

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 458
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             469 of -
                                                                    7974/27/2020

                                                                            91
 1    RegisterMe.com or something like that.

 2          A.    Register, the number 2, vote dot org.

 3          Q.    Okay.

 4          A.    It’s an organization that does voter

 5    registration kind of work.       We have a contractual

 6    agreement as a vendor with them.        So they have a site

 7    where people can do this, register.         Anybody can

 8    register to vote, Democrats or Republicans.          And we’ve

 9    contracted to have a version of that branded through the

10    Texas Democratic Party through a contractual agreement.

11          Q.    And what is the purpose of having both of

12    these systems?

13          A.    The first one was one we just branded and we

14    wanted to make it something that looked more specific to

15    the Texas Democratic Party and also that we would be

16    able to see the data of who registered through the data

17    agreement and contractual stuff.        So it’s a new

18    iteration of the old system that’s probably

19    discontinued.

20          Q.    Okay.   And are both systems still in operation

21    today, or is it just Register2Vote.org?

22          A.    Both are in operation today.

23          Q.    And the Texas Democratic --

24          A.    We’re pointing people to the new system.         In

25    the past it was going there, and we didn’t know who was

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 459
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             470 of -
                                                                    7974/27/2020

                                                                            92
 1    registering because it was a tool of Register2Vote.org

 2    that we were just pushing people to.         Now, they’re going

 3    through our system; and we have a data-sharing agreement

 4    by contract to know who has filled in the applications.

 5          Q.    And what information does the Texas Democratic

 6    Party receive about who has filled in those

 7    applications?

 8                    MR. GEISE:     I’m just going to -- on the

 9    First Amendment -- I mean -- yeah, I guess -- I think

10    you can answer broadly.

11                    I’ll withdraw the objection.        That’s

12    fine.

13          A.    It’s the information that’s legally available

14    if I were to go to the Secretary of State and ask for a

15    list of voter registrars, the information they could

16    give us, their name, their address, their date of birth.

17    That’s about it on the voter registration.

18          Q.    (BY MS. MACKIN)     That’s it, first and last

19    name, address, and date of birth?

20          A.    Yeah.   I mean, the Secretary of State does not

21    give us, you know, the driver’s license, the last four

22    of Social.    Any of that personal ID is prohibited by law

23    to be shared, so we never collect it.         We are very

24    careful not to ever collect things that would be

25    prohibited if we asked the Secretary of State to give

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 460
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             471 of -
                                                                    7974/27/2020

                                                                            93
 1    stuff off of the system.

 2          Q.    And so just so I’m clear, under the data-

 3    sharing agreement with Register2Vote.org, y’all collect

 4    first and last name, address, and date of birth on the

 5    individuals and no other information?

 6          A.    No.    We get their phone number and e-mail, but

 7    that is done prior to the person asking to fill out the

 8    form.   We ask, "What’s your e-mail?        What’s your phone

 9    number?"    And then we -- the question is, "Would you

10    like to register to vote?"        So if it had been asked in

11    a different manner, the e-mail and phone number -- or

12    the phone number because the e-mails are not on the

13    registration applications -- I guess phone numbers

14    aren’t, either -- they may be; I can’t remember.           But if

15    we were getting them after they registered and signed

16    it, then that would be illegal; but we ask up front

17    before they fill it out.

18          Q.    That’s all I have on that document.        Thank

19    you, Mr. Maxey.

20                      MS. MACKIN:   I am going to share with

21    everyone a file marked TDP 157.

22          Q.    (BY MS. MACKIN)     And, if you could, please let

23    me know when you have been able to pull up that document

24    and are ready to discuss it.

25          A.    Okay.    All right.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 461
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             472 of -
                                                                    7974/27/2020

                                                                            94
 1          Q.    Do you recognize this document?

 2                    MR. GEISE:     I’m sorry, Counsel.     This was

 3    meant to -- sorry.      I realize that this document -- we

 4    can produce a better version of this, but we can talk

 5    about that later.

 6                    MS. MACKIN:     Thank you.    I wasn’t --

 7          A.    I recognize it.     It’s a screenshot of

 8    something that pops up when you go to the page on our

 9    website about Democratic leaders.        It’s what’s called a

10    pop-up.    Its asks people to give some money.

11          Q     (BY MS. MACKIN)     And do the identities of the

12    Democratic leaders appear on this copy?

13          A.    No, because it’s a screenshot.        These are all

14    links to our website.

15          Q.    Okay.

16                    MR. GEISE:     And I think for maybe three

17    of them -- we can talk after.        I think for three of

18    these we are providing in response to requests things

19    that were meant to be screenshots of the website; and

20    maybe if we provide the address, you guys would know

21    that address and go to it and that will -- rather than

22    trying to figure out a technical way to produce it so it

23    shows, we can just give that to you.         But I have a list

24    of those, and we can figure that out after.

25                    MS. MACKIN:     Okay.   Thank you.    I

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 462
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             473 of -
                                                                    7974/27/2020

                                                                            95
 1    appreciate that.

 2                    All right.     I’m sharing with everyone a

 3    file titled TDP 164.

 4           Q    (BY MS. MACKIN) And, Mr. Maxey, please let me

 5    know when you have that up on the screen and are ready

 6    to discuss it.

 7           A.   A very slow download.

 8           Q.   It’s a lengthier one of the files.

 9           A.   I got it.

10           Q.   All right.    Do you recognize this document,

11    Mr. Maxey?

12           A.   A screenshot of our website on the section

13    dealing with our platform.       It has the platform spelled

14    out.

15           Q.   Okay.   Is this the current version of the

16    Texas Democratic Party platform?

17           A.   The version -- the platform adopted at the

18    2018 Democratic State Convention.        We’ll adopt a new one

19    in June of this year in our virtual state convention.

20           Q.   You will adopt a new one in June of this year,

21    you said?

22           A.   Every (inaudible.)

23                    (Reporter requests repeat.)

24                    THE WITNESS:     Every two years at our

25    biennial state convention, we update our platform.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 463
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             474 of -
                                                                    7974/27/2020

                                                                            96
 1           Q.   (BY MS. MACKIN)     And so is TDP 164 an accurate

 2    reflection of the current Texas Democratic Party

 3    platform?

 4           A.   (Inaudible.)

 5           Q.   I’m sorry.    Did you -- you broke up a little

 6    bit.

 7                    MR. GEISE:     I think he said "verbatim."

 8                    THE WITNESS:     Verbatim.

 9                    MS. MACKIN:     Thank you.

10           Q.   (BY MS. MACKIN)     And so it would be a fair and

11    accurate representation of TDP’s positions on issues?

12           A.   Our values and positions on legislative and

13    policy issues, yes.

14           Q.   Okay.   Thank you for that.      That’s all I have

15    on that document.

16                    MS. MACKIN:     I am sharing with everyone

17    TDP 256.

18           Q.   (BY MS. MACKIN)     And please let me know when

19    you have that pulled up and are ready to discuss it.

20           A.   I’ve got it.

21           Q.   Do you recognize this document?

22           A.   It’s an e-mail from Cliff Walker, our Deputy

23    Section Director, to our e-mail list.

24           Q.   And how would you describe this e-mail?         What

25    type of activity by the Texas Democratic Party would you

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 464
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             475 of -
                                                                    7974/27/2020

                                                                            97
 1    say that this falls under?

 2          A.    Organizing.    This is going out from -- to our

 3    list about our organizing efforts in the -- when

 4    COVID-19 hit, our organizers who were doing door-to-door

 5    stuff were sort of sidelined and we’ve gone into more of

 6    an e-mail online organizing, asking people to go into

 7    what we call Connect Texas, where there are local people

 8    who are working in their communities -- volunteering to

 9    work in their communities around educating people about

10    public health, who are doing wellness checks of senior

11    citizens who are Democratic voters and talking to them,

12    all in the mode of checking on them, getting them

13    COVID-19 information, where appropriate, and asking if

14    they’re registered to vote or they need a vote-by-mail

15    application, and other kinds of things that we can do in

16    the age of COVID-19, Connect Texas.

17          Q.    Thank you for that.      I think that’s all I have

18    on documents.

19                    I want to follow up on a couple of more

20    points.    Is TDP a membership organization?

21          A.    Yes.

22                    MR. GEISE:     I’m just going to object to

23    legal conclusion.     You can answer.

24          Q.    (BY MS. MACKIN)     And who are TDP’s members?

25                    MR. GEISE:     Same objection.     You can

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 465
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             476 of -
                                                                    7974/27/2020

                                                                            98
 1    answer.

 2                    THE WITNESS:     And so you say objection; I

 3    can’t answer?

 4                    MR. GEISE:     No, I said you can answer.       I

 5    said same objection to a legal conclusion, but you can

 6    answer.

 7          A.    The Texas Election Code states that members of

 8    a political party are the voters who cast a ballot in

 9    their primary election or sign an Affidavit of

10    Affiliation with a Party -- it’s spelled out in the

11    Election Code -- with a Party officer.         And so our

12    members, in a legal sense, are approximately 2,084,000

13    Texans who voted in the March 3rd Democratic primary.

14          Q.    (BY MS. MACKIN)     Does TDP maintain a list of

15    those members?

16          A.    They are in our voter file as having cast a

17    ballot.    They are -- we don’t deal with them as a

18    membership list on a regular basis.         They are legally

19    members.

20                    MR. GEISE:     And I think the question

21    asked whether or not there’s a membership list.           I think

22    any further inquiry into membership is core First

23    Amendment protected under a number of the cases.

24    (Inaudible.)

25                    THE WITNESS:     Can I just say that there’s

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                       www.integrity-texas.com               APPENDIX 466
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             477 of -
                                                                    7974/27/2020

                                                                            99
 1    feedback when Mr. Geise is speaking?         Are y’all hearing

 2    it?

 3                    MS. MACKIN:     I was hearing it.

 4                    THE REPORTER:     I’m sorry, Mr. Geise.      I

 5    can’t hear you now.

 6                    MR. GEISE:     Can you hear me?

 7                    THE REPORTER:     It’s still very staticky.

 8                    MS. BRANCH:     Can you try it -- we can’t

 9    hear you.    Can you try it without the headphones?         Will

10    that help?

11                    For what it’s worth, I think there was an

12    objection to form, legal conclusion, and --

13                    MR. GEISE:     I think I fixed it now.

14                    THE WITNESS:     Yeah.

15                    MR. GEISE:     You can hear me?

16                    THE WITNESS:     Yes.

17                    MR. GEISE:     (Inaudible.)    You can’t hear

18    me?

19                    THE REPORTER:     It’s still very staticky

20    on my end.

21                    MR. GEISE:     Does this work better?

22                    MS. MACKIN:     I’m getting a lot of static,

23    still, as well.

24                    MR. GEISE:     Okay.    Well, I can try to

25    change it to --

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 467
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             478 of -
                                                                    7974/27/2020

                                                                            100
 1                    MS. MACKIN:     Well, wait.     That just got a

 2    little better.

 3                    MR. GEISE:     Yeah.    Okay.

 4                    THE VIDEOGRAPHER:       It’s still there in

 5    the background.

 6                    MR. GEISE:     I mean, I can try to use my

 7    laptop microphone and see if that would improve it.            Let

 8    me try switching to that.

 9                    Is this better?

10                    THE WITNESS:     Yes.

11                    MR. GEISE:     Okay.    Well, I will listen in

12    on the headset unless, you know, it kind of breaks up;

13    and I will talk through my PC microphone.          So hopefully

14    you don’t hear my cat in the background too much.

15                    MS. MACKIN:     That’s much better.      You

16    just -- if you could -- I can still hear you, but it’s a

17    lot quieter.    So if you want to make a forceful

18    objection, you might speak up a little bit more.

19                    MR. GEISE:     All right.    I’ll try to --

20    okay.   Well, I will awkwardly be close to the

21    microphone.

22                    MS. MACKIN:     There is nothing about this

23    process that is not awkward, so.

24                    MR. GEISE:     So, anyways, I’m sorry.

25    Sorry for that interruption.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 468
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             479 of -
                                                                    7974/27/2020

                                                                            101
 1          Q      (BY MS. MACKIN)    All right.    Mr. Maxey, can

 2    the Texas Democratic Party apportion a specific cost to

 3    each new voter that it registers?

 4          A.     I think that’s an impossibility because it’s

 5    wrapped up in multiple levels of employee salaries,

 6    whether that message went through the technology, the

 7    data targeting, who we talked to, the communication

 8    method that happened -- it could have been through a

 9    text message.     It could have been through a piece of

10    mail.     It could have been through -- you know, so

11    pulling all that apart is just an impossibility.           I

12    mean, to allocate some of my salary, just as Luke

13    Warford, as the voter expansion, the data team’s salary,

14    the communications salary, the end cost to mail

15    something, the postage cost if we mailed it.          You know,

16    I guess you could go through and figure out the cost of

17    a particular mailing, but not the overall cost by voter.

18          Q.     When the Texas Democratic Party reaches out to

19    someone to attempt to register them to vote, do you

20    check whether that individual has engaged in an online

21    transaction with DPS?

22          A.     No, we would not know that.

23          Q.     Does the Texas Democratic Party believe that

24    any increase in voter registrations will benefit

25    Democrats?

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                       www.integrity-texas.com               APPENDIX 469
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             480 of -
                                                                    7974/27/2020

                                                                            102
 1          A.    I think that’s pretty much a given that the

 2    more people that vote, the more likelihood -- I mean,

 3    this is my opinion now, if that’s what you’re asking.

 4    If you look at the demographics of the people that we

 5    believe are unregistered in Texas, they are

 6    overwhelmingly African-American, Hispanic, and Asian.

 7    They are overwhelmingly under the age of 35, and they

 8    are overwhelmingly in Democratic areas of Texas -- or

 9    communities that vote overwhelmingly for Democrats.            So,

10    yes, we believe that gross amount of registration inures

11    to our benefit a lot.

12          Q.    Okay.    I’d just like to go through -- turning

13    back to Exhibit 1, the Notice of the Deposition -- I

14    think if we scroll up to the chat box, it’s still

15    available there.

16          A.    Sorry.   I’m readjusting my water cup.

17          Q.    No problem.

18                    And once you are there, please join me on

19    page 7.

20          A.    Of what?

21          Q.    Of the Deposition Notice.

22          A.    Are you sharing it with me?

23          Q.    Oh, it’s -- I can share it again; but if you

24    go to the group chat and go all the way to the top, it

25    will be the first document that we’re sharing.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 470
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             481 of -
                                                                    7974/27/2020

                                                                            103
 1          A.    You’re right.    Okay.

 2          Q.    All right.    On page 7 this is a list of the

 3    categories of documents that Defendants have requested

 4    TDP to produce, and I’m just going to go through each

 5    one with you.     Category 1 says, "Documents sufficient to

 6    substantiate the factual allegations in Paragraphs 11

 7    and 29 through 35 of your Complaint."         I’d be happy to

 8    pull up the Complaint if that’s helpful, but my question

 9    is whether you’ve produced documents responsive to this

10    category.

11                    MR. GEISE:     And I’m just going to object.

12    And you can answer any of this other than if -- I mean,

13    you can answer to the extent any of this doesn’t

14    implicate conversations or documents that you produced

15    that -- I mean, to the extent it doesn’t implicate

16    conversations with counsel, you can answer this; but if

17    your only answer is that you produced documents in

18    consultation with counsel, I think that’s the extent of

19    that inquiry.

20                    MS. MACKIN:     We are entitled to inquire

21    into compliance with the subpoena.

22                    MR. GEISE:     Well, but you can ask -- I

23    mean, yes; and you can ask him if they produced

24    documents, I mean.

25                    MS. MACKIN:     And that’s what I’m asking.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 471
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             482 of -
                                                                    7974/27/2020

                                                                            104
 1                    MR. GEISE:     All right.

 2          A.    Well, I believe that we have produced

 3    documents sufficient to substantiate the allegations.

 4          Q.    (BY MS. MACKIN)     Okay.

 5                    MR. GEISE:     And I’m also going to then

 6    object that that calls for a legal conclusion, but you

 7    can continue.     Sorry.   I just wanted to get that on

 8    record.

 9          Q.    (BY MS. MACKIN)     Are there any other documents

10    that I would need to look at to substantiate the factual

11    allegations that TDP is making in this lawsuit?

12          A.    Not that I’m --

13                    MR. GEISE:     Objection, calls for a legal

14    conclusion.

15                    But you can answer.

16          Q.    (BY MS. MACKIN)     All right.    Moving on to

17    Category 2, "All communications between you, TDP, and

18    any person to assist them in registering to vote or

19    updating their voter registration information after a

20    driver’s license renewal or change of address

21    transaction on the DPS website."        Did you produce

22    documents responsive to this category?

23          A.    I’m unaware of any documents that we have in

24    our possession or have ever even created that is a

25    conversation between TDP staffers and voters after

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 472
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             483 of -
                                                                    7974/27/2020

                                                                            105
 1    they’ve completed this transaction as far as a document.

 2    I mean, most -- everything we know about this process is

 3    anecdotal or people reporting us -- to us through oral

 4    conversations on our hotline or clerks telling us of

 5    these problems of people getting registered after going

 6    to the DPS.    We get many, many reports from county

 7    clerks and election officials of people who believe they

 8    have registered with DPS or when they changed their

 9    address, but it didn’t happen.        And we’ve relied on

10    reports from some studies from Battleground Texas about

11    that process.     But us reaching out and finding a voter

12    one by one as they’ve used DPS -- because we have no

13    knowledge personally of that unless that voter calls us

14    and tells us that they used DPS and didn’t get

15    registered to vote.

16          Q.    So is it your understanding that TDP doesn’t

17    have anything responsive to this category?

18          A.    Nothing that’s e-mail or writing.        Almost all

19    of this conversation -- is conversations between voters

20    and our hotline people or voter protection people or us

21    talking about the problem of it, not with the voter but

22    with the clerks or election administrators.

23          Q.    And would there be any documentation of those

24    conversations that you mentioned?

25          A.    Not that I’m aware of.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 473
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             484 of -
                                                                    7974/27/2020

                                                                            106
 1          Q.    All right.    Moving on to Category 3,

 2    "Documents sufficient to show all information described

 3    and/or requested in Deposition Topic Numbers 2, 3, 4, 5,

 4    and 7, as described in Attachment A."         Please join me on

 5    the previous page if it’s helpful.        Did you produce

 6    documents responsive to this category with respect to

 7    30(b)(6) Topic 2?

 8                    MR. GEISE:     And -- well, I guess,

 9    Mr. Maxey, you can answer that to the extent you’re

10    aware and whether or not you’re aware of whether or

11    not Counsel has provided the State with publicly

12    available -- with the locations of publicly available

13    information other than the documents produced.

14          A.    I’m sorry.    Are we talking about Number 2,

15    "Your organization, including your organizational

16    structure, employees, physical assets..."?

17          Q.    (BY MS. MACKIN)     Yes, sir.    I am asking

18    whether you produced documents sufficient to show TDP’s

19    "organization, including organizational structure,

20    employees, physical assets, parent and sibling entities,

21    tax status, and history, the services that you provide,

22    and the activities you perform."

23                    MR. GEISE:     And I will instruct the

24    witness that you can answer to the extent of your

25    knowledge of whether or not non-privileged, non-First

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                       www.integrity-texas.com               APPENDIX 474
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             485 of -
                                                                    7974/27/2020

                                                                            107
 1    Amendment privileged documents were produced in response

 2    to that request.

 3          A.    I believe they have been.       I don’t know if

 4    there were any questions or documents about our tax

 5    status.    So I can answer that if you want to know our

 6    tax status, but I don’t know if there’s a document

 7    anywhere in this about that.

 8          Q.    What is your tax status?      Sure, go ahead and

 9    provide that.

10          A.    Political parties are an IRS 527, created by

11    the IRS Code; and we are legally established through the

12    Texas Legislature.

13          Q.    All right.    Moving on to 30(b)(6) Topic 4,

14    have you produced documents sufficient to show the

15    activities on which TDP has spent funds or to which it

16    has dedicated resources in Texas between January 1st,

17    2014 and the present?

18                    MR. GEISE:     I’m going to just, again,

19    object.    It calls for a legal conclusion.

20                    And you can answer to the extent that you

21    believe that non-privileged documents have been produced

22    or indicated to Defendants where they are publicly

23    available.

24          A.    Well, I think all our non-privileged documents

25    have been produced; and all this information is publicly

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 475
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             486 of -
                                                                    7974/27/2020

                                                                            108
 1    available on the Texas Ethics Commission and the Federal

 2    Election Commission websites.

 3          Q.    Okay.   Did you -- moving on to Deposition

 4    Topic Number 5, did you produce documents sufficient to

 5    show the activities on which TDP plans to spend funds or

 6    to which it plans to dedicate resources between the

 7    present and January 1st, 2024?

 8                    MR. GEISE:     And, again, I would instruct

 9    the witness that you can answer to the extent you are

10    aware of non-privileged, non-public documents regarding

11    Request Number 5.

12          A.    I mean, this whole Number 5, everything would

13    be privileged under our First Amendment.          And I will

14    tell you that we will spend all the money we raise.

15          Q.    But you have not produced documents responsive

16    to -- you have not produced documents sufficient to show

17    the information in Topic 5 on advice of Counsel?

18          A.    I am saying exactly that.       There is nothing on

19    this list that’s not protected under our First Amendment

20    organizing rights.

21          Q.    Okay.   And then have you produced -- jumping

22    down to Topic 7, have produced documents sufficient to

23    show your members who are eligible to use the DPS

24    website for a driver’s license renewal or change of

25    address transaction and intends to do so?

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                       www.integrity-texas.com               APPENDIX 476
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             487 of -
                                                                    7974/27/2020

                                                                            109
 1                    MR. GEISE:     I’m just going to object,

 2    asked and answered, to the earlier conversation about

 3    whether or not such documents exist.         So to the extent

 4    you’re aware of whether or not such documents exist, you

 5    can answer.

 6          A.    We have no such document to produce.         It’s

 7    just common knowledge that every Texan who’s over the

 8    age of 16 who might want to get a driver’s license or

 9    change their address may use the DPS system.          So it is

10    pretty much all of our members and those that have some

11    kind of disability that they cannot drive a car, such as

12    a blind person.

13          Q.    But you haven’t identified any specific

14    individual member, have you?

15          A.    Well, there are named Plaintiffs in this

16    lawsuit.    I think that almost all of our members are

17    similarly situated that at some point every six years

18    they will have to go to a DPS office and renew their

19    driver’s license unless they use the online system to

20    change their address in between those six-year periods,

21    which doesn’t get them registered to vote.          So, no, we

22    don’t have a list because it’s everybody.

23          Q.    All right.    Back to the categories of

24    documents, Number 4 requests "Documents sufficient to

25    show your organizational structure and employee -- and

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             488 of -
                                                                    7974/27/2020

                                                                            110
 1    internal employee hierarchy, including an organizational

 2    chart and job description of all employees."          Have you

 3    produced documents responsive to this category?

 4                    MR. GEISE:     The same instruction.      You

 5    can answer to the extent you’re aware of non-privileged

 6    responsive documents or to the extent that you don’t

 7    believe you’ve testified to this matter.

 8                    MS. MACKIN:     I don’t think it’s a valid

 9    objection.

10                    MR. GEISE:     All right.    You can answer to

11    the extent you are aware of non-privileged responsive

12    documents.

13          A.    I’m aware of not -- I’m not aware of any

14    non-privileged responsive documents to that question.

15    It’s all internal to our First Amendment rights.

16          Q.    (BY MS. MACKIN)     And so just to make it

17    perfectly clear --

18          A.    Who our employees are and what we pay them is

19    on the TEC or FEC websites.

20          Q.    And this does not request what your employees

21    are paid.    It requests organizational structure,

22    including an organizational chart and job descriptions.

23    And as I understand your counsel, is it TDP’s position

24    that that information is protected under the First

25    Amendment?

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             489 of -
                                                                    7974/27/2020

                                                                            111
 1                    MR. GEISE:     Yes.   Although, I believe

 2    that Mr. Maxey has testified to the public nature of

 3    that information.     If you’re aware that any -- and that

 4    we provided the publicly available organizational chart,

 5    which I understand did not come through correctly; and

 6    we will supplement the production in that manner with

 7    that website.     But I believe that anything other than

 8    that is privileged.

 9          A.    All of our staff and their job titles, at

10    least, is posted on our website; and the links were in

11    the document that we produced.

12          Q.    All right.    And then the final category, "To

13    the extent not already produced in response to Items 1

14    through 4 above, all documents reviewed in preparation

15    for your deposition."      Have you produced documents

16    responsive to this category?

17                    MR. GEISE:     I’m just going to object.       I

18    mean, you are able to answer that question "yes" or

19    "no."   But I believe that any specific documents you

20    reviewed are subject to the attorney-client privilege.

21    You can answer "yes" or "no" whether all documents you

22    reviewed in preparation for this deposition have either

23    been produced or Counsel has been -- or, to your

24    knowledge, whether or not Counsel has been directed to

25    the appropriate publicly available websites.

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                       www.integrity-texas.com               APPENDIX 479
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             490 of -
                                                                    7974/27/2020

                                                                            112
 1          A.    So my answer is:     Every document I reviewed in

 2    response to this has been produced or I have told you

 3    where to find it on a publicly available website.

 4          Q.    Okay.

 5                    MS. MACKIN:     We’ll request

 6    supplementation, as was discussed with my colleague,

 7    Chris, earlier and was discussed today; and we will hold

 8    this deposition open to ask any questions about

 9    documents that have been supplemented.         But subject to

10    that, we pass the witness.

11                    MR. GEISE:     All right.    And we’ll --

12    well, I just have a couple of questions, Mr. Maxey.

13                              EXAMINATION

14    BY MR. GEISE:

15          Q.    Now, Mr. Maxey, without reviewing or

16    discussing any specific documents you reviewed in

17    preparation for this deposition, did you review or come

18    to understand the total expenditures spent by the Texas

19    Democratic Party for every year from 2014 through 2019?

20          A.    Yes, I looked at the documents or the FEC and

21    TEC to get a general understanding of about how much we

22    spent each calendar year during that period.

23          Q.    And now, Counsel asked you about -- and the

24    Deposition Notice provides specific certain breakdowns

25    of those funds, including voter persuasion, Get Out the

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             491 of -
                                                                    7974/27/2020

                                                                            113
 1    Vote, voter registration, funds spent on supporting

 2    Democratic candidates through fundraising, funds spent

 3    on supporting Democratic candidates through organizing.

 4    And I believe your testimony -- and correct me if I’m

 5    wrong -- was that such numbers are unknowable.           And

 6    could you briefly explain why that is?

 7          A.    As I stated early on, every employee that

 8    comes to the TDP is asked to become a deputy voter

 9    registrar.    Every employee has -- every department has

10    some level of educating voters or candidates or

11    activists on how to register somebody or how to get

12    registered for the target registration.         And so every

13    staffer we have at some point during their time with us

14    does voter registration.       I can recall when our

15    comptroller sat at a table registering people to vote at

16    a music festival.     So we are all doing that.

17                    The cost of all our technology, our data

18    systems, is done for targeting and voter registration

19    and vote by mail and Get Out the Vote; and so you can’t

20    just pull out which -- how much of that -- those

21    computers, those data files, those employees are doing

22    voter registration.

23                    The same thing with communication.

24    You’re talking about all kinds of topics.          On a regular

25    basis they talk about voter registration.          Pulling out

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             492 of -
                                                                    7974/27/2020

                                                                            114
 1    the cost of their technology, their subscriptions, their

 2    access to Twitter or Instagram, Facebook, other digital

 3    platforms, and e-mail communications, you can’t pull out

 4    an exact cost of those programs that was used just for

 5    voter registration.      It would be impossible to do

 6    because it’s all in the same -- sort of the same pot.

 7                    Everybody’s doing voter registration

 8    activities.    You know, the closest I could ever get is

 9    if somebody wanted to see the cost of a specific

10    mailing; and that is publicly available on the FEC or

11    TEC because it would have been a bill paid to a vendor.

12                    You know, it’s the cost of -- I process

13    about -- right now about, through volunteers, about 300

14    vote-by-mail applications and dozens of voter

15    registration applications each week.         They go through a

16    postage meter, and we do not determine which postage

17    stamp went on a voter registration application being

18    mailed out versus a vote by mail versus a Get Out the

19    Vote or a thank you note for fundraising.          It’s all in

20    the same pot.     So you can’t ferret out these costs.

21                    The same thing with copy machines, making

22    copies of voter registration applications to mail to

23    somebody who asks for one.

24                    You know, hand addressing an envelope.

25    The cost of envelopes, we buy them by the case.           We

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             493 of -
                                                                    7974/27/2020

                                                                            115
 1    don’t say, "Oh, these five were voter registration."

 2                    So you cannot ferret it out and cannot

 3    give a specific answer.

 4                    MR. GEISE:     Thank you.

 5                    No further questions for me.

 6                    MS. MACKIN:     And I just have one follow-

 7    up.

 8                         FURTHER EXAMINATION

 9    BY MS. MACKIN:

10          Q.    Mr. Maxey, you just talked about how you did

11    review documents to ascertain the Texas Democratic

12    Party’s total expenditures for the years 2014 through

13    2020; is that right?

14          A.    I did.

15          Q.    But that those aren’t able to be broken down

16    into discreet activities, correct?

17          A.    I looked at the FEC totals and the TEC totals

18    because that was on that list.

19          Q.    On which list?

20          A.    On your list of Depo Notice things that you’re

21    going to ask about, total expenditures.         So I looked at

22    FEC and TEC and I jotted those down on a piece of paper,

23    that I’m not reviewing now, because I didn’t memorize

24    them totally.     But I did not then scroll through the

25    tens of thousands of entries to see if I could find

                  Integrity Legal Support Solutions
                       www.integrity-texas.com               APPENDIX 483
     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             494 of -
                                                                    7974/27/2020

                                                                            116
 1    anything that said "voter registration" because I would

 2    have been doing that for the past week.

 3                    So does that answer the question?         I’ve

 4    sort of forgotten it.

 5          Q.    I just wanted to make sure that if I looked at

 6    the publicly available filings --

 7          A.    You’re going to see them.

 8          Q.    Okay.   Thank you.

 9                    And then, yeah, subject to additional

10    document production and the witness being unprepared or

11    improperly instructed to answer, we’re holding the

12    deposition open.

13                    But I pass the witness at this time.

14                    MR. GEISE:     We have no further questions.

15                    THE REPORTER:     Going off the record at

16    2:04 p.m.

17                    (Deposition recessed at 2:04 p.m.)

18                    (Signature was not request on the

19    record.)

20                               --ooOoo--

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     Case 5:20-cv-00046-OLG Document 77-1 FiledDemocratic
                                       Texas   05/29/20 PageParty
                                                             495 of -
                                                                    7974/27/2020

                                                                            117
 1    STATE OF TEXAS)

 2

 3                       REPORTER’S CERTIFICATION

 4

 5                    I, DEBBIE D. CUNNINGHAM, CSR, hereby

 6    certify that the witness was duly sworn and that this

 7    transcript is a true record of the testimony given by

 8    the witness.

 9                    I further certify that I am neither

10    counsel for, related to, nor employed by any of the

11    parties or attorneys in the action in which this

12    proceeding was taken.      Further, I am not a relative or

13    employee of any attorney of record in this cause, nor am

14    I financially or otherwise interested in the outcome of

15    the action.

16                    Subscribed and sworn to by me this day,

17    May 3, 2020.

18

19

20

21                          __________________________________
                            Debbie D. Cunningham
22                          Certified Shorthand Reporter
                            CSR No. 2065 - Expires 6/30/21
23                          INTEGRITY LEGAL SUPPORT SOLUTIONS
                            P.O. Box 245
24                          Manchaca, Texas 78652
                            www.integrity-texas.com
25                          512-320-8690; FIRM # 528

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Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 496 of 797




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                                                          APPENDIX 486
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 497 of 797



              IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                      SAN ANTONIO DIVISION

 JARROD STRINGER, et al.,           *
       Plaintiffs,                  *
                                    *
 v.                                 *   No. SA-20-CV-46-OG
                                    *
 RUTH HUGHS, et al.,                *
       Defendant.                   *


                   VIDEOTAPED VIDEOCONFERENCED

                         ORAL DEPOSITION

                                  OF

                    THE DEMOCRATIC CONGRESSIONAL

                 CAMPAIGN COMMITTEE REPRESENTATIVE,

                         JACQUELINE NEWMAN

                      Tuesday, April 28, 2020


              VIDEOTAPED VIDEOCONFERENCED DEPOSITION OF

  JACQUELINE NEWMAN, produced as a witness at the instance

  of the Defendant, and duly sworn, was taken in the

  above-styled and numbered cause on Tuesday, April 28,

  2020, from 10:09 a.m. to 2:05 p.m. Central Time, before

  Debbie D. Cunningham, CSR, in and for the State of

  Texas, remotely reported via Machine Shorthand, pursuant

  to the Federal Rules of Civil Procedure.

                              --ooOoo--




                                                          APPENDIX 487
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              498 of -
                                                                     7974/28/2020

                                                                              2
 1                              APPEARANCES

 2

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 8                Emily Brailey, Esq.
                         AND
 9                Rachel Jacobs, Esq.

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16

17    VIDEOGRAPHER:

18          Amanda Christopher
            Brian Christopher
19
                                 --ooOoo--
20

21

22

23

24

25

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 488
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              499 of -
                                                                     7974/28/2020

                                                                              3
 1                               INDEX

 2     APPEARANCES                                             2

 3

 4    EXAMINATION OF JACQUELINE NEWMAN:

 5     BY MR. HILTON                                           6

 6

 7

 8     CHANGES AND SIGNATURE                                   131

 9     REPORTER’S CERTIFICATION                                133

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 489
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              500 of -
                                                                     7974/28/2020

                                                                              4
 1                             EXHIBIT INDEX

 2    Exhibit Number         Description                         Page

 3

 4     Exhibit 1       Defendants’ Notice of Oral              24
                       Deposition Pursuant to Federal
 5                     Rule of Civil Procedure 30

 6     Exhibit 2       Intervenor-Plaintiffs Texas             25
                       Democratic Party, DSCC, and
 7                     DCCC’s Complaint for Declaratory
                       and Injunctive Relief
 8
       Exhibit 3       Alexander Edelman Declaration           26
 9
       Exhibit 4       DCCC’s Production in Response           29
10                     Subpoena Duces Tecum

11     Exhibit 5       Jacqueline Newman LinkedIn page         14

12     Exhibit 6       FEC Form 1, Statement of                43
                       Organization for DCCC
13
       Exhibit 7       DCCC Amended Year-End                   56
14                     Report Summary

15     Exhibit 8       Excel spreadsheet                       45

16

17

18

19

20

21

22

23

24

25

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 490
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              501 of -
                                                                     7974/28/2020

                                                                              5
 1                (Tuesday, April 28, 2020, 10:10 a.m.)

 2                        P R O C E E D I N G S

 3                     THE REPORTER:     Today is April 28th, 2020.

 4    This is the deposition of the Corporate Representative

 5    of DCCC, Jacqueline Newman, in the matter of Jarrod

 6    Stringer, et al. versus Ruth R. Hughs, et al.           We are

 7    situated remotely and are on the record at 10:09 a.m.,

 8    Central Standard Time.

 9                     My name is Debbie Cunningham, and my

10    business address is P.O. Box, Manchaca, Texas 78652.

11                     Would all persons present please

12    introduce themselves for the record?

13                     MR. HILTON:    Chris Hilton for the

14    Defendants.

15                     MS. BRANCH:    Aria Branch for the

16    Plaintiff Intervenor DCCC.       That’s "D" and then three

17    "Cs."

18                     MS. BRAILEY:    Emily Brailey, also for the

19    Plaintiff Intervenor, DCCC.

20                     THE WITNESS:    Jacqueline Newman with the

21    DCCC.

22                                     *

23                                     *

24                                     *

25                           JACQUELINE NEWMAN,

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 491
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              502 of -
                                                                     7974/28/2020

                                                                              6
 1    having taken an oath to tell the truth, the whole truth,

 2    and nothing but the truth, was examined and testified as

 3    follows:

 4                              EXAMINATION

 5    BY MR. HILTON:

 6          Q.    Good morning, Ms. Newman.

 7          A.    Hi.

 8          Q.    Could you please state and spell your name one

 9    more time for the record?

10          A.    Sure.   It’s Jacqueline Newman,

11    J-A-C-Q-U-E-L-I-N-E N-E-W-M-A-N.

12          Q.    And you’re here on behalf of DCCC to testify

13    as their representative today, right?

14          A.    I am.

15          Q.    Before starting to prepare for this, I

16    truthfully didn’t know a whole lot about the DCCC and

17    what it does.     I think I’m still pretty murky on the

18    details, and I’m hoping you can explain for me so I can

19    kind of understand more today.        Can you just start me

20    off with kind of an overview about what the DCCC is,

21    what its purpose is, what it does?

22          A.    Sure.   The DCCC is the national party tasked

23    with electing Democrats to the U.S. House of

24    Representatives.

25          Q.    You said it’s a party?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              503 of -
                                                                     7974/28/2020

                                                                              7
 1          A.     Yes.

 2          Q.     Is it separate from, like, the Democratic

 3    Party; or how does that work?

 4          A.     Yes.    I mean, we are part of the Democratic

 5    Party.     We are separate from the Democratic National

 6    Committee, which is often what people think of when they

 7    think of the National Democratic Party.

 8          Q.     So you’re separate from the Democratic

 9    National Committee.       Is it a subordinate role, is it a

10    partnership; or what’s the relationship there?

11          A.     I would say we’re affiliated, but we are

12    not -- we are not interlinked in any way.          And we are

13    also not their subordinate.

14          Q.     Okay.    And, I mean, I just didn’t know.       Do

15    you have a separate Party platform, or how does that

16    work?

17          A.     Yes, I mean, we don’t necessarily have a

18    platform as the DCCC.

19          Q.     Okay.    And why is that?

20          A.     That’s just not something we set out to do.

21          Q.     So what do you set out to do?       I mean, is it

22    primarily fundraising; or just what is, you know?

23          A.     We -- again, we’re trying to elect Democrats

24    to the U.S. House of Representatives; and so we support

25    campaigns in a variety of ways and functions.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 493
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              504 of -
                                                                     7974/28/2020

                                                                              8
 1          Q.    Okay.   Well, we’ll go through some of the

 2    details of some of that later.        I guess I would like to

 3    start, also, with understanding a little bit more about

 4    you and your background.       So you’re currently employed

 5    by the DCCC; is that right?

 6          A.    I am.

 7          Q.    And what’s your role?

 8          A.    I’m the Deputy Executive Director and Chief

 9    Operating Officer.

10          Q.    Okay.   And what are the responsibilities for

11    those roles?

12          A.    I oversee all the administrative and

13    operations functions for the building -- or for the

14    committee, that includes the building itself, our Human

15    Resources functions, our budgets, our legal activity,

16    just making sure everything is functioning as it should.

17          Q.    How many employees does DCCC have?

18          A.    Right now we are roughly at about 265

19    employees.

20          Q.    So these are folks that receive a paycheck

21    from DCCC?

22          A.    Yes.

23          Q.    And where are they located, and what kind of

24    work do they engage in?       I’m trying to get a sense of,

25    you know, who’s out there.

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                       www.integrity-texas.com                APPENDIX 494
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              505 of -
                                                                     7974/28/2020

                                                                              9
 1          A.    Sure.   They -- our employees are located

 2    across the country.      The majority are based in DC.        We

 3    have several employees that are on the ground in Texas

 4    as it relates to this case.

 5          Q.    Uh-huh.    And as far as your job, Deputy

 6    Executive Director -- did I get that right?

 7          A.    Yes.

 8          Q.    How long have you had that role?

 9          A.    I think I’ve had this title since September.

10    I’ve been with the committee in some fashion since 2014,

11    and I was previously with the committee in 2012.

12          Q.    And what about the COO title, how long have

13    you had that?

14          A.    About two and a half years.

15          Q.    Okay.   Who -- what’s the reporting -- what’s,

16    I guess, the leadership structure?         You’re the Deputy

17    Executive Director, so I assume you report to an

18    Executive Director.      Is there anyone else you report to,

19    other folks that report to you?        Can you give me a sense

20    of that?

21          A.    Yes, you’re right.      There’s an Executive

22    Director who oversees all the day-to-day functions of

23    the committee; and then we also have a Chair of the

24    committee, Congresswoman Cheri Bustos.

25          Q.    Anyone else that you report to?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              506 of -
                                                                     7974/28/2020

                                                                             10
 1           A.   No.

 2           Q.   And then who reports to you?

 3           A.   I have a team below me, a Chief Administrative

 4    Officer, IT Director.

 5           Q.   Is that it, there’s two people that report to

 6    you?

 7           A.   Oh, I’m sorry.     Then there’s some junior-level

 8    staffers below them who are kind of the senior team and

 9    then HR and Administration Manager.

10           Q.   Okay.   How many people would you say report to

11    you directly?

12           A.   I think it’s about eight or nine people.

13           Q.   Okay.   Are there any other deputy executive

14    directors, or are you the only one?         Like, a lot of

15    agencies have, like, multiple deputy commissioners in

16    charge of certain things.

17           A.   Sure.   There are two other deputy executive

18    directors.

19           Q.   What are their names, and what are their

20    responsibilities?

21           A.   One is Ryan Hedgepeth, and he is our Deputy

22    Executive Director for Member Engagement.          He works

23    directly with members of our caucus, members of

24    Congress.    And Mike Smith is also a Deputy Executive

25    Director, and he oversees our fundraising operations.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              507 of -
                                                                     7974/28/2020

                                                                             11
 1          Q.     Has there been any change to that structure in

 2    the time that you’ve been with the DCCC?

 3          A.     The Deputy Executive Director structure?

 4          Q.     Yes, yeah.

 5          A.     Yes, there has.

 6          Q.     So what were the changes and when did they

 7    occur, again, just kind of focusing on this top-level

 8    structure?

 9          A.     Sure.   So I’m sorry.    Could you -- did you say

10    this year or during my entire time at the DCCC?

11          Q.     Just since you’ve been at DCCC.

12          A.     Sure.   So each cycle, which is a two-year

13    election period, the DCCC goes through the process of --

14    at one point it was appointing and now it’s electing a

15    Chair of the committee.       And each Chair that comes in is

16    able to kind of re-image the structure as they see

17    necessary in order to carry out their goals for the

18    cycle.     And so with that, I would say each cycle there

19    has been a slightly different leadership structure.

20          Q.     Can you give me some examples, maybe?         Maybe

21    if it changes every two years regularly, we don’t have

22    to go through every one; but if you could, kind of give

23    me a sense of what type of changes that there are.

24          A.     Sure.   So usually -- I think in the past few

25    cycles there has been a Deputy Executive Director, at

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              508 of -
                                                                     7974/28/2020

                                                                             12
 1    least one or a few.      And last cycle there was one Deputy

 2    Executive Director, and they reported to the Executive

 3    Director.    In other cycles there have been a few deputy

 4    executive directors that kind of oversee a few key

 5    functions of the building and then report back to the

 6    Executive Director.      Again, it just kind of depends on

 7    the Executive Director and the Chair at the time.

 8          Q.    How are the Executive Director and the Chair

 9    chosen?

10          A.    Currently -- and this is a somewhat recent

11    change -- the Chair of the committee is elected by the

12    Democratic Caucus, and the Executive Director is hired

13    by the Chair.

14          Q.    Okay.    And so you’ve been with DCCC since 2014

15    and then another stint before then.         Is it typical to

16    have a long tenure, you know, for employees to be

17    tenured that length of time; or is there a lot of

18    turnover with these two-year cycles?

19          A.    Yeah, it’s definitely more common that people

20    work a cycle and then they move on to another

21    opportunity.      There’s a lot of turnover usually.

22          Q.    Is some of that top down?       I mean, does the

23    Executive Director bring in their own people every year

24    or...

25          A.    No.    I think it’s more just the nature of

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              509 of -
                                                                     7974/28/2020

                                                                             13
 1    campaigns that every two years people are moving on to

 2    something else.      I think you would see -- and this

 3    partially explains why I’ve been here longer than most

 4    people, but the administrative functions are the people

 5    who tend to stay cycle to cycle.         And the people who

 6    work kind of in different parts of the committee are

 7    often moving on to other campaigns or other

 8    organizations.

 9          Q.    So that would be more typical of the folks who

10    do the fundraising or the -- I forget how you put it --

11    the direct interfacing with the caucus members?

12          A.    Yes.

13          Q.    Okay.    You’ve been here, you know, at DCCC

14    quite a while.      I take it you enjoy your job?

15          A.    I do.

16          Q.    What do you enjoy about your job?

17          A.    I think the work we do is important, and I

18    like the values we represent.

19          Q.    Okay.    What values?

20          A.    I think electing Democrats to the U.S. House

21    of Representatives -- you know, the House, I think,

22    impacts a lot of change within this country; and it’s

23    important that we expand and protect our majority.

24          Q.    You’ve mentioned that a couple of times

25    already and we’re going to talk -- you know, one of the

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              510 of -
                                                                     7974/28/2020

                                                                             14
 1    missions of DCCC and we’re going to talk more about that

 2    throughout; but is that the best statement of the

 3    mission, to elect Democrats?

 4          A.    Definitely.

 5          Q.    Is there any other component of that, or is

 6    that really what it’s all about?

 7          A.    I think everything ties back to electing

 8    Democrats.

 9          Q.    Okay.

10                     MR. HILTON:    I’m going to send out

11    through the chat what’s actually -- I’m going a little

12    out of order.      I kind of prenumbered some of these.        So

13    I’m going to send out Exhibit 5 now, and then we’ll come

14    back to the other ones.

15                     (Exhibit 5 discussed.)

16          Q     (BY MR. HILTON)     So let me know if you’re able

17    to access Exhibit 5; and once you’ve had a chance to

18    pull it up and review it, let me know.

19          A.    Okay.    I have it open.

20          Q.    Is that your LinkedIn page, at least part of

21    it?

22          A.    Yes.

23          Q.    And I should say -- I forgot to mention this

24    before -- other than the documents that I send you and

25    then the Bates numbered documents that your counsel

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              511 of -
                                                                     7974/28/2020

                                                                             15
 1    provided to you that were the DCCC’s production, do you

 2    have any other documents in front of you, with you?            Are

 3    you referring to any other documents?

 4          A.    No, I don’t.

 5          Q.    Okay.   I’ll ask for you to continue not to do

 6    that; and if you do refer to another document, please

 7    let me know.     And I think the same thing goes with

 8    talking to other people, including by e-mail, text, you

 9    know, anything like that.       Please refrain from doing

10    that, you know, until the deposition is over.           And if

11    you do do that, I’d ask that you please, you know, let

12    me know.

13                     All right.    So turning to Exhibit 5,

14    which is at least a portion of your LinkedIn page, it

15    has employment history for you going back to May 2008.

16    I was kind of hoping you could walk me through each of

17    these positions, starting with May 2008, and explain to

18    me -- obviously, we don’t have to go into a huge amount

19    of detail for all of these; but if you could, explain to

20    me just kind of generally what the company was or what

21    the organization was, what your role was, and kind of

22    give me a sense of the evolution of your career.            That’s

23    my goal here.

24                     So if you could just kind of start from

25    GIS Specialist at the Timmons Group and work your way

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              512 of -
                                                                     7974/28/2020

                                                                             16
 1    through, I think that’s the most efficient way to go

 2    about it.

 3          A.    Okay.   Sure.    So in 2008 I worked with the

 4    Timmons Group, which is an engineering firm.           I was a

 5    GIS Specialist at the time, Geographic Information

 6    Systems.

 7          Q.    What is a Geographic Information System?

 8          A.    It’s like a lot of building kind of digital

 9    maps.   That’s what I did, usually, for local governments

10    that were hoping to convert to a modern era, if you

11    will.

12          Q.    In what sense?

13          A.    Like, the work I did was taking, like, paper

14    documents, land parcels, and I was digitizing them.

15          Q.    Oh, I see.    So any kind of, you know, records

16    or whatever, just trying to make it into a modern

17    electronically-accessible system?

18          A.    Yeah, yeah, basically.

19          Q.    Got it.    Any particular projects that stand

20    out from that time?      I don’t mean to make you go all the

21    way back through your career.

22          A.    Oh, sure.    No, no.    So most of the work I

23    specialized in, we worked with a lot of rural, I guess,

24    counties and locations; and they were in the process of

25    trying to basically get up and running a system that --

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              513 of -
                                                                     7974/28/2020

                                                                             17
 1    where people in their location can call 9-1-1 and it

 2    would be linked to their home, which I think is

 3    something that, especially in urban and suburban areas,

 4    people take for granted that you call 9-1-1 and they

 5    know where you’re calling from.        So that required

 6    digitizing all of the maps and then linking each, like,

 7    land parcel to the phone information we had for people

 8    living there.     That was the majority of the work I did

 9    at Timmons.

10          Q.    Okay.   And I’m sorry to dwell on this, but it

11    looks like your career kind of takes a more political --

12    or politically-oriented turn from here.          Did you do any

13    political type work or redistricting or anything like

14    that when you were with Timmons Group?

15          A.    I didn’t do any political work with Timmons.

16    I was involved through my school; and while I was

17    working at Timmons, I took on a side project, which is a

18    strong majority the role I did above it.          And so I was

19    kind of doing that in my spare time.

20          Q.    All right.    Well, I know I asked you to just

21    kind of walk me through this and let you explain it; and

22    then I immediately interrupted you.         So sorry about

23    that, but maybe you can pick it up from there and

24    continue to walk me through the rest of your career.

25          A.    Sure.   So for a strong majority, I was their

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                       www.integrity-texas.com                APPENDIX 503
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              514 of -
                                                                     7974/28/2020

                                                                             18
 1    Compliance Director.      I basically oversaw their

 2    bookkeeping and was responsible for accounting and

 3    reporting through the Virginia State Board of Elections,

 4    just maintaining their compliance.

 5                     And then I found myself in Indiana, where

 6    I was hired as the Deputy Director of Compliance and

 7    Operations; and in that role -- you will sense a theme

 8    here -- but I oversaw the HR, the operations and the

 9    bookkeeping budgets and compliance for the Indiana

10    Democratic Party.

11          Q.    And I’m sorry to interrupt you one more time,

12    at least.    I should have started with this, but I

13    forgot.    What was your -- what education did you have

14    that led you into all these roles?         Like, I think you

15    mentioned you were still in school when you started with

16    Timmons.    Now, what were you in school for?         What

17    degree, if any, did you attain?

18          A.    Sure.   I went to school, and I received a

19    bachelor’s degree in geography.

20          Q.    And I know as a component of that, there’s a

21    lot of, you know, technical and software and all sorts

22    of stuff like that that kind of led you to be able to do

23    the more technical side of things that you’re doing?

24          A.    Yes.

25          Q.    Okay.   All right.     I interrupted you again.

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                       www.integrity-texas.com                APPENDIX 504
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              515 of -
                                                                     7974/28/2020

                                                                             19
 1    I’m sorry.    Let’s try it again.

 2          A.    No problem.    So I was in Indiana briefly.        I

 3    stayed through the end of the election cycle and moved

 4    back to Virginia.      In April of 2011 I started with

 5    Protect Your Care and Know Your Care as their Director

 6    of Operations.      Again, I kind of oversaw the budget

 7    aspects, the compliance, HR.        After --

 8          Q.    I’m sorry.    What is that group?

 9          A.    It was a 501(c)(3) and (c)(4) organized around

10    educating people on Obamacare --

11          Q.    Okay.

12          A.    -- and the Affordable Care Act.

13          Q.    Okay.

14          A.    In 2012 I took a job with the DCCC as their

15    Director of Operations on their 2012 Independent

16    Expenditure Program; and in that role, I managed the

17    administrative functions for the IE, which is a large

18    paid media campaign.

19          Q.    And when you say a paid media campaign, can

20    you elaborate a little bit on that?

21          A.    Sure.    It’s mostly a bunch of TV ads that the

22    DCCC puts out.

23          Q.    And what was the nature of the ads?         What was

24    the purpose?

25          A.    To elect Democrats to the U.S. House.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              516 of -
                                                                     7974/28/2020

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 1          Q.     Anywhere in particular?      Any particular type

 2    of ad; or was it just, you know, all House members?

 3          A.     It was certainly focused in our targeted

 4    races.     I don’t know how much that was off the top of my

 5    head; but I would say, ballpark, it probably covered

 6    about 30 races across the country.

 7          Q.     And -- okay.    I think that’s enough for now.

 8    I’ll let you continue.

 9          A.     Following 2012 I took a job with Terry

10    McAuliffe’s campaign for governor in Virginia; and I

11    operated largely in the same capacity for that roll,

12    overseeing all the operations functions, HR, budgets,

13    legal.

14          Q.     Was that a successful campaign?

15          A.     It was a successful campaign.

16          Q.     He’s still governor, right?       Did he get re-

17    elected since then or...

18          A.     He is not still governor --

19          Q.     Oh, okay.

20          A.     -- but he is always around.

21          Q.     Okay.

22          A.     So you feel like he’s still governor.

23                     And then, following his successful

24    campaign, after his inauguration I returned to the DCCC

25    as Deputy Chief Operating Officer and over the years

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 506
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              517 of -
                                                                     7974/28/2020

                                                                             21
 1    have slowly progressed.

 2          Q.    You’ve stayed around and stayed in a couple

 3    different roles, and I know how it goes when you stay at

 4    a place for a long time.

 5                     I guess the only other one I wanted to

 6    ask you about specifically was Interim Executive

 7    Director from July of 2019 to September 2019.           How did

 8    you come to have that role, and the way you’re

 9    describing -- I guess my other question is, as your

10    primary viewpoint, you know, if it goes in two-year

11    election cycles, is that a down period since the 2018

12    election had just been over?

13                     What was -- I guess I was saying all of

14    that to say -- I’ll give you an actual question that you

15    can answer.    How did you come to get that role, what did

16    you do during that period, and how did that relate to

17    the cyclical nature of DCCC’s work?

18          A.    Sure.   So we had a leadership transition in

19    the middle of our cycle this year, which actually isn’t

20    common.    Usually an Executive Director would be hired in

21    December or January and stay for two years or longer in

22    some cases.    So there was a leadership transition.          In

23    that moment I stepped up to be the Interim Executive

24    Director, and largely I ran the entire process to find a

25    permanent Executive Director.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 507
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              518 of -
                                                                     7974/28/2020

                                                                             22
 1          Q.    And you say there was a leadership transition.

 2    I’m assuming that someone had signed up to do the role

 3    and then moved on to take another opportunity

 4    unexpectedly?

 5          A.    Yes.

 6          Q.    Okay.   And you may have mentioned this.         I

 7    just don’t recall.      Where did you say you went to, got

 8    your bachelor’s?

 9          A.    I went to the University of Mary Washington in

10    Fredericksburg, Virginia.

11          Q.    Well, I appreciate all that.        It’s always

12    helpful to know.     Even though you’re a representative on

13    DCCC’s behalf, it’s extremely helpful to know your

14    perspective, your background, and your expertise.            So I

15    appreciate you walking me through that.          I know talking

16    about the full length of one’s career is not necessarily

17    the most exciting, but I appreciate it.

18                     I would like to turn now to talk a little

19    bit about how you -- you know, about the depo itself and

20    how you prepared for this deposition today.           So I guess

21    start there.     What did you do to prepare for the

22    deposition today?

23          A.    Sure.   Well, I discussed with my counsel.           I

24    reviewed the Complaint that we had filed and reviewed

25    the Deposition Notice topics.        I also reviewed a

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                       www.integrity-texas.com                APPENDIX 508
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              519 of -
                                                                     7974/28/2020

                                                                             23
 1    declaration that a member of my team had submitted in

 2    response to this.

 3          Q.    Any other documents?

 4          A.    I gathered information related to the

 5    deposition topics, but that was it.

 6          Q.    How did you gather information?

 7          A.    I guess searching through DCCC documents.

 8          Q.    Okay.   Did you search through e-mails or some

 9    other source of documents?

10          A.    I think mostly just documents that are on our

11    drive, like on --

12          Q.    Did you use search terms, or did you just

13    browse through them?

14                     MS. BRANCH:    I want to just object to the

15    extent that it calls for attorney-client privileged

16    information.

17                     But you can answer as long as you’re not

18    revealing any of the content of our conversations.

19          Q.    (BY MR. HILTON)     Yeah.    And particularly in

20    this prep area it gets kind of close to that.           I am not

21    asking you for content of any conversations with your

22    attorneys.    So please do not provide that information.

23    I don’t want it.     It is privileged, so.

24                     All right.    So you said that you were

25    just browsing through files, I guess, based on your

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 509
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              520 of -
                                                                     7974/28/2020

                                                                             24
 1    knowledge and familiarity with the files of the

 2    organization?

 3          A.    Yes, that’s correct.

 4          Q.    Did you speak to anyone other than your

 5    attorneys?

 6          A.    Just our -- yes, with our attorneys.

 7          Q.    But no other employees of DCCC or anyone else

 8    other than your attorneys?

 9          A.    Right.

10                     (Exhibit 1 discussed.)

11          Q.    (BY MR. HILTON)     Okay.    I’d like to turn to

12    Exhibit 1, which I had sent out previously via the Zoom

13    chat.   And do you recognize Exhibit 1?

14          A.    Yes.

15          Q.    And what is it?

16          A.    These are the deposition topics you sent in a

17    Notice for this role.

18          Q.    Right.   And so let’s turn to page 5 of

19    Exhibit 1.    The heading is 30(b)(6) Corporate

20    Representative Deposition Topics?

21          A.    Yes.

22          Q.    Are you prepared to testify as to all these

23    topics today?

24          A.    I am.

25          Q.    And then I’d like to go to page 6.         The

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 510
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              521 of -
                                                                     7974/28/2020

                                                                             25
 1    heading is Attachment B.       These are the document

 2    requests that we sent in connection with this Notice; is

 3    that right?

 4          A.    Yes.

 5          Q.    And it sounds like you searched for documents

 6    that were responsive to these requests?

 7          A.    I worked with my counsel on this.

 8          Q.    Okay.   Did DCCC produce documents responsive

 9    to these requests?

10          A.    Yes.

11          Q.    So did DCCC comply with these requests?

12          A.    Yes.

13                     (Exhibit 2 discussed.)

14          Q.    (BY MR. HILTON)     Okay.    The next one is going

15    to be Exhibit 2, which, hopefully, is the Complaint in

16    this matter.

17          A.    Yes.

18          Q.    So you have Exhibit 2 in front of you?

19          A.    I do.

20          Q.    And have you seen this document before?

21          A.    I have.

22          Q.    Did you review it before it was filed?

23          A.    Yes.

24          Q.    How much time did you spend reviewing it,

25    before it was filed, I mean?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 511
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              522 of -
                                                                     7974/28/2020

                                                                             26
 1          A.    Before it was filed?

 2          Q.    Yes.

 3          A.    Probably -- to be clear, you mean the

 4    Complaint itself or in preparation for the Complaint?

 5          Q.    I’m breaking it into two parts.        So the first

 6    part is:    How much time did you spend reviewing the

 7    Complaint before it was filed?        And then the next part

 8    will be:    Did you review it again for this deposition,

 9    and how much time did you spend reviewing it?

10          A.    I probably spent about 30 minutes reviewing

11    the Complaint before it was filed.

12          Q.    Okay.   And you said you reviewed it again to

13    prepare for the deposition today.         How much time did you

14    spend then?

15          A.    Probably about an hour.

16          Q.    Okay.   I’m going to send out the next exhibit,

17    Exhibit 3, hopefully.

18                     (Exhibit 3 discussed.)

19          A.    Okay.

20          Q     (BY MR. HILTON)     Do you recognize what I’m

21    marking as Exhibit 3 to the deposition?          It says

22    Exhibit B on the first page of it, but I’m going to

23    refer to it as Exhibit 3.

24          A.    Yes.

25          Q.    Okay.   And what is Exhibit 3?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 512
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              523 of -
                                                                     7974/28/2020

                                                                             27
 1          A.    This is a Declaration from Alexander Edelman

 2    in support of the Plaintiff’s motion.

 3          Q.    Who is he?

 4          A.    He’s DCCC’s National Field Director.

 5          Q.    Do you know Mr. Edelman?

 6          A.    I do.

 7          Q.    And how do you know him?

 8          A.    He’s my colleague at the DCCC.

 9          Q.    And can you describe exactly what a National

10    Field Director does?

11          A.    Sure.   The National Field Director oversees

12    the entire field program for the DCCC.

13          Q.    What is a field program?

14                     MS. BRANCH:    I’m going to object to the

15    extent that this calls for information that would be

16    protected by the First Amendment.

17                     But you may answer at a high level.

18          A.    Sure.   Our field program is geared at

19    mobilizing and persuading voters, usually directly on

20    the ground in our targeted districts.

21          Q.    (BY MR. HILTON)     And how does the field

22    program go about accomplishing that?

23          A.    We usually work with coordinated campaigns,

24    which is a collaboration between national parties and

25    state parties to elect Democrats up and down the ballot.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 513
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              524 of -
                                                                     7974/28/2020

                                                                             28
 1    So in Texas we work with the Texas Democratic Party,

 2    along with the other national party committees and, you

 3    know, each state sometimes looks a little bit different;

 4    but usually we are running Get-Out-the-Vote programs,

 5    voter registration programs, engaging our voters

 6    directly on the ground through canvasses.

 7          Q.     And how does the DCCC’s support for that kind

 8    of program play out in practice?         I mean, I guess, is it

 9    just providing funding?       Do you provide manpower as

10    well, or what other resources do you provide?

11          A.     Yeah, so it’s all of the above.       We provide

12    funding.     We transfer money to the State Party to be

13    used for the Coordinated Campaign.         We also have our own

14    direct investments in people on the ground in some

15    cases.     In Texas, for example, we have four offices

16    opened; and we have staff in those offices.

17          Q.     All right.   Well, I’m getting a little ahead

18    of myself.     We’ll get into more details of that later,

19    but I realize I forgot to ask:        You said -- you

20    mentioned you reviewed a declaration in connection with

21    this matter to prepare for the deposition today.            Was

22    this the declaration you were referring to?

23          A.     Yes, it was.

24          Q.     All right.   So we’ll leave that to the side

25    for now and come back to it.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 514
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              525 of -
                                                                     7974/28/2020

                                                                             29
 1                     (Exhibit 4 discussed.)

 2          Q.    (BY MR. HILTON)     The next group of documents

 3    that I’m going to designate as Exhibit 4 to the

 4    deposition is going to be the DCCC’s production in

 5    response to our subpoena duces tecum.          So that’s Bates

 6    Numbers DCCC 000001 through 805.         Do you have those

 7    documents available to you?

 8          A.    Yes, I do.

 9          Q.    And are you familiar with those documents?

10          A.    I am.

11          Q.    Okay.   Did you review all of them before the

12    deposition today?

13          A.    Yes.

14          Q.    How much time did you spend reviewing them?

15          A.    Probably about an hour.

16          Q.    Who gathered these documents?

17                     MS. BRANCH:    I’m going to object to the

18    extent that this calls for conversations between

19    attorney and client or attorney work product.

20                     MR. HILTON:    It does not.     I’m asking for

21    an identity of the person who collected the documents.

22                     MS. BRANCH:    You can answer that, Jacqui.

23          A.    This specific group of documents?

24          Q     (BY MR. HILTON)     Yeah, Bates Number 1 through

25    805, the entire production.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 515
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              526 of -
                                                                     7974/28/2020

                                                                             30
 1          A.    These came from my counsel.

 2          Q.    But who collected them?

 3          A.    Initially in this process?

 4          Q.    Yeah, who at DCCC gathered the documents for

 5    production?

 6          A.    Staff.   And, I mean, I think several people

 7    collected documents related to this production based

 8    on -- based on the request and the search terms guided

 9    by our counsel.

10          Q.    What were the search terms?

11                     MS. BRANCH:    Objection, attorney-client

12    privilege.

13          Q.    (BY MR. HILTON)     You can answer.

14                     MS. BRANCH:    I’m instructing you not to

15    answer that.

16                     It’s clearly search terms that we worked

17    with them and communicated with them to find the

18    documents.    If there’s specific documents you want to

19    ask about, I think we can do that; but...

20                     MR. HILTON:    I would like to know the

21    search terms.     Will you provide them to me, Aria?

22                     MS. BRANCH:    We can talk off the record

23    about that.

24                     MR. HILTON:    I would like an answer now

25    because I feel like I’m entitled to what the search

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 516
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              527 of -
                                                                     7974/28/2020

                                                                             31
 1    terms are.

 2                     MS. BRANCH:    I don’t have them in front

 3    of me, but we can discuss that.        They are search terms

 4    that were created based on the subpoena.

 5                     MR. HILTON:    I just want to know if

 6    you’ll give me the search terms later.

 7                     MS. BRANCH:    And I’m happy to discuss

 8    that.

 9          Q.    (BY MR. HILTON)     I’m sorry.     I feel like I

10    have to ask my question again, Ms. Newman.           What were

11    the search terms that were used?

12                     MS. BRANCH:    And I’m going to assert the

13    same objection and instruct the witness not to answer.

14          Q     (BY MR. HILTON)     Are you going to abide by

15    that instruction?

16          A.    Yes, I am.

17          Q.    Do you know what the search terms are?

18          A.    Not off the top of my head.

19          Q.    Did you at one point know what they were?

20          A.    Yes.

21          Q.    Did you refer to something else and refresh

22    your memory as to what the search terms are?

23          A.    I could refer to my conversations with my

24    counsel.

25          Q.    So you could give me the search terms if you

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 517
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              528 of -
                                                                     7974/28/2020

                                                                             32
 1    were required to do so?

 2                     MS. BRANCH:    They’re privileged.

 3                     MR. HILTON:    I understand that that’s

 4    your assertion.     I disagree with that assertion.         And

 5    I’m trying to question the witness, and you cannot

 6    answer for the witness.

 7          Q.    (BY MR. HILTON)     So, Ms. Newman, if you were

 8    required to tell me what the search terms are by a Court

 9    or someone else, would you be able to do so?

10          A.    I believe I could.

11          Q.    Okay.   Who ran the search terms?

12          A.    A combination of our staff and our IT

13    Director.

14          Q.    And you mentioned earlier as well that several

15    people assisted in gathering the documents.           Did I

16    understand your testimony correctly?

17          A.    Yes.

18          Q.    What are the names of each person who assisted

19    in gathering these documents?

20          A.    I don’t know that information.        I would have

21    to check.

22                     MR. HILTON:    Aria, will you provide me

23    that information?

24                     MS. BRANCH:    Again, I think this calls

25    for privileged information and that these are

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 518
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              529 of -
                                                                     7974/28/2020

                                                                             33
 1    discussions that we, the attorneys, had with staff at

 2    the DCCC to advise them on how to respond to the

 3    subpoena.

 4                     MR. HILTON:    I’m not asking about the

 5    discussions.     I’m asking for the identity of the

 6    individuals who ran the search terms and collected the

 7    documents.    I believe your document production is

 8    insufficient.     I’m entitled to understand what you did

 9    to produce these documents, and I’m entitled to this

10    which is not privileged.       So I’m going to ask --

11                     MS. BRANCH:    I think we can have that

12    conversation.     I don’t think that Jacqui knows; and I

13    also think that it infringes on the privilege, so.

14          Q     (BY MR. HILTON)     Well, Ms. Newman, do you know

15    the identities of the individuals who ran these search

16    terms?

17          A.    It’s a wide group, I think.

18          Q.    Okay.   Do you know the identity of those

19    individuals in that wide group?

20          A.    I have it somewhere.      I do not know right now.

21          Q.    But you could get me that information if you

22    were required to do is?

23          A.    I believe so.

24          Q.    And you mentioned that several people helped

25    gather the documents.      Were you referring to just

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              530 of -
                                                                     7974/28/2020

                                                                             34
 1    running the search terms, or was there some other way in

 2    which documents were gathered?

 3                     MS. BRANCH:    Again, I think this calls

 4    for attorney-client privileged information in that it

 5    goes to the communications we had on how to formulate

 6    the search for documents.

 7          Q.    (BY MR. HILTON)     I am not asking about the

 8    content of any communication that you or anyone at DCCC

 9    had with your counsel, Ms. Newman.         I want to be very

10    clear about that.      But I would like to know the method

11    by which these documents were gathered, and I want

12    clarity on your earlier testimony.         Earlier you said

13    that several people helped gather the documents.            Do I

14    have that correct?

15          A.    Yes.

16          Q.    And you also mentioned that there was a wide

17    group of people who ran search terms.          Do I have that

18    correct?

19          A.    I believe so.     Like I said, I would have to

20    check.

21          Q.    Okay.   And I want to know:      Is that the same

22    group you were referring to, or are there two different

23    groups of individuals that you’re referring to in your

24    testimony?

25                     MS. BRANCH:    Same objection.      I think

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              531 of -
                                                                     7974/28/2020

                                                                             35
 1    asked and answered.      She’s answered the question.

 2                     MR. HILTON:    With respect, Aria, it has

 3    not been answered.      I want to understand who searched

 4    for what and how, and I’m entitled to that information.

 5          Q.    (BY MR. HILTON)     So Ms. Newman, who -- was

 6    there another method of gathering documents other than

 7    running search terms?

 8                     MS. BRANCH:    Again, it’s privileged.       I

 9    mean, these -- what you’re asking -- I understand where

10    you’re coming from, but what you’re asking is asking for

11    the content of the communications we had with them in

12    terms of how to comply with the subpoena.

13                     MR. HILTON:    Can you read back my

14    question?

15                     MS. BRANCH:    I’m going to instruct the

16    witness not to answer, and I’m hopeful that we can maybe

17    move on to another topic.

18                     MR. HILTON:    Can you read back the

19    question, Debbie, that I asked?        I’d like you to read

20    the question.

21                     THE REPORTER:     Yes.

22                     (The requested material was read as

23    follows:

24                     "QUESTION:    Okay.   And I want to know:

25    Is that the same group you were referring to, or are

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              532 of -
                                                                     7974/28/2020

                                                                             36
 1    there two different groups of individuals that you are

 2    referring to in your testimony?")

 3                      MS. BRANCH:   Objection, vague.

 4                      You may answer if you are able to.

 5           A.     I don’t really understand the question.

 6           Q      (BY MR. HILTON)   Well, I don’t really

 7    understand your testimony.       You said earlier that there

 8    was a group of -- that there were several people who

 9    gathered documents, correct?        That’s what you first

10    said?

11           A.     Well -- and I would like to clarify.       We might

12    have asked several people.       That does not mean several

13    people had documents to gather, and I do not know that

14    information right now.

15           Q.     All right.   I’m going to ask you one more

16    time:      Who collected the documents for DCCC?

17                      MS. BRANCH:   Objection, asked and

18    answered.

19                      You can repeat the same answer.

20                      MR. HILTON:   I would appreciate it, Aria,

21    if you didn’t instruct your witness how to answer my

22    questions.      Okay?   That’s a speaking objection.       It’s

23    not permitted.      You can state the basis of your

24    objection, and you can either instruct her to answer or

25    not.

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                        www.integrity-texas.com               APPENDIX 522
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              533 of -
                                                                     7974/28/2020

                                                                             37
 1                     MS. BRANCH:    I think I’ve done that now.

 2                     MR. HILTON:    Debbie, can you please read

 3    back my question?

 4                     (The requested material was read as

 5    follows:

 6                     "QUESTION:    I’m going to ask you one more

 7    time:     Who collected the documents for DCCC?")

 8          A.     We would have requested documents from a group

 9    of staff and our IT Director.

10          Q      (BY MR. HILTON)    What’s the name of your IT

11    Director?

12                     MS. BRANCH:    Objection.

13                     MR. HILTON:    What is the basis of your

14    objection?

15                     MS. BRANCH:    I think this is -- we’re

16    getting into attorney-client privileged discussions in

17    terms of preparing for the -- for this.

18          Q      (BY MR. HILTON)    Ms. Newman, my question is:

19    What is the name of DCCC’s IT Director?

20          A.     David Winston.

21                     MR. HILTON:    I just want to, again, make

22    clear on the record that I think this document

23    production is insufficient.        We’re going to reserve all

24    rights to pursue whatever remedies we think we need to.

25                     I’m asking questions that clearly are not

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 523
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              534 of -
                                                                     7974/28/2020

                                                                             38
 1    calling for any privileged information, and you’re

 2    instructing the witness not to answer.          That’s improper.

 3    I believe I’m entitled to the answers to these questions

 4    to understand whether this document collection effort

 5    was sufficient.     Clearly it was not.

 6          Q     (BY MR. HILTON)     Ms. Newman, I apologize.

 7    I’ve gotten a little heated during this part of the

 8    questioning.     I want you to understand I have no quarrel

 9    with you whatsoever.      I’m just trying to get the

10    information that I need to represent my clients.            And so

11    I’m trying --

12                     MS. BRANCH:    And I’m happy -- sorry.        I

13    didn’t mean to cut you off.

14                     MR. HILTON:    Go ahead.

15                     MS. BRANCH:    Well, I’m happy to have, you

16    know, a further conversation about the document

17    production.    I do think that several of the requests

18    infringe upon the First Amendment privilege.           We’ve

19    produced documents responsive to the requests to the

20    extent they’re not privileged.        And the client has

21    stated that they undertook efforts to respond to the

22    subpoena.

23                     If you want to meet and confer, have a

24    separate conversation about that, we can off the record.

25    It’s probably not as fruitful to do with Ms. Newman,

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 524
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              535 of -
                                                                     7974/28/2020

                                                                             39
 1    given that she doesn’t have vision over the entire

 2    process.    And I do think that some of the questions,

 3    when you’re talking about search terms, do infringe upon

 4    communications that we’ve had with our client.

 5                     MR. HILTON:    Sorry.    Well, if you can

 6    find a case that says the search terms are going to be

 7    privileged in this context, I’d love to see it.

 8                     And I think Ms. Newman testified that she

 9    could answer all these questions if you had properly

10    prepared her; and clearly, you didn’t.          So, anyway...

11          Q.    (BY MR. HILTON)     And, again, Ms. Newman,

12    that’s no point against you.        I just think your

13    counsel’s not done what they should have done with

14    respect to the document production, but we’ll move on.

15                     MS. BRANCH:    I think that she’s prepared

16    for this deposition.      She’s prepared on the topics; and,

17    you know, we’ve produced her here to answer the

18    questions on the topics.       And we produced documents

19    responsive to the extent that they were not privileged.

20          Q     (BY MR. HILTON)     Did you review any other

21    documents other than the ones that we’ve already

22    discussed today in preparation for your deposition,

23    Ms. Newman?

24          A.    I don’t believe so.

25          Q.    Okay.   You mentioned that you met with counsel

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 525
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              536 of -
                                                                     7974/28/2020

                                                                             40
 1    to prepare for this deposition, correct?

 2          A.    Yes.

 3          Q.    When?

 4                     MS. BRANCH:    Just -- I’m going to just

 5    assert the objection.

 6                     This particular question is not

 7    privileged; but I just want to be clear, Jacqui, that

 8    you don’t have to disclose anything that we discussed.

 9    But you may answer the question.

10                     MR. HILTON:    Ms. Branch, again, please

11    refrain from speaking objections.         You just spoke

12    without an objection, and that’s improper.

13          Q     (BY MR. HILTON)     Ms. Newman, when did you meet

14    with your attorneys?

15                     MS. BRANCH:    The objection, just for the

16    record, is attorney-client privilege.

17                     But you may answer to the extent that

18    you’re not disclosing our communications.

19          A.    I met with counsel regarding this deposition

20    yesterday and last week.

21          Q.    (BY MR. HILTON)     So on two occasions?

22          A.    Yes.

23          Q.    How long were those meetings, again, without

24    disclosing the content?

25          A.    I think roughly about an hour each.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 526
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              537 of -
                                                                     7974/28/2020

                                                                             41
 1          Q.    Who was in attendance at those meetings?

 2          A.    My counsel, Aria and Rachel.

 3          Q.    And yourself.     Anyone else?

 4          A.    Yeah, myself.     We met with another member of

 5    my team, too, Alex Edelman.

 6          Q.    That’s the same person who signed that

 7    Declaration that’s Exhibit 3?

 8          A.    Yes.

 9          Q.    Okay.

10                     MR. HILTON:    All right.     I’d like to take

11    a short break if that’s all right.         I will need about

12    five minutes; but if y’all want to take a longer break,

13    that’s fine.

14                     THE WITNESS:    Can we have ten minutes?

15                     MR. HILTON:    Sure.

16                     THE WITNESS:    Thank you.

17                     THE REPORTER:     Going off the record at

18    11:02 a.m.

19                     (Off the record from 11:02 to 11:14 a.m.)

20                     THE REPORTER:     We’re back on the record

21    at 11:14 a.m.

22                     MR. HILTON:    And as we’ve done in the

23    other depositions, I’m fine waiving the additional read-

24    on every time we go back on, as long as y’all are fine

25    with that.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 527
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              538 of -
                                                                     7974/28/2020

                                                                             42
 1                     MS. BRANCH:    I’m good.    Thank you.

 2           Q.   (BY MR. HILTON)     Ms. Newman, I, again, just

 3    wanted to, you know, apologize that you had to get

 4    dragged into that discussion between counsel and I.              I

 5    hate to do that kind of stuff in depositions; sometimes

 6    it happens.    But just, you know, I’m going to try and

 7    move on and get through the substance of what I have to

 8    ask you about kind of as painlessly as possible as I

 9    can.

10                     You know, I just want to, again, make

11    clear that I’m not asking for you to reveal any

12    privileged information with any of my questions.            Of

13    course, your counsel will instruct you or object, you

14    know, as necessary.      But I just want to make that clear.

15    I’m not intending to ask for privileged information.

16                     So I want to turn back to the DCCC and

17    just talking about the organization’s background and

18    activities and that kind of thing.         And I can’t remember

19    if I asked you this or not before:         When was the DCCC

20    first established?

21           A.   It was established over 150 years ago.          I

22    think it’s 1866.

23           Q.   Wow.   And has its mission changed over time?

24           A.   I don’t believe so.

25           Q.   But electing Democrats is the name of the game

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              539 of -
                                                                     7974/28/2020

                                                                             43
 1    since 1866?

 2           A.   I think that’s about right.

 3           Q.   We talked a little bit earlier about the

 4    relationship between DCCC and the DNC, and I kind of

 5    want to explore similar issues in relation to an exhibit

 6    that I just sent out in the Zoom chat.          This is

 7    something I found on the FEC’s website.          That’s the

 8    Federal Election Commission.        Are you familiar with the

 9    FEC?

10           A.   Yes, I am.

11           Q.   I would imagine that you would be.

12                     (Exhibit 6 discussed.)

13           Q.   (BY MR. HILTON)     Do you have Exhibit 6 in

14    front of you?

15           A.   Yes, I do.

16           Q.   And do you recognize Exhibit 6?

17           A.   Yes, I do.

18           Q.   And what is it?

19           A.   This is a Statement of Organization filed with

20    the FEC.

21           Q.   And I guess before we dig into it, I’m

22    curious:    Are you responsible for, you know, making sure

23    that the FEC filings get done?

24           A.   I am not responsible for those.

25           Q.   Who has that responsibility?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 529
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              540 of -
                                                                     7974/28/2020

                                                                             44
 1          A.    Our Chief Financial Officer.

 2          Q.    And who is that?

 3          A.    Jackie Forte-Mackay.

 4          Q.    Yeah, her name pops up on some of this stuff,

 5    I think.    She’s on this one.

 6                     Are you familiar with FEC filings for the

 7    DCCC?

 8          A.    Yes, I am.

 9          Q.    Do you review them before they get filed?

10          A.    I do not.

11          Q.    How are you familiar with them, then?

12          A.    I have an awareness -- a top-line awareness of

13    our filings before they are filed; and if there’s any

14    questions or concerns, sometimes I am a part of those

15    conversations.

16          Q.    So just in the course of your job, you have

17    occasion to refer to them and work with them?

18          A.    Yes.

19          Q.    Did you review any FEC filings before the

20    deposition today?

21          A.    I reviewed some of our FEC filings that show

22    our work in Texas.

23          Q.    Which filings?

24          A.    I believe Aria shared these with you; but,

25    basically, the money that we sent to the Texas

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 530
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              541 of -
                                                                     7974/28/2020

                                                                             45
 1    Democratic Party.

 2          Q.    Well, let’s skip ahead so I don’t lose the

 3    thread of this.     I’m going to send out what I’m marking

 4    as Exhibit 8 to the deposition.        This is an Excel

 5    spreadsheet.

 6                     (Exhibit 8 discussed.)

 7          Q     (BY MR. HILTON)     And this was, you know, my

 8    attempt to export the data from the FEC link that your

 9    counsel provided.      So let me know once you have the

10    spreadsheet open.

11          A.    Okay.   I have this open.

12          Q.    I hesitate to ask:      Do you recognize what you

13    are looking at here in Exhibit 8?

14          A.    Yes, I do.

15          Q.    Okay.   And what is this?

16          A.    This appears to be a document showing

17    transfers from the Democratic -- or from the DCCC to the

18    Texas Democratic Party, dating back to 2014.

19          Q.    Is this the FEC filings that you were

20    referring to when you said you reviewed some FEC

21    information prior to the deposition?

22          A.    Yes, this looks like it.

23          Q.    There’s another version on the web page that

24    looks a little better.       I prefer to use this version if

25    you can manage to work with it because this is the

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              542 of -
                                                                     7974/28/2020

                                                                             46
 1    version that you get when you export the data from the

 2    FEC; but if it just becomes unworkable, we have that as

 3    an option.    And I can try to do a little screen share.

 4    But, again, this is the data from the link that your

 5    counsel provided to me last night; and is that what it

 6    appears to be to you as well?

 7          A.    Yes.

 8          Q.    Okay.    I think you already said that, but I

 9    just wanted to make that clear.

10                      Since we’re here, I might as well ask you

11    the questions I have on this document.          What information

12    can I glean about what the purpose of these funds was

13    from Exhibit 8?

14                      MS. BRANCH:   Objection, vague.

15                      You may answer the question.

16          A.    You can learn how much money we transferred to

17    the Texas Democratic Party and on what dates.

18          Q.    (BY MR. HILTON)     Can I learn what the funds

19    were for?

20          A.    No.

21          Q.    I can’t learn which activities they supported?

22                      MS. BRANCH:   Objection.

23          A.    No.

24          Q     (BY MR. HILTON)     Is there another document

25    that I could refer to that would allow me to determine

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 532
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              543 of -
                                                                     7974/28/2020

                                                                              47
 1    what these fund transfers were used for?

 2          A.    No.

 3          Q.    So no document exists that would allow me to

 4    determine what any of these fund transfers were used for

 5    in the possession of DCCC?

 6          A.    I mean, our internal budgets and plans may

 7    share information -- or have information related to

 8    these transfers.

 9          Q.    And were those documents produced?

10                      MS. BRANCH:   Objection.     This is

11    attorney-client privilege, and you’re asking questions

12    that call for information protected by the First

13    Amendment privilege.

14          Q.    (BY MR. HILTON)     I’m not intending to call for

15    privileged information.       I just want to understand if

16    the documents that you were just referring to,

17    Ms. Newman, were included in the production which I’ve

18    marked as Exhibit 4 to this deposition, Bates Number

19    DCCC 1 through 805.

20                      MS. BRANCH:   And I think those documents

21    were privileged.      So whatever she’s referring to, that

22    would be the reason why they were not produced.

23                      MR. HILTON:   Ms. Branch, I’m sorry.       I’d

24    like to hear the answer from the witness.

25          Q.    (BY MR. HILTON)     Ms. Newman, were those

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              544 of -
                                                                     7974/28/2020

                                                                             48
 1    documents that you were just referring to included in

 2    Bates Number DCCC 1 through 805?

 3           A.   I’m not sure.

 4           Q.   Well, you have those documents in front of

 5    you.    If you want to look through that and see if

 6    they’re in there, you can do that.

 7           A.   Oh, sorry.    They are not in Exhibit 4.

 8           Q.   Okay.    So those documents that would show me

 9    what activities these funds were spent on, those have

10    not been produced?

11           A.   That’s my understanding.

12           Q.   Okay.    And, again, I want you to be sure.        You

13    have all the documents that were produced in front of

14    you.    So I would kind of like a definitive answer to

15    that.

16                     MS. BRANCH:    Objection, asked and

17    answered.

18           A.   I don’t believe that they are included in that

19    document.    They are strategic information and documents

20    related to our work.

21           Q    (BY MR. HILTON)     Okay.    So they were not

22    produced?

23           A.   Right.

24           Q.   All right.    I think we are done with

25    Exhibit 8.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              545 of -
                                                                     7974/28/2020

                                                                             49
 1                     Can we turn back to Exhibit 6, which is

 2    where I think this digression started?          Do you still

 3    have that in front of you, Ms. Newman?

 4          A.    Yes, I do.

 5          Q.    Had you seen Exhibit -- when was the last time

 6    you’ve seen Exhibit 6, or have you seen Exhibit 6

 7    before?

 8          A.    Yes.    It’s probably been several months since

 9    I’ve seen this.

10          Q.    Okay.    So you didn’t review it to prepare for

11    the deposition?

12          A.    I did not.

13          Q.    And it has a list of what I’ll refer to as

14    affiliated committees/organizations.         And each of those

15    appear to have an affiliated relationship code that

16    describes them as a joint fundraising representative.

17    Do I have that about right?

18          A.    Yes.

19          Q.    And so can you explain to me what an

20    affiliated relationship code is and what a joint

21    fundraising representative is?

22          A.    Again, I don’t file these reports.         So I’m not

23    deeply familiar, but I believe an affiliated

24    relationship code is an FEC term to qualify the

25    relationship here.      And a joint -- and these are all

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              546 of -
                                                                     7974/28/2020

                                                                             50
 1    committees that we have joint fundraising committees

 2    with.

 3          Q.     Is that what joint fundraising representative

 4    means?     It means you do joint fundraising activities?

 5          A.     Yes.

 6          Q.     Which of these listed groups relates to

 7    activities in Texas?

 8          A.     The Blue Texas Fund is related to Texas.         It

 9    is possible the New Wave Women’s Fund -- I believe that

10    also has a Texas connection.

11          Q.     Any others?

12          A.     I believe that’s it.     There’s also a chance

13    the Red to Blue Victory Fund may have a connection to

14    Texas, but I’m not aware of that at this time.

15          Q.     Okay.   So sitting here today, you don’t know

16    for sure whether Red to Blue Victory Fund has a Texas

17    connection?

18          A.     Correct.

19          Q.     But Blue Texas Fund, I assume, does.        And New

20    Wave Women, you also think has a Texas connection.            Do I

21    have that about right?

22          A.     Yes.

23          Q.     Okay.   Let’s start with Blue Texas Fund.        What

24    is it?

25          A.     This is a joint fundraising agreement with

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 536
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              547 of -
                                                                     7974/28/2020

                                                                             51
 1    campaigns in Texas.

 2          Q.    Any campaigns in particular?

 3          A.    I believe the Fletcher campaign in Texas 7 and

 4    the Allred campaign in Texas 32.

 5          Q.    Any others?

 6          A.    I would need to confirm.

 7          Q.    Do you know if that information is reflected

 8    in any of the documents that were produced to us?

 9          A.    Yes, I believe it is.

10          Q.    All right.    I think -- I think that we will

11    get there later.     So I think we can leave that for now.

12                     But what activities does the Blue Texas

13    Fund engage in specifically?

14          A.    Fundraising.

15          Q.    And how is that conducted?

16          A.    I’m sorry.    Could you repeat the question?

17          Q.    You said Blue Texas Fund, the only activity

18    you said was fundraising; is that right?

19          A.    Yes.

20          Q.    Okay.   No other purpose for Blue Texas Fund?

21    Nothing else that it does?

22          A.    Correct.

23          Q.    And so how does Blue Texas Fund go about its

24    fundraising activities?

25                     MS. BRANCH:    And I’m just going to object

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              548 of -
                                                                     7974/28/2020

                                                                             52
 1    to the extent that this calls for a legal conclusion

 2    based on how joint fundraising works.

 3                      But you may answer to the extent that you

 4    know.

 5          A.    It’s mostly a direct mail fundraising

 6    campaign.

 7          Q     (BY MR. HILTON)     So sending mail solicitations

 8    to people for donations?

 9          A.    Yes.

10          Q.    And you said "mostly."       Are you aware of any

11    other fundraising activities that the Blue Texas Fund

12    engages in?

13          A.    No.    I believe it’s direct mail.

14          Q.    And what’s DCCC’s involvement in those

15    activities?

16          A.    We help facilitate the direct mail, the copy,

17    getting it out.

18          Q.    I don’t think I understand what you mean by

19    facilitate and help getting it out.         Can you describe

20    that a little more specifically?

21          A.    Sure.

22                      MS. BRANCH:   I’m going to object to the

23    extent that is calls for information privileged by the

24    First Amendment.

25                      You may answer at a high level.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              549 of -
                                                                     7974/28/2020

                                                                             53
 1                     THE WITNESS:    Sure.

 2          A.    We -- we work with, you know, whoever else is

 3    in the fund and work on the creative printing and direct

 4    mailing of the mail solicitations.

 5          Q.    (BY MR. HILTON)     And when you say "work on,"

 6    do you mean -- does that just mean you’re providing

 7    funds; or do you also provide actual, you know,

 8    manpower, labor?

 9          A.    Actual manpower.

10          Q.    I’m sorry.    Go ahead.

11          A.    Oh, no.

12          Q.    And you said you worked with whoever else is

13    in the fund.     Is that the two campaigns you referred to

14    earlier?

15          A.    Yes.

16          Q.    And then whoever else you can’t recall, but

17    it’s in the documents?

18          A.    Yes.

19          Q.    And the direct mail Blue Texas Fund engages

20    in, is that purely a solicitation for donations; or is

21    there anything else that these, you know, mailers are

22    trying to accomplish?

23          A.    It’s just for fundraising.

24          Q.    Okay.   Does Blue Texas Fund engage in any

25    voter registration efforts?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              550 of -
                                                                     7974/28/2020

                                                                             54
 1          A.    No.

 2          Q.    And how about New Wave Women, what is -- you

 3    know, what is that?

 4          A.    It’s very similar to the Blue Texas Fund

 5    except it is a joint fundraising agreement highlighting

 6    our frontline women candidates.

 7          Q.    And who is that fundraising agreement with?

 8    Is it also with campaigns in Texas?

 9          A.    Again, I would need to check on who that

10    agreement is with.      I believe it’s broader than Texas.

11          Q.    Understood.    You did say that earlier.        You’re

12    right.

13                      Do you know who the participants from

14    Texas in the New Wave Women group are?

15          A.    Again, I would need to check.

16          Q.    Is that in the document that was produced?

17          A.    If it is related to Texas, I think it would be

18    in the production.

19          Q.    I’m going to pull up a document that I had

20    prepared to talk about with you, and I want to see if

21    this is going to show me the information that we’re kind

22    of circling around here.       So I’m going to send it out

23    again through the group chat.        This is a portion of

24    Exhibit 4, which is the document production that was

25    given to us.      This is a file labeled DCCC 661.       That’s

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              551 of -
                                                                     7974/28/2020

                                                                             55
 1    the beginning Bates number.        It’s a two-page document.

 2    Let me know when you have that in front of you.

 3          A.     Okay.   I have it open.

 4          Q.     What is this document?

 5          A.     This is a release of our House Majority

 6    Battlefield and the first twelve candidates named to the

 7    DCCC’s Red to Blue program.

 8          Q.     Does this document show the participants in

 9    the Blue Texas Fund or New Wave Women?

10          A.     No, it does not.

11          Q.     Okay.   Well, maybe let’s do this, because I

12    would like to know who in Texas is involved with those

13    funds.     I’d like to understand the relationships that

14    DCCC has with affiliates who work in Texas.           And so

15    maybe the next time that we take a break would be an

16    appropriate time for you to look through Exhibit 4 and

17    find those documents that you’re referring to.

18          A.     Okay.

19                     MS. BRANCH:    Yes, I think we did produce

20    information on the Blue Texas Fund.         So we can pull up

21    those documents after the break for sure.

22                     MR. HILTON:    Yeah.    Let’s -- if that’s

23    all right with y’all, let’s just do that on the next

24    break.     I’m going to make a note real quick to come back

25    to that.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 541
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              552 of -
                                                                     7974/28/2020

                                                                             56
 1          Q.    (BY MR. HILTON)     And, Ms. Newman, if you

 2    happen to, you know, as we’re going through other

 3    stuff -- if you happen to come across these documents as

 4    we’re going through stuff, you know, holler at me; and

 5    we can take care of it right then so we don’t have to

 6    come back to it.

 7          A.    Will do.

 8          Q.    I think that’s all I have for Exhibit 6.

 9                     I’m going to move now to Exhibit 7.

10                     (Exhibit 7 discussed.)

11          Q     (BY MR. HILTON)     I’ve just sent it out via

12    Zoom chat.    I gave this a file name that I thought it

13    was, but I actually really don’t know what I’m looking

14    at here.    So please let me know once you have this in

15    front of you.      And once you do, if you know, if you

16    could, tell me what is that we’re looking at here.

17          A.    Sure.    This appears to be the summary page for

18    an amended year-end report from the DCCC.

19          Q.    And are you familiar with these year-end

20    reports?

21          A.    Yes.

22          Q.    Did you review any year-end reports in

23    preparation for your deposition?

24          A.    I did not.

25          Q.    What is your familiarity with these reports?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 542
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              553 of -
                                                                     7974/28/2020

                                                                             57
 1    Is it similar to the first one we looked at where it

 2    just comes up in the course of your work?

 3           A.     Yes, it is.

 4           Q.     And I don’t mean to speak for you, but any

 5    other differences compared to what we looked at before?

 6    Anything else I should know about your familiarity with

 7    this report?

 8           A.     No.    I mean, we talked about it from a high

 9    level; but I do not review the reports.

10           Q.     Got it.    And you said this is just a summary

11    page.    Do you know what other information is included

12    with these forms, these reports?

13           A.     Yes.    So this is the summary, the overview of

14    mostly cash on hand, total money in, and total money

15    out.    And then on the FEC website itself, you would be

16    able to click through these filings and see all of the

17    receipts and disbursements itemized.         And at least with

18    the disbursements, that also shows, like, the vendor and

19    a purpose.

20           Q.     So on page 1 of Exhibit 7, there are some

21    links there.        It says, "Summary Page, Detailed Summary

22    Page."      And then describes Schedule A, B, and D filings.

23    Are those the attachments to the schedules that you’re

24    referring to?

25           A.     Yes.

                   Integrity Legal Support Solutions
                        www.integrity-texas.com               APPENDIX 543
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              554 of -
                                                                     7974/28/2020

                                                                             58
 1          Q.     And I did not include those in Exhibit 7.

 2    That’s not my normal practice; but when I tried to

 3    download them all, it was something like almost 50,000

 4    pages.     So I don’t intend to go through 50,000 pages

 5    with you today; but, you know, what I’m -- I’m hoping

 6    maybe you can tell me if I were to look at the itemized

 7    disbursements in Schedule B, you mentioned that it

 8    included the description of the purpose for the

 9    disbursement.       Did I hear you correctly?

10          A.     Yes.

11          Q.     And what -- can you give me an example of what

12    that might look like?

13          A.     Yes.    So for all the disbursements, it usually

14    shows who the expense is disbursed to, what the vendor

15    name is, the date of the disbursement; and then there is

16    an amount related to that expense, as well as a

17    description for the expense itself.

18          Q.     Well, what kind of information will be

19    contained in the description field or maybe --

20                     MS. BRANCH:    I’m going to object on the

21    basis that this is all public, and the documents speak

22    for themselves.

23                     You may answer to the extent that you can

24    describe this.

25          A.     Sure.    I mean, it depends on the expense; but

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 544
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              555 of -
                                                                     7974/28/2020

                                                                             59
 1    it’s usually a general descriptor.         So if it’s office

 2    space, it might say "rent."        If it’s, you know,

 3    staples.com, it would say "office supplies."

 4           Q.   (BY MR. HILTON)     But -- okay.     That’s helpful.

 5    That’s what I assumed that it was going to be, kind of a

 6    high level of detail; and that’s what it sounds like

 7    you’re describing.      It sounds like if I look at those

 8    Schedule B filings, it will not tell me, you know,

 9    "Funds spent in Bexar County related to voter

10    registration efforts in Precinct 3"?         It won’t be that

11    level of detail; is that right?

12                     MS. BRANCH:    Objection, public

13    information.     The document speaks for itself.

14                     You may answer.

15           A.   Yes, I would agree with that.

16           Q    (BY MR. HILTON)     Okay.    I’d like to focus

17    on -- turn back to Exhibit 7.        I’d like to focus on

18    page 2 in the disbursements section.

19           A.   Yes.

20           Q.   What I was hoping you could do for me is

21    explain to me what each of these types of disbursements

22    are.    It sounds like, you know, dealing with these

23    filings and putting them together is not your primary

24    job duty.    So, you know, to the extent that you can, if

25    you have an understanding of any of these categories,

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 545
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              556 of -
                                                                     7974/28/2020

                                                                             60
 1    I’d like to know what your understanding is.

 2                     MS. BRANCH:    And I’m just going to object

 3    to the extent that this calls for a legal conclusion

 4    since some of these are legal terms.

 5                     Jacqui, you may answer.

 6                     MR. HILTON:    And, again, I think it’s

 7    going to go smoother if you could just limit the

 8    speaking objections.      I’d appreciate it.

 9          A.    Yeah, I’m happy to share my non-expert opinion

10    on these.    So each line item the FEC calls for relates

11    to a slightly different kind of expenditure.           Line 21 is

12    our operating expenditures; 22 are transfers to

13    affiliated or other party committees.          So, actually,

14    what you see in Column A, the 45,360 number, that is

15    money that we transferred to Texas at the end of the

16    year, to the Texas Democratic Party.         And any money we

17    transfer to party committees would show up on that line

18    item.   Twenty-three is contributions to federal

19    candidates or other party -- or other political --

20          Q.    (BY MR. HILTON)     I’m sorry.     I had a question

21    for you on 22 there.

22          A.    Sure.

23          Q.    I’m looking at Column A.       It’s 45,360.     You

24    said that represented funds transferred to the Texas

25    Democratic Party?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 546
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              557 of -
                                                                     7974/28/2020

                                                                             61
 1          A.    Yes.

 2          Q.    And how do you know that?

 3          A.    Well, it’s -- usually, we don’t transfer a lot

 4    of money in the off year.       And so I’m aware that we had

 5    transferred money to Texas in December, and I also came

 6    across that again in preparation for that -- for this

 7    deposition.

 8          Q.    Okay.   And so there are two columns here.         One

 9    of them says, "Column A, This Period."          And that’s where

10    the 45,360 appears.      There’s also Column B that says,

11    "Calendar Year."     And that number’s quite a bit higher,

12    885,821.16.    Do you see that?

13          A.    Yes.

14          Q.    What’s the difference between those two

15    numbers?

16          A.    Column B refers to amounts that were filed in

17    previous reports.      So it’s the total amount that we

18    transferred that calendar -- in 2019.          And we had

19    transferred the 45,360, I believe, in December, which

20    was the report filing in question for this time.

21          Q.    Oh, okay.    So this is -- what I’ve given you,

22    I think, is the second amended year-end report.            I

23    guess -- tell me if I have this correctly -- Column B

24    would be the total of transfers to affiliated or other

25    party committees that appear on all of the year-end

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 547
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              558 of -
                                                                     7974/28/2020

                                                                             62
 1    reports then?

 2          A.     Yes.    It’s the total we transferred to other

 3    party committees in the year 2019.

 4          Q.     Okay.    Okay.   And you just happen to know that

 5    this 45,360 was the Texas Democratic Party because of

 6    the timing, and you just happen to know?

 7                       MS. BRANCH:   Objection.    This is all

 8    public.

 9          A.     Yes.    And in Exhibit 8 that you shared

10    earlier, you can see that transfer as well.

11          Q.     (BY MR. HILTON)     Okay.   Great.   That’s

12    helpful.

13                       But I wouldn’t be able to tell that from

14    the face of Exhibit 7?

15          A.     No.

16                       MS. BRANCH:   Objection.    Vague.

17          Q      (BY MR. HILTON)     Let’s go down to -- all

18    right.     Well, let’s -- sorry to interrupt you again

19    there; but that was helpful to help me understand the

20    difference between Column A and Column B here.

21                       Can you -- I guess we were on Line 23

22    then; and maybe you could pick back up with, you know,

23    explaining to me what these -- your categories of

24    disbursement are.

25          A.     So Line 23 is contributions to federal

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              559 of -
                                                                     7974/28/2020

                                                                             63
 1    candidates or other political committees.

 2                     Twenty-four would show any disbursements

 3    we made that are considered to be independent

 4    expenditures.

 5          Q.    And what does that mean?

 6          A.    An independent expenditure is an expenditure

 7    that’s made kind of without any coordination.           So those

 8    are expenses that would not be working directly with a

 9    campaign or another party.

10          Q.    Could it be an expenditure related to a

11    campaign?

12          A.    Yes.

13                     MS. BRANCH:    Objection to the extent

14    these questions call for legal conclusions.

15                     But, Jacqui, you may answer based on your

16    knowledge.

17          Q     (BY MR. HILTON)     So if you -- this is a

18    hypothetical example; I don’t know whether it’s

19    happened -- but if DCCC wanted to run ads in support of,

20    you know, Wendy Davis in her campaign and didn’t

21    coordinate with that campaign prior to running the ads,

22    just kind of did it on its own, would that be an

23    independent expenditure?

24                     MS. BRANCH:    Objection to the extent that

25    this calls for a legal conclusion.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 549
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              560 of -
                                                                     7974/28/2020

                                                                             64
 1                     But you may answer.

 2          A.    In a very simple view, yes.        It’s a little bit

 3    more complicated than that because it requires us to

 4    meet certain standards to prove that we haven’t

 5    coordinated with the campaign.        We’re not using any

 6    campaign information.

 7          Q     (BY MR. HILTON)     Yeah, understood.      When

 8    lawyers are involved, it’s never going to be that

 9    simple.    So I get that.     But that’s helpful to help me

10    kind of understand what we’re looking at.

11                     All right.    So that was 24, independent

12    expenditures.      How about 25?

13          A.    This is coordinated expenditures made by a

14    party committee, so that’s almost the opposite of an

15    independent expenditure.

16          Q.    Sure.

17          A.    Twenty-six is loan repayments made.

18    Twenty-seven is --

19          Q.    Is that 16 million on loan repayments made?

20          A.    Yes.

21          Q.    And what was that payment?

22                     MS. BRANCH:    Objection to the extent that

23    this calls for information privileged by the First

24    Amendment.

25                     But if you can answer that without

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              561 of -
                                                                     7974/28/2020

                                                                             65
 1    revealing strategic information, you may do so.

 2          A.    As you can see in the publicly available

 3    findings -- or filings, the DCCC took a line of credit

 4    for $16 million.

 5          Q.    From who?

 6          A.    Bank of America.

 7          Q.    And what were those funds used for?

 8                     MS. BRANCH:    Objection, same one.

 9                     You can answer at a high level.

10          A.    Our expenditures.

11          Q     (BY MR. HILTON)     Which expenditures?

12          A.    Just generally.

13          Q.    Can you give me an example?

14          A.    Well, this loan was taken in the 2018 cycle,

15    so it was for expenditures that occurred in 2018.

16          Q.    So, like what?

17                     MS. BRANCH:    Objection to the extent that

18    this calls for strategic information.          I don’t know the

19    relevance.    Is there a specific relation to this case on

20    this question?

21                     MR. HILTON:    I would like to know an

22    example of what this money was spent on in the 2018

23    campaign.

24                     MS. BRANCH:    Okay.    I think the fact that

25    they took out a loan is public, but I instruct the

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 551
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              562 of -
                                                                     7974/28/2020

                                                                             66
 1    witness not to answer specific information about what

 2    the loan was used for.

 3                     MR. HILTON:    On what basis?

 4                     MS. BRANCH:    The First Amendment.

 5                     MR. HILTON:    I’m not asking for any

 6    strategic information.

 7                     MS. BRANCH:    I think you can answer at a

 8    high level, Jacqui.

 9                     I think she’s already done that, but...

10          Q     (BY MR. HILTON)     I just want to know an

11    example of an expenditure that came from the $16 million

12    during the 2018 campaign.

13          A.    Yeah, we -- I definitely can’t point to, like,

14    "This expense was paid for by this loan."          It’s kind of

15    all of our activities and expenditures grouped together.

16          Q.    I don’t understand.

17                     MS. BRANCH:    Is there a question?

18          Q.    (BY MR. HILTON)     Can you please elaborate on

19    your answer because I don’t understand?

20          A.    I would just say the loan generally applied to

21    our activities in the 2018 cycle.

22          Q.    So --

23          A.    There’s not a specific expense.

24          Q.    So it was a 16-million-dollar line of credit,

25    you said?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              563 of -
                                                                     7974/28/2020

                                                                             67
 1          A.    Yes.

 2          Q.    And my understanding of how lines of credit

 3    work -- maybe this one is different -- is that you have

 4    to make the decision to draw down on that line of

 5    credit, correct?

 6          A.    Yes.

 7          Q.    It’s not like Bank of America just handed you

 8    a check for $16 million; and it got thrown into a common

 9    account, correct?

10          A.    Correct.

11          Q.    Okay.   So can you give me an example of when

12    the DCCC -- let’s do it this way:         How about an example

13    from an expenditure that was made in Texas from this

14    line of credit?

15                     MS. BRANCH:    Again, same objection on the

16    First Amendment.

17                     But, Jacqui, you can talk about the 2018

18    spending in Texas at a high level.

19          A.    Sure.   Well, we, the DCCC, invested over

20    $6.7 million in Texas in the 2018 cycle.          Again, I can’t

21    point to any expense that this loan went directly to

22    fund other than to say it allowed us to complete all of

23    our activities in 2018.

24          Q.    (BY MR. HILTON)     Who would know how this line

25    of credit was used?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 553
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              564 of -
                                                                     7974/28/2020

                                                                             68
 1                     MS. BRANCH:    Objection, First Amendment.

 2                     Do not answer is my instruction.

 3          Q.     (BY MR. HILTON)    Are you going to abide by

 4    that instruction?

 5          A.     Yes, I am.

 6          Q.     You mentioned DCCC has a CFO?

 7          A.     Yes.

 8          Q.     What’s that person’s name?

 9                     MS. BRANCH:    Objection, First Amendment.

10    This is -- some of this is public information, but I’m

11    just not sure what the purpose of this line of

12    questioning is.

13                     MR. HILTON:    Ms. Branch, please limit

14    your speaking objections.

15          Q.     (BY MR. HILTON)    I would like to know the name

16    of the CFO of the DCCC.

17          A.     Jackie Forte-Mackay.

18          Q.     Would she know how this expenditure was used,

19    how this line of credit was used?

20                     MS. BRANCH:    Objection, First Amendment.

21    Vague.     I’m going to instruct the witness not to answer.

22    Again, the strategic decisionmaking of the DCCC and use

23    of that loan is protected by the First Amendment; and

24    the witness is not going to answer further questions on

25    that.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 554
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              565 of -
                                                                     7974/28/2020

                                                                             69
 1                     So we can keep objecting and you can take

 2    offense to my speaking objections, but I’m going to put

 3    that on the record and I want that to be clear.            I also

 4    want to make clear on the record that your tone earlier

 5    with respect to my objection and then cutting me off has

 6    been hostile.     So I want that to be reflected.

 7                     But, again, I’m going to continue to make

 8    that objection; and we can kind of do that all day.            I

 9    don’t think it’s directly relevant to the DCCC’s

10    standing, but we can proceed.

11                     MR. HILTON:    Well, I disagree with your

12    characterization of my tone; and I disagree that this

13    information is privileged.

14          Q.    (BY MR. HILTON)     Ms. Newman, are you going to

15    follow your counsel’s instructions not to answer?

16          A.    I am.

17          Q.    Okay.

18                     MR. HILTON:    And, Ms. Branch, again, I’m

19    not offended by your speaking objections; but they’re

20    not permissible under the rules.         And so I’d just ask

21    you to limit them.

22                     MS. BRANCH:    I’m trying to limit them as

23    much as possible, and I understand.         I don’t want to

24    testify.    Jacqui’s here to testify.

25                     MR. HILTON:    Thank you.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              566 of -
                                                                     7974/28/2020

                                                                              70
 1          Q      (BY MR. HILTON)     How much money did you say

 2    was spent in Texas in the 2018 election cycle?

 3          A.     Over 6.7 million.

 4          Q.     Is that reflected on Exhibit 7?

 5          A.     No.    No, because Exhibit 7 is showing our 2019

 6    year-end report.

 7          Q.     If we were to look at the same form for 2018,

 8    the year-end, you know, report, would that show the

 9    expenditures in Texas?

10                       MS. BRANCH:   Objection.    Public.

11                       But you can answer to the extent that you

12    know.     It’s all published information.

13          A.     It would show all of the money that we

14    transferred to State Party committees and other

15    expenditures made at a general level.

16          Q.     (BY MR. HILTON)     Would I have to look at the

17    Schedule B to that 2018 year-end report to find the

18    disbursements related to Texas?

19          A.     Yes, and you would have to look at all of the

20    reports, probably.

21          Q.     Okay.    Did you look at any of those reports in

22    preparation for your deposition?

23          A.     I did not.

24          Q.     And I’m so sorry.     This is like the fourth

25    time I’ve asked you:       What was that number, again, that

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              567 of -
                                                                     7974/28/2020

                                                                             71
 1    was spent in the 2018 election cycle in Texas?

 2                     MS. BRANCH:    Objection, asked and

 3    answered.

 4                     You may answer.

 5           A.   It was over 6.7 million.

 6           Q.   (BY MR. HILTON)     And what was that money used

 7    for?

 8           A.   It was used for persuasion and mobilization of

 9    voters in support of our campaigns in Texas.

10           Q.   Voter persuasion and mobilization of

11    campaigns?

12                     MS. BRANCH:    Objection, mischaracterizes

13    the testimony.

14                     You may answer.

15           Q.   (BY MR. HILTON)     Voter persuasion and

16    mobilization of voters?

17           A.   Yes.

18           Q.   Is that what you said?

19           A.   Yes.

20           Q.   Is that what you said?       I just didn’t hear it.

21           A.   Yes.

22           Q.   Anything else that it was used for?

23           A.   I think that encompasses a lot of activities,

24    but...

25           Q.   Are there any other types of activities that

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                       www.integrity-texas.com                APPENDIX 557
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              568 of -
                                                                     7974/28/2020

                                                                             72
 1    that doesn’t encompass?

 2                     MS. BRANCH:    Objection, vague.

 3                     You may answer.

 4          A.    You know, again, I think everything is --

 5    everything we do is to an end of mobilizing and

 6    persuading voters.

 7          Q     (BY MR. HILTON)     I’m going to ask you to pull

 8    up Exhibit 1, which was sent out earlier.          It’s the

 9    Deposition Notice, and I’d like to turn to page 5 of the

10    Notice.

11          A.    Okay.

12          Q.    And I’m looking at Topic 4, section --

13    subsection (b).     And starting with the year 2014, what

14    were the total funds spent on voter persuasion efforts

15    in Texas during the year 2014?

16          A.    So I looked into our spending in the past

17    cycles and I can share with you what we’ve spent in

18    Texas, but this doesn’t necessarily align with how we

19    track or know our spending.

20          Q.    How do you track your spending?

21          A.    It’s more general than this because, again,

22    we’re kind of thinking of everything in terms of

23    everything is a voter persuasion effort or GOTV effort.

24          Q.    So the entirety of the 6.8 million, or

25    whatever the number was that you spent in Texas in 2018,

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              569 of -
                                                                     7974/28/2020

                                                                             73
 1    for example, that was all spent on voter persuasion and

 2    Get Out the Vote?

 3          A.    Yes.

 4          Q.    What about voter registration efforts, can you

 5    break that out?

 6          A.    For past cycles I cannot.

 7          Q.    That relates to 2014 through 2019, I suppose?

 8          A.    Through 2018.     I can speak to our voter

 9    registration efforts this cycle.

10          Q.    Well, let’s leave this cycle aside for a

11    second; and let’s stick on the past ones then.           So what

12    were the total funds spent on all activities in Texas in

13    the year 2014?

14          A.    It was just over $3.1 million.

15          Q.    And that was all spent on voter persuasion and

16    Get-Out-the-Vote efforts?

17          A.    Yes.

18          Q.    And you can’t tell me what portion was spent

19    on voter registration efforts?

20          A.    Correct.

21                     MS. BRANCH:    Objection.     She’s asked and

22    answered.    To the extent that these questions call for

23    strategic information, I’m going to object on the basis

24    of the First Amendment.

25                     But you may answer at a high level.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              570 of -
                                                                     7974/28/2020

                                                                             74
 1          Q.    (BY MR. HILTON)     Are there any activities

 2    other than voter persuasion, Get Out the Vote, or voter

 3    registration activities on which DCCC spent money in

 4    2014?

 5          A.    In Texas?

 6          Q.    In Texas.

 7          A.    Not to my knowledge.

 8          Q.    How about the year 2015, what was the total

 9    amount of funds spent on all activities in Texas?

10                     MS. BRANCH:    Same objection.

11                     But you may answer at a high level.

12                     First Amendment.

13                     MR. HILTON:    I’m sorry.     What’s the

14    objection?

15                     MS. BRANCH:    First Amendment.

16                     You may answer at a high level.

17                     I think the witness --

18          Q.    (BY MR. HILTON)     The question is the total

19    funds spent on all activities in Texas in the year 2015.

20          A.    So we -- and I apologize if I didn’t mention

21    this earlier.     We look at all of our spending on a

22    cyclical basis.     So the years 2015 and 2016 would be

23    grouped together.      So I don’t know exactly how much we

24    spent in 2015.     I would actually guess it’s little to

25    nothing, just because it’s the off year; and most of our

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              571 of -
                                                                     7974/28/2020

                                                                             75
 1    spending is in the on year.        But I can tell you in 2016

 2    the DCCC spent just over $6 million in Texas.

 3          Q.     And you did mention the two-year cyclical

 4    nature earlier, and now it’s starting to make a little

 5    more sense.     What kind of activities and expenditures do

 6    occur in the off year?

 7                     MS. BRANCH:    Objection to the extent it

 8    calls for First Amendment privileged information.

 9                     You may answer at a high level.

10          A.     It’s generally limited; but if coordinated

11    campaigns are beginning to get set up, there might be

12    Coordinated Campaign expenses we’re transferring to the

13    Party.     Voter registration may begin in an off year.

14    That is usually it.      The bulk of our spending takes

15    place in the on year, usually, as we get closer in to

16    the election.

17          Q.     (BY MR. HILTON)    Are you withholding

18    information in your answer based on your instruction

19    from counsel?

20                     MS. BRANCH:    Objection.

21                     You may answer.

22                     MR. HILTON:    What’s the basis?

23                     MS. BRANCH:    Attorney-client privilege.

24    I mean, she answered on the record.         You asked her

25    earlier.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              572 of -
                                                                     7974/28/2020

                                                                             76
 1          Q.    (BY MR. HILTON)     Let me explain my question a

 2    little more.     Your counsel instructed you -- objected on

 3    the basis of a First Amendment privilege and stated that

 4    you could answer to the extent it doesn’t reveal

 5    privileged information and that you could answer at a

 6    high level.

 7                     MR. HILTON:    Is that a fair

 8    characterization of your objection, Ms. Branch?

 9                     MS. BRANCH:    It is.

10          Q.    (BY MR. HILTON)     Okay.    You heard that

11    objection, Ms. Newman?

12          A.    I did.

13          Q.    And did your answer change on the basis of

14    that objection?

15          A.    It did not.

16          Q.    So you would have given me the same answer

17    regardless of whether your counsel objected?

18          A.    Yes.

19          Q.    Okay.    That’s all I’m asking.      I just want to

20    know if there actually is something being withheld when

21    your counsel makes these objections, or not.           So that’s

22    all I was trying to ask.       Thank you for clarifying that.

23                     All right.    So let’s go back to the

24    questions from the topics, and we’re dealing with this

25    is in the two-year cycles; that’s how y’all account for

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              573 of -
                                                                     7974/28/2020

                                                                             77
 1    it.   And so in the 2016 election cycle, you spent just

 2    over 6 million on all activities in Texas.           Do I

 3    remember that correctly?

 4          A.    Yes, that’s correct.

 5          Q.    What was the total amount spent on voter

 6    persuasion efforts in that election cycle?

 7          A.    Similar to what I said before.        It is all kind

 8    of part of the same bucket of voter persuasion/GOTV

 9    efforts.

10          Q.    And how much was spent on voter registration

11    efforts?

12          A.    I can’t speak to that.

13          Q.    Is that because you don’t know?

14          A.    Yes.

15          Q.    And that’s because DCCC doesn’t track that

16    information?

17          A.    Yes, it has not been tracked like this in the

18    past.

19          Q.    Are there any other, you know, broad

20    categories or buckets of activities other than voter

21    persuasion, Get Out the Vote, and voter registration

22    efforts on which DCCC spent money in the 2016 election

23    cycle?

24          A.    Spent money in general or spent money in

25    Texas?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              574 of -
                                                                     7974/28/2020

                                                                             78
 1          Q.    I’m sorry.    In Texas.

 2          A.    No, it’s just this.

 3          Q.    Okay.   How about the 2018 election cycle?         So

 4    I understand that to mean from the -- you know, the

 5    presidential election in 2016 to the presidential

 6    election in or -- I’m sorry -- for the federal election,

 7    the congressional election in 2016, to the congressional

 8    election in 2018.      That’s how I’m thinking of the

 9    two-year cycle.     Is that how y’all measure it as well?

10          A.    Yeah, more or less.      I mean, we kind of

11    started at January 1st.

12          Q.    Okay.   So it would be -- it’s really the

13    calendar years 2017 and 2018?

14          A.    Yeah.

15          Q.    Okay.   So for that period, 2017 to 2018, or

16    the 2018 election cycle, what was the total amount spent

17    on all activities in Texas?

18          A.    It was over $6.7 million.

19          Q.    And how much of that was spent on voter

20    persuasion efforts?

21          A.    Again, it’s -- that 6.7 covers all of our

22    voter persuasion and GOTV efforts in the 2018 cycle.

23          Q.    And how much of that just over 6.7 million, I

24    think you said, was spent on voter registration efforts?

25          A.    I don’t know.

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                       www.integrity-texas.com                APPENDIX 564
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              575 of -
                                                                     7974/28/2020

                                                                             79
 1          Q.    And that’s because DCCC doesn’t have that

 2    information?

 3          A.    Yeah.    And I’m not being deliberately vague

 4    here.   It’s most likely -- you know, we kind of see it

 5    all as one bucket of money that is going towards this

 6    cause; and we are, as mentioned before, transferring

 7    money to the Texas Democratic Party for the Coordinated

 8    Campaign where a lot of those voter registration efforts

 9    are taking place.

10          Q.    And I’m not making a judgment as to whether

11    you should or should not have this information or how

12    you track it.     I understand, you know, how y’all view

13    it.   It seems like it’s all one bucket of activity that

14    goes towards electing Democrats for the House, right?

15                     MS. BRANCH:    Objection, mischaracterizes

16    the testimony.      I think you should let the witness

17    testify, so.

18          Q.    (BY MR. HILTON)     Is that a fair

19    characterization of your testimony?

20          A.    Yes, I think generally that’s it.

21          Q.    Okay.    So I think we’ve finished 2018.

22                     How about the current election cycle,

23    what’s the total amount that’s been spent so far in the

24    current election cycle?

25          A.    So, so far this cycle, we’ve spent -- and you

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              576 of -
                                                                     7974/28/2020

                                                                             80
 1    can see this in -- I think, it’s Exhibit 8, our

 2    transfers to the Texas Democratic Party.          We’ve

 3    transferred over $145,000 to the Texas Democratic Party.

 4    The DCCC has spent directly in Texas over $1.1 million,

 5    and I believe over $550,000 of that is directly related

 6    to voter registration in Texas.

 7          Q.    $550,000 of what has been spent so far is

 8    related to voter registration?

 9          A.    Yes.

10          Q.    And how do you know that?

11          A.    Because we have been working with the Texas

12    Democratic Party on voter registration, and we have --

13    directly, the DCCC has engaged in voter registration on

14    the ground.    And I believe there -- I believe we have

15    produced documents showing that commitment, but...

16          Q.    So I guess my question is:       In previous

17    election cycles, DCCC can’t separate out exactly what

18    was spent on voter registration; but for the current

19    election cycle, you can.       And I’m trying to understand

20    why that’s the case.

21          A.    Sure.   Well, I mean, one, I think there is a

22    large voter registration effort in Texas right now in

23    particular; and so it’s easy for us to identify that.

24    You know, as I mentioned earlier, we have a lot of

25    turnover each cycle; and so a lot of the people behind

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              577 of -
                                                                     7974/28/2020

                                                                             81
 1    spending decisions from past cycles aren’t here to speak

 2    to how we spent money in the past.         And, you know, I’ve

 3    directly been involved with some of these transactions

 4    and expenses, so I can speak to them.

 5          Q.    And how are you able to get such a precise

 6    number for this year’s expenditures on voter

 7    registration efforts?

 8          A.    On the voter registration efforts?

 9          Q.    Yes.

10          A.    Well, the 145K that we have transferred to the

11    Texas Democratic Party to date, that has all been to the

12    Coordinated Campaign to support voter registration and

13    then what we -- what I know we have spent on voter

14    registration.

15          Q.    Do you make any other transfers to any

16    other -- does DCCC make any other transfers to any other

17    groups for voter registration activities?

18          A.    To other state parties?

19          Q.    Any other groups in Texas.       I’m sorry.     And

20    I’m doing a poor job of clarifying that, so I appreciate

21    you noting that.     I’m trying to ask about activities in

22    Texas.

23          A.    To my knowledge, we have transferred the money

24    to the Texas Democratic Party’s Coordinated Campaign for

25    voter registration and, again, we have engaged a vendor

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              578 of -
                                                                     7974/28/2020

                                                                             82
 1    ourselves to do voter registration efforts on the ground

 2    in Texas.

 3          Q.    I think that was mentioned in your colleague’s

 4    Declaration, the vendor, if I remember that correctly.

 5    That’s Exhibit 3.

 6          A.    Yes.

 7          Q.    And it looks like that’s Paragraph 7 of the

 8    Declaration in Exhibit 3?

 9          A.    Yes.

10          Q.    Agreement for nearly $400,000 for a consultant

11    to provide voter registration services in Texas

12    Congressional District 23.       That’s what you’re referring

13    to?

14          A.    Yes.

15          Q.    And so what services is that consultant going

16    to provide?

17                     MS. BRANCH:    Objection to the extent that

18    this calls for strategic party information.

19                     You may answer at a high level.

20          A.    They help us go through our process of

21    training staff on the ground to try to learn how to

22    register people to vote in Texas.

23          Q.    (BY MR. HILTON)     And what does that training

24    look like?

25          A.    I am not very familiar on the details, but I

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              579 of -
                                                                     7974/28/2020

                                                                             83
 1    know that all -- anyone who is registering voters in

 2    Texas needs to be trained and deputized in order to do

 3    so.

 4          Q.    And who are the staff that you are training,

 5    like staff of whom?

 6          A.    So it depends, I think.       You know, we hired a

 7    consultant who ran some of these efforts that’s laid out

 8    in Exhibit 3.     In that case the consultant has employees

 9    who are helping this effort in Texas.

10                     We have -- with the money that we have

11    sent to the Texas Democratic Party, I believe at least

12    two people have been hired with the express purpose of

13    assisting voter registration efforts.

14                     And then we also have staff on the ground

15    who work directly for the DCCC whose roles involve a lot

16    of community engagement and help with voter

17    registration.

18          Q.    Do you know what -- so community engagement

19    and voter registration, are those two different things?

20          A.    I think so.    I think maybe community

21    engagement is an overarching bucket that could involve

22    voter registration.

23          Q.    What are the other types of buckets of

24    activities that your direct staff in Texas are engaging

25    in this cycle?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              580 of -
                                                                     7974/28/2020

                                                                             84
 1          A.    They’re organizing events.       They are meeting

 2    with our constituents in the districts.          They are

 3    following events of our challengers, as well, and

 4    reporting back to the team on what’s happening on the

 5    ground in Texas.

 6          Q.    Anything else?

 7          A.    I think that’s the bulk of it.

 8          Q.    Do you know what percentage of their time is

 9    devoted to voter registration efforts?

10          A.    I don’t.

11          Q.    Does anyone at DCCC?

12          A.    I think our field team would.        I also think it

13    probably shifts throughout the cycle.          You know, early

14    on, when there is time to register voters, that is a

15    bigger focus.     I also think that we would be doing a lot

16    of voter registration right now if we were not in the

17    current situation we are in, speaking from our homes.

18          Q.    Yeah.   Yeah, I can only imagine how much that

19    has kind of thrown a wrench in everything.           And so,

20    yeah.

21                     Well, let me ask you this:       Turning back

22    to Exhibit 3, Paragraph 6, the last sentence of that,

23    the second sentence of that paragraph, it says, "DCCC

24    uses voter registration not only to expand the pool of

25    individuals who are eligible to vote for Democratic

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              581 of -
                                                                     7974/28/2020

                                                                             85
 1    candidates but also to have important conversations with

 2    people about the importance of voting and important

 3    causes to the Democratic Party."         Did I read that

 4    correctly?

 5          A.    Yes.

 6          Q.    Can you explain what is meant by this?

 7          A.    Sure.   I think in the process of registering

 8    people to vote, people who are not currently registered

 9    or participating in the voting process, it allows you to

10    start a dialogue about why it’s important for people to

11    register and to show up and make a plan about voting on

12    Election Day, which is what getting out the vote is all

13    about.

14          Q.    And how about important causes to the

15    Democratic Party?      How does that piece of it play into

16    these voter registration efforts?

17          A.    I think that usually the important causes tie

18    back to what somebody’s motivation might be to vote.

19          Q.    How do all of these purposes get accomplished

20    when you’re engaging in efforts to register voters?

21          A.    I’m sorry.    Could you clarify the question?

22          Q.    Well, it seems to me there’s a few different

23    purposes to DCCC’s voter registration efforts, as

24    explained in Paragraph 6 of Exhibit 3.          And as you’re

25    explaining to me now, it’s to expand the pool of

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              582 of -
                                                                     7974/28/2020

                                                                             86
 1    individuals, to have important conversations with people

 2    about the importance of voting, and conversations about

 3    important causes to the Democratic Party.          I’m trying to

 4    understand how all of those purposes are accomplished.

 5    So how do the voter registration activities address all

 6    of those purposes?      What do you do to achieve those

 7    purposes in the context of your voter registration

 8    efforts?

 9          A.    I think that this is all part of one

10    conversation that naturally flows together where, you

11    know, it might look something like, "Hey, are you

12    registered to vote?      Would you like to register to vote?

13    And do you know there’s an election coming in November?

14    If you register to vote now, you can participate in that

15    or if there’s a primary coming up, you can participate

16    in that" and why it might be important to a voter to

17    participate in that election and register at this time.

18    I really think of it as all one conversation, not

19    necessarily three different or a few different goals.

20          Q.    Okay.   So this is -- all of these things are

21    part of every conversation with someone who you’re

22    trying to engage with; is that what you’re saying?

23          A.    Yes.

24          Q.    Okay.   That is helpful.      Thank you for

25    clarifying that.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              583 of -
                                                                     7974/28/2020

                                                                             87
 1                     Is there -- sorry.      I have a few

 2    follow-up questions on this, so I was trying to organize

 3    my thoughts.     How does DCCC track the success of these

 4    kinds of voter registration efforts?

 5                     MS. BRANCH:    Object to the extent this

 6    calls for strategic information.

 7                     But you may answer at a high level.

 8          A.    We certainly want to know how many voters

 9    we’ve registered.

10          Q     (BY MR. HILTON)     So number of voters who get

11    registered, how is that tracked?

12          A.    I am not familiar with the specifics, but

13    usually the people who are tasked with registering

14    voters report back the top-line numbers.

15          Q.    The top-line number being the total number of

16    people who are registered?

17          A.    Yes.

18          Q.    Is that tracked for the whole cycle or by

19    activity or by location?       What are some of the ways in

20    which that’s broken down?

21          A.    Yeah --

22                     MS. BRANCH:    Again, I’m going to assert

23    the same objection on First Amendment grounds.

24                     You can answer at a high level.

25          A.    I think it depends based on who’s in charge of

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 573
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              584 of -
                                                                     7974/28/2020

                                                                             88
 1    the program, but it could be any of those things.            It

 2    could be just number of people or by the specific

 3    activity, like, "This is how many people got registered

 4    today at this event" or in a place.

 5          Q     (BY MR. HILTON)     Are there any other ways in

 6    which it’s tracked?

 7          A.    Not that I can think of.

 8          Q.    Can DCCC apportion a cost to register each new

 9    voter?

10          A.    I guess it’s possible.

11          Q.    Is that something that DCCC has already done?

12          A.    No.

13          Q.    That’s not data that DCCC has?

14          A.    Correct.

15          Q.    And when you said it was possible, what did

16    you mean by that?

17          A.    I mean, I think you could come up with some

18    metric of how much money we are spending as it relates

19    to how many people we are able to register to vote.

20          Q.    But DCCC does not have any such metric

21    currently?

22                      MS. BRANCH:   Objection, asked and

23    answered.

24          A.    No, not to my knowledge.

25          Q     (BY MR. HILTON)     Has DCCC had a metric like

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              585 of -
                                                                     7974/28/2020

                                                                             89
 1    that at any time from the beginning of 2014 to the

 2    present?

 3          A.    Not to my knowledge.

 4          Q.    How does the DCCC decide which voters to

 5    target?

 6                     MS. BRANCH:    Objection, First Amendment

 7    privilege.

 8                     You can answer at a high level to the

 9    extent you can.     We can’t disclose targeting and

10    strategic information.

11          A.    There are ways that we’re able to identify

12    voters who are likely to support Democratic candidates

13    or vote for Democrats.

14          Q.    (BY MR. HILTON)     So that’s the target group,

15    is folks you expect to vote Democratic?

16          A.    Yes.

17          Q.    How does DCCC decide which types of voter

18    registration efforts to pursue?

19                     MS. BRANCH:    Again, same objection.

20                     You can answer at a high level.

21                     And that’s to First Amendment, to

22    clarify.

23          A.    I think it’s probably a variety of factors

24    based on where our targeted races are as far as priority

25    districts for the DCCC and where we are able to make an

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              586 of -
                                                                     7974/28/2020

                                                                             90
 1    effort and a successful activity out of registering

 2    voters.

 3          Q.    (BY MR. HILTON)     Does DCCC adjust its

 4    activities based on a success rate?

 5          A.    Yeah.   I want to be clear that I don’t know if

 6    there’s necessarily, like, a success rate or a

 7    definition; but, you know, we certainly aren’t going to

 8    engage in efforts where -- in voter registration efforts

 9    where it’s not possible because of, like, geographic or

10    logistics.

11          Q.    Who makes those kinds of decisions?

12                     MS. BRANCH:    Objection, First Amendment

13    privilege.    I’m going to instruct the witness not to

14    answer that.

15                     MR. HILTON:    And so to be clear, my

16    question is:     Who at the DCCC decides whether to adjust

17    voter registration activities and how they do that.            And

18    you’re instructing the witness not to answer?

19                     MS. BRANCH:    I mean, I think that you

20    have that information.       If you want to pursue a high-

21    level line of questioning, I’m okay with that; but my --

22    what I think we’re doing is going into the strategy of

23    how the D-Trip targets voters for voter registration.

24    And that is protected by the First Amendment.

25                     So, Jacqui, if you want to answer that

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              587 of -
                                                                     7974/28/2020

                                                                             91
 1    question, that’s fine.

 2                     And maybe we can have the court reporter

 3    read that back; but beyond that, I’m going to object.

 4                     MR. HILTON:    I’ll restate my question.

 5          Q.     (BY MR. HILTON) Who at DCCC adjusts which

 6    voter registration efforts that the group is going to

 7    engage in?

 8          A.     I think that a lot of that responsibility

 9    falls on the National Field Director.

10          Q.     And how are those decisions made?

11                     MS. BRANCH:    Objection.     I’m going to

12    instruct the witness not to answer.

13                     Is now maybe a good time to break for

14    lunch?     I don’t mean to interrupt.

15                     MR. HILTON:    Well, I think now is a good

16    time to take a break.      I need, like, ten minutes; but if

17    y’all want to take longer, that’s fine, whatever y’all

18    want to do.

19                     MS. BRANCH:    Can we do -- well, can I ask

20    you how long you may have after lunch, if you have a

21    rough estimate?

22                     MR. HILTON:    I don’t know.     I need the

23    ten minutes to figure out what I’m going to do next.

24                     MS. BRANCH:    Okay.    Well, I think we

25    need -- Jacqui, is 30, 45 minutes good for a you?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 577
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              588 of -
                                                                     7974/28/2020

                                                                             92
 1                     THE WITNESS:    Yeah, 30 minutes should be

 2    fine for me.

 3                     MS. BRANCH:    Okay.    That will be 1:50.

 4                     MR. HILTON:    All right.     We can go off

 5    the record.

 6                     THE REPORTER:     Going off the record at

 7    12:29 p.m.

 8                     (Off the record from 12:30 to 1:05 p.m.)

 9                     THE REPORTER:     We’re back on the record

10    at 1:05 p.m.

11          Q     (BY MR. HILTON)     All right.     Ms. Newman,

12    before we broke we were talking about voter registration

13    activities and expenditures.        And we, I think, had

14    covered most of what I wanted to cover; but I just have

15    a few -- couple of things to make sure I’m tying up all

16    that that I want to discuss with you today.

17                     So for the 2018 cycle, which is the cycle

18    where DCCC has some more insight into specific

19    expenditures on voter registration, I just want to make

20    sure that I have everything that you’ve told me so far

21    correct.    You’ve given money to -- DCCC has given money

22    to the Texas Democratic Party that’s earmarked for voter

23    registration.     DCCC has hired a vendor to help with

24    voter registration efforts, which we discussed earlier

25    in connection with the Declaration, which I think is

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              589 of -
                                                                     7974/28/2020

                                                                             93
 1    Exhibit 3.    Is there -- has anything else been spent

 2    that’s been earmarked for voter registration efforts for

 3    the 2018 election?

 4          A.    Sorry.   To be clear, I think -- I think the

 5    money we are talking about right now is for the current

 6    cycle, the 2020 cycle.

 7          Q.    Sorry.   Yes, I misspoke.      For the current

 8    cycle, the 2020 cycle.       So the TDP money that is

 9    earmarked and then the vendor for the 2020 cycle.            Is

10    there anything else at this time?

11          A.    Specifically on voter registration at this

12    time, I don’t believe there is more money I can

13    identify.    I mean, I think I mentioned earlier we’ve

14    spent up to -- or a little bit over 1.1 million in Texas

15    alone; and that includes our offices and our staff on

16    the ground.    And, of course, you know, our staff is

17    engaging in this, you know, community engagement; and

18    they are out talking to voters and possibly registering

19    voters as part of their daily activities.          And that is,

20    you know, like, wrapped up in their salary.           It’s not

21    necessarily identified in the other money I identified

22    for voter registration.

23                     And I -- you know, I would say that we

24    are still several months out from the election; and we

25    will continue to make spending decisions as things

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              590 of -
                                                                     7974/28/2020

                                                                             94
 1    develop and get closer and that some of the difficulties

 2    we face just around, you know, confusion that Texas

 3    voters might have around changing their address or

 4    renewing their information online and not being able to

 5    simultaneously register to vote will inevitably lead us

 6    to have to spend more money on voter registration and

 7    more time making sure we are educating voters, that they

 8    know that they might not have been registered to vote or

 9    had their address updated if they changed any

10    information online through the DPS website.

11          Q.     (Inaudible.)

12                     THE REPORTER:     I’m sorry.    Something’s

13    happened to your audio.

14                     MR. HILTON:    (Inaudible.)     Better?

15                     THE REPORTER:     Not really.

16                     THE VIDEOGRAPHER:     Something has gone

17    wrong with your audio.

18                     MR. HILTON:    (Inaudible.)

19                     THE VIDEOGRAPHER:     It’s a bandwidth

20    issue.     Yeah, it sounds like you’re having bandwidth

21    issues.     The audio seems to be cutting out, Chris.

22                     MR. HILTON:    Yeah, I don’t know.      Nothing

23    has changed on my end (echoing audio.)

24                     THE VIDEOGRAPHER:     We had the same

25    problem the other day with Mr. Geise.          Are you using a

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              591 of -
                                                                     7974/28/2020

                                                                             95
 1    headset?

 2                     MR. HILTON:    I am not (echoing audio.)

 3                     THE VIDEOGRAPHER:     So you’re just using

 4    your laptop audio?

 5                     MR. HILTON:    Yes, sir.    Should I drop off

 6    and reconnect (echoing audio)?

 7                     THE VIDEOGRAPHER:     Let’s try that, yeah,

 8    just kind of an if you restarted your computer type of

 9    situation.    Just log out and then log back in and see if

10    that doesn’t correct the issue.

11                     THE REPORTER:     I’m going to take us off

12    the record at 1:10 p.m.

13                     (Off the record from 1:10 to 1:12 p.m.)

14                     THE REPORTER:     We are back on the record

15    at 1:12 p.m.

16          Q     (BY MR. HILTON)     Ms. Newman, how much more

17    time and money will you have to spend?

18          A.    I think it’s hard to say at this point as,

19    again, we’re several months out from the election.            I

20    also think, you know, the current COVID-19 crisis we’re

21    in may have an outside impact on this because fewer

22    people will be able to go into DPS in person and change

23    their information and update their voter registration.

24                     So I think it’s too far out to put a

25    number on it; but given that we’ve already invested, you

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              592 of -
                                                                     7974/28/2020

                                                                             96
 1    know, over a half a million dollars to date, you know, I

 2    do not think that it is a small -- small investment.

 3          Q.    How much more do you plan to spend on voter

 4    registration efforts in Texas?

 5                     MS. BRANCH:    Objection to the extent that

 6    this calls for strategic information.

 7                     If you know, you can answer.

 8          A.    I -- you know, again, I don’t know if that has

 9    been decided yet.      I think it will depend as things

10    shape up with the current environment; and as we get

11    closer to the election, those expenditures are usually

12    decided.

13          Q.    (BY MR. HILTON)     How much money did DCCC spend

14    on voter registration efforts in Texas for this election

15    cycle prior to January 21st, 2020?

16          A.    At least 40, $45,000.      $45,630.

17          Q.    That was the transfer to TDP that we looked at

18    earlier on one of the exhibits?

19          A.    Yes.   And, you know, I would ad that we’ve had

20    our staff on the ground in Texas in 2019.          So they were

21    beginning to engage in these activities.

22          Q.    And I appreciate you mentioning that when I

23    was trying to get my arms around all the voter

24    registration activities for the staff.          And we talked

25    about earlier you couldn’t really break down what

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              593 of -
                                                                     7974/28/2020

                                                                             97
 1    percentage of their duties were related to voter

 2    registration.     Am I remembering that correctly?

 3          A.    Yes, that’s correct.

 4          Q.    Okay.   Are there any other activities for

 5    this -- or expenditures of funds for the 2020 election

 6    cycle that we haven’t touched on yet?

 7                     MS. BRANCH:    Objection, vague.      Is that

 8    related to voter registration or just expenditures

 9    generally?

10                     MR. HILTON:    I’m sorry.     I thought I said

11    voter registration.

12          A.    No, I think we’ve basically covered it.

13          Q.    (BY MR. HILTON)     How much of that money has

14    gone to try to register voters who change their address

15    or renew their driver’s license online with DPS?

16          A.    I don’t know if there’s a specific dollar

17    amount associated with that.        I think that’s just part

18    of our ongoing voter education effort to make sure when

19    we’re talking to voters, "Are you registered to vote?"

20    Making sure they are aware that if they’ve moved

21    recently, depending on how they conducted that

22    transaction online, that if it was online versus in

23    person, that their information is treated differently

24    than going in person to change that and that they might

25    not, in fact, be registered to vote at their current

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 583
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              594 of -
                                                                     7974/28/2020

                                                                             98
 1    address.

 2          Q.    Does DCCC keep track of the number of people

 3    who it talks to who change their address or renew their

 4    driver’s license online with DPS?

 5                     MS. BRANCH:    Objection to the extent that

 6    this calls for strategic information.

 7                     But you may answer.

 8          A.    Not that I’m aware of.

 9          Q     (BY MR. HILTON)     Do you have any -- does DCCC

10    have any training materials that reflect those kinds of

11    conversations that you were just referring to?

12                     MS. BRANCH:    Objection, vague, First

13    Amendment privilege.

14          A.    Not that I’m aware of.       I think, you know, the

15    information required is part of the reason why we engage

16    a consultant on the ground to run some of this.            You

17    know, it’s difficult to register voters in Texas; and it

18    requires a high level of expertise.         I think a lot of

19    these activities also go through the Texas Democratic

20    Party for these reasons.

21          Q.    (BY MR. HILTON)     Okay.    So leaving aside what

22    the Texas Democratic Party might have, DCCC doesn’t have

23    any training materials reflecting how to have these

24    conversations beyond what a vendor might have?

25                     MS. BRANCH:    Objection.     I think that’s

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              595 of -
                                                                     7974/28/2020

                                                                             99
 1    been asked and answered.       I also think that it calls for

 2    internal materials in the content of what’s reflected in

 3    those.     So I’m going to instruct the witness not to

 4    answer that question.

 5          Q.     (BY MR. HILTON)    So my question is:      Does DCCC

 6    have any materials that reflect training with respect to

 7    how to have these kinds of conversations for voter

 8    registration efforts?

 9          A.     I don’t believe we have any public materials.

10          Q.     Do you have any non-public materials?

11                     MS. BRANCH:    Again, I maintain the

12    objection and instruct the witness not to answer.

13                     MR. HILTON:    Okay.    So you won’t allow

14    the witness to answer as to the existence of such

15    materials?

16                     MS. BRANCH:    She’s already answered the

17    question.

18          Q.     (BY MR. HILTON)    Do such materials exist,

19    Ms. Newman?

20          A.     I’m not going to answer.

21          Q.     And is that at counsel’s instruction?

22          A.     Yes.

23          Q.     Okay.   And no such materials were produced to

24    us?

25          A.     Correct.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              596 of -
                                                                     7974/28/2020

                                                                             100
 1          Q.    Why is registering voters in Texas important?

 2          A.    Voter registration is important in Texas

 3    because we have several priority targeted races.            We

 4    have two -- we call them frontline districts, as well as

 5    a handful of red-to-blue districts, that signify

 6    priority within the DCCC.       And registering voters makes

 7    sure that we are broadening the people who are turning

 8    out to vote for these candidates and members of

 9    Congress.

10                     MR. HILTON:    All right.     Maybe now is a

11    good time to switch over and talk about -- we had a

12    discussion earlier about the Blue Texas Fund and

13    documents showing DCCC’s, you know, relationship

14    involved with something related to the Blue Texas Fund.

15    And, Ms. Branch, I believe you had a Bates number that

16    we could refer to?

17                     MS. BRANCH:    Yes.   Let me just pull that

18    up.

19          Q.    (BY MR. HILTON)     And -- I’m sorry -- one more

20    question I had on the -- going back to the vendor that

21    y’all hired in Texas.

22          A.    Yes.

23          Q.    Did you produce any documents related to what

24    that vendor is going to do for the DCCC?

25                     MS. BRANCH:    Objection, those documents

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              597 of -
                                                                     7974/28/2020

                                                                             101
 1    are privileged.     This calls for attorney-client

 2    privileged conversations regarding our discussions on

 3    what we produced in response to the subpoena.

 4          Q.    (BY MR. HILTON)     Okay.    I’m not intending to

 5    ask for any conversations between you and your counsel,

 6    Ms. Newman.    I just want to know if any such documents

 7    have been produced.      You have the entire production

 8    there in front of you, and you testified earlier that

 9    you’re familiar with it.       So that’s why I asked you.

10          A.    And can you repeat the original question?

11          Q.    Are there any documents that will show what

12    this vendor that you’ve engaged in Texas is going to do

13    for the DCCC in the production?

14          A.    I don’t believe so, other than maybe a press

15    release sharing that we’re engaging in voter

16    registration.

17          Q.    Okay.   And can DCCC identify any voters who

18    have been registered to vote after -- by the DCCC, after

19    they changed their address or renewed their driver’s

20    license online with DPS?

21          A.    No, not that I’m aware of.

22          Q.    Okay.

23                     MR. HILTON:    All right.     And going back

24    to this Blue Texas Fund issue.

25                     MS. BRANCH:    So it’s Bates Number 665 is

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              598 of -
                                                                     7974/28/2020

                                                                             102
 1    one of the Blue Texas Fund mail pieces, and it shows a

 2    paid-for-by disclaimer.

 3                     MR. HILTON:    665, you said?

 4                     MS. BRANCH:    Correct.

 5                     MR. HILTON:    Okay.    Great.   Bear with me

 6    one second while I pull it up.

 7           Q.   (BY MR. HILTON)     Oh, and, I guess, Ms. Newman,

 8    the same question:      Could your vendor identify any such

 9    voters?

10                     MS. BRANCH:    Objection, First Amendment

11    privilege.    I’m going to instruct the witness not to

12    answer.

13           Q.   (BY MR. HILTON)     Are you going to follow your

14    counsel’s instruction, Ms. Newman?

15           A.   Yes.

16                     MR. HILTON:    Where am I going to find

17    this document?

18                     Gosh, that was on the record, wasn’t it?

19    I’m so used to talking to myself while I putz around my

20    computer that it’s really gotten me in trouble on this

21    Zoom depo stuff.     Sorry you have to watch my face while

22    I confusedly look through my files here.

23                     All right.    And it was -- I’m sorry --

24    665?

25                     MS. BRANCH:    665 is the page -- one of

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              599 of -
                                                                     7974/28/2020

                                                                             103
 1    the pages that contains the disclaimer.

 2          Q     (BY MR. HILTON)     All right.     Ms. Newman, can

 3    you pull up page 665?

 4          A.    Yes.

 5          Q.    Let me know once you’re there.

 6          A.    I’m there.

 7          Q.    All right.    What is this -- what is this

 8    document?

 9          A.    This is a mailing from the Blue Texas Fund;

10    and I guess to confirm what we discussed earlier, this

11    is a joint fundraising committee that is with Colin

12    Allred for Congress, Elizabeth Pannill Fletcher, for

13    Congress, and the DCCC.

14          Q.    Okay.   So those are all the folks who are part

15    of this joint fundraising committee?

16          A.    Yes.

17          Q.    Okay.   I appreciate that.      And I see here

18    there are a couple of other kind of targeted races, I

19    guess, listed in this mailing; but those campaigns are

20    not part of the Blue Texas Fund?

21          A.    Correct.

22          Q.    So the Blue Texas Fund is raising money on

23    their behalf, or what’s the relationship to these other

24    campaigns?

25          A.    The Blue Texas Fund currently raises money for

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              600 of -
                                                                     7974/28/2020

                                                                             104
 1    just the committees that are listed in the disclaimer.

 2          Q.    Okay.

 3          A.    And, you know, again, these are two of our

 4    members of Congress who won in the 2018 election in

 5    Texas; and they are part of our highest priority races

 6    across the country and in Texas.

 7          Q.    Okay.   I’d like to turn to another page from,

 8    I think, what we marked as Exhibit 4.          It’s the

 9    production from DCCC.      It’s a two-page document starting

10    at Bates DCCC 661.      Please let me know when you have

11    that pulled up.

12                     MS. BRANCH:    You say Exhibit 4?

13                     MR. HILTON:    Yeah, the entire DCCC

14    production is designated as Exhibit 4 for the purposes

15    of the deposition.      So I’m just referring to particular

16    pages out of that.

17          A.    I have this pulled up.

18          Q     (BY MR. HILTON)     All right.     661, we had

19    looked at that earlier; it wasn’t what I thought it was.

20    So maybe you can kind of explain to me what I’m looking

21    at here.    It’s a map of the United States, obviously.

22    And it has a bunch of races listed, and there’s a key

23    for certain symbols.      So maybe you can kind of break

24    this down for me.

25          A.    Sure.   This is our House battlefield that

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              601 of -
                                                                     7974/28/2020

                                                                             105
 1    highlights our frontline candidates.         These are our, you

 2    know, kind of our targeted members who are running for

 3    re-election.     And you’ll see, again, that includes

 4    Lizzie Fletcher and Colin Allred in Texas.

 5          Q.    And so what are each of the categories listed

 6    here?   Like, it says, Frontline Candidates, Red to Blue,

 7    Offensive Battlefield Districts, Expanded Battlefield

 8    Districts, and a bunch of different campaigns or states

 9    listed under each category.

10                     Could you go through each of these

11    categories and explain to me what they are and how they

12    differ from each other?       I understand you’re saying

13    they’re all targeted in some way, but maybe you could

14    explain why they’re broken out separately on this

15    document.

16          A.    Sure.   So our frontlines are incumbent members

17    of Congress.     Red to Blue are the first tier of targeted

18    challenger races.      So these are people who are hoping to

19    unseat a Republican member of Congress.          And this

20    document actually might be slightly out of date because

21    we have Texas 21 and Texas 23 listed here as red-to-blue

22    districts, but we’ve also recently added Texas 22 to

23    this list.

24          Q.    I see -- I’m sorry to interrupt.         I see a date

25    at the bottom that’s March 5th, 2020.          Would this list

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              602 of -
                                                                     7974/28/2020

                                                                             106
 1    be accurate as of that date?

 2          A.    Yes.    Yes, it is.

 3          Q.    Okay.    You can continue from there.       I

 4    appreciate that.

 5          A.    Well, I think coming out of the recent Texas

 6    primary, we were able to add an additional district to

 7    this.   And then we have our Offensive Battlefield

 8    Districts; and, you know, this is almost like -- if Red

 9    to Blue was our top priority, then this is the next

10    priority.

11          Q.    It looks like you’re trying to unseat a

12    Republican incumbent or claim an open seat that was

13    previously held by a Republican?

14          A.    Yes, exactly.     And then our Expanded

15    Battlefield Districts.       It is also a version of that,

16    kind of showing the priority.

17                     And then there’s just some helpful other

18    information here that may or may not be relevant to

19    Texas, remaining districts that were won by Hillary

20    Clinton but still held by Republicans.          Democrats

21    running in districts that Trump won.         Districts that

22    have Republican retirements this year or this cycle.

23    And then where we have battle stations, which are

24    offices -- that’s what we like to call them -- and field

25    managers on the ground.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              603 of -
                                                                     7974/28/2020

                                                                             107
 1          Q.    Okay.   Politics is a full-contact sport.         So

 2    you’ve got to get into the mindset.         I get it.

 3                     It sounds like these categories are

 4    listed in rough order of priority, seem to be.           That was

 5    my impression from how you were describing them.            Is

 6    that fair?

 7          A.    Yeah.   I think, you know, kind of through the

 8    expanded battlefield districts; and then those remaining

 9    sections are more just information points.

10          Q.    Got it.

11                     And I think I have one more document that

12    I wanted to review with you, and that’s DCCC 455.            And

13    this is part of Exhibit 4, which is DCCC’s document

14    production.    And just let me know when you have that up.

15          A.    455?

16          Q.    Yes.

17          A.    Okay.   I have that up.

18          Q.    All right.    And 455 is the first page of a

19    two-page document.      Can you tell me what this document

20    is, please?

21          A.    Sure.   This is, I guess, a two-page memo, not

22    necessarily a one-pager, that overviews our member

23    programs, our member dues program, in particular.            And

24    this is shared with members within our caucus and speaks

25    to how we recognize members who participate through

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              604 of -
                                                                     7974/28/2020

                                                                             108
 1    paying dues to the DCCC.

 2          Q.    Who are the members of the DCCC?

 3                     MS. BRANCH:    Objection to the extent that

 4    this calls for a legal conclusion.

 5                     But you may answer the question.

 6          A.    Yeah.    I realize now that there’s a very legal

 7    definition for the term "member" that I can’t

 8    necessarily speak to; but in the DCCC’s mind, our

 9    members are members of -- Democratic members of Congress

10    that are in our caucus.

11                     I think that "member" in kind of a

12    broader term, we also think about Democratic voters as a

13    whole who participate in any of our activities, whether

14    it’s donating to us or volunteering or supporting and

15    voting Democratic.      You know, those people who we see as

16    our constituents because we represent them also kind of

17    sometimes get thrown around as, like, a member; but,

18    really, it’s our members of Congress.

19          Q.    (BY MR. HILTON)     Okay.    And I’m not asking for

20    a legal definition.      I understand you’re not an

21    attorney.    I’m trying to understand how DCCC uses that

22    term, I guess.      And I understand that it’s the members

23    of Congress and then, in a broader sense, the

24    constituents who are members of the Party.           Which of --

25    which people would participate in the member dues

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              605 of -
                                                                     7974/28/2020

                                                                             109
 1    program?

 2          A.    The majority of our members participate in

 3    this.

 4          Q.    And by that, you mean the Democratic --

 5          A.    Members of Congress.

 6          Q.    And then it has, I guess -- this document

 7    describes -- like, is this tiers of membership or

 8    different types of membership?        Can you explain to me

 9    what the DCCC Gavel Society, the Leadership Circle, and

10    Point Guards are?

11                     MS. BRANCH:    Objection to the extent that

12    it calls for privileged information.

13                     But you can describe at a high level, and

14    you can certainly speak to what the document states.

15                     MR. HILTON:    And that’s my question.

16          A.    Yeah.   What’s laid out here is -- it is

17    basically levels of recognition for participating in

18    this program, yeah.

19          Q.    (BY MR. HILTON)     And how is it -- how do

20    you -- how does a member qualify for the Gavel Society

21    or the Leadership Circle or as a Point Guard?

22          A.    That’s a discussion with our member dues team.

23          Q.    Is it based on, like, the amount of

24    fundraising that they contribute?

25                     MS. BRANCH:    Objection, First Amendment

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 595
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              606 of -
                                                                     7974/28/2020

                                                                             110
 1    privilege.

 2                      Jacqui, if this is something that’s

 3    publicly available or not internal to the D-Trip, you

 4    can answer it.

 5                      But, otherwise, I’m going to instruct the

 6    witness not to answer.

 7           A.   It has been publicly reported that members

 8    generally can earn -- and this is kind of laid out in

 9    the Point Guard section -- earn points for participating

10    in activities with the DCCC or through paying dues and

11    raising money for the committee.

12           Q.   (BY MR. HILTON)     Are you withholding

13    information on the basis of your counsel’s objection?

14           A.   No.    That is basically it.

15           Q.   Okay.    I appreciate that.

16                      Is there any other way to get a DCCC

17    coffee mug, or do you have to get 150 points in the

18    Point Guard program?

19           A.   Sometimes asking nicely does end in a coffee

20    mug.

21           Q.   I’ll keep that in mind.       Do you have a coffee

22    mug?

23           A.   I do.

24           Q.   Do you have it handy?      I’m kind of curious as

25    to what it looks like.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 596
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              607 of -
                                                                     7974/28/2020

                                                                             111
 1          A.    I don’t have it handy.       I keep it at work

 2    because it’s, like, 24 ounces.

 3          Q.    Oh, I gotcha.     Lots of late nights, I suppose,

 4    at the DCCC, where you need a lot of coffee.

 5                     All right.    Bear with me just one second.

 6    Let me look at my notes here.        I think this is about all

 7    I have.

 8                     I appreciate your patience with the

 9    technological issues, with going through these

10    documents, with kind of the mechanical nature of my

11    questions, and, you know, again, your patience with your

12    counsel and I while we discussed our disagreements.

13                     I hope I’ve otherwise been professional

14    to you as we’ve gone through this.

15                     And that reminds me, I should have asked:

16    On the two breaks that we took today -- I think it was

17    two, maybe three -- did you discuss the substance of

18    your testimony with anyone during those breaks?

19                     MS. BRANCH:    Objection to the extent that

20    this calls for attorney-client privileged information.

21                     You can answer as to whether or not you

22    spoke with anyone, but you can’t discuss the content of

23    the conversations.

24          A.    I did check in with my counsel on the breaks.

25          Q     (BY MR. HILTON)     And did you discuss the

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              608 of -
                                                                     7974/28/2020

                                                                             112
 1    substance of your testimony?

 2                     MS. BRANCH:    Objection, and I’m going to

 3    instruct the witness not to answer.

 4                     MR. HILTON:    Okay.    I’ll just note for

 5    the record that I believe I’m entitled to that

 6    information since the witness has been under oath all

 7    this time.

 8          Q.    (BY MR. HILTON)     All right.     So I think the

 9    last thing we need to do is turn back to Exhibit 1,

10    which is the Deposition Notice.

11          A.    Okay.

12          Q.    And I’d like to go to the last page of

13    Exhibit 1.    That’s the document request.

14          A.    Okay.

15          Q.    And I’d like to just kind of go through each

16    of these and make sure I understand -- or just have you

17    confirm again that we’ve gotten a full production.

18                     So Document Request Number 1, did the

19    DCCC produce documents responsive to this request?

20                     MS. BRANCH:    Objection to the extent that

21    this calls for attorney-client and attorney work

22    product.

23                     But, Jacqui, if you are able to answer,

24    you may.

25          A.    Yes, I believe we’ve turned over everything

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 598
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              609 of -
                                                                     7974/28/2020

                                                                             113
 1    that we could here.

 2           Q.   (BY MR. HILTON)     Okay.    And when you say "we

 3    could," I assume you’re referring to your counsel’s

 4    privilege -- her objection related to privilege?

 5                     MS. BRANCH:    Objection, attorney work

 6    product, attorney-client privilege.         I think the record

 7    speaks for itself on that.

 8                     You’re inquiring about whether we

 9    instructed -- or, you know, how we put together the

10    production and our discussions about asserting the First

11    Amendment privilege, which I think is a conversation

12    itself that is privileged.

13                     MR. HILTON:    I’m sorry.     Let me clarify

14    my question.

15           Q.   (BY MR. HILTON)     Ms. Newman, you said that you

16    thought you’d turned over all the documents that you

17    could; and I’m trying to understand what you meant by

18    "you could."     And I’m assuming that it’s related to the

19    privilege objection; and if so, I think that’s the end

20    of my questioning.      But if there’s something else that

21    you’re referring to, that’s what I was trying to find

22    out.

23                     MS. BRANCH:    You may answer that

24    question, Jacqui.

25           A.   Yeah.   Yes.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 599
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              610 of -
                                                                     7974/28/2020

                                                                             114
 1          Q.    (BY MR. HILTON)     So when you said you turned

 2    over all the documents you could, that was in reference

 3    to the privilege issues?

 4          A.    Yes.

 5          Q.    Okay.   That’s all I was trying to ask.         And,

 6    again, I am not trying to ask for attorney-client

 7    privileged information.

 8                     Were documents withheld that would

 9    otherwise be responsive to this request?

10                     MS. BRANCH:    Again, I’m going to object

11    on the basis of attorney work product and attorney-

12    client privilege; and I’m going to instruct the witness

13    not to answer that.

14          Q.    (BY MR. HILTON)     Do any other documents exist

15    in the possession of DCCC that would substantiate the

16    factual allegations of Paragraphs 13 and 29 to 35 of

17    your Complaint?

18                     MS. BRANCH:    You can answer that,

19    Ms. Newman.

20          A.    Hold on.    I just want to look at the

21    Complaint.

22          Q.    (BY MR. HILTON)     Yeah, of course.      Please take

23    your time.    Of course.

24          A.    Can you remind me which --

25          Q.    Exhibit 2.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              611 of -
                                                                     7974/28/2020

                                                                             115
 1          A.    Thank you.    You said Paragraphs 13 to...

 2          Q.    13 and 29 through 35.      That’s what’s in the

 3    document request.      And so I’m just trying to understand

 4    from you whether there are any documents that exist that

 5    would substantiate the factual allegations in these

 6    paragraphs that have not been produced to us.           I’m just

 7    asking about the existence of such documents.

 8          A.    I believe we’ve turned over all the documents

 9    we could produce here.

10          Q.    Okay.   Great.

11                     Number 2.    Number 2 on Exhibit 1, on the

12    last page, the second document request, did DCCC produce

13    documents responsive to this request?

14          A.    Yes.

15          Q.    Okay.   Are any -- do any documents exist that

16    would be responsive to this request that were not

17    produced?

18          A.    I’m sorry.    What number are we looking at now?

19          Q.    This is Document Request Number 2, which is on

20    the last page of Exhibit 1, which is the Deposition

21    Notice.

22                     I’m sorry.    I haven’t found a better way

23    to do this in my career; and it’s hard and kind of

24    mechanical, but I just need to wrap -- you know, put a

25    bow on the document.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 601
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              612 of -
                                                                     7974/28/2020

                                                                             116
 1          A.    To my knowledge, we did not withhold anything

 2    related to this.     I believe we’ve turned over everything

 3    we could.    It might shock you to learn that the majority

 4    of our conversations are just sending press clips back

 5    and forth to one another.

 6          Q.    That was a little surprising, actually,

 7    because that was the bulk of the production.           I’m not

 8    trying to ask for anything privileged or strategic, but

 9    I’m just kind of curious as to why that is.           I mean,

10    it’s just such a foreign kind of work flow to me.            I’m

11    curious as to why that constitutes most of your

12    communications.

13          A.    I think that is -- you know, press clips are

14    really the best way to guide what our strategy is and

15    what’s happening on the ground in all of these

16    districts.    You know, keep in mind, we’re kind of

17    looking at a 30,000-foot view of, you know, 30 to 50

18    districts across the country; and so we’re constantly up

19    to date on what’s happening there, what issues are

20    arising in the districts, and how they might relate to

21    the Congressional campaigns in those districts.

22          Q.    Okay.   I appreciate that.      It’s always

23    interesting.     That’s one of the things I like about my

24    job is I get insight into how other people do their

25    jobs.   I appreciate that.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 602
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              613 of -
                                                                     7974/28/2020

                                                                             117
 1                     So if I understand you correctly, you

 2    have produced documents responsive to Request Number 2

 3    and that no other documents exist that would otherwise

 4    be responsive?

 5                     MS. BRANCH:    I’m going to object just on

 6    the -- you know, the use of the term "responsive" and

 7    the legal conclusions and legal background associated

 8    with that term.

 9                     But, Jacqui, to the extent that you can

10    answer based on your knowledge, you may.

11          A.    Yes, I believe so.

12          Q     (BY MR. HILTON)     Number 3.    Has DCCC produced

13    all the documents responsive to Number 3?

14          A.    I believe we’ve produced documents that speak

15    to these topics as long as they don’t conflict with our

16    strategy and attorney-client privilege.

17          Q.    So that was my next question, privilege

18    assertions...

19                     MS. BRANCH:    Same objection, attorney

20    work product, attorney-client privilege.          The decision

21    on --

22                     THE WITNESS:    Did we just lose him?

23                     MS. BRANCH:    Oh, I think we did.

24                     THE VIDEOGRAPHER:     It appears that he did

25    drop out of the meeting.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 603
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              614 of -
                                                                     7974/28/2020

                                                                             118
 1                     THE REPORTER:     We’re going off the record

 2    at 1:48 p.m.

 3                     (Off the record from 1:48 to 1:48 p.m.)

 4                     THE REPORTER:     We’re back on the record

 5    at 1:48 p.m.

 6                     MR. HILTON:    All right.     I’m sorry about

 7    that.     Literally my last handful of questions, and my

 8    Internet connection’s going out on me here.

 9          Q      (BY MR. HILTON)    So I think my question was,

10    for Number 3, whether documents have been withheld on

11    the basis of privilege assertion.

12                     MS. BRANCH:    And I have an objection on

13    that because the decision to withhold is attorney work

14    product, and it was made by us.         So I’m going to

15    instruct the witness not to answer that.

16                     MR. HILTON:    Okay.    So I just want to

17    know whether any documents at all have been withheld,

18    and you’re instructing Ms. Newman not to answer that

19    question?

20                     MS. BRANCH:    Yes.    I think she’s also

21    testified to this multiple times throughout the

22    deposition.

23                     MR. HILTON:    Be that as it may, with

24    respect to Number 3, you’re instructing her not to

25    answer whether any documents are being withheld?

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 604
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              615 of -
                                                                     7974/28/2020

                                                                             119
 1                     MS. BRANCH:    Correct.

 2                     MR. HILTON:    Okay.

 3          Q.    (BY MR. HILTON)     With respect to Request

 4    Number 3, other than what’s been included in the

 5    production, do any other documents exist that would show

 6    the information described or requested in the listed

 7    deposition topic numbers?

 8                     MS. BRANCH:    Objection, attorney work

 9    product, attorney-client privilege.

10                     You may answer the question if you know

11    the answer.

12          A.    Yes.

13          Q.    (BY MR. HILTON)     And some documents exist that

14    would otherwise be response to Number 3 that have not

15    been produced to us?

16                     MS. BRANCH:    Objection.     Same objection.

17    I’m going to instruct the witness not to answer.            I

18    think this is the same question, just kind of in a

19    different phrase.

20                     MR. HILTON:    I’m sorry.     I thought it

21    was -- I’m trying to -- I mean, with respect,

22    Ms. Branch, I think that I have the right to know

23    whether documents have been withheld.

24                     I’m not, even at this point, asking for a

25    privilege log, which I also think I’m entitled to.              I

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                       www.integrity-texas.com                APPENDIX 605
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              616 of -
                                                                     7974/28/2020

                                                                             120
 1    just want to know if other documents exist because if

 2    they don’t, then I don’t think we have anything to

 3    quarrel about.

 4                     So you’re instructing the witness not to

 5    answer the question of whether documents exist that have

 6    not been produced?

 7                     MS. BRANCH:    So I think that that’s a

 8    conversation that you and I can have; but I think that

 9    whether not documents exist on these topics, like, that

10    reflects -- the answer that she’s going to give is going

11    to reflect our conversations.        And so that is my basis

12    for the objection.

13                     MR. HILTON:    I’m sorry.     I just don’t

14    understand.

15          Q.    (BY MR. HILTON)     I just want to know if

16    documents exist that would be responsive to Number 3.

17                     MR. HILTON:    And I’m asking Ms. Newman.

18    And if you’re going to let her answer, I’d like to know

19    the answer; and if not, then we move on.

20                     MS. BRANCH:    I am going to instruct the

21    witness not to answer.

22          Q.    (BY MR. HILTON)     Are you going to follow that

23    instruction, Ms. Newman?

24          A.    Yes.

25          Q.    With respect to Document Request Number 4, did

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              617 of -
                                                                     7974/28/2020

                                                                             121
 1    DCCC produce documents responsive to this request?

 2          A.    I believe we did.

 3          Q.    Okay.   You can refer to Exhibit 4 and double-

 4    check if you are uncertain.

 5          A.    I don’t know, then.

 6          Q.    So you don’t know whether documents responsive

 7    to Request Number 4 have been produced?

 8          A.    I mean, this -- a lot of this is public

 9    information that I think you’ve shown or gone over in

10    other parts of this discussion.

11          Q.    Okay.

12                     MR. HILTON:    I’m going to object to that

13    answer as nonresponsive.

14          Q.    (BY MR. HILTON)     I just want to know if it’s

15    included in DCCC’s production.

16                     MR. HILTON:    I’m sorry.     It looks like

17    I’m having a technical issue again.         Was there an

18    answer?

19                     THE REPORTER:     There wasn’t an answer

20    that I heard.

21          A.    I mean, we’ve produced what we have.

22          Q.    (BY MR. HILTON)     That’s responsive to

23    Number 4?

24          A.    Yes.

25          Q.    Okay.   So no other documents exist that would

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              618 of -
                                                                     7974/28/2020

                                                                             122
 1    be responsive to Number 4 other than what we’ve

 2    discussed today and that’s included in the production?

 3                     MS. BRANCH:    Same objection.      And I just

 4    want to note, Chris -- and this might be a discussion

 5    for offline -- but the subpoena clearly states that it

 6    seeks only the minimum number of documents sufficient to

 7    show the information.      So the fact that things are being

 8    withheld is in compliance with the subpoena.           Whether or

 9    not they’re being held on the basis of the First

10    Amendment privilege, though, is an attorney work product

11    and a privileged conversation.        So that’s my objection

12    to the line of questioning.

13                     MR. HILTON:    I appreciate that.      I am

14    trying to ask both things.       Okay?    I’m trying to

15    understand whether documents have been withheld on the

16    basis of privilege and I’m trying to understand whether

17    other documents exist that would otherwise be responsive

18    but have not been produced because they were not

19    necessary to be produced because of how we drafted our

20    subpoena.

21                     MS. BRANCH:    I think all of that is

22    attorney work product and strategic decisionmaking on

23    the part of Ms. Newman’s attorneys, and I’m going to

24    instruct the witness not to answer.

25                     MR. HILTON:    Okay.    And, Ms. Branch, in

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              619 of -
                                                                     7974/28/2020

                                                                             123
 1    case I’m being unclear, I’m not asking for the substance

 2    of any communication.      I’m not asking for the substance

 3    of any documents.      I’m not even asking for how many

 4    documents at this point.       I’m just asking whether such

 5    documents exist, and you’re claiming that’s privileged

 6    information?

 7                     MS. BRANCH:    I think she can answer the

 8    question as to whether additional documents exist, but

 9    the basis upon which they were withheld is attorney work

10    product.    That reflects our strategic decisionmaking.

11    So I don’t -- I mean, I don’t think that was the

12    question on the table.       If the question is, "Are there

13    additional documents that exist within the DCCC on this

14    topic," she can answer that.        But we can’t -- she can’t

15    answer why they were or were not produced.

16                     MR. HILTON:    Debbie, can you read back my

17    last question?

18                     THE REPORTER:     Okay.

19                     (The requested material was read as

20    follows:

21                     "QUESTION:    So no other documents exist

22    that would be responsive to Number 4 other than what

23    we’ve discussed today and in the production?")

24                     THE REPORTER:     Is that the question you

25    were looking for?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              620 of -
                                                                     7974/28/2020

                                                                             124
 1                     MR. HILTON:    That’s exactly it.

 2                     MS. BRANCH:    And that’s with respect to

 3    Number 4?

 4                     MR. HILTON:    I think that’s what Debbie

 5    just read back, yes.

 6                     MS. BRANCH:    You can answer that, Jacqui.

 7          A.    Yes, I think other documents exist; but we’ve

 8    produced what we’ve needed to to answer this request.

 9          Q.    (BY MR. HILTON)     Let me ask you about that,

10    actually.    Currently on the DCCC’s website there are a

11    number of job openings posted; is that right?

12          A.    Yes.

13          Q.    And it’s dccc.org/jobs, and it has a bunch of

14    jobs listed.     And if you click those jobs, it brings you

15    to a job description.      Are you familiar with what I’m

16    talking about?

17          A.    Yes.

18          Q.    And did you produce job descriptions for

19    current employees?

20          A.    I don’t believe so.

21          Q.    Okay.   Do job descriptions for current

22    positions in DCCC exist?

23          A.    Mostly.

24                     I’m sorry.    If you were talking, I just

25    heard nothing.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              621 of -
                                                                     7974/28/2020

                                                                             125
 1          Q.    I’m sorry.    Did you produce all documents that

 2    you reviewed in preparation for your deposition?

 3          A.    I’m sorry.    Can you ask that again?

 4          Q.    Did DCCC produce all documents that you

 5    reviewed in preparation for this deposition?

 6          A.    I believe so.

 7          Q.    Would you like to check the production?

 8          A.    I mean, I think there are some documents in

 9    here that come from...

10                     Yes, I believe we did.

11                     MR. HILTON:    And, Ms. Branch, you’re not

12    going to allow the witness to answer whether documents

13    were withheld on the basis of privilege with respect to

14    any of these requests?

15                     MS. BRANCH:    No.   I think that that is a

16    conversation that reflects our privileged discussions;

17    and, frankly, I don’t know that she knows.           She’s not a

18    lawyer.

19                     MR. HILTON:    Well, if that’s her answer,

20    then I don’t really know why we’re fighting about it.

21                     MS. BRANCH:    Can we have a discussion

22    about this separately?       I think that Jacqui, Ms. Newman,

23    has answered a lot of the questions related to the

24    production to the best extent of her knowledge; but I

25    don’t want to get into a situation where she’s talking

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 611
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              622 of -
                                                                     7974/28/2020

                                                                             126
 1    about strategic decisions that attorneys made.           And she

 2    honestly probably can’t testify to those, anyway; but

 3    they would reflect our conversations, which I think we

 4    both agree are privileged.

 5                     MR. HILTON:    Okay.    I’m not asking about

 6    privileged conversations.       I’m not asking about any

 7    strategic determinations.       You’ve put forth Ms. Newman

 8    as a 30(b)(6) representative for the DCCC to speak on

 9    behalf of the documents produced in response to the

10    subpoena.    And so, you know, I’m just not asking for

11    privileged information.       And she has a duty to be

12    prepared as to these topics.

13                     Ms. Newman, this is not a reflection on

14    you at all.

15                     But I’m going to object to this witness

16    being insufficiently and inadequately prepared for this

17    deposition today as to a number of topics.           I’m also

18    going to object to insufficient document production.

19    You’re not even letting me explore the ways in which it

20    was insufficient, so I don’t even know the depth of the

21    insufficiency.

22                     I’m going to object to your failure to

23    provide a privilege log, your failure to disclose

24    whether documents have even been withheld on the basis

25    of a privilege.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 612
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              623 of -
                                                                     7974/28/2020

                                                                             127
 1                     And I’m going to object to your improper

 2    instructions not to answer and your improper objections

 3    throughout this deposition.

 4                     On the basis of that, we’re going to hold

 5    this deposition open.      We reserve the right to seek

 6    whatever relief is appropriate.

 7                     And I truly hope we can work something

 8    out offline with each other because I don’t think this

 9    should be that difficult.       I’m truthfully not trying to

10    get privileged information.        I have no interest in

11    attorney-client privileged information.          And to the full

12    extent that you have a privilege, an associational

13    privilege, you know, you have a privilege; but you’re

14    not even giving me the basic information to begin to

15    evaluate it.     And so I just -- I think this entire

16    deposition could have been a lot smoother.

17                     And I’m sorry, Ms. Newman, that it was so

18    difficult in spots.

19                     But there’s a lot of information here

20    that I believe I’m entitled to that you’re not allowing

21    the witness to testify to.       So on that basis --

22                     MS. BRANCH:    I did want --

23                     (Simultaneous speakers.)

24                     MR. HILTON:    You can respond; but I’d

25    like to finish, please.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              624 of -
                                                                     7974/28/2020

                                                                             128
 1                     On that basis, we’re going to hold the

 2    deposition open.

 3                     Ms. Newman, I don’t have anything else

 4    for you.

 5                     And I pass the witness.

 6                     MS. BRANCH:    I do want to just respond on

 7    the record to counsel’s objections.         We have covered

 8    each of the 30(b)(6) deposition topics that were Noticed

 9    here; and Ms. Newman, I believe, has testified to each

10    one of them.     She was prepared for the deposition.

11                     In response to the document request, the

12    subpoena specifically states that it seeks only the

13    documents necessary to substantiate the allegations or

14    to provide the minimum number of documents sufficient to

15    show information responsive to each of the requests; and

16    the DCCC’s production has satisfied that.

17                     We’ve also tried to point you to public

18    information related to each of these topics.           Because

19    the DCCC is a national party committee, for instance,

20    they are required to publicly report all of their

21    funding sources, which is -- that was requested in Topic

22    Number 3; and there’s a request related to that.            If the

23    DCCC were to produce every single document related to

24    all its funding sources, we would have given you, like,

25    mountains and mountains of paper.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              625 of -
                                                                     7974/28/2020

                                                                             129
 1                     So I think that our document production

 2    responded to the topics in accordance with the subpoena

 3    instructions which asked for the minimum number of

 4    documents.    I am happy to discuss whether there are more

 5    documents that, you know, we could try to negotiate

 6    over; but I’m not going to -- I do not agree with the

 7    objection that the witness was inadequately prepared or

 8    that the subpoena -- the production in response to the

 9    subpoena was inadequate.       I’m happy to meet and confer

10    about that.

11                     I’ve tried to be as open as possible

12    about it; but, you know, you’re recognizing the

13    associational privilege that the DCCC has; and we have

14    asserted that.     We’ve also produced the minimum number

15    of documents on each of the topics that are not

16    privileged.

17                     And the witness doesn’t know which

18    documents are privileged and which are not.           So I don’t

19    think that’s an appropriate line of questioning.            My

20    objections were not to block the witness -- or block you

21    from getting information from the witness, but rather,

22    to protect the privilege.

23                     MR. HILTON:    I disagree with all your

24    characterizations.      I think we understand each other’s

25    positions.    Hopefully, we can work it out; and if not,

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              626 of -
                                                                     7974/28/2020

                                                                             130
 1    we’ll see what the Court has to say about it.           But my

 2    objection stands.

 3                     And, again, Ms. Newman, this is not a

 4    reflection on you.      And I appreciate your time today

 5    answering my questions.

 6                     THE REPORTER:     Ms. Branch, do you have

 7    any questions of the witness?

 8                     MS. BRANCH:    I do not.

 9                     THE REPORTER:     Are you ordering a copy of

10    the transcript?

11                     MS. BRANCH:    Yes.

12                     THE REPORTER:     All right.    Thank you.

13    We’re going off the record at --

14                     MS. BRANCH:    And we’d --

15                     THE REPORTER:     -- 2:05 p.m.

16                     MS. BRANCH:    -- like to read and sign as

17    well.

18                     (Deposition recessed at 2:05 p.m.)

19                               --ooOoo--

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              627 of -
                                                                     7974/28/2020

                                                                             131
 1                        CHANGES AND SIGNATURE

 2    WITNESS NAME:                   DATE OF DEPOSITION:

 3    JACQUELINE NEWMAN                  April 28, 2020

 4    PAGE/LINE      CHANGE                    REASON

 5    ________________________________________________________

 6    ________________________________________________________

 7    ________________________________________________________

 8    ________________________________________________________

 9    ________________________________________________________

10    ________________________________________________________

11    ________________________________________________________

12    ________________________________________________________

13    ________________________________________________________

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                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 617
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              628 of -
                                                                     7974/28/2020

                                                                             132
 1                     I, JACQUELINE NEWMAN, have read the

 2    foregoing deposition and hereby affix my signature that

 3    same is true and correct, except as noted herein.

 4

 5                     _______________________________

 6                     JACQUELINE NEWMAN

 7

 8    THE STATE OF __________       )

 9                     Before me, _______________________, on

10    this day personally appeared JACQUELINE NEWMAN, known to

11    me (or proved to me under oath or through

12    ______________) (description of identity card or other

13    document) to be the person whose name is subscribed to

14    the foregoing instrument and acknowledged to me that

15    they executed same for the purposes and consideration

16    therein expressed.

17                     Given under my hand and seal of office on

18    this _____ day of _________________, _________.

19

20

21                _______________________________

22                NOTARY PUBLIC IN AND FOR

23                THE STATE OF __________________

24                My Commission Expires:_________

25

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DCCC
                                                              629 of -
                                                                     7974/28/2020

                                                                             133
 1    STATE OF TEXAS       )

 2                       REPORTER’S CERTIFICATION

 3                     I, DEBBIE D. CUNNINGHAM, CSR, hereby

 4    certify that the witness was duly sworn and that this

 5    transcript is a true record of the testimony given by

 6    the witness.

 7                     I further certify that I am neither

 8    counsel for, related to, nor employed by any of the

 9    parties or attorneys in the action in which this

10    proceeding was taken.      Further, I am not a relative or

11    employee of any attorney of record in this cause, nor am

12    I financially or otherwise interested in the outcome of

13    the action.

14                     Subscribed and sworn to by me this day,

15    May 11, 2020.

16

17

18

19                           __________________________________
                             Debbie D. Cunningham,
20                           Texas CSR 2065
                             Expiration: 6/30/2021
21                           INTEGRITY LEGAL SUPPORT SOLUTIONS
                             P.O. Box 245
22                           Manchaca, Texas 78652
                             www.integrity-texas.com
23                           512-320-8690; FIRM # 528

24

25

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Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 630 of 797




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                                                          APPENDIX 620
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 631 of 797



              IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                      SAN ANTONIO DIVISION

 JARROD STRINGER, et al.,           *
       Plaintiffs,                  *
                                    *
 v.                                 *   No. SA-20-CV-46-OG
                                    *
 RUTH HUGHS, et al.,                *
       Defendant.                   *


                   VIDEOTAPED VIDEOCONFERENCED

                         ORAL DEPOSITION

                                  OF

                    THE DEMOCRATIC SENATORIAL

              CAMPAIGN COMMITTEE REPRESENTATIVE,

                         SARA SCHAUMBURG

                      Thursday, April 30, 2020


              VIDEOTAPED VIDEOCONFERENCED DEPOSITION OF SARA

  SCHAUMBURG, produced as a witness at the instance of the

  Defendant, and duly sworn, was taken in the above-styled

  and numbered cause on Thursday, April 30, 2020, from

  10:15 a.m. to 12:04 p.m. Central Time, before Debbie D.

  Cunningham, CSR, in and for the State of Texas, remotely

  reported via Machine Shorthand, pursuant to the Federal

  Rules of Civil Procedure.

                              --ooOoo--




                                                          APPENDIX 621
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              632 of -
                                                                     7974/30/2020

                                                                              2
 1                              APPEARANCES

 2

 3    FOR PLAINTIFF INTERVENORS:

 4          PERKINS COIE
            700 13th St NW
 5          Washington, DC 20005
            (T) 202.654.6200
 6
            By:   Emily Brailey, Esq.
 7                ebrailey@perkinscoie.com
                         AND
 8                Aria Branch, Esq.
                         AND
 9                Jackie Lopez, Esq.

10
      FOR DEFENDANT THE TEXAS SECRETARY OF STATE:
11
            OFFICE OF THE ATTORNEY GENERAL OF TEXAS
12          Special Counsel for Civil Litigation
            300 W. 15th Street
13          Austin, Texas 78701
            (T) 512.463.4139
14
            By:   Anne Marie Mackin, Esq.
15                anna.mackin@oag.texas.gov

16

17    VIDEOGRAPHER:

18          Brian Christopher

19                               --ooOoo--

20

21

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25

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              633 of -
                                                                     7974/30/2020

                                                                              3
 1                                  INDEX

 2     APPEARANCES                                             2

 3

 4    EXAMINATION OF SARA SCHAUMBURG:

 5     BY MS. MACKIN                                           6

 6     BY MS. BRAILEY                                          57

 7

 8

 9     CHANGES AND SIGNATURE                                   60

10     REPORTER’S CERTIFICATION                                62

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12                               --ooOoo--

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                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 623
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              634 of -
                                                                     7974/30/2020

                                                                              4
 1                            EXHIBIT INDEX

 2    Exhibit Number         Description                         Page

 3     Exhibit 1       Intervenor-Plaintiffs Texas             9
                       Democratic Party, DSCC, and
 4                     DCCC’s Complaint for Declaratory
                       and Injunctive Relief
 5
       Exhibit 2       Defendants’ Notice of Oral              10
 6                     Deposition Pursuant to Federal
                       Rule of Civil Procedure 30
 7
       Exhibit 3       2/3/2020 DSCC press release             15
 8
       Exhibit 4       DSCC FEC Form 1                         46
 9                     Statement of Organization

10     Exhibit 5       DSCC Disbursements to TDP               49
                       printout, dated January through
11                     March 2020

12
                                 --ooOoo--
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              635 of -
                                                                     7974/30/2020

                                                                              5
 1               (Thursday, April 30, 2020, 10:15 a.m.)

 2                        P R O C E E D I N G S

 3                     THE REPORTER:     Today is Thursday,

 4    April 30, 2020.     This is the videoconferenced deposition

 5    of the DSCC’s Corporate Representative, Sarah

 6    Schaumburg, in the matter of Jarrod Stringer, et al.

 7    versus Ruth Hughs, et al.       Due to the COVID-19 pandemic,

 8    we are remotely situated, and we are on the record at

 9    10:15 a.m., Central Standard Time.

10                     My name is Debbie Cunningham, and my

11    business address is P.O. Box, Manchaca, Texas 78652.

12                     Would all persons present please

13    introduce themselves for the record?

14                     MS. MACKIN:    This is Anna Mackin with the

15    Texas Attorney General’s office on behalf of the

16    Defendants.

17                     MS. BRAILEY:    This is Emily Brailey with

18    Perkins Coie on behalf of the Plaintiff Intervenors.

19                     MS. BRANCH:    Aria Branch with Perkins

20    Coie on behalf of the Plaintiff Intervenors.

21                     THE REPORTER:     Is anyone else making

22    announcements?

23                     (No audible response.)

24                     (Witness sworn by the reporter.)

25                     MS. SCHAUMBURG:     I apologize.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              636 of -
                                                                     7974/30/2020

                                                                              6
 1                       (Brief interruption.)

 2                           SARA SCHAUMBURG,

 3    having taken an oath to tell the truth, the whole truth,

 4    and nothing but the truth, was examined and testified as

 5    follows:

 6                              EXAMINATION

 7    BY MS. MACKIN:

 8          Q.    Good morning, Ms. Schaumburg.        If you wouldn’t

 9    mind, just please speak and spell your name one more

10    time for the record.

11          A.    Sure.    It’s Sara Schaumburg, S-A-R-A

12    S-C-H-A-U-M-B-U-R-G.

13          Q.    Thank you.

14                     My name is Anna Mackin.       I’m an attorney

15    with the Texas AG’s Office, and I represent the

16    Defendants in the case.       I’m going to be taking your

17    deposition today.      Have you been deposed before?

18          A.    Yes.

19          Q.    Okay.    So you’re probably familiar with the

20    basic ground rules, but I want to touch on a couple of

21    high points before we get into the meat of the

22    questions.    Since we are using this remote means, please

23    try to give a verbal answer to my questions, a "yes" or

24    a "no," as opposed to "uh-huh" or "huh-uh."           That’s

25    because Debbie is writing down everything we say, and so

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              637 of -
                                                                     7974/30/2020

                                                                              7
 1    that way we can get a clear and accurate record.            Okay?

 2          A.     Yes.

 3          Q.     Okay.    And please let me finish my question

 4    before you answer.       I will also endeavor to let you

 5    finish your answer before I ask my next question.

 6    Again, this is especially important that we avoid

 7    speaking over today to give the court reporter time to

 8    get everything down.

 9                       If you don’t understand one of my

10    questions, will you agree to tell me so that I can

11    rephrase it?

12          A.     Yes.

13          Q.     Thank you.

14                       And this is not an endurance contest.

15    You are the talent.       If you need a break to use the

16    restroom, stretch your legs at any time, just let me

17    know.    I’ll have you answer any question that is pending

18    at the time; but then you can go ahead and take that

19    break.     Okay?

20                       Any reason that you might not be able to

21    answer my questions honestly, completely, and accurately

22    today?

23          A.     No.

24          Q.     And now that the deposition is underway,

25    please tell me if you communicate via text, e-mail, or

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              638 of -
                                                                     7974/30/2020

                                                                              8
 1    any other means about [sic] your counsel about the

 2    substance of your testimony between now and when I

 3    conclude the deposition.       Okay?

 4          A.    Yes.

 5          Q.    Do you have any documents in front of you?

 6          A.    No.

 7          Q.    Okay.   I’m going to be showing you some

 8    documents today; but since we’re situated remotely, if

 9    you refer to any document or any website to aid you in

10    answering my questions, please let me know that.            Okay?

11          A.    And just to -- sorry.      I do have a hard copy

12    of the Complaint.

13          Q.    Okay.

14          A.    And the -- and my declaration.

15          Q.    Okay.   Thank you for that.

16                      Also during our conversation today, when

17    I say DSCC, I will be referring to the Democratic

18    Senatorial Campaign Committee; and when you say DSCC, I

19    will also understand you to be referring to the

20    Democratic Senatorial Campaign Committee.          Is that fair?

21          A.    Yes.

22          Q.    Okay.   So during today’s deposition, I’m going

23    to be showing you some documents.         We can do this one of

24    two ways.    I can share documents on my screen, or I can

25    send a link in the chat box to allow you to click and

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              639 of -
                                                                     7974/30/2020

                                                                              9
 1    download the document.       Do you have a preference?       Would

 2    one of those be easier for you?

 3          A.    Probably the link.

 4          Q.    Okay.    Let’s go ahead, then, and practice with

 5    what’s going to be Exhibit 1.

 6                     (Exhibit 1 marked.)

 7          Q     (BY MS. MACKIN)     So I’m placing a document in

 8    the chat box.      Did that go through okay?

 9          A.    It did.

10          Q.    Okay.    And if you wouldn’t mind opening that

11    up, take a look at it and let me know when you are ready

12    to discuss it.

13          A.    Okay.

14          Q.    Have you seen this document before,

15    Ms. Schaumburg?

16          A.    Yes.    My only hesitation is just the date is

17    different than the one that I was familiar with.            I

18    thought one -- I’m looking at one, so I’m just -- or the

19    one that I have is from December.         This one is from

20    January, but I think I am generally familiar with this

21    document.

22          Q.    Okay.    And what is it?

23          A.    This is our Complaint in this case.

24          Q.    Okay.    And did you review the document before

25    it was filed?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              640 of -
                                                                     7974/30/2020

                                                                             10
 1          A.    Yes.

 2          Q.    Okay.   How much time would you say that DSCC

 3    staff spent reviewing this document before it was filed?

 4          A.    Personally, I probably spent about an hour or

 5    two looking over it before it was filed.          I can’t speak

 6    to others.

 7          Q.    Do you know if anyone else with DSCC reviewed

 8    it before it was filed?

 9          A.    I believe so, but I don’t know for sure.

10          Q.    Okay.   That’s all that I have on that

11    document.

12                     MS. MACKIN:    I’m going to share another

13    document in the chat box.

14                     (Exhibit 2 marked.)

15          Q.    (BY MS. MACKIN)     Please let me know if that’s

16    come through okay, and let me know when you’re ready to

17    discuss it.    And, obviously, take all the time you need

18    to look it over.

19          A.    Okay.

20          Q.    All right.    Have you seen this document

21    before?

22          A.    Yes.

23          Q.    And what is it?

24          A.    This is the Notice of my deposition and the

25    deposition topics.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              641 of -
                                                                     7974/30/2020

                                                                             11
 1          Q.    Okay.   And so you understand that you are here

 2    today pursuant to this Deposition Notice?

 3          A.    Yes.

 4          Q.    And you understand that this document says

 5    that DSCC is directed to designate one or more persons

 6    to testify on its behalf on the topics of this Notice?

 7          A.    Yes.

 8          Q.    And so do you understand that your testimony

 9    today is on behalf of DSCC, and your answers will bind

10    DSCC?

11          A.    Yes.

12          Q.    Okay.   And, again, taking all the time you

13    need to review the topics listed in the Notice, have you

14    been designated as DSCC’s representative on each topic

15    in Exhibit 2?

16          A.    That’s my understanding, yes.

17          Q.    Okay.   How did you prepare for today’s

18    deposition?

19                     MS. BRAILEY:    I’m going to object on the

20    attorney-client privilege.

21                     Sara, you can answer as long as you don’t

22    reveal any conversation with me on that.

23          A.    I’ve had two sessions with counsel.         I spoke

24    with some other employees at the DSCC about our

25    involvement in Texas, and I reviewed some of the filings

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              642 of -
                                                                     7974/30/2020

                                                                             12
 1    in the case and the documents that the DSCC has produced

 2    in the case.

 3          Q.    Who did you meet with at DSCC to prepare for

 4    today’s deposition?

 5          A.    I spoke briefly with Allison Wright and Ben

 6    Walden.

 7          Q.    And what is Ms. Wright’s position with DSCC?

 8                     MS. BRAILEY:    I’m going to object on the

 9    First Amendment to the extent that any of your answers

10    would include strategic information.

11                     But you can answer at a high level.

12          A.    She handles our compliance.

13          Q.    (BY MS. MACKIN)     So, like, one of her job

14    duties is filing your filings with the FEC, for example?

15          A.    That, I don’t know.

16          Q.    Oh, okay.    No problem.

17                     And then what is Mr. Walden’s role with

18    DSCC?

19                     MS. BRAILEY:    The same objection.       I’m

20    going to just object on the First Amendment.

21                     You can answer at a high level as long as

22    you don’t reveal strategic information.

23          A.    He’s the director of Candidate Services.

24          Q.    (BY MS. MACKIN)     So did you meet with anyone

25    else at DSCC to prepare for today’s deposition besides

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              643 of -
                                                                     7974/30/2020

                                                                             13
 1    Ms. Wright and Mr. Walden?

 2          A.    No.

 3          Q.    Okay.    And why did you meet with Ms. Wright to

 4    prepare for today’s deposition?

 5          A.    To make sure I had a complete understanding of

 6    our investments and involvement in Texas in the Texas

 7    Senate race.

 8          Q.    And how about Mr. Walden, why did you meet

 9    with him?

10          A.    I’m sorry.    I said for the same reason as

11    Ms. Wright.

12          Q.    Okay.    Thank you for that.

13                      And you mentioned that you met with your

14    counsel twice?

15          A.    Correct.

16          Q.    Okay.    And, again, I’m not asking for the

17    substance of those communications or what you discussed,

18    nothing privileged, just kind of the nuts and bolts of

19    how long were each of those meetings?

20          A.    A couple of hours.

21          Q.    All right.    And so are you adequately

22    familiarized with the facts to testify as DSCC’s

23    representative on the topics in the Notice?

24          A.    Yes.

25          Q.    Okay.    Did you review -- well, let’s see.        You

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              644 of -
                                                                     7974/30/2020

                                                                             14
 1    mentioned that you reviewed the filings in this lawsuit,

 2    not all of them, some of them, and the documents that

 3    DSCC has produced to us.        Did you review any other

 4    documents to prepare for today’s deposition?

 5                      MS. BRAILEY:    I’m just going to object to

 6    preserve the attorney-client privilege.

 7                      You can answer as long as none of this

 8    involves our conversations.

 9          A.    No.

10          Q     (BY MS. MACKIN)      So your counsel has provided

11    some documents to us that are Bates numbered DSCC 1

12    through DSCC 906.      Are you aware of that?

13                      MS. BRAILEY:    Objection.

14                      Anna, just so you know, it goes to 911 is

15    the final Bates number.

16                      MS. MACKIN:    I apologize.    911.   I guess

17    the last document is titled 906, but it’s several pages.

18                      MS. BRAILEY:    Right.

19                      MS. MACKIN:    I appreciate that.     Thank

20    you, Emily.

21          Q     (BY MS. MACKIN)      And so are you familiar with

22    the fact that those documents have been provided to us,

23    Ms. Schaumburg?

24          A.    I understand that counsel produced this set of

25    documents in advance of this.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              645 of -
                                                                     7974/30/2020

                                                                             15
 1          Q.     And is it your understanding that the

 2    documents were provided as DSCC’s response to the

 3    subpoena on page 6 of Exhibit 2?

 4          A.     Yes.

 5          Q.     Okay.

 6                     MS. MACKIN:    And I’m going to attach a

 7    copy of that production to this deposition as Exhibit 3.

 8                     (Exhibit 3 marked.)

 9                     MS. MACKIN:    I can try to share it in the

10    chat box.     Let me see if it will go through.        No, it’s

11    not letting me do that; but I’ll provide them to all

12    parties after the deposition.        Plaintiffs are welcome --

13    sorry.     Intervenors are welcome to verify that it is, in

14    fact, the production.

15                     MS. BRAILEY:    And, Anna, if you’re going

16    to use specific ones, will you puts those specific pages

17    in the chat.

18                     MS. MACKIN:    Yes, yes.

19                     MS. BRAILEY:    Okay.

20          Q      (BY MS. MACKIN)    And, Ms. Schaumburg, did you

21    review the documents that were produced to us before

22    they were produced?

23          A.     I believe so.

24          Q.     Okay.   And do you know the names of the DSCC

25    staff members who searched for documents to respond to

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              646 of -
                                                                     7974/30/2020

                                                                             16
 1    the subpoena?

 2                     MS. BRAILEY:    I’m going to object on both

 3    attorney-client privilege because of our conversations

 4    and also on the First Amendment to the strategic

 5    information.

 6                     You can answer to the extent that you

 7    know and don’t reveal strategic or privileged

 8    communications.

 9          A.    No, I don’t know.

10          Q     (BY MS. MACKIN)     Okay.    All right.    So I’d

11    just like to briefly go through the list on page 6 of

12    Exhibit 2.    The first category of documents, did DSCC

13    provide documents in response to this request?

14          A.    So I was not involved in putting together the

15    production, but it’s -- just looking at it, it’s my

16    understanding that the DSCC searched for and produced

17    documents in consultation with counsel and that those

18    documents satisfied the request.

19          Q.    Okay.   And would that be your answer with

20    respect to all five categories of documents listed on

21    page 6 of Exhibit 2?

22          A.    Yes.

23          Q.    Okay.   In preparation for today’s deposition,

24    did you review any documents that have not been produced

25    to us?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              647 of -
                                                                     7974/30/2020

                                                                             17
 1                     MS. BRAILEY:    I’m going to object on

 2    attorney-client privilege.

 3                     You can answer to the extent that you

 4    don’t reveal privileged conversations.

 5          A.    Did I review any -- other than the filings

 6    that I mentioned, no.

 7          Q     (BY MS. MACKIN)     Okay.    And so you are

 8    currently employed by DSCC; is that right?

 9          A.    Yes.

10          Q.    And that is a national party committee of the

11    Democratic Party?

12          A.    That’s correct.

13          Q.    Okay.   What is your job title?

14          A.    I’m the Director of Voter Protection and the

15    Deputy Policy Director.

16          Q.    And how long have you held that position?

17          A.    Since early November of 2019.

18          Q.    And before that, what was your job?

19          A.    I was a litigation associate at WilmerHale.

20          Q.    I cannot believe you got out of the game.

21                     So what are your job duties in your

22    current role at DSCC?

23          A.    So on the voter protection side, I work to

24    manage and oversee the DSCC’s voter protection efforts.

25    A lot of that entails working with the state voter

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              648 of -
                                                                     7974/30/2020

                                                                             18
 1    protection directors in the Senate battleground states

 2    to advise and provide guidance on their voter protection

 3    programs and helping them identify issues as they come

 4    up, identify opportunities to expand voting access, and

 5    eliminate barriers and obstacles to voting.

 6                     And on the policy side, a lot of it

 7    involves tracking federal legislation, what’s going on

 8    on the Senate floor, and helping our campaigns and

 9    candidates understand and follow that process and

10    develop their policy platforms.

11          Q.    You mentioned sort of liaising with state

12    voter protection directors.        Is there a voter protection

13    director for the state of Texas?

14          A.    Yes.

15          Q.    And what is that person’s name?

16          A.    Rose Clouson.

17                     (Reporter requests spelling.)

18                     THE WITNESS:    C-L-O-U-S-O-N.

19          Q     (BY MS. MACKIN)     And who do you report to

20    within the DSCC organizational structure?

21          A.    In the voter protection role, I would report

22    to our executive director.

23          Q.    What is the executive director’s name?

24          A.    Scott Fairchild.

25          Q.    Okay.   And then in the policy role?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              649 of -
                                                                     7974/30/2020

                                                                             19
 1          A.    I would report to the policy director.

 2          Q.    And what is that person’s name?

 3          A.    Hazeen Ashby.     I spell that.     H-A-Z-E-E-N.

 4    The last name is Ashby, A-S-H-B-Y.

 5          Q.    Does anyone report to you?

 6          A.    No.

 7          Q.    Okay.    Do you enjoy your job?

 8          A.    Yes, I do.

 9          Q.    Good.

10                      And I just briefly want to cover your

11    educational background, starting with the most advanced

12    degree obtained.      I assume you went to law school?

13          A.    I did.

14          Q.    And where did you go to law school?

15          A.    I graduated from Harvard Law School.

16          Q.    In what year?

17          A.    2016.

18          Q.    And then how about undergraduate?         Where did

19    you go to undergraduate?

20          A.    University of Pennsylvania.

21          Q.    And what did you study?

22          A.    Political science.

23          Q.    And what year did you graduate?

24          A.    2007.

25          Q.    Okay.    What did you do in between college and

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              650 of -
                                                                     7974/30/2020

                                                                             20
 1    law school?

 2          A.    So in 2006 I took time off of college and

 3    worked on a House race in Pennsylvania.          I continued to

 4    work on that after graduation in the ’08 and 2010

 5    cycles.    Although in 2009, in January 2009, I went to

 6    the official side for a while; and I was a Congressional

 7    staffer, a legislative aide, focused primarily on

 8    healthcare policy.      And then towards the end of the

 9    campaign cycle, I went back to the campaign side as the

10    communications director.

11                     After 2010 -- we lost that race -- I went

12    to work for another congressman, then Congressman Ed

13    Markey, from Massachusetts.        I was with him through June

14    2013.   And then went to law school in that fall.

15          Q.    And so you mentioned working for Congressman

16    Markey; and then, before that, you talked about a couple

17    of roles with campaigns and then on the official side.

18    Was that all for the same person?

19          A.    Yes.

20          Q.    And who was that?

21          A.    Patrick Murphy.

22          Q.    All right.

23          A.    I should say on the campaign side, I served as

24    a field organizer and also was the deputy finance

25    director for a cycle; and then my final role was as the

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              651 of -
                                                                     7974/30/2020

                                                                             21
 1    comms director.

 2          Q.    I worked on a couple of campaigns.         I know

 3    that sometimes you can wear many hats.

 4                     All right.    So jumping over to the topics

 5    in the Notice, I’m just going to start with Topic 1.

 6    What is DSCC’s mission?

 7          A.    So the DSCC is the National Senatorial

 8    Committee of the Democratic Party’s organization that’s

 9    responsible for the day-to-day operations of the Party

10    at a national level, and its mission is just to elect

11    Democrats, Democratic candidates to the United States

12    Senate, including candidates from Texas.

13          Q.    And has that mission changed over time?

14          A.    Not that I know of.

15          Q.    Okay.   When was DSCC first established?         And

16    I’ll say I understand that from the FEC filings, some of

17    them say Democratic Senatorial Campaign Committee; and

18    some of them just say DSCC.        I’m referring to the same

19    organization.

20          A.    I would have to check.

21          Q.    Okay.   What percentage of DSCC’s activities,

22    just approximately, would you say are focused on voter

23    registration?

24                     MS. BRAILEY:    I’m going to object on the

25    First Amendment.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              652 of -
                                                                     7974/30/2020

                                                                             22
 1                     You can answer at a high level.

 2           A.   So I don’t think I could give that a

 3    percentage.    It doesn’t exactly -- that’s not how we

 4    would break down our operations.         I mean, the core of

 5    what the DSCC does is working with campaigns and state

 6    parties to support a range of different activities,

 7    including field; and that would, you know, be voter

 8    registration, voter turnout, GOTV.         So it’s definitely a

 9    core part of the GOTV’s mission and activities, but

10    it’s -- I cannot put a percentage on it.

11                     I can’t -- I don’t know if something

12    happened with the sound.

13           Q.   Can you hear me?

14           A.   I can now.

15           Q.   Okay.    I didn’t really say anything.       I said,

16    "Fair enough" but kind of to myself.

17           A.   I saw the mouth moving, but I couldn’t hear

18    you.

19           Q.   Sorry.

20                     Would you say at a high level that DSCC’s

21    focus on voter registration activities has been the same

22    over time, or has it changed?

23                     MS. BRAILEY:    Again -- I know you said

24    "high level," but just to preserve it, object on the

25    First Amendment.

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              653 of -
                                                                     7974/30/2020

                                                                             23
 1                     You can answer to the extent you don’t

 2    reveal internal strategic decisions.

 3          A.    I think it’s definitely been a focus of the

 4    DSCC’s mission.     I think, you know, our focus depends --

 5    like, it will vary.      Depending on the cycle, depending

 6    on the state and what race you’re talking about, there’s

 7    different -- you know, each state is different and

 8    presents different challenges.

 9                     You know, in a situation where we’re

10    dealing with a state that has put in place a lot of

11    obstacles to voter registration, like in Texas, then it

12    will be an even greater focus for the DSCC if there’s --

13    you know, if you have a situation like we have here,

14    where the State’s not allowing simultaneous online

15    registration, then we know that voter registration’s

16    going to have to be a higher priority than it might be

17    in another state where it’s easier to register folks.

18          Q.    And would you say that -- well, strike that.

19                     Okay.   Moving on to Topic 2, DSCC’s

20    organizational structure, how many employees does DSCC

21    have?

22          A.    (Inaudible.)

23          Q.    Okay.

24                     (Reporter requests repeat.)

25                     THE WITNESS:    Roughly, a rough

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              654 of -
                                                                     7974/30/2020

                                                                             24
 1    approximation, 50; but I don’t have an exact number.

 2          Q.     (BY MS. MACKIN)    Does DSCC have any parent or

 3    sibling entities?

 4                     MS. BRAILEY:    I’m just going to object on

 5    First Amendment.

 6                     But, obviously, you know, answer to the

 7    extent that you know it at a high level.

 8          A.     I’m not sure what you mean by -- what did you

 9    say, sister?

10          Q.     (BY MS. MACKIN)    Sibling.

11          A.     What do you mean by that?

12          Q.     Well, I think we can actually explore that

13    with an exhibit later on.       So we can move along from

14    that.

15                     DSCC is a 501(c)(4), though, correct?

16                     MS. BRAILEY:    I’m going to object on a

17    legal conclusion.

18                     You can answer to the extent that you

19    know.

20          A.     I believe that’s correct.

21          Q      (BY MS. MACKIN)    Okay.    All right.    I want to

22    jump down to Topic 4 and talk about DSCC’s activities in

23    Texas.     I’d like to get a sense of the general

24    categories, types of activities that DSCC is engaged in.

25    So I know that it can change from cycle to cycle; and

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              655 of -
                                                                     7974/30/2020

                                                                             25
 1    I’m not trying to get overly granular, just kind of --

 2    one of the things you mentioned earlier was candidate

 3    services might be, like, one bucket of activity.            How

 4    would you kind of describe the main categories of

 5    activities that DSCC conducts in Texas?

 6          A.    So the DSCC engages in a range of activities;

 7    and, again, it will depend on the particular state and

 8    particular race.     But we advise candidates and state

 9    parties to support their programs and operations.

10                     We raise and spend tens of millions of

11    dollars that we use to support individual Senate

12    campaigns, either via direct contributions or by making

13    investments on behalf of the campaigns, a lot to the

14    limit.

15                     We transfer down funding to state parties

16    that’s used part of the coordinated campaign to hire key

17    staffers, invest in field and turnout operations.            So

18    that would include voter registration, persuasion, GOTV.

19                     And we invest in communications tools

20    that would make it easier for campaigns and -- for

21    campaigns to contact voters, like texting, dialing, that

22    would help our candidates expand their voter

23    registration and turnout efforts.

24          Q.    Okay.   So, again, with the understanding that,

25    you know, I’m not expecting you to list every discreet

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              656 of -
                                                                     7974/30/2020

                                                                             26
 1    activity but just to get a sense of, like, the broad

 2    categories, what I have, based on your answer, seems to

 3    fall into -- and correct me if I’m wrong; I’m just

 4    trying to make a list -- state party support, candidate

 5    support, the coordinated campaign, and investments in

 6    communication tools.      Did I miss something,

 7    mischaracterize it?

 8          A.    When you say the state party -- I mean, the

 9    transfers down are used to support the coordinated, so.

10          Q.    Okay.   So that’s kind of like one bucket,

11    like, state party support, the coordinated campaign

12    would fall within that?

13          A.    Sure.

14          Q.    Okay.   And so what types of -- and I know you

15    gave some examples; but now I do want to dive a little

16    deeper, again, with the understanding that I’m not

17    expecting, you know, like, "We ran this ad on March 1st"

18    or whatever.     But what types of activities does the DSCC

19    engage in that you would characterize as state party

20    support?

21                     MS. BRAILEY:    And I’ll object on the

22    First Amendment.

23                     You can answer at a high level.

24          A.    So we transferred down funding to the state

25    parties; and, again, that’s used to support and finance

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              657 of -
                                                                     7974/30/2020

                                                                             27
 1    activities that are part of a coordinated campaign which

 2    supports Democratic candidates up and down the ballot.

 3    And so that’s the things I’ve listed before.           It would

 4    include hiring staff, supporting field and turnout,

 5    things like that.

 6          Q.    And would you categorize voter-registration

 7    efforts as falling under that state party support

 8    umbrella?

 9          A.    In part at least.

10          Q.    And what else might voter-registration

11    efforts -- well, you said voter-registration efforts

12    could, in part, be characterized as state party support.

13    How else could they be characterized?

14          A.    I mean, again, the communication tools that we

15    invest in help candidates expand their voter-contact

16    efforts, to include voter registration.

17          Q.    And so what types of voter-registration

18    efforts does the DSCC engage in?

19                     MS. BRAILEY:    I’ll object on the First

20    Amendment.

21                     You can answer at a high level.

22          A.    Sorry.   I’m just trying to distinguish from

23    what I’ve -- what you’ve already asked.          I mean, we

24    provide support for state parties, which is the

25    coordinated, and comms tools.        I think that is primarily

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              658 of -
                                                                     7974/30/2020

                                                                             28
 1    how we would support voter registration.

 2           Q    (BY MS. MACKIN)     So it would be like -- oh, I

 3    see.    So, like, the support that you provide to the

 4    state party, some of that is used by the state party for

 5    voter-registration efforts?        Is that what you’re saying?

 6           A.   As part of a coordinated campaign.

 7           Q.   Okay.   And then you also make investments in

 8    these tools that you make available to state parties and

 9    the tools can assist the state parties with voter

10    registration; is that right?

11           A.   My understanding is that the communications

12    tools are something we provide to individual campaigns.

13    I’m not sure if we provide that to the state party.

14           Q.   So I’m getting a sense that the ways that DSCC

15    support voter-registration efforts are, Number 1, by

16    providing funds to state parties, which then use those

17    funds for voter-registration efforts.          And, Number 2, by

18    providing communications tools to campaigns, which the

19    campaigns can then use for voter-registration efforts;

20    is that right?

21           A.   It also provides funding to individual

22    campaigns that might use that for voter registration.

23           Q.   Okay.   And when you provide funds to a state

24    party, do you -- I want to say earmark; but I know that

25    has, like, a legal connotation in a campaign finance

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              659 of -
                                                                     7974/30/2020

                                                                             29
 1    context.    So that’s not really what I mean.         Like, when

 2    you provide funds to state parties, do you specify, "Use

 3    these funds for voter registration"; or is up to the

 4    party to take the funds that it receives from DSCC and

 5    then decide to use them for voter registration?

 6                     MS. BRAILEY:    I’m going to object on the

 7    First Amendment.

 8                     You can answer at high level.

 9                     But I’m also going to object on form that

10    it’s vague and compound.

11          A.    Yeah.   Can I -- sorry.      Can I ask you to

12    rephrase?

13          Q     (BY MS. MACKIN)     Sure.    So -- actually, I kind

14    of forgot my question.

15                     MS. MACKIN:    Debbie, would you mind

16    reading it back, just to remind me; and then I will

17    rephrase it.

18                     THE REPORTER:     Okay.

19                     MS. MACKIN:    Thank you.

20                     (The requested material was read as

21    follows:

22                     "QUESTION:    And when you provide funds to

23    a state party...")

24                     THE REPORTER:     Oh, do you want me to

25    continue?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              660 of -
                                                                     7974/30/2020

                                                                             30
 1                     MS. MACKIN:    Now I remember.

 2          Q     (BY MS. MACKIN)     So when the DSCC provides

 3    funds to a state party, will it ever specify that those

 4    funds are to be used for voter registration?

 5                     MS. BRAILEY:    Objection on the First

 6    Amendment.

 7                     You can answer at a high level.

 8          A.    Specify in what way?

 9          Q     (BY MS. MACKIN)     In any way.

10          A.    My understanding is that we would not.          And I

11    don’t -- you know, that we provide funding to the state

12    party; but it’s not designated for particular specific

13    purposes.

14          Q.    Okay.

15          A.    I think the -- you know, in deciding -- well,

16    I’ll leave it at that.

17          Q.    Okay.   Thank you.

18                     And then when DSCC provides support to

19    campaigns, will it ever designate the funds it provides

20    for voter registration activities?

21                     MS. BRAILEY:    Objection on the First

22    Amendment.

23                     You can answer at a high level.

24                     And, also, an objection to a legal

25    conclusion.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              661 of -
                                                                     7974/30/2020

                                                                             31
 1                     So just answer to the extent that you

 2    know in your experience.

 3          A.    Not to my knowledge.

 4          Q     (BY MS. MACKIN)     Okay.    And when the DSCC

 5    makes communication tools available to campaigns, will

 6    it ever designate those tools to be used specifically

 7    for voter registration purposes?

 8                     MS. BRAILEY:    Same objection, First

 9    Amendment.

10                     You can answer at a high level.

11                     And legal conclusion.

12                     If you know what it means in your

13    experience.

14          A.    I’m not really sure -- I’m not sure I totally

15    understand the question.       I mean, there are

16    communication tools which are, by definition, meant to

17    communicate with voters for doing -- for voter-contact

18    activities which would include voter registration.            So I

19    think it’s sort of inherent to the nature of the tool.

20          Q.    (BY MS. MACKIN)     But the tool can be used for

21    multiple purposes, right?

22          A.    It’s for voter contact.

23          Q.    Okay.   And just to make sure I’m clear, does

24    DSCC itself conduct voter registration activities in

25    Texas?

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              662 of -
                                                                     7974/30/2020

                                                                             32
 1                      MS. BRAILEY:    Objection on the First

 2    Amendment.

 3                      Answer at a high level.

 4          A.    Other than what I’ve described?

 5          Q     (BY MS. MACKIN)      Other than by providing

 6    support to candidates and campaigns who can then conduct

 7    voter-registration activities.

 8          A.    I mean, I think that there could be instances

 9    where DSCC staff advise, whether by training or other

10    guidance, on voter-registration activities, in addition

11    to everything that we’ve already talked about.

12          Q.    Okay.    Anything else?

13          A.    On?    I’m sorry.    Anything else...

14          Q.    Does DSCC conduct any other voter-registration

15    activities in Texas besides the support it provides to

16    state parties, the support it provides to campaigns; and

17    then you mentioned the possibility of DSCC staff

18    providing guidance or training on voter registration?

19          A.    That’s all I can think of.

20          Q.    Okay.    How often would you say DSCC’s staff

21    has provided guidance on voter registration in Texas?

22          A.    How often?

23          Q.    Uh-huh.

24          A.    What do you mean by, like --

25          Q.    Well, you mentioned that it might happen.          And

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              663 of -
                                                                     7974/30/2020

                                                                             33
 1    so I’m just trying to get a sense of whether that has,

 2    in fact, happened or it’s more of a hypothetical

 3    possibility.

 4          A.    I mean, it has certainly happened.         It’s

 5    hard -- I’m not sure how -- how often.          You know, like I

 6    said, they would advise as needed.         It depends, again,

 7    on the other needs of the campaign and what’s going on

 8    in a particular state.

 9          Q.    Okay.

10          A.    But we certainly do provide guidance and

11    training and, you know, expertise on all things field

12    and voter contact; and voter registration is a big part

13    of that.

14          Q.    Any other voter-registration activities that

15    DSCC has engaged in in Texas?

16          A.    Again, that’s all I can think of.

17          Q.    Okay.   How much did DSCC spend on voter

18    registration in Texas in 2014?

19                     MS. BRAILEY:    Objection on the First

20    Amendment.

21                     Just answer at a high level.

22          A.    It’s not like there’s a line item for

23    voter-registration efforts, so it’s hard for me to

24    answer that.

25          Q     (BY MS. MACKIN)     And would your answer be the

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              664 of -
                                                                     7974/30/2020

                                                                             34
 1    same for the years 2015, 2016, 2017, 2018, and 2019?

 2          A.     My answer to the question of how much did the

 3    DSCC spend on voter registration?         Yes.

 4          Q.     And would that also be your answer for how

 5    much the DSCC spent on voter registration in 2020?

 6          A.     I mean, again, there’s no line item for voter

 7    registration.     So in 2020 we’ve made investments in

 8    Texas and we expect to make significantly more, given

 9    the state of that race; but there’s not a particular --

10    there’s not a specific, like, line item for voter

11    registration in the budget or something like that.

12          Q.     Okay.   What investments have you made in

13    Texas?

14                     MS. BRAILEY:    Again, I’ll object to the

15    First Amendment.

16                     But you can answer at a high level.

17          A.     What time period are you talking about?

18          Q      (BY MS. MACKIN)    In 2020.

19          A.     Like, in the 2020 cycle?

20          Q.     Well, sure.

21          A.     Okay.   Because that would be 2019, too.

22          Q.     Okay.   Fair enough.

23          A.     So for this cycle, it’s my understanding that

24    we have invested nearly $200,000 in Texas in various

25    ways.     I know we’ve max’ed out to the MJ for Senate

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 654
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              665 of -
                                                                     7974/30/2020

                                                                             35
 1    Campaign.    We’ve done $25,000 in transfer downs and

 2    roughly a hundred thousand in polling.

 3          Q.    And do you know if any of those investments

 4    have been used for voter-registration activities?

 5          A.    So I do know that TDP is -- as you might be

 6    aware, is undertaking the biggest voter registration

 7    initiative in the history of the state party.           And so

 8    it’s my understanding that, again, the funding that we

 9    provide to the state party is used for coordinated

10    campaign expenses; and so that would all be part of

11    those efforts.

12          Q.    All right.    Other than the funds that DSCC

13    transferred down to TDP, do you know if any of its other

14    investments in the 2019-2020 cycle in Texas have been

15    used for voter registration?

16          A.    So I don’t know specifically; but I do want to

17    make two points, just to make sure this is clear so --

18    as far as the funding goes, because you’re asking about

19    what we’ve done so far.       As far as transfer down

20    funding, it’s very early in the cycle to be assessing

21    the level of transfer down funding.         You know, a lot of

22    those investments are things you wouldn’t expect to see

23    until later in the cycle, with early voting not starting

24    for six months.

25                     So we’ve done, you know, what we’ve done

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              666 of -
                                                                     7974/30/2020

                                                                             36
 1    so far; but on a related note, you know, we intend to

 2    spend significantly more in Texas than what we’ve seen

 3    already, easily into the millions, given the

 4    competitiveness of the race and the fact that the DSCC

 5    is aware of several obstacles that Texas has put in

 6    place to turning out voters, including the failure to

 7    allow for simultaneous online registration.           So I just

 8    wanted to make sure that was clear.

 9          Q.    Okay.   Thank you for that.

10                     But so far in the 2019-2020 cycle, you

11    mentioned that the DSCC has transferred money to the TDP

12    that might be used for voter registration.           Other than

13    that, has the DSCC made any other investments in the

14    2019-2020 cycle that can be used for voter registration?

15          A.    So I listed all of the investments that we’ve

16    made in Texas that I’m aware of; and, again, we’ll just

17    stress that the DSCC intends to make significantly more

18    investments as the cycle progresses.

19          Q.    Sure.   Fair enough.     But to date.

20                     MS. BRAILEY:    I’m going to object on the

21    form.

22                     You can answer if you understand.

23          A.    So I think I’ve answered it.        I’ve listed the

24    investments in Texas in this cycle that I’m aware of.

25          Q.    (BY MS. MACKIN)     Right.    And I’m sorry if my

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              667 of -
                                                                     7974/30/2020

                                                                             37
 1    question wasn’t clear.       I was asking which of those

 2    investments have been used for voter registration.

 3                     MS. BRAILEY:    I’m going to object on form

 4    again.

 5          A.    So we contributed to the MJ for Senate.          I’m

 6    not -- I can’t -- I don’t know what exactly that is

 7    being used for; but we have provided the maximum amount

 8    that we are able to, to her campaign directly, which I

 9    think could be used for voter registration.

10                     We’ve given 25,000 to the coordinated,

11    which engages in voter-registration efforts and intend

12    to do more -- anticipate doing more through the

13    coordinated.

14          Q.    (BY MS. MACKIN)     Okay.    And do you know how

15    much of that 25,000 to the coordinated has been used for

16    voter registration?

17          A.    Sitting here, I couldn’t give you a specific

18    amount.    Again, I don’t -- I can’t speak to TDP’s, you

19    know, recordkeeping; but, like, the DS, as I said

20    before, it’s not like there’s a line item for voter

21    registration.     But I do know that TDP is undertaking a

22    huge voter-registration effort, in part, to compensate

23    for some of the unique challenges that it faces in the

24    state.

25          Q.    Okay.   So now I’m a little bit confused.         In

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              668 of -
                                                                     7974/30/2020

                                                                             38
 1    terms of the funds that you’ve invested in Texas in the

 2    2019-2020 cycle, I have funds to TDP, funds to MJ for

 3    Senate, and then funds to the coordinated campaign?

 4          A.    No, to the -- sorry.

 5          Q.    No, please go ahead.      I’m trying to

 6    understand, so correct me.

 7          A.    The funding to the state party is -- when I

 8    say "transfer down," that’s funding that we transfer

 9    down from the DSCC to the state party that is used for

10    the coordinated campaign expenses.

11          Q.    Okay.   So I’ve got funds to TDP and funds to

12    MJ for Senate; is that -- is that right?          Sorry.    That’s

13    a terrible question.

14                     For your investments in Texas in the

15    2019-2020, I’ve got funds to TDP and funds to MJ for

16    Senate.    Is there anything else?

17          A.    I also mentioned the polling.

18          Q.    Polling.    Okay.   Tell me about that.

19                     MS. BRAILEY:    Objection, vague.

20          A.    Can you clarify?

21          Q     (BY MS. MACKIN)     What do you mean by

22    "polling"?    I don’t --

23          A.    Like, what is polling?

24          Q.    Like, you say you have invested in polling.

25    Do you know if any of your investments in -- so if you

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                       www.integrity-texas.com                APPENDIX 658
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              669 of -
                                                                     7974/30/2020

                                                                             39
 1    invested in polling, those funds would not be used for

 2    voter registration, right?       They’d be used for polling?

 3          A.    Yes.

 4          Q.    Okay.   And then, so other than the funds to

 5    TDP, the funds to MJ for Senate, and the investments in

 6    polling, have you made any other investments in Texas in

 7    the 2019 to 2020 cycle so far?

 8                     MS. BRAILEY:    Objection in that it

 9    mischaracterizes the testimony.

10          Q.    (BY MS. MACKIN)     And if I’ve got it wrong,

11    please tell me.     I’m just trying to get the list.

12          A.    Can you repeat the question?

13          Q.    Sure.   So in the 2019 to 2020 cycle, DSCC has

14    invested in Texas in the following ways:          Funds to TDP,

15    fund to MJ for Senate, and investments in polling.            Is

16    there anything else so far?

17          A.    It this --

18                     THE WITNESS:    I’m sorry.     Emily, did

19    you...

20          A.    At this stage of the cycle, that’s my

21    understanding of our investments in the state.

22          Q.    (BY MS. MACKIN)     Thank you for that.

23                     All right.    And jumping back to the

24    previous cycle, 2017 to 2018, did DSCC make any

25    investments in voter registration in Texas in the 2017-

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 659
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              670 of -
                                                                     7974/30/2020

                                                                             40
 1    2018 cycle?

 2          A.    So I don’t -- I mean, as far as expenditures

 3    that the DSCC made to Texas in the 2018 cycle, I’m aware

 4    that I believe we spent, like, $35,000 on polling.            I’m

 5    not aware of specific, like, itemized expenditures.

 6    That’s not to say that -- like, there could have been

 7    staff time spent on supporting voter-registration

 8    efforts, but not that I’m aware of.

 9          Q.    Okay.   In the 2015 to 2016 cycle, are you

10    aware of DSCC making any investments in voter

11    registration in Texas?

12          A.    When you say "investments," can you -- like,

13    what are you...

14          Q.    I’m tracking the language in your Complaint.

15    So if there’s a better way to describe it, please let me

16    know.

17          A.    So I’m not aware of expenditures that the DSCC

18    made to Texas in the 2016 cycle.

19          Q.    So there weren’t any that you’re aware of?

20                     MS. BRAILEY:    Objection, mischaracterizes

21    the testimony.

22          A.    I’m not aware of expenditures that the DSCC

23    made in Texas in 2016.

24          Q     (BY MS. MACKIN)     And what about 2015?

25                     MS. BRAILEY:    Objection on form.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              671 of -
                                                                     7974/30/2020

                                                                             41
 1          A.    If you’re asking -- 2015 would be part of the

 2    2016 cycle, so --

 3          Q.    Okay.

 4          A.    -- my answer was to the 2016 cycle.

 5          Q.    Okay.   And so that includes 2015 as well?

 6          A.    Calendar year 2015 would be part of the 2016

 7    election cycle.

 8          Q.    Okay.   And then, are you aware of the DSCC

 9    making any expenditures for voter registration in Texas

10    in the 2014 cycle?

11          A.    As with the 2016 cycle, I’m not aware of DSCC

12    expenditures in Texas in the 2014 cycle.

13          Q.    Okay.

14                     MS. BRAILEY:    Anna, are we getting to a

15    point where we might be able to take a break?           We’re

16    about at the hour.

17                     MS. MACKIN:    Yeah, that’s fine.      We can

18    take a quick break now.       How long --

19                     Let’s go off the record.

20                     THE REPORTER:     Going off the record at

21    11:11 a.m.

22                     (Off the record from 11:11 to 11:26 a.m.)

23                     THE REPORTER:     Going back on the record

24    at 11:26 a.m.

25                     MS. MACKIN:    I’m sharing a document in

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 661
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              672 of -
                                                                     7974/30/2020

                                                                             42
 1    the chat box -- two documents, actually; and they are

 2    Bates numbered -- the first one begins at DSCC 796 and

 3    goes through 797; and the second one begins at DSCC 798

 4    and goes through 799.

 5          Q.    (BY MS. MACKIN)     Please take a look at those

 6    documents and let me know when you’re ready to discuss

 7    them.

 8          A.    Okay.

 9          Q.    So the page labeled DSCC 796 through 797, do

10    you recognize this document?

11          A.    I think it was -- I recognize it as -- I

12    believe as part of the production.

13          Q.    Okay.   Have you seen it before?

14          A.    Before right now?

15          Q.    Yes.

16          A.    Again, I reviewed the production before it

17    went out.    So I think -- I believe this is part of

18    production, so I would have seen it then.

19          Q.    Okay.   Do you recall whether you saw it before

20    reviewing the production?

21          A.    I don’t.

22          Q.    Okay.   Based on your experience with the DSCC,

23    what does this e-mail appear to be?

24          A.    It appears to be an e-mail asking a survey

25    question.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 662
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              673 of -
                                                                     7974/30/2020

                                                                             43
 1          Q.    And do you know whether the document that

 2    begins at 798 reflects a question that was asked on the

 3    survey linked in the e-mail, labeled 796?

 4          A.    I wouldn’t be able to tell you.

 5          Q.    Okay.   At a high level, what is the purpose of

 6    sending out a survey to -- here it says, "The audience

 7    of highly reliable Democrats"?

 8                     MS. BRAILEY:    Objection on the First

 9    Amendment.

10                     You can answer at a high level to the

11    extent you don’t reveal internal strategic decisions.

12          A.    Generally speaking, the DSCC wants to hear

13    from Democratic voters around the country, understand

14    what their priorities are, what folks’ concerns are, and

15    just get a sense of that.       And so I think that outreach

16    like this would be an attempt to obtain that insight.

17          Q.    (BY MS. MACKIN)     Do you know approximately how

18    often DSCC conducts surveys like this?

19          A.    I don’t.    I mean, I would say it’s not

20    infrequently; but it’s hard for me to be more specific.

21          Q.    And then, turning to the page -- well,

22    actually, that’s all I have on those.

23                     MS. MACKIN:    All right.     I am pulling

24    up -- well, I’m sharing in the chat box an exhibit -- a

25    document, rather; and it will be a page from Exhibit 3,

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              674 of -
                                                                     7974/30/2020

                                                                             44
 1    the document marked DSCC 800.

 2          Q.    (BY MS. MACKIN)     Please take a look at that

 3    document, and let me know when you are ready to discuss

 4    it.

 5          A.    Okay.

 6          Q.    This is an e-mail dated April 18th, 2020 that

 7    appears to have been sent from info@DSCC.org, with the

 8    name Chuck Schumer; is that right?

 9          A.    Yes.

10          Q.    Okay.   And at a high level, what is the

11    purpose of an e-mail like this?

12                     MS. BRAILEY:    Objection on the First

13    Amendment.

14                     You can answer to the extent it doesn’t

15    reveal internal strategic decisions.

16          A.    This is a fundraising e-mail.

17          Q.    (BY MS. MACKIN)     Okay.    And about halfway down

18    the page there’s a paragraph that begins, "We’re already

19    putting your funds to work making crucial investments

20    that will make the difference on Election Day.           Your

21    support is funding things like advertising to boost our

22    Democratic Senate candidates and registering a record

23    number of new voters in swing states."          Did I read that

24    correctly?

25          A.    Yes.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 664
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              675 of -
                                                                     7974/30/2020

                                                                             45
 1          Q.    And this mention of registering a record

 2    number of new voters in swing states, does that include

 3    the -- well, is that a reference to any activities in

 4    Texas?

 5          A.    I’m not sure what the drafter of this e-mail

 6    is specifically referring to, but certainly we have

 7    made investments in Texas that will further voter-

 8    registration efforts.      And so -- I’ll leave it at that.

 9                     But I can’t -- I don’t know what the

10    person who drafted this was specifically referring to,

11    if they had Texas in mind.

12          Q.    And so it also mentions a record number of new

13    voters.    I guess I’m -- can you help me understand what

14    is meant by "a record number" in this context?

15          A.    So, again, I didn’t draft this; and I don’t

16    know exactly what the drafter meant.         But, generally, a

17    record number means more than have been registered

18    through our efforts before.

19          Q.    Okay.

20          A.    And as I said earlier, again, TDP is in the

21    midst of a massive voter registration campaign that

22    transfer down funding from the DS would help to support,

23    so.

24          Q.    All right.    Thank you.

25                     All right.    That’s all I have on that.

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              676 of -
                                                                     7974/30/2020

                                                                             46
 1                      MS. MACKIN:   I’m going to share a

 2    document in the chat box that will be Exhibit 4 to this

 3    deposition.

 4                      (Exhibit 4 marked.)

 5          Q     (BY MS. MACKIN)     Please take a look at it and

 6    let me know when you’re ready to discuss it.

 7          A.    Okay.

 8          Q.    All right.    Do you recognize this document?

 9          A.    I don’t believe I’ve seen this document

10    before.

11          Q.    Okay.    Based on looking at it, what does it

12    appear to be?

13          A.    The title of the document is Statement of

14    Organization.

15          Q.    And it is a Federal Election Commission form

16    that appears to have been submitted by the DSCC to the

17    Federal Election Commission?

18          A.    That seems right.

19          Q.    Okay.    And scrolling down to page 3 of this

20    document, there is a box for "Name of Any Connected

21    Organization, Affiliated Committee, Joint Fundraising

22    Representative or Leadership PAC Sponsor."           And beneath

23    that it says, "Colorado Senate Victory 2016."           Are you

24    familiar with Colorado Senate Victory 2016?

25          A.    No.

                  Integrity Legal Support Solutions
                       www.integrity-texas.com                APPENDIX 666
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              677 of -
                                                                     7974/30/2020

                                                                             47
 1          Q.    Okay.    Do you know if it is active in Texas?

 2                     MS. BRAILEY:    Objection that this calls

 3    for a legal conclusion and is outside of the scope of

 4    the Deposition Notice.

 5                     But you can answer to the extent that you

 6    know.

 7                     MS. MACKIN:    And I’ll just note that the

 8    Notice does include all activities in Texas.           And so if

 9    this entity has acted in Texas, I think it would fall

10    within the scope of the Notice.

11                     MS. BRAILEY:    Same objection.

12                     But you can answer.

13          A.    I’m not aware.     I’m not familiar with the

14    entity.

15          Q.    (BY MS. MACKIN)     And so scrolling down to page

16    5 of 14, there’s an entry that says, "Colorado Senate

17    Victory 2020."      Are you familiar with Colorado Senate

18    Victory 2020?

19                     MS. BRAILEY:    Same objection to the

20    extent it calls for a legal conclusion and is outside

21    the scope of the Notice.

22                     You can answer to the extent that you

23    know.

24          A.    I’m not familiar with it, no.

25          Q.    (BY MS. MACKIN)     And then scrolling down to

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              678 of -
                                                                     7974/30/2020

                                                                             48
 1    page 6 there’s an entry for "Illinois Senate Victory

 2    2020."     Are you familiar with Illinois Senate Victory

 3    2020?

 4                       MS. BRAILEY:    I will make the same

 5    objection, object to legal conclusion and outside the

 6    scope.

 7                       You can answer.

 8          A.     No.

 9          Q      (BY MS. MACKIN)      All right.   Scrolling down to

10    page 7 there’s an entry for "Pennsylvania Senate 2016."

11    It’s listed as a Joint Fundraising Representative by the

12    box indicated on the form.         Are you familiar with

13    Pennsylvania Senate 2016?

14                       MS. BRAILEY:    I’m going to raise the same

15    objection, legal conclusion and outside the scope.

16                       But you can answer.

17          A.     No.

18          Q      (BY MS. MACKIN)      All right.   Scrolling down to

19    page 8 there’s an entry on this form for "Michigan

20    Senate Victory 2020," and the box ticketed says, "Joint

21    Fundraising Representative."         Are you familiar with

22    Michigan Senate Victory 2020?

23                       MS. BRAILEY:    I’m going to make the same

24    objection.     So if we’re going to go page by page, can I

25    say that I’m going to make the same objection to these

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              679 of -
                                                                     7974/30/2020

                                                                             49
 1    pages so that I don’t interrupt you; or I can just keep

 2    making the same objection?

 3                      MS. MACKIN:    I’m fine with that.

 4                      MS. BRAILEY:    So for the record, I’ll

 5    make the same objection, legal conclusion and outside

 6    the scope for each of the pages 8 through 14 on

 7    Exhibit 4.

 8                      You can answer.

 9          A.    No.    And I’ll have the same answer for the

10    rest of the pages.

11          Q     (BY MS. MACKIN)      So you’ve reviewed this

12    entire document; and you’re not familiar with any of the

13    entities listed under -- and I’m reading from the form

14    here -- "Name of Any Connected Organization, Affiliated

15    Committee, Joint Fundraising Representative, or

16    Leadership PAC Sponsor?

17          A.    No.    I mean, we can go through it but...

18          Q.    I mean, we don’t have to.       If you’re not

19    familiar, I don’t need to burn anybody’s time.

20                      All right.    We will X out of that one.

21                      MS. MACKIN:    Okay.   I am sharing a

22    document in the chat box that will be Exhibit 5 to this

23    deposition.

24                      (Exhibit 5 marked.)

25          Q     (BY MS. MACKIN)      And your counsel provided

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              680 of -
                                                                     7974/30/2020

                                                                             50
 1    this to us via a link.       Please go ahead and open up that

 2    document, and let me know when you are ready to discuss

 3    it.

 4          A.    Okay.

 5          Q.    Your counsel has represented to us this list

 6    reflects all of the transfers DSCC has made to the Texas

 7    Democratic Party between 2014 and the present; is that

 8    accurate?

 9          A.    I’m sorry.    What date was this sent?

10          Q.    Yesterday, so --

11          A.    It’s my understanding that, like, maybe

12    yesterday or the day before, I think there was an

13    additional transfer.

14          Q.    Okay.

15          A.    But it’s all public.      So if you go on FEC’s

16    website and you look up DSCC’s disbursements to the

17    Texas Democratic Party, you can find it.

18          Q.    Okay.   And does it appear that the criteria

19    that were used to pull this report would pull all the

20    transfers DSCC has made to the Texas Democratic Party

21    between 2014 and the date that the report is run?

22                     MS. BRAILEY:    Objection to form.

23          A.    Yeah.   Sorry.    You say criteria?

24          Q.    (BY MS. MACKIN)     So at the top -- sure.       It

25    says, "Disbursements."       And then it says, "Viewing

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              681 of -
                                                                     7974/30/2020

                                                                             51
 1    filtered results."      And underneath, there are some what

 2    appear to be filters that were input into the FEC

 3    website to pull this data.       So if I were to enter these

 4    filters and run this report, let’s say, today, as long

 5    as an additional disbursement had been processed, it

 6    would appear on that report, right?

 7                     MS. BRAILEY:    Objection to form.

 8          A.    If you searched for the spender as the DSCC

 9    and the recipient as the Texas Democratic Party, that’s

10    all public.    Everything that the DSCC brings in and

11    every penny that the DSCC spends is public, and that’s

12    what the FEC filings would reflect.

13          Q     (BY MS. MACKIN)     Okay.    Thank you.

14                     Does DSCC have members who are eligible

15    to vote in Texas?

16                     MS. BRAILEY:    Objection, that it calls

17    for a legal conclusion.

18                     You can answer to the extent that you

19    know.

20          A.    What do you mean by members?

21          Q.    (BY MS. MACKIN)     Well, does DSCC have members?

22                     MS. BRAILEY:    Again, objection to a legal

23    conclusion.

24                     You can answer.

25          A.    What do you mean by members?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              682 of -
                                                                     7974/30/2020

                                                                             52
 1          Q     (BY MS. MACKIN)     I guess whatever that means

 2    to you.    I mean, is DSCC a -- is DSCC comprised of --

 3    does it represent the Democratic members of the Senate?

 4    Would those folks be regarded by DSCC as its members?

 5                     MS. BRAILEY:    Objection to a legal

 6    conclusion.

 7                     But you can answer.

 8          A.    I don’t know what our corporate filings would

 9    say about members.      I mean, to the extent that you’re

10    asking how does DSCC interact with or associate with

11    Democratic voters around the country, I mean, we have

12    folks who sign up for our Listserv.         We have people who

13    donate to the DSCC.      You know, I don’t know that we have

14    a set term for them.      I think we call them "people on

15    the Listserv" or "donors" or "supporters."

16          Q.    Okay.

17                     MS. MACKIN:    I think that this is

18    probably all I have; but do you mind if we go off the

19    record for, like, five minutes for me to just take a

20    look at my notes and make sure that I’ve covered

21    everything?

22                     MS. BRAILEY:    Yeah, absolutely.

23                     THE REPORTER:     Going off the record at

24    11:48 a.m.

25                     (Off the record from 11:48 to 11:58 a.m.)

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              683 of -
                                                                     7974/30/2020

                                                                             53
 1                     THE REPORTER:     Going back on the record

 2    at 11:58 a.m.

 3          Q     (BY MS. MACKIN)     All right.     Just a few more

 4    questions, Ms. Schaumburg.

 5                     Has the DSCC developed any voter

 6    registration training materials?

 7                     MS. BRAILEY:    Objection on the First

 8    Amendment.

 9                     You can answer at a high level.

10          A.    What do you mean by "training materials"?

11          Q     (BY MS. MACKIN)     Sure.    Any documents that you

12    might provide to campaigns or DSCC staff to assist in

13    voter-registration efforts.

14          A.    So sitting here, I can’t tell you.         I’d have

15    to check.

16          Q.    Does the DSCC ever communicate with individual

17    voters to assist them with voter registration?

18          A.    Generally, the DSCC supports voter-

19    registration efforts in states through the means that

20    we’ve talked about, less on an individual basis, not

21    that it wouldn’t happen; but we provide support,

22    funding, resources to state parties, to the campaigns

23    for their grounding.

24          Q.    Rather than DSCC actually communicating with

25    the individual voter?

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              684 of -
                                                                     7974/30/2020

                                                                             54
 1          A.    Not that we couldn’t.

 2          Q.    Are you aware of it ever happening?

 3          A.    Of -- sorry.     Am I aware of...

 4          Q.    Are you aware of the DSCC ever communicating

 5    directly with an individual voter to assist them with

 6    their voter registration in Texas?

 7          A.    So in a sense that, yeah, I mean, the DSCC had

 8    staff on the ground.      Again, like, DSCC funded

 9    positions.    You know, those staffers could be in charge

10    of working on voter registration.         So in that sense,

11    sure.

12          Q.    Okay.   But what I’m trying to get at is a DSCC

13    employee specifically.       Are you aware of a DSCC employee

14    ever communicating with a Texas voter to assist them

15    with their voter registration?

16                     MS. BRAILEY:    Objection.     I think that

17    was just asked and answered from her last answer.

18          Q.    (BY MS. MACKIN)     I was just hoping for a "yes"

19    or "no," like a clear answer.

20          A.    So I think your first question was about Texas

21    specifically.     So can you rephrase your question?

22          Q.    It was, but I’ll ask it again.        Are you aware

23    of any DSCC employee directly communicating with a Texas

24    voter to assist them with their voter registration?

25          A.    So I think generally the DSCC supports voter-

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              685 of -
                                                                     7974/30/2020

                                                                             55
 1    registration activities by the things we’ve talked

 2    about.

 3          Q.     And would that be a "no"?

 4          A.     It’s possible that they have.

 5          Q.     Are you aware of any specific instance?

 6          A.     Sitting here today, can I name a specific

 7    instance, like, a date and time?         Not to that level of

 8    specificity.     But the DSCC provides voter registration

 9    guidance, and it’s -- you know, we do interact with

10    individual voters in certain situations.          So it’s

11    just...

12          Q.     So I guess I’m still just looking for, like, a

13    "yes" or a "no."

14                     MS. BRAILEY:    I’m going to object, again,

15    on form.

16          Q      (BY MS. MACKIN)    So would it be fair to say to

17    that you are not aware of any DSCC employee directly

18    communicating with an individual Texas voter to assist

19    them with their voter registration?

20                     MS. BRAILEY:    Objection.

21          A.     I would --

22                     MS. BRAILEY:    Objection, mischaracterizes

23    the witness.

24          A.     I would have to check.      I mean, we have field

25    folks.     We have a field team.     So I haven’t reviewed

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              686 of -
                                                                     7974/30/2020

                                                                             56
 1    with them, like, their specific conversations or every

 2    interaction that they’ve had with individual voters; but

 3    I would have to ask.

 4          Q     (BY MS. MACKIN)     Okay.    I want to jump back to

 5    Exhibit 2, page 6.      Just going over the subpoena duces

 6    tecum, the documents that were subpoenaed for today’s

 7    deposition, Category 1, which requests documents

 8    sufficient to substantiate certain factual allegations

 9    in your Complaint, do you know whether any documents

10    were withheld in responding to this request on the basis

11    of privilege?

12                     MS. BRAILEY:    Objection on the -- based

13    on the attorney-client privilege.

14          Q.    (BY MS. MACKIN)     And just to be clear, I’m not

15    asking whether -- what documents -- if the answer is

16    "yes," I’m not inquiring into the substance of those

17    documents sitting here today; but since we haven’t

18    received a privilege log, I’m inquiring into whether

19    documents exist, just a "yes," "no," not seeking a

20    description of the document or even at this point the

21    privilege asserted, simply whether documents exist that

22    were withheld on the basis of privilege.

23                     MS. BRAILEY:    Again, I’ll make the same

24    objection to preserve it.

25                     But, Sara, you can answer as long as you

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              687 of -
                                                                     7974/30/2020

                                                                             57
 1    don’t reveal our conversations.

 2          A.    Sitting here right now, I couldn’t tell you.

 3    I’d have to check with counsel.

 4          Q.    (BY MS. MACKIN)     Okay.    Do you know with --

 5    would that be your answer with respect to all five

 6    categories of documents that were requested?

 7                     MS. BRAILEY:    It would be my objection to

 8    all five categories.

 9                     You can answer.

10                     Same objection.

11          A.    That would be my answer to all five categories

12    or to all categories regarding documents.

13                     MS. MACKIN:    All right, Ms. Schaumburg.

14    Thank you for your time today.

15                     I’ll pass the witness.

16                     MS. BRAILEY:    Great.    I just have a few

17    questions.

18                              EXAMINATION

19    BY MS. BRAILEY:

20          Q.    Ms. Schaumburg, earlier today counsel asked

21    you about money that the DSCC transferred to the Texas

22    Democratic Party.      Do you remember that?

23          A.    Yes.

24          Q.    And then I believe she also asked you

25    questions about money that the DSCC transferred to the

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              688 of -
                                                                     7974/30/2020

                                                                             58
 1    Texas Democratic Party specifically this cycle.            Do you

 2    remember that?

 3          A.    Yes.

 4          Q.    Okay.   For that money that was transferred to

 5    TDP for this cycle, did T -- was that money used by TDP

 6    for voter-persuasion efforts?

 7          A.    That’s my understanding.

 8          Q.    And was is it used for voter-registration

 9    efforts?

10          A.    That’s my understanding, yes.

11          Q.    And was it used for Get-Out-the-Vote efforts?

12          A.    So it’s my understanding that it will be used

13    for Get-Out-the-Vote efforts.        It’s, you know, a program

14    that would ramp up closer to election day.

15          Q.    And how do you know that the money transferred

16    to TDP in this cycle from DSCC is used in these ways?

17          A.    I mean, we -- we work closely with the state

18    parties in our -- in the Senate states, including with

19    the Texas Democratic Party, on programming, on advising

20    them on various aspects of their campaign.           And so, you

21    know, we share our -- the DS and its employees share

22    their insight and their expertise on how to manage a

23    campaign, what the priorities should look like.            And

24    certainly voter registration is one of those top

25    priorities and, you know, that the TDP’s budget, what

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              689 of -
                                                                     7974/30/2020

                                                                             59
 1    they prioritize, the more funding that they have from

 2    whatever sources, the more they can invest in those

 3    activities.    And so, you know, I think by providing,

 4    we’ve conveyed that voter registration is one of our

 5    priorities; and, you know, the more budget that TDP has

 6    to spend, the more they can invest in activities around

 7    that.

 8          Q.    Great.   Thank you.

 9                     MS. BRAILEY:    Those are all my questions.

10    I’ll pass the witness.

11                     MS. MACKIN:    All right.     And I’d just

12    like to note that we are going to hold this deposition

13    open to the extent that there is any subsequent

14    delinquent production of documents; and once we have an

15    opportunity to evaluate the claims of privilege.            But

16    that’s all that I have for today.

17                     MS. BRAILEY:    Okay.    Great.

18                     And, Debbie, can I get on the record that

19    I’d like to read and sign and get a copy of the

20    transcript.

21                     THE REPORTER:     Going off the record at

22    12:09 p.m.

23                     (Deposition recessed at 12:09 p.m.)

24                               --ooOoo--

25

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              690 of -
                                                                     7974/30/2020

                                                                             60
 1                        CHANGES AND SIGNATURE

 2    WITNESS NAME:                   DATE OF DEPOSITION:

 3    SARA SCHAUMBURG                  April 30, 2020

 4    PAGE/LINE      CHANGE                    REASON

 5    ________________________________________________________

 6    ________________________________________________________

 7    ________________________________________________________

 8    ________________________________________________________

 9    ________________________________________________________

10    ________________________________________________________

11    ________________________________________________________

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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              691 of -
                                                                     7974/30/2020

                                                                             61
 1                     I, SARA SCHAUMBURG, have read the

 2    foregoing deposition and hereby affix my signature that

 3    same is true and correct, except as noted herein.

 4

 5                     _______________________________

 6                     SARA SCHAUMBURG

 7

 8    THE STATE OF __________       )

 9                     Before me, _______________________, on

10    this day personally appeared SARA SCHAUMBURG, known to

11    me (or proved to me under oath or through

12    ______________) (description of identity card or other

13    document) to be the person whose name is subscribed to

14    the foregoing instrument and acknowledged to me that

15    they executed same for the purposes and consideration

16    therein expressed.

17                     Given under my hand and seal of office on

18    this _____ day of _________________, _________.

19

20

21                _______________________________

22                NOTARY PUBLIC IN AND FOR

23                THE STATE OF __________________

24                My Commission Expires:_________

25

                  Integrity Legal Support Solutions
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     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page DSCC
                                                              692 of -
                                                                     7974/30/2020

                                                                             62
 1    STATE OF TEXAS       )

 2

 3                       REPORTER’S CERTIFICATION

 4

 5                     I, DEBBIE D. CUNNINGHAM, CSR, hereby

 6    certify that the witness was duly sworn and that this

 7    transcript is a true record of the testimony given by

 8    the witness.

 9                     I further certify that I am neither

10    counsel for, related to, nor employed by any of the

11    parties or attorneys in the action in which this

12    proceeding was taken.      Further, I am not a relative or

13    employee of any attorney of record in this cause, nor am

14    I financially or otherwise interested in the outcome of

15    the action.

16                     Subscribed and sworn to by me this day,

17    May 8, 2020.

18

19

20

21                           __________________________________
                             Debbie D. Cunningham, CSR
22                           Texas CSR 2065
                             Expiration: 6/30/2021
23                           INTEGRITY LEGAL SUPPORT SOLUTIONS
                             P.O. Box 245
24                           Manchaca, Texas 78652
                             www.integrity-texas.com
25                           512-320-8690; FIRM # 528

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Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 693 of 797




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                                                          APPENDIX 683
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page694
                                                                   1 ofof86797   1




 1                        UNITED STATES DISTRICT COURT

 2                          WESTERN DISTRICT OF TEXAS

 3                             SAN ANTONIO DIVISION

 4   JARROD STRINGER, et al.                §
                                            §
 5                                          §
     v.                                     § CIVIL NO. SA-16-CV-257-OG
 6                                          §
     ROLANDO PABLOS,in his official §
 7   capacity as Texas Secretary    §
     of State and STEVEN C. McCRAW, §
 8   in his official capacity               §
     as Director of the Texas               §
 9   Department of Public Safety            §

10   ____________________________

11   JARROD STRINGER, et al.                §
                                            §
12   v.                             § CIVIL NO. SA-20-CV-46-0G
                                    §
13   RUTH HUGHS, in her official    §
     capacity as Texas Secretary    §
14   of State and STEVEN C. McCRAW, §
     in his official capacity as    §
15   Director of the Texas          §
     Department of Public Safety    §
16
                TRANSCRIPT OF PRELIMINARY INJUNCTION HEARING
17                 BEFORE THE HONORABLE ORLANDO L. GARCIA
                         CHIEF DISTRICT COURT JUDGE
18
     APPEARANCES:
19
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22                               MIMI M.D. MARZIANI
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23                               1405 Montopolis Drive
                                 Austin, TX 78741
24

25



                                                                    APPENDIX 684
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page695
                                                                   2 ofof86797   2




 1   APPEARANCES CONTINUED:

 2   For the Plaintiffs:         HANI MIRZA
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 4                               Dallas, TX 75202

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 8                               JOAQUIN GONZALEZ
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 9                               Texas Civil Rights Project

10

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13

14

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18

19

20

21

22

23

24
     Produced by mechanical stenography; computer-aided
25   transcription



                                                                    APPENDIX 685
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page696
                                                                   3 ofof86797   3




 1   (In open court)

 2             THE COURT:      All right.     Good afternoon, everyone.          You

 3   may be seated, and let's proceed.           I'll call Cause Number 16 --

 4   rather, yeah, 16-Civil-257.          George Stringer, Nayeli Gomez,

 5   John Harms, Move Texas Civil Fund, League of Women Voters, the

 6   Texas Democrat Party, Intervenor-Plaintiffs v. Ruth Hughs, the

 7   Texas Secretary of State Steven McCraw, the Director of DPS and

 8   the State of Texas.

 9             I'll have some announcements from the plaintiffs.

10             MS. STEVENS:      Yes, Your Honor.        Beth Stevens on behalf

11   of the plaintiffs.

12             THE COURT:      And your name again, ma'am.

13             MS. STEVENS:      Beth Stevens.

14             THE COURT:      Stevens.

15             MS. STEVENS:      Stevens.     Yes, Your Honor.

16             THE COURT:      All right.

17             MS. MARZIANI:       Your Honor, Mimi Marziani on behalf of

18   the Stringer plaintiffs.

19             THE COURT:      Which one?

20             MS. MARZIANI:       The Stringer plaintiffs.

21             THE COURT:      Stringer.

22             MS. MARZIANI:       Yes.

23             THE COURT:      Okay.

24             MS. BRANCH:      Good afternoon, Your Honor.           Araia Branch

25   on behalf of the Intervenors, the Texas Democrat Party.



                                                                    APPENDIX 686
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page697
                                                                   4 ofof86797   4




 1              THE COURT:     All right.     And your name again, ma'am,

 2   again?

 3              MS. BRANCH:     Araia Branch.

 4              THE COURT:     All right.     Anyone else back here?

 5              MR. MIRZA:     Hani Mirza on behalf of the Jerry Stringer

 6   plaintiffs.

 7              THE COURT:     Okay.

 8              MS. SILHAN:     Caitlyn Silhan on behalf of the Stringer

 9   plaintiffs.

10              THE COURT:     You'll have to speak louder than that.

11              MS. SILHAN:     Caitlyn Silhan on behalf of the Stringer

12   plaintiffs.

13              THE COURT:     All right.

14              MR. GONZALEZ:      And Joaquin Gonzalez on behalf of the

15   Stringer plaintiffs.

16              THE COURT:     Okay.    So I gather Mr. Stringer needs four

17   lawyers.    Okay.   And from the State of Texas.

18              MR. HILTON:     Chris Hilton, Your Honor, for the State.

19              THE COURT:     From the Attorney General's Office?

20              MR. HILTON:     Yes, sir.

21              THE COURT:     All right.     And your last name again, sir,

22   was?

23              MR. HILTON:     Hilton, H-I-L-T-O-N.

24              THE COURT:     Okay.

25              MR. HILTON:     And the representative from the Secretary



                                                                    APPENDIX 687
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page698
                                                                   5 ofof86797     5




 1   of the State and DPS as well.

 2              THE COURT:     All right.     Thank you, counselor.

 3              There was a motion filed I believe by plaintiffs.                   I

 4   thought I had that in my hands.          That's the request that

 5   several websites be part of the record.             That's your --

 6              MS. STEVENS:     That's correct, Your Honor.

 7              THE COURT:     Okay.    Any position by the State of Texas

 8   on that?

 9              MR. HILTON:     Your Honor, are you referring to the

10   motion for a traditional notice that they filed, we have no

11   objection.

12              THE COURT:     Okay.    That's in then.       All right.         We're

13   gathered today for a preliminary injunction.               And I will let

14   the plaintiffs begin to present their case.              But before we get

15   there, let me ask the State of Texas.            So we have this process

16   to where a person can go to DPS, rather not go to DPS, go

17   online.    He or she wants to either renew a license or update

18   change of address.       Can he or she today online register to

19   vote?

20              MR. HILTON:     Your Honor, I don't think that the facts

21   have changed materially or relevantly since Stringer One, and I

22   think as they've laid them out, overall we don't have an

23   objection to their characterization of the process.                 The way

24   the process works for that voter, or that customer of DPS --

25   and I'll ask the folks to correct me if I'm wrong.                But if



                                                                    APPENDIX 688
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page699
                                                                   6 ofof86797   6




 1   they've moved within the same county and therefore they are

 2   subject to the jurisdiction of the same county voter registrar.

 3             THE COURT:      M-hm.

 4             MR. HILTON:      That transaction with DPS, that will be

 5   effective to change their address.           If they moved between

 6   counties--

 7             THE COURT:      M-hm.

 8             MR. HILTON:      -- they're not under the jurisdiction of

 9   a new voter registrar.        That voter registrar has to register

10   them on that county's voter rolls.

11             THE COURT:      M-hm.

12             MR. HILTON:      That requires a new registration

13   application.    And so the current process on the website and the

14   way that it's been since before Stringer One was filed, is that

15   the person on the DPS website is told that they're not

16   automatically being registered.          That they have to download the

17   form and send that in.

18             THE COURT:      I understand all that.

19             MR. HILTON:      Yeah.

20             THE COURT:      But my question was:         If I'm online.       If I

21   want to go online right now, and let's pretend for a moment

22   that my address has changed, can I go online either right here

23   or in my office, and I want to update my address with DPS and

24   it's at a new address in the county.

25             MR. HILTON:      M-hm.



                                                                    APPENDIX 689
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page700
                                                                   7 ofof86797   7




 1             THE COURT:      Can I register to vote doing that?

 2             MR. HILTON:      Yes, Your Honor.        You can change your

 3   address today online.

 4             THE COURT:      I understand that I can change my address.

 5   My question is:     Can I register to vote?

 6             MR. HILTON:      So in that situation, you hadn't been

 7   previously registered.

 8             THE COURT:      Okay.    Let me change.

 9             MR. HILTON:      So in that situation you hadn't been

10   previously registered.

11             THE COURT:      Okay, let me change --

12             MR. HILTON:      I'm sorry, I just want to make sure I

13   understand.    I'm sorry.

14             THE COURT:      Let's make this simple.          Let's say I just

15   graduated from high school last May, and I want to register to

16   vote, and coincidentally for whatever reason I didn't get a

17   driver's license at age 15, 16, 17.            I'm getting one now, and I

18   need to update an address, and I want to register for the very

19   first time in my life to begin this process of voting.

20             Can I go online to the DPS website and register to

21   vote?

22             MR. HILTON:      I understand the question, Your Honor.

23   Let me confer real quick to make sure I give you the right

24   answer.

25             THE COURT:      Sure.



                                                                    APPENDIX 690
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page701
                                                                   8 ofof86797   8




 1             (Brief pause)

 2             MR. HILTON:      Thank you, Your Honor.          For a first-time

 3   applicant, that person would have to follow the process of, you

 4   know, downloading the application and mailing it to the voter

 5   registrar.

 6             THE COURT:      Why?    Why is that?      Is that part of the

 7   statute, this National Voter Registration Act.

 8             MR. HILTON:      State law requires that a voter

 9   registration application be in writing and signed by the

10   registrant.

11             THE COURT:      Okay.    Let's suppose then -- somehow or

12   another I'm going to get to the example that I want to get to.

13   Let's suppose I registered.         Now I'm off going to UT Austin,

14   which I did like 40, 50 years ago, and I was registered back

15   home.   But now I got to update my license.             I'm in Austin.      Can

16   I go online and change my address from my back home on my

17   license, and I don't want to vote back home.               I want to vote

18   over here in Austin.       Now can I do that online?

19             MR. HILTON:      You can change your driver's license

20   address online.     You would have to register to vote in the new

21   county that you have moved to so you would have to go through

22   the process of --

23             THE COURT:      What is the process?

24             MR. HILTON:      So as you're going through the DPS

25   website, you will get to a screen, I think it's step five or



                                                                    APPENDIX 691
        Case
      Case    5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG     Document 57 Filed
                                        77-1  Filed05/29/20
                                                    01/31/20 Page
                                                              Page702
                                                                   9 ofof86797    9




 1   whatever number it is.        Your Honor asked a question about it

 2   where it asks if you want to register to vote.               If you say yes

 3   it tells you, you're not being automatically registered.                    You

 4   have to download the form, fill it out, and send it in to the

 5   voter registrar.      There are other options available to you as

 6   well but that's one.

 7             THE COURT:      Let me ask it another way.          I think that's

 8   why they give judges life tenure.           If it takes a lifetime to

 9   get this answer, we'll stay here a lifetime.

10             MR. HILTON:      I'm not trying to make it more difficult,

11   Your Honor.

12             THE COURT:      No, I understand.        Or till God decides

13   otherwise or I suppose the U.S. senate.             Let me ask you this:

14   Do you know of any person that has been registered to vote

15   going through the Texas Department of Public Safety website?

16             MR. HILTON:      Other than the circumstance of -- well,

17   no, Your Honor.     State law requires the registration through

18   DPS to be in person or by mail.

19             THE COURT:      Okay.    So then this National Voter

20   Registration Act is not applicable in Texas.               Is that what

21   you're telling me?

22             MR. HILTON:      It's applicable, Your Honor.           And Texas

23   law complies with the NVRA.         That's our position.         And NVRA

24   requires a process by which you can become registered to vote.

25   It does not override all State requirements with respect to



                                                                    APPENDIX 692
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 703
                                                                10 ofof86
                                                                        797     10




 1   voter registrations.

 2               THE COURT:    So the answer to my question is then you

 3   cannot register to vote by merely going to the DPS website.                    In

 4   other words, if I want to do that, I can't complete the process

 5   online, and then I cannot think because it would be

 6   incorrect -- I cannot think that I've now been registered to

 7   vote by simply going through to the DPS website.

 8               Is that a correct statement?

 9               MR. HILTON:    That's correct, Your Honor.        The NVRA

10   does not require online voter registration nor does the

11   constitution.     Nothing requires online voter registration in

12   the State of Texas.

13               THE COURT:    Then what purpose does the Act then serve,

14   the National Voter Registration Act?

15               MR. HILTON:    The stated purpose of the act is to

16   encourage voting to increase the number of voters.              And, you

17   know, it encourages and requires states to make that easier by

18   combining -- by combining transactions.

19               THE COURT:    Okay.

20               MR. HILTON:    For the Motor Vehicle.

21               THE COURT:    And how is Texas making it easier?             You

22   just said the whole purpose is to make transactions, to make it

23   easier to combine multiple functions to achieve multiple

24   purposes.     In this case, get DPS to know where my new address

25   is and to get the county voter registrar to know I've now



                                                                  APPENDIX 693
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 704
                                                                11 ofof86
                                                                        797   11




 1   moved, and I want to be registered in a new polling site.                So

 2   what is Texas doing to make it easier?

 3              MR. HILTON:    For in-person and mail transactions,

 4   there's nothing additional that the voter needs to do other

 5   than to say, yes, and to sign the application.             And by mail

 6   you're signing the application.

 7              THE COURT:    What do you mean by in person?

 8              MR. HILTON:    In person at a DPS office, I'm sorry,

 9   Your Honor.    That person will sign on -- they'll give a

10   physical signature that's electronically captured.

11              THE COURT:    M-hm.

12              MR. HILTON:    And that signature will be collected by

13   DPS.    That will be sent to the Secretary of State.

14              THE COURT:    And you know for a fact that that is being

15   done?

16              MR. HILTON:    For in person, yeah.        Yes, Your Honor.

17              THE COURT:    Okay.   All right.      What about online?

18              MR. HILTON:    For online, you know, if I'm sitting at

19   home doing an online transaction with the DPS, I can't sign

20   anything because I'm at a computer.          I don't have a physical

21   application to sign.      I don't have the special electronic pad

22   to sign at the DPS office.       So the signature requirement for

23   State voter registration requires that person to download the

24   voter registration form and send it in.

25              THE COURT:    So what you are in effect are saying is



                                                                  APPENDIX 694
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 705
                                                                12 ofof86
                                                                        797   12




 1   the DPS website cannot make a transaction allowing a person to

 2   register to vote.

 3            MR. HILTON:      Yeah, correct, Your Honor.         I think I'm

 4   understanding you correctly.        It does not do it automatically.

 5   And the person is notified of that.          They're told exactly what

 6   they need to do in order to register to vote.            And to the

 7   extent that the website can facilitate that by providing a

 8   registration application, the website does that.

 9            THE COURT:      Now let me ask you something, since a

10   record has previously been made in the first go-around, is

11   there any law that says we cannot use that record as part of

12   this record?

13            MR. HILTON:      For the purposes of the preliminary

14   injunction hearing today, Your Honor, we don't have any

15   objection to any of the evidence they attached to their motion,

16   much of which was from the Stringer One case.            We've submitted

17   some deposition excerpts from that case as well.             So for the

18   purposes of today, we don't have any objection to that.

19            THE COURT:      Okay.

20            MR. HILTON:      I would object, Your Honor, if I may just

21   briefly, they filed a reply brief with these exhibits attached

22   to it while I was sitting here in the courtroom.

23            THE COURT:      M-hm.

24            MR. HILTON:      They provided me the exhibit copies.            I

25   haven't seen the brief.



                                                                  APPENDIX 695
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 706
                                                                13 ofof86
                                                                        797     13




 1              THE COURT:     Okay.

 2              MR. HILTON:     And so to the extent that I have had no

 3   notice of these exhibits, no ability to prepare for them.

 4              THE COURT:     Yes.

 5              MR. HILTON:     I think I have to object to the

 6   submission of those.

 7              THE COURT:     Sure.   And don't feel bad.       They filed

 8   stuff right here also.       I haven't looked at it.        Okay.    Let's

 9   go.   Let's bring up your witnesses.

10              MS. STEVENS:     Your Honor, if I might correct a --

11   well, actually, take up a couple of preliminary issues.                  One is

12   to correct a mischaracterization of the online change of

13   address within a county as it currently happens on DPS's

14   website.    So say I live in Travis County.         I move from one

15   address to another address.        If I go on DPS's website online to

16   tell DPS that I need to change my address for the driver's

17   license, that does not -- there's no way to automatically

18   through that system update my voter registration for change of

19   address.

20              THE COURT:     And why not?

21              MS. STEVENS:     Because the State does not provide the

22   ability to do that.

23              THE COURT:     But he just told me something about an

24   electronic.    They can't do the electronic signature; is that

25   correct or not or that's not needed.



                                                                  APPENDIX 696
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 707
                                                                14 ofof86
                                                                        797   14




 1              MS. STEVENS:     There's two issues here.        One, we submit

 2   that the State can in fact create a system to have an

 3   electronic signature.       It does it for other transactions.           But

 4   putting that aside, they do not use a written, handwritten

 5   signature for voter registration purposes for in-person DPS

 6   transactions that result in voter registration and for mail in

 7   DPS transactions that result in voter registration.              They use

 8   an electronic signature that is submitted by the voter at their

 9   last in-person transaction.

10              THE COURT:     Okay.     Go ahead.

11              MS. STEVENS:     Okay.

12              MR. HILTON:     I'm sorry, Your Honor, may I respond just

13   briefly to two points?

14              THE COURT:     Sure.

15              MR. HILTON:     One, is I believe I misspoke earlier, and

16   I was just corrected.       When you move within a county, you can

17   change your voter registration address online through

18   votetexas.gov or through your county voter registrar, not from

19   the DPS website.

20              THE COURT:     And why is that?       And why is that?

21              MR. HILTON:     It has to be done through the voter

22   registrar.     The voter registrar -- the county voter registrar

23   maintains the voter rules for the State of Texas.             And so

24   that's the process that's available.            It's not through the DPS

25   website.     The other point I just wanted to briefly make, Your



                                                                  APPENDIX 697
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 708
                                                                15 ofof86
                                                                        797   15




 1   Honor, with respect to the handwritten signature, I just want

 2   to be clear, the signature that's captured at an in-person DPS

 3   transaction, that's not an electronic signature in the way that

 4   I might sign a brief to the court where it just says slash-S

 5   and it's a typed version of my name.          The person's hand is

 6   using a pen to write their signature.          It's just not done with

 7   ink.   It's done on an electronic pad, so an image of that

 8   handwritten signature is captured.         I just want to make that

 9   distinction to the court.

10             THE COURT:     Okay.   All right.      If you'll begin.

11             MS. STEVENS:     Thank you, Your Honor.        I'm handing a

12   copy of our courtesy copy of our reply to opposing counsel.

13             THE COURT:     Okay.

14             MS. STEVENS:     All right.     The other preliminary matter

15   I want to take up, Your Honor, is I'd like to direct the

16   court's attention to Page 2 of our reply.             That's the document

17   that was filed very recently.

18             THE COURT:     Okay.

19             MS. STEVENS:     Where we make clear that plaintiff John

20   Harms, one of our individual plaintiffs, is only seeking a

21   preliminary injunction based on his constitutional claims and

22   not on his NVRA claims, whereas the remaining plaintiffs seek

23   the preliminary injunction on both, both sets of claims.

24             THE COURT:     All right.     Go ahead.

25             MS. STEVENS:     All right.     I'd like to take 20 minutes



                                                                  APPENDIX 698
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 709
                                                                16 ofof86
                                                                        797     16




 1   for argument and then reserve 10 minutes for rebuttal, if I

 2   might.

 3            THE COURT:      Okay.   Do you have any witnesses?

 4            MS. STEVENS:      We intend to use documentary evidence,

 5   Your Honor.

 6            THE COURT:      Okay.

 7            MS. STEVENS:      And, actually, let's take that if we

 8   might -- may I offer the volume one and volume two of our

 9   exhibits, which includes a jump drive that has been provided to

10   both the court and opposing counsel.

11            THE COURT:      All right.

12            MS. STEVENS:      So we'd offer those exhibits at this

13   time.

14            MR. HILTON:      The objection I explained to you earlier,

15   Your Honor.

16            THE COURT:      Well, okay.     Go ahead.

17            MS. STEVENS:      Thank you, Your Honor.

18            May it please the court, counsel.            Since 2013 the

19   State of Texas has violated the U.S. Constitution and the clear

20   language of the National Voter Registration Act by refusing to

21   treat online driver's license applications as voter

22   registration applications.       The State has been on notice of its

23   failures since 2015 but has refused to fix the problem.                  As a

24   result, in the last five years --

25            THE COURT:      Let me ask the State, is that correct?



                                                                  APPENDIX 699
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 710
                                                                17 ofof86
                                                                        797    17




 1   The State has not fixed the problem since 2015 or is it the

 2   State's position there's no problem to fix.

 3              MR. HILTON:     It's the State's position, Your Honor,

 4   that the State process and State law complies with NVRA and

 5   with the U.S. Constitution.        The process has been the same

 6   since 2015.

 7              THE COURT:     Okay.   All right.     Go ahead.

 8              MS. STEVENS:     Thank you.    As a result, in the last

 9   five years, the voting rights of an estimated 6 million Texans,

10   including our clients, have been burdened by the State's

11   ongoing violations.       Additionally, our organizational

12   plaintiffs are forced to divert significant resources to

13   counteract the state's violations.         As the court is well aware,

14   we are in a unique posture at this hearing.            The case we've

15   been consolidated with, Stringer One, was filed in 2016.                 And

16   in 2018, Your Honor ruled in favor of the Stringer One

17   plaintiffs.    The State appealed, and on November 13th, 2019,

18   the Court of Appeals reversed based entirely on standing.

19              In its concurrence, Judge Ho observed that on the

20   plain text of the statute the rule seemed simple enough.                 If

21   it's good enough for motorist licensing, then it ought to be

22   good for voter registration.

23              Judge Ho also acknowledged that plaintiffs have indeed

24   endured an injury and it is a right they will never be able to

25   recover.    As citizens, we can hope it is a deprivation they



                                                                  APPENDIX 700
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 711
                                                                18 ofof86
                                                                        797    18




 1   will not experience again and yet it has happened again.                 It

 2   has happened to Jarrod Stringer again, and it will happen to

 3   him at least once more in the future.          And it has happened to

 4   our other individual clients and to thousands of other Texans.

 5               THE COURT:    Let me ask the State, does Mr. Stringer

 6   now have standing?

 7               MR. HILTON:    Your Honor, we wouldn't concede that at

 8   this point.

 9               THE COURT:    Well, at what point in time will

10   Mr. Stringer have standing?

11               MR. HILTON:    Well, Your Honor, I think that's a fair

12   question.     I think that's a factually intensive question.

13               THE COURT:    All my questions generally rise to the

14   level of being fair.       But in any event, when if ever is

15   Mr. Stringer going to have standing?          He didn't the first time,

16   and then Judge Ho said he didn't have -- that he was injured,

17   but he didn't have standing.        Well, I don't know if

18   Mr. Stringer needs to use another computer or something else,

19   but it happened again.      So does he have standing now?

20               MR. HILTON:    Your Honor, the Fifth Circuit explained

21   that a past injury that is concluded with no substantial

22   likelihood of suffering that injury again.

23               THE COURT:    But he did.

24               MR. HILTON:    But he did not prove that in Stringer One

25   though.



                                                                  APPENDIX 701
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 712
                                                                19 ofof86
                                                                        797   19




 1            THE COURT:      Well, I think he's likely to prove it

 2   again but -- okay.     I get the drift.

 3            MR. HILTON:      He's had another injury, Your Honor, or

 4   he at least alleges that he had.         He still has not alleged and

 5   it remains to be seen whether he can prove that he still has

 6   that substantial likelihood going forward.

 7            THE COURT:      Okay.   Go ahead.

 8            MS. STEVENS:      Thank you, Your Honor.

 9            In both cases, Stringer One and Stringer two, the

10   State has made its position quite clear.           It will refuse to

11   comply with federal law until this court orders it to do so.

12   Texas voters be damned.

13            Each day the State refuses to change its practices,

14   thousands of Texans are denied their right to voter

15   registration application with an online driver's license

16   transaction.    This burden is especially acute now as we

17   approach the primary election voter registration deadline next

18   week and the primary runoff registration deadline on

19   April 27th.

20            A week before last, plaintiffs in this case filed

21   their complaint and their emergency application for preliminary

22   injunction.     Given the unique nature of this case and the

23   consolidation of Stringer One and Stringer two, the court knows

24   well how DPS and SOS handle invariant driver's license

25   transactions.    Those conducted in person, those conducted



                                                                  APPENDIX 702
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 713
                                                                20 ofof86
                                                                        797   20




 1   through the mail, and those conducted online.            For the

 2   transactions conducted online, which of course in Texas do not

 3   operate as a voter registration application, the record

 4   demonstrates that the State's policies fail to comply with the

 5   NVRA and the First and Fourteenth Amendments.

 6               Although the court is already familiar with the

 7   relevant facts and law, due to the complicated posture of the

 8   present case, we respectfully ask the court to make an

 9   independent ruling as to the likelihood of success on the

10   merits as it pertains to the instant plaintiffs.             We

11   additionally request the court to make its preliminary findings

12   based solely on the record before it in this matter.

13               In Friday's order, Your Honor asked plaintiffs to

14   address several issues.        First, plaintiffs do agree that only

15   one plaintiff needs standing for the court to enjoin the State

16   from violating the NVRA and the constitution.            However, as to

17   the additional individual relief that our individual plaintiffs

18   seek, namely to be registered to vote in time for the March 3rd

19   primary election, they each must establish his or her own

20   standing.

21               THE COURT:     Okay.

22               MS. STEVENS:     Pardon?

23               THE COURT:     Okay.   Go ahead.

24               MS. STEVENS:     Second, the court asked whether standing

25   to assert the new claims is the only new issue.             Plaintiffs



                                                                  APPENDIX 703
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 714
                                                                21 ofof86
                                                                        797   21




 1   believe the only new issue is the current plaintiff standing.

 2   But of course given the posture of the case and the hearing

 3   we're in, we must also show that the Stringer Two plaintiffs

 4   meet the factors for a preliminary injunction.             And, finally,

 5   the court asked Plaintiffs to explain the scope of the

 6   preliminary injunction we seek.         We included a detailed

 7   explanation of the relief sought in the reply that was filed

 8   recently and in our amended proposed order.            But to be clear,

 9   plaintiffs seek the following two forms of preliminary

10   injunction:    One, by the end of the day on Friday January 31st,

11   so this Friday, defendants register to vote the three

12   individual plaintiffs based on the information provided in

13   their last online DPS transaction.

14            And two:     By Saturday March 28th, which is 60 days

15   from today's date, every person who checks yes in response to

16   the voter registration question that is currently posed by DPS

17   during an online driver's license transaction is promptly

18   mailed a pre-filled voter registration form with postage

19   prepaid for the voter to sign and send back to the Secretary of

20   State for mailing to the appropriate county voter registrar so

21   that those individuals can then be registered to vote.

22            THE COURT:      Okay.

23            MS. STEVENS:      This is of course not as extensive as

24   the ultimate remedy we hope to achieve.           But we have carefully

25   crafted this proposed preliminary relief taking into account



                                                                  APPENDIX 704
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 715
                                                                22 ofof86
                                                                        797   22




 1   the State's response, our clients own ongoing injuries and the

 2   upcoming election deadlines.        We shared our proposed

 3   preliminary request for relief with the State last night but

 4   have not reached any agreement obviously as the time of this

 5   hearing.    I'll focus the remainder of my argument on

 6   plaintiff's standing and the factors for a preliminary

 7   injunction.

 8              THE COURT:     All right.

 9              MS. STEVENS:    So turning first to standing.          Each

10   plaintiff suffers a continuing injury directly traceable to the

11   State's failures to comply with the NVRA and the U.S.

12   Constitution.    And those injuries will be redressed by the

13   remedy sought.    As the Fifth Circuit has made clear, for

14   declaratory and injunctive relief, the injury in fact must be a

15   continuing or future injury rather than a past injury.               So I'll

16   go through the injury for each plaintiff group.

17              THE COURT:     Please.

18              MS. STEVENS:    For the individual plaintiffs:          Here all

19   three individual plaintiffs injuries are still ongoing.

20   They're all currently improperly registered to vote at their

21   prior addresses because of the State's refusal to accept their

22   online driver's license change of address application as a

23   change of address for voter registration purposes.              This is not

24   a past harm but rather an ongoing and continuing harm.

25              Also, plaintiff Stringer will suffer an additional



                                                                  APPENDIX 705
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 716
                                                                23 ofof86
                                                                        797   23




 1   concrete harm in the future if the State continues to refuse to

 2   comply with the NVRA and the U.S. Constitution.             Mr. Stringer's

 3   rights will be violated again when no later than August 25th of

 4   this year he moves residences again.          He is currently in a

 5   rental home and is going to buy a home prior to his lease

 6   expiring on August 25th, and he will subsequently use the DPS

 7   system to change his driver's license address, unless the State

 8   is forced to change their practices, he will again not be

 9   offered voter registration change of address.

10              For the organizational plaintiffs.          The relevant

11   inquiry here is whether the organization has to divert

12   resources to counteract defendant's conduct and that the

13   defendant's conduct is in conflict with the organization's core

14   mission.    As the Fifth Circuit has said, the injury alleged in

15   Article III injury in fact need not be substantial.              It need

16   not measure more than an identifiable trifle.            This is because

17   the injury in fact requirement under Article III is qualitative

18   not quantitative in nature.        Both organizational plaintiffs

19   here, Move Texas and the League of Women Voters of Texas,

20   suffered two distinct injuries in fact, one related to voter

21   registration and one related to voter education.

22              First, they're forced to expend significant resources

23   to counteract the State's violations by registering voters

24   whose online DPS transactions should have acted as simultaneous

25   voter registration applications.         Plaintiffs have identified



                                                                  APPENDIX 706
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 717
                                                                24 ofof86
                                                                        797   24




 1   concrete ways they do this.        They conduct voter registration

 2   drives in a variety of public forums, registering tens of

 3   thousands of voters over the course of the year.             In

 4   particular, they frequently register voters who move from one

 5   Texas county to another.       Lead member Phyllis Fenimore, for

 6   example, is active in the Wimberly area and regularly registers

 7   individuals who transacted with DPS online because they've

 8   recently moved to the Texas Hill Country but whose online

 9   transactions were not simultaneous voter registration

10   applications.

11            Both the League and Move deputy registrars are active

12   on college campuses in major metro areas where they register

13   students who recently moved to the area and were unable to

14   apply to register through DPS online.          Second, plaintiffs

15   divert resources to educate voters who mistakenly thought they

16   were registered to vote through DPS online.            It is a virtually

17   universal experience that deputy voter registrars for these

18   organizations come across people who mistakenly thought they

19   applied to register or updated their voter registration when

20   transacting with DPS online.

21            THE COURT:      How did they learn they were -- how does

22   the registrar, that deputy registrar learn that the person

23   actually was not registered?        Is it on occasion when the

24   registrar tells this prospective voter, may I register you or

25   however that conversation goes.         And then that voter says, oh,



                                                                  APPENDIX 707
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 718
                                                                25 ofof86
                                                                        797    25




 1   I did that online with DPS about three months ago.              Is that

 2   when the deputy registrar then says, oh, if you did it online

 3   with DPS you in fact are not registered.

 4             MS. STEVENS:     That is often how it happens, Your

 5   Honor.   Yes.

 6             THE COURT:     So you're saying your organization is

 7   injured in what matter?       That now you have to spend time

 8   registering that person that otherwise would have been

 9   registered versus going and talking to someone else?

10             MS. STEVENS:     Precisely.     So they have to divert

11   resources in two ways.      They have to educate voters and the

12   League of Women Voters educates the public on the fact that DPS

13   online transactions do not act as voter registration

14   applications, so there's an education component here.              You may

15   also divert resources to register the people who should have

16   been registered through DPS's online system and were not.                 So

17   they are two distinct diversion of resources.

18             THE COURT:     Okay.

19             MS. STEVENS:     And since they have to divert those

20   resources, they're unable spend as much time and energy on

21   other voter registration and voter education efforts as well as

22   their get out the vote and election protection efforts that

23   surround federal, state, and local elections across Texas.

24             THE COURT:     Okay.   All right.

25             MS. STEVENS:     As reply -- the League, independently of



                                                                  APPENDIX 708
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 719
                                                                26 ofof86
                                                                        797     26




 1   their organizational standing, also has associational standing

 2   on behalf on its members.

 3            THE COURT:      Okay.

 4            MS. STEVENS:      So now turning to the preliminary

 5   injunction factors, the court should grant a preliminary

 6   injunction immediately particularly in light of next week's

 7   voter registration deadline for the primary election and the

 8   swiftly approaching voter registration deadline for the primary

 9   runoff election.     All factors are in plaintiff's favor.               First,

10   a likelihood of success on the merits.           This has been fully

11   briefed in the application for preliminary injunction which

12   demonstrates there's a strong likelihood of success on the

13   merits for both the NVRA and the constitutional claims.

14   Although this court is already familiar with the relevant facts

15   and law, again, to avoid procedural complications, we

16   respectfully ask the court to make an independent ruling as to

17   the likelihood of success on the merits as it pertains to the

18   instant plaintiffs.

19            Second, irreparable harm to each plaintiff group.                  By

20   definition, an irreparable injury is one that cannot be undone

21   by monetary damages.      In our reply, we highlight multiple ways

22   in which all plaintiffs are irreparably harmed and emphasize

23   the acute nature of these harms due to the impending voter

24   registration deadlines and voting periods for the primary

25   election and the primary runoff election.



                                                                  APPENDIX 709
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 720
                                                                27 ofof86
                                                                        797     27




 1               Irreparable harm to the individual plaintiffs:               The

 2   individual plaintiffs in this case face irreparable harm next

 3   Monday, February 3rd, 2020, when they will be forced to either

 4   give up their legal right to register to vote under federal law

 5   or they'll face disenfranchisement in the March 3rd primary

 6   election.     Jarrod Stringer will additionally face irreparable

 7   harm in the 2020 general election after he moves again at the

 8   latest in August of this year.

 9               THE COURT:     M-hm.

10               MS. STEVENS:     And will be required to change his

11   driver's license address, which he plans to do online.

12   Irreparable harm to the organizational plaintiffs.              I

13   previously highlighted the ways that Move and the League divert

14   their resources to counteract the State's violations for the

15   purposes of standing.        These injuries are not only sufficient

16   for standing but are irreparable because every minute they

17   spend counteracting the State's failures is a minute they can

18   never get back.     The fact that the League is an all volunteer

19   organization only highlights the non-compensable nature of the

20   harm caused by defendants.         Also, both organizations contact

21   voters through a variety of mediums and countless voters are

22   educated by their efforts and are inspired to go vote.               So on

23   top of the diversion of resources, to register and educate

24   voters, irreparable harm occurs when individuals whom the

25   League and Move educate and inspire to go vote are unable to do



                                                                  APPENDIX 710
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 721
                                                                28 ofof86
                                                                        797   28




 1   so because they mistakenly thought they registered through

 2   DPS's online system and are disenfranchised at the polls as a

 3   result.

 4             Finally, we know that irreparable harm of

 5   disenfranchisement happens to many Texans.            We know from the

 6   organizational plaintiffs own encounters.           And we estimate that

 7   in 2018 alone, 735 voters across the State were disenfranchised

 8   because of the State's violations in this case.

 9             THE COURT:     How many people?

10             MS. STEVENS:     735 at least.

11             THE COURT:     Okay.

12             MS. STEVENS:     We explained fully in our reply,

13   attached to our reply is Joaquin Gonzalez' declaration and

14   explained fully in there the math for how we get to that

15   number, Your Honor.

16             Irreparable harm to the League as an associational

17   plaintiff, the League is a membership organization --

18   organization whose members are individually irreparable harmed

19   every day the State continues to thwart federal law.              With

20   approximately 3,000 members across the State, League members

21   regularly transact with DPS online to renew driver's licenses

22   or change their addresses.       DPS's own employee testified in

23   Stringer One that approximately 1.7 million -- excuse me --

24   1.5 million Texans or 5.5 percent of Texans transact with DPS

25   online each year.      This equates roughly 166-League members



                                                                  APPENDIX 711
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 722
                                                                29 ofof86
                                                                        797   29




 1   transacting online with DPS each year or roughly one every

 2   other day.    This includes Emily Ebby, a member of the League

 3   who in November of 2019 moved from Travis County to Harris

 4   County.   Updated her driver's license through the online DPS

 5   system.   But her driver's license of course did not act as a

 6   change of address for her voter registration.            And thus she is

 7   currently improperly registered to vote in her old county at

 8   her old address.

 9             THE COURT:     M-hm.

10             MS. STEVENS:     Third, any harm to the defendants is

11   outweighed by irreparable harm to the plaintiffs.             As the court

12   can see in the reply that we filed, the harmed defendants claim

13   they will suffer if a preliminary injunction is issued is

14   negligible.    Based on the defendant's own submissions, the

15   preliminary relief requested should pose at most a routine

16   administrative burden on the State.          The case law makes clear

17   that administrative burdens of this nature are outweighed by

18   their irreparable harm posed to the plaintiffs.

19             First, defendants already do some of what we're asking

20   for mail-in renewal notifications wherein they send voter

21   registration forms to DPS customers through the mail and those

22   forms are then sent back by DPS customers to the Secretary of

23   State for mailing on to the proper voter registrar.

24             And, again, individual plaintiffs will suffer when

25   they're forced next Monday to give up their legal right to



                                                                  APPENDIX 712
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 723
                                                                30 ofof86
                                                                        797   30




 1   register to vote through a DPS online transaction or to face

 2   disenfranchisement in the March election.

 3               The organizational plaintiffs are also suffering

 4   irreparable harm as the State's unlawful practices hamper their

 5   voter education, get out the vote, and election protection

 6   efforts in this critical time leading up to the voter

 7   registration deadlines and voting periods.

 8               Lastly.

 9               THE COURT:     M-hm.

10               MS. STEVENS:     An injunction serves the public

11   interest.     Congress clearly expressed where the public interest

12   lies in the actual text of the NVRA stating:            The right of

13   citizens of the United States to vote is a fundamental right.

14   It is the duty of the federal, state, and local governments to

15   promote the exercise of that right.          And the purpose of the

16   NVRA is to establish procedures that will increase the number

17   of eligible citizens who register to vote in elections for

18   federal office.       And courts consistently agree that public

19   interest lies in greater civic participation.            Recognizing, for

20   example, that by definition, the public interest favors

21   permitting as many qualified voters to vote as possible.

22               Thus, we respectfully request the court to as fast as

23   possible, given the quickly approaching voter registration

24   deadline, enter a preliminary injunction.

25               THE COURT:     Let me ask you.    In other states, in other



                                                                  APPENDIX 713
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 724
                                                                31 ofof86
                                                                        797   31




 1   states, voters can register online with their motor vehicle,

 2   whatever their DPS agency is?

 3             MS. STEVENS:     Yes, Your Honor.

 4             THE COURT:     Is that true in all 49 other states?

 5             MS. STEVENS:     I think it's -- I'm trying to recall

 6   from the deposition testimony that's been attached to our

 7   reply.   I think it's something like either 28 or 38 states.

 8   38 -- excuse me, Your Honor.

 9             THE COURT:     So it's your position that a person in

10   Texas who wants to go online to change his or her address with

11   DPS for their license, for purposes of their license, and

12   there's a question I guess that comes up and says, do you want

13   to register to vote, right, or something like that.

14             MS. STEVENS:     Close.    Close to that, Your Honor.          It

15   says, do you want to download a voter registration form.

16             THE COURT:     Do you want to what?

17             MS. STEVENS:     Download a voter registration form.

18             THE COURT:     Walk me through the process.

19             MS. STEVENS:     Sure.    So a potential voter who is

20   transacting online at DPS for a renewal or a change of address,

21   logs on, inputs some information to establish that they are who

22   they say they are.     And then they have to enter certain

23   information for that transaction as it relates to the driver's

24   license information.

25             THE COURT:     Right.



                                                                  APPENDIX 714
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 725
                                                                32 ofof86
                                                                        797   32




 1               MS. STEVENS:     And then I think counsel for the State

 2   is right, that at step five you answer a question about voter

 3   registration.     And that question of course changed.

 4               THE COURT:     And what's the question.

 5               MS. STEVENS:     Now it says -- it's something like:          Do

 6   you want to download a voter registration form.

 7               THE COURT:     Okay.   And let's say the person clicks,

 8   says yes.

 9               MS. STEVENS:     The person says yes.      Then on the last

10   page it's called the receipt page.           There is a link to the

11   Secretary of State's website, so a wholly different website.

12               THE COURT:     Okay.

13               MS. STEVENS:     Where the person can go and has to

14   download, print, fill out, sign, and mail in a form.              Notably,

15   anyone can access the system that is linked in the DPS system.

16   It is not special for DPS customers.

17               THE COURT:     Okay.   So where do you claim the State is

18   not compliant?     You mean, thus far what you have told me, if

19   the person says, yes, I want this -- a downloaded ballot.                Not

20   a ballot.     A registration form.      You go through that process,

21   and I print it.     Where in the process like Mr. Stringer, where

22   did the system fail him?

23               MS. STEVENS:     The question.

24               THE COURT:     If it failed him.

25               MS. STEVENS:     It absolutely failed him.       The question



                                                                  APPENDIX 715
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 726
                                                                33 ofof86
                                                                        797   33




 1   should say something like:         Do you want to register to vote.

 2   The way that it does for in-person driver's license

 3   transactions and mail-in driver's license transactions right

 4   now, it should have a similar question on the online system.

 5   The person checks yes.       And then their information that is

 6   already provided for purposes of driver's license.

 7              THE COURT:     Right.

 8              MS. STEVENS:     Should go through the way it does

 9   already for driver's license information to DPS to their

10   system.    Once it gets to that system, if they checked yes to

11   the voter registration question, all of the appropriate

12   information should then go on to the Secretary of State's

13   office and down to the proper voter registrar.             The exact same

14   way they do this for in-person driver's license transactions

15   and mail-in transactions.

16              THE COURT:     So your claim is that a person like

17   Mr. Stringer or someone in his position isn't given that

18   opportunity to merely press a button or whatever and his

19   information goes directly to the Secretary of State.

20              MS. STEVENS:     That's right.     The NVRA --

21              THE COURT:     Your claim is that the -- this National

22   Registration Act requires the State of Texas to provide that

23   service?

24              MS. STEVENS:     Yes, Your Honor.

25              THE COURT:     In that manner.



                                                                  APPENDIX 716
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 727
                                                                34 ofof86
                                                                        797   34




 1            MS. STEVENS:      In that manner.       The NVRA requires the

 2   Voter Registration Application to be simultaneous with the

 3   driver's license application.

 4            THE COURT:      Okay.

 5            MS. STEVENS:      And in fact says that the State cannot

 6   require duplicate information for each of these forms, and so

 7   we know the system that the State currently has set up, a

 8   person who goes through the process they have set up have to

 9   fill out duplicate information, if they fill out that voter

10   registration form.     Their name again, their address, their

11   driver's license number and on.

12            THE COURT:      Okay.   Now going back to question number

13   five.

14            MS. STEVENS:      Yes, sir.

15            THE COURT:      Let's say, Is that process only available

16   for people who want to change voter registration information or

17   can a new time -- first-time voter make an application through

18   the DPS website?

19            MS. STEVENS:      Do you mean what -- how should it be or

20   how is it currently?

21            THE COURT:      How is it currently?

22            MS. STEVENS:      Currently, anyone who uses the DPS

23   system for mail-in renewal and whether they've been registered

24   to vote previously or not can access -- assuming they check

25   yes.



                                                                  APPENDIX 717
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 728
                                                                35 ofof86
                                                                        797         35




 1              THE COURT:     I see.

 2              MS. STEVENS:     -- can access this form.

 3              THE COURT:     All right.     So now do you have the number

 4   of transactions -- the number of people, let's say last year in

 5   2019 or 2018.

 6              MS. STEVENS:     M-hm.

 7              THE COURT:     -- who went to the DPS website and made a

 8   simple transaction of just notifying -- either trying to renew

 9   a license or change of address.          I'm not talking about voting.

10   I'm just talking the number of people that renewed online or

11   changed their address online.          Do you have the numbers of that?

12              MS. STEVENS:     The State has the most up-to-date

13   numbers.    We have the estimation from 2016 so we imagine it

14   went up from there at about 1.5 million Texans.

15              THE COURT:     Okay.     Now, we really know based on

16   experience that not all 1.5 people are registered, right?

17   There's a lot of folks that are driving.            Hey, I just want my

18   license.    I don't want to be involved in anything else.                And

19   nothing as radical as voting, right.             So how many people of the

20   1.5 million do we know are registered to vote?

21              MS. STEVENS:     We do not know the answer to that

22   question, Your Honor, because the answer to that question is

23   the only information that DPS does not track in that

24   transaction.

25              THE COURT:     Okay.     All right.     Good enough.   Thank



                                                                  APPENDIX 718
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 729
                                                                36 ofof86
                                                                        797   36




 1   you.

 2             MS. STEVENS:     Thank you, Your Honor.        Oh, I'm going to

 3   hand it over to Intervenor-Plaintiffs.

 4             THE COURT:     Oh, I'm sorry, go ahead.

 5             MR. HILTON:     And, Your Honor, I need to note a couple

 6   of objections with respect to the Intervenors.             First, we filed

 7   a motion to sever, which I know the court will consider in due

 8   course so we object to the cases being joined to them being

 9   part of the case.      Also --

10             THE COURT:     And why do you object?

11             MR. HILTON:     The case in which they intervene which we

12   oppose, was a case over which Your Honor had no jurisdiction to

13   do anything other than dismiss the claims.            And our position is

14   that by allowing them to intervene, you exceeded the scope of

15   the Fifth Circuit's mandate, so they've intervened into a case

16   which should not be an open case.

17             THE COURT:     Okay.

18             MR. HILTON:     We also object to their participation in

19   this preliminary injunction hearing.          They have not intervened

20   into this case, Stringer Two.         They're not a party to this

21   case.   They haven't asked to join in Stringer Two.

22             THE COURT:     Okay.

23             MR. HILTON:     So they shouldn't be participating.

24             THE COURT:     All right.

25             MR. HILTON:     And finally, Your Honor, everything that



                                                                  APPENDIX 719
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 730
                                                                37 ofof86
                                                                        797   37




 1   they filed this morning, their summary judgment motion, their

 2   motion to join, they haven't provided me copies with any of

 3   that.

 4             THE COURT:     Okay.

 5             MR. HILTON:     I was on the road, not able to see any of

 6   that.   I think there's just a process issue with me not being

 7   able to respond to what they're arguing today. I'll just note

 8   that.

 9             THE COURT:     If you'll address all those matters plus

10   whatever you were going to say.

11             MS. BRANCH:     Yes, Your Honor.

12             THE COURT:     Go ahead.

13             MS. BRANCH:     May it please the Court.         My name is

14   Araia Branch for the intervenors.         With respect to the

15   severance motion, we obviously haven't responded to that yet.

16   But we oppose the motion to sever.         Your Honor, has already

17   ruled that the cases are properly consolidated for purposes of

18   judicial economy.      And we think that issue is settled.           Even if

19   the cases are severed, we move to intervene in Stringer One in

20   which case we would be properly before the court in Stringer

21   One.

22             THE COURT:     All right.

23             MS. BRANCH:     We have not asked to join Stringer Two

24   because Your Honor consolidated the two actions.

25             THE COURT:     All right.     Go ahead.



                                                                  APPENDIX 720
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 731
                                                                38 ofof86
                                                                        797   38




 1             MS. BRANCH:     We filed a motion to -- and Your Honor

 2   granted our motion to join the Stringer plaintiffs motion for

 3   preliminary injunction.       Ms. Stevens has already provided the

 4   argument and we join that argument.          I just wanted to make a

 5   few points specifically about intervenor's standing as

 6   requested by the court's order.

 7             THE COURT:     Okay.

 8             MS. BRANCH:     And I'll just respond to the first

 9   question, which is whether standing is the only new issue since

10   Stringer One was first decided.         We agree with the Stringer

11   plaintiffs, standing remains the only issue.            The law and the

12   facts have not changed, and I think the state's attorney has

13   made that clear both in briefing and in argument thus far

14   today.   As stated in our motion for summary judgment, which I

15   understand we're not here to discuss today, we've requested a

16   separate hearing on that.        The Texas Democratic Party, the DCCC

17   and DSCC each have organizational and associational standing.

18   As Ms. Stevens stated, the law is clear that diversion of

19   resources confirms organizational standing on particular

20   plaintiffs.    And really I think the controlling case here is

21   Crawford v. Marion County with respect to political parties

22   where the seventh circuit held that the democratic party of

23   Indiana had standing to challenge the state's voter ID law

24   because it was forced to divert resources from its other duties

25   in order to educate voters and to counteract against the harm



                                                                  APPENDIX 721
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 732
                                                                39 ofof86
                                                                        797   39




 1   of that law.

 2            THE COURT:      Okay.

 3            MS. BRANCH:      The Supreme Court in footnote seven of

 4   the appeal of Crawford stated again, it affirmed the Seventh

 5   Circuit that the democrat party of Indiana had standing and

 6   that it was not required to address the standing of the other

 7   petitioners because in direct response to Your Honor's

 8   question, only one petitioner is required to have standing in

 9   order for a matter to proceed.

10            The Texas Democrat Party, the DCCC, and the DSCC have

11   already suffered and will continue to suffer from having to

12   divert resources to counteract defendant's unconstitutional

13   conduct in terms of their voter registration practices from

14   their other activities.       Each of these parties missions is to

15   elect democrat candidates in Texas.          As a result of defendant's

16   conduct, they are having to engage in larger voter registration

17   efforts and they're having to divert resources, time, talent,

18   and other financial obligations away from their obligations

19   to -- and their activities to work to elect democrat

20   candidates.    For example, in the declaration that we provided,

21   Mr. Maxey, who is the primary director of the Texas Democrat

22   Party states that the party has now created the largest voter

23   registration program in Texas history in part to counteract the

24   harm that is caused by defendant's practices.            And,

25   specifically, the parties joined the Stringer plaintiffs motion



                                                                  APPENDIX 722
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 733
                                                                40 ofof86
                                                                        797     40




 1   for a PI with respect to the equal protection claims not with

 2   respect to the NVRA claims.        And specifically the harm here is

 3   that the State does not permit simultaneous voter registration

 4   for individuals who interact with DPS online even though they

 5   permit simultaneous voter registration for individuals who

 6   interact with DPS by mail and in person.

 7            Similarly, the DCCC is having to engage in an

 8   expansive effort to increase voter registration in order to

 9   counteract defendant's conduct that will result in voters being

10   disenfranchised including Mr. Stringer, as Your Honor has

11   already discussed.     The DSCC similarly is spending additional

12   money on get out the vote efforts and voter persuasion efforts

13   in order to compensate for voters who won't be able to vote as

14   a result of the state's illegal voter registration practices.

15            The parties each also have associational standing on

16   behalf of their members, and I think the controlling case there

17   again is Hunt and also Crawford from the Supreme Court.                  That's

18   basically all I was going to address.          I just wanted to make

19   clear that the Intervenors do have standing, and we join the

20   Stringer plaintiffs motion for preliminary injunction with

21   respect to the equal protection claims.           Thank you, Your Honor.

22            THE COURT:      All right.     Anyone else on the plaintiff's

23   side?

24            MS. STEVENS:      No, Your Honor.

25            THE COURT:      No.   Go ahead counsel.       I tell you what,



                                                                  APPENDIX 723
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 734
                                                                41 ofof86
                                                                        797   41




 1   let's take a brief recess.

 2            (Brief recess)

 3            THE COURT SECURITY OFFICER:            All rise.

 4            THE COURT:      All right.     Okay.     You may begin,

 5   counselor.

 6            MR. HILTON:      Chris Hilton for the State.         Plaintiff's

 7   counsel said that this case is about folks needing to give up

 8   the right to register to vote or be disenfranchised.               But any

 9   eligible Texan --

10            THE COURT:      If they go through the DPS route, they

11   will be, right?

12            MR. HILTON:      I'm sorry.

13            THE COURT:      If they go the DPS route, they will.            Is

14   that correct?

15            MR. HILTON:      No, Your Honor.

16            THE COURT:      Okay.

17            MR. HILTON:      Any eligible Texan who wants to vote in

18   the March election, can register to do so regardless of what

19   the court decides on plaintiff's motion.

20            THE COURT:      And they can do so by going through the

21   DPS website?

22            MR. HILTON:      They can do so -- they can do so -- yes.

23   If a Texan decides they want to register to vote while they're

24   renewing their driver license online or changing their address

25   with DPS, defendants have a process in place for them to do



                                                                  APPENDIX 724
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 735
                                                                42 ofof86
                                                                        797   42




 1   that. Voters can also register in person.           They can register by

 2   mail.

 3            THE COURT:      So are the plaintiffs wrong?         See, there's

 4   a disconnect here.     They say it's not being done, and you're

 5   saying it can be done.      So when they say a person cannot

 6   register to vote simply by going to the DPS website, you're

 7   saying they're wrong.

 8            MR. HILTON:      What I understand their argument to be is

 9   that someone can't register in the manner in which they would

10   prefer it to work.     The NVRA requires defendants -- requires

11   the State to have a process by which someone who is interacting

12   with DPS can also get together a voter registration

13   application.    The State has a process in place.           It's one the

14   plaintiffs don't like but we have a process in place.

15            THE COURT:      And your process, see if I understand this

16   correctly.     I'm not trying to argue with you.

17            MR. HILTON:      I understand.

18            THE COURT:      I'm trying to understand where the

19   confusion or source of the problem is.           You're telling me I go

20   to DPS, I can print an application or something but they're

21   suggesting that the law requires that you have a system to

22   where I can just take care of it online and DPS transmits that

23   information to the Secretary of State.           Are you saying that

24   does not -- that is not required by the law?

25            MR. HILTON:      That's our position, Your Honor.           That's



                                                                  APPENDIX 725
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 736
                                                                43 ofof86
                                                                        797    43




 1   our disagreement on the merits.         Yes, sir.

 2              THE COURT:    Okay.   And why is the State correct?           Tell

 3   me -- your way is do it this way.         You can you print a deal off

 4   and send it over to the voter registrar.            That's what you're

 5   saying is the process now?

 6              MR. HILTON:    Yes, Your Honor.

 7              THE COURT:    Okay.   Go ahead.

 8              MR. HILTON:    Your Honor, as I was saying, any Texan

 9   who wants to vote in the upcoming elections, which plaintiffs

10   have repeatedly stressed is their motivation for their motion

11   today, can register to vote regardless of what the court

12   decides on plaintiff's motion.        Voters can register in person.

13   By mail.    They can download a voter registration form.             They

14   can pick one up from libraries, high schools, or government

15   offices.    They can ask their county voter registrar to mail

16   them a registration form, at least in some counties like Bexar

17   County.    If they've moved within the same county, they can

18   update their registration online right now today on

19   votetexas.gov.    If they need help, they can contact their

20   county voter registrar or the Secretary of State.             And, yes,

21   they also have this DPS process available to them.

22              THE COURT:    M-hm.

23              MR. HILTON:    All these methods of voter registration

24   are lawful, most if not all have been in place for many years.

25   Contrary to what plaintiffs would have this court believe, the



                                                                  APPENDIX 726
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 737
                                                                44 ofof86
                                                                        797   44




 1   right to vote in Texas does not depend on the court granting

 2   plaintiff's motion.      Likewise, this case is not merely a

 3   continuation of the 2016 claims like plaintiff Stringer, though

 4   there's some overlap.      As this court has already and correctly

 5   recognized, we all must begin anew with the new claims of the

 6   new parties.     The sole question before the court today is

 7   whether plaintiffs have proven that they are entitled to one of

 8   the most extraordinary remedies that this court has the power

 9   to grant.     The decision to grant any preliminary injunction is

10   the exception and not the rule.         Plaintiffs' burden is even

11   higher where as here they're asking the court's -- the court to

12   force defendants to act rather than simply maintaining the

13   status quo that's been in place for years.            And plaintiffs'

14   burden is higher still where the defendants are State actors

15   because of the respect afforded to State governments in our

16   federal system.

17               Your Honor, defendants submit that plaintiffs cannot

18   turn their loss at the end of the previous case into a complete

19   win at the very outset of this litigation.            They should not be

20   permitted to shortcut the judicial process.            They have not

21   sustained their heavy burden and their motion should be denied.

22               And, Your Honor, before I talk about the preliminary

23   injunction factors, there's something that I feel like I have

24   to address.

25               THE COURT:   Sure.



                                                                  APPENDIX 727
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 738
                                                                45 ofof86
                                                                        797   45




 1              MR. HILTON:     One of the things that plaintiff's

 2   counsel said in her presentation was that it was the position

 3   of the State and the defendants that this is the process.

 4   Texas voters be damned.       That's what she said.        And I don't

 5   want a Secretary of State elections division employee to read

 6   that and think that I didn't stand up for them.             They've

 7   dedicated their careers to serving the voters of the State of

 8   Texas, and so I take exception to that remark.

 9              THE COURT:     All right.

10              MR. HILTON:     Your Honor, I'll begin with irreparable

11   harm.    Plaintiff's counsel said that any nonmonetary harm is

12   irreparable harm and that's not true.          That's not the standard.

13   That's part of it.       But it has to be a harm that's going to be

14   suffered and cannot be avoided absent intervention by the

15   court.    The question before the court with respect to

16   irreparable harm is, Do you have to act in order to avoid this

17   injustice or is there anything else that can be done to avoid

18   it.     Here, Your Honor, there's no question that something else

19   can happen to avoid that harm.         As I described at the

20   beginning, there are many means that are completely lawful and

21   have been in place for years for any eligible Texan to register

22   to vote in time for the upcoming elections.            Your Honor,

23   another thing that plaintiff's counsel said is that every

24   minute counts, particularly with respect to the organizational

25   plaintiffs.     And that's an area where we agree.          And it's



                                                                  APPENDIX 728
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 739
                                                                46 ofof86
                                                                        797   46




 1   because the organizational plaintiffs have delayed for years in

 2   bringing this now supposed emergency.          They go -- they have

 3   repeatedly said that this process has been in place since at

 4   least 2015, even before then.        Nothing new about this process

 5   has caused all of a sudden an emergency to arise other than

 6   plaintiff deciding to bring an emergency motion.             And, Your

 7   Honor, the law is well established that delay alone can

 8   undermine an assertion of irreparable harm.            If defendants, and

 9   particularly the organizational -- if plaintiffs and

10   particularly the organizational plaintiffs, were truly being

11   irreparably harmed, you would expect them to act with urgency.

12   And that lack of urgency here, waiting for years before

13   bringing an emergency motion, completely undermines their

14   assertion that they've been irreparably harmed.

15            THE COURT:      Well, they could have been waiting for the

16   outcome of the last case, right.

17            MR. HILTON:      Your Honor, I'm glad you asked that.           The

18   last case did not involve these organizational claims.

19            THE COURT:      I understand.     But they could have been

20   hoping for a different outcome.

21            MR. HILTON:      All the while suffering what they allege

22   is an irreparable harm.       If it was truly irreparable --

23            THE COURT:      M-hm.

24            MR. HILTON:      -- such that they couldn't afford to wait

25   for the outcome because they're suffering harm that can't be



                                                                  APPENDIX 729
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 740
                                                                47 ofof86
                                                                        797   47




 1   undone--

 2              THE COURT:    Right.

 3              MR. HILTON:    -- which is what they've argued to you,

 4   they should have acted sooner, and they didn't.             They waited

 5   for years.     Courts have found that substantially shorter

 6   periods of delay have undone the urgency that is required to

 7   justify granting preliminary injunctive relief.             Periods as

 8   short as three months, ten weeks, six months have been found to

 9   undermine an assertion of irreparable harm.            Even counting the

10   date of the Fifth Circuit's decision, that's, you know, that

11   was back in November.      We're still months away from that.            And

12   instead they waited.

13              Move Texas has been in existence since 2013.            So as

14   long as Move Texas has been around, this has been the process.

15   The League of Women Voters of Texas has been around since 1919,

16   long before the internet, the NVRA, any of these processes have

17   been around.    And they've been doing this work for as long as

18   these processes have been in place.          Your Honor, they say that

19   every minute counts, and I agree.         Every minute that they spent

20   waiting proves to Your Honor that the harm that they contend

21   they're suffering is not an emergency.           It's not irreparable

22   harm that justifies the extraordinary relief they've asked for.

23              Your Honor, I also want to talk about the individual

24   plaintiffs.     For the reasons I explained earlier, the harm that

25   they potentially face in connection with these upcoming



                                                                  APPENDIX 730
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 741
                                                                48 ofof86
                                                                        797   48




 1   elections is not irreparable.        They do not need this court to

 2   act in order for them to be able to register to vote or to

 3   update their change of address.         One of the plaintiffs, I think

 4   it's Ms. Gomez, alleges that she moved within the same county,

 5   within Bexar County I believe.        She can go online right now to

 6   Move Texas -- or votetexas.gov and update her voter

 7   registration address.      She does not need Your Honor's help to

 8   do that.     You do not need to enter an injunction in order to

 9   protect the voting rights of any Texan who wants to

10   participate.     And the question of whether eligible voters

11   should have to engage in one of these other methods of voting,

12   that's a question for the merits of the dispute.             We disagree

13   about that.     The question on harm for Your Honor is whether you

14   need to act in order to avoid the harm.           You don't.     Any voter

15   who wants to participate in these elections can do so if they

16   choose, and there's still plenty of time left for them to do

17   that.

18               THE COURT:    So I guess what you're saying is there's

19   an existing remedy.

20               MR. HILTON:    That's right.     And it's one that you

21   don't need to impose.      It's a remedy of the voter can go

22   register.     They can go in person.       I explained all this in the

23   beginning --

24               THE COURT:    There's other manners of doing it.

25               MR. HILTON:    Exactly right, Your Honor.



                                                                  APPENDIX 731
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 742
                                                                49 ofof86
                                                                        797    49




 1              THE COURT:    All right.     Go ahead.

 2              MR. HILTON:    So they will not suffer the harm absent

 3   an injunction by this court.        That's the standard.

 4              THE COURT:    All right.

 5              MR. HILTON:    Your Honor, I also want to move next to

 6   the harm to defendants and the public interest where as here

 7   the defendants are State agencies.         These factors tend to

 8   merge, so I'm going to discuss them together.            The harm to

 9   defendants here is that the plaintiffs have asked for an

10   injunction that we cannot possibly comply with.             Now,

11   fortunately for me, they filed their amended proposed order as

12   I was leaving the office and someone was able to get it in my

13   hands so I could read it.       The proposed order that they filed

14   with their motion absolutely was insufficient, and that is

15   reason enough alone to deny their motion.           I briefed that, Your

16   Honor, and now that they have the amended order, I'm not going

17   to belabor the point.      But, Your Honor, this to a certain

18   extent is about fairness.       It's about process.        It's about the

19   ability of defendants to know what it is they're defending

20   against.    I could not adequately analyze the harm to defendants

21   and the public interest based on this order that I read for the

22   first time sitting over at the coffee shop right before I came

23   into the courthouse.      Neither could defendants.         We couldn't

24   understand what it was they were asking for.            And we tried our

25   best to tell Your Honor what would be entailed for the kinds of



                                                                  APPENDIX 732
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 743
                                                                50 ofof86
                                                                        797    50




 1   changes that they might be asking for.           We did our best.        And

 2   the State agencies that looked at this and who would

 3   potentially be involved with these changes, none of them could

 4   complete their work in time for the March election or for the

 5   primary runoff.     None of them could complete their work in time

 6   for the 60-day arbitrary deadline that they have now asked for.

 7            THE COURT:      Okay.

 8            MR. HILTON:      The DIR, which is the Texas Department of

 9   Informational Resources maintains the Texas.gov website for

10   driver's license transactions.        It would take them -- they

11   estimate it would be take them 90 days to complete that work.

12   DPS estimates that its work -- and, again, for the most

13   barebone type of change would take seven to 11 weeks.              And the

14   Secretary of State's office could take at least 60 days, if not

15   more, again, for the smallest possible easiest to implement

16   kind of change.     So those periods may overlap somewhat, and it

17   will take close coordination between all those agencies.                 But,

18   you know, under these scenarios, even with a much more limited

19   injunction, there's no way that we could comply in time for

20   these elections.

21            Now, Your Honor, with this amended order, what they're

22   asking here is not a matter of weeks.          It's a matter of months,

23   if not a year, if not more.        They're asking for something that

24   does not exist.     It's an entirely new application, an entirely

25   new piece of software, an entirely new structure that would



                                                                  APPENDIX 733
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 744
                                                                51 ofof86
                                                                        797   51




 1   have to be built from the ground up.          It would take close

 2   coordination with all three of those agencies, other vendors.

 3   It would be a massive undertaking and certainly not one that

 4   could be completed within 60 days.

 5            And I might as well talk about the rest of the amended

 6   order now.   They've asked that the Secretary of State to ensure

 7   that the individual plaintiffs will be registered to vote no

 8   later than this Friday at 6:00 p.m.          The Secretary of State has

 9   absolutely no authority to do that.          The Secretary of State is

10   not the voter registrar in the State of Texas.             The county

11   voter registrars are the ones who maintain the voter rolls so

12   the Secretary of State, the defendants here can't give the

13   relief that they're asking for.

14            And now with respect to this more systemic change that

15   they've asked for, you know, part of it, you know, I think that

16   we know what some of it means.        I think I know what a

17   pre-populated voter registration application is.             And I have to

18   respond to one thing.      They said that they shared the relief

19   with me last night.      They gave me a preview.        They did not give

20   me this proposed order.

21            THE COURT:      All right.

22            MR. HILTON:      And the expense involved with this would

23   certainly be very significant to the State.            And without

24   knowing that, I can't tell Your Honor exactly what the harm to

25   defendants would be.      But to even analyze this would take



                                                                  APPENDIX 734
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 745
                                                                52 ofof86
                                                                        797    52




 1   significant time for us, and we'll certainly do so as quickly

 2   as we can, if the court would like us to do so.             But this is

 3   just not an injunction that we can comply with.

 4             Your Honor, plaintiffs also, yeah, they characterize

 5   that as a mere, mere administrative burden.            It couldn't be

 6   further from that.      It is a massive undertaking.         It is a huge

 7   project what they've asked for.

 8             THE COURT:     Okay.

 9             MR. HILTON:     Your Honor, plaintiffs also failed to

10   account for the uncertainty, the confusion, the harm to the

11   public that would occur if this court were to enter a sweeping

12   injunction that create a systemic change to the voter

13   registration processes on the eve of an election at the 11th

14   hour.   They seem to think that somehow that would solve the

15   public's problems, and we would get fewer complaints.              They

16   can't justify that.      We know from experience, the defendants

17   know from experience, when changes are made to voter

18   registration processes, to any election process, there is a

19   certain amount of friction that comes with that.             There will be

20   uncertainty and additional burdens to the defendants, and it

21   will cause harm to the public because folks won't necessarily

22   know, am I registered to vote.        Did this DPS transaction count?

23   Will the future one count?       Again, at the 11th hour of an

24   election, that's not the appropriate time to implement that

25   kind systemic change on an impossibly short timeline.



                                                                  APPENDIX 735
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 746
                                                                53 ofof86
                                                                        797    53




 1            And, Your Honor, there's also the -- part of the

 2   problem also with what they've asked for, it's harm to the

 3   defendants and it's harm to the public interest, is that

 4   they're asking this court to override the duly enacted laws of

 5   the State of Texas.      It's not enough that they've just alleged

 6   a constitutional injury.         We disagree on the merits of that.

 7   And the Fifth Circuit has never ruled on that.             In the Fifth

 8   Circuit's opinion, it ruled only on standing.            And Judge Ho's

 9   concurrence, not with standing, they did not reach the merits.

10   So we don't have a ruling from the merits on the Fifth Circuit.

11   And there is case law that I signed in our opposition, that any

12   time that the laws of a State are overridden, that constitutes

13   an irreparable harm to the State and to its people.              The duly

14   enacted laws of the State of Texas are the expressed will of

15   the people.    And the court should not lightly overrule them,

16   particularly where as here they haven't made the showing as to

17   harm.

18            Your Honor, excuse me, I want to touch on the

19   likelihood of success, Your Honor.         I don't want to spend a

20   great deal of time on it because from the experience of

21   Stringer One, Your Honor is certainly familiar with the issues,

22   at least some of the issues in this case.

23            THE COURT:      M-hm.

24            MR. HILTON:      But their success on the merits here is

25   not automatic.    As Your Honor has noted, we are beginning anew



                                                                  APPENDIX 736
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 747
                                                                54 ofof86
                                                                        797   54




 1   with these new claims and these new parties.

 2            THE COURT:      M-hm.

 3            MR. HILTON:      With respect to standing, in particular,

 4   Your Honor, you know, we have not responded to the merits of

 5   these complaints.     We haven't filed a responsive pleading yet.

 6            THE COURT:      Right.

 7            MR. HILTON:      For the Stringer Two plaintiffs, we don't

 8   have to do so until March.        And so we're still evaluating our

 9   arguments, and we will present any issues we have with standing

10   in due course.    But to at least preview for Your Honor, and,

11   you know, Your Honor is right to be concerned about standing

12   here because the Fifth Circuit made clear that what they have

13   to show as far as likelihood of repeating injury in the future,

14   it's a tricky burden for them to meet.

15            For purposes of today -- I'm sorry, excuse me, so I

16   want to begin with the Intervenors and the organizational

17   plaintiffs.     You know, with respect with the Intervenors, as I

18   mentioned before, we respectfully disagree with the court's

19   decision to allow them to intervene, so there's that standing

20   jurisdictional issue.      With respect to associational standing,

21   which is one of the arguments they make, they can't show that

22   in this case.    This type of standing requires three elements.

23   It requires that the organization's members would otherwise

24   have standing to sue in their own right.           It requires that the

25   interests the organization seeks to protect are germane to the



                                                                  APPENDIX 737
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 748
                                                                55 ofof86
                                                                        797   55




 1   organization's purpose.       And it requires that neither the claim

 2   asserted nor the relief requested requires participation of the

 3   individual members.      And that's United Food and Commercial

 4   Workers Union Local 751 v. Brown Group.           517 U.S. 544, 553.        At

 5   least the first and third of those elements are clearly

 6   problematic for the plaintiffs.         The first element that the

 7   members would have standing to sue in their own right -- the

 8   standing of individuals here is tricky.           The Fifth Circuit made

 9   that clear.    And so none of these organizations can assert with

10   a broadbrush that all of their members would have standing.

11            Now, with respect to participation, clearly that's not

12   met here either because this is a highly individualized tricky

13   factual question with respect to individuals have standing for

14   this type of claim.

15            THE COURT:      M-hm.

16            MR. HILTON:      And so they absolutely would have to

17   participate.    And the organizations cannot tell you that across

18   the board all their members have standing.            Organizational

19   standing is also potentially problematic for the plaintiffs.

20   They're pursuing a diversion of resources area that's clear

21   from their filings, and it's clear today.           But not every

22   diversion of resources to counteract a defendant's conduct

23   establishes an injury in fact.        That's the Fifth Circuit.

24   NAACP v. City of Kyle 626 Fd.3d 233, 238.           Activities which

25   basically boil down to examining and communicating about



                                                                  APPENDIX 738
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 749
                                                                56 ofof86
                                                                        797   56




 1   developments in the law and do not differ from routine

 2   activities of the organization do not confer standing.               That's

 3   the same case.     That's the same cite.       That sounds a lot like

 4   they described here today.       It's the routine activities of

 5   these organization to educate voters about developments in the

 6   law, and these are their routine activities that they would be

 7   doing no matter the standard of law with respect to this issue.

 8               They have to show a concrete and demonstrable injury

 9   with a consequent drain on resources constituting far more than

10   simply a setback to the abstract social interests of the

11   organization.    That's from Havens Realty Corp. v. Coleman 455

12   U.S. 363, 379.     Clearly, the organizational plaintiffs have a

13   steep burden here, and it's one they may not be able to

14   overcome.     They have made vague assertions about their voter

15   education efforts.     They have not attempted to quantify the

16   extent of the impact.      And they've argued that it's a

17   qualitative rather than a quantitative injury.             Well, they have

18   to show a concrete and demonstrable injury.            And they have not

19   done that.

20               We also have concerns about the standing of the

21   individual plaintiffs.      With respect to Ms. Gomez, I mentioned

22   her earlier.     She has alleged that she moved within Bexar

23   County.     She can update her voter registration address today

24   online.     Her standing must at least seriously be questioned.

25   Mr. Harms appears to have the same problem that Mr. Stringer



                                                                  APPENDIX 739
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 750
                                                                57 ofof86
                                                                        797   57




 1   did in the first case.      He complains only of a past harm and

 2   he's not alleged any substantial risk that he will suffer a

 3   potential future injury absent the requested relief.              That's

 4   from the Fifth Circuit Stringer case at 721.

 5            Mr. Stringer here has at least added the allegation

 6   that he intends to move later this year but that alone doesn't

 7   solve his standing problem.         If he moves within the same

 8   county, he'll be in the same position as Ms. Gomez, and he can

 9   register -- change his voter registration address online.

10   Moreover, standing is not created by a declaration in court

11   pleadings.   That's Mississippi State Democrat Party v. Barber

12   529 Fd.3d 538 at 545.      That's all he has done so far is

13   declared in court pleadings.         As Your Honor knows, if this

14   proceeds to discovery, it could unearth very different facts

15   from what's been alleged.         So, as I said, we will raise and

16   pursue our arguments on standing in due course.             There may be

17   others we haven't touched on here.

18            THE COURT:      Right.

19            MR. HILTON:      We may not assert all these in the

20   motions to dismiss but that's -- the court is right to be

21   concerned about standing.

22            And the last point -- so to bring it back to the

23   preliminary injunction factors, the last point I want to make

24   on the likelihood of success is that this is only one factor.

25   The plaintiff's bear the burden -- they bear the burden to



                                                                  APPENDIX 740
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 751
                                                                58 ofof86
                                                                        797   58




 1   prove all four factors.       If they prove likelihood of success

 2   today, that doesn't mean that they win.           It is not a substitute

 3   for these other factors.         They can't collapse the other factors

 4   into likelihood of success, as Your Honor well knows.

 5              Your Honor, I think that's everything I have with

 6   respect to the preliminary injunction motion itself.

 7              THE COURT:    Okay.

 8              MR. HILTON:    Your Honor, has also ordered -- I

 9   apologize.    Let me get organized here.         The order from last

10   Friday had a long list of questions, and I would like to

11   address those.

12              THE COURT:    Go ahead.     And you got time.      Go ahead.

13              MR. HILTON:    I appreciate it, Your Honor.          Just one

14   moment while I reorganize myself here.

15              THE COURT:    Question Number 5A:       If defendant's

16   practices have changed, and I suppose your response to that is

17   nothing has changed, correct?         So that part you don't need to

18   address.

19              MR. HILTON:    Correct, Your Honor.        There have been no

20   material changes with our practices with respect to online

21   driver's license renewal and DPS --

22              THE COURT:    Right.     And therefore B is not relevant if

23   no change has not been made.

24              MR. HILTON:    Correct, Your Honor.        With respect to

25   number one -- I was just going to go in order here.



                                                                  APPENDIX 741
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 752
                                                                59 ofof86
                                                                        797   59




 1               THE COURT:    Go ahead.

 2               MR. HILTON:    I know Your Honor mentioned Number 5.

 3   With respect to number one, I think 5A and one overlap a little

 4   bit.     So with respect to one, I think the only thing that, you

 5   know, for the most part we agree.         The practices and law hasn't

 6   changed.     But I think we would say that, you know, as the court

 7   has recognized, we're beginning anew because this matter

 8   involves new parties bringing distinct claims.             Nothing is

 9   known about any of the plaintiffs, other than Mr. Stringer,

10   beyond what's been alleged.        So our position I think is the

11   same as the court's, which is that, you know, we're starting

12   from scratch in this case.       There certainly will be -- I'm sure

13   will be efficiencies that we can have given that Stringer One

14   in this case substantially overlap.          But our position is that

15   we're entitled to a full opportunity to have our arguments

16   considered with a fresh look and, you know, hopefully we can be

17   more convincing to the court this time around, at least in that

18   sense.     Because defendants should have the opportunity to fully

19   litigate again, we would say that in that sense all issues are

20   new.

21               So number two, I think I've already covered number two

22   was Your Honor's concerns about standing.

23               With respect to number three, whether only one

24   plaintiff or movant needs standing to proceed.             We agree with

25   that subject to what I think is an important qualification.



                                                                  APPENDIX 742
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 753
                                                                60 ofof86
                                                                        797     60




 1   And I think plaintiff's counsel touched on this as well.                 The

 2   court's determination as to who has standing for a preliminary

 3   injunction will have a significant impact on the scope of the

 4   relief that it should entertain.         If the court were to find

 5   only one individual plaintiff has standing to proceed, that

 6   individual would be permitted to seek a preliminary injunction.

 7   But the appropriate scope of relief on that motion brought by a

 8   single individual would be very different from a kind of

 9   sweeping systemic change if there were more plaintiffs or if

10   there were organizations involved.         Of course we don't think

11   any kind of preliminary injunction is warranted, but I think

12   that's our position with respect to number three.

13             Number four:     The facts already developed, I think

14   we've already covered.      At least for the purposes of today, we

15   don't oppose--

16             THE COURT:     Right.

17             MR. HILTON:     -- that with the exception of the

18   objections I had to the Intervenor's exhibits and with the

19   late-filed exhibits that we had no notice of and weren't able

20   to review.

21             So moving on to number five which from defendant's

22   perspective at least was kind of the meat of Your Honor's

23   order.   You know, 5A I think we've covered the changes.                 5B was

24   about this step five of the online process plaintiff's describe

25   it more or less accurately in their injunction and Your Honor



                                                                  APPENDIX 743
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 754
                                                                61 ofof86
                                                                        797     61




 1   has asked questions about it today.          I think that's the crucial

 2   step where the parties start to disagree in this case.               We've

 3   submitted to Your Honor deposition excerpts from Stringer One

 4   that I think have the best explanation.           And with respect to

 5   the difference of the forms, I'm hopeful this is helpful to

 6   Your Honor, I'm not sure that it will be.           But those

 7   differences are attributable to the different process that is

 8   used for in-person and mail transactions versus online,

 9   transactions.     We've talked about some of those differences

10   today.   And we contend that all those processes are lawful but

11   they're not identical in the ways that we've covered today.

12               Now with respect to C, D, and E, Your Honor has asked

13   for the total number of persons in various categories.               We

14   explain this in the submission this morning, Your Honor.                  The

15   court is asking for data that defendants simply don't have.

16   That yes or no answer that's the crucial component of each of

17   these requests is not -- you know, it's not kept in the online

18   process that we have, so we just can't simply answer the

19   question.

20               THE COURT:    All right.

21               MR. HILTON:    We've attested to that.       Apologies to the

22   court.   We just don't have the data.         With respect to F, Your

23   Honor asked about continuing violation or continuing injury.

24   You know, of course we dispute there was any injury at all.

25   But, you know, if that -- if the continuing violation or



                                                                  APPENDIX 744
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 755
                                                                62 ofof86
                                                                        797    62




 1   continuing injury doctrine has application here, it would be up

 2   to the plaintiffs to explain and argue how that helps their

 3   claims.   And the Fifth Circuit has been reluctant to expand the

 4   reach of that doctrine.       There's a case McGregor v. LSU Board

 5   of Supervisors 3 Fd.3d 850.        And I have a quote from 866

 6   Footnote 27:     The Fifth Circuit has said, Courts including this

 7   one are wary to use this doctrine to save claims outside the

 8   area of Title 7 discrimination cases.

 9             If there is, you know, -- so its applicability is in

10   doubt here at the very least.        If there is any wrongful conduct

11   in this case, it occurs at the time of the defendant's alleged

12   actions or in this case the alleged inaction of treating the

13   DPS interaction as a voter registration.           Defendants don't take

14   any further action after that with respect to any of those

15   individuals after that transaction is completed.             So because

16   the alleged violation is a discrete occurrence, it's not a

17   continuing violation.      Once the actions of the defendants have

18   stopped, that ends the violation.         There's a difference, and

19   the Fifth Circuit has said from the McGregor case as well:                We

20   must be careful not to confuse continuous violations with a

21   single violation followed by continuing consequences.              Only

22   continuous unlawful acts can form the basis of a continuous

23   violation.     I think for that reason, Your Honor, we would say

24   that doctrine doesn't have any applicability here.              But, again,

25   it would be plaintiff's burden I think to explain how that



                                                                  APPENDIX 745
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 756
                                                                63 ofof86
                                                                        797   63




 1   would help their claims.

 2               Now, with respect to 5G, Your Honor, this is an area

 3   where we weren't able to get the court the exact number that

 4   you asked for but we were able to get a number that may be

 5   helpful, and we wanted to at least provide that since we were

 6   able to.

 7               THE COURT:    Okay.

 8               MR. HILTON:    We were able to put together the number

 9   of in-person and mail transactions combined, and so the

10   important clarifications here are that this is only the number

11   of transactions.     It's not the number of people.          So, you know,

12   if someone transacted multiple times, they would be double

13   counted so we would expect the number of people to be lower.

14   We don't now how much lower.          It may be substantially.       We just

15   don't know.

16               THE COURT:    Right.

17               MR. HILTON:    And we can't separate out in-person

18   versus mail transactions.          It's just all of those combined

19   together.

20               THE COURT:    All right.

21               MR. HILTON:    And we explained a little bit about how

22   we put that together.       I can answer questions for Your Honor,

23   if you'd like.     But the bottom line is that number of

24   transactions since November 2016 is a little over 6 million

25   transactions in person or by mail where DPS then eventually



                                                                  APPENDIX 746
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 757
                                                                64 ofof86
                                                                        797   64




 1   sent some data to the Secretary of State.           And so that means

 2   for those 6 million transactions the customer would have said,

 3   yes, I want to register to vote.

 4            The other limitation to that number that I want to

 5   stress for the court is that, you know, we can tell whether DPS

 6   sent the data to the Secretary of State, and the Secretary of

 7   State could find for the court the total number of

 8   registrations that came from DPS over a particular time period,

 9   but we can't answer the question as Your Honor has asked

10   because the Secretary of State doesn't track or differentiate

11   what kind of DPS transaction generated the data.             So we

12   wouldn't be able to separate out in-person, mail, online.                We

13   just know the number of --

14            THE COURT:      Okay.

15            MR. HILTON:      -- data entries we've gotten from DPS.

16   So, unfortunately, just because of that system limitation, I

17   don't know that the Secretary of State has any additional

18   details on these questions that they can provide.

19            With respect to age, Your Honor you asked the number

20   of times the Secretary of State has rejected electronic

21   signatures.    I explained to Your Honor earlier that what is

22   meant here by electronic signature.          The response to this was

23   also stated in our notice.       The Secretary of State doesn't have

24   the authority to reject the electronic images of signatures

25   from DPS for any reason, fraud included.           That information is,



                                                                  APPENDIX 747
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 758
                                                                65 ofof86
                                                                        797   65




 1   you know, the voter registrar may -- the county voter registrar

 2   may be able to do some something with that but it wouldn't be,

 3   you know -- well, I'll stop there just simply because the

 4   Secretary of State doesn't have the ability to answer that

 5   question for you.

 6             THE COURT:     All right.

 7             MR. HILTON:     And doesn't have the authority to reject

 8   any electronic images of signatures from DPS.

 9             With respect to five:       I -- we answered that I believe

10   in the attachments to our opposition to the preliminary

11   injunction motion to the extent we were able to.             And with

12   respect to six, I think I've shared with Your Honor what I was

13   able to come up with, with respect to their new proposed order.

14   So I think that's everything that I have.           I would be happy to

15   answer any more questions Your Honor has.

16             THE COURT:     That's fine.     Okay.    Thank you.     Go ahead.

17             MS. STEVENS:     Your Honor, might we have another short

18   break just to gather.

19             THE COURT:     Yes, of course.      All right.     Thank you.

20             (Break)

21             THE COURT SECURITY OFFICER:         All rise.

22             THE COURT:     All right.     You may be seated.       Thank you.

23   Okay.   Let's continue.     Go ahead.

24             MS. STEVENS:     Thank you, Your Honor.         I'd like to turn

25   first to the plaintiff's standing.         For the individual



                                                                  APPENDIX 748
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 759
                                                                66 ofof86
                                                                        797    66




 1   plaintiff standing, I'd like the highlight the differences

 2   between the individual plaintiffs in Stringer One and the

 3   individual plaintiffs in the current lawsuit in Stringer Two.

 4   In Stringer One, all three individual plaintiffs transacted

 5   with DPS online, were not provided the opportunity to register

 6   to vote.    But before we filed our lawsuit, they all got

 7   registered to vote in a different manner.

 8              THE COURT:     You mean the plaintiffs in Stringer One.

 9              MS. STEVENS:     That's correct, Your Honor.

10              THE COURT:     Right -- and who -- how did they get

11   registered?

12              MS. STEVENS:     Two of them were registered through the

13   provisional ballot process so they cast a provisional ballot,

14   and it automatically registers you to vote.

15              THE COURT:     Right.

16              MS. STEVENS:     And then Mr. Stringer himself registered

17   at an on-campus voter registration drive.

18              THE COURT:     Okay.

19              MS. STEVENS:     But the Fifth Circuit pointed directly

20   to fact that they had been registered to vote before we filed

21   that lawsuit in holding that they did not have standing.                 In

22   contrast to that, the three individual plaintiffs in this case

23   are still -- do not have updated voter registration.              So they

24   are still registered to vote at their prior addresses, and that

25   was true last week when we filed the lawsuit.            It's true today.



                                                                  APPENDIX 749
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 760
                                                                67 ofof86
                                                                        797     67




 1              THE COURT:     And now they can't vote at their prior

 2   address.    Is that correct?

 3              MS. STEVENS:     That's correct.      So the -- under the

 4   NVRA, they're entitled to receive voter registration through

 5   this driver's license transaction.         They did not get it.          That

 6   harm is ongoing even as we stand here today.

 7              THE COURT:     Okay.

 8              MS. STEVENS:     For the organizational plaintiffs, we

 9   briefed substantially the diversion of resources that they --

10   that they -- the resources they divert to counteract the

11   defendant's conduct in this case.

12              THE COURT:     Okay.

13              MS. STEVENS:     And that's the voter registration of

14   people who should have been registered and its education.

15              THE COURT:     M-hm.

16              MS. STEVENS:     Turning to the likelihood of success on

17   the merits.    There was some statements about what the NVRA

18   requires that I would like the clear up for the court.               The

19   NVRA requires that each driver's license application including

20   any renewal application serve as a simultaneous application for

21   voter registration.       And the NVRA states that the voter

22   registration section of the driver's license -- driver's

23   license's application forms, quote, may not require any

24   information that duplicates information required in the

25   driver's license portion of the form.



                                                                  APPENDIX 750
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 761
                                                                68 ofof86
                                                                        797   68




 1             The State cannot dispute that its process is not a

 2   simultaneous application and it does require duplicate

 3   information.    There's no way that they can dispute that, and

 4   they did not do so in Stringer One.

 5             THE COURT:     M-hm.

 6             MS. STEVENS:     Turning to irreparable harm.          The

 7   definition of irreparable harm is that it cannot be

 8   compensated.    And the cite for that is 542 F-Appendix 329 at

 9   335.   It's a Fifth Circuit case.        Also, the State relies on

10   seven cases in their response all of which are inapposite to

11   the situation here.

12             THE COURT:     Well, what's the response to, if I

13   understood counselor correctly for the State, all of these

14   people can in fact register, you know, go down to their county

15   registrar or go online to I guess directly to the Secretary of

16   State website or whatever website it is.

17             MS. STEVENS:     M-hm.

18             THE COURT:     Isn't he correct about that, that before,

19   you know, this imminent harm that's going to occur prior to

20   February 3rd or will occur on the 3rd, can not each of them do

21   that and avoid the harm?

22             MS. STEVENS:     No, Your Honor.       Without citing any case

23   law, the State suggests, like you say, that the individual

24   plaintiffs could be made whole by simply abandoning their

25   statutory and constitutional right to simultaneous voter



                                                                  APPENDIX 751
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 762
                                                                69 ofof86
                                                                        797   69




 1   registration application with their driver's license

 2   transaction and find another way to register before Monday's

 3   deadline.     That position overlooks extensive precedent

 4   confirming that quote.        Any restriction on the fundamental

 5   right to vote constitutes an irreparable injury including --

 6   and this is not in quotes.          Including unlawful burdens on the

 7   manner of registration or voting that will not necessarily

 8   cause disenfranchisement.          So the State is completely incorrect

 9   in this regard.     The fact that the plaintiffs will have to give

10   up their right under federal law is the harm, and coming up

11   with some other way that they can register to vote does not

12   solve the problem.

13               THE COURT:     Does not solve the problem.

14               MS. STEVENS:     Correct.

15               THE COURT:     Okay.    All right.

16               MS. STEVENS:     As to the allegation that the

17   organizational clients improperly somehow delayed in filing

18   their lawsuits.     First of all, that is different from saying

19   that the organizational plaintiffs are not irreparably injured.

20   The State relies on seven cases for this proposition all of

21   which are inapposite.        Indeed, five are trademark or patent

22   cases and involve the very different situation of a plaintiff

23   seeking to enjoin the business practices of a competitor on the

24   grounds that such practices are hurting the plaintiff's

25   business.     Under those very different fact patterns, which did



                                                                  APPENDIX 752
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 763
                                                                70 ofof86
                                                                        797   70




 1   not involve constitutionally protected rights, courts explain

 2   that a delay in bringing suit after the discovery of the

 3   alleged violation undercut the claim that monetary damages were

 4   insufficient.    Federal courts have repeatedly granted, and we

 5   cite these in our reply.         We cite at least three cases in our

 6   reply, and we're happy to do further briefing on this, Your

 7   Honor.   Federal courts repeatedly grant preliminary relief

 8   against longstanding State election laws.

 9             Turning then to the remedy.         It is not credible that

10   the State can come in here and say they have no idea how long

11   it will take to give us a full fix, an entire fix of the

12   situation.

13             THE COURT:     Why is that not credible to believe?

14             MS. STEVENS:     Because the relief we -- the ultimate

15   relief we seek, not what we're asking the court for today in

16   the preliminary injunction, but the ultimate relief we seek has

17   been the same relief sought since they were put on notice of

18   these violations in 2015.         They were sued for in early 2016.

19   We had discovery on in 2017 etc. etc.

20             THE COURT:     M-hm.

21             MS. STEVENS:     But --

22             THE COURT:     But that's not to suggest that even if

23   that's true, you're saying they've had this knowledge since

24   2015, let's assume that.         It may require a lot of extensive

25   time, effort, and money to cure by the proposed deadline that



                                                                  APPENDIX 753
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 764
                                                                71 ofof86
                                                                        797   71




 1   you're seeking.

 2               MS. STEVENS:     Your Honor, that's actually counter to

 3   the testimony that was provided in Stringer One where it was

 4   described by DPS employees, described by Secretary of State

 5   employees as not being the difficult fix they claim it to be

 6   now.

 7               THE COURT:     Okay.

 8               MS. STEVENS:     Additionally, in the declarations

 9   provided -- I think they were filed yesterday, they, for

10   example, I think the DIR declarant listed out various things

11   for their normal process.          You know, you submit a request for a

12   change.     The change goes through this next step, then someone

13   else considers it.       Those are all their normal processes.

14               THE COURT:     Okay.

15               MS. STEVENS:     If a court were to order them to jump

16   through those faster than their normal course, they could do

17   that.     And they've not said they can't.

18               THE COURT:     All right.

19               MS. STEVENS:     But notably for this hearing right now,

20   the preliminary injunction we seek is not that full fix.

21               THE COURT:     M-hm.    Okay.

22               MS. STEVENS:     We, again, reviewed the state's response

23   yesterday and have narrowed our requested preliminary relief.

24               THE COURT:     Okay.    And what specifically is that?

25               MS. STEVENS:     Yes, Your Honor.



                                                                  APPENDIX 754
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 765
                                                                72 ofof86
                                                                        797   72




 1            THE COURT:      Give me the precise interim relief you're

 2   asking for.

 3            MS. STEVENS:      Yes, Your Honor.       As to the individual

 4   plaintiffs, we are asking for the defendants to register them

 5   to vote with the information that they previously provided

 6   during their last online driver's license transaction.

 7            THE COURT:      You mean, you're saying for the State of

 8   Texas to get whatever they filed with DPS already and get them

 9   registered?

10            MS. STEVENS:      That's correct, Your Honor.

11            THE COURT:      All right.

12            MS. STEVENS:      And we're asking the court to order that

13   they do that by the end of the day on Friday January 31st.

14            THE COURT:      But I believe counselor's response to that

15   was, well, the Secretary of State doesn't do that.              Each

16   individual county registrar does that.           Is he correct on that?

17            MS. STEVENS:      The voter registrars are responsible for

18   voter registration in their county.          But the Secretary of State

19   is claiming a hands-off that they don't actually have under

20   State and federal law.      In fact, under the NVRA itself, the

21   Secretary of State is the State election officer and is tasked

22   with making sure that the State complies with the NVRA.

23            THE COURT:      That's in the statute.

24            MS. STEVENS:      That's correct, Your Honor.

25            THE COURT:      So what you're telling me, the statute



                                                                  APPENDIX 755
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 766
                                                                73 ofof86
                                                                        797   73




 1   provides that a Secretary of State can do this.

 2             MS. STEVENS:     It provides that the Secretary of State

 3   can ensure that it's done, and particularly Section 8 of the

 4   NVRA says:   Each state -- and so, again, Secretary of State is

 5   tasked with making sure the State is in compliance.

 6             THE COURT:     Okay.

 7             MS. STEVENS:     Each state shall ensure that any

 8   eligible applicant is registered to vote in an election.

 9             THE COURT:     Okay.

10             MS. STEVENS:     Pardon me, Your Honor.        And, in fact,

11   counsel told you just moments ago that the Secretary of State

12   made sure that the 6 million people who transacted with DPS in

13   person and through the mail and checked the yes box to the

14   voter registration, were transmitted from the Secretary of

15   State -- excuse me, from DPS to Secretary of State and on to

16   the voter registrars and that those people were then -- were

17   then registered.

18             THE COURT:     All right.

19             MS. STEVENS:     So as to the more interim systemic

20   relief.   What plaintiffs are requesting are within 30 days --

21   and I am actually looking at the proposed order, Your Honor.

22             THE COURT:     Okay.

23             MS. STEVENS:     Within 30 -- excuse me -- 60 days from

24   today's date.    That's March 28th, if this order is signed

25   today, the defendant DPS must have an operational system to



                                                                  APPENDIX 756
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 767
                                                                74 ofof86
                                                                        797   74




 1   promptly mail a pre-populated voter registration application to

 2   every applicant who checks yes in response to the voter

 3   registration application question currently posed by defendant

 4   DPS during an online transaction.

 5             THE COURT:     That's the question number five on the

 6   online.

 7             MS. STEVENS:     Oh, yes, Your Honor.        Yes.    Sorry.

 8             THE COURT:     Okay.

 9             MS. STEVENS:     I'd like to note for Your Honor that

10   this -- the DPS already sends in the mail voter registration

11   forms of the type that we're describing that are -- that are

12   granted not pre-populated to DPS customers already with mail-in

13   renewal notifications.      So that's distinct from mail and change

14   of address.

15             Next on the relief.       Within 60 days from today's date,

16   again, March 28th, defendant DPS must have an operational

17   system to update the individual driver's license records of

18   applicants who check yes in response to the voter registration

19   application question currently posed by defendant DPS during an

20   online driver's license transaction to reflect that the

21   applicant checked yes in response to that question.

22             Next:   The pre-populated voter registration

23   application must be addressed to defendant SOS and include

24   prepaid postage so that an applicant can complete the voter

25   registration application and mail it to defendant SOS.



                                                                   APPENDIX 757
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 768
                                                                75 ofof86
                                                                        797   75




 1            Now, this is this specific piece of the proposed

 2   order, Your Honor.     Right before State's counsel sat down, he

 3   said that we were asking this court for the preliminary relief

 4   of enjoining a state law.        And the state law that they're

 5   referring to is the alleged signature requirement under state

 6   law for voter registration purposes.          This interim relief

 7   allows for the individual voter themselves to sign, physically

 8   sign on this voter registration form that we propose they be

 9   sent, their name and date and send it back in.             And so that

10   completely cuts out the argument that the State is making that

11   we are asking this court to enjoin current state law.

12            THE COURT:      Okay.

13            MS. STEVENS:      Next, defendant DPS must include with

14   the voter registration application described above a brief

15   letter explaining that the individual is receiving a voter

16   registration application because they selected yes in response

17   to the voter registration question when they completed their

18   online driver's license transaction.

19            And, finally, if defendants will be unable to comply

20   with the timeline set forth in paragraph four of the order,

21   defendants DPS and SOS must provide specific compelling

22   evidence demonstrating why they need additional time to comply

23   and move the court for an amended order no later than seven

24   days after -- from today's date, from the date the court signs

25   the order.



                                                                  APPENDIX 758
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 769
                                                                76 ofof86
                                                                        797   76




 1            THE COURT:      All right.     Anything else?

 2            MS. STEVENS:      Just a moment, Your Honor.

 3            Your Honor, I would like to note for the court that

 4   attached to our reply, one of the exhibits to our reply is the

 5   mail-in form, the form that gets mailed to the Secretary of

 6   State already under that process I described.            And attached is

 7   30B6 testimony from the Secretary of State and DPS about the

 8   system that they already use, this mail-in voter registration

 9   form four.

10            THE COURT:      Okay.     All right.    Anything else?

11            MS. STEVENS:      No, Your Honor.

12            THE COURT:      Counselor.

13            MS. BRANCH:      Your Honor, if I could just respond.

14            THE COURT:      Okay, yes.     Go ahead.

15            MS. BRANCH:      Thank you, Your Honor.        Intervenors adopt

16   the argument that's been set forth here today.             I did want to

17   just take one moment to address counsel's argument regarding

18   our participation in Stringer Two, just two points I want to

19   make on that.

20            THE COURT:      Hold on a second.       Let him confer because

21   I want to make sure he hears.

22            Okay.    Go ahead.

23            MR. HILTON:      I'm sorry, Your Honor.        I apologize.

24            THE COURT:      No, no.     You're okay.     Do you need a

25   break?



                                                                  APPENDIX 759
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 770
                                                                77 ofof86
                                                                        797   77




 1               MR. HILTON:    No, I'm fine.

 2               THE COURT:    Okay.   Go ahead.

 3               MS. BRANCH:    Thank you.    I just want to the address

 4   two points about our participation in Stringer Two:              The first

 5   is that the court did not exceed the Fifth Circuit's mandate by

 6   allowing our intervention in Stringer One.            The mandate stated

 7   that plaintiffs needed to be dismissed for lack of standing.

 8   It said nothing about dismissing the entire suit nor did it say

 9   anything about intervenor's standing.          And the only thing that

10   has changed here is that Intervenors do have standing in this

11   case.

12               THE COURT:    All right.

13               MS. BRANCH:    Moreover, there are exceptions to the

14   mandate rule, one of which is that where evidence has

15   substantially changed, the mandate can be exceeded and here

16   there's a change and that change is that Intervenors have

17   standing.     Even if Your Honor were to sever the two cases, we

18   were still granted intervention in Stringer One, and we could

19   incorporate the record in that case pursuant to Federal Rule of

20   Civil Procedure 10C.

21               On organizational standing, I just want to make one

22   quick point.     Again, as was -- the point was made earlier, the

23   bar is not high to establish organizational standing.

24   Courts -- the Supreme Court and the Fifth Circuit have held

25   that diversion of resources even if only slight is sufficient



                                                                  APPENDIX 760
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 771
                                                                78 ofof86
                                                                        797   78




 1   to confer standing, and I would point Your Honor to OCA Greater

 2   Houston v. Texas for additional law on that point.              Here

 3   there's been a clear diversion of resources for each of the

 4   organizational plaintiffs.        For example, the DCCC has entered

 5   into a contract to spend $400,000 to engage in voter

 6   registration in one congressional district in Texas.              And part

 7   of the reason why they're doing that and have done that is

 8   because they have to counteract defendant's unconstitutional

 9   practices and the harms that are caused to voters in Texas as a

10   result of those practices.

11             I would also state that declarations are sufficient to

12   establish standing, and I would point Your Honor to Lujan and

13   Direct TV v. Button, which is a Fifth Circuit case on that

14   point.   Thank you.

15             THE COURT:     All right.     Counselor, so you've heard the

16   precise interim relief the plaintiff is seeking, and have you

17   considered that and discussed that with your clients?

18             MR. HILTON:     I have.     Well, to the extent that I have

19   been able to, Your Honor.        As I mentioned to you earlier, I got

20   that on the way out of the door, and I wasn't able to even read

21   it until I got down here at the coffee shop.

22             THE COURT:     Okay.

23             MR. HILTON:     So we have not been able to do a full

24   analysis of this relief.

25             THE COURT:     Okay.    How much time, if any -- rather,



                                                                  APPENDIX 761
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 772
                                                                79 ofof86
                                                                        797   79




 1   how much time would you need for you to confer with your

 2   clients to review whether you would agree or oppose the interim

 3   relief?

 4             MR. HILTON:     Well, we oppose the relief.

 5             THE COURT:     Okay.

 6             MR. HILTON:     We oppose the relief that they asked for

 7   today.

 8             THE COURT:     Okay.

 9             MR. HILTON:     And I wanted to talk a little bit about

10   the relief.    I think I was accused of making some sort of

11   misrepresentation to Your Honor.         I certainly have been in the

12   courtroom enough to know hopefully Your Honor doesn't think

13   I've done that.

14             THE COURT:     No.     Go ahead.

15             MR. HILTON:     And her presentation with respect to

16   relief was so confusing to me because she talked about many

17   different proposed relief, the final relief from the last case

18   that I couldn't keep it straight.

19             THE COURT:     M-hm.

20             MR. HILTON:     So the relief that I understand to be

21   before the court, there are two proposed orders before the

22   court on this preliminary injunction motion.

23             THE COURT:     Okay.

24             MR. HILTON:     The first proposed order was inadequate.

25   It was so inadequate that it's grounds to deny their motion and



                                                                  APPENDIX 762
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 773
                                                                80 ofof86
                                                                        797    80




 1   we briefed that.     The new proposed order that we got this

 2   morning, this is an entirely new proposal that we did not know

 3   about until before, just before coming into this courtroom.

 4              THE COURT:    Okay.

 5              MR. HILTON:    We know that it is not a quick fix

 6   because what they're asking for in creating this pre-populated

 7   forms that have been mailed does not exist.            That has to be

 8   built from scratch.      And our understanding is that based on

 9   similar projects where you have to build a complete application

10   from the ground up, that is a process of months, possibly years

11   depending on what the specifications are.           It cannot be done in

12   60 days.    It cannot.    And I don't know what evidence they think

13   they have on this but it wasn't on this proposed solution.                It

14   wasn't.    It was on something else.

15              THE COURT:    Okay.

16              MR. HILTON:    So, you know, if we were to have a

17   different kind of fix, you know, we tried to give Your Honor

18   our best estimate as to what would happen for the smallest,

19   most narrow fastest fix, and those are the declarations that

20   we filed yesterday.      But with respect to this new relief this

21   morning, Your Honor, it cannot be done in 60 days.              And I'm

22   certain, I mean, this was never -- so I'm certain none of the

23   evidence they cite is talking about this proposal.

24              And counsel reminded me -- and I wanted to mention

25   this and forgot earlier, the last paragraph, paragraph E, about



                                                                  APPENDIX 763
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 774
                                                                81 ofof86
                                                                        797   81




 1   putting the burden on defendants to modify the injunction after

 2   it's been entered, I don't understand where that standard comes

 3   from, what basis there is for flipping the burden to defendants

 4   to modify an injunction.         That's improper out of the gate.        I

 5   don't know what evidence they have to support the need for

 6   that.   So this proposed injunction this morning, Your Honor, if

 7   we have anything to add beyond what I have said today, we'll

 8   file some sort of notice or supplemental brief with the court

 9   to let you know.

10             THE COURT:     Okay.     All right.

11             MR. HILTON:     But we cannot comply with that order.

12             THE COURT:     Let me ask you something.

13             MR. HILTON:     Yes, Your Honor.

14             THE COURT:     Would there be any useful purpose in

15   having y'all meet tomorrow perhaps somewhere, here, if

16   necessary, and confer about this?         Would anything be gained

17   from that?

18             MR. HILTON:     Your Honor, if the court asked us to do

19   that, I'd be willing to.         Certainly.

20             THE COURT:     Not only with you but with your clients.

21             MR. HILTON:     Of course, Your Honor.        You know, I think

22   if the court asked us that, we would find a way to do that.

23   I'm pessimistic that we would be able to reach a resolution.

24             THE COURT:     And why is that?

25             MR. HILTON:     Because the requirements of state law are



                                                                  APPENDIX 764
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 775
                                                                82 ofof86
                                                                        797     82




 1   very clear about what the Secretary of State has the authority

 2   to accept and can or cannot do.         And that's another point that

 3   I wanted --

 4              THE COURT:    And the requirements of the National Act

 5   are very clear likewise.

 6              MR. HILTON:    Right.    Well, that's what I wanted to

 7   mention.    The National -- the NVRA does not confer authority on

 8   the Secretary of State to register someone to vote.              That's not

 9   in the Act.    Yes, the Secretary of State is the state election

10   officer.    But that doesn't mean that they have the authority to

11   register anyone anywhere in the state.           The NVRA does not

12   invalidate, and plaintiffs have not challenged the system of

13   local control and the structure of the election system in the

14   State of Texas.

15              THE COURT:    Yeah.

16              MR. HILTON:    There is a structure of local control

17   over elections with county-level voter registrars who control

18   their own county's rolls.        They haven't challenged that.           The

19   NVRA doesn't disturb that.

20              THE COURT:    Okay.

21              MR. HILTON:    And the last point, Your Honor, is they

22   made some mention of the 6-million number that we gave.                  They

23   were transmitted pursuant to state law.           Those registrations

24   are authorized by state law.        The county voter registrar, when

25   they have a registration that's valid under state law, they



                                                                  APPENDIX 765
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 776
                                                                83 ofof86
                                                                        797   83




 1   have a duty to register that voter.

 2               THE COURT:    M-hm.

 3               MR. HILTON:     What they're talking about is not

 4   authorized by state law.          It would require something that goes

 5   well beyond anything that state law requires.            And as counsel

 6   mentioned, it would override the in-writing with the signature

 7   requirement among many other issues.          So it's just not true

 8   that that 6 million has anything to do with the proposed relief

 9   we're talking about today.

10               THE COURT:    Okay.     Let me ask you, you know, on the --

11   I think you said the State doesn't retain the responses, the

12   yes responses to question I think five.           Is that what you said?

13               MR. HILTON:     That's correct, Your Honor.       That data is

14   not kept.     It's not tracked.

15               THE COURT:    And why not?

16               MR. HILTON:     I think that's an interesting question.

17   There's no purpose that it serves under state law is my

18   understanding.     It's just never been anything that I think has

19   been asked.     Let me confer with my client.

20               THE COURT:    Okay.

21               (brief pause)

22               MR. HILTON:     Your Honor, I think for a full answer to

23   that question, that's just not something the defendants could

24   provide because that website is maintained by DIR.

25               THE COURT:    Okay.



                                                                  APPENDIX 766
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 777
                                                                84 ofof86
                                                                        797    84




 1              MR. HILTON:     So as far as exactly why it's designed

 2   that way or not, that question is a flag to tell DIR whether to

 3   send that data to DPS.

 4              THE COURT:     Okay.    Do you have anything on that?

 5              MS. STEVENS:     On that, Your Honor, yes.        There is

 6   deposition testimony that is in the record provided by DPS and

 7   the Secretary of State's office from Stringer One on the answer

 8   to this question.       There are kind of technical requirements for

 9   how this information gets transferred from the website to DPS's

10   system.    Suffice it to say that the way that they decide what

11   gets moved is through what's called a use case.             And there's

12   testimony in the record that says back when they were creating

13   this online system, the original use case was going to track

14   the answer to that question, and then they decided to take out

15   the answer to that question, so it's not that it's impossible

16   or, you know, that the State couldn't ask the vendor who is

17   working on the website not to do it.

18              THE COURT:     All right.    Anything else?      Anything else?

19              MS. STEVENS:     No, Your Honor.

20              MR. HILTON:     I just want to say, that's correct, Your

21   Honor.    I think we could make that change.          I think that kind

22   of change is what we contemplated for the declarations filed

23   yesterday.    But that's not something we have now, so we can't

24   answer the court's data questions directly.

25              THE COURT:     Right.    Okay.   All right.     Then I'll



                                                                  APPENDIX 767
        Case
      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 778
                                                                85 ofof86
                                                                        797   85




 1   review the matter and take it under advisement and issue an

 2   order.   Thank you.    You're excused.

 3             THE COURT SECURITY OFFICER:         All rise.

 4             (Adjournment)

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      Case   5:20-cv-00046-OLGDocument
           5:20-cv-00046-OLG   Document  57 Filed
                                       77-1 Filed 05/29/20
                                                  01/31/20 Page
                                                           Page 779
                                                                86 ofof86
                                                                        797   86




 1   UNITED STATES DISTRICT COURT        )

 2   WESTERN DISTRICT OF TEXAS           )

 3              I certify that the foregoing is a correct

 4   transcript from the record of proceedings in the

 5   above-entitled matter.

 6            I further certify that the transcript fees and format

 7   comply with those prescribed by the Court and the Judicial

 8   Conference of the United States.

 9   Date signed:      January 30, 2020.

10

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12                                   LETICIA L. ORNELAS
                                     United States Court Reporter
13                                   655 East Cesar E. Chavez Blvd.,
                                     Room 319A
14                                   San Antonio, Texas 78206
                                     (210) 244-5039
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                                                                  APPENDIX 769
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 780 of 797




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                                                          APPENDIX 770
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 781 of 797




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JARROD STRINGER, et al.                                 Civil Action Case No. 5:16-cv-00257-
                                                        OLG
                      Plaintiffs,
       v.

ROLANDO PABLOS, in his official capacity as
Texas Secretary of State and STEVEN C.                  CONSOLIDATED WITH
MCCRAW, in his official capacity as Director of
the Texas Department of Public Safety



JARROD STRINGER, et al.

                      Plaintiffs,                       Civil Action Case No. 5:20-cv-00046-
       v.                                               OLG

RUTH HUGHS, in her official capacity as Texas
Secretary of State and STEVEN C. MCCRAW, in
his official capacity as Director of the Texas
Department of Public Safety



                      Defendants.

                                     FINAL JUDGMENT
        Intervenors have moved for leave of the Court to file for summary judgment

 pursuant to Fed. R. Civ. P. 56(b), and have moved for summary judgment pursuant to

 Fed. R. Civ. P. 56(a). On May 10, 2018, the Court granted Plaintiffs' motion for summary

 judgment. See docket no. 105. In its order, the Court requested that the parties confer

 and submit a proposed form of judgment setting forth the necessary and appropriate

 declaratory and injunctive relief for the Court's consideration. Plaintiffs submitted a

 proposed judgment. Defendants submitted broad objections to the Court's prior rulings




                                                                                APPENDIX 771
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 782 of 797




 and Plaintiffs' proposed judgment but did not submit an alternative to Plaintiffs' proposed

 form of judgment. After reviewing same, and This Court has granted Intervenors’ leave

 to file a motion for summary judgment and has granted Intervenors’ motion for summary

 judgment. Cconsistent with the Court’'s previous summary judgment findings, see ECF

 No. 105, which are incorporated herein, the Court:

       1.      DECLARES, pursuant to 28 U.S.C. § 2201 and 52 U.S.C. § 20510(b)(2), that

Defendants have violated the NVRA, 52 U.S.C. §§ 20503(a)(l), 20504(a), (c), (d), and (e), and

20507(a)(l)(A), and the Equal Protection Clause, U.S. Const. amend. XIV, § 1, by failing to

permit simultaneous voter registration with online driver's license renewal and change-of-

address transactions;


       2.      PERMANENTLY ENJOINS Defendants, their agents and successors in office,

and all persons working in concert with them, from continuing to violate the NVRA and Equal

Protection Clause by:

       (a)     failing to establish procedures to register to vote in elections for Federal office for

               driver’s license customers who renew or change their address online;

       (b)     refusing to treat each online driver’s license renewal or change-of-address

               application as a simultaneous application for voter registration with respect to

               elections for Federal office;

       (c)     refusing to include a voter registration application form for elections for Federal

               office as part of each online driver's license renewal or change-of-address

               application;

       (d)     requiring online driver's license renewal and change-of-address customers who

               wish to register to vote or update their voter registration to complete an entirely



                                                -2-
                                                                                    APPENDIX 772
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 783 of 797




       separate duplicative voter registration application with the Secretary of State's

       office;

 (e)   refusing to make the voter registration portion of each online driver's license

       renewal or change-of-address application available to the Secretary of State's

       office;

 (f)   refusing to treat the customer's online driver's license change-of-address

       application as a notification of change of address for voter registration with

       respect to elections for Federal office, unless the customer indicates that the

       change of address is not for voter registration purposes;

 (g)   refusing to transmit voter registration information submitted in connection with

       online driver's license renewal and change-of-address transactions to the

       appropriate State election official within the statutorily required timeframe, 52

       U.S.C. § 20504(e);

 (h)   refusing, in the case of registration with an online driver's license renewal or
                                                                                                I
       change of-address application, to ensure that any eligible online driver's license

       customer is registered to vote in an election, if the valid voter registration form of

       the customer is submitted to the Department of Public Safety (DPS) not later than

       the lesser of 30 days, or the period provided by state law, before the date of the

       election;

 (i)   refusing to accept and use online driver's license customers' previously-captured

       electronic signatures for voter registration purposes; and

 (j)   failing to record and use an online driver’s license renewal or change-of-address

       customer’s response to the voter registration portion of the application.




                                        -3-
                                                                            APPENDIX 773
      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 784 of 797




         3.       PERMANENTLY ENJOINS Defendants, their agents and successors in office

and all persons working in concert with them, from implementing practices and procedures that

violate §§ 20503, 20504, and/or 20507 of the NVRA;

         4.3.     DIRECTS Defendant DPS, no later than 45 days1 from the date of this Judgment,

to:

         (a)      permit simultaneous voter registration with online driver’s license renewal and

                  change-of-address transactions so that in order to register to vote or update voter

                  registration information, the online driver’s license renewal or change-of-address

                  customer only needs to respond to the following (or substantially similar)

                  questions:

                  1. Would you like to register to vote? No additional information is required.

                           o        Yes, Register Me to Vote

                           o        No, Do Not Register Me to Vote

                  2. If you are already registered, this application will be used to update your
                  voter registration address, unless you opt out. Would you like to opt out of
                  updating your address for voter registration purposes?

                           o        Update My Voter Registration

                           o        Opt Out: DO NOT Update My Voter Registration (Your new
                                    address will not be submitted to the Texas Secretary of State’s
                                    office for voter registration purposes).



1
   This timeline for compliance is justified because: there is a federal election in November 20182020; the NVRA
mandates have been in existence for 25 years; the violations in issue have persisted for several years; Defendants
were served with statutory notice of the instant violations more than twonearly four years ago; and the record
reflects that implementation of corrective measures is not only technologically feasible but Defendants are currently
capable of instituting such measures. (See docket no. 105). Defendants seek 90 days for corrective measures, and do
not want to begin implementation until September l, 2018. Thus, despite admitting that they are currently capable of
making changes, they are seeking six months to make the changes. This timeframe for compliance does not take the
upcoming election deadlines into consideration. Moreover, Defendants fail to explain why their current vendor
(who is presumably more familiar with Texas.gov) cannot achieve compliance prior to September l, while their new
vendor (who is presumably less familiar with Texas.gov) could achieve compliance within 90 days after September
l.


                                                        -4-
                                                                                                 APPENDIX 774
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 785 of 797




(hereinafter “the voter registration questions”);

       (b)     register to vote or update voter registration information for online driver's license

               customers who select “Yes” in response to the question, “Would you like to

               register to vote?”

       (c)     register to vote or update voter registration information for online driver's license

               customers who select “Update My Voter Registration” in response to the

               question, “Would you like to opt out of updating your address for voter

               registration purposes?”

       (d)     register to vote or update voter registration information for online driver's license

               customers who select both “No” in response to the question, “Would you like to

               register to vote?” and “Update My Voter Registration” in response to the

               question, “Would you like to opt out of updating your address for voter

               registration purposes?”

       (e)     track, record, and retain each online driver’s license renewal or change-of-address

               customer’s response to the voter registration questions; and

       (f)     transmit the voter registration information for each online driver’s license renewal

               or change-of-address customer to the Secretary of State’s office, including the

               customer’s response to the voter registration questions and the customer’s

               electronic signature file collected during the customer’s last in-person transaction;

       5.4.    DIRECTS Defendant of Secretary of State, upon receipt from DPS of each online

driver’s license renewal or change-of-address customer’s voter registration information and

signature file to transmit this data in the normal course of business to local voter registrar who

are responsible for completing the voter registration process, in a manner substantially similar to




                                                -5-
                                                                                   APPENDIX 775
      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 786 of 797




the process for transmitting voter registration information after an in-person transaction; and

ensure that local voter registrars register to vote or update the voter registration information of

these customers;

         6.5.     DIRECTS Defendants, within 14 days from the date of this Judgment, to submit

to Plaintiffs' Intervenors’ counsel a proposed public education plan that details the use of at

least three media venues, including but not limited to television, radio, internet social media,

Texas.gov, and/or the Secretary of State's website https://www.sos.state.tx.us, to inform and

educate the public on how this Judgment changes the voter registration process for online

driver's license renewal and change-of-address applications; include in this public education

plan steps to incorporate for two years the promotion of voter registration through online

driver's license renewal and change-of-address applications into the Texas.gov marketing

program, the Texas.gov/driver marketing campaign, and all DPS, Secretary of State, and their

vendors' marketing campaigns related to online driver's license renewal and change-of-address

applications; and, once the public education plan is agreed to by all parties, implement such plan

no later than 45 days from the date of this Judgment.2




2
 Should the Parties be incapable of agreeing on an appropriate pubic education plan, the Parties will submit their
proposals to the Court no later than 25 days from the date of this Judgment, and the Court will order the
implementation of a plan that takes reasonable steps to inform the public about this Judgment as described in
Paragraph 6.


                                                        -6-
                                                                                                 APPENDIX 776
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 787 of 797




 7.6.   DIRECTS Defendants to:

 (a)    submit to this Court notice of compliance with this Judgment no later than 45

        davs from the date of this Judgment, with affidavits from the Director of DPS and

        the Secretary of State attached confirming compliance with this Judgment;

 (b)    submit to Plaintiffs' Intervenors’ counsel on or before January 15th of every year

        for the next three years through January 15, 20212023, a report that includes, for

        the previous calendar year:

        (i)     a general summary of compliance efforts detailing all steps taken to

                implement each of the provisions and requirements of this Judgment,

                including any significant implementation problems, staff training needs,

                and recommendations for improvement;

        (ii)    the number of online driver's license renewal and change-of-address

                applications and the number of voter registrations arising from these

                applications;

        (iii)   copies of all NVRA procedures and educational and training materials

                related to online driver's license renewal or change-of-address transactions

                both used in the preceding year and expected to be used in the future;

        (iv)    any investigations or corrective actions at DPS or the Secretary of State's

                office related to voter registrations through online driver's license renewal

                or change-of-address applications;

        (v)     any implemented or revised policies or procedures at DPS or the Secretary

                of State's office related to voter registrations through online driver's

                license renewal or change-of-address applications; and




                                         -7-
                                                                              APPENDIX 777
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 788 of 797




               (vi)    all customer complaints related to voter registration through an online

                       driver) license renewal or change-of-address application, and all

                       subsequent correspondence and action taken related to each customer

                       complaint; and

       (c)     conduct monthly quality control tests until May 202119 to ensure that the online

               driver's license renewal and change-of-address process complies with this

               Judgment, and report to Plaintiffs' counsel every three months the results of

               completed quality control tests;

       8.7.    RETAINS jurisdiction over this action until two years after the date of this

Judgment to ensure that Defendants continue to comply with their obligations under the NVRA,

the Equal Protection Clause, and this Judgment, and, if Defendants fail to comply with this

Judgment at any time after the two-year deadline, permits Plaintiffs Intervenors to initiate an

enforcement action against Defendants in this Court;

       9.8.    ORDERS that Defendants shall pay to Plaintiffs Intervenors their reasonable

attorney's fees, including litigation expenses, and costs as will be determined by the Court in a

post-judgment Order upon submission by the PlaintiffsIntervenors.


       SIGNED this 18th ____ day of ______May, 202018.


                                                        _________________________________
                                                        ORLANDO L. GARCIA
                                                        CHIEF U.S. DISTRICT JUDGE




                                                  -8-
                                                                                   APPENDIX 778
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 789 of 797




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                                                          APPENDIX 779
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 790 of 797




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JARROD STRINGER, et al.                               Civil Action Case No. 5:16-cv-00257-
                                                      OLG
                      Plaintiffs,
       v.

ROLANDO PABLOS, in his official capacity as
Texas Secretary of State and STEVEN C.                CONSOLIDATED WITH
MCCRAW, in his official capacity as Director of
the Texas Department of Public Safety



JARROD STRINGER, et al.

                      Plaintiffs,                     Civil Action Case No. 5:20-cv-00046-
       v.                                             OLG

RUTH HUGHS, in her official capacity as Texas
Secretary of State and STEVEN C. MCCRAW, in
his official capacity as Director of the Texas
Department of Public Safety



                      Defendants.

                                    FINAL JUDGMENT
        Intervenors have moved for leave of the Court to file for summary judgment

 pursuant to Fed. R. Civ. P. 56(b), and have moved for summary judgment pursuant to

 Fed. R. Civ. P. 56(a). This Court has granted Intervenors’ leave to file a motion for

 summary judgment and has granted Intervenors’ motion for summary judgment.

 Consistent with the Court’s previous summary judgment findings, see ECF No. 105,

 which are incorporated herein, the Court:




                                                                             APPENDIX 780
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 791 of 797




       1.      DECLARES, pursuant to 28 U.S.C. § 2201, that Defendants have violated the

Equal Protection Clause, U.S. Const. amend. XIV, § 1, by failing to permit simultaneous voter

registration with online driver's license renewal and change-of- address transactions;


       2.      PERMANENTLY ENJOINS Defendants, their agents and successors in office,

and all persons working in concert with them, from continuing to violate the Equal Protection

Clause by:

       (a)     failing to establish procedures to register to vote in elections for Federal office for

               driver’s license customers who renew or change their address online;

       (b)     refusing to treat each online driver’s license renewal or change-of-address

               application as a simultaneous application for voter registration with respect to

               elections for Federal office;

       (c)     refusing to include a voter registration application form for elections for Federal

               office as part of each online driver's license renewal or change-of-address

               application;

       (d)     requiring online driver's license renewal and change-of-address customers who

               wish to register to vote or update their voter registration to complete an entirely

               separate duplicative voter registration application with the Secretary of State's

               office;

       (e)     refusing to make the voter registration portion of each online driver's license

               renewal or change-of-address application available to the Secretary of State's

               office;

       (f)     refusing to treat the customer's online driver's license change-of-address

               application as a notification of change of address for voter registration with



                                                -2-
                                                                                    APPENDIX 781
      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 792 of 797




                 respect to elections for Federal office, unless the customer indicates that the

                 change of address is not for voter registration purposes;

        (g)      refusing to transmit voter registration information submitted in connection with

                 online driver's license renewal and change-of-address transactions to the

                 appropriate State election official within the statutorily required timeframe, 52

                 U.S.C. § 20504(e);

        (h)      refusing, in the case of registration with an online driver's license renewal or
                                                                                                                     I
                 change of-address application, to ensure that any eligible online driver's license

                 customer is registered to vote in an election, if the valid voter registration form of

                 the customer is submitted to the Department of Public Safety (DPS) not later than

                 the lesser of 30 days, or the period provided by state law, before the date of the

                 election;

        (i)      refusing to accept and use online driver's license customers' previously-captured

                 electronic signatures for voter registration purposes; and

        (j)      failing to record and use an online driver’s license renewal or change-of-address

                 customer’s response to the voter registration portion of the application.

        3.       DIRECTS Defendant DPS, no later than 45 days1 from the date of this Judgment,

to:

        (a)      permit simultaneous voter registration with online driver’s license renewal and

                 change-of-address transactions so that in order to register to vote or update voter




1
  This timeline for compliance is justified because: there is a federal election in November 2020; the NVRA
mandates have been in existence for 25 years; the violations in issue have persisted for several years; Defendants
were served with statutory notice of the instant violations nearly four years ago; and the record reflects that
implementation of corrective measures is not only technologically feasible but Defendants are currently capable of
instituting such measures. (See docket no. 105).


                                                       -3-
                                                                                                APPENDIX 782
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 793 of 797




               registration information, the online driver’s license renewal or change-of-address

               customer only needs to respond to the following (or substantially similar)

               questions:

               1. Would you like to register to vote? No additional information is required.

                       o       Yes, Register Me to Vote

                       o       No, Do Not Register Me to Vote

               2. If you are already registered, this application will be used to update your
               voter registration address, unless you opt out. Would you like to opt out of
               updating your address for voter registration purposes?

                       o       Update My Voter Registration

                       o       Opt Out: DO NOT Update My Voter Registration (Your new
                               address will not be submitted to the Texas Secretary of State’s
                               office for voter registration purposes).

(hereinafter “the voter registration questions”);

       (b)     register to vote or update voter registration information for online driver's license

               customers who select “Yes” in response to the question, “Would you like to

               register to vote?”

       (c)     register to vote or update voter registration information for online driver's license

               customers who select “Update My Voter Registration” in response to the

               question, “Would you like to opt out of updating your address for voter

               registration purposes?”

       (d)     register to vote or update voter registration information for online driver's license

               customers who select both “No” in response to the question, “Would you like to

               register to vote?” and “Update My Voter Registration” in response to the

               question, “Would you like to opt out of updating your address for voter

               registration purposes?”


                                                -4-
                                                                                   APPENDIX 783
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 794 of 797




       (e)     track, record, and retain each online driver’s license renewal or change-of-address

               customer’s response to the voter registration questions; and

       (f)     transmit the voter registration information for each online driver’s license renewal

               or change-of-address customer to the Secretary of State’s office, including the

               customer’s response to the voter registration questions and the customer’s

               electronic signature file collected during the customer’s last in-person transaction;

       4.      DIRECTS Defendant of Secretary of State, upon receipt from DPS of each online

driver’s license renewal or change-of-address customer’s voter registration information and

signature file to transmit this data in the normal course of business to local voter registrar who

are responsible for completing the voter registration process, in a manner substantially similar to

the process for transmitting voter registration information after an in-person transaction; and

ensure that local voter registrars register to vote or update the voter registration information of

these customers;

       5.      DIRECTS Defendants, within 14 days from the date of this Judgment, to submit

to Intervenors’ counsel a proposed public education plan that details the use of at least three

media venues, including but not limited to television, radio, internet social media, Texas.gov,

and/or the Secretary of State's website https://www.sos.state.tx.us, to inform and educate the

public on how this Judgment changes the voter registration process for online driver's license

renewal and change-of-address applications; include in this public education plan steps to

incorporate for two years the promotion of voter registration through online driver's license

renewal and change-of-address applications into the Texas.gov marketing program, the

Texas.gov/driver marketing campaign, and all DPS, Secretary of State, and their vendors'

marketing campaigns related to online driver's license renewal and change-of-address




                                                 -5-
                                                                                    APPENDIX 784
      Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 795 of 797




applications; and, once the public education plan is agreed to by all parties, implement such plan

no later than 45 days from the date of this Judgment.2

         6.       DIRECTS Defendants to:

         (a)      submit to this Court notice of compliance with this Judgment no later than 45

                  davs from the date of this Judgment, with affidavits from the Director of DPS and

                  the Secretary of State attached confirming compliance with this Judgment;

         (b)      submit to Intervenors’ counsel on or before January 15th of every year for the

                  next three years through January 15, 2023, a report that includes, for the previous

                  calendar year:

                  (i)      a general summary of compliance efforts detailing all steps taken to

                           implement each of the provisions and requirements of this Judgment,

                           including any significant implementation problems, staff training needs,

                           and recommendations for improvement;

                  (ii)     the number of online driver's license renewal and change-of-address

                           applications and the number of voter registrations arising from these

                           applications;

                  (iii)    copies of all procedures and educational and training materials related to

                           online driver's license renewal or change-of-address transactions both used

                           in the preceding year and expected to be used in the future;




2
 Should the Parties be incapable of agreeing on an appropriate pubic education plan, the Parties will submit their
proposals to the Court no later than 25 days from the date of this Judgment, and the Court will order the
implementation of a plan that takes reasonable steps to inform the public about this Judgment as described in
Paragraph 6.


                                                        -6-
                                                                                                 APPENDIX 785
     Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 796 of 797




               (iv)   any investigations or corrective actions at DPS or the Secretary of State's

                      office related to voter registrations through online driver's license renewal

                      or change-of-address applications;

               (v)    any implemented or revised policies or procedures at DPS or the Secretary

                      of State's office related to voter registrations through online driver's

                      license renewal or change-of-address applications; and

               (vi)   all customer complaints related to voter registration through an online

                      driver) license renewal or change-of-address application, and all

                      subsequent correspondence and action taken related to each customer

                      complaint; and

       (c)     conduct monthly quality control tests until May 2021 to ensure that the online

               driver's license renewal and change-of-address process complies with this

               Judgment, and report to Plaintiffs' counsel every three months the results of

               completed quality control tests;

       7.      RETAINS jurisdiction over this action until two years after the date of this

Judgment to ensure that Defendants continue to comply with their obligations under the Equal

Protection Clause, and this Judgment, and, if Defendants fail to comply with this Judgment at

any time after the two-year deadline, permits Intervenors to initiate an enforcement action

against Defendants in this Court;

       8.      ORDERS that Defendants shall pay to Intervenors their reasonable attorney's fees,

including litigation expenses, and costs as will be determined by the Court in a post-judgment

Order upon submission by the Intervenors.




                                                  -7-
                                                                                    APPENDIX 786
Case 5:20-cv-00046-OLG Document 77-1 Filed 05/29/20 Page 797 of 797




 SIGNED this ____ day of ______, 2020.


                                          _________________________________
                                          ORLANDO L. GARCIA
                                          CHIEF U.S. DISTRICT JUDGE




                                    -8-
                                                                APPENDIX 787
